Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 1 of 573




                             EXHIBIT C
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 2 of 573



                        TOWNHOUSE RESTAURANT OF OVIEDO, INC. and ESTERO BAY HOTEL CO. v. NuCO2, LLC
                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                       CASE NO. 2:19-CV-14085-ROSENBERG/MAYNARD

                                                   NuCO2 LLC Second Amended Privilege Log
                                                                1-24-2020




                                                                                               Relationship of
                                                                                                                                     Nature and Subject
               Type of                                                                          the Parties to
Bates Label                 Sent Date        Sender              To                     CC                          Privilege          Matter of the
              Document                                                                               the
                                                                                                                                      Communication
                                                                                               Communication


                                                                                               Employees of                        Reflects
                                                                                                                                   communications
NuCO2_Priv                8/3/2018                                                             NuCO2             Settlement
              MSG                       Brian D. Potter    John Templin                                                            regarding settlement
_1                        11:04                                                                                  Negotiations
                                                                                                                                   concerning customer
                                                                                                                                   dispute.
                                                                                               Employees of
                                                                                               NuCO2 and its
                                                                                                                                   Communication
NuCO2_Priv                12/18/2016                                                           affiliated
              MSG                       Edward Balzarini   Kathy Waters                                          Attorney Client   regarding litigation
_2                        8:01                                                                 company(ies)                        hold.

                                                                                               Employees of
                                                                                               NuCO2 and its
                                                                                                                                   Communication
NuCO2_Priv                8/22/2018                                                            affiliated
              docx                      Markatos, David    John Templin       Piazza, Shelly                     Attorney Client   regarding litigation
_3                        8:40                                                                 company(ies)                        hold.




                                                                          1
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 3 of 573



                                                                                                                             Communications
                                                                                                                             regarding request
                                                                                           Employees of
                                                                                                                             for/provision of legal
NuCO2_Priv              8/22/2018                                                          NuCO2 and its
             MSG                    Markatos, David   John Templin       Piazza, Shelly                    Attorney Client   advice/work product
_4                      8:40                                                               affiliated
                                                                                                                             of counsel concerning
                                                                                           company(ies)
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                           Employees of
                                                                                                                             Reflects
                                                                                           NuCO2
                                                                                                                             communications
NuCO2_Priv              8/27/2018                                                                          Settlement
             MSG                    Rodney Husbands   John Templin       Brian D. Potter                                     regarding settlement
_5                      13:45                                                                              Negotiations
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                           Employees of
                                                                                                                             Reflects
                                                                                           NuCO2
                                                                                                                             communications
NuCO2_Priv              8/27/2018                                                                          Settlement
             pdf                    Rodney Husbands   John Templin       Brian D. Potter                                     regarding settlement
_6                      13:45                                                                              Negotiations
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                           Employees of
                                                                                                                             Reflects
                                                                                           NuCO2
                                                                                                                             communications
NuCO2_Priv              8/27/2018                                                                          Settlement
             pdf                    Rodney Husbands   John Templin       Brian D. Potter                                     regarding settlement
_7                      13:45                                                                              Negotiations
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                           Employees of
                                                                                                                             Reflects
                                                                                           NuCO2
                                                                                                                             communications
NuCO2_Priv              8/27/2018                                                                          Settlement
             xls                    Rodney Husbands   John Templin       Brian D. Potter                                     regarding settlement
_8                      13:45                                                                              Negotiations
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                           Employees of
                                                                                                                             Reflects
                                                                                           NuCO2
                                                                                                                             communications
NuCO2_Priv              8/27/2018                                                                          Settlement
             pdf                    Rodney Husbands   John Templin       Brian D. Potter                                     regarding settlement
_9                      13:45                                                                              Negotiations
                                                                                                                             concerning customer
                                                                                                                             dispute.




                                                                     2
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 4 of 573



                                                                                                  Employees of                      Communications
                                                                                                  NuCO2 and its                     regarding need
                                                                                                  affiliated                        for/provision of
                                                                                                                                    information regarding
                                                                                                  company(ies)
NuCO2_Priv              8/15/2018                                         Markatos, David; John                                     customer
             pdf                    Bridget Correa   Riley, Robin K                                               Attorney Client
_10                     12:13                                             Templin                                                   account/dispute in
                                                                                                                                    order to facilitate
                                                                                                                                    provision of legal
                                                                                                                                    advice/services
                                                                                                                                    concerning the same.
                                                                                                  Employees of                      Communications
                                                                                                  NuCO2 and its                     regarding need
                                                                                                  affiliated                        for/provision of
                                                                                                                                    information regarding
                                                                                                  company(ies)
NuCO2_Priv              8/15/2018                                         Markatos, David; John                                     customer
             pdf                    Bridget Correa   Riley, Robin K                                               Attorney Client
_11                     12:13                                             Templin                                                   account/dispute in
                                                                                                                                    order to facilitate
                                                                                                                                    provision of legal
                                                                                                                                    advice/services
                                                                                                                                    concerning the same.
                                                                                                  Employees of                      Communications
                                                                                                  NuCO2 and its                     regarding need
                                                                                                  affiliated                        for/provision of
                                                                                                                                    information regarding
                                                                                                  company(ies)
NuCO2_Priv              8/15/2018                                         Markatos, David; John                                     customer
             pdf                    Bridget Correa   Riley, Robin K                                               Attorney Client
_12                     12:13                                             Templin                                                   account/dispute in
                                                                                                                                    order to facilitate
                                                                                                                                    provision of legal
                                                                                                                                    advice/services
                                                                                                                                    concerning the same.
                                                                                                  Employees of                      Communications
                                                                                                  NuCO2 and its                     regarding need
                                                                                                  affiliated                        for/provision of
                                                                                                                                    information regarding
                                                                                                  company(ies)
NuCO2_Priv              8/15/2018                                         Markatos, David; John                                     customer
             pdf                    Bridget Correa   Riley, Robin K                                               Attorney Client
_13                     12:13                                             Templin                                                   account/dispute in
                                                                                                                                    order to facilitate
                                                                                                                                    provision of legal
                                                                                                                                    advice/services
                                                                                                                                    concerning the same.



                                                                      3
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 5 of 573



                                                                                                                                         Communications
                                                                                                                                         regarding need
                                                                                                                                         for/provision of
                                                                                                       Employees of                      information regarding
NuCO2_Priv               8/15/2018                                             Markatos, David; John   NuCO2 and its                     customer
             pdf                     Bridget Correa      Riley, Robin K                                                Attorney Client
_14                      12:13                                                 Templin                 affiliated                        account/dispute in
                                                                                                       company(ies)                      order to facilitate
                                                                                                                                         provision of legal
                                                                                                                                         advice/services
                                                                                                                                         concerning the same.
                                                                                                       Self
                                                                                                                                         Reflects attorney
                                                                                                                       Attorney          Communicationss/or
NuCO2_Priv               7/9/2018
             xlsx                    Felicia Gallagher   Gallagher, Felicia                                            Client/Work       attorney work product
_15                      10:53
                                                                                                                       Product           regardinglegal matters
                                                                                                                                         and safety.
                                                                                                       Self
                                                                                                                                         Reflects attorney
                                                                                                                       Attorney
NuCO2_Priv               9/12/2018                                                                                                       Communicationss/or
             xlsx                    Felicia Gallagher   Gallagher, Felicia                                            Client/Work
_16                      12:02                                                                                                           attorney workproduct
                                                                                                                       Product
                                                                                                                                         regarding legal mater.

                                                                                                       Self
                                                                                                                                         Reflects attorney
                                                                                                                       Attorney          Communications
NuCO2_Priv               9/27/2018
             xlsx                    Felicia Gallagher   Gallagher, Felicia                                            Client/Work       and/or attorney work
_17                      9:17
                                                                                                                       Product           product regarding
                                                                                                                                         insurance.

                                                                                                                                         Reflects attorney
                                                                                                       Self            Attorney          Communications
NuCO2_Priv               12/6/2018
             xlsx                    Felicia Gallagher   Gallagher, Felicia                                            Client/Work       and/or attorney work
_18                      13:05
                                                                                                                       Product           product regarding
                                                                                                                                         insurance.
                                                                                                       Employees of
                                                                                                       NuCO2 and its
                                                                                                                                         Communications
NuCO2_Priv               1/7/2019                                                                      affiliated
             MSG                     Maria Primm         Markatos, David                                               Attorney Client   regarding need for legal
_19                      15:51                                                                         company(ies)                      advice of counsel.



                                                                           4
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 6 of 573



                                                                                Employees of
                                                                                NuCO2 and its
                                                                                                                  Communications
NuCO2_Priv               1/7/2019                                               affiliated
             pdf                     Maria Primm         Markatos, David                        Attorney Client   regarding need for legal
_20                      15:51                                                  company(ies)                      advice of counsel.


                                                                                Employees of
                                                                                NuCO2 and its
                                                                                                                  Communications
NuCO2_Priv               1/7/2019                                               affiliated
             pdf                     Maria Primm         Markatos, David                        Attorney Client   regarding need for legal
_21                      15:51                                                  company(ies)                      advice of counsel.


                                                                                Self
                                                                                                                  Reflects attorney
                                                                                                Attorney
NuCO2_Priv               11/8/2018                                                                                Communicationss/or
             xlsx                    Felicia Gallagher   Gallagher, Felicia                     Client/Work
_22                      16:36                                                                                    attorney work product
                                                                                                Product
                                                                                                                  regarding legal matters.

                                                                                Self
                                                                                                                  Reflects attorney
                                                                                                Attorney          Communications
NuCO2_Priv               9/28/2018
             xlsx                    Felicia Gallagher   Gallagher, Felicia                     Client/Work       and/or attorney work
_23                      15:00
                                                                                                Product           product regarding
                                                                                                                  insurance.
                                                                                Self
                                                                                                                  Reflects attorney
                                                                                                Attorney          Communications
NuCO2_Priv               10/1/2018
             xlsx                    Felicia Gallagher   Gallagher, Felicia                     Client/Work       and/or attorney work
_24                      10:23
                                                                                                Product           product regarding
                                                                                                                  insurance.
                                                                                Self
                                                                                                                  Reflects attorney
                                                                                                Attorney          Communicationss/or
NuCO2_Priv               8/8/2018
             xlsx                    Felicia Gallagher   Gallagher, Felicia                     Client/Work       attorney work product
_25                      16:03
                                                                                                Product           regardinglegal matters
                                                                                                                  and safety.




                                                                           5
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 7 of 573



                                                                                Employees of                     Communications
                                                                                NuCO2                            regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
NuCO2_Priv               5/16/2018                                                                               customer
             MSG                     Debbie Oliver   Kevin Patton                              Attorney Client
_26                      9:05                                                                                    account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                                Employees of                     Communications
                                                                                NuCO2                            regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
                                                                                               Attorney
NuCO2_Priv               5/16/2018                                                                               customer
             docx                    Debbie Oliver   Kevin Patton                              Client/Work
_27                      9:05                                                                                    account/dispute in
                                                                                               Product
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                                                                 Reflects
                                                                                Employees of                     communications or
                                                                                               Attorney
NuCO2_Priv               12/7/2016                                              NuCO2                            advice or work product
             MSG                     Maria Primm     John Templin                              Client/Work
_28                      16:23                                                                                   regarding
                                                                                               Product
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                                Employees of                     Reflects
                                                                                NuCO2                            communications or
                                                                                               Attorney
NuCO2_Priv               12/7/2016                                                                               advice or work product
             xls                     Maria Primm     John Templin                              Client/Work
_29                      16:23                                                                                   regarding
                                                                                               Product
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                                Employees of                     Reflects
                                                                                NuCO2                            communications or
                                                                                               Attorney
NuCO2_Priv               12/7/2016                                                                               advice or work product
             xlsx                    Maria Primm     John Templin                              Client/Work
_30                      16:23                                                                                   regarding
                                                                                               Product
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.




                                                                    6
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 8 of 573



                                                                                 Employees of                      Reflects
                                                                                 NuCO2                             communications or
                                                                                                 Attorney
NuCO2_Priv               12/7/2016                                                                                 advice or work product
             pdf                         Maria Primm        John Templin                         Client/Work
_31                      16:23                                                                                     regarding
                                                                                                 Product
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                                 Employees of
                                                                                 NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv               12/9/2016                                               affiliated
             MSG                         Edward Balzarini   Kathy Waters                         Attorney Client   regarding litigation
_32                      8:01                                                    company(ies)                      hold.

                                                                                 Employees of
                                                                                 NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv                                                                       affiliated
             MSG         1/1/2019 9:24   Edward Balzarini   Peter Craig                          Attorney Client   regarding litigation
_33                                                                              company(ies)                      hold.

                                                                                 Employees of
                                                                                                                   Reflects attorney
                                                                                 NuCO2 and its
                                                                                                 Attorney          Communications
NuCO2_Priv               2/16/2019                          Felicia Gallagher;   affiliated
             pdf                         John Templin                                            Client/Work       and/or attorney work
_34                      10:06                              Derek Burton         company(ies)    Product           product regarding
                                                                                                                   acquisition.
                                                                                 Employees of
                                                                                                                   Reflects attorney
                                                                                 NuCO2 and its
                                                                                                 Attorney          Communications
NuCO2_Priv               2/16/2019                          Felicia Gallagher;   affiliated
             pdf                         John Templin                                            Client/Work       and/or attorney work
_35                      10:06                              Derek Burton         company(ies)    Product           product regarding
                                                                                                                   insurance.
                                                                                 Employees of
                                                                                                                   Reflects attorney
                                                                                 NuCO2 and its
                                                                                                 Attorney          Communications
NuCO2_Priv               2/16/2019                          Felicia Gallagher;   affiliated
             docx                        John Templin                                            Client/Work       and/or attorney work
_36                      10:06                              Derek Burton         company(ies)    Product           product regarding
                                                                                                                   acquisition.




                                                                             7
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 9 of 573



                                                                                                  Employees of
                                                                                                                                Reflects attorney
                                                                                                  NuCO2 and its
                                                                                                                  Attorney      Communications
NuCO2_Priv               2/16/2019                    Felicia Gallagher;                          affiliated
             docx                    John Templin                                                                 Client/Work   and/or attorney work
_37                      10:06                        Derek Burton                                company(ies)    Product       product regarding
                                                                                                                                acquisition.
                                                                                                  Employees of
                                                                                                                                Reflects attorney
                                                                                                  NuCO2 and its
                                                                                                                  Attorney      Communications
NuCO2_Priv               2/16/2019                    Felicia Gallagher;                          affiliated
             xlsx                    John Templin                                                                 Client/Work   and/or attorney work
_38                      10:06                        Derek Burton                                company(ies)    Product       product regarding
                                                                                                                                acquisition.
                                                                                                  Employees of
                                                                                                                                Reflects attorney
                                                                                                  NuCO2 and its
                                                                                                                  Attorney      Communications
NuCO2_Priv               2/16/2019                    Felicia Gallagher;                          affiliated
             jpg                     John Templin                                                                 Client/Work   and/or attorney work
_39                      10:06                        Derek Burton                                company(ies)    Product       product regarding
                                                                                                                                acquisition.
                                                                                                  Employees of
                                                                                                                                Reflects attorney
                                                                                                  NuCO2 and its
                                                                                                                  Attorney      Communications
NuCO2_Priv               2/16/2019                    Felicia Gallagher;                          affiliated
             MSG                     John Templin                                                                 Client/Work   and/or attorney work
_40                      10:06                        Derek Burton                                company(ies)    Product       product regarding
                                                                                                                                acquisition.
                                                                                                  Employees of
                                                                                                                                Reflects attorney
                                                                                                  NuCO2 and its
                                                      Felicia Gallagher;                                          Attorney      Communications
NuCO2_Priv               8/13/2018                                                                affiliated
             xlsx                    Mike Lyons       Kevin Patton;        Mike Lyons                             Client/Work   and/or attorney work
_41                      13:08                                                                    company(ies)
                                                      Bogdana Collado                                             Product       product regarding
                                                                                                                                acquisition.
                                                                                                  Employees of                  Reflects
                                                                                                  NuCO2                         communications or
                                                                                                                  Attorney
NuCO2_Priv               12/2/2018                                         Zac Boulund; Latasha                                 advice or work product
             pdf                     Contract Admin   Brian Lovejoy                                               Client/Work
_42                      16:46                                             Hart-Washington                                      regarding
                                                                                                                  Product
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.




                                                                       8
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 10 of
                                                         573


                                                                                                  Employees of                     Reflects
                                                                                                  NuCO2                            communications or
                                                                                                                 Attorney
NuCO2_Priv              12/2/2018                                          Zac Boulund; Latasha                                    advice or work product
             xlsx                    Contract Admin    Brian Lovejoy                                             Client/Work
_43                     16:46                                              Hart-Washington                                         regarding
                                                                                                                 Product
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                  Employees of                     Reflects
                                                                                                  NuCO2                            communications or
                                                                                                                 Attorney
NuCO2_Priv              12/2/2018                                                                                                  advice or work product
             msg                     Jeremy Cooper     Brian Lovejoy                                             Client/Work
_44                     16:46                                                                                                      regarding
                                                                                                                 Product
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                  Employees of                     Reflects
                                                                                                  NuCO2                            communications or
                                                                                                                 Attorney
NuCO2_Priv              12/2/2018                                          Zac Boulund; Latasha                                    advice or work product
             MSG                     Contract Admin    Brian Lovejoy                                             Client/Work
_45                     16:46                                              Hart-Washington                                         regarding
                                                                                                                 Product
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                  Employees of                     Communications
                                                                                                  NuCO2                            regarding need
                                                                                                                                   for/provision of
                                                                                                                                   information regarding
NuCO2_Priv              11/20/2018                                                                                                 customer
             pdf                     Nanette Caceres   John Templin                                              Attorney Client
_46                     12:08                                                                                                      account/dispute in
                                                                                                                                   order to facilitate
                                                                                                                                   provision of legal
                                                                                                                                   advice/services
                                                                                                                                   concerning the same.
                                                                                                  Employees of                     Communications
                                                                                                  NuCO2                            regarding need
NuCO2_Priv              8/22/2018                                                                                                  for/provision of
             MSG                     Robbi Stiell      John Templin                                              Attorney Client
_47                     12:33                                                                                                      information in order to
                                                                                                                                   facilitate provision of
                                                                                                                                   legal advice/services.
                                                                                                  Employees of
                                                                                                  NuCO2                            Reflects need
NuCO2_Priv              8/16/2018                                                                                                  for/provision of legal
             MSG                     Sondra Meyer      John Templin        Ronald Thermil                        Attorney Client
_48                     12:02                                                                                                      advice regarding state
                                                                                                                                   consumer complaint.



                                                                       9
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 11 of
                                                        573


                                                                                                   Employees of
                                                                                                   NuCO2                             Reflects need
NuCO2_Priv             8/16/2018                                                                                                     for/provision of legal
             xls                   Sondra Meyer        John Templin         Ronald Thermil                         Attorney Client
_49                    12:02                                                                                                         advice regarding state
                                                                                                                                     consumer complaint.

                                                                                                   Employees of
                                                                                                   NuCO2                             Reflects need
NuCO2_Priv             8/16/2018                                                                                                     for/provision of legal
             xls                   Sondra Meyer        John Templin         Ronald Thermil                         Attorney Client
_50                    12:02                                                                                                         advice regarding state
                                                                                                                                     consumer complaint.

                                                                                                   Employees of
                                                                                                   NuCO2                             Reflects need
NuCO2_Priv             8/16/2018                                                                                                     for/provision of legal
             PDF                   Sondra Meyer        John Templin         Ronald Thermil                         Attorney Client
_51                    12:02                                                                                                         advice regarding state
                                                                                                                                     consumer complaint.

                                                                                                   Employees of
                                                                                                   NuCO2                             Communications
NuCO2_Priv             2/26/2019                                                                                   Settlement        regarding strategy for
             MSG                   Jeff Lemberskie     Gail Donahue
_52                    16:15                                                                                       Negotiations      settling customer
                                                                                                                                     dispute.

                                                       Gerald Miller;                              Employees of
                                                       Foti, Kevin; Jeff                           NuCO2 and its
                                                       Gilheney; Derek                             affiliated
                                                       Burton; John
                                                                                                   company(ies)
                                                       Templin; Mike
                                                       Lyons; Ruthie
                                                       Clemente; Stuart     Jerry Destefano;                                         Reflects attorney
                                                                                                                   Attorney
NuCO2_Priv             9/10/2018                       Luks; Toyanna        Dominick Brandow;                                        Communicationss/or
             MSG                   Felicia Gallagher                                                               Client/Work
_53                    15:39                           Platt; Mark          Kevin Patton; Marino                                     attorney work product
                                                                                                                   Product
                                                       Novak; Dirk          Anderson                                                 regarding legal matters.
                                                       Horst; Damarie
                                                       Cortez; Sarah
                                                       Llewellyn; Bill
                                                       Wilson; Jeff
                                                       West; Brian D.
                                                       Potter; Nate


                                                                       10
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 12 of
                                                         573


                                                      Freese; Brian
                                                      Catmull; Terry
                                                      Mckiernan; Eric
                                                      Hansen; Richard
                                                      Wilkie

                                                                                                    Employees of                      Communications
                                                                                                    NuCO2 and its                     regarding need for legal
NuCO2_Priv              9/10/2018                                           Markatos, David; John   affiliated                        advice/work product
             MSG                     Robbi Stiell     Piazza, Shelly                                                Attorney Client
_54                     15:42                                               Templin                 company(ies)                      of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                    Employees of
                                                                                                                                      Reflects
                                                                                                    NuCO2
                                                                                                                                      communications
NuCO2_Priv              1/13/2017                                                                                   Settlement
             MSG                     Michael Graham   John Templin                                                                    regarding settlement
_55                     14:43                                                                                       Negotiations
                                                                                                                                      concerning customer
                                                                                                                                      dispute.
                                                                                                    Employees of
                                                                                                                                      Reflects attorney
                                                                                                    NuCO2
                                                                                                                    Attorney          Communications
NuCO2_Priv              10/22/2018
             pdf                     Carla Loffredo   Contract Admin                                                Client/Work       and/or attorney work
_56                     12:39
                                                                                                                    Product           product regarding
                                                                                                                                      acquisition.
                                                                                                    Employees of                      Communications
                                                                                                    NuCO2 and its                     regarding need for legal
NuCO2_Priv              8/29/2018                                           Piazza, Shelly; John    affiliated                        advice/work product
             xlsx                    Robbi Stiell     Markatos, David                                               Attorney Client
_57                     11:46                                               Templin                 company(ies)                      of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                    Employees of                      Communications
                                                                                                    NuCO2 and its                     regarding need for legal
NuCO2_Priv              8/29/2018                                           Piazza, Shelly; John    affiliated                        advice/work product
             xlsx                    Robbi Stiell     Markatos, David                                               Attorney Client
_58                     11:46                                               Templin                 company(ies)                      of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.




                                                                       11
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 13 of
                                                         573


                                                                                                  Employees of                      Communications
                                                                                                  NuCO2 and its                     regarding need for legal
NuCO2_Priv              8/29/2018                                          Piazza, Shelly; John   affiliated                        advice/work product
             xlsx                   Robbi Stiell       Markatos, David                                            Attorney Client
_59                     11:46                                              Templin                company(ies)                      of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                  Employees of                      Communications
                                                                                                  NuCO2 and its                     regarding need for legal
NuCO2_Priv              8/29/2018                                          Piazza, Shelly; John   affiliated                        advice/work product
             pdf                    Robbi Stiell       Markatos, David                                            Attorney Client
_60                     11:46                                              Templin                company(ies)                      of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                  Employees of                      Communications
                                                                                                  NuCO2 and its                     regarding need for legal
NuCO2_Priv              8/29/2018                                          Piazza, Shelly; John   affiliated                        advice/work product
             pdf                    Robbi Stiell       Markatos, David                                            Attorney Client
_61                     11:46                                              Templin                company(ies)                      of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                  Employees of                      Communications
                                                                                                  NuCO2 and its                     regarding need for legal
NuCO2_Priv              8/29/2018                                          Piazza, Shelly; John   affiliated                        advice/work product
             MSG                    Robbi Stiell       Markatos, David                                            Attorney Client
_62                     11:46                                              Templin                company(ies)                      of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                                                    Communications
                                                                                                  Employees of                      regarding need for legal
                                                                                                                  Attorney
NuCO2_Priv              8/30/2018                                                                 NuCO2                             advice/work product
             docx                   Heather Shepherd   John Templin                                               Client/Work
_63                     13:41                                                                                                       of counsel concerning
                                                                                                                  Product
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                  Employees of                      Communications
                                                                                                  NuCO2                             regarding need for legal
                                                                                                                  Attorney
NuCO2_Priv              8/30/2018                                                                                                   advice/work product
             docx                   Heather Shepherd   John Templin                                               Client/Work
_64                     13:41                                                                                                       of counsel concerning
                                                                                                                  Product
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.




                                                                      12
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 14 of
                                                         573


                                                                                                   Employees of                        Communications
                                                                                                   NuCO2                               regarding need for legal
                                                                                                                     Attorney
NuCO2_Priv              8/30/2018                                                                                                      advice/work product
             MSG                     Heather Shepherd   John Templin                                                 Client/Work
_65                     13:41                                                                                                          of counsel concerning
                                                                                                                     Product
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                   Employees of
                                                                                                                                       Reflects need
                                                                                                   NuCO2
                                                        Jeffrey                                                                        for/provision of legal
NuCO2_Priv              12/20/2016                                           John Templin; Randy
             MSG                     Jeff Wilson        Desmond; Sarah                                               Attorney Client   advice regarding
_66                     16:03                                                Gold
                                                        Llewellyn                                                                      customer
                                                                                                                                       account/dispute.
                                                                                                   Employees of
                                                                                                                                       Reflects need
                                                                                                   NuCO2
                                                        Jeffrey                                                                        for/provision of legal
NuCO2_Priv              12/20/2016                                           John Templin; Randy
             xlsx                    Jeff Wilson        Desmond; Sarah                                               Attorney Client   advice regarding
_67                     16:03                                                Gold
                                                        Llewellyn                                                                      customer
                                                                                                                                       account/dispute.
                                                                                                   Employees of
                                                                                                                                       Reflects need
                                                                                                   NuCO2
                                                        Jeffrey                                                                        for/provision of legal
NuCO2_Priv              12/20/2016                                           John Templin; Randy
             DOC                                        Desmond; Sarah                                               Attorney Client   advice regarding
_68                     16:03                                                Gold
                                                        Llewellyn                                                                      customer
                                                                                                                                       account/dispute.


                                                                                                    Employee(s) of                     Communications
NuCO2_Priv              1/18/2019                                                                  NuCO2 and its     Settlement        regarding strategy for
             MSG                     Toyanna Platt      Felicia Gallagher    John Templin
_69                     10:08                                                                      affiliated        Negotiations      settling customer
                                                                                                   company(ies)                        dispute.

                                                                                                   Employee(s) of
                                                                                                   NuCO2 and its                       Communications
NuCO2_Priv              1/17/2019                                                                  affiliated        Settlement        regarding strategy for
             MSG                     Toyanna Platt      Felicia Gallagher
_70                     15:31                                                                      company(ies)      Negotiations      settling customer
                                                                                                                                       dispute.




                                                                        13
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 15 of
                                                         573


                                                                               Employee(s) of
                                                                               NuCO2 and its                      Communications
NuCO2_Priv              1/17/2019                                              affiliated       Settlement        regarding strategy for
             MSG                    Toyanna Platt    Felicia Gallagher
_71                     15:36                                                  company(ies)     Negotiations      settling customer
                                                                                                                  dispute.

                                                                               Employees of                       Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              1/25/2019
             MSG                    Contract Admin   Brent Fairchild                            Client/Work       advice/work product
_72                     12:08
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employees of                       Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              1/25/2019
             pdf                    Contract Admin   Brent Fairchild                            Client/Work       advice/work product
_73                     12:08
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employees of                       Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              1/25/2019
             xlsx                   Contract Admin   Brent Fairchild                            Client/Work       advice/work product
_74                     12:08
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employees of                       Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              1/25/2019
             xls                    Contract Admin   Brent Fairchild                            Client/Work       advice/work product
_75                     12:08
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of
                                                                                                                  Reflects need
                                                                               NuCO2 and its
                                                                                                                  for/provision of legal
NuCO2_Priv              2/8/2019                                               affiliated
             MSG                    Sondra Meyer     Markatos, David                            Attorney Client   advice regarding
_76                     11:57                                                  company(ies)                       customer
                                                                                                                  account/dispute.



                                                                       14
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 16 of
                                                         573


                                                                                           Employee(s) of
                                                                                                                               Reflects need
                                                                                           NuCO2 and its
                                                                                                                               for/provision of legal
NuCO2_Priv              2/8/2019                                                           affiliated
             pdf                    Sondra Meyer      Markatos, David                                        Attorney Client   advice regarding
_77                     11:57                                                              company(ies)                        customer
                                                                                                                               account/dispute.
                                                                                           Employee(s) of                      Communications
                                                                                           NuCO2 and its                       regarding request
                                                                                           affiliated        Attorney          for/provision of legal
NuCO2_Priv              9/19/2018
             MSG                    Markatos, David   John Templin        Piazza, Shelly                     Client/Work       advice/work product
_78                     15:42                                                              company(ies)
                                                                                                             Product           of counsel concerning
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.
                                                                                           Employee(s) of                      Communications
                                                                                           NuCO2 and its                       regarding request
                                                                                           affiliated        Attorney          for/provision of legal
NuCO2_Priv              9/19/2018
             pdf                    Markatos, David   John Templin        Piazza, Shelly                     Client/Work       advice/work product
_79                     15:42                                                              company(ies)
                                                                                                             Product           of counsel concerning
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.
                                                                                            Employee(s) of                     Communications
                                                                                           NuCO2 and its                       regarding request
                                                                                                             Attorney          for/provision of legal
NuCO2_Priv              9/19/2018                                                          affiliated
             docx                   Markatos, David   John Templin        Piazza, Shelly                     Client/Work       advice/work product
_80                     15:42                                                              company(ies)      Product           of counsel concerning
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.
                                                                                           Employees of
                                                                                           NuCO2                               Communications
NuCO2_Priv              1/3/2017                                                                                               providing guidance
             pdf                    Randy Gold        John Templin                                           Attorney Client
_81                     15:15                                                                                                  regarding regulatory
                                                                                                                               compliance.

                                                                                           Employees of
                                                                                           NuCO2                               Communications
NuCO2_Priv              1/3/2017                                                                                               providing guidance
             pdf                    Randy Gold        John Templin                                           Attorney Client
_82                     15:15                                                                                                  regarding regulatory
                                                                                                                               compliance.




                                                                     15
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 17 of
                                                         573


                                                                                                    Employees of
                                                                                                    NuCO2                               Communications
NuCO2_Priv              1/3/2017                                                                                                        providing guidance
             pdf                     Randy Gold         John Templin                                                  Attorney Client
_83                     15:15                                                                                                           regarding regulatory
                                                                                                                                        compliance.

                                                                                                    Employees of
                                                                                                    NuCO2                               Communications
NuCO2_Priv              1/3/2017                                                                                                        providing guidance
             pdf                     Randy Gold         John Templin                                                  Attorney Client
_84                     15:15                                                                                                           regarding regulatory
                                                                                                                                        compliance.

                                                                                                     Employee(s) of
                                                                                                    NuCO2 and its
                                                                                                                                        Communication
NuCO2_Priv              12/29/2016                                                                  affiliated
             MSG                     Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_85                     8:01                                                                        company(ies)                        hold.


                                                                                                    Employee(s) of                      Communications
                                                                                                    NuCO2 and its                       regarding request
                                                                                                    affiliated        Attorney          for/provision of legal
NuCO2_Priv              9/11/2018                                           Markatos, David; John
             MSG                     Piazza, Shelly     Robbi Stiell                                                  Client/Work       advice/work product
_86                     15:45                                               Templin                 company(ies)
                                                                                                                      Product           of counsel concerning
                                                                                                                                        negotiation/drafting of
                                                                                                                                        customer agreement.
                                                                                                    Employee(s) of                      Communications
                                                                                                    NuCO2 and its                       regarding request
                                                                                                    affiliated        Attorney          for/provision of legal
NuCO2_Priv              9/11/2018                                           Markatos, David; John
             docx                    Piazza, Shelly     Robbi Stiell                                                  Client/Work       advice/work product
_87                     15:45                                               Templin                 company(ies)
                                                                                                                      Product           of counsel concerning
                                                                                                                                        negotiation/drafting of
                                                                                                                                        customer agreement.
                                                                                                    Employee(s) of                      Communications
                                                                                                    NuCO2 and its                       regarding request
                                                                                                    affiliated        Attorney          for/provision of legal
NuCO2_Priv              9/6/2018
             MSG                     Markatos, David    John Templin        Piazza, Shelly                            Client/Work       advice/work product
_88                     16:12                                                                       company(ies)
                                                                                                                      Product           of counsel concerning
                                                                                                                                        negotiation/ drafting of
                                                                                                                                        customer agreement



                                                                       16
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 18 of
                                                         573


                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2 and its                      regarding request
                                                                                                   affiliated       Attorney          for/provision of legal
NuCO2_Priv              9/11/2018                          John Templin;
             docx                       Robbi Stiell                             Markatos, David                    Client/Work       advice/work product
_89                     17:15                              Piazza, Shelly                          company(ies)
                                                                                                                    Product           of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2 and its                      regarding request
                                                                                                   affiliated       Attorney          for/provision of legal
NuCO2_Priv              9/11/2018                          John Templin;
             docx                       Robbi Stiell                             Markatos, David                    Client/Work       advice/work product
_90                     17:15                              Piazza, Shelly                          company(ies)
                                                                                                                    Product           of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2 and its                      regarding request
                                                                                                   affiliated       Attorney          for/provision of legal
NuCO2_Priv              9/11/2018                          John Templin;
             MSG                        Robbi Stiell                             Markatos, David                    Client/Work       advice/work product
_91                     17:15                              Piazza, Shelly                          company(ies)
                                                                                                                    Product           of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                   Employee(s) of
                                                                                                   NuCO2 and its
                                                                                                                                      Communication
NuCO2_Priv              12/28/2016                                                                 affiliated
             MSG                        Edward Balzarini   Kathy Waters                                             Attorney Client   regarding litigation
_92                     8:01                                                                       company(ies)                       hold.

                                                                                                   Employee(s) of
                                                                                                   NuCO2 and its
                                                                                                                                      Communication
NuCO2_Priv                                                                                         affiliated
             MSG        1/9/2017 8:41   Edward Balzarini   Kathy Waters                                             Attorney Client   regarding litigation
_93                                                                                                company(ies)                       hold.

                                                                                                   Employee of
                                                                                                   NuCO2 and
                                                                                                                                      Communications
                                                                                                   NuCO2’s debt
NuCO2_Priv              3/5/2019                                                                                    Settlement        regarding strategy for
             MSG                        Jeff Lemberskie    Gail Donahue                            collection
_94                     14:27                                                                                       Negotiations      settling customer
                                                                                                   company                            dispute.



                                                                            17
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 19 of
                                                         573


                                                                                                     Employee(s) of
                                                                                                     NuCO2 and its                      Reflects attorney
                                                                                                                      Attorney
NuCO2_Priv              8/17/2018                                                                    affiliated                         Communicationss/or
             xlsx                   Felicia Gallagher   Kevin Patton                                                  Client/Work
_95                     13:07                                                                        company(ies)                       attorney work product
                                                                                                                      Product
                                                                                                                                        regarding legal matters.

                                                                                                     Employee(s) of
                                                                                                                                        Reflects need
                                                                                                     NuCO2 and its
                                                                                                                                        for/provision of legal
NuCO2_Priv              9/14/2018                                             Ronald Thermil; John   affiliated
             MSG                    William Bermudez    David Markatos                                                Attorney Client   advice regarding
_96                     10:38                                                 Templin                company(ies)                       customer
                                                                                                                                        account/dispute.
                                                                                                     Employee(s) of
                                                                                                                                        Reflects need
                                                                                                     NuCO2 and its
                                                                                                                                        for/provision of legal
NuCO2_Priv              9/14/2018                                             Ronald Thermil; John   affiliated
             pdf                    William Bermudez    David Markatos                                                Attorney Client   advice regarding
_97                     10:38                                                 Templin                company(ies)                       customer
                                                                                                                                        account/dispute.
                                                                                                     Employee(s) of
                                                                                                                                        Reflects need
                                                                                                     NuCO2 and its
                                                                                                                                        for/provision of legal
NuCO2_Priv              9/14/2018                                             Ronald Thermil; John   affiliated
             xlsx                   William Bermudez    David Markatos                                                Attorney Client   advice regarding
_98                     10:38                                                 Templin                company(ies)                       customer
                                                                                                                                        account/dispute.
                                                                                                     Employee(s) of
                                                                                                                                        Reflects need
                                                                                                     NuCO2 and its
                                                                                                                                        for/provision of legal
NuCO2_Priv              6/12/2018                                                                    affiliated
             docx                   Sondra Meyer        Markatos, David                                               Attorney Client   advice regarding
_99                     10:24                                                                        company(ies)                       customer
                                                                                                                                        account/dispute.
                                                                                                     Employee(s) of
                                                                                                                                        Reflects need
                                                                                                     NuCO2 and its
                                                                                                                                        for/provision of legal
NuCO2_Priv              6/12/2018                                                                    affiliated
             xls                    Sondra Meyer        Markatos, David                                               Attorney Client   advice regarding
_100                    10:24                                                                        company(ies)                       customer
                                                                                                                                        account/dispute.




                                                                         18
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 20 of
                                                        573



                                                                                                                                Reflects need
                                                                                             Employees of
                                                                                                                                for/provision of legal
NuCO2_Priv             6/12/2018                                                            NuCO2 and its
             pdf                   Sondra Meyer      Markatos, David                                          Attorney Client   advice regarding
_101                   10:24                                                                affiliated
                                                                                                                                customer
                                                                                            company(ies)
                                                                                                                                account/dispute.
                                                                                             Employee(s) of
                                                                                            NuCO2 and its                       Reflects need
                                                                                                                                for/provision of legal
NuCO2_Priv             6/12/2018                                                            affiliated
             MSG                   Sondra Meyer      Markatos, David                                          Attorney Client   advice regarding
_102                   10:24                                                                company(ies)                        customer
                                                                                                                                account/dispute.

                                                                                                                                Communications
                                                                                            Employee(s) of                      regarding request
                                                                                                                                for/provision of legal
NuCO2_Priv             9/11/2018                                                            NuCO2
             MSG                   Robbi Stiell      John Templin                                             Attorney Client   advice/work product
_103                   18:58
                                                                                                                                of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of
                                                                                                                                Reflects attorney
                                                                                            NuCO2
                                                                                                              Attorney          Communications
NuCO2_Priv             11/2/2018
             pdf                   Contract Admin    Carla Loffredo        Bridget Correa                     Client/Work       and/or attorney work
_104                   15:01
                                                                                                              Product           product regarding
                                                                                                                                acquisition.
                                                                                            Employee(s) of
                                                                                                                                Reflects attorney
                                                                                            NuCO2
                                                                                                              Attorney          Communications
NuCO2_Priv             11/2/2018
             MSG                   Contract Admin    Carla Loffredo        Bridget Correa                     Client/Work       and/or attorney work
_105                   15:01
                                                                                                              Product           product regarding
                                                                                                                                acquisition.

                                                                                             Employee(s) of                     Communications
                                                                                            NuCO2 and its                       regarding request
                                                                                                              Attorney          for/provision of legal
NuCO2_Priv             9/27/2018                                                            affiliated
             MSG                   Markatos, David   John Templin          Piazza, Shelly                     Client/Work       advice/work product
_106                   15:06                                                                company(ies)      Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.




                                                                      19
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 21 of
                                                         573



                                                                                               Employee(s) of                     Communications
                                                                                              NuCO2 and its                       regarding request
                                                                                                                Attorney          for/provision of legal
NuCO2_Priv              9/27/2018                                                             affiliated
             docx                   Markatos, David   John Templin           Piazza, Shelly                     Client/Work       advice/work product
_107                    15:06                                                                 company(ies)      Product           of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                                                                  Communications
                                                                                                                                  regarding need
                                                                                                                                  for/provision of
                                                                                              Employees of                        information regarding
NuCO2_Priv              4/6/2017                                                              NuCO2                               customer
             doc                    Kevin Patton      Maria Primm                                               Attorney Client
_108                    10:05                                                                                                     account/dispute in
                                                                                                                                  order to facilitate
                                                                                                                                  provision of legal
                                                                                                                                  advice/services
                                                                                                                                  concerning the same.
                                                                                                                                  Communications
                                                                                                                                  regarding need
                                                                                              Employees of                        for/provision of
                                                                                                                                  information regarding
NuCO2_Priv              1/17/2017                     Russell Vicari;                         NuCO2
             MSG                    Kevin Patton                                                                Attorney Client   customer in order to
_109                    10:08                         Vince Giordano
                                                                                                                                  facilitate provision of
                                                                                                                                  legal advice/services
                                                                                                                                  concerning response to
                                                                                                                                  subpoena.
                                                                                                                                  Communications
                                                                                                                                  regarding need
                                                                                              Employees of                        for/provision of
                                                                                                                                  information regarding
NuCO2_Priv              1/17/2017                     Russell Vicari;                         NuCO2
             xlsx                   Kevin Patton                                                                Attorney Client   customer in order to
_110                    10:08                         Vince Giordano
                                                                                                                                  facilitate provision of
                                                                                                                                  legal advice/services
                                                                                                                                  concerning response to
                                                                                                                                  subpoena.
                                                                                              Employee(s) of
                                                                                                                                  Reflects
                                                                                              NuCO2 and
                                                                                                                                  communications
NuCO2_Priv              8/6/2018                                                              NuCO’s            Settlement
             MSG                    Sondra Meyer      'asmelton'                                                                  regarding settlement
_111                    10:43                                                                 customer(s)       Negotiations
                                                                                                                                  concerning customer
                                                                                                                                  dispute.


                                                                        20
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 22 of
                                                         573


                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2 and
                                                                                                                   communications
NuCO2_Priv              8/6/2018                                               NuCO’s            Settlement
             docx                   Sondra Meyer       'asmelton'                                                  regarding settlement
_112                    10:43                                                  customer(s)       Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.
                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2 and
                                                                                                                   communications
NuCO2_Priv              8/6/2018                                               NuCO’s            Settlement
             pdf                    Sondra Meyer       'asmelton'                                                  regarding settlement
_113                    10:43                                                  customer(s)       Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.


                                                                               Employees of                        Reflects
                                                                                                                   communications
NuCO2_Priv              1/27/2017                                              NuCO2             Settlement
             MSG                    Michael Graham     John Templin                                                regarding settlement
_114                    15:07                                                                    Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.


                                                                               Employees of                        Reflects
                                                                                                                   communications
NuCO2_Priv              1/27/2017                                              NuCO2             Settlement
             doc                    Michael Graham     John Templin                                                regarding settlement
_115                    15:07                                                                    Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.
                                                                                Employee(s) of
                                                                               NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv              1/26/2017                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                              Attorney Client   regarding litigation
_116                    8:01                                                   company(ies)                        hold.



                                                                               Employees of                        Reflects
                                                                                                                   communications
NuCO2_Priv              1/27/2017                                              NuCO2             Settlement
             MSG                    Michael Graham     John Templin                                                regarding settlement
_117                    15:11                                                                    Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.




                                                                      21
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 23 of
                                                         573


                                                                               Employees of                        Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              1/26/2017
             MSG                    Kym Cherubini       John Templin                             Client/Work       advice/work product
_118                    8:16
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employees of                        Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              1/26/2017
             pdf                    Kym Cherubini       John Templin                             Client/Work       advice/work product
_119                    8:16
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employees of                        Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              1/26/2017
             docx                   Kym Cherubini       John Templin                             Client/Work       advice/work product
_120                    8:16
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employees of
                                                                                                                   Reflects need
                                                                               NuCO2
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              6/25/2018                       Heather
             MSG                    Maria Primm                                                  Client/Work       advice regarding
_121                    16:39                           Shepherd
                                                                                                 Product           customer
                                                                                                                   account/dispute.
                                                                               Employees of                        Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              7/18/2018
             MSG                    Maria Primm         Ronald Thermil                           Client/Work       advice/work product
_122                    8:44
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                                Employee(s) of                     Communications
                                                                               NuCO2 and its                       regarding need
                                                                                                                   for/provision of
NuCO2_Priv              1/20/2017                                              affiliated
             MSG                    Balzarini, Edward   John Templin                             Attorney Client   information regarding
_123                    12:39                                                  company(ies)                        customer in order to
                                                                                                                   facilitate provision of
                                                                                                                   legal advice/services

                                                                         22
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 24 of
                                                        573


                                                                                                                 concerning response to
                                                                                                                 subpoena.




                                                                              Employee(s) of                     Communications
                                                                              NuCO2 and its                      regarding need
                                                                              affiliated                         for/provision of
                                                                                                                 information regarding
NuCO2_Priv             1/20/2017                                              company(ies)
             pdf                   Balzarini, Edward   John Templin                            Attorney Client   customer in order to
_124                   12:39
                                                                                                                 facilitate provision of
                                                                                                                 legal advice/services
                                                                                                                 concerning response to
                                                                                                                 subpoena.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2 and its                      regarding need for legal
NuCO2_Priv             7/18/2018                                              affiliated                         advice/work product
             png                   Maria Primm         Markatos, David                         Attorney Client
_125                   8:57                                                   company(ies)                       of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2 and its                      regarding need for legal
NuCO2_Priv             7/18/2018                                              affiliated                         advice/work product
             pdf                   Maria Primm         Markatos, David                         Attorney Client
_126                   8:57                                                   company(ies)                       of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2 and its                      regarding need for legal
NuCO2_Priv             7/18/2018                                              affiliated                         advice/work product
             MSG                   Maria Primm         Markatos, David                         Attorney Client
_127                   8:57                                                   company(ies)                       of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                              Employee(s) of
                                                                              NuCO2 and its                      Reflects need
NuCO2_Priv             8/15/2018                                              affiliated                         for/provision of legal
             MSG                   Sondra Meyer        Markatos, David                         Attorney Client
_128                   11:18                                                  company(ies)                       advice regarding state
                                                                                                                 consumer complaint.




                                                                      23
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 25 of
                                                        573


                                                                              Employee(s) of
                                                                              NuCO2 and its                       Reflects need
NuCO2_Priv             8/15/2018                                              affiliated                          for/provision of legal
             PDF                   Sondra Meyer       Markatos, David                           Attorney Client
_129                   11:18                                                  company(ies)                        advice regarding state
                                                                                                                  consumer complaint.

                                                                              Employee(s) of
                                                                              NuCO2 and its                       Reflects need
NuCO2_Priv             8/15/2018                                              affiliated                          for/provision of legal
             pdf                   Sondra Meyer       Markatos, David                           Attorney Client
_130                   11:18                                                  company(ies)                        advice regarding state
                                                                                                                  consumer complaint.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv             1/29/2017                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                              Attorney Client   regarding litigation
_131                   8:01                                                   company(ies)                        hold.

                                                                              Employee(s) of
                                                                              NuCO2
                                                                                                Attorney          Communications
NuCO2_Priv             6/28/2018                      Heather
             MSG                   Maria Primm                                                  Client/Work       regarding customer
_132                   14:33                          Shepherd
                                                                                                Product           dispute.

                                                                              Employee(s) of
                                                                              NuCO2
                                                                                                Attorney          Communications
NuCO2_Priv             6/28/2018                      Heather
             MSG                   Maria Primm                                                  Client/Work       regarding customer
_133                   15:05                          Shepherd
                                                                                                Product           dispute.

                                                                               Employee(s) of
                                                                              NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv             9/24/2018                                              affiliated
             MSG                   Edward Balzarini   John Templin                              Attorney Client   regarding litigation
_134                   9:00                                                   company(ies)                        hold.




                                                                     24
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 26 of
                                                         573



                                                                               Employees of
                                                                                                 Attorney          Communications
NuCO2_Priv              6/28/2018                      Heather                 NuCO2
             MSG                    Maria Primm                                                  Client/Work       regarding customer
_135                    15:09                          Shepherd
                                                                                                 Product           dispute.


                                                                                                                   Communications
                                                                                                                   regarding need
                                                                                                                   for/provision of
                                                                                                                   information regarding
NuCO2_Priv              6/7/2018                                                                 Settlement        customer
             pdf                    Sondra Meyer       Sondra Meyer            Self
_136                    12:18                                                                    Negotiations      account/dispute in
                                                                                                                   order to facilitate
                                                                                                                   provision of legal
                                                                                                                   advice/services
                                                                                                                   concerning the same.
                                                                                                                   Communications
                                                                                                                   regarding need
                                                                                                                   for/provision of
                                                                                                                   information regarding
NuCO2_Priv              6/7/2018                                                                 Settlement        customer
             MSG                    Sondra Meyer       Sondra Meyer            Self
_137                    12:18                                                                    Negotiations      account/dispute in
                                                                                                                   order to facilitate
                                                                                                                   provision of legal
                                                                                                                   advice/services
                                                                                                                   concerning the same.
                                                                                Employee(s) of
                                                                               NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv              1/22/2017                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                              Attorney Client   regarding litigation
_138                    8:01                                                   company(ies)                        hold.


                                                       Jeff Gilheney;
                                                       Randy Gold;
                                                                               Employees of                        Reflects attorney
                                                       Mike Kleimeyer;
                                                                                                 Attorney          Communicationss/or
NuCO2_Priv              1/24/2017                      Vince Giordano;         NuCO2
             pptx                                                                                Client/Work       attorney work product
_139                    8:56                           John Templin;
                                                                                                 Product           regardinglegal matters
                                                       Kent Hoffman;
                                                                                                                   and safety.
                                                       Kevin Patton;
                                                       Patrick Woelfel;


                                                                      25
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 27 of
                                                         573


                                                  Gerald Miller;
                                                  Foti, Kevin; John
                                                  Chesney; Derek
                                                  Burton; Russell
                                                  Vicari; Dominick
                                                  Brandow
                                                  Jeff Gilheney;               Employees of
                                                  Randy Gold;                  NuCO2
                                                  Mike Kleimeyer;
                                                  Vince Giordano;
                                                  John Templin;
                                                                                                            Reflects attorney
                                                  Kent Hoffman;
                                                                                              Attorney      Communications
NuCO2_Priv              1/24/2017                 Kevin Patton;
             pptx                                                                             Client/Work   and/or attorney work
_140                    8:56                      Patrick Woelfel;
                                                                                              Product       product regarding
                                                  Gerald Miller;
                                                                                                            insurance.
                                                  Foti, Kevin; John
                                                  Chesney; Derek
                                                  Burton; Russell
                                                  Vicari; Dominick
                                                  Brandow
                                                                               Employees of                 Communications
                                                                               NuCO2                        regarding request
                                                                                              Attorney      for/provision of legal
NuCO2_Priv              7/30/2018
             MSG                    Maria Primm   Ronald Thermil                              Client/Work   advice/work product
_141                    8:55
                                                                                              Product       of counsel concerning
                                                                                                            negotiation/drafting of
                                                                                                            customer agreement.
                                                                               Employees of                 Communications
                                                                               NuCO2                        regarding request
                                                                                              Attorney      for/provision of legal
NuCO2_Priv              7/30/2018
             pdf                    Maria Primm   Ronald Thermil                              Client/Work   advice/work product
_142                    8:55
                                                                                              Product       of counsel concerning
                                                                                                            negotiation/drafting of
                                                                                                            customer agreement.
                                                                                                            Communications
                                                                               Employees of                 regarding request
                                                                                              Attorney      for/provision of legal
NuCO2_Priv              7/30/2018                                              NuCO2
             pdf                    Maria Primm   Ronald Thermil                              Client/Work   advice/work product
_143                    8:55
                                                                                              Product       of counsel concerning
                                                                                                            negotiation/drafting of
                                                                                                            customer agreement.

                                                                   26
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 28 of
                                                        573


                                                                                                 Employee(s) of                      Communications
                                                                                                 NuCO2 and its                       regarding request
                                                                                                 affiliated                          for/provision of legal
NuCO2_Priv             9/28/2018
             MSG                   Markatos, David   John Templin          Piazza, Shelly                          Attorney Client   advice/work product
_144                   8:10                                                                      company(ies)
                                                                                                                                     of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                 Employee(s) of
                                                                                                                                     Reflects need
                                                     Brian D. Potter;                            NuCO2 and its
                                                                                                                                     for/provision of legal
NuCO2_Priv             3/4/2019                      Markatos, David;                            affiliated
             MSG                   Volmer, Tamara                          Felicia Gallagher                       Attorney Client   advice regarding
_145                   14:20                         Rodney                                      company(ies)                        customer
                                                     Husbands
                                                                                                                                     account/dispute.
                                                                                                 Employees of
                                                                                                                                     Reflects
                                                                                                 NuCO2
                                                                                                                                     communications
NuCO2_Priv             2/10/2017                                                                                   Settlement
             pdf                   Michael Graham    John Templin                                                                    regarding settlement
_146                   8:01                                                                                        Negotiations
                                                                                                                                     concerning customer
                                                                                                                                     dispute.
                                                                                                 Employees of
                                                                                                                                     Reflects
                                                                                                 NuCO2
                                                                                                                                     communications
NuCO2_Priv             2/10/2017                                                                                   Settlement
             MSG                   Michael Graham    John Templin                                                                    regarding settlement
_147                   8:01                                                                                        Negotiations
                                                                                                                                     concerning customer
                                                                                                                                     dispute.

                                                                                                  Employee(s) of                     Communications
                                                                                                 NuCO2 and its                       regarding request
                                                                                                                   Attorney          for/provision of legal
NuCO2_Priv             10/3/2018                                           Griegel, Beth; John   affiliated
             MSG                   Gerald Miller     Barnhard, Jeff                                                Client/Work       advice/work product
_148                   18:58                                               Templin               company(ies)      Product           of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                                                     Communications
                                                                                                                                     regarding request
                                                                                                 Employees of
                                                                                                                   Attorney          for/provision of legal
NuCO2_Priv             10/3/2018                                           Griegel, Beth; John   NuCO2 and its
             png                   Gerald Miller     Barnhard, Jeff                                                Client/Work       advice/work product
_149                   18:58                                               Templin               affiliated
                                                                                                                   Product           of counsel concerning
                                                                                                 company(ies)
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.



                                                                      27
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 29 of
                                                        573



                                                                                                                Reflects need
                                                                              Employees of
                                                                                                                for/provision of legal
NuCO2_Priv             1/26/2017                      John Templin;           NuCO2 and its
             pdf                   Peter Craig                                                Attorney Client   advice regarding
_150                   13:01                          David Markatos          affiliated
                                                                                                                customer
                                                                              company(ies)
                                                                                                                account/dispute.
                                                                              Employees of
                                                                                                                Reflects need
                                                                              NuCO2 and its
                                                                                                                for/provision of legal
NuCO2_Priv             1/26/2017                      John Templin;           affiliated
             pdf                   Peter Craig                                                Attorney Client   advice regarding
_151                   13:01                          David Markatos          company(ies)                      customer
                                                                                                                account/dispute.
                                                                              Employees of
                                                                                                                Reflects need
                                                                              NuCO2 and its
                                                                                                                for/provision of legal
NuCO2_Priv             1/26/2017                      John Templin;           affiliated
             pdf                   Peter Craig                                                Attorney Client   advice regarding
_152                   13:01                          David Markatos          company(ies)                      customer
                                                                                                                account/dispute.
                                                                              Employees of                      Reflects
                                                                              NuCO2                             communications or
                                                                                              Attorney
NuCO2_Priv             8/7/2018                                                                                 advice or work product
             pdf                   Maria Primm        Contract Admin                          Client/Work
_153                   15:53                                                                                    regarding
                                                                                              Product
                                                                                                                negotiation/drafting of
                                                                                                                customer agreement.
                                                                              Employees of                      Reflects
                                                                              NuCO2                             communications or
                                                                                              Attorney
NuCO2_Priv             8/7/2018                                                                                 advice or work product
             MSG                   Maria Primm        Contract Admin                          Client/Work
_154                   15:53                                                                                    regarding
                                                                                              Product
                                                                                                                negotiation/drafting of
                                                                                                                customer agreement.

                                                                              Employees of
                                                                                                                Communication
NuCO2_Priv             1/30/2017                                              NuCO2 and its
             MSG                   Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_155                   8:48                                                   affiliated
                                                                                                                hold.
                                                                              company(ies)




                                                                       28
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 30 of
                                                         573



                                                                               Employees of                       Reflects need
                                                       Heather
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              6/25/2018                      Shepherd; Angie         NuCO2
             MSG                    Maria Primm                                                 Client/Work       advice regarding
_156                    10:19                          Baggett; Brian D.
                                                                                                Product           customer
                                                       Potter
                                                                                                                  account/dispute.
                                                                               Employees of
                                                                                                                  Reflects
                                                                               NuCO2
                                                                                                                  communications
NuCO2_Priv              1/30/2017                                                               Settlement
             MSG                    Michael Graham     John Templin                                               regarding settlement
_157                    8:38                                                                    Negotiations
                                                                                                                  concerning customer
                                                                                                                  dispute.
                                                                               Employees of
                                                                                                                  Reflects
                                                                               NuCO2
                                                                                                                  communications
NuCO2_Priv              1/30/2017                                                               Settlement
             pdf                    Michael Graham     John Templin                                               regarding settlement
_158                    8:38                                                                    Negotiations
                                                                                                                  concerning customer
                                                                                                                  dispute.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2 and its                      regarding request
                                                                               affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/18/2018
             MSG                    Maria Primm        Markatos, David                          Client/Work       advice/work product
_159                    12:02                                                  company(ies)
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv              10/1/2018                                              affiliated
             MSG                    Edward Balzarini   John Templin                             Attorney Client   regarding litigation
_160                    11:19                                                  company(ies)                       hold.


                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2 and its
                                                                                                Attorney          Communications
NuCO2_Priv              3/12/2018                                              affiliated
             xlsx                   Kevin Patton       Felicia Gallagher                        Client/Work       and/or attorney work
_161                    10:05                                                  company(ies)     Product           product regarding
                                                                                                                  acquisition.




                                                                       29
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 31 of
                                                         573


                                                                               Employees of                     Reflects attorney
                                                                               NuCO2                            Communicationss/or
NuCO2_Priv              2/1/2017                                                                                attorney work product
             MSG                   Damarie Cortez   John Templin                              Attorney Client
_162                    11:43                                                                                   regarding settlement
                                                                                                                concerning customer
                                                                                                                dispute.
                                                                               Employees of                     Reflects attorney
                                                                               NuCO2                            Communicationss/or
NuCO2_Priv              2/1/2017                                                                                attorney work product
             xlsm                  Damarie Cortez   John Templin                              Attorney Client
_163                    11:43                                                                                   regarding settlement
                                                                                                                concerning customer
                                                                                                                dispute.
                                                                               Employees of                     Reflects attorney
                                                                               NuCO2                            Communicationss/or
NuCO2_Priv              2/1/2017                                                                                attorney work product
             xlsm                  Damarie Cortez   John Templin                              Attorney Client
_164                    11:43                                                                                   regarding settlement
                                                                                                                concerning customer
                                                                                                                dispute.
                                                                               Employees of                     Reflects attorney
                                                                               NuCO2                            Communicationss/or
NuCO2_Priv              2/1/2017                                                                                attorney work product
             PDF                   Damarie Cortez   John Templin                              Attorney Client
_165                    11:43                                                                                   regarding settlement
                                                                                                                concerning customer
                                                                                                                dispute.
                                                                               Employees of
                                                                                                                Reflects
                                                                               NuCO2
                                                                                                                communications
NuCO2_Priv              2/7/2017
             MSG                   Sondra Meyer     John Templin                              Attorney Client   regarding settlement
_166                    12:47
                                                                                                                concerning customer
                                                                                                                dispute.
                                                                               Employees of
                                                                                                                Reflects
                                                                               NuCO2
                                                                                                                communications
NuCO2_Priv              2/7/2017
             pdf                   Sondra Meyer     John Templin                              Attorney Client   regarding settlement
_167                    12:47
                                                                                                                concerning customer
                                                                                                                dispute.




                                                                   30
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 32 of
                                                         573


                                                                                                Employees of
                                                                                                                                    Reflects need
                                                                                                NuCO2
                                                                                                                                    for/provision of legal
NuCO2_Priv              2/7/2017
             MSG                        Sondra Meyer       John Templin                                           Attorney Client   advice regarding
_168                    13:08
                                                                                                                                    customer
                                                                                                                                    account/dispute.
                                                                                                                                    Communications
                                                                                                Employees of                        regarding request
                                                                                                                  Attorney          for/provision of legal
NuCO2_Priv              7/31/2018                                                               NuCO2
             MSG                        Maria Primm        Contract Admin      Bridget Correa                     Client/Work       advice/work product
_169                    15:41
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                Employees of                        Communications
                                                                                                NuCO2                               regarding need
NuCO2_Priv              10/3/2018                                                                                                   for/provision of
             MSG                        Richard Wilkie     John Templin                                           Attorney Client
_170                    15:52                                                                                                       information in order to
                                                                                                                                    facilitate provision of
                                                                                                                                    legal advice/services.
                                                                                                Employees of                        Communications
                                                                                                NuCO2                               regarding need
NuCO2_Priv              10/3/2018                                                                                                   for/provision of
             docx                       Richard Wilkie     John Templin                                           Attorney Client
_171                    15:52                                                                                                       information in order to
                                                                                                                                    facilitate provision of
                                                                                                                                    legal advice/services.
                                                                                                Employees of                        Communications
                                                                                                NuCO2                               regarding request
                                                                                                                  Attorney          for/provision of legal
NuCO2_Priv
             MSG        8/8/2018 9:53   Maria Primm        Contract Admin                                         Client/Work       advice/work product
_172
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                 Employee(s) of
                                                                                                NuCO2 and its
                                                                                                                                    Communication
NuCO2_Priv                                                                                      affiliated
             MSG        2/5/2017 8:01   Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_173                                                                                            company(ies)                        hold.




                                                                          31
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 33 of
                                                         573



                                                                                                 Employee(s) of                 Communications
                                                                                                NuCO2 and its                   regarding request
                                                                                                                  Attorney      for/provision of legal
NuCO2_Priv              10/3/2018                        Gerald Miller;                         affiliated
             MSG                        Barnhard, Jeff                         John Templin                       Client/Work   advice/work product
_174                    18:49                            Griegel, Beth                          company(ies)      Product       of counsel concerning
                                                                                                                                negotiation/ drafting of
                                                                                                                                customer agreement
                                                                                                                                Communications
                                                                                                Employees of                    regarding request
                                                                                                                  Attorney      for/provision of legal
NuCO2_Priv                                                                                      NuCO2
             MSG        8/2/2018 8:41   Maria Primm      Contract Admin        Bridget Correa                     Client/Work   advice/work product
_175
                                                                                                                  Product       of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                         John Templin;
                                                         Gerald Miller;
                                                         Jeff Gilheney;                                                         Communications
                                                         Felicia Gallagher;                     Employees of                    regarding need
                                                                                                                  Attorney
NuCO2_Priv              10/3/2018                        Derek Burton;                          NuCO2                           for/provision of
             MSG                        John Templin                                                              Client/Work
_176                    14:50                            Richard Wilkie;                                                        information in order to
                                                                                                                  Product
                                                         Nate Freese;                                                           facilitate provision of
                                                         Brian D. Potter;                                                       legal advice/services.
                                                         Jeff Wilson;
                                                         Ronald Thermil
                                                         John Templin;
                                                         Gerald Miller;
                                                         Jeff Gilheney;                                                         Communications
                                                         Felicia Gallagher;                     Employees of                    regarding need
                                                                                                                  Attorney
NuCO2_Priv              10/3/2018                        Derek Burton;                          NuCO2                           for/provision of
             docx                       John Templin                                                              Client/Work
_177                    14:50                            Richard Wilkie;                                                        information in order to
                                                                                                                  Product
                                                         Nate Freese;                                                           facilitate provision of
                                                         Brian D. Potter;                                                       legal advice/services.
                                                         Jeff Wilson;
                                                         Ronald Thermil
                                                         John Templin;
                                                                                                                                Communications
                                                         Gerald Miller;                         Employees of                    regarding need
                                                         Jeff Gilheney;                                           Attorney
NuCO2_Priv              10/3/2018                                                               NuCO2                           for/provision of
             docx                       John Templin     Felicia Gallagher;                                       Client/Work
_178                    14:50                                                                                                   information in order to
                                                         Derek Burton;                                            Product
                                                                                                                                facilitate provision of
                                                         Richard Wilkie;
                                                                                                                                legal advice/services.
                                                         Nate Freese;

                                                                          32
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 34 of
                                                         573


                                                       Brian D. Potter;
                                                       Jeff Wilson;
                                                       Ronald Thermil



                                                                               Employees of                        Communications
                                                                               NuCO2                               regarding request
                                                                                                                   for/provision of legal
NuCO2_Priv              10/3/2018
             docx                    Brian D. Potter   John Templin                              Attorney Client   advice/work product
_179                    14:56
                                                                                                                   of counsel concerning
                                                                                                                   negotiation/ drafting of
                                                                                                                   customer agreement
                                                                               Employees of                        Communications
                                                                               NuCO2                               regarding request
                                                                                                                   for/provision of legal
NuCO2_Priv              10/3/2018
             MSG                     Brian D. Potter   John Templin                              Attorney Client   advice/work product
_180                    14:56
                                                                                                                   of counsel concerning
                                                                                                                   negotiation/ drafting of
                                                                                                                   customer agreement
                                                                               Employee(s) of
                                                                                                                   Reflects need
                                                                               NuCO2 and its
                                                                                                                   for/provision of legal
NuCO2_Priv              10/22/2018                                             affiliated
             pdf                     Sondra Meyer      Markatos, David                           Attorney Client   advice regarding
_181                    11:06                                                  company(ies)                        customer
                                                                                                                   account/dispute.
                                                                               Employee(s) of
                                                                                                                   Reflects need
                                                                               NuCO2 and its
                                                                                                                   for/provision of legal
NuCO2_Priv              10/22/2018                                             affiliated
             pdf                     Sondra Meyer      Markatos, David                           Attorney Client   advice regarding
_182                    11:06                                                  company(ies)                        customer
                                                                                                                   account/dispute.

                                                                                                                   Reflects need
                                                                                Employee(s) of
                                                                                                                   for/provision of legal
NuCO2_Priv              10/22/2018                                             NuCO2 and its
             pdf                     Sondra Meyer      Markatos, David                           Attorney Client   advice regarding
_183                    11:06                                                  affiliated
                                                                                                                   customer
                                                                               company(ies)
                                                                                                                   account/dispute.




                                                                          33
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 35 of
                                                         573


                                                          John Templin;                    Employees of
                                                          Vicari, Russell;                 NuCO2
                                                          Vince Giordano;
                                                          Derek Burton;                                                       Reflects attorney
                                                          Mike Kleimeyer;                                   Attorney          Communications
NuCO2_Priv
             pptx       2/7/2017 8:16   Gerald Miller     Kent Hoffman;       Randy Gold                    Client/Work       and/or attorney work
_184
                                                          Jeff Gilheney;                                    Product           product regarding
                                                          Patrick Woelfel;                                                    acquisition.
                                                          Gallagher,
                                                          Felicia; Kevin
                                                          Patton
                                                          John Templin;                    Employees of
                                                          Vicari, Russell;                 NuCO2
                                                          Vince Giordano;
                                                          Derek Burton;                                                       Reflects attorney
                                                          Mike Kleimeyer;                                   Attorney          Communications
NuCO2_Priv
             xlsm       2/7/2017 8:16   Gerald Miller     Kent Hoffman;       Randy Gold                    Client/Work       and/or attorney work
_185
                                                          Jeff Gilheney;                                    Product           product regarding
                                                          Patrick Woelfel;                                                    acquisition.
                                                          Gallagher,
                                                          Felicia; Kevin
                                                          Patton
                                                          John Templin;                    Employees of
                                                          Vicari, Russell;                 NuCO2
                                                          Vince Giordano;
                                                          Derek Burton;                                                       Reflects attorney
                                                          Mike Kleimeyer;                                   Attorney          Communications
NuCO2_Priv
             MSG        2/7/2017 8:16   Gerald Miller     Kent Hoffman;       Randy Gold                    Client/Work       and/or attorney work
_186
                                                          Jeff Gilheney;                                    Product           product regarding
                                                          Patrick Woelfel;                                                    acquisition.
                                                          Gallagher,
                                                          Felicia; Kevin
                                                          Patton
                                                                                           Employee(s) of
                                                                                                                              Reflects need
                                                                                           NuCO2 and its
                                                                                                                              for/provision of legal
NuCO2_Priv              4/9/2015                                                           affiliated
             MSG                        Markatos, David   Sondra Meyer                                      Attorney Client   advice regarding
_187                    13:56                                                              company(ies)                       customer
                                                                                                                              account/dispute.




                                                                         34
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 36 of
                                                        573


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv             2/12/2017                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_188                   8:01                                                   company(ies)                        hold.


                                                                              Employee(s) of                      Communications
                                                                              NuCO2 and its                       regarding request
                                                                              affiliated        Attorney          for/provision of legal
NuCO2_Priv             10/25/2016
             pdf                    Sondra Meyer       David Markatos                           Client/Work       advice/work product
_189                   12:09                                                  company(ies)
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                              Employee(s) of                      Communications
                                                                              NuCO2 and its                       regarding request
                                                                              affiliated        Attorney          for/provision of legal
NuCO2_Priv             10/25/2016
             pdf                    Sondra Meyer       David Markatos                           Client/Work       advice/work product
_190                   12:09                                                  company(ies)
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                              Employee(s) of                      Communications
                                                                              NuCO2 and its                       regarding need
NuCO2_Priv             10/25/2016                                             affiliated                          for/provision of
             MSG                    Sondra Meyer       David Markatos                           Attorney Client
_191                   12:26                                                  company(ies)                        information in order to
                                                                                                                  facilitate provision of
                                                                                                                  legal advice/services.
                                                                               Employee(s) of                     Communications
                                                                              NuCO2 and its                       regarding need
NuCO2_Priv             10/25/2016                                             affiliated                          for/provision of
             pdf                    Sondra Meyer       David Markatos                           Attorney Client
_192                   12:26                                                  company(ies)                        information in order to
                                                                                                                  facilitate provision of
                                                                                                                  legal advice/services.
                                                                                                                  Communications
                                                                                                                  regarding need
                                                                              Employees of                        for/provision of
NuCO2_Priv             10/2/2018                                              NuCO2                               information regarding
             MSG                    Kevin Patton       Toyanna Platt                            Attorney Client
_193                   9:24                                                                                       customer
                                                                                                                  account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal


                                                                        35
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 37 of
                                                         573


                                                                                                                  advice/services
                                                                                                                  concerning the same.




                                                                               Employee(s) of                     Communications
                                                                               NuCO2 and its                      regarding need
                                                                               affiliated                         for/provision of
                                                                                                                  information regarding
                                                                               company(ies)
NuCO2_Priv              10/25/2016                                                                                customer
             docx                    Sondra Meyer   David Markatos                              Attorney Client
_194                    14:41                                                                                     account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2 and its                      regarding need
                                                                               affiliated                         for/provision of
                                                                                                                  information regarding
                                                                               company(ies)
NuCO2_Priv              10/25/2016                                                                                customer
             pdf                     Sondra Meyer   David Markatos                              Attorney Client
_195                    14:41                                                                                     account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2 and its                      regarding need
                                                                               affiliated                         for/provision of
                                                                                                                  information regarding
                                                                               company(ies)
NuCO2_Priv              10/26/2016                                                                                customer
             pdf                     Sondra Meyer   David Markatos                              Attorney Client
_196                    8:14                                                                                      account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.




                                                                     36
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 38 of
                                                        573


                                                                              Employee(s) of                     Communications
                                                                              NuCO2 and its                      regarding need
                                                                              affiliated                         for/provision of
                                                                                                                 information regarding
                                                                              company(ies)
NuCO2_Priv             1/25/2017                                                                                 customer
             MSG                   Markatos, David   Sondra Meyer                              Attorney Client
_197                   8:31                                                                                      account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                                                                 Communications
                                                                              Employees of                       regarding request
                                                                                               Attorney          for/provision of legal
NuCO2_Priv             7/19/2018                                              NuCO2
             MSG                   Maria Primm       Ronald Thermil                            Client/Work       advice/work product
_198                   15:37
                                                                                               Product           of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                                                                 Communications
                                                                              Employees of                       regarding request
                                                                                               Attorney          for/provision of legal
NuCO2_Priv             7/19/2018                                              NuCO2
             png                   Maria Primm       Ronald Thermil                            Client/Work       advice/work product
_199                   15:37
                                                                                               Product           of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                              Employees of                       Communications
                                                                              NuCO2                              regarding request
                                                                                               Attorney          for/provision of legal
NuCO2_Priv             7/19/2018
             pdf                   Maria Primm       Ronald Thermil                            Client/Work       advice/work product
_200                   15:37
                                                                                               Product           of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                              Employees of                       Communications
                                                                              NuCO2                              regarding request
                                                                                               Attorney          for/provision of legal
NuCO2_Priv             7/19/2018
             pdf                   Maria Primm       Ronald Thermil                            Client/Work       advice/work product
_201                   15:37
                                                                                               Product           of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.




                                                                      37
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 39 of
                                                         573


                                                                                            Employee(s) of
                                                                                           NuCO2 and its                    Reflects attorney
                                                                                                             Attorney       Communications
NuCO2_Priv              8/28/2018                                                          affiliated
             xlsx                   Kevin Patton     Felicia Gallagher                                       Client/Work    and/or attorney work
_202                    14:22                                                              company(ies)      Product        product regarding
                                                                                                                            acquisition.

                                                                                           Employees of
                                                                                                                            Reflects
                                                                                           NuCO2
                                                                                                                            communications
NuCO2_Priv              2/10/2017                                                                            Settlement
             JPG                    Michael Graham   John Templin                                                           regarding settlement
_203                    13:05                                                                                Negotiations
                                                                                                                            concerning customer
                                                                                                                            dispute.
                                                                                           Employees of
                                                                                                                            Reflects
                                                                                           NuCO2
                                                                                                                            communications
NuCO2_Priv              2/10/2017                                                                            Settlement
             MSG                    Michael Graham   John Templin                                                           regarding settlement
_204                    13:05                                                                                Negotiations
                                                                                                                            concerning customer
                                                                                                                            dispute.
                                                     John Templin;
                                                     Richard Wilkie;
                                                     Derek Burton;
                                                     Felicia Gallagher;
                                                                                           Employees of                     Reflects attorney
                                                     Jeff Gilheney;
                                                                                                             Attorney       Communications
NuCO2_Priv              2/5/2019                     Dominick                              NuCO2
             pptx                   Mike Lyons                            Mike Lyons                         Client/Work    and/or attorney work
_205                    13:08                        Brandow; Eric
                                                                                                             Product        product regarding
                                                     Hansen; Bill
                                                                                                                            safety.
                                                     Wilson; Terry
                                                     Mckiernan;
                                                     Marino
                                                     Anderson
                                                                                                                            Communications
                                                                                           Employees of                     regarding request
                                                                                                             Attorney       for/provision of legal
NuCO2_Priv              8/1/2018                                                           NuCO2
             MSG                    Maria Primm      Contract Admin       Bridget Correa                     Client/Work    advice/work product
_206                    11:51
                                                                                                             Product        of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.




                                                                     38
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 40 of
                                                         573


                                                                                                                                 Communications
                                                                                              Employees of                       regarding request
                                                                                                               Attorney          for/provision of legal
NuCO2_Priv              8/1/2018                                                              NuCO2
             pdf                    Maria Primm        Contract Admin       Bridget Correa                     Client/Work       advice/work product
_207                    11:51
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.

                                                                                              Employees of                       Reflects
                                                                                                                                 communications
NuCO2_Priv              2/7/2019                                                              NuCO2            Settlement
             MSG                    Lisa Willard       Jeffrey Desmond                                                           regarding settlement
_208                    11:19                                                                                  Negotiations
                                                                                                                                 concerning customer
                                                                                                                                 dispute.
                                                                                              Employee(s) of
                                                                                              NuCO2 and its
                                                                                                                                 Communication
NuCO2_Priv              10/8/2018                                                             affiliated
             MSG                    Edward Balzarini   John Templin                                            Attorney Client   regarding litigation
_209                    8:59                                                                  company(ies)                       hold.


                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2 and its                      regarding request
                                                                                              affiliated       Attorney          for/provision of legal
NuCO2_Priv              10/5/2018                      Robbi Stiell; John
             MSG                    Piazza, Shelly                          Markatos, David                    Client/Work       advice/work product
_210                    13:50                          Templin                                company(ies)
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2 and its                      regarding request
                                                                                              affiliated       Attorney          for/provision of legal
NuCO2_Priv              10/5/2018                      Robbi Stiell; John
             docx                   Piazza, Shelly                          Markatos, David                    Client/Work       advice/work product
_211                    13:50                          Templin                                company(ies)
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2 and its                      regarding request
                                                                                              affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/19/2018
             MSG                    Maria Primm        Markatos, David                                         Client/Work       advice/work product
_212                    12:52                                                                 company(ies)
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.


                                                                       39
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 41 of
                                                        573


                                                                                                                            Communications
                                                                                              Employees of                  regarding request
                                                                                                             Attorney       for/provision of legal
NuCO2_Priv             7/31/2018                                                              NuCO2
             MSG                   Maria Primm     Ronald Thermil                                            Client/Work    advice/work product
_213                   8:42
                                                                                                             Product        of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                              Employees of                  Communications
                                                                                              NuCO2                         regarding request
                                                                                                             Attorney       for/provision of legal
NuCO2_Priv             7/31/2018
             pdf                   Maria Primm     Ronald Thermil                                            Client/Work    advice/work product
_214                   8:42
                                                                                                             Product        of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                              Employees of                  Communications
                                                                                              NuCO2                         regarding request
                                                                                                             Attorney       for/provision of legal
NuCO2_Priv             7/31/2018
             pdf                   Maria Primm     Ronald Thermil                                            Client/Work    advice/work product
_215                   8:42
                                                                                                             Product        of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                              Employees of
                                                                                              NuCO2                         Communications
NuCO2_Priv             2/13/2017                                         John Templin; Eric                  Settlement     regarding strategy for
             PDF                   Kym Cherubini   Suzanne Morine
_216                   11:54                                             Monroe                              Negotiations   settling customer
                                                                                                                            dispute.

                                                                                              Employees of
                                                                                              NuCO2                         Communications
NuCO2_Priv             2/13/2017                                         John Templin; Eric                  Settlement     regarding strategy for
             MSG                   Kym Cherubini   Suzanne Morine
_217                   11:54                                             Monroe                              Negotiations   settling customer
                                                                                                                            dispute.

                                                                                              Employees of
                                                                                                                            Reflects
                                                                                              NuCO2
                                                                                                                            communications
NuCO2_Priv             2/7/2019                                                                              Settlement
             MSG                   Lisa Willard    Jeffrey Desmond                                                          regarding settlement
_218                   12:19                                                                                 Negotiations
                                                                                                                            concerning customer
                                                                                                                            dispute.




                                                                    40
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 42 of
                                                         573


                                                                               Employees of                     Communications
                                                                               NuCO2                            regarding need
                                                                                                                for/provision of
                                                                                                                information regarding
NuCO2_Priv              2/17/2017                                                                               customer
             MSG                    Kathleen Daniel   John Templin                            Attorney Client
_219                    10:23                                                                                   account/dispute in
                                                                                                                order to facilitate
                                                                                                                provision of legal
                                                                                                                advice/services
                                                                                                                concerning the same.
                                                                               Employees of                     Communications
                                                                               NuCO2                            regarding need
                                                                                                                for/provision of
                                                                                                                information regarding
NuCO2_Priv              2/17/2017                                                                               customer
             docx                   Kathleen Daniel   John Templin                            Attorney Client
_220                    10:23                                                                                   account/dispute in
                                                                                                                order to facilitate
                                                                                                                provision of legal
                                                                                                                advice/services
                                                                                                                concerning the same.
                                                                               Employees of                     Communications
                                                                               NuCO2                            regarding need
                                                                                                                for/provision of
                                                                                                                information regarding
NuCO2_Priv              2/17/2017                                                                               customer
             pdf                    Kathleen Daniel   John Templin                            Attorney Client
_221                    10:23                                                                                   account/dispute in
                                                                                                                order to facilitate
                                                                                                                provision of legal
                                                                                                                advice/services
                                                                                                                concerning the same.
                                                                               Employees of                     Communications
                                                                               NuCO2                            regarding need
                                                                                                                for/provision of
                                                                                                                information regarding
NuCO2_Priv              2/17/2017                                                                               customer
             xls                    Kathleen Daniel   John Templin                            Attorney Client
_222                    10:23                                                                                   account/dispute in
                                                                                                                order to facilitate
                                                                                                                provision of legal
                                                                                                                advice/services
                                                                                                                concerning the same.



                                                                     41
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 43 of
                                                        573


                                                                              Employees of                       Communications
                                                                              NuCO2                              regarding request
                                                                                               Attorney          for/provision of legal
NuCO2_Priv             7/20/2018
             MSG                       Maria Primm   Ronald Thermil                            Client/Work       advice/work product
_223                   11:26
                                                                                               Product           of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2 and its
                                                                                                                 for/provision of legal
NuCO2_Priv                                                                    affiliated
             MSG       8/6/2018 9:29   Maria Primm   Markatos, David                           Attorney Client   advice regarding
_224                                                                          company(ies)                       customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2 and its
                                                                                                                 for/provision of legal
NuCO2_Priv                                                                    affiliated
             PDF       8/6/2018 9:29   Maria Primm   Markatos, David                           Attorney Client   advice regarding
_225                                                                          company(ies)                       customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2 and its
                                                                                                                 for/provision of legal
NuCO2_Priv                                                                    affiliated
             pdf       8/6/2018 9:29   Maria Primm   Markatos, David                           Attorney Client   advice regarding
_226                                                                          company(ies)                       customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2 and its
                                                                                                                 for/provision of legal
NuCO2_Priv                                                                    affiliated
             pdf       8/6/2018 9:29   Maria Primm   Markatos, David                           Attorney Client   advice regarding
_227                                                                          company(ies)                       customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2 and its
                                                                                                                 for/provision of legal
NuCO2_Priv                                                                    affiliated
             pdf       8/6/2018 9:29   Maria Primm   Markatos, David                           Attorney Client   advice regarding
_228                                                                          company(ies)                       customer
                                                                                                                 account/dispute.




                                                                      42
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 44 of
                                                         573


                                                                                                 Employee(s) of
                                                                                                                                    Reflects need
                                                                                                 NuCO2 and its
                                                                                                                                    for/provision of legal
NuCO2_Priv                                                                                       affiliated
             pdf        8/6/2018 9:29   Maria Primm       Markatos, David                                         Attorney Client   advice regarding
_229                                                                                             company(ies)                       customer
                                                                                                                                    account/dispute.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding request
                                                                                                 affiliated       Attorney          for/provision of legal
NuCO2_Priv              10/17/2018
             MSG                        Markatos, David   John Templin          Piazza, Shelly                    Client/Work       advice/work product
_230                    11:14                                                                    company(ies)
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding request
                                                                                                 affiliated       Attorney          for/provision of legal
NuCO2_Priv              10/17/2018
             docx                       Markatos, David   John Templin          Piazza, Shelly                    Client/Work       advice/work product
_231                    11:14                                                                    company(ies)
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding request
                                                                                                 affiliated       Attorney          for/provision of legal
NuCO2_Priv              10/3/2018
             pptx                       Gerald Miller     Barnhard, Jeff        John Templin                      Client/Work       advice/work product
_232                    13:34                                                                    company(ies)
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding request
                                                                                                 affiliated       Attorney          for/provision of legal
NuCO2_Priv              10/3/2018
             MSG                        Gerald Miller     Barnhard, Jeff        John Templin                      Client/Work       advice/work product
_233                    13:34                                                                    company(ies)
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                 Employees of                       Communications
                                                                                                 NuCO2                              regarding need
                                                          Ben Fletcher;                                                             for/provision of
NuCO2_Priv              8/6/2018
             pdf                        Maria Primm       Antonio Myers;                                          Attorney Client   information regarding
_234                    11:26
                                                          Zach Summar                                                               customer
                                                                                                                                    account/dispute in
                                                                                                                                    order to facilitate

                                                                           43
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 45 of
                                                        573


                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.



                                                                              Employees of                       Communications
                                                                              NuCO2                              regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
                                                Ben Fletcher;
NuCO2_Priv             8/6/2018                                                                                  customer
             pdf                  Maria Primm   Antonio Myers;                                 Attorney Client
_235                   11:26                                                                                     account/dispute in
                                                Zach Summar
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
                                                Ben Fletcher;
NuCO2_Priv             8/6/2018                                                                                  customer
             pdf                  Maria Primm   Antonio Myers;                                 Attorney Client
_236                   11:26                                                                                     account/dispute in
                                                Zach Summar
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
                                                Ben Fletcher;
NuCO2_Priv             8/6/2018                                                                                  customer
             MSG                  Maria Primm   Antonio Myers;                                 Attorney Client
_237                   11:26                                                                                     account/dispute in
                                                Zach Summar
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.




                                                                 44
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 46 of
                                                         573



                                                                                                      Employee(s) of                      Communications
                                                                                                      NuCO2 and its                       regarding request
                                                                                                                                          for/provision of legal
NuCO2_Priv              10/1/2018                      John Templin;         Gerald Miller; Felicia   affiliated
             MSG                     Robbi Stiell                                                                       Attorney Client   advice/work product
_238                    12:09                          Markatos, David       Gallagher                company(ies)                        of counsel concerning
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.
                                                                                                       Employee(s) of                     Communications
                                                                                                      NuCO2 and its                       regarding request
                                                                                                                        Attorney          for/provision of legal
NuCO2_Priv              10/8/2018                      John Templin;                                  affiliated
             MSG                     Robbi Stiell                            Markatos, David                            Client/Work       advice/work product
_239                    10:41                          Piazza, Shelly                                 company(ies)      Product           of counsel concerning
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.

                                                                                                      Employees of                        Reflects
                                                                                                                                          communications
NuCO2_Priv              2/8/2019                                                                      NuCO2             Settlement
             MSG                     Melissa Johnson   Jeffrey Desmond                                                                    regarding settlement
_240                    11:22                                                                                           Negotiations
                                                                                                                                          concerning customer
                                                                                                                                          dispute.
                                                                                                      Employee(s) of                      Communications
                                                                                                      NuCO2 and its                       regarding request
                                                                                                      affiliated        Attorney          for/provision of legal
NuCO2_Priv              10/23/2018
             docx                    Markatos, David   John Templin          Piazza, Shelly                             Client/Work       advice/work product
_241                    9:26                                                                          company(ies)
                                                                                                                        Product           of counsel concerning
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.
                                                                                                      Employee(s) of                      Communications
                                                                                                      NuCO2 and its                       regarding request
                                                                                                      affiliated        Attorney          for/provision of legal
NuCO2_Priv              10/23/2018
             MSG                     Markatos, David   John Templin          Piazza, Shelly                             Client/Work       advice/work product
_242                    9:26                                                                          company(ies)
                                                                                                                        Product           of counsel concerning
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.
                                                                                                      Employee(s) of                      Communications
                                                                                                      NuCO2 and its                       regarding request
                                                                                                      affiliated        Attorney          for/provision of legal
NuCO2_Priv              10/25/2018
             MSG                     Markatos, David   John Templin          Piazza, Shelly                             Client/Work       advice/work product
_243                    12:54                                                                         company(ies)
                                                                                                                        Product           of counsel concerning
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.

                                                                        45
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 47 of
                                                         573


                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding request
                                                                                                    affiliated       Attorney          for/provision of legal
NuCO2_Priv              10/4/2018                                            Barnhard, Jeff; John
             MSG                    Griegel, Beth      Gerald Miller                                                 Client/Work       advice/work product
_244                    9:25                                                 Templin                company(ies)
                                                                                                                     Product           of counsel concerning
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding request
                                                                                                    affiliated       Attorney          for/provision of legal
NuCO2_Priv              10/4/2018                                            Barnhard, Jeff; John
             pptx                   Griegel, Beth      Gerald Miller                                                 Client/Work       advice/work product
_245                    9:25                                                 Templin                company(ies)
                                                                                                                     Product           of counsel concerning
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                    Employee(s) of
                                                                                                    NuCO2 and its
                                                                                                                                       Communication
NuCO2_Priv              2/20/2017                                                                   affiliated
             MSG                    Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_246                    8:45                                                                        company(ies)                       hold.

                                                                                                    Employee(s) of
                                                                                                                                       Reflects attorney
                                                                                                    NuCO2 and its
                                                                                                                     Attorney          Communications
NuCO2_Priv              2/22/2017                      John Templin;                                affiliated
             MSG                    Randy Gold                                                                       Client/Work       and/or attorney work
_247                    10:52                          David Markatos                               company(ies)     Product           product regarding
                                                                                                                                       acquisition.
                                                                                                    Employee(s) of
                                                                                                                                       Reflects attorney
                                                                                                    NuCO2 and its
                                                                                                                     Attorney          Communications
NuCO2_Priv              2/22/2017                      John Templin;                                affiliated
             pdf                    Randy Gold                                                                       Client/Work       and/or attorney work
_248                    10:52                          David Markatos                               company(ies)     Product           product regarding
                                                                                                                                       acquisition.
                                                                                                    Employee(s) of
                                                                                                                                       Reflects attorney
                                                                                                    NuCO2 and its
                                                                                                                     Attorney          Communications
NuCO2_Priv              2/22/2017                      John Templin;                                affiliated
             pdf                    Randy Gold                                                                       Client/Work       and/or attorney work
_249                    10:52                          David Markatos                               company(ies)     Product           product regarding
                                                                                                                                       acquisition.




                                                                        46
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 48 of
                                                         573


                                                                               Employees of                        Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              10/4/2018
             MSG                     Gerald Miller      John Templin                             Client/Work       advice/work product
_250                    10:17
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employees of                        Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              10/4/2018
             png                     Gerald Miller      John Templin                             Client/Work       advice/work product
_251                    10:17
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employees of
                                                                                                                   Reflects attorney
                                                                               NuCO2
                                                                                                 Attorney          Communications
NuCO2_Priv              3/9/2017
             MSG                     Kym Cherubini      John Templin                             Client/Work       and/or attorney work
_252                    10:12
                                                                                                 Product           product regarding
                                                                                                                   acquisition.
                                                                               Employees of
                                                                                                                   Reflects attorney
                                                                               NuCO2
                                                                                                 Attorney          Communications
NuCO2_Priv              3/9/2017
             pdf                     Kym Cherubini      John Templin                             Client/Work       and/or attorney work
_253                    10:12
                                                                                                 Product           product regarding
                                                                                                                   acquisition.
                                                                               Employees of
                                                                                                                   Reflects attorney
                                                                               NuCO2
                                                                                                 Attorney          Communications
NuCO2_Priv              3/9/2017
             xlsm                    Kym Cherubini      John Templin                             Client/Work       and/or attorney work
_254                    10:12
                                                                                                 Product           product regarding
                                                                                                                   acquisition.


                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv              10/15/2018                                             NuCO2 and its
             MSG                     Edward Balzarini   John Templin                             Attorney Client   regarding litigation
_255                    9:02                                                   affiliated
                                                                                                                   hold.
                                                                               company(ies)




                                                                       47
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 49 of
                                                         573


                                                                                             Employee(s) of                  Communications
                                                                                             NuCO2 and its                   regarding request
                                                                                             affiliated       Attorney       for/provision of legal
NuCO2_Priv              10/26/2018
             MSG                     Piazza, Shelly    John Templin        Markatos, David                    Client/Work    advice/work product
_256                    8:13                                                                 company(ies)
                                                                                                              Product        of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                             Employee(s) of                  Communications
                                                                                             NuCO2 and its                   regarding request
                                                                                             affiliated       Attorney       for/provision of legal
NuCO2_Priv              10/26/2018
             docx                    Piazza, Shelly    John Templin        Markatos, David                    Client/Work    advice/work product
_257                    8:13                                                                 company(ies)
                                                                                                              Product        of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                             Employees of
                                                                                             NuCO2                           Communications
NuCO2_Priv              3/22/2017                                                                             Settlement     regarding strategy for
             xls                     Matt Butcher      John Templin        Vince Giordano
_258                    14:56                                                                                 Negotiations   settling customer
                                                                                                                             dispute.

                                                                                             Employees of
                                                                                             NuCO2                           Communications
NuCO2_Priv              3/22/2017                                                                             Settlement     regarding strategy for
             pdf                     Matt Butcher      John Templin        Vince Giordano
_259                    14:56                                                                                 Negotiations   settling customer
                                                                                                                             dispute.


                                                                                             Employees of                    Communications
NuCO2_Priv              3/22/2017                                                            NuCO2            Settlement     regarding strategy for
             MSG                     Matt Butcher      John Templin        Vince Giordano
_260                    14:56                                                                                 Negotiations   settling customer
                                                                                                                             dispute.

                                                                                             Employee(s) of                  Communications
                                                                                             NuCO2 and its                   regarding request
                                                                                             affiliated       Attorney       for/provision of legal
NuCO2_Priv              1/16/2018
             MSG                     Markatos, David   Maria Primm         Piazza, Shelly                     Client/Work    advice/work product
_261                    10:50                                                                company(ies)
                                                                                                              Product        of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.



                                                                      48
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 50 of
                                                         573


                                                                                             Employee(s) of                 Communications
                                                                                             NuCO2 and its                  regarding request
                                                                                             affiliated       Attorney      for/provision of legal
NuCO2_Priv              1/16/2018
             docx                    Markatos, David   Maria Primm          Piazza, Shelly                    Client/Work   advice/work product
_262                    10:50                                                                company(ies)
                                                                                                              Product       of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                             Employees of                   Communications
                                                                                             NuCO2                          regarding need
                                                                                                              Attorney
NuCO2_Priv              10/30/2018                                                                                          for/provision of
             MSG                     Derek Burton      John Templin                                           Client/Work
_263                    10:58                                                                                               information in order to
                                                                                                              Product
                                                                                                                            facilitate provision of
                                                                                                                            legal advice/services.
                                                                                             Employees of                   Communications
                                                                                             NuCO2                          regarding need
                                                                                                              Attorney
NuCO2_Priv              10/30/2018                                                                                          for/provision of
             docx                    Derek Burton      John Templin                                           Client/Work
_264                    10:58                                                                                               information in order to
                                                                                                              Product
                                                                                                                            facilitate provision of
                                                                                                                            legal advice/services.
                                                                                             Employee(s) of                 Communications
                                                                                             NuCO2 and its                  regarding request
                                                       John Templin;
                                                                                             affiliated       Attorney      for/provision of legal
NuCO2_Priv              10/1/2018                      Gerald Miller;
             MSG                     Markatos, David                        Piazza, Shelly                    Client/Work   advice/work product
_265                    14:57                          Felicia Gallagher;                    company(ies)
                                                                                                              Product       of counsel concerning
                                                       Robbi Stiell
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                             Employee(s) of                 Communications
                                                                                             NuCO2 and its                  regarding request
                                                       John Templin;
                                                                                             affiliated       Attorney      for/provision of legal
NuCO2_Priv              10/1/2018                      Gerald Miller;
             docx                    Markatos, David                        Piazza, Shelly                    Client/Work   advice/work product
_266                    14:57                          Felicia Gallagher;                    company(ies)
                                                                                                              Product       of counsel concerning
                                                       Robbi Stiell
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                             Employee(s) of
                                                                                                                            Reflects
                                                                                             NuCO2 and its
                                                                                                              Attorney      communications or
NuCO2_Priv              6/25/2018                                                            affiliated
             MSG                     Markatos, David   Maria Primm                                            Client/Work   advice or work product
_267                    10:13                                                                company(ies)     Product       regarding handling
                                                                                                                            customer disputes.




                                                                       49
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 51 of
                                                         573


                                                                                             Employee(s) of                      Communications
                                                                                             NuCO2 and its                       regarding request
                                                                                             affiliated        Attorney          for/provision of legal
NuCO2_Priv              7/19/2018
             MSG                     Markatos, David   Maria Primm                                             Client/Work       advice/work product
_268                    12:51                                                                company(ies)
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                                                                 Communications
                                                                                                                                 regarding request
                                                                                              Employee(s) of
                                                                                                               Attorney          for/provision of legal
NuCO2_Priv              7/19/2018                                                            NuCO2 and its
             docx                    Markatos, David   Maria Primm                                             Client/Work       advice/work product
_269                    12:51                                                                affiliated
                                                                                                               Product           of counsel concerning
                                                                                             company(ies)
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                                                                 Communications
                                                                                                                                 regarding request
                                                                                              Employee(s) of
                                                                                                               Attorney          for/provision of legal
NuCO2_Priv              10/23/2018                                                           NuCO2 and its
             MSG                     Markatos, David   John Templin        Piazza, Shelly                      Client/Work       advice/work product
_270                    8:19                                                                 affiliated
                                                                                                               Product           of counsel concerning
                                                                                             company(ies)
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                             Employees of                        Communications
                                                                                             NuCO2                               regarding request
                                                                                                                                 for/provision of legal
NuCO2_Priv              11/1/2018
             MSG                     Michael Graham    John Templin        Brian D. Potter                     Attorney Client   advice/work product
_271                    8:36
                                                                                                                                 of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                             Employees of                        Communications
                                                                                             NuCO2                               regarding request
                                                                                                                                 for/provision of legal
NuCO2_Priv              11/1/2018
             pdf                     Michael Graham    John Templin        Brian D. Potter                     Attorney Client   advice/work product
_272                    8:36
                                                                                                                                 of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                             Employees of                        Communications
                                                                                             NuCO2                               regarding request
NuCO2_Priv              11/1/2018                                                                                                for/provision of legal
             pdf                     Michael Graham    John Templin        Brian D. Potter                     Attorney Client
_273                    8:36                                                                                                     advice/work product
                                                                                                                                 of counsel concerning
                                                                                                                                 negotiation/drafting of

                                                                      50
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 52 of
                                                         573


                                                                                                                  customer agreement.




                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv              10/22/2018                                             affiliated
             MSG                     Edward Balzarini   John Templin                            Attorney Client   regarding litigation
_274                    9:06                                                   company(ies)                       hold.

                                                        Gerald Miller;         Employee(s) of
                                                        Mike Kleimeyer;        NuCO2 and its
                                                        Jeff Gilheney;         affiliated
                                                        John Templin;
                                                                               company(ies)
                                                        Derek Burton;
                                                                                                                  Reflects attorney
                                                        Randy Gold;
                                                                                                Attorney          Communications
NuCO2_Priv              3/28/2017                       Vince Giordano;
             pptx                                                                               Client/Work       and/or attorney work
_275                    7:27                            Patrick Woelfel;
                                                                                                Product           product regarding
                                                        John Chesney;
                                                                                                                  safety.
                                                        Dominick
                                                        Brandow; Felicia
                                                        Gallagher; Kevin
                                                        Patton;
                                                        Gallagher, Felicia
                                                        Gerald Miller;         Employee(s) of
                                                        Mike Kleimeyer;        NuCO2 and its
                                                        Jeff Gilheney;         affiliated
                                                        John Templin;
                                                                               company(ies)                       Reflects attorney
                                                        Derek Burton;
                                                                                                                  Communicationss/or
                                                        Randy Gold;
                                                                                                Attorney          attorney work product
NuCO2_Priv              3/28/2017                       Vince Giordano;
             pptx                                                                               Client/Work       regarding insurance
_276                    7:27                            Patrick Woelfel;
                                                                                                Product           and legal matters and
                                                        John Chesney;
                                                                                                                  acquisition and and
                                                        Dominick
                                                                                                                  safety.
                                                        Brandow; Felicia
                                                        Gallagher; Kevin
                                                        Patton;
                                                        Gallagher, Felicia


                                                                        51
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 53 of
                                                         573


                                                                                                                               Communications
                                                                                                                               regarding request
                                                                                                Employee(s) of
                                                                                                                 Attorney      for/provision of legal
NuCO2_Priv              11/2/2018                                                              NuCO2 and its
             MSG                     Markatos, David   John Templin           Piazza, Shelly                     Client/Work   advice/work product
_277                    12:35                                                                  affiliated
                                                                                                                 Product       of counsel concerning
                                                                                               company(ies)
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.
                                                                                               Employees of                    Reflects
                                                                                               NuCO2                           communications or
                                                                                                                 Attorney
NuCO2_Priv              10/31/2018                                                                                             advice or work product
             pdf                     Nate Freese       John Templin                                              Client/Work
_278                    7:56                                                                                                   regarding
                                                                                                                 Product
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.
                                                                                               Employees of                    Reflects
                                                                                               NuCO2                           communications or
                                                                                                                 Attorney
NuCO2_Priv              10/31/2018                                                                                             advice or work product
             docx                    Nate Freese       John Templin                                              Client/Work
_279                    7:56                                                                                                   regarding
                                                                                                                 Product
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.
                                                                                               Employees of                    Reflects
                                                                                               NuCO2                           communications or
                                                                                                                 Attorney
NuCO2_Priv              10/31/2018                                                                                             advice or work product
             MSG                     Nate Freese       John Templin                                              Client/Work
_280                    7:56                                                                                                   regarding
                                                                                                                 Product
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.
                                                                                               Employees of                    Communications
                                                                                               NuCO2                           regarding request
                                                                                                                 Attorney      for/provision of legal
NuCO2_Priv              11/1/2018
             MSG                     Brian D. Potter   John Templin                                              Client/Work   advice/work product
_281                    11:36
                                                                                                                 Product       of counsel concerning
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.
                                                                                               Employees of                    Communications
                                                                                               NuCO2                           regarding request
                                                                                                                 Attorney      for/provision of legal
NuCO2_Priv              10/26/2018
             MSG                     Michael Graham    Brian D. Potter        John Templin                       Client/Work   advice/work product
_282                    14:15
                                                                                                                 Product       of counsel concerning
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.



                                                                         52
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 54 of
                                                         573


                                                                                                     Employees of                       Communications
                                                                                                     NuCO2                              regarding request
                                                                                                                      Attorney          for/provision of legal
NuCO2_Priv              10/26/2018
             docx                    Michael Graham     Brian D. Potter         John Templin                          Client/Work       advice/work product
_283                    14:15
                                                                                                                      Product           of counsel concerning
                                                                                                                                        negotiation/drafting of
                                                                                                                                        customer agreement.
                                                                                                                                        Communications
                                                                                                     Employees of                       regarding request
                                                        John-Paul                                                     Attorney          for/provision of legal
NuCO2_Priv              11/8/2018                                                                    NuCO2
             MSG                     Gerald Miller      Venanzi; John                                                 Client/Work       advice/work product
_284                    7:07
                                                        Templin                                                       Product           of counsel concerning
                                                                                                                                        negotiation/drafting of
                                                                                                                                        customer agreement.
                                                                                                     Employee(s) of
                                                                                                                                        Reflects
                                                                                                     NuCO2 and its
                                                        Brian D. Potter;                                              Attorney          communications or
NuCO2_Priv              3/4/2019                                                Felicia Gallagher;   affiliated
             MSG                     Markatos, David    Rodney                                                        Client/Work       advice or work product
_285                    14:47                                                   Volmer, Tamara       company(ies)
                                                        Husbands                                                      Product           regarding handling
                                                                                                                                        customer disputes.
                                                                                                     Employee(s) of
                                                                                                     NuCO2 and its
                                                                                                                                        Communication
NuCO2_Priv              11/12/2018                                                                   affiliated
             MSG                     Edward Balzarini   John Templin                                                  Attorney Client   regarding litigation
_286                    9:01                                                                         company(ies)                       hold.


                                                                                                     Employee(s) of
                                                                                                                                        Reflects attorney
                                                                                                     NuCO2 and its
                                                                                                                      Attorney          Communications
NuCO2_Priv              2/2/2019                        Felicia Gallagher;                           affiliated
             htm                     John Templin                                                                     Client/Work       and/or attorney work
_287                    10:23                           Derek Burton                                 company(ies)     Product           product regarding
                                                                                                                                        acquisition.
                                                                                                     Employee(s) of
                                                                                                                                        Reflects attorney
                                                                                                     NuCO2 and its
                                                                                                                      Attorney          Communications
NuCO2_Priv              2/2/2019                        Felicia Gallagher;                           affiliated
             htm                     John Templin                                                                     Client/Work       and/or attorney work
_288                    10:23                           Derek Burton                                 company(ies)     Product           product regarding
                                                                                                                                        acquisition.




                                                                           53
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 55 of
                                                        573


                                                                              Employee(s) of
                                                                                                              Reflects attorney
                                                                              NuCO2 and its
                                                                                                Attorney      Communications
NuCO2_Priv             2/2/2019                    Felicia Gallagher;         affiliated
             pdf                    John Templin                                                Client/Work   and/or attorney work
_289                   10:23                       Derek Burton               company(ies)      Product       product regarding
                                                                                                              acquisition.
                                                                              Employee(s) of
                                                                                                              Reflects attorney
                                                                              NuCO2 and its
                                                                                                Attorney      Communications
NuCO2_Priv             2/2/2019                    Felicia Gallagher;         affiliated
             pdf                    John Templin                                                Client/Work   and/or attorney work
_290                   10:23                       Derek Burton               company(ies)      Product       product regarding
                                                                                                              acquisition.
                                                                              Employee(s) of
                                                                                                              Reflects attorney
                                                                              NuCO2 and its
                                                                                                Attorney      Communications
NuCO2_Priv             2/2/2019                    Felicia Gallagher;         affiliated
             htm                    John Templin                                                Client/Work   and/or attorney work
_291                   10:23                       Derek Burton               company(ies)      Product       product regarding
                                                                                                              acquisition.
                                                                              Employee(s) of
                                                                                                              Reflects attorney
                                                                              NuCO2 and its
                                                                                                Attorney      Communications
NuCO2_Priv             2/2/2019                    Felicia Gallagher;         affiliated
             pdf                    John Templin                                                Client/Work   and/or attorney work
_292                   10:23                       Derek Burton               company(ies)      Product       product regarding
                                                                                                              acquisition.

                                                                                                              Reflects attorney
                                                                               Employee(s) of
                                                                                                Attorney      Communications
NuCO2_Priv             2/2/2019                    Felicia Gallagher;         NuCO2 and its
             MSG                    John Templin                                                Client/Work   and/or attorney work
_293                   10:23                       Derek Burton               affiliated
                                                                                                Product       product regarding
                                                                              company(ies)
                                                                                                              acquisition.


                                                                              Employees of                    Reflects
                                                                                                Attorney      communications or
NuCO2_Priv             10/26/2018                  John Templin;              NuCO2
             MSG                    Peter Craig                                                 Client/Work   advice or work product
_294                   12:02                       Ronald Thermil
                                                                                                Product       regarding handling
                                                                                                              customer disputes.




                                                                    54
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 56 of
                                                        573



                                                                              Employees of                   Reflects
                                                                                              Attorney       communications or
NuCO2_Priv             10/26/2018                                             NuCO2
             msg                    Mike Deaton       Peter Craig                             Client/Work    advice or work product
_295                   12:02
                                                                                              Product        regarding handling
                                                                                                             customer disputes.
                                                                              Employees of
                                                                                                             Reflects
                                                                              NuCO2
                                                                                              Attorney       communications or
NuCO2_Priv             10/26/2018                     John Templin;
             xls                    Peter Craig                                               Client/Work    advice or work product
_296                   12:02                          Ronald Thermil
                                                                                              Product        regarding handling
                                                                                                             customer disputes.
                                                                              Employees of
                                                                                                             Reflects
                                                                              NuCO2
                                                                                              Attorney       communications or
NuCO2_Priv             10/26/2018                     John Templin;
             pdf                    Peter Craig                                               Client/Work    advice or work product
_297                   12:02                          Ronald Thermil
                                                                                              Product        regarding handling
                                                                                                             customer disputes.
                                                                              Employees of
                                                                                                             Reflects
                                                                              NuCO2
                                                                                              Attorney       communications or
NuCO2_Priv             10/26/2018                     John Templin;
             pdf                    Peter Craig                                               Client/Work    advice or work product
_298                   12:02                          Ronald Thermil
                                                                                              Product        regarding handling
                                                                                                             customer disputes


                                                                              Employees of                   Communications
NuCO2_Priv             3/23/2017                                              NuCO2           Settlement     regarding strategy for
             MSG                    Eric Monroe       John Templin
_299(a)                14:36                                                                  Negotiations   settling customer
                                                                                                             dispute.

                                                                               Employees of
                                                                              NuCO2 and                      Communications
NuCO2_Priv             3/23/2017                                              NuCO2’s         Settlement     regarding strategy for
             msg                    Josh Brassfield   John Rousis
_299                   14:36                                                  customer(s)     Negotiations   settling customer
                                                                                                             dispute.




                                                                       55
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 57 of
                                                         573


                                                                               Employees of
                                                                               NuCO2                         Communications
NuCO2_Priv              3/23/2017                                                             Settlement     regarding strategy for
             pdf                    Eric Monroe       John Templin
_300                    14:36                                                                 Negotiations   settling customer
                                                                                                             dispute.

                                                                               Employees of
                                                                               NuCO2                         Communications
NuCO2_Priv              3/23/2017                                                             Settlement     regarding strategy for
             docx                   Eric Monroe       John Templin
_301                    14:36                                                                 Negotiations   settling customer
                                                                                                             dispute.


                                                                                                             Communications
NuCO2_Priv              3/23/2017                                                             Settlement     regarding strategy for
             msg                    Josh Brassfield   Josh Brassfield          Self
_302                    14:36                                                                 Negotiations   settling customer
                                                                                                             dispute.


                                                                                                             Communications
NuCO2_Priv              3/23/2017                                              Employees of   Settlement     regarding strategy for
             xlsm                   Josh Brassfield   John Templin
_303                    14:36                                                  NuCO2          Negotiations   settling customer
                                                                                                             dispute.

                                                                               Employees of
                                                                               NuCO2                         Communications
NuCO2_Priv              3/23/2017                                                             Settlement     regarding strategy for
             PDF                    Josh Brassfield   John Templin
_304                    14:36                                                                 Negotiations   settling customer
                                                                                                             dispute.

                                                                               Employees of
                                                                               NuCO2                         Communications
NuCO2_Priv              3/23/2017                                                             Settlement     regarding strategy for
             pdf                    Josh Brassfield   John Templin
_305                    14:36                                                                 Negotiations   settling customer
                                                                                                             dispute.




                                                                        56
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 58 of
                                                         573


                                                                                                  Employees of
                                                                                                  NuCO2                               Communications
NuCO2_Priv              3/23/2017                                                                                   Settlement        regarding strategy for
             pdf                    Josh Brassfield     John Templin
_306                    14:36                                                                                       Negotiations      settling customer
                                                                                                                                      dispute.

                                                                                                  Employees of
                                                                                                  NuCO2                               Communications
NuCO2_Priv              3/23/2017                                                                                   Settlement        regarding strategy for
             pdf                    Josh Brassfield     John Templin
_307                    14:36                                                                                       Negotiations      settling customer
                                                                                                                                      dispute.

                                                                                                  Employees of
                                                                                                  NuCO2                               Communications
NuCO2_Priv              3/23/2017                                                                                   Settlement        regarding strategy for
             MSG                    Eric Monroe         John Templin
_308                    14:36                                                                                       Negotiations      settling customer
                                                                                                                                      dispute.

                                                        Felicia Gallagher;                                                            Reflects attorney
                                                        Jeff Gilheney;                                                                Communicationss/or
                                                                                                   Employee(s) of
                                                        Gerald Miller;                                              Attorney          attorney work product
NuCO2_Priv              3/31/2017                                                                 NuCO2 and its
             pptx                   Felicia Gallagher   Derek Burton;                                               Client/Work       regarding insurance
_309                    16:16                                                                     affiliated
                                                        Vince Giordano;                                             Product           and legal matters and
                                                                                                  company(ies)
                                                        John Templin;                                                                 acquisition and and
                                                        Kevin Patton                                                                  safety.
                                                        Jeff Gilheney;                                                                Reflects attorney
                                                                                                   Employee(s) of
                                                        John Templin;                                               Attorney          Communications
NuCO2_Priv              1/21/2019                                                                 NuCO2 and its
             pptx                   Mike Lyons          Felicia Gallagher;   Mike Lyons                             Client/Work       and/or attorney work
_310                    15:37                                                                     affiliated
                                                        Derek Burton;                                               Product           product regarding
                                                                                                  company(ies)
                                                        Richard Wilkie                                                                safety.


                                                        Toyanna Platt;                                                                Communications
NuCO2_Priv              2/13/2019                                                                 Employees of
             MSG                    Brian D. Potter     Damarie Cortez;      Christine Bukowski                     Attorney Client   regarding need for legal
_311                    9:07                                                                      NuCO2
                                                        Felicia Gallagher                                                             advice of counsel.




                                                                        57
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 59 of
                                                         573


                                                                                                                                 Reflects need
                                                                                                 Employee(s) of                  for/provision of legal
                                                                                                                  Attorney
NuCO2_Priv              2/25/2019                                                               NuCO2 and its                    advice regarding
             MSG                    Brian D. Potter   Felicia Gallagher                                           Client/Work
_312                    11:17                                                                   affiliated                       strategy concerning
                                                                                                                  Product
                                                                                                company(ies)                     customer/competitor
                                                                                                                                 disputes.
                                                                                                Employee(s) of                   Reflects need
                                                      Markatos, David;                          NuCO2 and its                    for/provision of legal
                                                                                                                  Attorney
NuCO2_Priv              2/26/2019                     Volmer, Tamara;                           affiliated                       advice regarding
             MSG                    Brian D. Potter                        Felicia Gallagher                      Client/Work
_313                    8:17                          Rodney                                    company(ies)                     strategy concerning
                                                                                                                  Product
                                                      Husbands                                                                   customer/competitor
                                                                                                                                 disputes.
                                                                                                Employee(s) of                   Reflects need
                                                                                                NuCO2 and its                    for/provision of legal
                                                      Stuart Luks;                                                Attorney
NuCO2_Priv              3/1/2019                                                                affiliated                       advice regarding
             MSG                    Brian D. Potter   Monica Hall;         Rodney Husbands                        Client/Work
_314                    10:07                                                                   company(ies)                     strategy concerning
                                                      Felicia Gallagher                                           Product
                                                                                                                                 customer/competitor
                                                                                                                                 disputes.
                                                                                                Employee(s) of                   Reflects need
                                                                                                NuCO2 and its                    for/provision of legal
                                                      Markatos, David;                                            Attorney
NuCO2_Priv              3/4/2019                                           Felicia Gallagher;   affiliated                       advice regarding
             MSG                    Brian D. Potter   Rodney                                                      Client/Work
_315                    14:45                                              Volmer, Tamara       company(ies)                     strategy concerning
                                                      Husbands                                                    Product
                                                                                                                                 customer/competitor
                                                                                                                                 disputes.
                                                                                                Employees of
                                                                                                NuCO2 and                        Communications
NuCO2_Priv              2/26/2019                     'Coll. Svcs -                             NuCO2’s debt      Settlement     regarding strategy for
             MSG                    Gail Donahue
_316                    15:46                         Dannielle Coates'                         collection        Negotiations   settling customer
                                                                                                company                          dispute.

                                                                                                Employees of
                                                                                                NuCO2 and                        Communications
NuCO2_Priv              2/26/2019                     'Coll. Svcs -                             NuCO2’s debt      Settlement     regarding strategy for
             docx                   Gail Donahue
_317                    15:46                         Dannielle Coates'                         collection        Negotiations   settling customer
                                                                                                company                          dispute.




                                                                      58
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 60 of
                                                         573



                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv              10/29/2018                                             NuCO2 and its
             MSG                     Edward Balzarini    John Templin                            Attorney Client   regarding litigation
_318                    9:08                                                   affiliated
                                                                                                                   hold.
                                                                               company(ies)

                                                                               Employees of
                                                                               NuCO2 and                           Reflects
                                                                                                                   communications
NuCO2_Priv              2/26/2019                                              NuCO2’s debt      Settlement
             MSG                     Gail Donahue        'Jeff Lemberskie'                                         regarding settlement
_319                    16:10                                                  collection        Negotiations
                                                                                                                   concerning customer
                                                                               company                             dispute.

                                                                               Employees of
                                                                               NuCO2 and                           Reflects
                                                                                                                   communications
NuCO2_Priv              2/26/2019                                              NuCO2’s debt      Settlement
             docx                    Gail Donahue        'Jeff Lemberskie'                                         regarding settlement
_320                    16:10                                                  collection        Negotiations
                                                                                                                   concerning customer
                                                                               company                             dispute.

                                                                                                                   Communications
                                                                               Employees of                        regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              11/7/2018                                              NuCO2
             docx                    John-Paul Venanzi   John Templin                            Client/Work       advice/work product
_321                    10:27
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                                                                   Communications
                                                                               Employees of                        regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              11/7/2018                                              NuCO2
             MSG                     John-Paul Venanzi   John Templin                            Client/Work       advice/work product
_322                    10:27
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.

                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv              11/5/2018                                              NuCO2 and its
             MSG                     Edward Balzarini    John Templin                            Attorney Client   regarding litigation
_323                    9:09                                                   affiliated
                                                                                                                   hold.
                                                                               company(ies)




                                                                         59
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 61 of
                                                         573


                                                     Randy Gold;
                                                     John Templin;
                                                     Vince Giordano;
                                                     Derek Burton;                                                          Reflects attorney
                                                     Mike Kleimeyer;                       Employees of                     Communicationss/or
                                                     Kent Hoffman;                                        Attorney          attorney work product
NuCO2_Priv              4/3/2017                                                           NuCO2
             pptx                    Gerald Miller   Ashley Werner;                                       Client/Work       regarding insurance
_324                    10:40
                                                     Kevin Patton;                                        Product           and legal matters and
                                                     Jeff Gilheney;                                                         acquisition and and
                                                     Felicia Gallagher;                                                     safety.
                                                     Jeff Gilheney;
                                                     Gerald Miller;
                                                     Patrick Woelfel
                                                                                                                            Reflects
                                                                                           Employees of                     communications or
NuCO2_Priv              11/14/2018                                                         NuCO2          Attorney Work     advice or work product
             pdf                     Nate Freese     John Templin
_325                    15:42                                                                             Product           regarding
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                           Employees of                     Reflects
                                                                                           NuCO2                            communications or
NuCO2_Priv              11/14/2018                                                                        Attorney Work     advice or work product
             docx                    Nate Freese     John Templin
_326                    15:42                                                                             Product           regarding
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                           Employees of                     Reflects
                                                                                           NuCO2                            communications or
NuCO2_Priv              11/14/2018                                                                        Attorney Work     advice or work product
             MSG                     Nate Freese     John Templin
_327                    15:42                                                                             Product           regarding
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                           Employees of
                                                                                           NuCO2                            Communications
NuCO2_Priv              11/14/2018                   Amber Rives;                                                           regarding strategy for
             MSG                     Robbi Stiell                         Bridget Correa                  Attorney Client
_328                    16:18                        John Templin                                                           settling customer
                                                                                                                            dispute.




                                                                     60
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 62 of
                                                         573


                                                                                                     Employees of
                                                                                                     NuCO2
                                                                                                                                         Communications
NuCO2_Priv              4/7/2017
             pdf                     Maria Primm         John Templin                                                  Attorney Client   regarding need for legal
_329                    10:04
                                                                                                                                         advice of counsel.


                                                                                                     Employees of
                                                                                                     NuCO2
                                                                                                                                         Communications
NuCO2_Priv              4/7/2017
             MSG                     Maria Primm         John Templin                                                  Attorney Client   regarding need for legal
_330                    10:04
                                                                                                                                         advice of counsel.



                                                                                                     Employees of                        Communications
NuCO2_Priv              11/14/2018                                            Amber Rives; Bridget   NuCO2                               regarding strategy for
             MSG                     Robbi Stiell        John Templin                                                  Attorney Client
_331                    16:18                                                 Correa                                                     settling customer
                                                                                                                                         dispute.

                                                         Felicia Gallagher;                                                              Reflects attorney
                                                         Jeff Gilheney;                                                                  Communicationss/or
                                                                                                      Employee(s) of
                                                         Gerald Miller;                                                Attorney          attorney work product
NuCO2_Priv              3/31/2017                                                                    NuCO2 and its
             pptx                    Felicia Gallagher   Derek Burton;                                                 Client/Work       regarding insurance
_332                    16:43                                                                        affiliated
                                                         Vince Giordano;                                               Product           and legal matters and
                                                                                                     company(ies)
                                                         John Templin;                                                                   acquisition and and
                                                         Kevin Patton                                                                    safety.

                                                                                                     Employees of                        Communications
NuCO2_Priv              11/14/2018                       Amber Rives;                                NuCO2                               regarding strategy for
             MSG                     Robbi Stiell                             Bridget Correa                           Attorney Client
_333                    16:27                            John Templin                                                                    settling customer
                                                                                                                                         dispute.

                                                         Gerald Miller;
                                                         Mike Kleimeyer;
                                                         Jeff Gilheney;                              Employees of                        Reflects attorney
                                                         John Templin;                                                 Attorney          Communications
NuCO2_Priv              3/28/2017                                                                    NuCO2
             pptx                                        Derek Burton;                                                 Client/Work       and/or attorney work
_334                    8:31
                                                         Randy Gold;                                                   Product           product regarding
                                                         Vince Giordano;                                                                 safety.
                                                         Patrick Woelfel;
                                                         John Chesney;


                                                                         61
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 63 of
                                                         573


                                                        Dominick
                                                        Brandow; Felicia
                                                        Gallagher; Kevin
                                                        Patton;
                                                        Gallagher, Felicia

                                                        Gerald Miller;
                                                        Mike Kleimeyer;
                                                        Jeff Gilheney;
                                                        John Templin;
                                                                                                                Reflects attorney
                                                        Derek Burton;
                                                                               Employees of                     Communicationss/or
                                                        Randy Gold;
                                                                                              Attorney          attorney work product
NuCO2_Priv              3/28/2017                       Vince Giordano;        NuCO2
             pptx                                                                             Client/Work       regarding insurance
_335                    8:31                            Patrick Woelfel;
                                                                                              Product           and legal matters and
                                                        John Chesney;
                                                                                                                acquisition and and
                                                        Dominick
                                                                                                                safety.
                                                        Brandow; Felicia
                                                        Gallagher; Kevin
                                                        Patton;
                                                        Gallagher, Felicia
                                                                               Employees of                     Reflects need
                                                        Field Account          NuCO2                            for/provision of legal
                                                        Coordinators;                         Attorney          advice regarding
NuCO2_Priv              2/23/2016
             xlsx                    Justina Connelly   Cancellations;                        Client/Work       negotiation/drafting of
_336                    13:13
                                                        Chain and                             Product           customer
                                                        Prestige; CAMS                                          agreements/other
                                                                                                                issues.
                                                                               Employees of
                                                                               NuCO2                            Communications
NuCO2_Priv              11/15/2018                                                                              regarding strategy for
             MSG                     Robbi Stiell       John Templin                          Attorney Client
_337                    14:50                                                                                   settling customer
                                                                                                                dispute.

                                                                               Employees of
                                                                                                                Reflects
                                                                               NuCO2
                                                                                                                communications
NuCO2_Priv              4/5/2017                                                              Settlement
             MSG                     Liz Fisher         John Templin                                            regarding settlement
_338                    15:11                                                                 Negotiations
                                                                                                                concerning customer
                                                                                                                dispute.




                                                                         62
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 64 of
                                                         573


                                                                               Employees of                        Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              11/7/2018
             pdf                    Nate Freese         John Templin                             Client/Work       advice/work product
_339                    14:27
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employees of                        Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              11/7/2018
             docx                   Nate Freese         John Templin                             Client/Work       advice/work product
_340                    14:27
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employees of                        Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              11/7/2018
             MSG                    Nate Freese         John Templin                             Client/Work       advice/work product
_341                    14:27
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                        Gerald Miller;
                                                        Randy Gold;
                                                        John Templin;
                                                                                                                   Reflects attorney
                                                        Vince Giordano;
                                                                                                                   Communicationss/or
                                                        Derek Burton;           Employee(s) of
                                                                                                 Attorney          attorney work product
NuCO2_Priv              4/3/2017                        Mike Kleimeyer;        NuCO2 and its
             pptx                   Felicia Gallagher                                            Client/Work       regarding insurance
_342                    12:59                           Kent Hoffman;          affiliated
                                                                                                 Product           and legal matters and
                                                        Ashley Werner;         company(ies)
                                                                                                                   acquisition and and
                                                        Kevin Patton;
                                                                                                                   safety.
                                                        Jeff Gilheney;
                                                        Jeff Gilheney;
                                                        Patrick Woelfel

                                                                               Employees of                        Communications
NuCO2_Priv              4/18/2017                                              NuCO2                               providing guidance
             MSG                    Vince Giordano      John Templin                             Attorney Client
_343                    8:43                                                                                       regarding regulatory
                                                                                                                   compliance.




                                                                       63
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 65 of
                                                         573


                                                                               Employees of                     Reflects need
                                                                               NuCO2                            for/provision of legal
NuCO2_Priv              11/14/2018                                                                              advice regarding
             MSG                     Brian D. Potter   John Templin                           Attorney Client
_344                    12:17                                                                                   strategy concerning
                                                                                                                customer/competitor
                                                                                                                disputes.
                                                                               Employees of                     Reflects need
                                                                               NuCO2                            for/provision of legal
NuCO2_Priv              11/14/2018                                                                              advice regarding
             pdf                     Brian D. Potter   John Templin                           Attorney Client
_345                    12:17                                                                                   strategy concerning
                                                                                                                customer/competitor
                                                                                                                disputes.
                                                                               Employees of                     Reflects need
                                                                               NuCO2                            for/provision of legal
NuCO2_Priv              11/14/2018                                                                              advice regarding
             xlsx                    Brian D. Potter   John Templin                           Attorney Client
_346                    12:17                                                                                   strategy concerning
                                                                                                                customer/competitor
                                                                                                                disputes.
                                                                               Employees of
                                                                                                                Reflects
                                                                               NuCO2
                                                                                                                communications
NuCO2_Priv              4/17/2017                                                             Settlement
             MSG                     Liz Fisher        John Templin                                             regarding settlement
_347                    11:02                                                                 Negotiations
                                                                                                                concerning customer
                                                                                                                dispute.
                                                                               Employees of
                                                                                                                Reflects
                                                                               NuCO2
                                                                                                                communications or
NuCO2_Priv              4/11/2017
             MSG                     Rodney Husbands   John Templin                           Attorney Client   advice or work product
_348                    9:31
                                                                                                                regarding handling
                                                                                                                customer disputes.
                                                                               Employees of
                                                                                                                Reflects
                                                                               NuCO2
                                                                                                                communications or
NuCO2_Priv              4/11/2017
             xls                     Rodney Husbands   John Templin                           Attorney Client   advice or work product
_349                    9:31
                                                                                                                regarding handling
                                                                                                                customer disputes.




                                                                      64
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 66 of
                                                         573


                                                                                          Employees of
                                                                                                                           Reflects
                                                                                          NuCO2
                                                                                                                           communications or
NuCO2_Priv              4/11/2017
             pdf                     Rodney Husbands     John Templin                                    Attorney Client   advice or work product
_350                    9:31
                                                                                                                           regarding handling
                                                                                                                           customer disputes.
                                                                                          Employees of
                                                                                                                           Reflects
                                                                                          NuCO2
                                                                                                                           communications
NuCO2_Priv              4/2/2017                         Tim Lowry; John                                 Settlement
             MSG                     Suzanne Morine                          Liz Fisher                                    regarding settlement
_351                    18:57                            Templin                                         Negotiations
                                                                                                                           concerning customer
                                                                                                                           dispute.
                                                                                          Employees of
                                                                                                                           Reflects attorney
                                                                                          NuCO2
                                                         Heather                                         Attorney          Communications
NuCO2_Priv              10/10/2018
             MSG                     Angie Baggett       Shepherd; Jeffrey                               Client/Work       and/or attorney work
_352                    16:06
                                                         Desmond                                         Product           product regarding
                                                                                                                           acquisition.
                                                                                          Employees of
                                                                                                                           Reflects attorney
                                                                                          NuCO2
                                                         Heather                                         Attorney          Communications
NuCO2_Priv              10/10/2018
             xlsx                    Angie Baggett       Shepherd; Jeffrey                               Client/Work       and/or attorney work
_353                    16:06
                                                         Desmond                                         Product           product regarding
                                                                                                                           acquisition.
                                                                                          Employees of                     Communications
                                                                                          NuCO2                            regarding request
                                                                                                         Attorney          for/provision of legal
NuCO2_Priv              11/15/2018
             MSG                     John-Paul Venanzi   John Templin                                    Client/Work       advice/work product
_354                    11:47
                                                                                                         Product           of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                          Employees of                     Communications
                                                                                          NuCO2                            regarding request
                                                                                                         Attorney          for/provision of legal
NuCO2_Priv              11/15/2018
             pdf                     John-Paul Venanzi   John Templin                                    Client/Work       advice/work product
_355                    11:47
                                                                                                         Product           of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.




                                                                        65
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 67 of
                                                         573


                                                                               Employees of
                                                                                                                   Reflects attorney
                                                                               NuCO2
                                                                                                                   Communications
NuCO2_Priv              11/16/2018
             MSG                     Heather Shepherd    Jeffrey Desmond                         Attorney Client   and/or attorney work
_356                    8:36
                                                                                                                   product regarding
                                                                                                                   acquisition.
                                                                               Employees of
                                                                                                                   Reflects attorney
                                                                               NuCO2
                                                                                                                   Communications
NuCO2_Priv              11/16/2018
             pdf                     Heather Shepherd    Jeffrey Desmond                         Attorney Client   and/or attorney work
_357                    8:36
                                                                                                                   product regarding
                                                                                                                   acquisition.
                                                                               Employees of
                                                                                                                   Reflects
                                                                               NuCO2
                                                                                                                   communications
NuCO2_Priv              5/8/2017                                                                 Settlement
             xlsx                    Catarina Mendoza    Gail Donahue                                              regarding settlement
_358                    14:01                                                                    Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.
                                                                               Employees of
                                                                                                                   Reflects
                                                                               NuCO2
                                                                                                                   communications
NuCO2_Priv              5/8/2017                                                                 Settlement
             MSG                     Catarina Mendoza    Gail Donahue                                              regarding settlement
_359                    14:01                                                                    Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.
                                                         Felicia Gallagher;                                        Reflects attorney
                                                         Jeff Gilheney;                                            Communicationss/or
                                                                                Employee(s) of
                                                         Gerald Miller;                          Attorney          attorney work product
NuCO2_Priv              3/31/2017                                              NuCO2 and its
             pptx                    Felicia Gallagher   Derek Burton;                           Client/Work       regarding insurance
_360                    13:06                                                  affiliated
                                                         Vince Giordano;                         Product           and legal matters and
                                                                               company(ies)
                                                         John Templin;                                             acquisition and and
                                                         Kevin Patton                                              safety.

                                                                               Employees of                        Reflects attorney
                                                                                                 Attorney          Communications
NuCO2_Priv              11/2/2018                                              NuCO2
             MSG                     Brian D. Potter     John Templin                            Client/Work       and/or attorney work
_361                    10:09
                                                                                                 Product           product regarding
                                                                                                                   acquisition.




                                                                         66
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 68 of
                                                         573


                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2 and its
                                                                                                                  Attorney          communications or
NuCO2_Priv              4/12/2017                                         David Markatos; John   affiliated
             xls                    Homan, Ray       Gerald Miller                                                Client/Work       advice or work product
_362                    22:18                                             Templin                company(ies)     Product           regarding handling
                                                                                                                                    customer disputes.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2 and its
                                                                                                                  Attorney          communications or
NuCO2_Priv              4/12/2017                                         David Markatos; John   affiliated
             pdf                    Homan, Ray       Gerald Miller                                                Client/Work       advice or work product
_363                    22:18                                             Templin                company(ies)     Product           regarding handling
                                                                                                                                    customer disputes.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2 and its
                                                                                                                  Attorney          communications or
NuCO2_Priv              4/12/2017                                         David Markatos; John   affiliated
             MSG                    Homan, Ray       Gerald Miller                                                Client/Work       advice or work product
_364                    22:18                                             Templin                company(ies)     Product           regarding handling
                                                                                                                                    customer disputes.
                                                                                                 Employees of
                                                                                                 NuCO2                              Communications
NuCO2_Priv              3/28/2017                                                                                 Settlement        regarding strategy for
             xlsx                   Maria Primm      John Templin
_365                    10:23                                                                                     Negotiations      settling customer
                                                                                                                                    dispute.

                                                                                                 Employees of
                                                                                                 NuCO2                              Communications
NuCO2_Priv              3/28/2017                                                                                 Settlement        regarding strategy for
             MSG                    Maria Primm      John Templin
_366                    10:23                                                                                     Negotiations      settling customer
                                                                                                                                    dispute.

                                                                                                 Employees of
                                                                                                 NuCO2
NuCO2_Priv              4/26/2017                                                                                                   Communications
             MSG                    Vince Giordano   John Templin                                                 Attorney Client
_367                    15:57                                                                                                       regarding legal matter.




                                                                     67
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 69 of
                                                        573


                                                                                         Employees of
                                                                                         NuCO2
NuCO2_Priv             4/26/2017                                                                                          Communications
             MSG                   Vince Giordano   John Templin                                        Attorney Client
_368                   16:27                                                                                              regarding legal matter.


                                                                                         Employees of                     Communications
                                                                                         NuCO2                            regarding request
                                                                                                        Attorney          for/provision of legal
NuCO2_Priv             4/26/2017
             MSG                   Kym Cherubini    John Templin                                        Client/Work       advice/work product
_369                   9:39
                                                                                                        Product           of counsel concerning
                                                                                                                          negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                         Employees of                     Communications
                                                                                         NuCO2                            regarding request
                                                                                                        Attorney          for/provision of legal
NuCO2_Priv             4/26/2017
             pdf                   Kym Cherubini    John Templin                                        Client/Work       advice/work product
_370                   9:39
                                                                                                        Product           of counsel concerning
                                                                                                                          negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                         Employees of                     Communications
                                                                                         NuCO2                            regarding request
                                                                                                        Attorney          for/provision of legal
NuCO2_Priv             4/26/2017
             pdf                   Kym Cherubini    John Templin                                        Client/Work       advice/work product
_371                   9:39
                                                                                                        Product           of counsel concerning
                                                                                                                          negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                         Employees of                     Communications
                                                                                         NuCO2                            regarding request
                                                                                                        Attorney          for/provision of legal
NuCO2_Priv             4/26/2017
             pdf                   Kym Cherubini    John Templin                                        Client/Work       advice/work product
_372                   9:39
                                                                                                        Product           of counsel concerning
                                                                                                                          negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                         Employees of
                                                                                         NuCO2
NuCO2_Priv             4/26/2017                                                                                          Communications
             MSG                   Eric Monroe      Vince Giordano        John Templin                  Attorney Client
_373                   16:55                                                                                              regarding legal matter.




                                                                     68
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 70 of
                                                         573


                                                                               Employees of                     Communications
                                                                               NuCO2                            regarding request
                                                                                              Attorney          for/provision of legal
NuCO2_Priv              11/16/2018
             MSG                     John-Paul Venanzi   John Templin                         Client/Work       advice/work product
_374                    11:04
                                                                                              Product           of counsel concerning
                                                                                                                negotiation/drafting of
                                                                                                                customer agreement.
                                                                               Employees of                     Communications
                                                                               NuCO2                            regarding request
                                                                                              Attorney          for/provision of legal
NuCO2_Priv              11/16/2018
             doc                     John-Paul Venanzi   John Templin                         Client/Work       advice/work product
_375                    11:04
                                                                                              Product           of counsel concerning
                                                                                                                negotiation/drafting of
                                                                                                                customer agreement.
                                                                               Employees of                     Communications
                                                                               NuCO2                            regarding request
                                                                                              Attorney          for/provision of legal
NuCO2_Priv              11/16/2018
             doc                     John-Paul Venanzi   John Templin                         Client/Work       advice/work product
_376                    11:04
                                                                                              Product           of counsel concerning
                                                                                                                negotiation/drafting of
                                                                                                                customer agreement.
                                                                               Employees of
                                                                               NuCO2
NuCO2_Priv              4/26/2017                                                                               Communications
             MSG                     Vince Giordano      John Templin                         Attorney Client
_377                    15:33                                                                                   regarding legal matter.


                                                         Gerald Miller;        Employees of
                                                         Mike Kleimeyer;       NuCO2
                                                         Jeff Gilheney;
                                                         John Templin;
                                                                                                                Reflects attorney
                                                         Derek Burton;
                                                                                                                Communicationss/or
                                                         Randy Gold;
                                                                                              Attorney          attorney work product
NuCO2_Priv              4/25/2017                        Vince Giordano;
             pptx                                                                             Client/Work       regarding insurance
_378                    6:57                             Patrick Woelfel;
                                                                                              Product           and legal matters and
                                                         John Chesney;
                                                                                                                acquisition and and
                                                         Dominick
                                                                                                                safety.
                                                         Brandow; Felicia
                                                         Gallagher; Kevin
                                                         Patton; Kent
                                                         Hoffman

                                                                        69
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 71 of
                                                         573


                                                        Gerald Miller;                           Employees of
                                                        Mike Kleimeyer;                          NuCO2
                                                        Jeff Gilheney;
                                                        John Templin;
                                                        Derek Burton;
                                                                                                                                  Reflects attorney
                                                        Randy Gold;
                                                                                                                Attorney          Communications
NuCO2_Priv              4/25/2017                       Vince Giordano;
             pptx                                                                                               Client/Work       and/or attorney work
_379                    6:57                            Patrick Woelfel;
                                                                                                                Product           product regarding
                                                        John Chesney;
                                                                                                                                  safety.
                                                        Dominick
                                                        Brandow; Felicia
                                                        Gallagher; Kevin
                                                        Patton; Kent
                                                        Hoffman
                                                                                                 Employees of                     Reflects
                                                                                                 NuCO2                            communications or
NuCO2_Priv              11/21/2018                                                                                                advice or work product
             txt                     Brdecka, Nadine    John Templin          Heather Shepherd                  Attorney Client
_380                    10:39                                                                                                     regarding
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                                 Employees of                     Reflects
                                                                                                 NuCO2                            communications or
NuCO2_Priv              11/21/2018                                                                                                advice or work product
             htm                     Brdecka, Nadine    John Templin          Heather Shepherd                  Attorney Client
_381                    10:39                                                                                                     regarding
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                                 Employees of                     Reflects
                                                                                                 NuCO2                            communications or
NuCO2_Priv              11/21/2018                                                                                                advice or work product
             MSG                     Heather Shepherd   John Templin          Heather Shepherd                  Attorney Client
_382                    10:39                                                                                                     regarding
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                                 Employees of
                                                        Gerald Miller;                           NuCO2                            Communications
NuCO2_Priv              11/21/2018                      Heather                                                                   providing guidance
             msg                     Patrick Woelfel                          Derek Burton                      Attorney Client
_383                    10:39                           Shepherd; Mark                                                            regarding regulatory
                                                        Novak                                                                     compliance.




                                                                         70
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 72 of
                                                         573


                                                                                               Employees of                        Reflects
                                                                                               NuCO2                               communications or
NuCO2_Priv              11/21/2018                                                                                                 advice or work product
             PDF                     Heather Shepherd   John Templin        Heather Shepherd                     Attorney Client
_384                    10:39                                                                                                      regarding
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                Employee(s) of                     Reflects
                                                                                               NuCO2 and                           communications or
NuCO2_Priv              11/21/2018                      Heather                                NuCO2’s                             advice or work product
             msg                     Brdecka, Nadine                                                             Attorney Client
_385                    10:39                           Shepherd                               customer(s)                         regarding
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                                                   Reflects
                                                                                                                                   communications or
                                                                                                                 Attorney
NuCO2_Priv              11/21/2018                                                             Employee(s) of                      advice or work product
             docx                    Heather Shepherd   John Templin        Heather Shepherd                     Client/Work
_386                    10:39                                                                  NuCO2                               regarding
                                                                                                                 Product
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                               Employee(s) of                      Reflects
                                                                                               NuCO2                               communications or
NuCO2_Priv              11/21/2018                                                                                                 advice or work product
             PDF                                        John Templin        Heather Shepherd                     Attorney Client
_387                    10:39                                                                                                      regarding
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                               Employee(s) of                      Reflects
                                                                                               NuCO2                               communications or
NuCO2_Priv              11/21/2018                                                                                                 advice or work product
             PDF                                        John Templin        Heather Shepherd                     Attorney Client
_388                    10:39                                                                                                      regarding
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                               Employee(s) of
                                                                                                                                   Reflects need
                                                                                               NuCO2
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              4/20/2017
             MSG                     Damarie Cortez     John Templin        Toyanna Platt                        Client/Work       advice regarding
_389                    11:10
                                                                                                                 Product           customer
                                                                                                                                   account/dispute.




                                                                       71
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 73 of
                                                         573


                                                                                              Employee(s) of
                                                                                                                             Reflects need
                                                                                              NuCO2
                                                                                                               Attorney      for/provision of legal
NuCO2_Priv              4/20/2017
             xlsm                    Damarie Cortez      John Templin        Toyanna Platt                     Client/Work   advice regarding
_390                    11:10
                                                                                                               Product       customer
                                                                                                                             account/dispute.
                                                                                              Employee(s) of                 Communications
                                                                                              NuCO2                          regarding request
                                                                                                               Attorney      for/provision of legal
NuCO2_Priv              11/26/2018
             docx                    John-Paul Venanzi   John Templin                                          Client/Work   advice/work product
_391                    14:43
                                                                                                               Product       of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications
                                                                                              NuCO2                          regarding request
                                                                                                               Attorney      for/provision of legal
NuCO2_Priv              11/26/2018
             docx                    John-Paul Venanzi   John Templin                                          Client/Work   advice/work product
_392                    14:43
                                                                                                               Product       of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications
                                                                                              NuCO2                          regarding request
                                                                                                               Attorney      for/provision of legal
NuCO2_Priv              11/26/2018
             MSG                     John-Paul Venanzi   John Templin                                          Client/Work   advice/work product
_393                    14:43
                                                                                                               Product       of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications
                                                                                              NuCO2 and its                  regarding request
                                                                                              affiliated       Attorney      for/provision of legal
NuCO2_Priv              11/15/2018
             docx                    Piazza, Shelly      John Templin                                          Client/Work   advice/work product
_394                    7:31                                                                  company(ies)
                                                                                                               Product       of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications
                                                                                              NuCO2 and its                  regarding request
                                                                                              affiliated       Attorney      for/provision of legal
NuCO2_Priv              11/15/2018                       John-Paul
             msg                     Markatos, David                         Piazza, Shelly                    Client/Work   advice/work product
_395                    7:31                             Venanzi                              company(ies)
                                                                                                               Product       of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.

                                                                        72
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 74 of
                                                        573


                                                                                                                                          Communications
                                                                                                                                          regarding request
                                                                                                       Employee(s) of
                                                        John-Paul                                                       Attorney          for/provision of legal
NuCO2_Priv             11/15/2018                                                                     NuCO2 and its
             msg                    Piazza, Shelly      Venanzi;                                                        Client/Work       advice/work product
_396                   7:31                                                                           affiliated
                                                        Markatos, David                                                 Product           of counsel concerning
                                                                                                      company(ies)
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.
                                                                                                      Employee(s) of                      Communications
                                                                                                      NuCO2                               regarding request
                                                                                                                        Attorney          for/provision of legal
NuCO2_Priv             11/15/2018
             MSG                    John-Paul Venanzi   John Templin                                                    Client/Work       advice/work product
_397                   7:31
                                                                                                                        Product           of counsel concerning
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.
                                                                                                      Employee(s) of
                                                                                                      NuCO2
NuCO2_Priv             5/1/2017                                                                                                           Communications
             MSG                    Jeff Thompson       John Templin                                                    Attorney Client
_398                   10:16                                                                                                              regarding legal matter.


                                                                                                      Employee(s) of                      Communications
                                                                                                      NuCO2                               regarding request
                                                                                                                        Attorney          for/provision of legal
NuCO2_Priv             11/15/2018
             MSG                    John-Paul Venanzi   John Templin                                                    Client/Work       advice/work product
_399                   8:01
                                                                                                                        Product           of counsel concerning
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.

                                                                                                      Employee(s) of                      Communications
NuCO2_Priv             11/15/2018                       John Templin;        Bridget Correa; Ronald   NuCO2                               regarding strategy for
             MSG                    Amber Rives                                                                         Attorney Client
_400                   8:26                             Robbi Stiell         Thermil                                                      settling customer
                                                                                                                                          dispute.


                                                                                                       Employee(s) of
                                                                                                                                          Communication
NuCO2_Priv             11/19/2018                                                                     NuCO2 and its
             MSG                    Edward Balzarini    John Templin                                                    Attorney Client   regarding litigation
_401                   9:05                                                                           affiliated
                                                                                                                                          hold.
                                                                                                      company(ies)




                                                                        73
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 75 of
                                                         573


                                                                                                     Employee(s) of
                                                                                                                                         Reflects need
                                                                                                     NuCO2
                                                                                                                       Attorney          for/provision of legal
NuCO2_Priv              11/14/2018                                            Amber Rives; Bridget
             MSG                        Robbi Stiell      John Templin                                                 Client/Work       advice regarding
_402                    15:02                                                 Correa
                                                                                                                       Product           customer
                                                                                                                                         account/dispute.
                                                                                                     Employee(s) of
                                                                                                                                         Reflects need
                                                                                                     NuCO2
                                                                                                                       Attorney          for/provision of legal
NuCO2_Priv              11/14/2018
             msg                        John Templin      Robbi Stiell                                                 Client/Work       advice regarding
_403                    15:02
                                                                                                                       Product           customer
                                                                                                                                         account/dispute.


                                                                                                     Employee(s) of                      Reflects need
                                                                                                                       Attorney          for/provision of legal
NuCO2_Priv              11/14/2018                                            Amber Rives; Bridget   NuCO2
             xlsx                       Robbi Stiell      John Templin                                                 Client/Work       advice regarding
_404                    15:02                                                 Correa
                                                                                                                       Product           customer
                                                                                                                                         account/dispute.

                                                                                                                                         Reflects need
                                                                                                      Employee(s) of
                                                                                                                       Attorney          for/provision of legal
NuCO2_Priv              11/14/2018                                                                   NuCO2 and its
             msg                        Markatos, David   Robbi Stiell        Piazza, Shelly                           Client/Work       advice regarding
_405                    15:02                                                                        affiliated
                                                                                                                       Product           customer
                                                                                                     company(ies)
                                                                                                                                         account/dispute.
                                                                                                     Employee(s) of
                                                                                                                                         Reflects need
                                                                                                     NuCO2
                                                                                                                       Attorney          for/provision of legal
NuCO2_Priv              11/14/2018                                            Amber Rives; Bridget
             pdf                        Robbi Stiell      John Templin                                                 Client/Work       advice regarding
_406                    15:02                                                 Correa
                                                                                                                       Product           customer
                                                                                                                                         account/dispute.
                                                                                                     Self                                Communications
                                                                                                                                         regarding need
                                                                                                                                         for/provision of
                                                                                                                                         information regarding
NuCO2_Priv                                                                                                                               customer
             png        5/4/2017 9:20   John Templin      John Templin                                                 Attorney Client
_407                                                                                                                                     account/dispute in
                                                                                                                                         order to facilitate
                                                                                                                                         provision of legal
                                                                                                                                         advice/services
                                                                                                                                         concerning the same.

                                                                         74
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 76 of
                                                        573


                                                                              Self                          Communications
                                                                                                            regarding need
                                                                                                            for/provision of
                                                                                                            information regarding
NuCO2_Priv                                                                                                  customer
             htm       5/4/2017 9:20   John Templin   John Templin                        Attorney Client
_408                                                                                                        account/dispute in
                                                                                                            order to facilitate
                                                                                                            provision of legal
                                                                                                            advice/services
                                                                                                            concerning the same.
                                                                              Self                          Communications
                                                                                                            regarding need
                                                                                                            for/provision of
                                                                                                            information regarding
NuCO2_Priv                                                                                                  customer
             jpg       5/4/2017 9:20   John Templin   John Templin                        Attorney Client
_409                                                                                                        account/dispute in
                                                                                                            order to facilitate
                                                                                                            provision of legal
                                                                                                            advice/services
                                                                                                            concerning the same.
                                                                                                            Communications
                                                                                                            regarding need
                                                                                                            for/provision of
                                                                                                            information regarding
NuCO2_Priv                                                                                                  customer
             htm       5/4/2017 9:20   John Templin   John Templin            Self        Attorney Client
_410                                                                                                        account/dispute in
                                                                                                            order to facilitate
                                                                                                            provision of legal
                                                                                                            advice/services
                                                                                                            concerning the same.
                                                                              Self                          Communications
                                                                                                            regarding need
                                                                                                            for/provision of
                                                                                                            information regarding
NuCO2_Priv                                                                                                  customer
             jpg       5/4/2017 9:20   John Templin   John Templin                        Attorney Client
_411                                                                                                        account/dispute in
                                                                                                            order to facilitate
                                                                                                            provision of legal
                                                                                                            advice/services
                                                                                                            concerning the same.



                                                                     75
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 77 of
                                                         573


                                                                               Self                          Communications
                                                                                                             regarding need
                                                                                                             for/provision of
                                                                                                             information regarding
NuCO2_Priv                                                                                                   customer
             htm        5/4/2017 9:20   John Templin   John Templin                        Attorney Client
_412                                                                                                         account/dispute in
                                                                                                             order to facilitate
                                                                                                             provision of legal
                                                                                                             advice/services
                                                                                                             concerning the same.
                                                                               Self                          Communications
                                                                                                             regarding need
                                                                                                             for/provision of
                                                                                                             information regarding
NuCO2_Priv                                                                                                   customer
             docx       5/4/2017 9:20   John Templin   John Templin                        Attorney Client
_413                                                                                                         account/dispute in
                                                                                                             order to facilitate
                                                                                                             provision of legal
                                                                                                             advice/services
                                                                                                             concerning the same.
                                                                               Self                          Communications
                                                                                                             regarding need
                                                                                                             for/provision of
                                                                                                             information regarding
NuCO2_Priv                                                                                                   customer
             htm        5/4/2017 9:20   John Templin   John Templin                        Attorney Client
_414                                                                                                         account/dispute in
                                                                                                             order to facilitate
                                                                                                             provision of legal
                                                                                                             advice/services
                                                                                                             concerning the same.
                                                                               Self                          Communications
                                                                                                             regarding need
                                                                                                             for/provision of
                                                                                                             information regarding
NuCO2_Priv                                                                                                   customer
             MSG        5/4/2017 9:20   John Templin   John Templin                        Attorney Client
_415                                                                                                         account/dispute in
                                                                                                             order to facilitate
                                                                                                             provision of legal
                                                                                                             advice/services
                                                                                                             concerning the same.



                                                                      76
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 78 of
                                                        573


                                                                              Self                               Communications
                                                                                                                 regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
NuCO2_Priv             4/27/2017                                                                                 customer
             MSG                   Ronald Thermil   John Templin                               Attorney Client
_416                   8:13                                                                                      account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
NuCO2_Priv             4/27/2017                                                                                 customer
             pdf                   Ronald Thermil   John Templin                               Attorney Client
_417                   8:13                                                                                      account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
NuCO2_Priv             4/27/2017                                                                                 customer
             pdf                   Ronald Thermil   John Templin                               Attorney Client
_418                   8:13                                                                                      account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
NuCO2_Priv             4/27/2017                                                                                 customer
             pdf                   Ronald Thermil   John Templin                               Attorney Client
_419                   8:13                                                                                      account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.



                                                                   77
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 79 of
                                                        573


                                                                                           Employee(s) of                     Communications
                                                                                           NuCO2                              regarding need
                                                                                                                              for/provision of
                                                                                                                              information regarding
NuCO2_Priv             4/27/2017                                                                                              customer
             pdf                   Ronald Thermil    John Templin                                           Attorney Client
_420                   8:13                                                                                                   account/dispute in
                                                                                                                              order to facilitate
                                                                                                                              provision of legal
                                                                                                                              advice/services
                                                                                                                              concerning the same.
                                                                                           Employee(s) of                     Communications
                                                                                           NuCO2                              regarding need
                                                                                                                              for/provision of
                                                                                                                              information regarding
NuCO2_Priv             4/27/2017                                                                                              customer
             xls                   Ronald Thermil    John Templin                                           Attorney Client
_421                   8:13                                                                                                   account/dispute in
                                                                                                                              order to facilitate
                                                                                                                              provision of legal
                                                                                                                              advice/services
                                                                                                                              concerning the same.
                                                                                           Employee(s) of                     Communications
                                                                                           NuCO2                              regarding need
                                                                                                                              for/provision of
                                                                                                                              information regarding
NuCO2_Priv             4/27/2017                                                                                              customer
             pdf                   Ronald Thermil    John Templin                                           Attorney Client
_422                   8:13                                                                                                   account/dispute in
                                                                                                                              order to facilitate
                                                                                                                              provision of legal
                                                                                                                              advice/services
                                                                                                                              concerning the same.
                                                                                           Employee(s) of                     Communications
                                                                                           NuCO2                              regarding request
                                                                                                            Attorney          for/provision of legal
NuCO2_Priv             12/4/2018
             pdf                   Brian D. Potter   John Templin        Rodney Husbands                    Client/Work       advice/work product
_423                   13:57
                                                                                                            Product           of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.




                                                                    78
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 80 of
                                                         573


                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
                                                                                                                  for/provision of
                                                                                                                  information regarding
NuCO2_Priv              4/27/2017                    John Templin;                                                customer
             MSG                    Vince Giordano                                              Attorney Client
_424                    12:50                        Randy Gold                                                   account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
                                                                                                                  for/provision of
                                                                                                                  information regarding
NuCO2_Priv              4/27/2017                                                                                 customer
             xlsx                   Kevin Patton     John Templin                               Attorney Client
_425                    9:06                                                                                      account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
                                                                                                                  for/provision of
                                                                                                                  information regarding
NuCO2_Priv              4/27/2017                                                                                 customer
             MSG                    Kevin Patton     John Templin                               Attorney Client
_426                    9:06                                                                                      account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
                                                                                                                  for/provision of
                                                                                                                  information regarding
NuCO2_Priv              5/17/2017                                                                                 customer
             pdf                    Maria Primm      John Templin                               Attorney Client
_427                    16:06                                                                                     account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.



                                                                     79
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 81 of
                                                        573


                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
NuCO2_Priv             5/17/2017                                                                                 customer
             pdf                   Maria Primm       John Templin                              Attorney Client
_428                   16:06                                                                                     account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
NuCO2_Priv             5/17/2017                                                                                 customer
             MSG                   Maria Primm       John Templin                              Attorney Client
_429                   16:06                                                                                     account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                                                                 Communications
                                                                                                                 regarding need
                                                                                                                 for/provision of
                                                                              Employee(s) of                     information regarding
NuCO2_Priv             4/26/2017                                              NuCO2                              customer
             MSG                   Kathleen Daniel   John Templin                              Attorney Client
_430                   16:03                                                                                     account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
NuCO2_Priv             4/26/2017                                                                                 customer
             xls                   Kathleen Daniel   John Templin                              Attorney Client
_431                   16:03                                                                                     account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.



                                                                    80
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 82 of
                                                         573


                                                                                             Employee(s) of                     Communications
                                                                                             NuCO2                              regarding need
                                                                                                                                for/provision of
                                                                                                                                information regarding
NuCO2_Priv              5/18/2017                      John Templin;                                                            customer
             MSG                     Nate Freese                            Ronald Thermil                    Attorney Client
_432                    15:54                          Maria Primm                                                              account/dispute in
                                                                                                                                order to facilitate
                                                                                                                                provision of legal
                                                                                                                                advice/services
                                                                                                                                concerning the same.
                                                                                             Employee(s) of
                                                                                             NuCO2                              Reflects need
NuCO2_Priv              11/29/2018                     Derek Burton;                                                            for/provision of legal
             MSG                     Hank Moeller                           Mark Novak                        Attorney Client
_433                    14:51                          John Templin                                                             advice regarding state
                                                                                                                                consumer complaint.

                                                                                             Employee(s) of
                                                                                             NuCO2                              Reflects need
NuCO2_Priv              11/29/2018                     Derek Burton;                                                            for/provision of legal
             pdf                     Hank Moeller                           Mark Novak                        Attorney Client
_434                    14:51                          John Templin                                                             advice regarding state
                                                                                                                                consumer complaint.

                                                                                             Employee(s) of
                                                                                             NuCO2                              Reflects need
NuCO2_Priv              11/29/2018                     Derek Burton;                                                            for/provision of legal
             pdf                     Hank Moeller                           Mark Novak                        Attorney Client
_435                    14:51                          John Templin                                                             advice regarding state
                                                                                                                                consumer complaint.

                                                                                             Employee(s) of
                                                                                             NuCO2
NuCO2_Priv              4/27/2017                                                                                               Communications
             MSG                     Kathleen Daniel   John Templin                                           Attorney Client
_436                    11:03                                                                                                   regarding legal matter.


                                                                                             Employee(s) of
                                                                                             NuCO2
NuCO2_Priv              4/27/2017                                                                                               Communications
             xlsx                    Kathleen Daniel   John Templin                                           Attorney Client
_437                    11:03                                                                                                   regarding legal matter.




                                                                       81
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 83 of
                                                         573


                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
                                                                                                                  for/provision of
                                                                                                                  information regarding
NuCO2_Priv              4/27/2017                                                                                 customer
             MSG                    Kathleen Daniel   John Templin                              Attorney Client
_438                    8:40                                                                                      account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
                                                                                                                  for/provision of
                                                                                                                  information regarding
NuCO2_Priv              4/27/2017                                                                                 customer
             docx                   Kathleen Daniel   John Templin                              Attorney Client
_439                    8:40                                                                                      account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
                                                                                                                  for/provision of
                                                                                                                  information regarding
NuCO2_Priv              4/27/2017                                                                                 customer
             xlsx                   Kathleen Daniel   John Templin                              Attorney Client
_440                    8:40                                                                                      account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
                                                                                                                  for/provision of
                                                                                                                  information regarding
NuCO2_Priv              4/27/2017                                                                                 customer
             xlsx                   Kathleen Daniel   John Templin                              Attorney Client
_441                    8:40                                                                                      account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.



                                                                     82
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 84 of
                                                         573


                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
                                                                                                                  for/provision of
                                                                                                                  information regarding
NuCO2_Priv              4/27/2017                                                                                 customer
             msg                    Kathleen Daniel    Josh Brassfield                          Attorney Client
_442                    8:40                                                                                      account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.
                                                                                                                  Communications
                                                                                                                  regarding need
                                                                                                                  for/provision of
                                                                               Employee(s) of                     information regarding
NuCO2_Priv              4/27/2017                                              NuCO2                              customer
             MSG                    Kathleen Daniel    John Templin                             Attorney Client
_443                    8:46                                                                                      account/dispute in
                                                                                                                  order to facilitate
                                                                                                                  provision of legal
                                                                                                                  advice/services
                                                                                                                  concerning the same.
                                                                               Employee(s) of                     Reflects need
                                                                               NuCO2                              for/provision of legal
                                                                                                Attorney          advice regarding
NuCO2_Priv              12/5/2018
             xlsm                   Heather Shepherd   John Templin                             Client/Work       negotiation/drafting of
_444                    11:58
                                                                                                Product           customer
                                                                                                                  agreements/other
                                                                                                                  issues.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding request
                                                                                                                  for/provision of legal
NuCO2_Priv              5/23/2017
             MSG                    Vince Giordano     John Templin                             Attorney Client   advice/work product
_445                    15:21
                                                                                                                  of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
                                                                                                                  for/provision of
NuCO2_Priv              5/17/2017
             pdf                    Maria Primm        John Templin                             Attorney Client   information regarding
_446                    17:01
                                                                                                                  customer
                                                                                                                  account/dispute in
                                                                                                                  order to facilitate

                                                                         83
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 85 of
                                                        573


                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.



                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
NuCO2_Priv             5/17/2017                                                                                 customer
             pdf                   Maria Primm    John Templin                                 Attorney Client
_447                   17:01                                                                                     account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
NuCO2_Priv             5/17/2017                                                                                 customer
             MSG                   Maria Primm    John Templin                                 Attorney Client
_448                   17:01                                                                                     account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             12/5/2018
             png                   John Templin   John Templin                                 Attorney Client   advice regarding
_449                   16:44
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             12/5/2018
             htm                   John Templin   John Templin                                 Attorney Client   advice regarding
_450                   16:44
                                                                                                                 customer
                                                                                                                 account/dispute.




                                                                 84
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 86 of
                                                        573


                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             12/5/2018
             png                   John Templin   John Templin                                 Attorney Client   advice regarding
_451                   16:44
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             12/5/2018
             htm                   John Templin   John Templin                                 Attorney Client   advice regarding
_452                   16:44
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             12/5/2018
             png                   John Templin   John Templin                                 Attorney Client   advice regarding
_453                   16:44
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             12/5/2018
             htm                   John Templin   John Templin                                 Attorney Client   advice regarding
_454                   16:44
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             12/5/2018
             jpg                   John Templin   John Templin                                 Attorney Client   advice regarding
_455                   16:44
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             12/5/2018
             htm                   John Templin   John Templin                                 Attorney Client   advice regarding
_456                   16:44
                                                                                                                 customer
                                                                                                                 account/dispute.




                                                                 85
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 87 of
                                                         573


                                                                               Employee(s) of
                                                                                                                  Reflects need
                                                                               NuCO2
                                                                                                                  for/provision of legal
NuCO2_Priv              12/5/2018
             png                    John Templin   John Templin                                 Attorney Client   advice regarding
_457                    16:44
                                                                                                                  customer
                                                                                                                  account/dispute.
                                                                               Employee(s) of
                                                                                                                  Reflects need
                                                                               NuCO2
                                                                                                                  for/provision of legal
NuCO2_Priv              12/5/2018
             htm                    John Templin   John Templin                                 Attorney Client   advice regarding
_458                    16:44
                                                                                                                  customer
                                                                                                                  account/dispute.
                                                                               Employee(s) of
                                                                                                                  Reflects need
                                                                               NuCO2
                                                                                                                  for/provision of legal
NuCO2_Priv              12/5/2018
             jpg                    John Templin   John Templin                                 Attorney Client   advice regarding
_459                    16:44
                                                                                                                  customer
                                                                                                                  account/dispute.
                                                                               Employee(s) of
                                                                                                                  Reflects need
                                                                               NuCO2
                                                                                                                  for/provision of legal
NuCO2_Priv              12/5/2018
             htm                    John Templin   John Templin                                 Attorney Client   advice regarding
_460                    16:44
                                                                                                                  customer
                                                                                                                  account/dispute.
                                                                               Employee(s) of
                                                                                                                  Reflects need
                                                                               NuCO2
                                                                                                                  for/provision of legal
NuCO2_Priv              12/5/2018
             xlsx                   John Templin   John Templin                                 Attorney Client   advice regarding
_461                    16:44
                                                                                                                  customer
                                                                                                                  account/dispute.
                                                                               Employee(s) of
                                                                                                                  Reflects need
                                                                               NuCO2
                                                                                                                  for/provision of legal
NuCO2_Priv              12/5/2018
             htm                    John Templin   John Templin                                 Attorney Client   advice regarding
_462                    16:44
                                                                                                                  customer
                                                                                                                  account/dispute.




                                                                  86
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 88 of
                                                        573


                                                                              Employee(s) of
                                                                                                                  Reflects need
                                                                              NuCO2
                                                                                                                  for/provision of legal
NuCO2_Priv             12/5/2018
             pdf                    John Templin       John Templin                             Attorney Client   advice regarding
_463                   16:44
                                                                                                                  customer
                                                                                                                  account/dispute.
                                                                              Employee(s) of
                                                                                                                  Reflects need
                                                                              NuCO2
                                                                                                                  for/provision of legal
NuCO2_Priv             12/5/2018
             htm                    John Templin       John Templin                             Attorney Client   advice regarding
_464                   16:44
                                                                                                                  customer
                                                                                                                  account/dispute.
                                                                              Employee(s) of
                                                                                                                  Reflects need
                                                                              NuCO2
                                                                                                                  for/provision of legal
NuCO2_Priv             12/5/2018
             pdf                    John Templin       John Templin                             Attorney Client   advice regarding
_465                   16:44
                                                                                                                  customer
                                                                                                                  account/dispute.
                                                                              Employee(s) of
                                                                                                                  Reflects need
                                                                              NuCO2
                                                                                                                  for/provision of legal
NuCO2_Priv             12/5/2018
             htm                    John Templin       John Templin                             Attorney Client   advice regarding
_466                   16:44
                                                                                                                  customer
                                                                                                                  account/dispute.
                                                                              Employee(s) of
                                                                                                                  Reflects need
                                                                              NuCO2
                                                                                                                  for/provision of legal
NuCO2_Priv             12/5/2018
             MSG                    John Templin       John Templin                             Attorney Client   advice regarding
_467                   16:44
                                                                                                                  customer
                                                                                                                  account/dispute.


                                                                               Employee(s) of
                                                                                                                  Communication
NuCO2_Priv             11/26/2018                                             NuCO2 and its
             MSG                    Edward Balzarini   John Templin                             Attorney Client   regarding litigation
_468                   9:03                                                   affiliated
                                                                                                                  hold.
                                                                              company(ies)




                                                                      87
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 89 of
                                                         573


                                                                                                                                         Communications
                                                                                                                                         regarding need
                                                                                                                                         for/provision of
                                                                                                      Employee(s) of                     information regarding
NuCO2_Priv              5/19/2017                                                                     NuCO2                              customer
             MSG                     Maria Primm       John Templin                                                    Attorney Client
_469                    9:29                                                                                                             account/dispute in
                                                                                                                                         order to facilitate
                                                                                                                                         provision of legal
                                                                                                                                         advice/services
                                                                                                                                         concerning the same.
                                                                                                      Employee(s) of                     Communications
                                                                                                      NuCO2 and its                      regarding request
                                                                                                      affiliated       Attorney          for/provision of legal
NuCO2_Priv              11/28/2018                                          Riley, Robin K; Piazza,
             MSG                     Markatos, David   John Templin                                                    Client/Work       advice/work product
_470                    15:31                                               Shelly                    company(ies)
                                                                                                                       Product           of counsel concerning
                                                                                                                                         negotiation/drafting of
                                                                                                                                         customer agreement.
                                                                                                      Employee(s) of                     Communications
                                                                                                      NuCO2 and its                      regarding request
                                                                                                      affiliated       Attorney          for/provision of legal
NuCO2_Priv              11/28/2018                                          Riley, Robin K; Piazza,
             docx                    Markatos, David   John Templin                                                    Client/Work       advice/work product
_471                    15:31                                               Shelly                    company(ies)
                                                                                                                       Product           of counsel concerning
                                                                                                                                         negotiation/drafting of
                                                                                                                                         customer agreement.
                                                                                                      Employee(s) of                     Communications
                                                                                                      NuCO2 and its                      regarding request
                                                                                                      affiliated       Attorney          for/provision of legal
NuCO2_Priv              11/28/2018                                          Riley, Robin K; Piazza,
             pdf                     Markatos, David   John Templin                                                    Client/Work       advice/work product
_472                    15:31                                               Shelly                    company(ies)
                                                                                                                       Product           of counsel concerning
                                                                                                                                         negotiation/drafting of
                                                                                                                                         customer agreement.
                                                       Gerald Miller;
                                                       Mike Kleimeyer;
                                                                                                                                         Reflects attorney
                                                       Jeff Gilheney;
                                                                                                      Employee(s) of                     Communicationss/or
                                                       John Templin;
                                                                                                                       Attorney          attorney work product
NuCO2_Priv              5/23/2017                      Derek Burton;                                  NuCO2
             pptx                                                                                                      Client/Work       regarding insurance
_473                    7:24                           Randy Gold;
                                                                                                                       Product           and legal matters and
                                                       Vince Giordano;
                                                                                                                                         acquisition and and
                                                       Patrick Woelfel;
                                                                                                                                         safety.
                                                       Felicia Gallagher;
                                                       Kevin Patton;

                                                                       88
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 90 of
                                                        573


                                                      Kent Hoffman




                                                      Gerald Miller;
                                                      Mike Kleimeyer;
                                                      Jeff Gilheney;
                                                      John Templin;                      Employee(s) of                      Reflects attorney
                                                      Derek Burton;                                        Attorney          Communications
NuCO2_Priv             5/23/2017                                                         NuCO2
             pdf                                      Randy Gold;                                          Client/Work       and/or attorney work
_474                   7:24
                                                      Vince Giordano;                                      Product           product regarding
                                                      Patrick Woelfel;                                                       safety.
                                                      Felicia Gallagher;
                                                      Kevin Patton;
                                                      Kent Hoffman

                                                                                          Employee(s) of
                                                                                                                             Communication
NuCO2_Priv             12/3/2018                                                         NuCO2 and its
             MSG                   Edward Balzarini   John Templin                                         Attorney Client   regarding litigation
_475                   9:03                                                              affiliated
                                                                                                                             hold.
                                                                                         company(ies)

                                                                                         Employee(s) of
                                                                                         NuCO2                               Communications
                                                                                                           Attorney
NuCO2_Priv             6/9/2017                                                                                              regarding strategy for
             MSG                   Matt Butcher       John Templin         Maria Primm                     Client/Work
_476                   12:22                                                                                                 settling customer
                                                                                                           Product
                                                                                                                             dispute.

                                                                                         Employee(s) of
                                                                                         NuCO2                               Communications
                                                                                                           Attorney
NuCO2_Priv             6/9/2017                                                                                              regarding strategy for
             png                   Matt Butcher       John Templin         Maria Primm                     Client/Work
_477                   12:22                                                                                                 settling customer
                                                                                                           Product
                                                                                                                             dispute.




                                                                      89
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 91 of
                                                         573


                                                                                                 Employee(s) of
                                                                                                 NuCO2                              Communications
                                                                                                                  Attorney
NuCO2_Priv                                                John Templin;                                                             regarding strategy for
             MSG        6/9/2017 9:53   Matt Butcher                                                              Client/Work
_478                                                      Maria Primm                                                               settling customer
                                                                                                                  Product
                                                                                                                                    dispute.

                                                                                                 Employee(s) of
                                                                                                                                    Reflects need
                                                                                                 NuCO2
                                                                                                                                    for/provision of legal
NuCO2_Priv              11/28/2018
             docx                       Brian D. Potter   John Templin                                            Attorney Client   advice regarding
_479                    9:25
                                                                                                                                    customer
                                                                                                                                    account/dispute.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects need
                                                                                                 NuCO2
                                                                                                                                    for/provision of legal
NuCO2_Priv              11/28/2018
             pdf                        Brian D. Potter   John Templin                                            Attorney Client   advice regarding
_480                    9:25
                                                                                                                                    customer
                                                                                                                                    account/dispute.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects need
                                                                                                 NuCO2
                                                                                                                                    for/provision of legal
NuCO2_Priv              11/28/2018
             MSG                        Brian D. Potter   John Templin                                            Attorney Client   advice regarding
_481                    9:25
                                                                                                                                    customer
                                                                                                                                    account/dispute.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2 and its
                                                                                                                                    communications or
NuCO2_Priv              6/7/2017                          John Templin;                          affiliated
             MSG                        Markatos, David                         Piazza, Shelly                    Attorney Client   advice or work product
_482                    12:25                             Vince Giordano                         company(ies)                       regarding handling
                                                                                                                                    competitor disputes.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2 and its
                                                                                                                                    communications or
NuCO2_Priv              6/7/2017                          John Templin;                          affiliated
             pdf                        Markatos, David                         Piazza, Shelly                    Attorney Client   advice or work product
_483                    12:25                             Vince Giordano                         company(ies)                       regarding handling
                                                                                                                                    competitor disputes.




                                                                           90
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 92 of
                                                         573


                                                                                              Employee(s) of
                                                                                                                                  Reflects
                                                                                              NuCO2 and its
                                                                                                                                  communications or
NuCO2_Priv              6/7/2017                       John Templin;                          affiliated
             txt                     Markatos, David                         Piazza, Shelly                     Attorney Client   advice or work product
_484                    12:25                          Vince Giordano                         company(ies)                        regarding handling
                                                                                                                                  competitor disputes.


                                                                                              Employee(s) of                      Reflects
                                                                                                                                  communications
NuCO2_Priv              6/15/2017                                                             NuCO2
             MSG                     Matt Butcher      David Markatos        John Templin                       Attorney Client   regarding settlement
_485                    16:47
                                                                                                                                  concerning customer
                                                                                                                                  dispute.
                                                                                              Employee(s) of                      Communications
                                                                                              NuCO2                               regarding request
                                                                                                                                  for/provision of legal
NuCO2_Priv              12/13/2018
             docx                    Debbie Oliver     John Templin                                             Attorney Client   advice/work product
_486                    10:59
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                              Employee(s) of                      Communications
                                                                                              NuCO2                               regarding request
                                                                                                                                  for/provision of legal
NuCO2_Priv              12/13/2018
             jpg                     Debbie Oliver     John Templin                                             Attorney Client   advice/work product
_487                    10:59
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                              Employee(s) of                      Communications
                                                                                              NuCO2                               regarding request
                                                                                                                                  for/provision of legal
NuCO2_Priv              12/13/2018
             MSG                     Debbie Oliver     John Templin                                             Attorney Client   advice/work product
_488                    10:59
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                                                                  Reflects
                                                                                               Employee(s) of
                                                                                                                Attorney          communications
NuCO2_Priv              6/15/2017                                                             NuCO2 and its
             MSG                     Markatos, David   Matt Butcher          John Templin                       Client/Work       regarding settlement
_489                    17:32                                                                 affiliated
                                                                                                                Product           concerning customer
                                                                                              company(ies)
                                                                                                                                  dispute.




                                                                        91
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 93 of
                                                         573


                                                                                              Employee(s) of
                                                                                                                                 Reflects
                                                                                              NuCO2
                                                                                                                                 communications
NuCO2_Priv              6/12/2017
             MSG                     Maria Primm         John Templin                                          Attorney Client   regarding settlement
_490                    8:41
                                                                                                                                 concerning customer
                                                                                                                                 dispute.
                                                                                              Employee(s) of
                                                                                                                                 Reflects
                                                                                              NuCO2
                                                                                                                                 communications
NuCO2_Priv              6/12/2017
             xlsx                    Maria Primm         John Templin                                          Attorney Client   regarding settlement
_491                    8:41
                                                                                                                                 concerning customer
                                                                                                                                 dispute.
                                                                                              Employee(s) of
                                                                                                                                 Reflects
                                                                                              NuCO2 and its
                                                                                                                                 communications
NuCO2_Priv              6/15/2017                                                             affiliated
             MSG                     Matt Butcher        David Markatos        John Templin                    Attorney Client   regarding settlement
_492                    17:42                                                                 company(ies)                       concerning customer
                                                                                                                                 dispute.
                                                                                              Employee(s) of
                                                                                                                                 Reflects
                                                                                              NuCO2 and its
                                                                                                                                 communications
NuCO2_Priv              6/15/2017                                                             affiliated
             docx                    Matt Butcher        David Markatos        John Templin                    Attorney Client   regarding settlement
_493                    17:42                                                                 company(ies)                       concerning customer
                                                                                                                                 dispute.
                                                                                              Employee(s) of
                                                                                              NuCO2 and its
                                                                                                                                 Communication
NuCO2_Priv              12/10/2018                                                            affiliated
             MSG                     Edward Balzarini    John Templin                                          Attorney Client   regarding litigation
_494                    9:04                                                                  company(ies)                       hold.

                                                                                                                                 Communications
                                                                                              Employee(s) of                     regarding request
                                                                                                               Attorney          for/provision of legal
NuCO2_Priv              3/4/2019                                                              NuCO2
             MSG                     John-Paul Venanzi   Carla Loffredo                                        Client/Work       advice/work product
_495                    15:19
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.




                                                                          92
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 94 of
                                                         573


                                                                                                 Employee(s) of                      Communications
                                                                                                 NuCO2                               regarding request
                                                                                                                   Attorney          for/provision of legal
NuCO2_Priv              3/4/2019
             docx                    John-Paul Venanzi   Carla Loffredo                                            Client/Work       advice/work product
_496                    15:19
                                                                                                                   Product           of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                 Employee(s) of                      Communications
                                                                                                 NuCO2                               regarding request
                                                                                                                   Attorney          for/provision of legal
NuCO2_Priv              3/4/2019
             docx                    John-Paul Venanzi   Carla Loffredo                                            Client/Work       advice/work product
_497                    15:19
                                                                                                                   Product           of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                 Employee(s) of                      Communications
                                                                                                 NuCO2                               regarding request
                                                                                                                   Attorney          for/provision of legal
NuCO2_Priv              3/4/2019
             pdf                     John-Paul Venanzi   Carla Loffredo                                            Client/Work       advice/work product
_498                    15:19
                                                                                                                   Product           of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                 Employee(s) of
                                                                                                                                     Reflects need
                                                                                                 NuCO2
                                                                                                                                     for/provision of legal
NuCO2_Priv              12/10/2018   Christine
             pdf                                         John Templin          Brian D. Potter                     Attorney Client   advice regarding
_499                    16:05        Bukowski
                                                                                                                                     customer
                                                                                                                                     account/dispute.
                                                                                                 Employee(s) of
                                                                                                                                     Reflects need
                                                                                                 NuCO2
                                                                                                                                     for/provision of legal
NuCO2_Priv              12/10/2018   Christine
             xlsx                                        John Templin          Brian D. Potter                     Attorney Client   advice regarding
_500                    16:05        Bukowski
                                                                                                                                     customer
                                                                                                                                     account/dispute.
                                                                                                  Employee(s) of
                                                                                                 NuCO2 and                           Reflects
                                                                                                 attorney(s) for   Attorney          communications
NuCO2_Priv              6/6/2017
             pdf                     Erin R. Olshever    John Templin                            NuCO2’s           Client/Work       regarding settlement
_501                    14:03
                                                                                                 customer(s)       Product           concerning customer
                                                                                                                                     dispute.



                                                                          93
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 95 of
                                                        573



                                                                                              Employee(s) of                   Reflects
                                                                                                                Attorney       communications
NuCO2_Priv             6/6/2017                                                               NuCO2
             MSG                   Maria Primm        John Templin                                              Client/Work    regarding settlement
_502                   14:03
                                                                                                                Product        concerning customer
                                                                                                                               dispute.
                                                                                               Employee(s) of
                                                                                              NuCO2 and         Settlement
                                                                                                                               Reflects
                                                                                                                Negotiations
                                                                                              attorney(s) for                  communications
NuCO2_Priv             6/6/2017                       Markatos, David;      Erin Ward; Drew
             msg                   Erin R. Olshever                                           NuCO2’s                          regarding settlement
_503                   14:03                          Maria Primm           Kuruc                               Attorney
                                                                                              customer(s)                      concerning customer
                                                                                                                Client/Work
                                                                                                                               dispute.
                                                                                                                Product


                                                                                              Employee(s) of                   Reflects
                                                                                                                Attorney       communications
NuCO2_Priv             6/6/2017                                                               NuCO2
             pdf                   Maria Primm        John Templin                                              Client/Work    regarding settlement
_504                   14:03
                                                                                                                Product        concerning customer
                                                                                                                               dispute.
                                                                                              Employee(s) of
                                                                                                                               Reflects
                                                                                              NuCO2 and its
                                                                                                                Attorney       communications
NuCO2_Priv             6/15/2017                      David Markatos;                         affiliated
             MSG                   Matt Butcher                             Maria Primm                         Client/Work    regarding settlement
_505                   11:11                          John Templin                            company(ies)      Product        concerning customer
                                                                                                                               dispute.
                                                                                              Employee(s) of
                                                                                                                               Reflects
                                                                                              NuCO2 and its
                                                                                                                Attorney       communications
NuCO2_Priv             6/16/2017                                                              affiliated
             MSG                   Matt Butcher       David Markatos        John Templin                        Client/Work    regarding settlement
_506                   7:52                                                                   company(ies)      Product        concerning customer
                                                                                                                               dispute.


                                                                                              Employee(s) of                   Reflects
                                                                                                                Attorney       communications
NuCO2_Priv             6/15/2017                                                              NuCO2
             MSG                   Matt Butcher       John Templin                                              Client/Work    regarding settlement
_507                   13:02
                                                                                                                Product        concerning customer
                                                                                                                               dispute.




                                                                       94
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 96 of
                                                        573


                                                                                                  Employee(s) of
                                                                                                                                     Reflects
                                                                                                  NuCO2 and its
                                                                                                                   Attorney          communications
NuCO2_Priv                                                Matt Butcher;                           affiliated
             MSG       6/9/2017 9:28   Markatos, David                                                             Client/Work       regarding settlement
_508                                                      John Templin                            company(ies)     Product           concerning customer
                                                                                                                                     dispute.
                                                                                                  Employee(s) of
                                                                                                  NuCO2 and its
                                                                                                                                     Communication
NuCO2_Priv             12/24/2018                                                                 affiliated
             MSG                       Edward Balzarini   John Templin                                             Attorney Client   regarding litigation
_509                   9:02                                                                       company(ies)                       hold.

                                                                                                  Employee(s) of
                                                                                                                                     Reflects
                                                                                                  NuCO2 and its
                                                                                                                   Attorney          communications
NuCO2_Priv             6/15/2017                                                                  affiliated
             MSG                       Matt Butcher       David Markatos         John Templin                      Client/Work       regarding settlement
_510                   16:23                                                                      company(ies)     Product           concerning customer
                                                                                                                                     dispute.
                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2                              regarding request
                                                                                                                   Attorney          for/provision of legal
NuCO2_Priv             12/24/2018                         John Templin;
             pdf                       Michael Graham                                                              Client/Work       advice/work product
_511                   9:04                               Brian D. Potter
                                                                                                                   Product           of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2                              regarding request
                                                                                                                   Attorney          for/provision of legal
NuCO2_Priv             12/24/2018                         John Templin;
             MSG                       Michael Graham                                                              Client/Work       advice/work product
_512                   9:04                               Brian D. Potter
                                                                                                                   Product           of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2                              regarding request
                                                                                                                                     for/provision of legal
NuCO2_Priv             12/20/2018
             MSG                       Brian D. Potter    John Templin           Michael Graham                    Attorney Client   advice/work product
_513                   16:10
                                                                                                                                     of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.



                                                                            95
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 97 of
                                                         573


                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2                              regarding request
                                                                                                                                     for/provision of legal
NuCO2_Priv              12/20/2018
             docx                       Brian D. Potter   John Templin           Michael Graham                    Attorney Client   advice/work product
_514                    16:10
                                                                                                                                     of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2                              regarding request
                                                                                                                                     for/provision of legal
NuCO2_Priv              12/20/2018
             docx                       Brian D. Potter   John Templin           Michael Graham                    Attorney Client   advice/work product
_515                    16:10
                                                                                                                                     of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2                              regarding request
                                                                                                                                     for/provision of legal
NuCO2_Priv              12/20/2018
             XLS                        Brian D. Potter   John Templin           Michael Graham                    Attorney Client   advice/work product
_516                    16:10
                                                                                                                                     of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2                              regarding request
                                                                                                                                     for/provision of legal
NuCO2_Priv              12/20/2018
             pdf                        Brian D. Potter   John Templin           Michael Graham                    Attorney Client   advice/work product
_517                    16:10
                                                                                                                                     of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2                              regarding request
                                                                                                                                     for/provision of legal
NuCO2_Priv              12/20/2018                        John Templin;
             MSG                        Michael Graham                                                             Attorney Client   advice/work product
_518                    17:31                             Brian D. Potter
                                                                                                                                     of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                  Employee(s) of
                                                                                                                                     Reflects
                                                                                                  NuCO2
                                                                                                                   Attorney          communications
NuCO2_Priv
             MSG        6/9/2017 9:52   Maria Primm       John Templin           Matt Butcher                      Client/Work       regarding settlement
_519
                                                                                                                   Product           concerning customer
                                                                                                                                     dispute.


                                                                            96
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 98 of
                                                         573


                                                                                           Employee(s) of
                                                                                                                               Reflects
                                                                                           NuCO2
                                                                                                             Attorney          communications
NuCO2_Priv              6/9/2017
             MSG                     Maria Primm        John Templin        Matt Butcher                     Client/Work       regarding settlement
_520                    10:03
                                                                                                             Product           concerning customer
                                                                                                                               dispute.


                                                                                            Employee(s) of
                                                                                                                               Communication
NuCO2_Priv              12/17/2018                                                         NuCO2 and its
             MSG                     Edward Balzarini   John Templin                                         Attorney Client   regarding litigation
_521                    9:07                                                               affiliated
                                                                                                                               hold.
                                                                                           company(ies)

                                                                                           Employee(s) of
                                                                                                                               Reflects attorney
                                                                                           NuCO2
                                                                                                             Attorney          Communications
NuCO2_Priv              12/14/2018
             MSG                     Brian D. Potter    John Templin                                         Client/Work       and/or attorney work
_522                    13:20
                                                                                                             Product           product regarding
                                                                                                                               acquisition.
                                                                                           Employee(s) of
                                                                                                                               Reflects attorney
                                                                                           NuCO2
                                                                                                             Attorney          Communications
NuCO2_Priv              12/14/2018
             pdf                     Brian D. Potter    John Templin                                         Client/Work       and/or attorney work
_523                    13:20
                                                                                                             Product           product regarding
                                                                                                                               acquisition.
                                                                                           Employee(s) of
                                                                                                                               Reflects attorney
                                                                                           NuCO2
                                                                                                             Attorney          Communications
NuCO2_Priv              12/14/2018
             xlsm                    Brian D. Potter    John Templin                                         Client/Work       and/or attorney work
_524                    13:20
                                                                                                             Product           product regarding
                                                                                                                               acquisition.
                                                                                           Employee(s) of
                                                                                                                               Reflects attorney
                                                                                           NuCO2
                                                                                                             Attorney          Communications
NuCO2_Priv              12/14/2018
             PDF                     Brian D. Potter    John Templin                                         Client/Work       and/or attorney work
_525                    13:20
                                                                                                             Product           product regarding
                                                                                                                               acquisition.




                                                                       97
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 99 of
                                                         573


                                                                                         Employee(s) of
                                                                                                                         Reflects attorney
                                                                                         NuCO2
                                                                                                           Attorney      Communications
NuCO2_Priv              12/14/2018
             pdf                     Brian D. Potter   John Templin                                        Client/Work   and/or attorney work
_526                    13:20
                                                                                                           Product       product regarding
                                                                                                                         acquisition.
                                                                                         Employee(s) of                  Communications
                                                                                         NuCO2 and its                   regarding request
                                                                                         affiliated        Attorney      for/provision of legal
NuCO2_Priv              6/13/2017
             ppt                     Markatos, David   John Templin        Jeff Wilson                     Client/Work   advice/work product
_527                    9:51                                                             company(ies)
                                                                                                           Product       of counsel concerning
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                         Employee(s) of                  Communications
                                                                                         NuCO2 and its                   regarding request
                                                                                         affiliated        Attorney      for/provision of legal
NuCO2_Priv              6/13/2017
             pptx                    Markatos, David   John Templin        Jeff Wilson                     Client/Work   advice/work product
_528                    9:51                                                             company(ies)
                                                                                                           Product       of counsel concerning
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                         Employee(s) of                  Communications
                                                                                         NuCO2 and its                   regarding request
                                                                                         affiliated        Attorney      for/provision of legal
NuCO2_Priv              6/13/2017
             pptx                    Markatos, David   John Templin        Jeff Wilson                     Client/Work   advice/work product
_529                    9:51                                                             company(ies)
                                                                                                           Product       of counsel concerning
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                         Employee(s) of                  Communications
                                                                                         NuCO2 and its                   regarding request
                                                                                         affiliated        Attorney      for/provision of legal
NuCO2_Priv              6/13/2017
             ppt                     Markatos, David   John Templin        Jeff Wilson                     Client/Work   advice/work product
_530                    9:51                                                             company(ies)
                                                                                                           Product       of counsel concerning
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                                                         Communications
                                                                                                                         regarding request
                                                                                          Employee(s) of
                                                                                                           Attorney      for/provision of legal
NuCO2_Priv              6/13/2017                                                        NuCO2 and its
             ppt                     Markatos, David   John Templin        Jeff Wilson                     Client/Work   advice/work product
_531                    9:51                                                             affiliated
                                                                                                           Product       of counsel concerning
                                                                                         company(ies)
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.

                                                                      98
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 100 of
                                                          573


                                                                                         Employee(s) of                  Communications
                                                                                         NuCO2                           regarding request
                                                                                                           Attorney      for/provision of legal
NuCO2_Priv              6/13/2017
             DOC                                      John Templin         Jeff Wilson                     Client/Work   advice/work product
_532                    9:51
                                                                                                           Product       of counsel concerning
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                         Employee(s) of                  Communications
                                                                                         NuCO2                           regarding request
                                                                                                           Attorney      for/provision of legal
NuCO2_Priv              6/13/2017
             DOCX                                     John Templin         Jeff Wilson                     Client/Work   advice/work product
_533                    9:51
                                                                                                           Product       of counsel concerning
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                         Employee(s) of                  Communications
                                                                                         NuCO2                           regarding request
                                                                                                           Attorney      for/provision of legal
NuCO2_Priv              6/13/2017
             DOCX                                     John Templin         Jeff Wilson                     Client/Work   advice/work product
_534                    9:51
                                                                                                           Product       of counsel concerning
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                                                         Communications
                                                                                                                         regarding request
                                                                                          Employee(s) of
                                                                                                           Attorney      for/provision of legal
NuCO2_Priv              6/13/2017                                                        NuCO2 and its
             MSG                    Markatos, David   John Templin         Jeff Wilson                     Client/Work   advice/work product
_535                    9:51                                                             affiliated
                                                                                                           Product       of counsel concerning
                                                                                         company(ies)
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                      Patrick Woelfel;                   Employee(s) of
                                                      Vince Giordano;                    NuCO2
                                                      Kevin Patton;
                                                      Mike Kleimeyer;
                                                      John Chesney;                                                      Reflects attorney
                                                      Felicia Gallagher;                                   Attorney      Communications
NuCO2_Priv              6/27/2017
             pptx                                     John Templin;                                        Client/Work   and/or attorney work
_536                    8:58
                                                      Dominick                                             Product       product regarding
                                                      Brandow; Gerald                                                    safety.
                                                      Miller; Jeff
                                                      Gilheney; Kent
                                                      Hoffman; Derek
                                                      Burton; John

                                                                      99
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 101 of
                                                          573


                                                      Chesney; Kevin
                                                      Patton




                                                      Patrick Woelfel;         Employee(s) of
                                                      Vince Giordano;          NuCO2
                                                      Kevin Patton;
                                                      Mike Kleimeyer;
                                                      John Chesney;                                           Reflects attorney
                                                      Felicia Gallagher;                                      Communicationss/or
                                                      John Templin;                             Attorney      attorney work product
NuCO2_Priv              6/27/2017
             pptx                                     Dominick                                  Client/Work   regarding insurance
_537                    8:58
                                                      Brandow; Gerald                           Product       and legal matters and
                                                      Miller; Jeff                                            acquisition and and
                                                      Gilheney; Kent                                          safety.
                                                      Hoffman; Derek
                                                      Burton; John
                                                      Chesney; Kevin
                                                      Patton
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              6/22/2017
             MSG                    Brian D. Potter   John Templin                              Client/Work   advice/work product
_538                    13:48
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              6/22/2017
             docx                   Brian D. Potter   John Templin                              Client/Work   advice/work product
_539                    13:48
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.




                                                                      100
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 102 of
                                                          573


                                                                               Employee(s) of                  Communications
                                                                               NuCO2                           regarding request
                                                                                                Attorney       for/provision of legal
NuCO2_Priv              6/22/2017
             docx                   Brian D. Potter   John Templin                              Client/Work    advice/work product
_540                    13:48
                                                                                                Product        of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/6/2017                      Ronald Thermil;                           Settlement
             pdf                    Melissa Baker                                                              regarding settlement
_541                    18:13                         John Templin                              Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/6/2017                      Ronald Thermil;                           Settlement
             pdf                    Melissa Baker                                                              regarding settlement
_542                    18:13                         John Templin                              Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/6/2017                      Ronald Thermil;                           Settlement
             pdf                    Melissa Baker                                                              regarding settlement
_543                    18:13                         John Templin                              Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/6/2017                      Ronald Thermil;                           Settlement
             pdf                    Melissa Baker                                                              regarding settlement
_544                    18:13                         John Templin                              Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/6/2017                      Ronald Thermil;                           Settlement
             pdf                    Melissa Baker                                                              regarding settlement
_545                    18:13                         John Templin                              Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.




                                                                     101
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 103 of
                                                         573


                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/6/2017                    Ronald Thermil;                             Settlement
             pdf                   Melissa Baker                                                              regarding settlement
_546                   18:13                       John Templin                                Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/6/2017                    Ronald Thermil;                             Settlement
             pdf                   Melissa Baker                                                              regarding settlement
_547                   18:13                       John Templin                                Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/6/2017                    Ronald Thermil;                             Settlement
             pdf                   Melissa Baker                                                              regarding settlement
_548                   18:13                       John Templin                                Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/6/2017                    Ronald Thermil;                             Settlement
             PNG                                                                                              regarding settlement
_549                   18:13                       John Templin                                Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/6/2017                    Ronald Thermil;                             Settlement
             PNG                                                                                              regarding settlement
_550                   18:13                       John Templin                                Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/6/2017                    Ronald Thermil;                             Settlement
             PNG                                                                                              regarding settlement
_551                   18:13                       John Templin                                Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.




                                                                 102
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 104 of
                                                         573


                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/6/2017                  Ronald Thermil;                               Settlement
             PNG                                                                                              regarding settlement
_552                   18:13                     John Templin                                  Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/6/2017                  Ronald Thermil;                               Settlement
             PNG                                                                                              regarding settlement
_553                   18:13                     John Templin                                  Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/6/2017                  Ronald Thermil;                               Settlement
             PNG                                                                                              regarding settlement
_554                   18:13                     John Templin                                  Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/6/2017                  Ronald Thermil;                               Settlement
             PNG                                                                                              regarding settlement
_555                   18:13                     John Templin                                  Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/6/2017                  Ronald Thermil;                               Settlement
             PNG                                                                                              regarding settlement
_556                   18:13                     John Templin                                  Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/6/2017                  Ronald Thermil;                               Settlement
             PNG                                                                                              regarding settlement
_557                   18:13                     John Templin                                  Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.




                                                               103
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 105 of
                                                          573


                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/6/2017                  Ronald Thermil;                               Settlement
             PNG                                                                                               regarding settlement
_558                    18:13                     John Templin                                  Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/6/2017                  Ronald Thermil;                               Settlement
             XLSX                                                                                              regarding settlement
_559                    18:13                     John Templin                                  Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/6/2017                  Ronald Thermil;                               Settlement
             PNG                                                                                               regarding settlement
_560                    18:13                     John Templin                                  Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/6/2017                  Ronald Thermil;                               Settlement
             PNG                                                                                               regarding settlement
_561                    18:13                     John Templin                                  Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/6/2017                  Ronald Thermil;                               Settlement
             XLSX                                                                                              regarding settlement
_562                    18:13                     John Templin                                  Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/6/2017                  Ronald Thermil;                               Settlement
             PNG                                                                                               regarding settlement
_563                    18:13                     John Templin                                  Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.




                                                                104
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 106 of
                                                         573


                                                                              Employee(s) of
                                                                                                                  Reflects
                                                                              NuCO2
                                                                                                                  communications
NuCO2_Priv             7/6/2017                      Ronald Thermil;                            Settlement
             PDF                                                                                                  regarding settlement
_564                   18:13                         John Templin                               Negotiations
                                                                                                                  concerning customer
                                                                                                                  dispute.
                                                                              Employee(s) of
                                                                                                                  Reflects
                                                                              NuCO2
                                                                                                                  communications
NuCO2_Priv             7/6/2017                      Ronald Thermil;                            Settlement
             PNG                                                                                                  regarding settlement
_565                   18:13                         John Templin                               Negotiations
                                                                                                                  concerning customer
                                                                                                                  dispute.
                                                                               Employee(s) of
                                                                              NuCO2 and                           Reflects
                                                                              agent(s) for                        communications
NuCO2_Priv             7/6/2017                      Melissa Baker;                             Settlement
             MSG                   Robert Nelson                              NuCO2’s                             regarding settlement
_566                   18:13                         Camille N. Leslie                          Negotiations
                                                                              customer(s)                         concerning customer
                                                                                                                  dispute.

                                                                              Employee(s) of
                                                                                                                  Reflects
                                                                              NuCO2
                                                                                                                  communications
NuCO2_Priv             7/6/2017                      Ronald Thermil;                            Settlement
             PDF                                                                                                  regarding settlement
_567                   18:13                         John Templin                               Negotiations
                                                                                                                  concerning customer
                                                                                                                  dispute.
                                                                              Employee(s) of
                                                                                                                  Reflects
                                                                              NuCO2
                                                                                                                  communications
NuCO2_Priv             7/6/2017                      Ronald Thermil;                            Settlement
             MSG                   Melissa Baker                                                                  regarding settlement
_568                   18:13                         John Templin                               Negotiations
                                                                                                                  concerning customer
                                                                                                                  dispute.
                                                                              Employee(s) of
                                                                              NuCO2
                                                                                                                  Communications
NuCO2_Priv             6/22/2017
             MSG                   Brian D. Potter   John Templin                               Attorney Client   regarding need for legal
_569                   15:25
                                                                                                                  advice of counsel.




                                                                    105
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 107 of
                                                         573


                                                                                                 Employee(s) of
                                                                                                 NuCO2
                                                                                                                                    Communications
NuCO2_Priv             6/22/2017
             pdf                       Brian D. Potter   John Templin                                             Attorney Client   regarding need for legal
_570                   15:25
                                                                                                                                    advice of counsel.


                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2
                                                                                                                                    communications
NuCO2_Priv                                                                    Randy Gold; John                    Settlement
             pdf       7/5/2017 8:19   Ronald Thermil    Sondra Meyer                                                               regarding settlement
_571                                                                          Templin                             Negotiations
                                                                                                                                    concerning customer
                                                                                                                                    dispute.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2
                                                                                                                                    communications
NuCO2_Priv                                                                    Randy Gold; John                    Settlement
             pdf       7/5/2017 8:19   Ronald Thermil    Sondra Meyer                                                               regarding settlement
_572                                                                          Templin                             Negotiations
                                                                                                                                    concerning customer
                                                                                                                                    dispute.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2
                                                                                                                                    communications
NuCO2_Priv                                                                    Randy Gold; John                    Settlement
             pdf       7/5/2017 8:19   Ronald Thermil    Sondra Meyer                                                               regarding settlement
_573                                                                          Templin                             Negotiations
                                                                                                                                    concerning customer
                                                                                                                                    dispute.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2
                                                                                                                                    communications
NuCO2_Priv                                                                    Randy Gold; John                    Settlement
             pdf       7/5/2017 8:19   Ronald Thermil    Sondra Meyer                                                               regarding settlement
_574                                                                          Templin                             Negotiations
                                                                                                                                    concerning customer
                                                                                                                                    dispute.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2
                                                                                                                                    communications
NuCO2_Priv                                                                    Randy Gold; John                    Settlement
             MSG       7/5/2017 8:19   Ronald Thermil    Sondra Meyer                                                               regarding settlement
_575                                                                          Templin                             Negotiations
                                                                                                                                    concerning customer
                                                                                                                                    dispute.




                                                                        106
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 108 of
                                                          573


                                                                                              Employee(s) of                  Communications
                                                                                              NuCO2                           regarding request
                                                                                                               Attorney       for/provision of legal
NuCO2_Priv              12/21/2018                       Brian D. Potter;
             MSG                     Michael Graham                                                            Client/Work    advice/work product
_576                    12:15                            John Templin
                                                                                                               Product        of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                              Employee(s) of                  Communications
                                                                                              NuCO2                           regarding request
                                                                                                               Attorney       for/provision of legal
NuCO2_Priv              12/21/2018                       Brian D. Potter;
             docx                    Michael Graham                                                            Client/Work    advice/work product
_577                    12:15                            John Templin
                                                                                                               Product        of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                              Employee(s) of                  Communications
                                                                                              NuCO2                           regarding request
                                                                                                               Attorney       for/provision of legal
NuCO2_Priv              12/21/2018                       John Templin;
             MSG                     Michael Graham                                                            Client/Work    advice/work product
_578                    12:44                            Brian D. Potter
                                                                                                               Product        of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                                                              Reflects attorney
                                                                                                               Attorney       Communicationss/or
NuCO2_Priv              10/8/2018
             xlsx                    Felicia Gallagher   Gallagher, Felicia                   Self             Client/Work    attorney work product
_579                    13:47
                                                                                                               Product        regardinglegal matters
                                                                                                                              and safety.
                                                                                              Employee(s) of
                                                                                                                              Reflects
                                                                                              NuCO2
                                                                                                                              communications
NuCO2_Priv              7/11/2017                                                                              Settlement
             MSG                     Derek Burton        John Templin            Dirk Horst                                   regarding settlement
_580                    17:38                                                                                  Negotiations
                                                                                                                              concerning customer
                                                                                                                              dispute.
                                                                                              Employee(s) of
                                                                                                                              Reflects
                                                                                              NuCO2
                                                                                                                              communications
NuCO2_Priv              7/11/2017                                                                              Settlement
             png                     Derek Burton        John Templin            Dirk Horst                                   regarding settlement
_581                    17:38                                                                                  Negotiations
                                                                                                                              concerning customer
                                                                                                                              dispute.




                                                                           107
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 109 of
                                                         573


                                                                                             Employee(s) of
                                                                                                                             Reflects
                                                                                             NuCO2
                                                                                                                             communications
NuCO2_Priv             7/11/2017                                                                              Settlement
             jpg                   Derek Burton      John Templin         Dirk Horst                                         regarding settlement
_582                   17:38                                                                                  Negotiations
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                             Employee(s) of
                                                                                                                             Reflects
                                                                                             NuCO2
                                                                                                                             communications
NuCO2_Priv             7/11/2017                                                                              Settlement
             jpg                   Derek Burton      John Templin         Dirk Horst                                         regarding settlement
_583                   17:38                                                                                  Negotiations
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                             Employee(s) of
                                                                                                                             Reflects
                                                                                             NuCO2
                                                                                                                             communications
NuCO2_Priv             7/11/2017                                                                              Settlement
             png                   Derek Burton      John Templin         Dirk Horst                                         regarding settlement
_584                   17:38                                                                                  Negotiations
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                             Employee(s) of
                                                                                             NuCO2,
                                                                                             NuCO2’s debt                    Reflects
                                                                                                                             communications
NuCO2_Priv             6/13/2018                     jgoeke@amalgam       Jeffrey Desmond;   collection       Settlement
             pdf                   Saldivar, Hilda                                                                           regarding settlement
_585                   11:48                         ated.com             Rosario Larson     company, and     Negotiations
                                                                                                                             concerning customer
                                                                                             NuCO2’s                         dispute.
                                                                                             customer

                                                                                             Employee(s) of
                                                                                             NuCO2,
                                                                                             NuCO2’s debt                    Reflects
                                                                                                                             communications
NuCO2_Priv             6/13/2018                     jgoeke@amalgam       Jeffrey Desmond;   collection       Settlement
             pdf                   Saldivar, Hilda                                                                           regarding settlement
_586                   11:48                         ated.com             Rosario Larson     company, and     Negotiations
                                                                                                                             concerning customer
                                                                                             NuCO2’s                         dispute.
                                                                                             customer




                                                                    108
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 110 of
                                                         573


                                                                                             Employee(s) of
                                                                                             NuCO2,
                                                                                             NuCO2’s debt                       Reflects
                                                                                                                                communications
NuCO2_Priv             6/13/2018                     jgoeke@amalgam       Jeffrey Desmond;   collection       Settlement
             pdf                   Saldivar, Hilda                                                                              regarding settlement
_587                   11:48                         ated.com             Rosario Larson     company, and     Negotiations
                                                                                                                                concerning customer
                                                                                             NuCO2’s                            dispute.
                                                                                             customer

                                                                                             Employee(s) of
                                                                                             NuCO2,
                                                                                             NuCO2’s debt                       Reflects
                                                                                                                                communications
NuCO2_Priv             6/13/2018                     jgoeke@amalgam       Jeffrey Desmond;   collection       Settlement
             pdf                   Saldivar, Hilda                                                                              regarding settlement
_588                   11:48                         ated.com             Rosario Larson     company, and     Negotiations
                                                                                                                                concerning customer
                                                                                             NuCO2’s                            dispute.
                                                                                             customer

                                                                                             Employee(s) of
                                                                                             NuCO2,
                                                                                             NuCO2’s debt                       Reflects
                                                                                                                                communications
NuCO2_Priv             6/13/2018                     jgoeke@amalgam       Jeffrey Desmond;   collection       Settlement
             MSG                   Saldivar, Hilda                                                                              regarding settlement
_589                   11:48                         ated.com             Rosario Larson     company, and     Negotiations
                                                                                                                                concerning customer
                                                                                             NuCO2’s                            dispute.
                                                                                             customer

                                                                                             Employee(s) of                     Communications
                                                                                             NuCO2                              regarding need
                                                                                                                                for/provision of
                                                                                                                                information regarding
NuCO2_Priv             7/14/2017                                                                                                customer
             MSG                   Ronald Thermil    John Templin                                             Attorney Client
_590                   16:11                                                                                                    account/dispute in
                                                                                                                                order to facilitate
                                                                                                                                provision of legal
                                                                                                                                advice/services
                                                                                                                                concerning the same.




                                                                    109
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 111 of
                                                          573


                                                                                 Employee(s) of                      Communications
                                                                                 NuCO2                               regarding need
                                                                                                                     for/provision of
                                                                                                                     information regarding
NuCO2_Priv              7/14/2017                                                                                    customer
             xls                        Ronald Thermil      John Templin                           Attorney Client
_591                    16:11                                                                                        account/dispute in
                                                                                                                     order to facilitate
                                                                                                                     provision of legal
                                                                                                                     advice/services
                                                                                                                     concerning the same.
                                                                                 Employee(s) of
                                                                                                                     Reflects attorney
                                                                                 NuCO2 and its
                                                                                                   Attorney          Communicationss/or
NuCO2_Priv              11/8/2018                                                affiliated
             xlsx                       Felicia Gallagher   Kevin Patton                           Client/Work       attorney work product
_592                    8:15                                                     company(ies)      Product           regardinglegal matters
                                                                                                                     and safety.
                                                                                 Employee(s) of
                                                                                 NuCO2 and its
                                                                                                                     Communication
NuCO2_Priv                                                                       affiliated
             MSG        1/7/2019 9:04   Edward Balzarini    John Templin                           Attorney Client   regarding litigation
_593                                                                             company(ies)                        hold.


                                                                                 Employee(s) of
                                                                                                                     Reflects
                                                                                 NuCO2
                                                                                                                     communications
NuCO2_Priv              7/12/2017                                                                  Settlement
             MSG                        Lavonda Shuford     John Templin                                             regarding settlement
_594                    8:47                                                                       Negotiations
                                                                                                                     concerning customer
                                                                                                                     dispute.
                                                                                 Employee(s) of
                                                                                                                     Reflects
                                                                                 NuCO2
                                                                                                   Attorney          communications
NuCO2_Priv              7/5/2017
             MSG                        Matt Butcher        John Templin                           Client/Work       regarding settlement
_595                    11:00
                                                                                                   Product           concerning customer
                                                                                                                     dispute.


                                                                                  Employee(s) of
                                                                                                                     Communication
NuCO2_Priv              1/14/2019                                                NuCO2 and its
             MSG                        Edward Balzarini    John Templin                           Attorney Client   regarding litigation
_596                    9:07                                                     affiliated
                                                                                                                     hold.
                                                                                 company(ies)



                                                                           110
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 112 of
                                                          573


                                                                                                  Employee(s) of                      Communications
                                                                                                  NuCO2                               regarding request
                                                                                                                                      for/provision of legal
NuCO2_Priv              7/19/2017       Christine
             MSG                                         John Templin                                               Attorney Client   advice/work product
_597                    10:49           Bukowski
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                  Employee(s) of                      Communications
                                                                                                  NuCO2                               regarding request
                                                                                                                                      for/provision of legal
NuCO2_Priv              7/19/2017       Christine
             xlsx                                        John Templin                                               Attorney Client   advice/work product
_598                    10:49           Bukowski
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                                                      Reflects
                                                                                                   Employee(s) of
                                                                                                                    Attorney          communications
NuCO2_Priv              7/5/2017                                              Maria Primm; John   NuCO2 and its
             MSG                        Matt Butcher     David Markatos                                             Client/Work       regarding settlement
_599                    13:22                                                 Templin             affiliated
                                                                                                                    Product           concerning customer
                                                                                                  company(ies)
                                                                                                                                      dispute.
                                                                                                  Employee(s) of
                                                                                                                                      Reflects
                                                                                                  NuCO2
                                                                                                                                      communications
NuCO2_Priv                                                                                                          Settlement
             MSG        7/6/2017 9:56   Ronald Thermil   John Templin                                                                 regarding settlement
_600                                                                                                                Negotiations
                                                                                                                                      concerning customer
                                                                                                                                      dispute.
                                                                                                  Employee(s) of
                                                                                                                                      Reflects
                                                                                                  NuCO2
                                                                                                                                      communications
NuCO2_Priv                                                                                                          Settlement
             msg        7/6/2017 9:56   Sondra Meyer     Ronald Thermil                                                               regarding settlement
_601                                                                                                                Negotiations
                                                                                                                                      concerning customer
                                                                                                                                      dispute.
                                                                                                  Employee(s) of
                                                                                                                                      Reflects
                                                                                                  NuCO2
                                                                                                                                      communications
NuCO2_Priv                                                                                                          Settlement
             msg        7/6/2017 9:56   Sondra Meyer     Ronald Thermil                                                               regarding settlement
_602                                                                                                                Negotiations
                                                                                                                                      concerning customer
                                                                                                                                      dispute.




                                                                        111
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 113 of
                                                          573


                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv                                                                                      Settlement
             msg        7/6/2017 9:56   Sondra Meyer   Ronald Thermil                                          regarding settlement
_603                                                                                            Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv                                                                                      Settlement
             xlsx       7/6/2017 9:56   Sondra Meyer   John Templin                                            regarding settlement
_604                                                                                            Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv                                                                                      Settlement
             xlsx       7/6/2017 9:56   Sondra Meyer   John Templin                                            regarding settlement
_605                                                                                            Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv                                                                                      Settlement
             pdf        7/6/2017 9:56   Sondra Meyer   John Templin                                            regarding settlement
_606                                                                                            Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv                                                                                      Settlement
             pdf        7/6/2017 9:56   Sondra Meyer   John Templin                                            regarding settlement
_607                                                                                            Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv                                                                                      Settlement
             xls        7/6/2017 9:56   Sondra Meyer   John Templin                                            regarding settlement
_608                                                                                            Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.




                                                                      112
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 114 of
                                                          573



                                                                                                               Reflects attorney
                                                                                                Attorney       Communicationss/or
NuCO2_Priv              11/8/2018
             xlsx                   Felicia Gallagher   Gallagher, Felicia      Self            Client/Work    attorney work product
_609                    13:49
                                                                                                Product        regardinglegal matters
                                                                                                               and safety.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/7/2017                                                                Settlement
             MSG                    Ronald Thermil      John Templin                                           regarding settlement
_610                    11:28                                                                   Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/7/2017                                                                Settlement
             pdf                    Ronald Thermil      John Templin                                           regarding settlement
_611                    11:28                                                                   Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/7/2017                                                                Settlement
             pdf                    Ronald Thermil      John Templin                                           regarding settlement
_612                    11:28                                                                   Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/7/2017                                                                Settlement
             pdf                    Ronald Thermil      John Templin                                           regarding settlement
_613                    11:28                                                                   Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              7/7/2017                                                                Settlement
             pdf                    Ronald Thermil      John Templin                                           regarding settlement
_614                    11:28                                                                   Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.




                                                                        113
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 115 of
                                                         573


                                                                              Employee(s) of                  Communications
                                                                              NuCO2                           regarding request
                                                                                               Attorney       for/provision of legal
NuCO2_Priv             1/14/2019
             MSG                   Kathleen Daniel   John Templin                              Client/Work    advice/work product
_615                   13:24
                                                                                               Product        of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                              Employee(s) of                  Communications
                                                                              NuCO2                           regarding request
                                                                                               Attorney       for/provision of legal
NuCO2_Priv             1/14/2019
             pdf                   Kathleen Daniel   John Templin                              Client/Work    advice/work product
_616                   13:24
                                                                                               Product        of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/5/2017                                                                Settlement
             MSG                   Sondra Meyer      John Templin                                             regarding settlement
_617                   15:08                                                                   Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/5/2017                                                                Settlement
             xls                   Sondra Meyer      John Templin                                             regarding settlement
_618                   15:08                                                                   Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/5/2017                                                                Settlement
             xls                   Sondra Meyer      John Templin                                             regarding settlement
_619                   15:08                                                                   Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.
                                                                              Employee(s) of
                                                                                                              Reflects
                                                                              NuCO2
                                                                                                              communications
NuCO2_Priv             7/5/2017                                                                Settlement
             pdf                   Sondra Meyer      John Templin                                             regarding settlement
_620                   15:08                                                                   Negotiations
                                                                                                              concerning customer
                                                                                                              dispute.




                                                                    114
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 116 of
                                                          573


                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
NuCO2_Priv              1/14/2019                                                                                 for/provision of
             xls                    Brent Fairchild     John Templin                            Attorney Client
_621                    10:10                                                                                     information in order to
                                                                                                                  facilitate provision of
                                                                                                                  legal advice/services.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
NuCO2_Priv              1/14/2019                                                                                 for/provision of
             pdf                    Brent Fairchild     John Templin                            Attorney Client
_622                    10:10                                                                                     information in order to
                                                                                                                  facilitate provision of
                                                                                                                  legal advice/services.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
NuCO2_Priv              1/14/2019                                                                                 for/provision of
             pdf                    Brent Fairchild     John Templin                            Attorney Client
_623                    10:10                                                                                     information in order to
                                                                                                                  facilitate provision of
                                                                                                                  legal advice/services.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need
NuCO2_Priv              1/14/2019                                                                                 for/provision of
             MSG                    Brent Fairchild     John Templin                            Attorney Client
_624                    10:10                                                                                     information in order to
                                                                                                                  facilitate provision of
                                                                                                                  legal advice/services.
                                                                               Employee(s) of                     Reflects attorney
                                                                               NuCO2 and its                      Communicationss/or
                                                                               affiliated       Attorney          attorney work product
NuCO2_Priv              12/4/2018
             xlsx                   Felicia Gallagher   John Templin                            Client/Work       regarding insurance
_625                    7:35                                                   company(ies)
                                                                                                Product           and legal matters and
                                                                                                                  acquisition and and
                                                                                                                  safety.
                                                                               Employee(s) of                     Reflects attorney
                                                                               NuCO2 and its                      Communicationss/or
                                                                               affiliated       Attorney          attorney work product
NuCO2_Priv              12/4/2018
             pptx                   Felicia Gallagher   John Templin                            Client/Work       regarding insurance
_626                    7:35                                                   company(ies)
                                                                                                Product           and legal matters and
                                                                                                                  acquisition and and
                                                                                                                  safety.




                                                                       115
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 117 of
                                                          573


                                                                               Employee(s) of                  Communications
                                                                               NuCO2                           regarding request
                                                                                                 Attorney      for/provision of legal
NuCO2_Priv              7/31/2017
             MSG                     Randy Gold          John Templin                            Client/Work   advice/work product
_627                    8:15
                                                                                                 Product       of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                               Employee(s) of                  Communications
                                                                               NuCO2                           regarding request
                                                                                                 Attorney      for/provision of legal
NuCO2_Priv              7/31/2017
             pdf                     Randy Gold          John Templin                            Client/Work   advice/work product
_628                    8:15
                                                                                                 Product       of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                               Employee(s) of                  Communications
                                                                               NuCO2                           regarding request
                                                                                                 Attorney      for/provision of legal
NuCO2_Priv              7/31/2017
             pdf                     Randy Gold          John Templin                            Client/Work   advice/work product
_629                    8:15
                                                                                                 Product       of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                                                               Communications
                                                                                                               regarding request
                                                                                Employee(s) of
                                                                                                 Attorney      for/provision of legal
NuCO2_Priv              12/14/2018                                             NuCO2 and its
             docx                    Felicia Gallagher   Ruthie Clemente                         Client/Work   advice/work product
_630                    15:05                                                  affiliated
                                                                                                 Product       of counsel concerning
                                                                               company(ies)
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                               Employee(s) of                  Communications
                                                                               NuCO2 and its                   regarding request
                                                                               affiliated        Attorney      for/provision of legal
NuCO2_Priv              12/14/2018
             doc                     Felicia Gallagher   Ruthie Clemente                         Client/Work   advice/work product
_631                    15:05                                                  company(ies)
                                                                                                 Product       of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                               Employee(s) of                  Communications
                                                                               NuCO2 and its                   regarding request
                                                                                                 Attorney
NuCO2_Priv              12/14/2018                                             affiliated                      for/provision of legal
             docx                    Felicia Gallagher   Ruthie Clemente                         Client/Work
_632                    15:05                                                  company(ies)                    advice/work product
                                                                                                 Product
                                                                                                               of counsel concerning
                                                                                                               negotiation/drafting of

                                                                        116
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 118 of
                                                          573


                                                                                                              customer agreement.




                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/14/2018
             docx                    Felicia Gallagher   Ruthie Clemente                        Client/Work   advice/work product
_633                    15:05                                                  company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/14/2018
             doc                     Felicia Gallagher   Ruthie Clemente                        Client/Work   advice/work product
_634                    15:05                                                  company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/14/2018
             docx                    Felicia Gallagher   Ruthie Clemente                        Client/Work   advice/work product
_635                    15:05                                                  company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/14/2018
             docx                    Felicia Gallagher   Ruthie Clemente                        Client/Work   advice/work product
_636                    15:05                                                  company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/14/2018
             doc                     Felicia Gallagher   Ruthie Clemente                        Client/Work   advice/work product
_637                    15:05                                                  company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.

                                                                      117
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 119 of
                                                          573


                                                                                             Employee(s) of                      Communications
                                                                                             NuCO2 and its                       regarding request
                                                                                             affiliated        Attorney          for/provision of legal
NuCO2_Priv              12/14/2018
             doc                     Felicia Gallagher   Ruthie Clemente                                       Client/Work       advice/work product
_638                    15:05                                                                company(ies)
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                             Employee(s) of                      Communications
                                                                                             NuCO2 and its                       regarding request
                                                                                             affiliated        Attorney          for/provision of legal
NuCO2_Priv              12/14/2018
             doc                     Felicia Gallagher   Ruthie Clemente                                       Client/Work       advice/work product
_639                    15:05                                                                company(ies)
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                             Employee(s) of                      Communications
                                                                                             NuCO2 and its                       regarding request
                                                                                             affiliated        Attorney          for/provision of legal
NuCO2_Priv              12/14/2018
             MSG                     Felicia Gallagher   Ruthie Clemente                                       Client/Work       advice/work product
_640                    15:05                                                                company(ies)
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                             Employee(s) of                      Communications
                                                                                             NuCO2 and its                       regarding request
                                                         John Templin;                       affiliated                          for/provision of legal
NuCO2_Priv              1/13/2019
             MSG                     Debbie Oliver       David Markatos;                                       Attorney Client   advice/work product
_641                    12:50                                                                company(ies)
                                                         Riley, Robin K                                                          of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                             Employee(s) of                      Communications
                                                                                             NuCO2 and its                       regarding request
                                                         John Templin;                       affiliated                          for/provision of legal
NuCO2_Priv              1/13/2019
             docx                    Debbie Oliver       David Markatos;                                       Attorney Client   advice/work product
_642                    12:50                                                                company(ies)
                                                         Riley, Robin K                                                          of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.

                                                         Hoerner, Mark;                       Employee(s) of                     Reflects attorney
                                                                                                               Attorney
NuCO2_Priv              12/21/2018                       Cucinotta, Mike;                    NuCO2 and its                       Communicationss/or
             pptx                    Felicia Gallagher                        Brown, Denny                     Client/Work
_643                    8:25                             Sara Novy; Stuart                   affiliated                          attorney work product
                                                                                                               Product
                                                         Luks                                company(ies)                        regarding legal matters.


                                                                        118
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 120 of
                                                          573


                                                                               Employee(s) of
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              1/10/2019
             MSG                    Brian D. Potter   John Templin                              Attorney Client   regarding need for legal
_644                    16:48
                                                                                                                  advice of counsel.


                                                                               Employee(s) of
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              1/10/2019
             pdf                    Brian D. Potter   John Templin                              Attorney Client   regarding need for legal
_645                    16:48
                                                                                                                  advice of counsel.

                                                                               Employee(s) of
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              1/10/2019
             doc                    Brian D. Potter   John Templin                              Attorney Client   regarding need for legal
_646                    16:48
                                                                                                                  advice of counsel.

                                                                               Employee(s) of
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              1/10/2019
             pdf                    Brian D. Potter   John Templin                              Attorney Client   regarding need for legal
_647                    16:48
                                                                                                                  advice of counsel.

                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              1/17/2019
             docx                   Debbie Oliver     John Templin                              Client/Work       advice/work product
_648                    13:49
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              1/17/2019
             MSG                    Debbie Oliver     John Templin                              Client/Work       advice/work product
_649                    13:49
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.




                                                                     119
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 121 of
                                                          573


                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              1/18/2019
             MSG                    Debbie Oliver       John Templin                             Client/Work       advice/work product
_650                    11:15
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              1/18/2019
             docx                   Debbie Oliver       John Templin                             Client/Work       advice/work product
_651                    11:15
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                                                                   Reflects attorney
                                                                                Employee(s) of
                                                                                                 Attorney          Communicationss/or
NuCO2_Priv              1/16/2019                                              NuCO2 and its
             pptx                   Felicia Gallagher   Sara Novy                                Client/Work       attorney work product
_652                    9:59                                                   affiliated
                                                                                                 Product           regardinglegal matters
                                                                               company(ies)
                                                                                                                   and safety.
                                                                               Employee(s) of
                                                                               NuCO2                               Communications
NuCO2_Priv              8/17/2017                                                                                  providing guidance
             MSG                    Derek Burton        John Templin                             Attorney Client
_653                    12:04                                                                                      regarding regulatory
                                                                                                                   compliance.

                                                                               Employee(s) of
                                                                               NuCO2                               Communications
NuCO2_Priv              8/17/2017                                                                                  providing guidance
             png                    Derek Burton        John Templin                             Attorney Client
_654                    12:04                                                                                      regarding regulatory
                                                                                                                   compliance.

                                                                               Employee(s) of
                                                                               NuCO2                               Communications
NuCO2_Priv              8/17/2017                                                                                  providing guidance
             htm                    Derek Burton        John Templin                             Attorney Client
_655                    12:04                                                                                      regarding regulatory
                                                                                                                   compliance.




                                                                       120
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 122 of
                                                          573


                                                                               Employee(s) of
                                                                               NuCO2                               Communications
NuCO2_Priv              8/17/2017                                                                                  providing guidance
             docx                   Derek Burton        John Templin                             Attorney Client
_656                    12:04                                                                                      regarding regulatory
                                                                                                                   compliance.

                                                                               Employee(s) of
                                                                               NuCO2                               Communications
NuCO2_Priv              8/17/2017                                                                                  providing guidance
             htm                    Derek Burton        John Templin                             Attorney Client
_657                    12:04                                                                                      regarding regulatory
                                                                                                                   compliance.

                                                                                                                   Reflects attorney
                                                                                                                   Communicationss/or
                                                        Jeff Gilheney;          Employee(s) of
                                                                                                 Attorney          attorney work product
NuCO2_Priv              2/13/2019                       John Templin;          NuCO2 and its
             pptx                   Felicia Gallagher                                            Client/Work       regarding insurance
_658                    14:31                           Derek Burton;          affiliated
                                                                                                 Product           and legal matters and
                                                        Richard Wilkie         company(ies)
                                                                                                                   acquisition and and
                                                                                                                   safety.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding need for legal
NuCO2_Priv              8/10/2017                                                                                  advice/work product
             pdf                    Kym Cherubini       John Templin                             Attorney Client
_659                    10:45                                                                                      of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding need for legal
NuCO2_Priv              8/10/2017                                                                                  advice/work product
             MSG                    Kym Cherubini       John Templin                             Attorney Client
_660                    10:45                                                                                      of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              8/10/2017   Christine
             MSG                                        John Templin                             Client/Work       advice/work product
_661                    10:36       Bukowski
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.




                                                                         121
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 123 of
                                                          573


                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              8/10/2017   Christine
             pdf                                        John Templin                             Client/Work       advice/work product
_662                    10:36       Bukowski
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              8/23/2017   Christine
             MSG                                        John Templin                             Client/Work       advice/work product
_663                    15:09       Bukowski
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              8/23/2017   Christine
             xlsx                                       John Templin                             Client/Work       advice/work product
_664                    15:09       Bukowski
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                                                                   Communications
                                                                               Employee(s) of                      regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              8/23/2017   Christine                                  NuCO2
             pdf                                        John Templin                             Client/Work       advice/work product
_665                    15:09       Bukowski
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                                                                   Reflects attorney
                                                                                Employee(s) of
                                                                                                 Attorney          Communicationss/or
NuCO2_Priv              2/13/2019                                              NuCO2 and its
             pptx                   Felicia Gallagher   Kevin Patton                             Client/Work       attorney work product
_666                    15:04                                                  affiliated
                                                                                                 Product           regardinglegal matters
                                                                               company(ies)
                                                                                                                   and safety.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding need for legal
NuCO2_Priv              8/24/2017                                                                                  advice/work product
             docx                   Kyle Brown          John Templin                             Attorney Client
_667                    7:49                                                                                       of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.


                                                                       122
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 124 of
                                                          573


                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding need for legal
NuCO2_Priv              8/24/2017                                                                                  advice/work product
             MSG                    Kyle Brown          John Templin                             Attorney Client
_668                    7:49                                                                                       of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.

                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv              1/21/2019                                              NuCO2 and its
             MSG                    Edward Balzarini    John Templin                             Attorney Client   regarding litigation
_669                    9:07                                                   affiliated
                                                                                                                   hold.
                                                                               company(ies)

                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              1/31/2019
             MSG                    John-Paul Venanzi   John Templin                             Client/Work       advice/work product
_670                    14:17
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              1/31/2019
             docx                   John-Paul Venanzi   John Templin                             Client/Work       advice/work product
_671                    14:17
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Reflects need
                                                                               NuCO2                               for/provision of legal
                                                                                                                   advice regarding
NuCO2_Priv              1/23/2019
             xlsm                   Heather Shepherd    John Templin                             Attorney Client   negotiation/drafting of
_672                    12:00
                                                                                                                   customer
                                                                                                                   agreements/other
                                                                                                                   issues.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              8/17/2017   Christine
             MSG                                        John Templin                             Client/Work       advice/work product
_673                    15:01       Bukowski
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.


                                                                       123
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 125 of
                                                         573


                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding request
                                                                                               Attorney      for/provision of legal
NuCO2_Priv             8/17/2017   Christine
             pdf                                       John Templin                            Client/Work   advice/work product
_674                   15:01       Bukowski
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding request
                                                                                               Attorney      for/provision of legal
NuCO2_Priv             8/17/2017   Christine
             pdf                                       John Templin                            Client/Work   advice/work product
_675                   15:01       Bukowski
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Reflects
                                                                              NuCO2                          communications or
                                                                                               Attorney
NuCO2_Priv             8/22/2017   Christine                                                                 advice or work product
             MSG                                       John Templin                            Client/Work
_676                   13:50       Bukowski                                                                  regarding
                                                                                               Product
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Reflects
                                                                              NuCO2                          communications or
                                                                                               Attorney
NuCO2_Priv             8/22/2017   Christine                                                                 advice or work product
             pdf                                       John Templin                            Client/Work
_677                   13:50       Bukowski                                                                  regarding
                                                                                               Product
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Reflects
                                                                              NuCO2                          communications or
                                                                                               Attorney
NuCO2_Priv             8/22/2017   Christine                                                                 advice or work product
             pdf                                       John Templin                            Client/Work
_678                   13:50       Bukowski                                                                  regarding
                                                                                               Product
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding request
                                                                                               Attorney      for/provision of legal
NuCO2_Priv             1/31/2019
             MSG                   John-Paul Venanzi   John Templin                            Client/Work   advice/work product
_679                   14:54
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.



                                                                      124
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 126 of
                                                          573


                                                                                 Employee(s) of                      Communications
                                                                                 NuCO2                               regarding request
                                                                                                   Attorney          for/provision of legal
NuCO2_Priv              1/31/2019
             pdf                        John-Paul Venanzi   John Templin                           Client/Work       advice/work product
_680                    14:54
                                                                                                   Product           of counsel concerning
                                                                                                                     negotiation/drafting of
                                                                                                                     customer agreement.
                                                                                 Employee(s) of
                                                                                 NuCO2                               Communications
NuCO2_Priv              8/14/2017                                                                  Settlement        regarding strategy for
             MSG                        Brian Catmull       John Templin
_681                    16:59                                                                      Negotiations      settling customer
                                                                                                                     dispute.

                                                                                 Employee(s) of
                                                                                 NuCO2                               Communications
NuCO2_Priv              8/14/2017                                                                  Settlement        regarding strategy for
             xls                        Brian Catmull       John Templin
_682                    16:59                                                                      Negotiations      settling customer
                                                                                                                     dispute.


                                                                                  Employee(s) of
                                                                                                                     Communication
NuCO2_Priv                                                                       NuCO2 and its
             MSG        2/4/2019 9:13   Edward Balzarini    John Templin                           Attorney Client   regarding litigation
_683                                                                             affiliated
                                                                                                                     hold.
                                                                                 company(ies)

                                                                                 Employee(s) of                      Communications
                                                                                 NuCO2                               regarding request
                                                                                                   Attorney          for/provision of legal
NuCO2_Priv              1/31/2019
             MSG                        John-Paul Venanzi   John Templin                           Client/Work       advice/work product
_684                    14:25
                                                                                                   Product           of counsel concerning
                                                                                                                     negotiation/drafting of
                                                                                                                     customer agreement.
                                                                                 Employee(s) of                      Communications
                                                                                 NuCO2                               regarding request
                                                                                                   Attorney          for/provision of legal
NuCO2_Priv              1/31/2019
             xlsx                       John-Paul Venanzi   John Templin                           Client/Work       advice/work product
_685                    14:25
                                                                                                   Product           of counsel concerning
                                                                                                                     negotiation/drafting of
                                                                                                                     customer agreement.



                                                                           125
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 127 of
                                                          573


                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding need for legal
NuCO2_Priv              1/30/2019                                                                                  advice/work product
             docx                   John-Paul Venanzi   John Templin                             Attorney Client
_686                    7:27                                                                                       of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding need for legal
NuCO2_Priv              1/30/2019                                                                                  advice/work product
             MSG                    John-Paul Venanzi   John Templin                             Attorney Client
_687                    7:27                                                                                       of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                                                                   Communications
                                                        Andre
                                                                                Employee(s) of                     regarding need for legal
                                                        Fernandez;
NuCO2_Priv              1/30/2019                                              NuCO2 and its                       advice/work product
             msg                    John-Paul Venanzi   Alexandra                                Attorney Client
_688                    7:27                                                   affiliated                          of counsel concerning
                                                        Birtwell; Adam
                                                                               company(ies)                        negotiation/drafting of
                                                        Shrif
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding need for legal
NuCO2_Priv              1/30/2019                                                                                  advice/work product
             docx                   John-Paul Venanzi   John Templin                             Attorney Client
_689                    7:27                                                                                       of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              1/25/2019
             MSG                    Robbi Stiell        John Templin                             Client/Work       advice/work product
_690                    9:19
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              1/25/2019
             docx                   Robbi Stiell        John Templin                             Client/Work       advice/work product
_691                    9:19
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.




                                                                         126
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 128 of
                                                         573



                                                                                                       Employee(s) of
                                                                              Ruthie Clemente;                                            Communications
NuCO2_Priv             2/21/2019                                                                      NuCO2 and its
             jpg                   Felicia Gallagher   Bridget Correa         Kevin Patton; Toyanna                     Attorney Client   regarding need for legal
_692                   18:02                                                                          affiliated
                                                                              Platt                                                       advice of counsel.
                                                                                                      company(ies)

                                                                                                      Employee(s) of
                                                                                                      NuCO2 and its
                                                                              Ruthie Clemente;                                            Communications
NuCO2_Priv             2/21/2019                                                                      affiliated
             png                   Felicia Gallagher   Bridget Correa         Kevin Patton; Toyanna                     Attorney Client   regarding need for legal
_693                   18:02                                                                          company(ies)
                                                                              Platt                                                       advice of counsel.

                                                                                                      Employee(s) of
                                                                                                      NuCO2 and its
                                                                              Ruthie Clemente;                                            Communications
NuCO2_Priv             2/21/2019                                                                      affiliated
             MSG                   Felicia Gallagher   Bridget Correa         Kevin Patton; Toyanna                     Attorney Client   regarding need for legal
_694                   18:02                                                                          company(ies)
                                                                              Platt                                                       advice of counsel.

                                                                                                      Employee(s) of
                                                                                                      NuCO2 and its
                                                                                                                                          Communication
NuCO2_Priv             2/11/2019                                                                      affiliated
             MSG                   Edward Balzarini    John Templin                                                     Attorney Client   regarding litigation
_695                   9:15                                                                           company(ies)                        hold.

                                                                                                      Employee(s) of                      Communications
                                                                                                      NuCO2                               regarding need for legal
NuCO2_Priv             2/14/2019                                                                                                          advice/work product
             MSG                   Debbie Oliver       John Templin                                                     Attorney Client
_696                   8:58                                                                                                               of counsel concerning
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.
                                                                                                      Employee(s) of                      Communications
                                                                                                      NuCO2                               regarding need for legal
NuCO2_Priv             2/14/2019                                                                                                          advice/work product
             pdf                   Debbie Oliver       John Templin                                                     Attorney Client
_697                   8:58                                                                                                               of counsel concerning
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.




                                                                        127
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 129 of
                                                          573


                                                                                                      Employee(s) of                      Communications
                                                                                                      NuCO2                               regarding need for legal
NuCO2_Priv              2/14/2019                                                                                                         advice/work product
             docx                   Debbie Oliver     John Templin                                                      Attorney Client
_698                    8:58                                                                                                              of counsel concerning
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.
                                                                                                                                          Communications
                                                                                                                                          regarding request
                                                      Heather                                          Employee(s) of
                                                                                                                        Attorney          for/provision of legal
NuCO2_Priv              2/14/2019                     Shepherd; John         Piazza, Shelly; Riley,   NuCO2 and its
             MSG                    Markatos, David                                                                     Client/Work       advice/work product
_699                    9:03                          Templin; Angie         Robin K                  affiliated
                                                                                                                        Product           of counsel concerning
                                                      Baggett                                         company(ies)
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.

                                                                                                      Employee(s) of                      Reflects
                                                                                                                                          communications
NuCO2_Priv              1/21/2019                                                                     NuCO2             Settlement
             MSG                    Jeff Wilson       Jeffrey Desmond                                                                     regarding settlement
_700                    10:20                                                                                           Negotiations
                                                                                                                                          concerning customer
                                                                                                                                          dispute.
                                                                                                      Employee(s) of
                                                                                                                                          Reflects
                                                                                                      NuCO2 and
                                                                                                                                          communications
NuCO2_Priv              1/22/2019                                            Stine, Stacy; Jeffrey    NuCO2’s           Settlement
             MSG                    Jeff Wilson       Fitzpatrick, Jerry                                                                  regarding settlement
_701                    9:46                                                 Desmond                  customer(s)       Negotiations
                                                                                                                                          concerning customer
                                                                                                                                          dispute.
                                                                                                      Employee(s) of
                                                                                                                                          Reflects
                                                                                                      NuCO2 and
                                                                                                                                          communications
NuCO2_Priv              1/22/2019                                            Stine, Stacy; Jeffrey    NuCO2’s           Settlement
             xlsx                   Jeff Wilson       Fitzpatrick, Jerry                                                                  regarding settlement
_702                    9:46                                                 Desmond                  customer(s)       Negotiations
                                                                                                                                          concerning customer
                                                                                                                                          dispute.
                                                                                                      Employee(s) of
                                                                                                                                          Reflects
                                                                                                      NuCO2 and
                                                                                                                                          communications
NuCO2_Priv              1/22/2019                                            Stine, Stacy; Jeffrey    NuCO2’s           Settlement
             pdf                    Jeff Wilson       Fitzpatrick, Jerry                                                                  regarding settlement
_703                    9:46                                                 Desmond                  customer(s)       Negotiations
                                                                                                                                          concerning customer
                                                                                                                                          dispute.




                                                                       128
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 130 of
                                                         573


                                                                                                      Employee(s) of
                                                                                                                                       Reflects
                                                                                                      NuCO2 and
                                                                                                                                       communications
NuCO2_Priv             1/29/2019                        Jeff Wilson;                                  NuCO2’s           Settlement
             pdf                   Stine, Stacy                                Jeffrey Desmond                                         regarding settlement
_704                   13:27                            Fitzpatrick, Jerry                            customer(s)       Negotiations
                                                                                                                                       concerning customer
                                                                                                                                       dispute.
                                                                                                      Employee(s) of
                                                                                                                                       Reflects
                                                                                                      NuCO2 and
                                                                                                                                       communications
NuCO2_Priv             1/29/2019                        Jeff Wilson;                                  NuCO2’s           Settlement
             pdf                   Stine, Stacy                                Jeffrey Desmond                                         regarding settlement
_705                   13:27                            Fitzpatrick, Jerry                            customer(s)       Negotiations
                                                                                                                                       concerning customer
                                                                                                                                       dispute.
                                                                                                      Employee(s) of
                                                                                                                                       Reflects
                                                                                                      NuCO2 and
                                                                                                                                       communications
NuCO2_Priv             1/29/2019                        Jeff Wilson;                                  NuCO2’s           Settlement
             MSG                   Stine, Stacy                                Jeffrey Desmond                                         regarding settlement
_706                   13:27                            Fitzpatrick, Jerry                            customer(s)       Negotiations
                                                                                                                                       concerning customer
                                                                                                                                       dispute.


                                                                                                      Employee(s) of                   Reflects
                                                                                                                                       communications
NuCO2_Priv             2/7/2019                         Lisa Willard;                                 NuCO2             Settlement
             MSG                   Jeff Wilson                                 Damarie Cortez                                          regarding settlement
_707                   13:24                            Jeffrey Desmond                                                 Negotiations
                                                                                                                                       concerning customer
                                                                                                                                       dispute.

                                                        Jeff Wilson;                                                                   Reflects
                                                                                                       Employee(s) of
                                                        Pontius, Chad;                                                                 communications
NuCO2_Priv             2/8/2019                                                                       NuCO2 and         Settlement
             MSG                   Fitzpatrick, Jerry   Jeffrey                Stine, Stacy                                            regarding settlement
_708                   11:10                                                                          NuCO2’s           Negotiations
                                                        Desmond; Lisa                                                                  concerning customer
                                                                                                      customer(s)
                                                        Willard                                                                        dispute.


                                                                                                      Employee(s) of                   Reflects
                                                                               Jeff Wilson; Jeffrey                                    communications
NuCO2_Priv             2/11/2019                                                                      NuCO2             Settlement
             MSG                   Erica Aponte         Lisa Willard           Desmond; Melissa                                        regarding settlement
_709                   8:04                                                                                             Negotiations
                                                                               Johnson                                                 concerning customer
                                                                                                                                       dispute.




                                                                         129
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 131 of
                                                          573


                                                                                           Employee(s) of
                                                                                                                           Reflects
                                                                                           NuCO2
                                                                                                                           communications
NuCO2_Priv              2/8/2019                                                                            Settlement
             MSG                    Lisa Willard   Jeffrey Desmond       Jeff Wilson                                       regarding settlement
_710                    11:48                                                                               Negotiations
                                                                                                                           concerning customer
                                                                                                                           dispute.
                                                                                           Employee(s) of
                                                                                                                           Reflects
                                                                                           NuCO2
                                                                                                                           communications
NuCO2_Priv              2/14/2019                                                                           Settlement
             MSG                    Jeff Wilson    Jeffrey Desmond                                                         regarding settlement
_711                    10:26                                                                               Negotiations
                                                                                                                           concerning customer
                                                                                                                           dispute.
                                                                                           Employee(s) of
                                                                                                                           Reflects
                                                                                           NuCO2 and its
                                                                                                                           communications
NuCO2_Priv              2/15/2019                  Stine, Stacy;                           affiliated       Settlement
             MSG                    Jeff Wilson                          Jeffrey Desmond                                   regarding settlement
_712                    11:41                      Fitzpatrick, Jerry                      company(ies)     Negotiations
                                                                                                                           concerning customer
                                                                                                                           dispute.
                                                                                           Employee(s) of
                                                                                                                           Reflects
                                                                                           NuCO2 and its
                                                                                                                           communications
NuCO2_Priv              2/15/2019                  Stine, Stacy;                           affiliated       Settlement
             xlsx                   Jeff Wilson                          Jeffrey Desmond                                   regarding settlement
_713                    11:41                      Fitzpatrick, Jerry                      company(ies)     Negotiations
                                                                                                                           concerning customer
                                                                                                                           dispute.
                                                                                           Employee(s) of
                                                                                                                           Reflects
                                                                                           NuCO2
                                                                                                            Attorney       communications
NuCO2_Priv              9/8/2017
             MSG                    Matt Butcher   John Templin                                             Client/Work    regarding settlement
_714                    10:19
                                                                                                            Product        concerning customer
                                                                                                                           dispute.
                                                                                           Employee(s) of
                                                                                                                           Reflects
                                                                                           NuCO2
                                                                                                            Attorney       communications
NuCO2_Priv              9/8/2017
             pdf                    Matt Butcher   John Templin                                             Client/Work    regarding settlement
_715                    10:19
                                                                                                            Product        concerning customer
                                                                                                                           dispute.




                                                                   130
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 132 of
                                                         573



                                                                                                    Employee(s) of                     Reflects
                                                                                                                     Attorney          communications
NuCO2_Priv             9/8/2017                                                                     NuCO2
             pdf                   Matt Butcher       John Templin                                                   Client/Work       regarding settlement
_716                   10:19
                                                                                                                     Product           concerning customer
                                                                                                                                       dispute.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding need for legal
                                                                           Piazza, Shelly; Riley,
NuCO2_Priv             2/13/2019                      Markatos, David;                              affiliated                         advice/work product
             pdf                   Heather Shepherd                        Robin K; Heather                          Attorney Client
_717                   13:36                          John Templin                                  company(ies)                       of counsel concerning
                                                                           Shepherd
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding need for legal
                                                                           Piazza, Shelly; Riley,
NuCO2_Priv             2/13/2019                      Markatos, David;                              affiliated                         advice/work product
             pdf                   Heather Shepherd                        Robin K; Heather                          Attorney Client
_718                   13:36                          John Templin                                  company(ies)                       of counsel concerning
                                                                           Shepherd
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding need for legal
                                                                           Piazza, Shelly; Riley,
NuCO2_Priv             2/13/2019                      Markatos, David;                              affiliated                         advice/work product
             pdf                   Heather Shepherd                        Robin K; Heather                          Attorney Client
_719                   13:36                          John Templin                                  company(ies)                       of counsel concerning
                                                                           Shepherd
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding need for legal
                                                                           Piazza, Shelly; Riley,
NuCO2_Priv             2/13/2019                      Markatos, David;                              affiliated                         advice/work product
             MSG                   Heather Shepherd                        Robin K; Heather                          Attorney Client
_720                   13:36                          John Templin                                  company(ies)                       of counsel concerning
                                                                           Shepherd
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.

                                                                                                    Employee(s) of                     Communications
                                                      Douglas Caputo;
NuCO2_Priv             1/8/2019                                                                     NuCO2            Settlement        regarding strategy for
             MSG                   Jeff Wilson        Erica Aponte;        Toyanna Platt
_721                   12:07                                                                                         Negotiations      settling customer
                                                      Jeffrey Desmond
                                                                                                                                       dispute.




                                                                     131
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 133 of
                                                          573



                                                                                                   Employee(s) of                  Communications
NuCO2_Priv              1/8/2019                     Jeff Wilson;                                  NuCO2            Settlement     regarding strategy for
             MSG                    Douglas Caputo
_722                    13:36                        Jeffrey Desmond                                                Negotiations   settling customer
                                                                                                                                   dispute.

                                                                                                   Employee(s) of                  Communications
                                                                                                   NuCO2 and its                   regarding request
                                                                                                   affiliated       Attorney       for/provision of legal
NuCO2_Priv              8/28/2017                                         David Markatos; Riley,
             MSG                    Piazza, Shelly   John Templin                                                   Client/Work    advice/work product
_723                    9:00                                              Robin K                  company(ies)
                                                                                                                    Product        of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                   Employee(s) of                  Communications
                                                                                                   NuCO2 and its                   regarding request
                                                                                                   affiliated       Attorney       for/provision of legal
NuCO2_Priv              8/28/2017                                         David Markatos; Riley,
             docx                   Piazza, Shelly   John Templin                                                   Client/Work    advice/work product
_724                    9:00                                              Robin K                  company(ies)
                                                                                                                    Product        of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.

                                                                                                   Employee(s) of                  Communications
NuCO2_Priv              1/15/2019                                                                  NuCO2            Settlement     regarding strategy for
             MSG                    Jeff Wilson      Jeffrey Desmond
_725                    15:58                                                                                       Negotiations   settling customer
                                                                                                                                   dispute.

                                                                                                   Employee(s) of
                                                                                                   NuCO2                           Communications
                                                                          Erica Aponte; Toyanna
NuCO2_Priv              1/15/2019                                                                                   Settlement     regarding strategy for
             MSG                    Douglas Caputo   Jeffrey Desmond      Platt; Bridget Correa;
_726                    14:12                                                                                       Negotiations   settling customer
                                                                          Jeff Wilson
                                                                                                                                   dispute.

                                                                                                   Employee(s) of
                                                                                                   NuCO2                           Communications
NuCO2_Priv              1/17/2019                                                                                   Settlement     regarding strategy for
             MSG                    Bridget Correa   Douglas Caputo       Jeffrey Desmond
_727                    14:02                                                                                       Negotiations   settling customer
                                                                                                                                   dispute.




                                                                    132
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 134 of
                                                          573


                                                                                                        Employee(s) of
                                                                                                        NuCO2                               Communications
NuCO2_Priv              1/17/2019                                                                                         Settlement        regarding strategy for
             xlsx                   Bridget Correa     Douglas Caputo          Jeffrey Desmond
_728                    14:02                                                                                             Negotiations      settling customer
                                                                                                                                            dispute.

                                                                                                         Employee(s) of                     Communications
                                                                                                        NuCO2 and its                       regarding request
                                                       Heather                                                            Attorney          for/provision of legal
NuCO2_Priv              2/13/2019                                              Piazza, Shelly; Riley,   affiliated
             MSG                    Markatos, David    Shepherd; John                                                     Client/Work       advice/work product
_729                    13:51                                                  Robin K                  company(ies)
                                                       Templin                                                            Product           of counsel concerning
                                                                                                                                            negotiation/drafting of
                                                                                                                                            customer agreement.

                                                                                                        Employee(s) of                      Reflects need
                                                                                                                          Attorney          for/provision of legal
NuCO2_Priv              2/4/2019                                                                        NuCO2
             MSG                    Kym Cherubini      Brian D. Potter         John Templin                               Client/Work       advice regarding
_730                    12:42
                                                                                                                          Product           customer
                                                                                                                                            account/dispute.
                                                                                                         Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                            Communication
NuCO2_Priv              2/18/2019                                                                       affiliated
             MSG                    Edward Balzarini   John Templin                                                       Attorney Client   regarding litigation
_731                    9:06                                                                            company(ies)                        hold.


                                                                                                         Employee(s) of                     Reflects need
                                                                                                        NuCO2 and its                       for/provision of legal
                                                       Brian D. Potter;
NuCO2_Priv              2/20/2019                                                                       affiliated                          advice regarding
             MSG                    Markatos, David    Rodney                  John Templin                               Attorney Client
_732                    7:32                                                                            company(ies)                        strategy concerning
                                                       Husbands
                                                                                                                                            customer/competitor
                                                                                                                                            disputes.
                                                                                                        Employee(s) of                      Communications
                                                                                                        NuCO2                               regarding request
                                                                                                                          Attorney          for/provision of legal
NuCO2_Priv              2/14/2019
             MSG                    Debbie Oliver      John Templin                                                       Client/Work       advice/work product
_733                    9:00
                                                                                                                          Product           of counsel concerning
                                                                                                                                            negotiation/drafting of
                                                                                                                                            customer agreement.



                                                                         133
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 135 of
                                                          573


                                                                                                          Employee(s) of                     Communications
                                                                                                          NuCO2                              regarding request
                                                                                                                           Attorney          for/provision of legal
NuCO2_Priv              2/14/2019
             pdf                     Debbie Oliver       John Templin                                                      Client/Work       advice/work product
_734                    9:00
                                                                                                                           Product           of counsel concerning
                                                                                                                                             negotiation/drafting of
                                                                                                                                             customer agreement.
                                                                                                          Employee(s) of                     Communications
                                                                                                          NuCO2                              regarding request
                                                                                                                           Attorney          for/provision of legal
NuCO2_Priv              2/14/2019
             docx                    Debbie Oliver       John Templin                                                      Client/Work       advice/work product
_735                    9:00
                                                                                                                           Product           of counsel concerning
                                                                                                                                             negotiation/drafting of
                                                                                                                                             customer agreement.
                                                                                                          Employee(s) of                     Communications
                                                                                                          NuCO2                              regarding request
                                                                                                                           Attorney          for/provision of legal
NuCO2_Priv              11/13/2018
             MSG                     Carla Loffredo      Contract Admin                                                    Client/Work       advice/work product
_736                    7:32
                                                                                                                           Product           of counsel concerning
                                                                                                                                             negotiation/drafting of
                                                                                                                                             customer agreement.
                                                                                                                                             Communications
                                                                                                          Employee(s) of                     regarding request
                                                                                                                           Attorney          for/provision of legal
NuCO2_Priv              11/13/2018                                                                        NuCO2
             msg                     John-Paul Venanzi   Carla Loffredo                                                    Client/Work       advice/work product
_737                    7:32
                                                                                                                           Product           of counsel concerning
                                                                                                                                             negotiation/drafting of
                                                                                                                                             customer agreement.
                                                                                                          Employee(s) of                     Communications
                                                                                                          NuCO2 and its                      regarding request
                                                                                                          affiliated                         for/provision of legal
NuCO2_Priv              2/17/2019                                               Riley, Robin K; Piazza,
             MSG                     Debbie Oliver       Markatos, David                                                   Attorney Client   advice/work product
_738                    8:41                                                    Shelly                    company(ies)
                                                                                                                                             of counsel concerning
                                                                                                                                             negotiation/drafting of
                                                                                                                                             customer agreement.
                                                                                                          Employee(s) of                     Communications
                                                                                                          NuCO2 and its                      regarding request
NuCO2_Priv              2/17/2019                                               Riley, Robin K; Piazza,   affiliated                         for/provision of legal
             docx                    Debbie Oliver       Markatos, David                                                   Attorney Client
_739                    8:41                                                    Shelly                    company(ies)                       advice/work product
                                                                                                                                             of counsel concerning
                                                                                                                                             negotiation/drafting of

                                                                          134
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 136 of
                                                         573


                                                                                                                                       customer agreement.




                                                                                                    Employee(s) of                     Reflects attorney
                                                                                                                     Attorney          Communications
NuCO2_Priv             11/2/2018                                                                    NuCO2
             pdf                   Carla Loffredo     Contract Admin                                                 Client/Work       and/or attorney work
_740                   8:55
                                                                                                                     Product           product regarding
                                                                                                                                       acquisition.


                                                                                                    Employee(s) of                     Reflects attorney
                                                                                                                     Attorney          Communications
NuCO2_Priv             11/2/2018                                                                    NuCO2
             MSG                   Carla Loffredo     Contract Admin                                                 Client/Work       and/or attorney work
_741                   8:55
                                                                                                                     Product           product regarding
                                                                                                                                       acquisition.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding request
                                                                                                    affiliated       Attorney          for/provision of legal
NuCO2_Priv             2/13/2019                                           John Templin; Piazza,
             MSG                   Heather Shepherd   Markatos, David                                                Client/Work       advice/work product
_742                   15:38                                               Shelly; Riley, Robin K   company(ies)
                                                                                                                     Product           of counsel concerning
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding request
                                                                                                    affiliated       Attorney          for/provision of legal
NuCO2_Priv             2/13/2019                                           John Templin; Piazza,
             jpg                   Heather Shepherd   Markatos, David                                                Client/Work       advice/work product
_743                   15:38                                               Shelly; Riley, Robin K   company(ies)
                                                                                                                     Product           of counsel concerning
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                    Employee(s) of
                                                                                                    NuCO2 and its
                                                                                                                                       Communication
NuCO2_Priv             2/25/2019                                                                    affiliated
             MSG                   Edward Balzarini   John Templin                                                   Attorney Client   regarding litigation
_744                   9:15                                                                         company(ies)                       hold.




                                                                     135
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 137 of
                                                          573


                                                                                                     Employee(s) of                 Communications
                                                                                                     NuCO2 and its                  regarding request
                                                                            Piazza, Shelly; Riley,
                                                                                                     affiliated       Attorney      for/provision of legal
NuCO2_Priv              2/14/2019                      Markatos, David;     Robin K; Heather
             MSG                    Heather Shepherd                                                                  Client/Work   advice/work product
_745                    8:33                           John Templin         Shepherd; Angie          company(ies)
                                                                                                                      Product       of counsel concerning
                                                                            Baggett
                                                                                                                                    negotiation/ drafting of
                                                                                                                                    customer agreement
                                                                                                     Employee(s) of                 Communications
                                                                                                     NuCO2 and its                  regarding request
                                                                            Piazza, Shelly; Riley,
                                                                                                     affiliated       Attorney      for/provision of legal
NuCO2_Priv              2/14/2019                      Markatos, David;     Robin K; Heather
             pdf                    Heather Shepherd                                                                  Client/Work   advice/work product
_746                    8:33                           John Templin         Shepherd; Angie          company(ies)
                                                                                                                      Product       of counsel concerning
                                                                            Baggett
                                                                                                                                    negotiation/ drafting of
                                                                                                                                    customer agreement
                                                                                                     Employee(s) of                 Communications
                                                                                                     NuCO2 and its                  regarding request
                                                                            Piazza, Shelly; Riley,
                                                                                                     affiliated       Attorney      for/provision of legal
NuCO2_Priv              2/14/2019                      Markatos, David;     Robin K; Heather
             docx                   Heather Shepherd                                                                  Client/Work   advice/work product
_747                    8:33                           John Templin         Shepherd; Angie          company(ies)
                                                                                                                      Product       of counsel concerning
                                                                            Baggett
                                                                                                                                    negotiation/ drafting of
                                                                                                                                    customer agreement
                                                                                                     Employee(s) of                 Communications
                                                                                                     NuCO2 and its                  regarding request
                                                                            Piazza, Shelly; Riley,
                                                                                                     affiliated       Attorney      for/provision of legal
NuCO2_Priv              2/14/2019                      Markatos, David;     Robin K; Heather
             xls                    Heather Shepherd                                                                  Client/Work   advice/work product
_748                    8:33                           John Templin         Shepherd; Angie          company(ies)
                                                                                                                      Product       of counsel concerning
                                                                            Baggett
                                                                                                                                    negotiation/ drafting of
                                                                                                                                    customer agreement

                                                                                                     Employee(s) of                 Reflects
                                    Nanette Caceres                                                                   Attorney      communications
NuCO2_Priv              9/25/2017                                                                    NuCO2
             MSG                    on behalf of       John Templin                                                   Client/Work   regarding settlement
_749                    11:57
                                    Contract Admin                                                                    Product       concerning customer
                                                                                                                                    dispute.


                                                                                                     Employee(s) of                 Reflects
                                    Nanette Caceres                                                                   Attorney      communications
NuCO2_Priv              9/25/2017                                                                    NuCO2
             png                    on behalf of       John Templin                                                   Client/Work   regarding settlement
_750                    11:57
                                    Contract Admin                                                                    Product       concerning customer
                                                                                                                                    dispute.



                                                                      136
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 138 of
                                                         573


                                                                                                Employee(s) of
                                                                                                                               Reflects
                                                                                                NuCO2
                                   Nanette Caceres                                                               Attorney      communications
NuCO2_Priv             9/25/2017
             png                   on behalf of      John Templin                                                Client/Work   regarding settlement
_751                   11:57
                                   Contract Admin                                                                Product       concerning customer
                                                                                                                               dispute.
                                                                                                Employee(s) of
                                                                                                                               Reflects
                                                                                                NuCO2
                                   Nanette Caceres                                                               Attorney      communications
NuCO2_Priv             9/25/2017
             png                   on behalf of      John Templin                                                Client/Work   regarding settlement
_752                   11:57
                                   Contract Admin                                                                Product       concerning customer
                                                                                                                               dispute.
                                                                                                Employee(s) of
                                                                                                                               Reflects
                                                                                                NuCO2
                                   Nanette Caceres                                                               Attorney      communications
NuCO2_Priv             9/25/2017                                          John Templin; Brian
             MSG                   on behalf of      Matt Butcher                                                Client/Work   regarding settlement
_753                   11:43                                              Lovejoy
                                   Contract Admin                                                                Product       concerning customer
                                                                                                                               dispute.
                                                                                                Employee(s) of
                                                                                                                               Reflects
                                                                                                NuCO2
                                                                                                                 Attorney      communications
NuCO2_Priv             9/15/2017
             MSG                   Matt Butcher      John Templin                                                Client/Work   regarding settlement
_754                   8:07
                                                                                                                 Product       concerning customer
                                                                                                                               dispute.
                                                                                                Employee(s) of
                                                                                                                               Reflects
                                                                                                NuCO2
                                                                                                                 Attorney      communications
NuCO2_Priv             9/19/2017
             MSG                   Matt Butcher      John Templin                                                Client/Work   regarding settlement
_755                   16:16
                                                                                                                 Product       concerning customer
                                                                                                                               dispute.
                                                                                                Employee(s) of
                                                                                                                               Reflects
                                                                                                NuCO2
                                                                                                                 Attorney      communications
NuCO2_Priv             9/19/2017
             msg                   Erin Ward         Matt Butcher                                                Client/Work   regarding settlement
_756                   16:16
                                                                                                                 Product       concerning customer
                                                                                                                               dispute.




                                                                    137
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 139 of
                                                          573


                                                                                                  Employee(s) of                 Reflects
                                                                                                  NuCO2                          communications or
                                                                                                                   Attorney
NuCO2_Priv              3/5/2019                                        Bridget Correa; Latasha                                  advice or work product
             MSG                    Robbi Stiell   John Templin                                                    Client/Work
_757                    17:27                                           Hart-Washington                                          regarding
                                                                                                                   Product
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                                  Employee(s) of                 Reflects
                                                                                                  NuCO2                          communications or
                                                                                                                   Attorney
NuCO2_Priv              3/5/2019                                        Bridget Correa; Latasha                                  advice or work product
             pdf                    Robbi Stiell   John Templin                                                    Client/Work
_758                    17:27                                           Hart-Washington                                          regarding
                                                                                                                   Product
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                                  Employee(s) of                 Reflects
                                                                                                  NuCO2                          communications or
                                                                                                                   Attorney
NuCO2_Priv              3/5/2019                                        Bridget Correa; Latasha                                  advice or work product
             docx                   Robbi Stiell   John Templin                                                    Client/Work
_759                    17:27                                           Hart-Washington                                          regarding
                                                                                                                   Product
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                                  Employee(s) of                 Reflects
                                                                                                  NuCO2                          communications or
                                                                                                                   Attorney
NuCO2_Priv              3/5/2019                                                                                                 advice or work product
             msg                    Foti, Kevin    Robbi Stiell         John Templin                               Client/Work
_760                    17:27                                                                                                    regarding
                                                                                                                   Product
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                                  Employee(s) of
                                                                                                                                 Reflects
                                                                                                  NuCO2
                                                                                                                   Attorney      communications
NuCO2_Priv              9/19/2017
             MSG                    Matt Butcher   John Templin                                                    Client/Work   regarding settlement
_761                    16:33
                                                                                                                   Product       concerning customer
                                                                                                                                 dispute.


                                                                                                  Employee(s) of                 Reflects
                                                                                                                   Attorney      communications
NuCO2_Priv              9/19/2017                                                                 NuCO2
             png                    Matt Butcher   John Templin                                                    Client/Work   regarding settlement
_762                    16:33
                                                                                                                   Product       concerning customer
                                                                                                                                 dispute.




                                                                  138
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 140 of
                                                         573


                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding request
                                                                                               Attorney      for/provision of legal
NuCO2_Priv             7/19/2018
             pdf                   Jeff Wilson   Jeffrey Desmond                               Client/Work   advice/work product
_763                   16:01
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding request
                                                                                               Attorney      for/provision of legal
NuCO2_Priv             7/19/2018
             pdf                   Jeff Wilson   Jeffrey Desmond                               Client/Work   advice/work product
_764                   16:01
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding request
                                                                                               Attorney      for/provision of legal
NuCO2_Priv             7/19/2018
             MSG                   Jeff Wilson   Jeffrey Desmond                               Client/Work   advice/work product
_765                   16:01
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding request
                                                                                               Attorney      for/provision of legal
NuCO2_Priv             7/24/2018                 Bridget Correa;
             MSG                   Jeff Wilson                                                 Client/Work   advice/work product
_766                   11:57                     Jeffrey Desmond
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding request
                                                                                               Attorney      for/provision of legal
NuCO2_Priv             7/24/2018                 Bridget Correa;
             pdf                   Jeff Wilson                                                 Client/Work   advice/work product
_767                   11:57                     Jeffrey Desmond
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding request
                                                                                               Attorney
NuCO2_Priv             7/24/2018                 Bridget Correa;                                             for/provision of legal
             pdf                   Jeff Wilson                                                 Client/Work
_768                   11:57                     Jeffrey Desmond                                             advice/work product
                                                                                               Product
                                                                                                             of counsel concerning
                                                                                                             negotiation/drafting of

                                                              139
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 141 of
                                                          573


                                                                                                                                 customer agreement.




                                                                                                  Employee(s) of
                                                                                                                                 Reflects attorney
                                                                                                  NuCO2
                                                                                                                   Attorney      Communications
NuCO2_Priv
             MSG        3/3/2019 9:04   Debbie Oliver      John Templin         Brent Fairchild                    Client/Work   and/or attorney work
_769
                                                                                                                   Product       product regarding
                                                                                                                                 acquisition.
                                                                                                  Employee(s) of
                                                                                                                                 Reflects attorney
                                                                                                  NuCO2
                                                                                                                   Attorney      Communications
NuCO2_Priv
             pdf        3/3/2019 9:04   Debbie Oliver      John Templin         Brent Fairchild                    Client/Work   and/or attorney work
_770
                                                                                                                   Product       product regarding
                                                                                                                                 acquisition.
                                                                                                  Employee(s) of
                                                                                                                                 Reflects attorney
                                                                                                  NuCO2
                                                                                                                   Attorney      Communications
NuCO2_Priv
             pdf        3/3/2019 9:04   Debbie Oliver      John Templin         Brent Fairchild                    Client/Work   and/or attorney work
_771
                                                                                                                   Product       product regarding
                                                                                                                                 acquisition.
                                                                                                  Employee(s) of                 Communications
                                                                                                  NuCO2                          regarding request
                                                                                                                   Attorney      for/provision of legal
NuCO2_Priv              2/27/2019
             docx                       Heather Shepherd   John Templin                                            Client/Work   advice/work product
_772                    15:10
                                                                                                                   Product       of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                                  Employee(s) of                 Communications
                                                                                                  NuCO2                          regarding request
                                                                                                                   Attorney      for/provision of legal
NuCO2_Priv              2/27/2019
             htm                        Heather Shepherd   John Templin                                            Client/Work   advice/work product
_773                    15:10
                                                                                                                   Product       of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.




                                                                          140
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 142 of
                                                          573


                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2                               regarding need for legal
NuCO2_Priv              9/28/2017                                                                                               advice/work product
             MSG                    Bridget Correa    John Templin         Ronald Thermil                     Attorney Client
_774                    10:33                                                                                                   of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2                               regarding need for legal
NuCO2_Priv              9/28/2017                                                                                               advice/work product
             xlsx                   Bridget Correa    John Templin         Ronald Thermil                     Attorney Client
_775                    10:33                                                                                                   of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                             Employee(s) of                     Communications
                                                                                            NuCO2 and its                       regarding request
                                                                                                              Attorney          for/provision of legal
NuCO2_Priv              2/21/2019                     Brian D. Potter;                      affiliated
             docx                   Markatos, David                        Piazza, Shelly                     Client/Work       advice/work product
_776                    14:50                         John Templin                          company(ies)      Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2 and its                       regarding request
                                                                                            affiliated                          for/provision of legal
NuCO2_Priv              2/21/2019                     Markatos, David;
             doc                    Brian D. Potter                        John Templin                       Attorney Client   advice/work product
_777                    12:38                         Piazza, Shelly                        company(ies)
                                                                                                                                of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2 and its                       regarding need
                                                                                            affiliated                          for/provision of
                                                                                                                                information regarding
NuCO2_Priv              10/2/2017                                                           company(ies)
             pdf                    Jeff Gilheney     David Markatos       John Templin                       Attorney Client   customer in order to
_778                    13:18
                                                                                                                                facilitate provision of
                                                                                                                                legal advice/services
                                                                                                                                concerning response to
                                                                                                                                subpoena.




                                                                     141
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 143 of
                                                         573


                                                                                     Employee(s) of                     Communications
                                                                                     NuCO2 and its                      regarding need
                                                                                     affiliated                         for/provision of
                                                                                                                        information regarding
NuCO2_Priv             10/2/2017                                                     company(ies)
             xls                   Jeff Gilheney   David Markatos     John Templin                    Attorney Client   customer in order to
_779                   13:18
                                                                                                                        facilitate provision of
                                                                                                                        legal advice/services
                                                                                                                        concerning response to
                                                                                                                        subpoena.
                                                                                     Employee(s) of                     Communications
                                                                                     NuCO2 and its                      regarding need
                                                                                     affiliated                         for/provision of
                                                                                                                        information regarding
NuCO2_Priv             10/2/2017                                                     company(ies)
             pdf                   Jeff Gilheney   David Markatos     John Templin                    Attorney Client   customer in order to
_780                   13:18
                                                                                                                        facilitate provision of
                                                                                                                        legal advice/services
                                                                                                                        concerning response to
                                                                                                                        subpoena.
                                                                                     Employee(s) of                     Communications
                                                                                     NuCO2 and its                      regarding need
                                                                                     affiliated                         for/provision of
                                                                                                                        information regarding
NuCO2_Priv             10/2/2017                                                     company(ies)
             pdf                   Jeff Gilheney   David Markatos     John Templin                    Attorney Client   customer in order to
_781                   13:18
                                                                                                                        facilitate provision of
                                                                                                                        legal advice/services
                                                                                                                        concerning response to
                                                                                                                        subpoena.
                                                                                     Employee(s) of                     Communications
                                                                                     NuCO2 and its                      regarding need
                                                                                     affiliated                         for/provision of
                                                                                                                        information regarding
NuCO2_Priv             10/2/2017                                                     company(ies)
             MSG                   Jeff Gilheney   David Markatos     John Templin                    Attorney Client   customer in order to
_782                   13:18
                                                                                                                        facilitate provision of
                                                                                                                        legal advice/services
                                                                                                                        concerning response to
                                                                                                                        subpoena.




                                                                142
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 144 of
                                                          573


                                                                                                                  Communications
                                                                               Employee(s) of                     regarding need for legal
NuCO2_Priv              10/3/2017                                              NuCO2                              advice/work product
             pdf                    Eric Monroe    John Templin                                 Attorney Client
_783                    11:15                                                                                     of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need for legal
NuCO2_Priv              10/3/2017                                                                                 advice/work product
             xls                    Eric Monroe    John Templin                                 Attorney Client
_784                    11:15                                                                                     of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding need for legal
NuCO2_Priv              10/3/2017                                                                                 advice/work product
             MSG                    Eric Monroe    John Templin                                 Attorney Client
_785                    11:15                                                                                     of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              3/1/2019
             MSG                    Robbi Stiell   John Templin                                 Client/Work       advice/work product
_786                    15:51
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              3/1/2019
             xlsx                   Robbi Stiell   John Templin                                 Client/Work       advice/work product
_787                    15:51
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              3/1/2019
             pdf                    Robbi Stiell   John Templin                                 Client/Work       advice/work product
_788                    15:51
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.



                                                                  143
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 145 of
                                                          573


                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              3/1/2019
             xlsx                   Robbi Stiell   John Templin                                 Client/Work   advice/work product
_789                    15:51
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of
                                                                                                              Reflects
                                                                               NuCO2
                                                                                                Attorney      communications
NuCO2_Priv              9/27/2017
             MSG                    Matt Butcher   John Templin                                 Client/Work   regarding settlement
_790                    11:01
                                                                                                Product       concerning customer
                                                                                                              dispute.
                                                                               Employee(s) of
                                                                                                              Reflects
                                                                               NuCO2
                                                                                                Attorney      communications
NuCO2_Priv              9/27/2017
             pdf                    Matt Butcher   John Templin                                 Client/Work   regarding settlement
_791                    11:01
                                                                                                Product       concerning customer
                                                                                                              dispute.
                                                                               Employee(s) of
                                                                                                              Reflects
                                                                               NuCO2
                                                                                                Attorney      communications
NuCO2_Priv              9/27/2017
             htm                    Matt Butcher   John Templin                                 Client/Work   regarding settlement
_792                    11:01
                                                                                                Product       concerning customer
                                                                                                              dispute.
                                                                               Employee(s) of
                                                                                                              Reflects
                                                                               NuCO2
                                                                                                Attorney      communications
NuCO2_Priv              9/27/2017
             xlsx                   Matt Butcher   John Templin                                 Client/Work   regarding settlement
_793                    11:01
                                                                                                Product       concerning customer
                                                                                                              dispute.


                                                                               Employee(s) of                 Reflects
                                                                                                Attorney      communications
NuCO2_Priv              9/27/2017                                              NuCO2
             htm                    Matt Butcher   John Templin                                 Client/Work   regarding settlement
_794                    11:01
                                                                                                Product       concerning customer
                                                                                                              dispute.




                                                                  144
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 146 of
                                                         573


                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2 and its                      regarding need
                                                                                                  affiliated                         for/provision of
                                                                                                                                     information regarding
NuCO2_Priv             10/3/2017                   Toyanna Platt;       Balzarini, Edward; John   company(ies)
             MSG                   Jeff Gilheney                                                                   Attorney Client   customer in order to
_795                   10:01                       Sarah Llewellyn      Templin
                                                                                                                                     facilitate provision of
                                                                                                                                     legal advice/services
                                                                                                                                     concerning response to
                                                                                                                                     subpoena.
                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2 and its                      regarding need
                                                                                                  affiliated                         for/provision of
                                                                                                                                     information regarding
NuCO2_Priv             10/3/2017                   Toyanna Platt;       Balzarini, Edward; John   company(ies)
             pdf                   Jeff Gilheney                                                                   Attorney Client   customer in order to
_796                   10:01                       Sarah Llewellyn      Templin
                                                                                                                                     facilitate provision of
                                                                                                                                     legal advice/services
                                                                                                                                     concerning response to
                                                                                                                                     subpoena.
                                                                                                                                     Communications
                                                                                                                                     regarding need
                                                                                                  Employee(s) of                     for/provision of
                                                                                                                                     information regarding
NuCO2_Priv             10/3/2017                                                                  NuCO2
             pdf                   Jeff Gilheney   John Templin                                                    Attorney Client   customer in order to
_797                   9:58
                                                                                                                                     facilitate provision of
                                                                                                                                     legal advice/services
                                                                                                                                     concerning response to
                                                                                                                                     subpoena.
                                                                                                                                     Communications
                                                                                                                                     regarding need
                                                                                                  Employee(s) of                     for/provision of
                                                                                                                                     information regarding
NuCO2_Priv             10/3/2017                                                                  NuCO2
             MSG                   Jeff Gilheney   John Templin                                                    Attorney Client   customer in order to
_798                   9:58
                                                                                                                                     facilitate provision of
                                                                                                                                     legal advice/services
                                                                                                                                     concerning response to
                                                                                                                                     subpoena.




                                                                  145
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 147 of
                                                          573



                                                                                                Employee(s) of                     Communications
                                                                                               NuCO2 and its                       regarding request
                                                                                                                                   for/provision of legal
NuCO2_Priv              2/22/2019                      Markatos, David;    Heather Shepherd;   affiliated
             docx                   Heather Shepherd                                                             Attorney Client   advice/work product
_799                    20:27                          Riley, Robin K      John Templin        company(ies)                        of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                               Employee(s) of                      Reflects need
                                                                                               NuCO2                               for/provision of legal
NuCO2_Priv              9/29/2017                      John Templin;                                                               advice regarding
             MSG                    Jeffrey Desmond                                                              Attorney Client
_800                    16:12                          Ronald Thermil                                                              strategy concerning
                                                                                                                                   customer/competitor
                                                                                                                                   disputes.
                                                                                               Employee(s) of                      Reflects need
                                                                                               NuCO2                               for/provision of legal
NuCO2_Priv              9/29/2017                      John Templin;                                                               advice regarding
             pdf                    Nanette Caceres                                                              Attorney Client
_801                    16:12                          Ronald Thermil                                                              strategy concerning
                                                                                                                                   customer/competitor
                                                                                                                                   disputes.
                                                                                                                                   Reflects need
                                                                                                                                   for/provision of legal
NuCO2_Priv              9/29/2017                                                                                                  advice regarding
             msg                    Zac Boulund        Zac Boulund                             Self              Attorney Client
_802                    16:12                                                                                                      strategy concerning
                                                                                                                                   customer/competitor
                                                                                                                                   disputes.
                                                                                               Employee(s) of                      Reflects need
                                                                                               NuCO2                               for/provision of legal
NuCO2_Priv              9/29/2017                      John Templin;                                                               advice regarding
             pdf                    Zac Boulund                                                                  Attorney Client
_803                    16:12                          Ronald Thermil                                                              strategy concerning
                                                                                                                                   customer/competitor
                                                                                                                                   disputes.
                                                                                               Employee(s) of                      Reflects need
                                                                                               NuCO2                               for/provision of legal
NuCO2_Priv              9/29/2017                      John Templin;                                                               advice regarding
             pdf                    Zac Boulund                                                                  Attorney Client
_804                    16:12                          Ronald Thermil                                                              strategy concerning
                                                                                                                                   customer/competitor
                                                                                                                                   disputes.




                                                                     146
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 148 of
                                                         573


                                                                                             Employee(s) of                     Reflects need
                                                                                             NuCO2                              for/provision of legal
NuCO2_Priv             9/29/2017                     John Templin;                                                              advice regarding
             pdf                   Zac Boulund                                                                Attorney Client
_805                   16:12                         Ronald Thermil                                                             strategy concerning
                                                                                                                                customer/competitor
                                                                                                                                disputes.
                                                                                             Employee(s) of                     Reflects need
                                                                                             NuCO2                              for/provision of legal
NuCO2_Priv             9/29/2017                                                                                                advice regarding
             msg                   Zac Boulund       Zac Boulund                                              Attorney Client
_806                   16:12                                                                                                    strategy concerning
                                                                                                                                customer/competitor
                                                                                                                                disputes.
                                                                                             Employee(s) of                     Reflects need
                                                                                             NuCO2                              for/provision of legal
                                   Nanette Caceres
NuCO2_Priv             9/29/2017                     Competitive         Zac Boulund; Nate                                      advice regarding
             msg                   on behalf of                                                               Attorney Client
_807                   16:12                         Conversions         Freese                                                 strategy concerning
                                   Contract Admin
                                                                                                                                customer/competitor
                                                                                                                                disputes.
                                                                                             Employee(s) of                     Reflects need
                                                                                             NuCO2                              for/provision of legal
NuCO2_Priv             9/29/2017                     John Templin;                                                              advice regarding
             pdf                   Zac Boulund                                                                Attorney Client
_808                   16:12                         Ronald Thermil                                                             strategy concerning
                                                                                                                                customer/competitor
                                                                                                                                disputes.
                                                                                             Employee(s) of                     Reflects need
                                                                                             NuCO2                              for/provision of legal
NuCO2_Priv             9/29/2017                     John Templin;                                                              advice regarding
             txt                   Zac Boulund                                                                Attorney Client
_809                   16:12                         Ronald Thermil                                                             strategy concerning
                                                                                                                                customer/competitor
                                                                                                                                disputes.
                                                                                             Employee(s) of                     Reflects need
                                                                                             NuCO2                              for/provision of legal
NuCO2_Priv             9/29/2017                     John Templin;                                                              advice regarding
             pdf                   Nanette Caceres                                                            Attorney Client
_810                   16:12                         Ronald Thermil                                                             strategy concerning
                                                                                                                                customer/competitor
                                                                                                                                disputes.




                                                                   147
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 149 of
                                                         573


                                                                              Employee(s) of                     Reflects need
                                                                              NuCO2                              for/provision of legal
NuCO2_Priv             9/29/2017                     John Templin;                                               advice regarding
             pdf                   Nanette Caceres                                             Attorney Client
_811                   16:12                         Ronald Thermil                                              strategy concerning
                                                                                                                 customer/competitor
                                                                                                                 disputes.
                                                                              Employee(s) of                     Reflects need
                                                                              NuCO2                              for/provision of legal
                                   Nanette Caceres
NuCO2_Priv             9/29/2017                     John Templin;                                               advice regarding
             pdf                   on behalf of                                                Attorney Client
_812                   16:12                         Ronald Thermil                                              strategy concerning
                                   Contract Admin
                                                                                                                 customer/competitor
                                                                                                                 disputes.
                                                                              Employee(s) of                     Reflects need
                                                                              NuCO2                              for/provision of legal
                                   Nanette Caceres
NuCO2_Priv             9/29/2017                     John Templin;                                               advice regarding
             pdf                   on behalf of                                                Attorney Client
_813                   16:12                         Ronald Thermil                                              strategy concerning
                                   Contract Admin
                                                                                                                 customer/competitor
                                                                                                                 disputes.
                                                                              Employee(s) of                     Reflects need
                                                                              NuCO2                              for/provision of legal
                                   Nanette Caceres
NuCO2_Priv             9/29/2017                     John Templin;                                               advice regarding
             pdf                   on behalf of                                                Attorney Client
_814                   16:12                         Ronald Thermil                                              strategy concerning
                                   Contract Admin
                                                                                                                 customer/competitor
                                                                                                                 disputes.
                                                                              Employee(s) of                     Reflects need
                                                                              NuCO2                              for/provision of legal
                                   Nanette Caceres
NuCO2_Priv             9/29/2017                     John Templin;                                               advice regarding
             pdf                   on behalf of                                                Attorney Client
_815                   16:12                         Ronald Thermil                                              strategy concerning
                                   Contract Admin
                                                                                                                 customer/competitor
                                                                                                                 disputes.
                                                                              Employee(s) of                     Reflects need
                                                                              NuCO2                              for/provision of legal
NuCO2_Priv             9/29/2017                                                                                 advice regarding
             msg                   Zac Boulund       Zac Boulund                               Attorney Client
_816                   16:12                                                                                     strategy concerning
                                                                                                                 customer/competitor
                                                                                                                 disputes.




                                                                   148
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 150 of
                                                         573


                                                                                              Employee(s) of                     Reflects need
                                                                                              NuCO2                              for/provision of legal
NuCO2_Priv             9/29/2017                                                                                                 advice regarding
             msg                   Zac Boulund       Contract Admin                                            Attorney Client
_817                   16:12                                                                                                     strategy concerning
                                                                                                                                 customer/competitor
                                                                                                                                 disputes.
                                                                                              Employee(s) of                     Reflects need
                                                                                              NuCO2                              for/provision of legal
NuCO2_Priv             9/29/2017                     Competitive                                                                 advice regarding
             msg                   Zac Boulund                                                                 Attorney Client
_818                   16:12                         Conversions                                                                 strategy concerning
                                                                                                                                 customer/competitor
                                                                                                                                 disputes.
                                                                                              Employee(s) of                     Reflects need
                                                                                              NuCO2                              for/provision of legal
NuCO2_Priv             9/29/2017                     Competitive                                                                 advice regarding
             msg                   Zac Boulund                                                                 Attorney Client
_819                   16:12                         Conversions                                                                 strategy concerning
                                                                                                                                 customer/competitor
                                                                                                                                 disputes.
                                                                                              Employee(s) of                     Reflects need
                                                                                              NuCO2                              for/provision of legal
NuCO2_Priv             9/29/2017                     Competitive                                                                 advice regarding
             msg                   Zac Boulund                            Nate Freese                          Attorney Client
_820                   16:12                         Conversions                                                                 strategy concerning
                                                                                                                                 customer/competitor
                                                                                                                                 disputes.
                                                                                              Employee(s) of                     Reflects need
                                                                                              NuCO2                              for/provision of legal
                                                                          Competitive
NuCO2_Priv             9/29/2017                                                                                                 advice regarding
             msg                   Zac Boulund       Nanette Caceres      Conversions; Nate                    Attorney Client
_821                   16:12                                                                                                     strategy concerning
                                                                          Freese
                                                                                                                                 customer/competitor
                                                                                                                                 disputes.
                                                                                              Employee(s) of                     Reflects need
                                                     Zac Boulund;                             NuCO2                              for/provision of legal
NuCO2_Priv             9/29/2017                     Competitive                                                                 advice regarding
             msg                   Nanette Caceres                                                             Attorney Client
_822                   16:12                         Conversions;                                                                strategy concerning
                                                     Nate Freese                                                                 customer/competitor
                                                                                                                                 disputes.




                                                                    149
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 151 of
                                                         573


                                                                                                    Employee(s) of                     Reflects need
                                                                                                    NuCO2                              for/provision of legal
                                   Nanette Caceres
NuCO2_Priv             9/29/2017                     Competitive          Zac Boulund; Nate                                            advice regarding
             msg                   on behalf of                                                                      Attorney Client
_823                   16:12                         Conversions          Freese                                                       strategy concerning
                                   Contract Admin
                                                                                                                                       customer/competitor
                                                                                                                                       disputes.
                                                                                                    Employee(s) of
                                                                                                                                       Reflects
                                                                                                    NuCO2
                                                                                                                     Attorney          communications
NuCO2_Priv             9/27/2017
             MSG                   Matt Butcher      John Templin                                                    Client/Work       regarding settlement
_824                   11:25
                                                                                                                     Product           concerning customer
                                                                                                                                       dispute.
                                                                                                    Employee(s) of
                                                                                                                                       Reflects
                                                                                                    NuCO2
                                                                                                                     Attorney          communications
NuCO2_Priv             9/27/2017
             png                   Matt Butcher      John Templin                                                    Client/Work       regarding settlement
_825                   11:25
                                                                                                                     Product           concerning customer
                                                                                                                                       dispute.
                                                                                                    Employee(s) of
                                                                                                                                       Reflects
                                                                                                    NuCO2
                                                                                                                     Attorney          communications
NuCO2_Priv             10/2/2017
             MSG                   Matt Butcher      John Templin                                                    Client/Work       regarding settlement
_826                   20:39
                                                                                                                     Product           concerning customer
                                                                                                                                       dispute.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding need
                                                                                                    affiliated                         for/provision of
                                                                                                                                       information regarding
NuCO2_Priv             10/3/2017                     Jeff Gilheney;       Balzarini, Edward; John   company(ies)
             MSG                   Toyanna Platt                                                                     Attorney Client   customer in order to
_827                   10:17                         Sarah Llewellyn      Templin
                                                                                                                                       facilitate provision of
                                                                                                                                       legal advice/services
                                                                                                                                       concerning response to
                                                                                                                                       subpoena.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding need
                                                                                                    affiliated                         for/provision of
NuCO2_Priv             10/3/2017                     Jeff Gilheney;       Balzarini, Edward; John
             pdf                   Toyanna Platt                                                                     Attorney Client   information regarding
_828                   10:17                         Sarah Llewellyn      Templin                   company(ies)
                                                                                                                                       customer in order to
                                                                                                                                       facilitate provision of
                                                                                                                                       legal advice/services


                                                                    150
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 152 of
                                                         573


                                                                                                                                        concerning response to
                                                                                                                                        subpoena.




                                                                                                    Employee(s) of                      Communications
                                                                                                    NuCO2 and its                       regarding need
                                                                                                    affiliated                          for/provision of
                                                     Toyanna Platt;                                                                     information regarding
NuCO2_Priv             10/3/2017                                          Balzarini, Edward; John   company(ies)
             MSG                   Toyanna Platt     Jeff Gilheney;                                                   Attorney Client   customer in order to
_829                   10:18                                              Templin
                                                     Sarah Llewellyn                                                                    facilitate provision of
                                                                                                                                        legal advice/services
                                                                                                                                        concerning response to
                                                                                                                                        subpoena.
                                                                                                                                        Communications
                                                                                                     Employee(s) of                     regarding need
                                                                                                    NuCO2 and its                       for/provision of
                                                     Toyanna Platt;                                                                     information regarding
NuCO2_Priv             10/3/2017                                          Balzarini, Edward; John   affiliated
             pdf                   Toyanna Platt     Jeff Gilheney;                                                   Attorney Client   customer in order to
_830                   10:18                                              Templin                   company(ies)
                                                     Sarah Llewellyn                                                                    facilitate provision of
                                                                                                                                        legal advice/services
                                                                                                                                        concerning response to
                                                                                                                                        subpoena.
                                                                                                    Employee(s) of
                                                                                                                                        Reflects attorney
                                                                                                    NuCO2
                                                                                                                                        Communications
NuCO2_Priv             2/27/2019
             xls                   Brian D. Potter   John Templin         Michael Graham                              Attorney Client   and/or attorney work
_831                   12:32
                                                                                                                                        product regarding
                                                                                                                                        acquisition.
                                                                                                    Employee(s) of
                                                                                                                                        Reflects attorney
                                                                                                    NuCO2
                                                                                                                                        Communications
NuCO2_Priv             2/27/2019
             pdf                   Brian D. Potter   John Templin         Michael Graham                              Attorney Client   and/or attorney work
_832                   12:32
                                                                                                                                        product regarding
                                                                                                                                        acquisition.




                                                                    151
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 153 of
                                                         573


                                                                                                 Employee(s) of
                                                                                                                                    Reflects attorney
                                                                                                 NuCO2
                                                                                                                                    Communications
NuCO2_Priv             2/27/2019
             MSG                   Brian D. Potter   John Templin         Michael Graham                          Attorney Client   and/or attorney work
_833                   12:32
                                                                                                                                    product regarding
                                                                                                                                    acquisition.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding need
                                                                                                 affiliated                         for/provision of
                                                                                                                                    information regarding
NuCO2_Priv             10/3/2017                     Balzarini,           David Markatos; John   company(ies)
             MSG                   Jeff Gilheney                                                                  Attorney Client   customer in order to
_834                   8:06                          Edward               Templin
                                                                                                                                    facilitate provision of
                                                                                                                                    legal advice/services
                                                                                                                                    concerning response to
                                                                                                                                    subpoena.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding need
                                                                                                 affiliated                         for/provision of
                                                                                                                                    information regarding
NuCO2_Priv             10/3/2017                     Balzarini,           David Markatos; John   company(ies)
             htm                   Jeff Gilheney                                                                  Attorney Client   customer in order to
_835                   8:06                          Edward               Templin
                                                                                                                                    facilitate provision of
                                                                                                                                    legal advice/services
                                                                                                                                    concerning response to
                                                                                                                                    subpoena.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding need
                                                                                                 affiliated                         for/provision of
                                                                                                                                    information regarding
NuCO2_Priv             10/3/2017                     Balzarini,           David Markatos; John   company(ies)
             htm                   Jeff Gilheney                                                                  Attorney Client   customer in order to
_836                   8:06                          Edward               Templin
                                                                                                                                    facilitate provision of
                                                                                                                                    legal advice/services
                                                                                                                                    concerning response to
                                                                                                                                    subpoena.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding need
                                                                                                 affiliated                         for/provision of
NuCO2_Priv             10/3/2017                     Balzarini,           David Markatos; John                                      information regarding
             pdf                   Jeff Gilheney                                                 company(ies)     Attorney Client
_837                   8:06                          Edward               Templin                                                   customer in order to
                                                                                                                                    facilitate provision of
                                                                                                                                    legal advice/services
                                                                                                                                    concerning response to

                                                                    152
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 154 of
                                                         573


                                                                                                                                subpoena.




                                                                                             Employee(s) of                     Communications
                                                                                             NuCO2 and its                      regarding need
                                                                                             affiliated                         for/provision of
                                                                                                                                information regarding
NuCO2_Priv             10/3/2017                   Balzarini,         David Markatos; John   company(ies)
             htm                   Jeff Gilheney                                                              Attorney Client   customer in order to
_838                   8:06                        Edward             Templin
                                                                                                                                facilitate provision of
                                                                                                                                legal advice/services
                                                                                                                                concerning response to
                                                                                                                                subpoena.
                                                                                             Employee(s) of                     Communications
                                                                                             NuCO2 and its                      regarding need
                                                                                             affiliated                         for/provision of
                                                                                                                                information regarding
NuCO2_Priv             10/3/2017                   Balzarini,         David Markatos; John   company(ies)
             xls                   Jeff Gilheney                                                              Attorney Client   customer in order to
_839                   8:06                        Edward             Templin
                                                                                                                                facilitate provision of
                                                                                                                                legal advice/services
                                                                                                                                concerning response to
                                                                                                                                subpoena.
                                                                                             Employee(s) of                     Communications
                                                                                             NuCO2 and its                      regarding need
                                                                                             affiliated                         for/provision of
                                                                                                                                information regarding
NuCO2_Priv             10/3/2017                   Balzarini,         David Markatos; John   company(ies)
             htm                   Jeff Gilheney                                                              Attorney Client   customer in order to
_840                   8:06                        Edward             Templin
                                                                                                                                facilitate provision of
                                                                                                                                legal advice/services
                                                                                                                                concerning response to
                                                                                                                                subpoena.
                                                                                             Employee(s) of                     Communications
                                                                                             NuCO2 and its                      regarding need
                                                                                             affiliated                         for/provision of
NuCO2_Priv             10/3/2017                   Balzarini,         David Markatos; John                                      information regarding
             pdf                   Jeff Gilheney                                             company(ies)     Attorney Client
_841                   8:06                        Edward             Templin                                                   customer in order to
                                                                                                                                facilitate provision of
                                                                                                                                legal advice/services
                                                                                                                                concerning response to

                                                                153
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 155 of
                                                         573


                                                                                                                                    subpoena.




                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding need
                                                                                                 affiliated                         for/provision of
                                                                                                                                    information regarding
NuCO2_Priv             10/3/2017                   Balzarini,          David Markatos; John      company(ies)
             htm                   Jeff Gilheney                                                                  Attorney Client   customer in order to
_842                   8:06                        Edward              Templin
                                                                                                                                    facilitate provision of
                                                                                                                                    legal advice/services
                                                                                                                                    concerning response to
                                                                                                                                    subpoena.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding need
                                                                                                 affiliated                         for/provision of
                                                                                                                                    information regarding
NuCO2_Priv             10/3/2017                   Balzarini,          David Markatos; John      company(ies)
             pdf                   Jeff Gilheney                                                                  Attorney Client   customer in order to
_843                   8:06                        Edward              Templin
                                                                                                                                    facilitate provision of
                                                                                                                                    legal advice/services
                                                                                                                                    concerning response to
                                                                                                                                    subpoena.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding need
                                                                                                 affiliated                         for/provision of
                                                                                                                                    information regarding
NuCO2_Priv             10/3/2017                   Balzarini,          David Markatos; John      company(ies)
             htm                   Jeff Gilheney                                                                  Attorney Client   customer in order to
_844                   8:06                        Edward              Templin
                                                                                                                                    facilitate provision of
                                                                                                                                    legal advice/services
                                                                                                                                    concerning response to
                                                                                                                                    subpoena.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding need
                                                                                                 affiliated                         for/provision of
NuCO2_Priv             10/3/2017                   Jeff Gilheney;      Balzarini, Edward; John                                      information regarding
             pdf                   Toyanna Platt                                                 company(ies)     Attorney Client
_845                   10:20                       Sarah Llewellyn     Templin                                                      customer in order to
                                                                                                                                    facilitate provision of
                                                                                                                                    legal advice/services
                                                                                                                                    concerning response to

                                                                 154
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 156 of
                                                          573


                                                                                                                                       subpoena.




                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding need
                                                                                                    affiliated                         for/provision of
                                                                                                                                       information regarding
NuCO2_Priv              10/3/2017                     Jeff Gilheney;      Balzarini, Edward; John   company(ies)
             MSG                    Toyanna Platt                                                                    Attorney Client   customer in order to
_846                    10:20                         Sarah Llewellyn     Templin
                                                                                                                                       facilitate provision of
                                                                                                                                       legal advice/services
                                                                                                                                       concerning response to
                                                                                                                                       subpoena.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding need
                                                                                                    affiliated                         for/provision of
                                                                                                                                       information regarding
NuCO2_Priv              10/5/2017                     Balzarini,          John Templin; Jeff        company(ies)
             pdf                    Sarah Llewellyn                                                                  Attorney Client   customer in order to
_847                    10:38                         Edward              Gilheney
                                                                                                                                       facilitate provision of
                                                                                                                                       legal advice/services
                                                                                                                                       concerning response to
                                                                                                                                       subpoena.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding need
                                                                                                    affiliated                         for/provision of
                                                                                                                                       information regarding
NuCO2_Priv              10/5/2017                     Balzarini,          John Templin; Jeff        company(ies)
             docx                   Sarah Llewellyn                                                                  Attorney Client   customer in order to
_848                    10:38                         Edward              Gilheney
                                                                                                                                       facilitate provision of
                                                                                                                                       legal advice/services
                                                                                                                                       concerning response to
                                                                                                                                       subpoena.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding need
                                                                                                    affiliated                         for/provision of
NuCO2_Priv              10/5/2017                     Balzarini,          John Templin; Jeff                                           information regarding
             MSG                    Sarah Llewellyn                                                 company(ies)     Attorney Client
_849                    10:38                         Edward              Gilheney                                                     customer in order to
                                                                                                                                       facilitate provision of
                                                                                                                                       legal advice/services
                                                                                                                                       concerning response to

                                                                    155
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 157 of
                                                         573


                                                                                                                                      subpoena.




                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2 and its                      regarding need
                                                                                                   affiliated                         for/provision of
                                                                                                                                      information regarding
NuCO2_Priv             10/3/2017                     Jeff Gilheney;      Balzarini, Edward; John   company(ies)
             pdf                   Toyanna Platt                                                                    Attorney Client   customer in order to
_850                   10:21                         Sarah Llewellyn     Templin
                                                                                                                                      facilitate provision of
                                                                                                                                      legal advice/services
                                                                                                                                      concerning response to
                                                                                                                                      subpoena.
                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2 and its                      regarding need
                                                                                                   affiliated                         for/provision of
                                                                                                                                      information regarding
NuCO2_Priv             10/3/2017                     Jeff Gilheney;      Balzarini, Edward; John   company(ies)
             MSG                   Toyanna Platt                                                                    Attorney Client   customer in order to
_851                   10:21                         Sarah Llewellyn     Templin
                                                                                                                                      facilitate provision of
                                                                                                                                      legal advice/services
                                                                                                                                      concerning response to
                                                                                                                                      subpoena.
                                                                                                   Employee(s) of
                                                                                                                                      Reflects attorney
                                                                                                   NuCO2
                                                                                                                                      Communications
NuCO2_Priv             9/7/2018
             pdf                   Jeffrey Desmond   Contract Admin                                                 Attorney Client   and/or attorney work
_852                   14:36
                                                                                                                                      product regarding
                                                                                                                                      acquisition.
                                                                                                   Employee(s) of
                                                                                                                                      Reflects attorney
                                                                                                   NuCO2
                                                                                                                                      Communications
NuCO2_Priv             9/7/2018
             MSG                   Jeffrey Desmond   Contract Admin                                                 Attorney Client   and/or attorney work
_853                   14:36
                                                                                                                                      product regarding
                                                                                                                                      acquisition.




                                                                   156
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 158 of
                                                          573


                                                                                                   Employee(s) of
                                                                                                                                       Reflects attorney
                                                                                                   NuCO2
                                                                                                                                       Communications
NuCO2_Priv              9/27/2018
             pdf                    Jeffrey Desmond     Ronald Thermil                                               Attorney Client   and/or attorney work
_854                    9:27
                                                                                                                                       product regarding
                                                                                                                                       acquisition.
                                                                                                   Employee(s) of
                                                                                                                                       Reflects attorney
                                                                                                   NuCO2
                                                                                                                                       Communications
NuCO2_Priv              9/27/2018
             MSG                    Jeffrey Desmond     Ronald Thermil                                               Attorney Client   and/or attorney work
_855                    9:27
                                                                                                                                       product regarding
                                                                                                                                       acquisition.
                                                                                                                                       Communications
                                                                                                    Employee(s) of                     regarding need
                                                                                                   NuCO2 and its                       for/provision of
                                                                              Sarner, Eric; John                                       information regarding
NuCO2_Priv              10/3/2017                                                                  affiliated
             MSG                    Balzarini, Edward   Jeff Gilheney         Templin; David                         Attorney Client   customer in order to
_856                    12:26                                                                      company(ies)
                                                                              Markatos                                                 facilitate provision of
                                                                                                                                       legal advice/services
                                                                                                                                       concerning response to
                                                                                                                                       subpoena.
                                                                                                   Employee(s) of                      Communications
                                                                                                   NuCO2 and its                       regarding need
                                                                                                   affiliated                          for/provision of
                                                                              Sarner, Eric; John                                       information regarding
NuCO2_Priv              10/3/2017                                                                  company(ies)
             docx                   Balzarini, Edward   Jeff Gilheney         Templin; David                         Attorney Client   customer in order to
_857                    12:26
                                                                              Markatos                                                 facilitate provision of
                                                                                                                                       legal advice/services
                                                                                                                                       concerning response to
                                                                                                                                       subpoena.
                                                                                                   Employee(s) of                      Communications
                                                                                                   NuCO2 and its                       regarding need
                                                                                                   affiliated                          for/provision of
                                                                              Sarner, Eric; John                                       information regarding
NuCO2_Priv              10/3/2017                                                                  company(ies)
             pdf                    Balzarini, Edward   Jeff Gilheney         Templin; David                         Attorney Client   customer in order to
_858                    12:26
                                                                              Markatos                                                 facilitate provision of
                                                                                                                                       legal advice/services
                                                                                                                                       concerning response to
                                                                                                                                       subpoena.



                                                                        157
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 159 of
                                                          573


                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              9/10/2018
             MSG                     Jeffrey Desmond   Contract Admin                           Attorney Client   and/or attorney work
_859                    8:04
                                                                                                                  product regarding
                                                                                                                  acquisition.
                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              9/10/2018
             pdf                     Jeffrey Desmond   Contract Admin                           Attorney Client   and/or attorney work
_860                    8:04
                                                                                                                  product regarding
                                                                                                                  acquisition.
                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              9/10/2018
             xlsx                    Jeffrey Desmond   Contract Admin                           Attorney Client   and/or attorney work
_861                    8:04
                                                                                                                  product regarding
                                                                                                                  acquisition.
                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              9/27/2018
             pdf                     Jeffrey Desmond   Contract Admin                           Attorney Client   and/or attorney work
_862                    13:44
                                                                                                                  product regarding
                                                                                                                  acquisition.
                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              9/27/2018
             MSG                     Jeffrey Desmond   Contract Admin                           Attorney Client   and/or attorney work
_863                    13:44
                                                                                                                  product regarding
                                                                                                                  acquisition.
                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              10/11/2018
             pdf                     Jeffrey Desmond   Contract Admin                           Attorney Client   and/or attorney work
_864                    9:27
                                                                                                                  product regarding
                                                                                                                  acquisition.




                                                                    158
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 160 of
                                                          573


                                                                                                      Employee(s) of
                                                                                                                                         Reflects attorney
                                                                                                      NuCO2
                                                                                                                                         Communications
NuCO2_Priv              10/11/2018
             MSG                     Jeffrey Desmond    Contract Admin                                                 Attorney Client   and/or attorney work
_865                    9:27
                                                                                                                                         product regarding
                                                                                                                                         acquisition.


                                                                                                      Employee(s) of
                                                                             Randy Gold; John                                            Communications
NuCO2_Priv              11/1/2017                                                                     NuCO2
             MSG                     Brian D. Potter    Damarie Cortez       Templin; Derek                            Attorney Client   regarding need for legal
_866                    16:54
                                                                             Burton; Rosario Larson                                      advice of counsel.

                                                                                                      Employee(s) of
                                                                                                      NuCO2
                                                                             Randy Gold; John                                            Communications
NuCO2_Priv              11/1/2017
             pdf                     Brian D. Potter    Damarie Cortez       Templin; Derek                            Attorney Client   regarding need for legal
_867                    16:54
                                                                             Burton; Rosario Larson                                      advice of counsel.

                                                                                                      Employee(s) of
                                                                                                      NuCO2
                                                                             Randy Gold; John                                            Communications
NuCO2_Priv              11/1/2017
             xlsx                    Brian D. Potter    Damarie Cortez       Templin; Derek                            Attorney Client   regarding need for legal
_868                    16:54
                                                                             Burton; Rosario Larson                                      advice of counsel.

                                                                                                      Employee(s) of
                                                                                                      NuCO2 and its
                                                                                                                                         Communication
NuCO2_Priv              11/19/2015                                                                    affiliated
             MSG                     Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_869                    8:01                                                                          company(ies)                       hold.

                                                                                                      Employee(s) of
                                                                                                                                         Reflects
                                                                                                      NuCO2 and its
                                                                                                                                         communications or
NuCO2_Priv              11/19/2015                                                                    affiliated
             MSG                     Markatos, David    John Templin         Piazza, Shelly                            Attorney Client   advice or work product
_870                    7:38                                                                          company(ies)                       regarding handling
                                                                                                                                         competitor disputes.




                                                                       159
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 161 of
                                                          573


                                                                                                Employee(s) of
                                                                                                                                    Reflects
                                                                                                NuCO2 and its
                                                                                                                                    communications or
NuCO2_Priv              11/19/2015                                                              affiliated
             xlsx                    Markatos, David    John Templin           Piazza, Shelly                     Attorney Client   advice or work product
_871                    7:38                                                                    company(ies)                        regarding handling
                                                                                                                                    competitor disputes.
                                                                                                                                    Reflects need
                                                                                                Employee(s) of                      for/provision of legal
                                                                                                                  Attorney
NuCO2_Priv              11/2/2017                       John Templin;                           NuCO2                               advice regarding
             MSG                     Brian D. Potter                                                              Client/Work
_872                    17:00                           Randy Gold                                                                  strategy concerning
                                                                                                                  Product
                                                                                                                                    customer/competitor
                                                                                                                                    disputes.
                                                                                                 Employee(s) of
                                                                                                NuCO2 and its
                                                                                                                                    Communication
NuCO2_Priv              11/24/2015                                                              affiliated
             MSG                     Edward Balzarini   Kathy Waters                                              Attorney Client   regarding litigation
_873                    8:00                                                                    company(ies)                        hold.


                                                                                                Employee(s) of
                                                                                                                                    Reflects attorney
                                                                                                NuCO2
                                                                                                                  Attorney          Communications
NuCO2_Priv              2/14/2019
             MSG                     Carla Loffredo     Bridget Correa                                            Client/Work       and/or attorney work
_874                    8:36
                                                                                                                  Product           product regarding
                                                                                                                                    acquisition.
                                                                                                Employee(s) of
                                                                                                                                    Reflects attorney
                                                                                                NuCO2
                                                                                                                  Attorney          Communications
NuCO2_Priv              2/14/2019
             pdf                     Carla Loffredo     Bridget Correa                                            Client/Work       and/or attorney work
_875                    8:36
                                                                                                                  Product           product regarding
                                                                                                                                    acquisition.
                                                                                                 Employee(s) of
                                                                                                NuCO2 and its
                                                                                                                                    Communication
NuCO2_Priv              11/23/2015                                                              affiliated
             MSG                     Edward Balzarini   Kathy Waters                                              Attorney Client   regarding litigation
_876                    9:28                                                                    company(ies)                        hold.




                                                                         160
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 162 of
                                                          573



                                                                                                     Employee(s) of
                                                                             Derek Burton; Rosario                                       Communications
NuCO2_Priv              11/2/2017                       Brian D. Potter;                             NuCO2
             MSG                     Randy Gold                              Larson; Damarie                           Attorney Client   regarding need for legal
_877                    12:16                           John Templin
                                                                             Cortez                                                      advice of counsel.


                                                                                                      Employee(s) of                     Reflects need
                                                                                                     NuCO2 and its                       for/provision of legal
                                                                                                                       Attorney          advice regarding
NuCO2_Priv              11/18/2015                                                                   affiliated
             docx                    Markatos, David    John Templin         Piazza, Shelly                            Client/Work       negotiation/drafting of
_878                    16:44                                                                        company(ies)      Product           customer
                                                                                                                                         agreements/other
                                                                                                                                         issues.
                                                                                                     Employee(s) of                      Reflects need
                                                                                                     NuCO2 and its                       for/provision of legal
                                                                                                     affiliated        Attorney          advice regarding
NuCO2_Priv              11/18/2015
             docx                    Markatos, David    John Templin         Piazza, Shelly                            Client/Work       negotiation/drafting of
_879                    16:44                                                                        company(ies)
                                                                                                                       Product           customer
                                                                                                                                         agreements/other
                                                                                                                                         issues.
                                                                                                     Employee(s) of                      Reflects need
                                                                                                     NuCO2 and its                       for/provision of legal
                                                                                                     affiliated        Attorney          advice regarding
NuCO2_Priv              11/18/2015
             MSG                     Markatos, David    John Templin         Piazza, Shelly                            Client/Work       negotiation/drafting of
_880                    16:44                                                                        company(ies)
                                                                                                                       Product           customer
                                                                                                                                         agreements/other
                                                                                                                                         issues.
                                                                                                     Employee(s) of
                                                                                                     NuCO2 and its
                                                                                                                                         Communication
NuCO2_Priv              11/22/2015                                                                   affiliated
             MSG                     Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_881                    8:01                                                                         company(ies)                        hold.

                                                                                                     Employee(s) of                      Communications
                                                                                                     NuCO2                               regarding request
                                                                                                                       Attorney          for/provision of legal
NuCO2_Priv              11/6/2017
             PDF                     Matt Butcher       John Templin                                                   Client/Work       advice/work product
_882                    14:30
                                                                                                                       Product           of counsel concerning
                                                                                                                                         negotiation/drafting of
                                                                                                                                         customer agreement.


                                                                       161
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 163 of
                                                          573


                                                                                                         Employee(s) of                     Communications
                                                                                                         NuCO2                              regarding request
                                                                                                                          Attorney          for/provision of legal
NuCO2_Priv              11/6/2017
             MSG                     Matt Butcher       John Templin                                                      Client/Work       advice/work product
_883                    14:30
                                                                                                                          Product           of counsel concerning
                                                                                                                                            negotiation/drafting of
                                                                                                                                            customer agreement.
                                                                                                         Employee(s) of
                                                                                                         NuCO2 and its
                                                                                                                                            Communication
NuCO2_Priv              11/27/2015                                                                       affiliated
             MSG                     Edward Balzarini   Kathy Waters                                                      Attorney Client   regarding litigation
_884                    8:00                                                                             company(ies)                       hold.

                                                                                                         Employee(s) of
                                                                                                         NuCO2 and its
                                                                                                                                            Communication
NuCO2_Priv              11/25/2015                                                                       affiliated
             MSG                     Edward Balzarini   Kathy Waters                                                      Attorney Client   regarding litigation
_885                    8:00                                                                             company(ies)                       hold.


                                                                                                         Employee(s) of
                                                                                                         NuCO2
                                                                                Randy Gold; John                                            Communications
NuCO2_Priv              11/2/2017
             docx                    Damarie Cortez     Brian D. Potter         Templin; Derek                            Attorney Client   regarding need for legal
_886                    8:11
                                                                                Burton; Rosario Larson                                      advice of counsel.

                                                                                                         Employee(s) of
                                                                                                         NuCO2
                                                                                Randy Gold; John                                            Communications
NuCO2_Priv              11/2/2017
             MSG                     Damarie Cortez     Brian D. Potter         Templin; Derek                            Attorney Client   regarding need for legal
_887                    8:11
                                                                                Burton; Rosario Larson                                      advice of counsel.


                                                                                                         Employee(s) of
                                                                                                                                            Reflects attorney
                                                                                                         NuCO2
                                                                                                                                            Communications
NuCO2_Priv              10/30/2018
             MSG                     Jeffrey Desmond    Contract Admin                                                    Attorney Client   and/or attorney work
_888                    8:52
                                                                                                                                            product regarding
                                                                                                                                            acquisition.




                                                                          162
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 164 of
                                                          573


                                                                                             Employee(s) of
                                                                                                                                Reflects attorney
                                                                                             NuCO2
                                                                                                                                Communications
NuCO2_Priv              10/30/2018
             pdf                     Jeffrey Desmond   Contract Admin                                         Attorney Client   and/or attorney work
_889                    8:52
                                                                                                                                product regarding
                                                                                                                                acquisition.


                                                                                             Employee(s) of                     Reflects attorney
                                                                                                                                Communications
NuCO2_Priv              10/30/2018                                                           NuCO2
             xlsx                    Jeffrey Desmond   Contract Admin                                         Attorney Client   and/or attorney work
_890                    8:52
                                                                                                                                product regarding
                                                                                                                                acquisition.
                                                                                             Employee(s) of
                                                                                                                                Reflects
                                                                                             NuCO2 and its
                                                                                                              Attorney          communications or
NuCO2_Priv              11/23/2015                                                           affiliated
             png                     Markatos, David   John Templin         Riley, Robin K                    Client/Work       advice or work product
_891                    8:21                                                                 company(ies)     Product           regarding handling
                                                                                                                                competitor disputes.
                                                                                             Employee(s) of
                                                                                                                                Reflects
                                                                                             NuCO2 and its
                                                                                                              Attorney          communications or
NuCO2_Priv              11/23/2015                                                           affiliated
             pdf                     Markatos, David   John Templin         Riley, Robin K                    Client/Work       advice or work product
_892                    8:21                                                                 company(ies)     Product           regarding handling
                                                                                                                                competitor disputes.
                                                                                             Employee(s) of
                                                                                                                                Reflects
                                                                                             NuCO2 and its
                                                                                                              Attorney          communications or
NuCO2_Priv              11/23/2015                                                           affiliated
             pdf                     Markatos, David   John Templin         Riley, Robin K                    Client/Work       advice or work product
_893                    8:21                                                                 company(ies)     Product           regarding handling
                                                                                                                                competitor disputes.
                                                                                             Employee(s) of
                                                                                                                                Reflects
                                                                                             NuCO2 and its
                                                                                                              Attorney          communications or
NuCO2_Priv              11/23/2015                                                           affiliated
             MSG                     Markatos, David   John Templin         Riley, Robin K                    Client/Work       advice or work product
_894                    8:21                                                                 company(ies)     Product           regarding handling
                                                                                                                                competitor disputes.




                                                                      163
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 165 of
                                                          573


                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv              11/20/2015                                             affiliated
             MSG                     Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_895                    8:00                                                   company(ies)                       hold.


                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              12/3/2018                       Competitive
             MSG                     Jeffrey Desmond                                            Attorney Client   and/or attorney work
_896                    10:46                           Conversions
                                                                                                                  product regarding
                                                                                                                  acquisition.
                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              12/3/2018                       Competitive
             pdf                     Jeffrey Desmond                                            Attorney Client   and/or attorney work
_897                    10:46                           Conversions
                                                                                                                  product regarding
                                                                                                                  acquisition.
                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              12/3/2018
             pdf                     Jeffrey Desmond    Contract Admin                          Attorney Client   and/or attorney work
_898                    12:18
                                                                                                                  product regarding
                                                                                                                  acquisition.
                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              12/3/2018
             MSG                     Jeffrey Desmond    Contract Admin                          Attorney Client   and/or attorney work
_899                    12:18
                                                                                                                  product regarding
                                                                                                                  acquisition.
                                                                               Employee(s) of
                                                                                                                  Reflects
                                                                               NuCO2
                                                                                                Attorney          communications
NuCO2_Priv              11/24/2015
             xlsm                    Sondra Meyer       John Templin                            Client/Work       regarding settlement
_900                    12:26
                                                                                                Product           concerning customer
                                                                                                                  dispute.




                                                                       164
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 166 of
                                                          573


                                                                                               Employee(s) of
                                                                                                                                  Reflects
                                                                                               NuCO2
                                                                                                                Attorney          communications
NuCO2_Priv              11/24/2015
             MSG                     Sondra Meyer      John Templin                                             Client/Work       regarding settlement
_901                    12:26
                                                                                                                Product           concerning customer
                                                                                                                                  dispute.
                                                                                               Employee(s) of                     Communications
                                                                                               NuCO2                              regarding request
                                                                                                                Attorney          for/provision of legal
NuCO2_Priv              11/6/2017
             MSG                     Brian Catmull     John Templin                                             Client/Work       advice/work product
_902                    9:01
                                                                                                                Product           of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                               Employee(s) of
                                                                                                                                  Reflects attorney
                                                                                               NuCO2
                                                                                                                                  Communications
NuCO2_Priv              12/10/2018
             MSG                     Jeffrey Desmond   Contract Admin                                           Attorney Client   and/or attorney work
_903                    15:35
                                                                                                                                  product regarding
                                                                                                                                  acquisition.
                                                                                               Employee(s) of
                                                                                                                                  Reflects attorney
                                                                                               NuCO2
                                                                                                                                  Communications
NuCO2_Priv              12/10/2018
             pdf                     Jeffrey Desmond   Contract Admin                                           Attorney Client   and/or attorney work
_904                    15:35
                                                                                                                                  product regarding
                                                                                                                                  acquisition.
                                                                                               Employee(s) of
                                                                                                                                  Reflects attorney
                                                                                               NuCO2
                                                                                                                                  Communications
NuCO2_Priv              12/10/2018
             xlsx                    Jeffrey Desmond   Contract Admin                                           Attorney Client   and/or attorney work
_905                    15:35
                                                                                                                                  product regarding
                                                                                                                                  acquisition.
                                                                                               Employee(s) of
                                                       Vince Giordano;                         NuCO2                              Reflects attorney
                                                                                                                Attorney
NuCO2_Priv              11/30/2015                     John Templin;                                                              Communicationss/or
             xlsx                    Nanette Caceres                        Justina Connelly                    Client/Work
_906                    7:48                           REGSALESMG                                                                 attorney work product
                                                                                                                Product
                                                       RS                                                                         regarding legal matters.




                                                                      165
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 167 of
                                                          573


                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              11/7/2017
             PDF                     Matt Butcher       John Templin                            Client/Work       advice/work product
_907                    17:25
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              11/7/2017
             docx                    Matt Butcher       John Templin                            Client/Work       advice/work product
_908                    17:25
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              11/7/2017
             MSG                     Matt Butcher       John Templin                            Client/Work       advice/work product
_909                    17:25
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv              11/29/2015                                             affiliated
             MSG                     Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_910                    8:00                                                   company(ies)                       hold.

                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2 and its
                                                                                                                  Communications
NuCO2_Priv              10/17/2018                                             affiliated
             MSG                     Jeffrey Desmond    Contract Admin                          Attorney Client   and/or attorney work
_911                    15:08                                                  company(ies)                       product regarding
                                                                                                                  acquisition.
                                                                               Employee(s) of
                                                                                                                  Reflects attorney
                                                                               NuCO2
                                                                                                                  Communications
NuCO2_Priv              10/17/2018
             pdf                     Jeffrey Desmond    Contract Admin                          Attorney Client   and/or attorney work
_912                    15:08
                                                                                                                  product regarding
                                                                                                                  acquisition.




                                                                       166
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 168 of
                                                          573


                                                                                               Employee(s) of                      Communications
                                                                                               NuCO2                               regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv                                                 John-Paul
             MSG        3/5/2019 9:03   Carla Loffredo                                                           Client/Work       advice/work product
_913                                                       Venanzi
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                               Employee(s) of                      Communications
                                                                                               NuCO2                               regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv                                                 John-Paul
             xlsx       3/5/2019 9:03   Carla Loffredo                                                           Client/Work       advice/work product
_914                                                       Venanzi
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                Employee(s) of
                                                                                               NuCO2 and its
                                                                                                                 Attorney          Communication
NuCO2_Priv              11/21/2015                                                             affiliated
             MSG                        Edward Balzarini   Kathy Waters                                          Client/Work       regarding litigation
_915                    8:01                                                                   company(ies)      Product           hold.



                                                                                               Employee(s) of                      Reflects attorney
                                                                                                                                   Communications
NuCO2_Priv              12/10/2018                                                             NuCO2
             MSG                        Jeffrey Desmond    Contract Admin                                        Attorney Client   and/or attorney work
_916                    9:32
                                                                                                                                   product regarding
                                                                                                                                   acquisition.
                                                                                               Employee(s) of
                                                                                                                                   Reflects attorney
                                                                                               NuCO2
                                                                                                                                   Communications
NuCO2_Priv              12/10/2018
             pdf                        Jeffrey Desmond    Contract Admin                                        Attorney Client   and/or attorney work
_917                    9:32
                                                                                                                                   product regarding
                                                                                                                                   acquisition.
                                                                                               Employee(s) of                      Reflects need
                                                           Randy Gold;                         NuCO2                               for/provision of legal
NuCO2_Priv              11/2/2017                          Rosario Larson;                                                         advice regarding
             MSG                        Damarie Cortez                          Derek Burton                     Attorney Client
_918                    15:12                              Brian D. Potter;                                                        strategy concerning
                                                           John Templin                                                            customer/competitor
                                                                                                                                   disputes.




                                                                          167
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 169 of
                                                          573


                                                                                                 Employee(s) of                      Reflects need
                                                                                                 NuCO2                               for/provision of legal
                                                                             Randy Gold; Derek
NuCO2_Priv              11/2/2017                       Brian D. Potter;                                                             advice regarding
             MSG                     Rosario Larson                          Burton; Damarie                       Attorney Client
_919                    14:44                           John Templin                                                                 strategy concerning
                                                                             Cortez
                                                                                                                                     customer/competitor
                                                                                                                                     disputes.
                                                                                                 Employee(s) of                      Reflects need
                                                                                                 NuCO2                               for/provision of legal
                                                                             Randy Gold; Derek
NuCO2_Priv              11/2/2017                       Brian D. Potter;                                                             advice regarding
             docx                    Rosario Larson                          Burton; Damarie                       Attorney Client
_920                    14:44                           John Templin                                                                 strategy concerning
                                                                             Cortez
                                                                                                                                     customer/competitor
                                                                                                                                     disputes.
                                                                                                 Employee(s) of
                                                                                                                                     Reflects attorney
                                                                                                 NuCO2
                                                                                                                                     Communications
NuCO2_Priv              12/7/2018
             MSG                     Jeffrey Desmond    Contract Admin                                             Attorney Client   and/or attorney work
_921                    11:10
                                                                                                                                     product regarding
                                                                                                                                     acquisition.
                                                                                                 Employee(s) of
                                                                                                                                     Reflects attorney
                                                                                                 NuCO2
                                                                                                                                     Communications
NuCO2_Priv              12/7/2018
             pdf                     Jeffrey Desmond    Contract Admin                                             Attorney Client   and/or attorney work
_922                    11:10
                                                                                                                                     product regarding
                                                                                                                                     acquisition.
                                                                                                  Employee(s) of
                                                                                                 NuCO2 and its
                                                                                                                   Attorney          Communication
NuCO2_Priv              12/1/2015                                                                affiliated
             MSG                     Edward Balzarini   Kathy Waters                                               Client/Work       regarding litigation
_923                    8:05                                                                     company(ies)      Product           hold.


                                                                                                 Employee(s) of                      Communications
                                                                                                 NuCO2                               regarding request
                                                                                                                   Attorney          for/provision of legal
NuCO2_Priv              11/22/2017
             pdf                     Matt Butcher       John Templin                                               Client/Work       advice/work product
_924                    11:38
                                                                                                                   Product           of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.




                                                                       168
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 170 of
                                                          573


                                                                                               Employee(s) of                 Communications
                                                                                               NuCO2                          regarding request
                                                                                                                Attorney      for/provision of legal
NuCO2_Priv              11/22/2017
             xlsx                    Matt Butcher      John Templin                                             Client/Work   advice/work product
_925                    11:38
                                                                                                                Product       of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                               Employee(s) of                 Communications
                                                                                               NuCO2                          regarding request
                                                                                                                Attorney      for/provision of legal
NuCO2_Priv              11/22/2017
             docx                    Matt Butcher      John Templin                                             Client/Work   advice/work product
_926                    11:38
                                                                                                                Product       of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                               Employee(s) of
                                                       Vince Giordano;                         NuCO2                          Reflects attorney
                                                                                                                Attorney
NuCO2_Priv              12/1/2015                      John Templin;                                                          Communicationss/or
             xlsx                    Nanette Caceres                        Justina Connelly                    Client/Work
_927                    7:58                           REGSALESMG                                                             attorney work product
                                                                                                                Product
                                                       RS                                                                     regarding legal matters.

                                                                                               Employee(s) of
                                                                                                                              Reflects attorney
                                                                                               NuCO2
                                                                                                                Attorney      Communications
NuCO2_Priv              11/21/2017
             pptx                    Derek Burton      John Templin                                             Client/Work   and/or attorney work
_928                    7:51
                                                                                                                Product       product regarding
                                                                                                                              safety.
                                                                                               Employee(s) of
                                                                                                                              Reflects attorney
                                                                                               NuCO2
                                                                                                                Attorney      Communications
NuCO2_Priv              11/21/2017
             pptx                    Derek Burton      John Templin                                             Client/Work   and/or attorney work
_929                    7:51
                                                                                                                Product       product regarding
                                                                                                                              safety.
                                                                                               Employee(s) of
                                                                                                                              Reflects attorney
                                                                                               NuCO2
                                                                                                                Attorney      Communications
NuCO2_Priv              11/21/2017
             pptx                    Derek Burton      John Templin                                             Client/Work   and/or attorney work
_930                    7:51
                                                                                                                Product       product regarding
                                                                                                                              safety.




                                                                      169
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 171 of
                                                          573


                                                                                Employee(s) of
                                                                               NuCO2 and its
                                                                                                 Attorney       Communication
NuCO2_Priv              12/4/2015                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                              Client/Work    regarding litigation
_931                    8:00                                                   company(ies)      Product        hold.



                                                                               Employee(s) of                   Communications
NuCO2_Priv              1/10/2019                                              NuCO2             Settlement     regarding strategy for
             MSG                    Jeffrey Desmond    Jeff Wilson
_932                    13:57                                                                    Negotiations   settling customer
                                                                                                                dispute.

                                                                                Employee(s) of
                                                                               NuCO2 and its
                                                                                                 Attorney       Communication
NuCO2_Priv              12/5/2015                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                              Client/Work    regarding litigation
_933                    8:00                                                   company(ies)      Product        hold.


                                                                               Employee(s) of
                                                                               NuCO2                            Communications
NuCO2_Priv              1/17/2019                                                                Settlement     regarding strategy for
             MSG                    Jeffrey Desmond    Bridget Correa
_934                    9:47                                                                     Negotiations   settling customer
                                                                                                                dispute.

                                                                               Employee(s) of
                                                                               NuCO2                            Communications
NuCO2_Priv              1/17/2019                                                                Settlement     regarding strategy for
             xlsm                   Jeffrey Desmond    Bridget Correa
_935                    9:47                                                                     Negotiations   settling customer
                                                                                                                dispute.

                                                                               Employee(s) of
                                                                                                                Reflects
                                                                               NuCO2
                                                                                                                communications
NuCO2_Priv              1/21/2019                                                                Settlement
             MSG                    Jeffrey Desmond    Jeff Wilson                                              regarding settlement
_936                    11:19                                                                    Negotiations
                                                                                                                concerning customer
                                                                                                                dispute.




                                                                        170
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 172 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                               Attorney       Communication
NuCO2_Priv             11/30/2015                                             affiliated
             MSG                    Edward Balzarini   Kathy Waters                            Client/Work    regarding litigation
_937                   9:02                                                   company(ies)     Product        hold.


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                               Attorney       Communication
NuCO2_Priv             12/8/2015                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                            Client/Work    regarding litigation
_938                   8:00                                                   company(ies)     Product        hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                               Attorney       Communication
NuCO2_Priv             11/28/2015                                             affiliated
             MSG                    Edward Balzarini   Kathy Waters                            Client/Work    regarding litigation
_939                   8:00                                                   company(ies)     Product        hold.

                                                                              Employee(s) of
                                                                                                              Reflects attorney
                                                                              NuCO2
                                                                                               Attorney       Communications
NuCO2_Priv             12/20/2018
             MSG                    Jeffrey Desmond    Contract Admin                          Client/Work    and/or attorney work
_940                   8:27
                                                                                               Product        product regarding
                                                                                                              acquisition.
                                                                              Employee(s) of
                                                                                                              Reflects attorney
                                                                              NuCO2
                                                                                               Attorney       Communications
NuCO2_Priv             12/20/2018
             pdf                    Jeffrey Desmond    Contract Admin                          Client/Work    and/or attorney work
_941                   8:27
                                                                                               Product        product regarding
                                                                                                              acquisition.
                                                                              Employee(s) of
                                                                              NuCO2                           Communications
NuCO2_Priv             1/9/2019                                                                Settlement     regarding strategy for
             MSG                    Jeffrey Desmond    Jeff Wilson
_942                   13:45                                                                   Negotiations   settling customer
                                                                                                              dispute.




                                                                      171
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 173 of
                                                          573


                                                                                               Employee(s) of
                                                                                              NuCO2 and its
                                                                                                                                  Communication
NuCO2_Priv              12/3/2015                                                             affiliated
             MSG                     Edward Balzarini   Kathy Waters                                            Attorney Client   regarding litigation
_943                    8:00                                                                  company(ies)                        hold.


                                                                                                                                  Reflects attorney
                                                                                              Employee(s) of                      Communicationss/or
NuCO2_Priv              1/28/2019                                                             NuCO2             Settlement        attorney work product
             MSG                     Jeffrey Desmond    Jeff Wilson
_944                    16:01                                                                                   Negotiations      regarding settlement
                                                                                                                                  concerning customer
                                                                                                                                  dispute.
                                                                                               Employee(s) of
                                                                                              NuCO2 and its
                                                                                                                                  Communication
NuCO2_Priv              12/6/2015                                                             affiliated
             MSG                     Edward Balzarini   Kathy Waters                                            Attorney Client   regarding litigation
_945                    8:00                                                                  company(ies)                        hold.


                                                                                              Employee(s) of                      Reflects need
                                                        CAMS;
                                                                                              NuCO2                               for/provision of legal
                                                        Cancellations;
                                                                                                                Attorney          advice regarding
NuCO2_Priv              12/3/2015                       Field Account
             xlsx                    Justina Connelly                          John Templin                     Client/Work       negotiation/drafting of
_946                    7:37                            Coordinators;
                                                                                                                Product           customer
                                                        Chain and
                                                                                                                                  agreements/other
                                                        Prestige
                                                                                                                                  issues.
                                                                                              Employee(s) of
                                                                                                                                  Reflects
                                                                                              NuCO2
                                                                                                                                  communications
NuCO2_Priv              2/7/2019                                                                                Settlement
             MSG                     Jeffrey Desmond    Erica Aponte                                                              regarding settlement
_947                    15:26                                                                                   Negotiations
                                                                                                                                  concerning customer
                                                                                                                                  dispute.
                                                                                              Employee(s) of
                                                                                                                                  Reflects attorney
                                                                                              NuCO2
                                                                                                                                  Communications
NuCO2_Priv              12/18/2018
             MSG                     Jeffrey Desmond    Ronald Thermil                                          Attorney Client   and/or attorney work
_948                    12:03
                                                                                                                                  product regarding
                                                                                                                                  acquisition.




                                                                         172
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 174 of
                                                          573


                                                                                         Employee(s) of
                                                                                                                            Reflects attorney
                                                                                         NuCO2
                                                                                                                            Communications
NuCO2_Priv              12/18/2018
             pdf                     Jeffrey Desmond   Ronald Thermil                                     Attorney Client   and/or attorney work
_949                    12:03
                                                                                                                            product regarding
                                                                                                                            acquisition.
                                                                                         Employee(s) of
                                                                                                                            Reflects attorney
                                                                                         NuCO2
                                                                                                                            Communications
NuCO2_Priv              12/18/2018
             xlsx                    Jeffrey Desmond   Ronald Thermil                                     Attorney Client   and/or attorney work
_950                    12:03
                                                                                                                            product regarding
                                                                                                                            acquisition.
                                                                                                                            Communications
                                                                                         Employee(s) of                     regarding request
                                                                                                          Attorney          for/provision of legal
NuCO2_Priv              11/22/2017                                                       NuCO2
             MSG                     Gerald Miller     John Templin                                       Client/Work       advice/work product
_951                    18:22
                                                                                                          Product           of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                         Employee(s) of                     Communications
                                                                                         NuCO2                              regarding request
                                                                                                          Attorney          for/provision of legal
NuCO2_Priv              11/22/2017
             jpg                     Gerald Miller     John Templin                                       Client/Work       advice/work product
_952                    18:22
                                                                                                          Product           of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                         Employee(s) of                     Communications
                                                                                         NuCO2                              regarding request
                                                                                                          Attorney          for/provision of legal
NuCO2_Priv              11/22/2017
             png                     Gerald Miller     John Templin                                       Client/Work       advice/work product
_953                    18:22
                                                                                                          Product           of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                         Employee(s) of                     Communications
                                                                                         NuCO2                              regarding request
                                                                                                          Attorney          for/provision of legal
NuCO2_Priv              11/17/2017                     Matt Butcher;
             MSG                     Kym Cherubini                           Ryan Hook                    Client/Work       advice/work product
_954                    14:49                          John Templin
                                                                                                          Product           of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.


                                                                       173
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 175 of
                                                          573


                                                                                                       Employee(s) of                      Communications
                                                                                                       NuCO2                               regarding request
                                                                                                                         Attorney          for/provision of legal
NuCO2_Priv              11/17/2017                      Matt Butcher;
             pdf                     Kym Cherubini                             Ryan Hook                                 Client/Work       advice/work product
_955                    14:49                           John Templin
                                                                                                                         Product           of counsel concerning
                                                                                                                                           negotiation/drafting of
                                                                                                                                           customer agreement.
                                                                                                       Employee(s) of                      Reflects need
                                                        Toyanna Platt;
                                                                                                       NuCO2                               for/provision of legal
                                                        Heather                Russell Vicari; Randy
                                                                                                                         Attorney          advice regarding
NuCO2_Priv              12/2/2015                       Lindbom; Justina       Gold; Mike Kleimeyer;
             xlsx                    Damarie Cortez                                                                      Client/Work       negotiation/drafting of
_956                    15:07                           Connelly;              Vince Giordano; John
                                                                                                                         Product           customer
                                                        Douglas Caputo;        Templin
                                                                                                                                           agreements/other
                                                        Sandy Johnson
                                                                                                                                           issues.
                                                                                                       Employee(s) of
                                                                                                       NuCO2                               Communications
NuCO2_Priv              1/8/2019                                                                                         Settlement        regarding strategy for
             MSG                     Jeffrey Desmond    Bridget Correa
_957                    13:11                                                                                            Negotiations      settling customer
                                                                                                                                           dispute.

                                                                                                        Employee(s) of
                                                                                                       NuCO2 and its
                                                                                                                                           Communication
NuCO2_Priv              12/7/2015                                                                      affiliated
             MSG                     Edward Balzarini   Kathy Waters                                                     Attorney Client   regarding litigation
_958                    9:02                                                                           company(ies)                        hold.


                                                                                                                                           Reflects need
                                                                                                       Employee(s) of                      for/provision of legal
                                                                                                                         Attorney          advice regarding
NuCO2_Priv              12/7/2015                                                                      NuCO2
             xlsx                    Justina Connelly   John Templin                                                     Client/Work       negotiation/drafting of
_959                    13:58
                                                                                                                         Product           customer
                                                                                                                                           agreements/other
                                                                                                                                           issues.
                                                                                                        Employee(s) of
                                                                                                       NuCO2 and its                       Communication
NuCO2_Priv              12/12/2015
             MSG                     Edward Balzarini   Kathy Waters                                   affiliated        Attorney Client   regarding litigation
_960                    8:00
                                                                                                       company(ies)                        hold.




                                                                         174
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 176 of
                                                          573


                                                                               Employee(s) of
                                                                               NuCO2                           Communications
NuCO2_Priv              1/10/2019                                                               Settlement     regarding strategy for
             MSG                    Jeffrey Desmond   Jeff Wilson
_961                    9:43                                                                    Negotiations   settling customer
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications
NuCO2_Priv              1/10/2019                                                               Settlement     regarding strategy for
             MSG                    Jeffrey Desmond   Jeff Wilson
_962                    9:49                                                                    Negotiations   settling customer
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications
NuCO2_Priv              1/10/2019                                                               Settlement     regarding strategy for
             xlsx                   Jeffrey Desmond   Jeff Wilson
_963                    9:49                                                                    Negotiations   settling customer
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications
NuCO2_Priv              1/17/2019                                                               Settlement     regarding strategy for
             MSG                    Jeffrey Desmond   Jeff Wilson
_964                    16:07                                                                   Negotiations   settling customer
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications
NuCO2_Priv              1/17/2019                                                               Settlement     regarding strategy for
             xlsx                   Jeffrey Desmond   Jeff Wilson
_965                    16:07                                                                   Negotiations   settling customer
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications
NuCO2_Priv              1/18/2019                                                               Settlement     regarding strategy for
             MSG                    Jeffrey Desmond   Jeff Wilson
_966                    8:56                                                                    Negotiations   settling customer
                                                                                                               dispute.




                                                                    175
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 177 of
                                                          573


                                                                                                    Employee(s) of
                                                                                                    NuCO2                           Communications
NuCO2_Priv              1/18/2019                                                                                    Settlement     regarding strategy for
             xlsx                   Jeffrey Desmond   Jeff Wilson
_967                    8:56                                                                                         Negotiations   settling customer
                                                                                                                                    dispute.

                                                                                                    Employee(s) of
                                                                                                    NuCO2                           Communications
NuCO2_Priv              1/18/2019                                           Erica Aponte; Toyanna                    Settlement     regarding strategy for
             MSG                    Jeffrey Desmond   Douglas Caputo
_968                    11:50                                               Platt; Bridget Correa                    Negotiations   settling customer
                                                                                                                                    dispute.

                                                                                                    Employee(s) of
                                                                                                    NuCO2                           Communications
NuCO2_Priv              1/18/2019                                                                                    Settlement     regarding strategy for
             MSG                    Jeffrey Desmond   Jeff Wilson
_969                    14:40                                                                                        Negotiations   settling customer
                                                                                                                                    dispute.

                                                                                                    Employee(s) of
                                                                                                                                    Reflects
                                                                                                    NuCO2
                                                                                                                                    communications
NuCO2_Priv              2/14/2019                     Lisa Willard; Jeff                                             Settlement
             MSG                    Jeffrey Desmond                         Damarie Cortez                                          regarding settlement
_970                    15:41                         Wilson                                                         Negotiations
                                                                                                                                    concerning customer
                                                                                                                                    dispute.
                                                                                                    Employee(s) of
                                                                                                                                    Reflects
                                                                                                    NuCO2
                                                                                                                     Attorney       communications
NuCO2_Priv              12/9/2015
             MSG                    Angie Baggett     John Templin                                                   Client/Work    regarding settlement
_971                    10:28
                                                                                                                     Product        concerning customer
                                                                                                                                    dispute.
                                                                                                    Employee(s) of
                                                                                                                                    Reflects
                                                                                                    NuCO2
                                                                                                                     Attorney       communications
NuCO2_Priv              12/9/2015
             pdf                    Angie Baggett     John Templin                                                   Client/Work    regarding settlement
_972                    10:28
                                                                                                                     Product        concerning customer
                                                                                                                                    dispute.




                                                                      176
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 178 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             12/13/2015                                             affiliated
             MSG                    Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_973                   8:00                                                   company(ies)                       hold.


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             12/11/2015                                             affiliated
             MSG                    Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_974                   8:00                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             12/9/2015                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_975                   8:00                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             12/14/2015                                             affiliated
             MSG                    Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_976                   8:20                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             12/16/2015                                             affiliated
             MSG                    Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_977                   8:00                                                   company(ies)                       hold.



                                                                              Employee(s) of                     Reflects
                                                                                                                 communications
NuCO2_Priv             1/28/2019                                              NuCO2            Settlement
             MSG                    Jeffrey Desmond    Jeff Wilson                                               regarding settlement
_978                   11:02                                                                   Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.




                                                                      177
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 179 of
                                                          573



                                                                                                                                         Reflects
                                                                                                                                         communications
NuCO2_Priv              2/14/2019                                                                     Employee(s) of   Settlement
             MSG                    Jeffrey Desmond     Jeff Wilson                                                                      regarding settlement
_979                    10:21                                                                         NuCO2            Negotiations
                                                                                                                                         concerning customer
                                                                                                                                         dispute.
                                                                                                      Employee(s) of
                                                                                                                                         Reflects
                                                                                                      NuCO2
                                                                                                                                         communications
NuCO2_Priv              2/14/2019                                                                                      Settlement
             xlsx                   Jeffrey Desmond     Jeff Wilson                                                                      regarding settlement
_980                    10:21                                                                                          Negotiations
                                                                                                                                         concerning customer
                                                                                                                                         dispute.
                                                                                                      Employee(s) of                     Communications
                                                                                                      NuCO2                              regarding request
                                                                                                                       Attorney          for/provision of legal
NuCO2_Priv              6/24/2017
             MSG                    John-Paul Venanzi   Carla Loffredo                                                 Client/Work       advice/work product
_981                    6:22
                                                                                                                       Product           of counsel concerning
                                                                                                                                         negotiation/drafting of
                                                                                                                                         customer agreement.
                                                                                                      Employee(s) of                     Communications
                                                                                                      NuCO2                              regarding request
                                                                                                                       Attorney          for/provision of legal
NuCO2_Priv              6/24/2017
             docx                   John-Paul Venanzi   Carla Loffredo                                                 Client/Work       advice/work product
_982                    6:22
                                                                                                                       Product           of counsel concerning
                                                                                                                                         negotiation/drafting of
                                                                                                                                         customer agreement.
                                                                                                      Employee(s) of                     Communications
                                                                                                      NuCO2                              regarding request
                                                                                                                       Attorney          for/provision of legal
NuCO2_Priv              6/24/2017
             docx                   John-Paul Venanzi   Carla Loffredo                                                 Client/Work       advice/work product
_983                    6:22
                                                                                                                       Product           of counsel concerning
                                                                                                                                         negotiation/drafting of
                                                                                                                                         customer agreement.
                                                                                                      Employee(s) of
                                                                               Derek Burton; Randy    NuCO2                              Communications
NuCO2_Priv              12/6/2017                       John-Paul              Gold; Gerald Miller;                                      regarding need for
             MSG                    Mark Novak                                                                         Attorney Client
_984                    10:15                           Venanzi                Hank Moeller; John                                        guidance regarding
                                                                               Templin                                                   regulatory compliance.




                                                                         178
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 180 of
                                                         573


                                                                                                  Employee(s) of
                                                                           Derek Burton; Randy    NuCO2                              Communications
NuCO2_Priv             12/6/2017                       John-Paul           Gold; Gerald Miller;                                      regarding need for
             pdf                   Mark Novak                                                                      Attorney Client
_985                   10:15                           Venanzi             Hank Moeller; John                                        guidance regarding
                                                                           Templin                                                   regulatory compliance.

                                                                                                  Employee(s) of
                                                                           Derek Burton; Randy    NuCO2                              Communications
NuCO2_Priv             12/6/2017                       John-Paul           Gold; Gerald Miller;                                      regarding need for
             pdf                   Mark Novak                                                                      Attorney Client
_986                   10:15                           Venanzi             Hank Moeller; John                                        guidance regarding
                                                                           Templin                                                   regulatory compliance.

                                                                                                  Employee(s) of
                                                                           Derek Burton; Randy    NuCO2                              Communications
NuCO2_Priv             12/6/2017                       John-Paul           Gold; Gerald Miller;                                      regarding need for
             pdf                   Mark Novak                                                                      Attorney Client
_987                   10:15                           Venanzi             Hank Moeller; John                                        guidance regarding
                                                                           Templin                                                   regulatory compliance.

                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2                              regarding request
                                                                                                                   Attorney          for/provision of legal
NuCO2_Priv             6/23/2017                       Carla Loffredo;
             pdf                   John-Paul Venanzi                       John-Paul Venanzi                       Client/Work       advice/work product
_988                   16:27                           Nanette Caceres
                                                                                                                   Product           of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2                              regarding request
                                                                                                                   Attorney          for/provision of legal
NuCO2_Priv             6/23/2017                       Carla Loffredo;
             doc                   John-Paul Venanzi                       John-Paul Venanzi                       Client/Work       advice/work product
_989                   16:27                           Nanette Caceres
                                                                                                                   Product           of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.
                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2                              regarding request
                                                                                                                   Attorney          for/provision of legal
NuCO2_Priv             6/23/2017                       Carla Loffredo;
             MSG                   John-Paul Venanzi                       John-Paul Venanzi                       Client/Work       advice/work product
_990                   16:27                           Nanette Caceres
                                                                                                                   Product           of counsel concerning
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.



                                                                     179
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 181 of
                                                          573


                                                                                Employee(s) of
                                                                                NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv              12/10/2015                                              affiliated
             MSG                     Edward Balzarini    Kathy Waters                            Attorney Client   regarding litigation
_991                    8:00                                                    company(ies)                       hold.


                                                                                Employee(s) of
                                                                                NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv              12/17/2015                                              affiliated
             MSG                     Edward Balzarini    Kathy Waters                            Attorney Client   regarding litigation
_992                    8:00                                                    company(ies)                       hold.

                                                                                Employee(s) of
                                                                                                                   Reflects attorney
                                                                                NuCO2
                                                                                                 Attorney          Communications
NuCO2_Priv              1/10/2018
             xlsx                    John-Paul Venanzi   Carla Loffredo                          Client/Work       and/or attorney work
_993                    12:14
                                                                                                 Product           product regarding
                                                                                                                   acquisition.
                                                                                Employee(s) of
                                                                                                                   Reflects attorney
                                                                                NuCO2
                                                                                                 Attorney          Communications
NuCO2_Priv              1/10/2018
             xlsx                    John-Paul Venanzi   Carla Loffredo                          Client/Work       and/or attorney work
_994                    12:14
                                                                                                 Product           product regarding
                                                                                                                   acquisition.
                                                                                Employee(s) of
                                                                                                                   Reflects attorney
                                                                                NuCO2
                                                                                                 Attorney          Communications
NuCO2_Priv              1/10/2018
             pdf                     John-Paul Venanzi   Carla Loffredo                          Client/Work       and/or attorney work
_995                    12:14
                                                                                                 Product           product regarding
                                                                                                                   acquisition.
                                                                                Employee(s) of
                                                                                                                   Reflects attorney
                                                                                NuCO2
                                                                                                 Attorney          Communications
NuCO2_Priv              1/10/2018
             xls                     John-Paul Venanzi   Carla Loffredo                          Client/Work       and/or attorney work
_996                    12:14
                                                                                                 Product           product regarding
                                                                                                                   acquisition.




                                                                          180
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 182 of
                                                         573


                                                                                                 Employee(s) of
                                                                                                                                     Reflects attorney
                                                                                                 NuCO2
                                                                                                                   Attorney          Communications
NuCO2_Priv             1/10/2018
             MSG                    John-Paul Venanzi   Carla Loffredo                                             Client/Work       and/or attorney work
_997                   12:14
                                                                                                                   Product           product regarding
                                                                                                                                     acquisition.
                                                                                                 Employee(s) of
                                                                                                                                     Reflects attorney
                                                                                                 NuCO2
                                                                                                                   Attorney          Communications
NuCO2_Priv             1/10/2018                        Carla Loffredo;
             MSG                    John-Paul Venanzi                           Carey, Al                          Client/Work       and/or attorney work
_998                   12:46                            Eamma, David
                                                                                                                   Product           product regarding
                                                                                                                                     acquisition.
                                                                                                 Employee(s) of
                                                                                                                                     Reflects attorney
                                                                                                 NuCO2
                                                                                                                   Attorney          Communications
NuCO2_Priv             1/25/2018
             MSG                    John-Paul Venanzi   Carla Loffredo                                             Client/Work       and/or attorney work
_999                   10:11
                                                                                                                   Product           product regarding
                                                                                                                                     acquisition.
                                                                                                 Employee(s) of
                                                                                                                                     Reflects
                                                                                                 NuCO2
                                                                                                                                     communications
NuCO2_Priv             12/17/2015                                                                                  Settlement
             MSG                    Nate Freese         John Templin            Vince Giordano                                       regarding settlement
_1000                  16:19                                                                                       Negotiations
                                                                                                                                     concerning customer
                                                                                                                                     dispute.


                                                                                                  Employee(s) of
                                                                                                                                     Communication
NuCO2_Priv             12/20/2015                                                                NuCO2 and its
             MSG                    Edward Balzarini    Kathy Waters                                               Attorney Client   regarding litigation
_1001                  8:00                                                                      affiliated
                                                                                                                                     hold.
                                                                                                 company(ies)

                                                                                                 Employee(s) of                      Reflects
                                                                                                 NuCO2                               communications or
                                                                                                                   Attorney
NuCO2_Priv             12/6/2017                                                                                                     advice or work product
             MSG                    Matt Butcher        John Templin                                               Client/Work
_1002                  19:36                                                                                                         regarding
                                                                                                                   Product
                                                                                                                                     negotiation/drafting of
                                                                                                                                     customer agreement.




                                                                          181
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 183 of
                                                          573


                                                                               Employee(s) of                     Reflects
                                                                               NuCO2                              communications or
                                                                                                Attorney
NuCO2_Priv              12/6/2017                                                                                 advice or work product
             docx                    Matt Butcher       John Templin                            Client/Work
_1003                   19:36                                                                                     regarding
                                                                                                Product
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of                     Reflects
                                                                               NuCO2                              communications or
                                                                                                Attorney
NuCO2_Priv              12/6/2017                                                                                 advice or work product
             PDF                     Matt Butcher       John Templin                            Client/Work
_1004                   19:36                                                                                     regarding
                                                                                                Product
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv              12/15/2015                                             affiliated
             MSG                     Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_1005                   8:00                                                   company(ies)                       hold.



                                                                               Employee(s) of                     Communications
NuCO2_Priv              12/16/2015                                             NuCO2            Settlement        regarding strategy for
             MSG                     Lynn Hastings      John Templin
_1006                   15:24                                                                   Negotiations      settling customer
                                                                                                                  dispute.

                                                                               Employee(s) of
                                                                               NuCO2                              Communications
NuCO2_Priv              12/16/2015                                                                                regarding strategy for
             msg                     John Templin       John Templin                            Attorney Client
_1007                   15:24                                                                                     settling customer
                                                                                                                  dispute.

                                                                               Employee(s) of
                                                                               NuCO2                              Communications
NuCO2_Priv              12/16/2015                                                              Settlement        regarding strategy for
             xls                     Lynn Hastings      John Templin
_1008                   15:24                                                                   Negotiations      settling customer
                                                                                                                  dispute.




                                                                       182
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 184 of
                                                          573


                                                                                 Employee(s) of
                                                                                 NuCO2                           Communications
NuCO2_Priv              12/16/2015                                                                Settlement     regarding strategy for
             pdf                        John Templin      John Templin
_1009                   15:24                                                                     Negotiations   settling customer
                                                                                                                 dispute.

                                                                                 Employee(s) of                  Communications
                                                                                 NuCO2                           regarding request
                                                                                                  Attorney       for/provision of legal
NuCO2_Priv              12/14/2017
             MSG                        Matt Butcher      John Templin                            Client/Work    advice/work product
_1010                   14:49
                                                                                                  Product        of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                                 Employee(s) of                  Communications
                                                                                 NuCO2                           regarding request
                                                                                                  Attorney       for/provision of legal
NuCO2_Priv              12/14/2017
             docx                       Matt Butcher      John Templin                            Client/Work    advice/work product
_1011                   14:49
                                                                                                  Product        of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                                 Employee(s) of
                                                                                                                 Reflects
                                                                                 NuCO2
                                                                                                                 communications
NuCO2_Priv              12/17/2015                                                                Settlement
             MSG                        Vince Giordano    John Templin                                           regarding settlement
_1012                   9:28                                                                      Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                                 Employee(s) of
                                                                                                                 Reflects attorney
                                                                                 NuCO2
                                        Nanette Caceres                                           Attorney       Communications
NuCO2_Priv
             MSG        5/3/2017 9:32   on behalf of      Carla Loffredo                          Client/Work    and/or attorney work
_1013
                                        Contract Admin                                            Product        product regarding
                                                                                                                 acquisition.
                                                                                 Employee(s) of
                                                                                                                 Reflects attorney
                                                                                 NuCO2
                                        Nanette Caceres                                           Attorney       Communications
NuCO2_Priv
             pdf        5/3/2017 9:32   on behalf of      Carla Loffredo                          Client/Work    and/or attorney work
_1014
                                        Contract Admin                                            Product        product regarding
                                                                                                                 acquisition.




                                                                           183
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 185 of
                                                          573


                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              12/19/2017
             xlsx                    Matt Butcher   John Templin                                Client/Work       advice/work product
_1015                   6:00
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              12/19/2017
             docx                    Matt Butcher   John Templin                                Client/Work       advice/work product
_1016                   6:00
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of                     Communications
                                                                               NuCO2                              regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv              12/19/2017
             MSG                     Matt Butcher   John Templin                                Client/Work       advice/work product
_1017                   6:00
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                               Employee(s) of
                                                                                                                  Reflects
                                                                               NuCO2
                                                                                                                  communications or
NuCO2_Priv              12/21/2015
             MSG                     Peter Craig    John Templin                                Attorney Client   advice or work product
_1018                   16:02
                                                                                                                  regarding handling
                                                                                                                  customer disputes.
                                                                               Employee(s) of
                                                                                                                  Reflects
                                                                               NuCO2
                                                                                                                  communications or
NuCO2_Priv              12/21/2015
             xlsx                    Peter Craig    John Templin                                Attorney Client   advice or work product
_1019                   16:02
                                                                                                                  regarding handling
                                                                                                                  customer disputes.
                                                                               Employee(s) of
                                                                                                                  Reflects
                                                                               NuCO2
                                                                                                                  communications or
NuCO2_Priv              12/21/2015
             pdf                     Peter Craig    John Templin                                Attorney Client   advice or work product
_1020                   16:02
                                                                                                                  regarding handling
                                                                                                                  customer disputes.




                                                                   184
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 186 of
                                                          573


                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2
                                                                                                                   communications or
NuCO2_Priv              12/21/2015
             xlsm                    Peter Craig        John Templin                             Attorney Client   advice or work product
_1021                   16:02
                                                                                                                   regarding handling
                                                                                                                   customer disputes.


                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv              12/24/2015                                             NuCO2 and its
             MSG                     Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1022                   8:00                                                   affiliated
                                                                                                                   hold.
                                                                               company(ies)

                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv              12/29/2015                                             affiliated
             MSG                     Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1023                   8:00                                                   company(ies)                        hold.

                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv              12/23/2015                                             affiliated
             MSG                     Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1024                   8:00                                                   company(ies)                        hold.

                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv              12/21/2015                                             affiliated
             MSG                     Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1025                   8:22                                                   company(ies)                        hold.

                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv              12/18/2015                                             affiliated
             MSG                     Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1026                   8:00                                                   company(ies)                        hold.




                                                                       185
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 187 of
                                                          573


                                                                                Employee(s) of
                                                                                NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv              12/27/2015                                              affiliated
             MSG                        Edward Balzarini   Kathy Waters                          Attorney Client   regarding litigation
_1027                   8:00                                                    company(ies)                       hold.


                                                                                Employee(s) of
                                                                                NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv              12/30/2015                                              affiliated
             MSG                        Edward Balzarini   Kathy Waters                          Attorney Client   regarding litigation
_1028                   8:00                                                    company(ies)                       hold.

                                                                                Employee(s) of                     Communications
                                                                                NuCO2                              regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              12/21/2015                         Liz Fisher; John
             MSG                        Jeff Wilson                                              Client/Work       advice/work product
_1029                   11:43                              Templin
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                                Employee(s) of                     Communications
                                                                                NuCO2                              regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              12/21/2015                         Liz Fisher; John
             docx                       Jeff Wilson                                              Client/Work       advice/work product
_1030                   11:43                              Templin
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                                Employee(s) of                     Communications
                                                                                NuCO2                              regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              12/21/2015                         Liz Fisher; John
             pdf                        Jeff Wilson                                              Client/Work       advice/work product
_1031                   11:43                              Templin
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                                Employee(s) of
                                                                                NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv                                                                      affiliated
             MSG        1/4/2016 8:20   Edward Balzarini   Kathy Waters                          Attorney Client   regarding litigation
_1032                                                                           company(ies)                       hold.




                                                                          186
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 188 of
                                                          573


                                                                                Employee(s) of
                                                                                NuCO2 and its
                                                                                                                    Communication
NuCO2_Priv              12/22/2015                                              affiliated
             MSG                        Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1033                   8:00                                                    company(ies)                        hold.



                                                                                Employee(s) of                      Reflects
                                                                                                                    communications
NuCO2_Priv              12/28/2017                                              NuCO2             Settlement
             MSG                        Matt Butcher       John Templin                                             regarding settlement
_1034                   16:08                                                                     Negotiations
                                                                                                                    concerning customer
                                                                                                                    dispute.


                                                                                 Employee(s) of
                                                                                                                    Communication
NuCO2_Priv                                                                      NuCO2 and its
             MSG        1/3/2016 8:00   Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1035                                                                           affiliated
                                                                                                                    hold.
                                                                                company(ies)


                                                                                Employee(s) of                      Reflects attorney
                                                                                                  Attorney
NuCO2_Priv              1/5/2016                           Vince Giordano;      NuCO2                               Communicationss/or
             xlsx                       Nanette Caceres                                           Client/Work
_1036                   10:55                              John Templin                                             attorney work product
                                                                                                  Product
                                                                                                                    regarding legal matters.


                                                                                 Employee(s) of
                                                                                                                    Communication
NuCO2_Priv              1/11/2016                                               NuCO2 and its
             MSG                        Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1037                   8:20                                                    affiliated
                                                                                                                    hold.
                                                                                company(ies)


                                                                                Employee(s) of                      Reflects
                                                                                                                    communications
NuCO2_Priv              1/7/2016                           Nate Freese;         NuCO2             Settlement
             MSG                        Justina Connelly                                                            regarding settlement
_1038                   13:36                              John Templin                           Negotiations
                                                                                                                    concerning customer
                                                                                                                    dispute.




                                                                          187
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 189 of
                                                          573


                                                                                                                                      Communications
                                                                                                  Employee(s) of                      regarding request
                                                                                                                                      for/provision of legal
NuCO2_Priv              1/15/2018                                                                 NuCO2
             MSG                        Nate Freese        John Templin                                             Attorney Client   advice/work product
_1039                   12:50
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                  Employee(s) of                      Communications
                                                                                                  NuCO2                               regarding request
                                                                                                                                      for/provision of legal
NuCO2_Priv              1/15/2018
             jpg                        Nate Freese        John Templin                                             Attorney Client   advice/work product
_1040                   12:50
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                  Employee(s) of                      Reflects need
                                                           Field Account                          NuCO2                               for/provision of legal
                                                           Coordinators;                                            Attorney          advice regarding
NuCO2_Priv              1/8/2016
             xlsx                       Justina Connelly   Sondra Meyer;                                            Client/Work       negotiation/drafting of
_1041                   12:35
                                                           Bridget Correa;                                          Product           customer
                                                           Brent Fairchild                                                            agreements/other
                                                                                                                                      issues.

                                                                                                   Employee(s) of
                                                                                                                                      Communication
NuCO2_Priv                                                                                        NuCO2 and its
             MSG        1/1/2016 8:25   Edward Balzarini   Kathy Waters                                             Attorney Client   regarding litigation
_1042                                                                                             affiliated
                                                                                                                                      hold.
                                                                                                  company(ies)

                                                                                                                                      Reflects need
                                                                                                  Employee(s) of                      for/provision of legal
                                                                                                                    Attorney          advice regarding
NuCO2_Priv              1/11/2016                                                                 NuCO2
             xlsx                       Justina Connelly   Damarie Cortez          John Templin                     Client/Work       negotiation/drafting of
_1043                   13:01
                                                                                                                    Product           customer
                                                                                                                                      agreements/other
                                                                                                                                      issues.

                                                                                                  Employee(s) of                      Communications
NuCO2_Priv                                                                                        NuCO2             Settlement        regarding strategy for
             xls        1/3/2018 5:31   Nate Freese        John Templin
_1044                                                                                                               Negotiations      settling customer
                                                                                                                                      dispute.



                                                                             188
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 190 of
                                                          573



                                                                                                        Employee(s) of                     Communications
NuCO2_Priv                                                                                              NuCO2            Settlement        regarding strategy for
             MSG        1/3/2018 5:31   Nate Freese        John Templin
_1045                                                                                                                    Negotiations      settling customer
                                                                                                                                           dispute.

                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                           Communication
NuCO2_Priv                                                                                              affiliated
             MSG        1/6/2016 8:00   Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1046                                                                                                   company(ies)                       hold.

                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                           Communication
NuCO2_Priv                                                                                              affiliated
             MSG        1/7/2016 8:00   Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1047                                                                                                   company(ies)                       hold.

                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                           Communication
NuCO2_Priv                                                                                              affiliated
             MSG        1/8/2016 8:00   Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1048                                                                                                   company(ies)                       hold.



                                                                                                        Employee(s) of                     Reflects
                                                                                                                                           communications
NuCO2_Priv              1/14/2016                          Nate Freese;                                 NuCO2            Settlement
             MSG                        Justina Connelly                                                                                   regarding settlement
_1049                   8:09                               John Templin                                                  Negotiations
                                                                                                                                           concerning customer
                                                                                                                                           dispute.
                                                                                                                                           Reflects need
                                                           Toyanna Platt;
                                                                                                        Employee(s) of                     for/provision of legal
                                                           Heather              Russell Vicari; Randy
                                                                                                                         Attorney          advice regarding
NuCO2_Priv              1/6/2016                           Lindbom; Justina     Gold; Mike Kleimeyer;   NuCO2
             xlsx                       Damarie Cortez                                                                   Client/Work       negotiation/drafting of
_1050                   14:54                              Connelly;            Vince Giordano; John
                                                                                                                         Product           customer
                                                           Douglas Caputo;      Templin
                                                                                                                                           agreements/other
                                                           Sandy Johnson
                                                                                                                                           issues.




                                                                          189
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 191 of
                                                         573


                                                                                                                 Reflects attorney
                                                                              Employee(s) of                     Communicationss/or
                                                                                               Attorney          attorney work product
NuCO2_Priv             1/15/2016                                              NuCO2
             pdf                   Vince Giordano     John Templin                             Client/Work       regarding insurance
_1051                  11:40
                                                                                               Product           and legal matters and
                                                                                                                 acquisition and and
                                                                                                                 safety.
                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             1/14/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1052                  8:00                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             1/21/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1053                  8:00                                                   company(ies)                       hold.


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             1/13/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1054                  8:00                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             1/20/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1055                  8:00                                                   company(ies)                       hold.


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             1/19/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1056                  8:00                                                   company(ies)                       hold.




                                                                     190
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 192 of
                                                          573



                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv              1/22/2016                                              NuCO2 and its
             MSG                    Edward Balzarini   Kathy Waters                              Attorney Client   regarding litigation
_1057                   8:00                                                   affiliated
                                                                                                                   hold.
                                                                               company(ies)

                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2
                                                                                                                   communications
NuCO2_Priv              1/16/2018                                                                Settlement
             MSG                    Ronald Thermil     John Templin                                                regarding settlement
_1058                   11:07                                                                    Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.
                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2
                                                                                                                   communications
NuCO2_Priv              1/16/2018                                                                Settlement
             pdf                    Ronald Thermil     John Templin                                                regarding settlement
_1059                   11:07                                                                    Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.
                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2
                                                                                                                   communications
NuCO2_Priv              1/16/2018                                                                Settlement
             tif                    Ronald Thermil     John Templin                                                regarding settlement
_1060                   11:07                                                                    Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.
                                                                               Employee(s) of                      Reflects need
                                                       Field Account           NuCO2                               for/provision of legal
                                                       Coordinators;                             Attorney          advice regarding
NuCO2_Priv              1/25/2016
             xlsx                   Justina Connelly   Chain and                                 Client/Work       negotiation/drafting of
_1061                   7:10
                                                       Prestige;                                 Product           customer
                                                       Cancellations                                               agreements/other
                                                                                                                   issues.

                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv              1/23/2016                                              NuCO2 and its
             MSG                    Edward Balzarini   Kathy Waters                              Attorney Client   regarding litigation
_1062                   8:00                                                   affiliated
                                                                                                                   hold.
                                                                               company(ies)




                                                                       191
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 193 of
                                                         573



                                                                                                Employee(s) of
                                                                                                                                   Communication
NuCO2_Priv             1/16/2016                                                               NuCO2 and its
             MSG                   Edward Balzarini   Kathy Waters                                               Attorney Client   regarding litigation
_1063                  8:00                                                                    affiliated
                                                                                                                                   hold.
                                                                                               company(ies)


                                                                                               Employee(s) of                      Reflects
                                                                                                                                   communications
NuCO2_Priv             1/16/2016                                                               NuCO2             Settlement
             MSG                   Gerald Miller      John Templin                                                                 regarding settlement
_1064                  9:45                                                                                      Negotiations
                                                                                                                                   concerning customer
                                                                                                                                   dispute.
                                                                                               Employee(s) of
                                                                                               NuCO2                               Communications
                                                      Hank Moeller;
NuCO2_Priv             2/7/2018                                             Mark Novak; John                                       providing guidance
             MSG                   Kym Cherubini      Michelle                                                   Attorney Client
_1065                  13:07                                                Templin                                                regarding regulatory
                                                      Stephenson
                                                                                                                                   compliance.

                                                                                               Employee(s) of                      Communications
                                                                                               NuCO2                               regarding need
                                                                                                                                   for/provision of
                                                                                                                                   information regarding
NuCO2_Priv             2/8/2018                                                                                                    customer
             MSG                   Bridget Correa     John Templin                                               Attorney Client
_1066                  15:28                                                                                                       account/dispute in
                                                                                                                                   order to facilitate
                                                                                                                                   provision of legal
                                                                                                                                   advice/services
                                                                                                                                   concerning the same.
                                                                                               Employee(s) of                      Communications
                                                                                               NuCO2                               regarding need
                                                                                                                                   for/provision of
                                                                                                                                   information regarding
NuCO2_Priv             2/8/2018                                                                                                    customer
             pdf                   Bridget Correa     John Templin                                               Attorney Client
_1067                  15:28                                                                                                       account/dispute in
                                                                                                                                   order to facilitate
                                                                                                                                   provision of legal
                                                                                                                                   advice/services
                                                                                                                                   concerning the same.




                                                                      192
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 194 of
                                                          573


                                                                                                                                       Communications
                                                                                                                                       regarding need
                                                                                                                                       for/provision of
                                                                                                    Employee(s) of                     information regarding
NuCO2_Priv              2/8/2018                                                                    NuCO2                              customer
             pdf                    Bridget Correa     John Templin                                                  Attorney Client
_1068                   15:28                                                                                                          account/dispute in
                                                                                                                                       order to facilitate
                                                                                                                                       provision of legal
                                                                                                                                       advice/services
                                                                                                                                       concerning the same.
                                                                                                    Employee(s) of
                                                                                                    NuCO2 and its
                                                                                                                                       Communication
NuCO2_Priv              1/25/2016                                                                   affiliated
             MSG                    Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1069                   8:22                                                                        company(ies)                       hold.

                                                                                                    Employee(s) of
                                                                                                    NuCO2 and its
                                                                                                                                       Communication
NuCO2_Priv              1/26/2016                                                                   affiliated
             MSG                    Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1070                   8:00                                                                        company(ies)                       hold.


                                                                                                    Employee(s) of                     Reflects need
                                                       Toyanna Platt;
                                                                                                    NuCO2                              for/provision of legal
                                                       Heather              Russell Vicari; Randy
                                                                                                                     Attorney          advice regarding
NuCO2_Priv              1/22/2016                      Lindbom; Justina     Gold; Mike Kleimeyer;
             xlsx                   Damarie Cortez                                                                   Client/Work       negotiation/drafting of
_1071                   15:09                          Connelly;            Vince Giordano; John
                                                                                                                     Product           customer
                                                       Douglas Caputo;      Templin
                                                                                                                                       agreements/other
                                                       Sandy Johnson
                                                                                                                                       issues.
                                                                                                    Employee(s) of
                                                                                                                                       Reflects
                                                                                                    NuCO2
                                                                                                                                       communications
NuCO2_Priv              1/22/2016                      Nate Freese;                                                  Settlement
             MSG                    Justina Connelly                                                                                   regarding settlement
_1072                   12:17                          John Templin                                                  Negotiations
                                                                                                                                       concerning customer
                                                                                                                                       dispute.




                                                                      193
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 195 of
                                                         573


                                                                                              Employee(s) of
                                                                                              NuCO2 and its
                                                                                                                                 Communications
NuCO2_Priv             1/28/2016                                                              affiliated
             pdf                       Markatos, David    John Templin                                         Attorney Client   regarding customer
_1073                  11:59                                                                  company(ies)                       dispute.


                                                                                              Employee(s) of
                                                                                              NuCO2 and its
                                                                                                                                 Communications
NuCO2_Priv             1/28/2016                                                              affiliated
             MSG                       Markatos, David    John Templin                                         Attorney Client   regarding customer
_1074                  11:59                                                                  company(ies)                       dispute.

                                                                                              Employee(s) of
                                                                                                                                 Reflects
                                                                                              NuCO2
                                                                                                                                 communications
NuCO2_Priv             1/22/2016                                                                               Settlement
             MSG                       Nate Freese        Justina Connelly     John Templin                                      regarding settlement
_1075                  12:25                                                                                   Negotiations
                                                                                                                                 concerning customer
                                                                                                                                 dispute.
                                                                                              Employee(s) of
                                                                                                                                 Reflects
                                                                                              NuCO2
                                                                                                                                 communications
NuCO2_Priv             1/22/2016                                                                               Settlement
             png                       Nate Freese        Justina Connelly     John Templin                                      regarding settlement
_1076                  12:25                                                                                   Negotiations
                                                                                                                                 concerning customer
                                                                                                                                 dispute.
                                                                                              Employee(s) of
                                                                                              NuCO2 and its
                                                                                                                                 Communication
NuCO2_Priv             1/28/2016                                                              affiliated
             MSG                       Edward Balzarini   Kathy Waters                                         Attorney Client   regarding litigation
_1077                  8:00                                                                   company(ies)                       hold.

                                                                                              Employee(s) of
                                                                                                                                 Reflects need
                                                                                              NuCO2
                                                                                                                                 for/provision of legal
NuCO2_Priv
             MSG       2/7/2018 8:13   Ronald Thermil     John Templin                                         Attorney Client   advice regarding
_1078
                                                                                                                                 customer
                                                                                                                                 account/dispute.




                                                                         194
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 196 of
                                                         573


                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv
             xls       2/7/2018 8:13   Ronald Thermil   John Templin                           Attorney Client   advice regarding
_1079
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv
             pdf       2/7/2018 8:13   Ronald Thermil   John Templin                           Attorney Client   advice regarding
_1080
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv
             xls       2/7/2018 8:13   Ronald Thermil   John Templin                           Attorney Client   advice regarding
_1081
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv
             pdf       2/7/2018 8:13   Ronald Thermil   John Templin                           Attorney Client   advice regarding
_1082
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                                                 for/provision of
                                                                                                                 information regarding
NuCO2_Priv                                                                                                       customer
             MSG       2/7/2018 7:42   Bridget Correa   John Templin                           Attorney Client
_1083                                                                                                            account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of   Attorney Client   Communications
                                                                              NuCO2                              regarding need
NuCO2_Priv                                                                                                       for/provision of
             xls       2/7/2018 7:42   Bridget Correa   John Templin
_1084                                                                                                            information regarding
                                                                                                                 customer
                                                                                                                 account/dispute in

                                                                       195
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 197 of
                                                          573


                                                                                                                                        order to facilitate
                                                                                                                                        provision of legal
                                                                                                                                        advice/services
                                                                                                                                        concerning the same.


                                                                                                    Employee(s) of    Attorney
                                                                                                    NuCO2             Client/Work
                                                                                                                                        Communications
NuCO2_Priv              1/26/2016                      Kyle Brown;                                                    Product
             MSG                    Lynn Hastings                                                                                       regarding customer
_1085                   12:14                          John Templin
                                                                                                                                        dispute.

                                                                                                    Employee(s) of    Attorney
                                                                                                    NuCO2             Client/Work
                                                                                                                                        Communications
NuCO2_Priv              1/26/2016                      Kyle Brown;                                                    Product
             pdf                    Lynn Hastings                                                                                       regarding customer
_1086                   12:14                          John Templin
                                                                                                                                        dispute.

                                                                                                    Employee(s) of    Attorney
                                                                                                    NuCO2             Client/Work
                                                                                                                                        Communications
NuCO2_Priv              1/26/2016                      Kyle Brown;                                                    Product
             pdf                    Lynn Hastings                                                                                       regarding customer
_1087                   12:14                          John Templin
                                                                                                                                        dispute.

                                                       Toyanna Platt;                               Employee(s) of    Attorney          Reflects need
                                                       Heather                                      NuCO2             Client/Work       for/provision of legal
                                                       Lindbom; Justina     Russell Vicari; Randy                     Product           advice regarding
NuCO2_Priv              1/29/2016
             xlsx                   Damarie Cortez     Connelly;            Gold; Vince Giordano;                                       negotiation/drafting of
_1088                   15:53
                                                       Douglas Caputo;      John Templin                                                customer
                                                       Sandy Johnson;                                                                   agreements/other
                                                       Sales Managers                                                                   issues.

                                                                                                     Employee(s) of
                                                                                                                                        Communication
NuCO2_Priv              1/27/2016                                                                   NuCO2 and its
             MSG                    Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_1089                   8:00                                                                        affiliated
                                                                                                                                        hold.
                                                                                                    company(ies)




                                                                      196
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 198 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2                           Communications
NuCO2_Priv                                                                                     Settlement     regarding strategy for
             MSG       2/3/2016 9:18   Lynn Hastings   John Templin
_1090                                                                                          Negotiations   settling customer
                                                                                                              dispute.

                                                                              Employee(s) of
                                                                              NuCO2                           Communications
NuCO2_Priv                                                                                     Settlement     regarding strategy for
             pdf       2/3/2016 9:18   Lynn Hastings   John Templin
_1091                                                                                          Negotiations   settling customer
                                                                                                              dispute.

                                                                              Employee(s) of
                                                                              NuCO2                           Communications
NuCO2_Priv                                                                                     Settlement     regarding strategy for
             htm       2/3/2016 9:18   Lynn Hastings   John Templin
_1092                                                                                          Negotiations   settling customer
                                                                                                              dispute.

                                                                              Employee(s) of
                                                                              NuCO2                           Communications
NuCO2_Priv                                                                                     Settlement     regarding strategy for
             msg       2/3/2016 9:18   John Templin    Justina Connelly
_1093                                                                                          Negotiations   settling customer
                                                                                                              dispute.

                                                                              Employee(s) of
                                                                              NuCO2                           Communications
NuCO2_Priv                                                                                     Settlement     regarding strategy for
             pdf       2/3/2016 9:18   John Templin    John Templin
_1094                                                                                          Negotiations   settling customer
                                                                                                              dispute.

                                                                              Employee(s) of
                                                                              NuCO2                           Communications
NuCO2_Priv                                                                                     Settlement     regarding strategy for
             htm       2/3/2016 9:18   John Templin    John Templin
_1095                                                                                          Negotiations   settling customer
                                                                                                              dispute.




                                                                      197
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 199 of
                                                         573


                                                                                            Employee(s) of
                                                                                                                            Reflects
                                                                                            NuCO2
                                                                                                                            communications
NuCO2_Priv             1/26/2016                                                                             Settlement
             MSG                   Vince Giordano    John Templin                                                           regarding settlement
_1096                  6:36                                                                                  Negotiations
                                                                                                                            concerning customer
                                                                                                                            dispute.
                                                                                            Employee(s) of
                                                                                                                            Reflects
                                                                                            NuCO2
                                                                                                                            communications
NuCO2_Priv             1/26/2016                                                                             Settlement
             png                   Vince Giordano    John Templin                                                           regarding settlement
_1097                  6:36                                                                                  Negotiations
                                                                                                                            concerning customer
                                                                                                                            dispute.
                                                                                            Employee(s) of
                                                                                                                            Reflects
                                                                                            NuCO2
                                                                                                                            communications
NuCO2_Priv             1/26/2016                                                                             Settlement
             MSG                   Nate Freese       Justina Connelly     John Templin                                      regarding settlement
_1098                  6:40                                                                                  Negotiations
                                                                                                                            concerning customer
                                                                                                                            dispute.
                                                                                            Employee(s) of
                                                                                                                            Reflects
                                                                                            NuCO2
                                                                                                                            communicationss/wor
NuCO2_Priv             2/23/2018                                                                             Settlement
             MSG                   Rodney Husbands   John Templin         Brian D. Potter                                   k product regarding
_1099                  12:21                                                                                 Negotiations
                                                                                                                            settlement of customer
                                                                                                                            disputes.
                                                                                            Employee(s) of
                                                                                                                            Reflects
                                                                                            NuCO2
                                                                                                                            communicationss/wor
NuCO2_Priv             2/21/2018                                                                             Settlement
             MSG                   Rodney Husbands   John Templin                                                           k product regarding
_1100                  17:32                                                                                 Negotiations
                                                                                                                            settlement of customer
                                                                                                                            disputes.
                                                                                            Employee(s) of
                                                                                                                            Reflects
                                                                                            NuCO2
                                                                                                                            communicationss/wor
NuCO2_Priv             2/21/2018                                                                             Settlement
             png                   Rodney Husbands   John Templin                                                           k product regarding
_1101                  17:32                                                                                 Negotiations
                                                                                                                            settlement of customer
                                                                                                                            disputes.




                                                                    198
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 200 of
                                                          573


                                                                                  Employee(s) of                     Reflects need
                                                           Field Account          NuCO2                              for/provision of legal
                                                           Coordinators;                           Attorney          advice regarding
NuCO2_Priv              1/27/2016
             xlsx                       Justina Connelly   Cancellations;                          Client/Work       negotiation/drafting of
_1102                   8:56
                                                           Chain and                               Product           customer
                                                           Prestige                                                  agreements/other
                                                                                                                     issues.
                                                                                  Employee(s) of
                                                                                  NuCO2 and its
                                                                                                                     Communication
NuCO2_Priv                                                                        affiliated
             MSG        2/1/2016 8:29   Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_1103                                                                             company(ies)                       hold.

                                                                                  Employee(s) of
                                                                                  NuCO2 and its
                                                                                                                     Communication
NuCO2_Priv                                                                        affiliated
             MSG        2/4/2016 8:00   Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_1104                                                                             company(ies)                       hold.


                                                                                  Employee(s) of
                                                                                  NuCO2 and its
                                                                                                                     Communication
NuCO2_Priv              1/29/2016                                                 affiliated
             MSG                        Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_1105                   8:00                                                      company(ies)                       hold.

                                                                                  Employee(s) of
                                                                                  NuCO2 and its
                                                                                                                     Communication
NuCO2_Priv                                                                        affiliated
             MSG        2/6/2016 8:00   Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_1106                                                                             company(ies)                       hold.


                                                                                  Employee(s) of
                                                                                  NuCO2
                                                                                                                     Communications
NuCO2_Priv              1/28/2016
             pdf                        Vince Giordano     John Templin                            Attorney Client   regarding customer
_1107                   15:12
                                                                                                                     dispute.




                                                                            199
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 201 of
                                                         573


                                                                               Employee(s) of
                                                                               NuCO2
                                                                                                                   Communications
NuCO2_Priv             1/28/2016
             MSG                       Vince Giordano     John Templin                           Attorney Client   regarding customer
_1108                  15:12
                                                                                                                   dispute.



                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv                                                                     NuCO2 and its
             MSG       2/3/2016 8:00   Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1109                                                                          affiliated
                                                                                                                   hold.
                                                                               company(ies)


                                                                               Employee(s) of                      Communications
NuCO2_Priv             2/23/2018                                               NuCO2             Settlement        regarding strategy for
             MSG                       Nate Freese        John Templin
_1110                  13:43                                                                     Negotiations      settling customer
                                                                                                                   dispute.


                                                                               Employee(s) of                      Communications
NuCO2_Priv             2/23/2018                                               NuCO2             Settlement        regarding strategy for
             pdf                       Nate Freese        John Templin
_1111                  13:43                                                                     Negotiations      settling customer
                                                                                                                   dispute.


                                                                               Employee(s) of                      Communications
NuCO2_Priv             2/23/2018                                               NuCO2             Settlement        regarding strategy for
             pdf                       Nate Freese        John Templin
_1112                  13:43                                                                     Negotiations      settling customer
                                                                                                                   dispute.

                                                                               Employee(s) of
                                                                               NuCO2                               Communications
NuCO2_Priv             2/23/2018                                                                 Settlement        regarding strategy for
             xls                       Nate Freese        John Templin
_1113                  13:43                                                                     Negotiations      settling customer
                                                                                                                   dispute.




                                                                         200
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 202 of
                                                         573


                                                                               Employee(s) of
                                                                               NuCO2                               Communications
NuCO2_Priv             2/23/2018                                                                 Settlement        regarding strategy for
             pdf                       Nate Freese        John Templin
_1114                  13:43                                                                     Negotiations      settling customer
                                                                                                                   dispute.

                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2
                                                                                                                   communications
NuCO2_Priv             2/23/2018                                                                 Settlement
             msg                       Matt Butcher       Nate Freese                                              regarding settlement
_1115                  13:43                                                                     Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.


                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv                                                                     NuCO2 and its
             MSG       2/5/2016 8:00   Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1116                                                                          affiliated
                                                                                                                   hold.
                                                                               company(ies)

                                                                                                                   Reflects need
                                                                               Employee(s) of                      for/provision of legal
NuCO2_Priv                                                                     NuCO2             Settlement        advice regarding
             MSG       2/3/2016 9:25   Lynn Hastings      John Templin
_1117                                                                                            Negotiations      strategy concerning
                                                                                                                   settling customer
                                                                                                                   disputes.

                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv             2/10/2016                                               NuCO2 and its
             MSG                       Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1118                  8:00                                                    affiliated
                                                                                                                   hold.
                                                                               company(ies)

                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv                                                                     affiliated
             MSG       2/9/2016 8:00   Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1119                                                                          company(ies)                        hold.




                                                                         201
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 203 of
                                                         573


                                                                                               Employee(s) of
                                                                                               NuCO2 and its
                                                                                                                                   Communication
NuCO2_Priv                                                                                     affiliated
             MSG       2/8/2016 8:23   Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_1120                                                                                          company(ies)                        hold.


                                                                                                                                   Communications
                                                                                               Employee(s) of                      regarding request
                                                                                                                                   for/provision of legal
NuCO2_Priv             2/27/2018                                                               NuCO2
             MSG                       Ronald Thermil     Angie Baggett         John Templin                     Attorney Client   advice/work product
_1121                  6:30
                                                                                                                                   of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.

                                                                                                Employee(s) of
                                                                                                                                   Communication
NuCO2_Priv             2/17/2016                                                               NuCO2 and its
             MSG                       Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_1122                  8:00                                                                    affiliated
                                                                                                                                   hold.
                                                                                               company(ies)

                                                                                                                                   Communications
                                                                                               Employee(s) of                      regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv             2/23/2018                          John Templin;                        NuCO2
             MSG                       Angie Baggett                                                             Client/Work       advice/work product
_1123                  10:16                              Ronald Thermil
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                               Employee(s) of                      Communications
                                                                                               NuCO2                               regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv             2/23/2018                          John Templin;
             pdf                       Angie Baggett                                                             Client/Work       advice/work product
_1124                  10:16                              Ronald Thermil
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                               Employee(s) of                      Communications
                                                                                               NuCO2                               regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv             2/23/2018                          John Templin;
             pdf                       Angie Baggett                                                             Client/Work       advice/work product
_1125                  10:16                              Ronald Thermil
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.


                                                                          202
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 204 of
                                                          573


                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2                              regarding request
                                                                                                               Attorney          for/provision of legal
NuCO2_Priv              2/23/2018                      John Templin;
             xlsx                   Angie Baggett                                                              Client/Work       advice/work product
_1126                   10:16                          Ronald Thermil
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                              Employee(s) of
                                                                                              NuCO2                              Communications
                                                                                                               Attorney
NuCO2_Priv              2/21/2018                                                                                                regarding strategy for
             MSG                    Rodney Husbands    John Templin         Brian D. Potter                    Client/Work
_1127                   11:14                                                                                                    settling customer
                                                                                                               Product
                                                                                                                                 dispute.

                                                                                              Employee(s) of
                                                                                              NuCO2                              Communications
                                                                                                               Attorney
NuCO2_Priv              2/21/2018                                                                                                regarding strategy for
             pdf                    Rodney Husbands    John Templin         Brian D. Potter                    Client/Work
_1128                   11:14                                                                                                    settling customer
                                                                                                               Product
                                                                                                                                 dispute.

                                                                                              Employee(s) of
                                                                                              NuCO2                              Communications
                                                                                                               Attorney
NuCO2_Priv              2/21/2018                                                                                                regarding strategy for
             pdf                    Rodney Husbands    John Templin         Brian D. Potter                    Client/Work
_1129                   11:14                                                                                                    settling customer
                                                                                                               Product
                                                                                                                                 dispute.

                                                                                              Employee(s) of
                                                                                              NuCO2                              Communications
                                                                                                               Attorney
NuCO2_Priv              2/21/2018                                                                                                regarding strategy for
             xlsx                   Rodney Husbands    John Templin         Brian D. Potter                    Client/Work
_1130                   11:14                                                                                                    settling customer
                                                                                                               Product
                                                                                                                                 dispute.

                                                                                              Employee(s) of
                                                                                              NuCO2 and its
                                                                                                                                 Communication
NuCO2_Priv              2/15/2016                                                             affiliated
             MSG                    Edward Balzarini   Kathy Waters                                            Attorney Client   regarding litigation
_1131                   8:24                                                                  company(ies)                       hold.




                                                                      203
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 205 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             2/11/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1132                  8:00                                                   company(ies)                       hold.


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             2/13/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1133                  8:00                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             2/18/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1134                  8:00                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             2/22/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1135                  8:24                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             2/19/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1136                  8:00                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             2/20/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1137                  8:00                                                   company(ies)                       hold.




                                                                     204
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 206 of
                                                          573


                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                           Communication
NuCO2_Priv              2/12/2016                                                                       affiliated
             MSG                        Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1138                   8:00                                                                            company(ies)                       hold.


                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                           Communication
NuCO2_Priv              2/16/2016                                                                       affiliated
             MSG                        Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1139                   8:00                                                                            company(ies)                       hold.

                                                                                                        Employee(s) of                     Reflects need
                                                           Toyanna Platt;
                                                                                                        NuCO2                              for/provision of legal
                                                           Heather              Russell Vicari; Randy
                                                                                                                         Attorney          advice regarding
NuCO2_Priv              2/23/2016                          Lindbom; Justina     Gold; Mike Kleimeyer;
             xlsx                       Damarie Cortez                                                                   Client/Work       negotiation/drafting of
_1140                   9:59                               Connelly;            Vince Giordano; John
                                                                                                                         Product           customer
                                                           Douglas Caputo;      Templin
                                                                                                                                           agreements/other
                                                           Sandy Johnson
                                                                                                                                           issues.
                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                           Communication
NuCO2_Priv              2/26/2016                                                                       affiliated
             MSG                        Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1141                   8:00                                                                            company(ies)                       hold.

                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                           Communication
NuCO2_Priv                                                                                              affiliated
             MSG        3/2/2016 8:00   Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1142                                                                                                   company(ies)                       hold.


                                                                                                        Employee(s) of                     Communications
                                                                                                        NuCO2                              regarding request
                                                                                                                         Attorney          for/provision of legal
NuCO2_Priv              3/28/2018
             MSG                        Nate Freese        John Templin                                                  Client/Work       advice/work product
_1143                   14:48
                                                                                                                         Product           of counsel concerning
                                                                                                                                           negotiation/drafting of
                                                                                                                                           customer agreement.




                                                                          205
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 207 of
                                                          573


                                                                                           Employee(s) of                     Communications
                                                                                           NuCO2                              regarding request
                                                                                                            Attorney          for/provision of legal
NuCO2_Priv              3/28/2018
             pdf                    Nate Freese        John Templin                                         Client/Work       advice/work product
_1144                   14:48
                                                                                                            Product           of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                           Employee(s) of
                                                                                                                              Reflects
                                                                                           NuCO2
                                                                                                                              communications
NuCO2_Priv              3/4/2016                                                                            Settlement
             MSG                    Sondra Meyer       John Templin                                                           regarding settlement
_1145                   15:39                                                                               Negotiations
                                                                                                                              concerning customer
                                                                                                                              dispute.
                                                                                           Employee(s) of                     Reflects need
                                                                                           NuCO2                              for/provision of legal
                                                                                                            Attorney          advice regarding
NuCO2_Priv              2/26/2016
             xlsx                   Justina Connelly   James Taylor         John Templin                    Client/Work       negotiation/drafting of
_1146                   9:08
                                                                                                            Product           customer
                                                                                                                              agreements/other
                                                                                                                              issues.
                                                                                           Employee(s) of
                                                                                                                              Reflects need
                                                                                           NuCO2
                                                                                                                              for/provision of legal
NuCO2_Priv              3/6/2016
             pdf                    Sondra Meyer       John Templin                                         Attorney Client   advice regarding
_1147                   14:32
                                                                                                                              customer
                                                                                                                              account/dispute.
                                                                                           Employee(s) of                     Communications
                                                                                           NuCO2                              regarding request
                                                                                                            Attorney          for/provision of legal
NuCO2_Priv              3/28/2018
             MSG                    Nate Freese        John Templin                                         Client/Work       advice/work product
_1148                   15:04
                                                                                                            Product           of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                           Employee(s) of
                                                                                           NuCO2 and its
                                                                                                                              Communication
NuCO2_Priv              2/29/2016                                                          affiliated
             MSG                    Edward Balzarini   Kathy Waters                                         Attorney Client   regarding litigation
_1149                   8:26                                                               company(ies)                       hold.




                                                                      206
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 208 of
                                                          573


                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                            Communication
NuCO2_Priv              2/23/2016                                                                       affiliated
             MSG                        Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_1150                   8:00                                                                            company(ies)                        hold.



                                                                                                         Employee(s) of
                                                                                                                                            Communication
NuCO2_Priv              2/25/2016                                                                       NuCO2 and its
             MSG                        Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_1151                   8:00                                                                            affiliated
                                                                                                                                            hold.
                                                                                                        company(ies)

                                                           Toyanna Platt;                                                                   Reflects need
                                                           Heather                                      Employee(s) of                      for/provision of legal
                                                           Lindbom; Justina     Russell Vicari; Randy                     Attorney          advice regarding
NuCO2_Priv              3/1/2016                                                                        NuCO2
             xlsx                       Damarie Cortez     Connelly;            Gold; Vince Giordano;                     Client/Work       negotiation/drafting of
_1152                   12:58
                                                           Douglas Caputo;      John Templin                              Product           customer
                                                           Sandy Johnson;                                                                   agreements/other
                                                           Sales Managers                                                                   issues.
                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                            Communication
NuCO2_Priv                                                                                              affiliated
             MSG        3/3/2016 8:00   Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_1153                                                                                                   company(ies)                        hold.

                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                            Communication
NuCO2_Priv                                                                                              affiliated
             MSG        3/8/2016 8:02   Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_1154                                                                                                   company(ies)                        hold.


                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                            Communication
NuCO2_Priv                                                                                              affiliated
             MSG        3/7/2016 8:27   Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_1155                                                                                                   company(ies)                        hold.




                                                                          207
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 209 of
                                                         573


                                                                                             Employee(s) of
                                                                                             NuCO2 and its
                                                                                                                                 Communication
NuCO2_Priv             2/27/2016                                                             affiliated
             MSG                       Edward Balzarini   Kathy Waters                                         Attorney Client   regarding litigation
_1156                  8:00                                                                  company(ies)                        hold.



                                                                                             Employee(s) of                      Reflects
                                                                                                                                 communications
NuCO2_Priv             2/26/2016                                                             NuCO2             Settlement
             MSG                       Sondra Meyer       John Templin                                                           regarding settlement
_1157                  12:58                                                                                   Negotiations
                                                                                                                                 concerning customer
                                                                                                                                 dispute.


                                                                                              Employee(s) of
                                                                                                                                 Communication
NuCO2_Priv                                                                                   NuCO2 and its
             MSG       3/1/2016 8:05   Edward Balzarini   Kathy Waters                                         Attorney Client   regarding litigation
_1158                                                                                        affiliated
                                                                                                                                 hold.
                                                                                             company(ies)

                                                                                             Employee(s) of                      Communications
                                                                                             NuCO2                               regarding need for legal
NuCO2_Priv             3/23/2018                                                                                                 advice/work product
             MSG                       Brian D. Potter    John Templin                                         Attorney Client
_1159                  8:28                                                                                                      of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                             Employee(s) of                      Communications
                                                                                             NuCO2                               regarding need for legal
NuCO2_Priv             3/23/2018                                                                                                 advice/work product
             pdf                       Brian D. Potter    John Templin                                         Attorney Client
_1160                  8:28                                                                                                      of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                             Employee(s) of
                                                                                             NuCO2                               Communications
NuCO2_Priv             3/27/2018                          Derek Burton;                                                          providing guidance
             MSG                       Hank Moeller                             Mark Novak                     Attorney Client
_1161                  13:05                              John Templin                                                           regarding regulatory
                                                                                                                                 compliance.




                                                                          208
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 210 of
                                                         573


                                                                                     Employee(s) of
                                                                                     NuCO2                              Communications
NuCO2_Priv             3/27/2018                  Derek Burton;                                                         providing guidance
             pdf                   Hank Moeller                         Mark Novak                    Attorney Client
_1162                  13:05                      John Templin                                                          regarding regulatory
                                                                                                                        compliance.

                                                                                     Employee(s) of
                                                                                     NuCO2                              Communications
NuCO2_Priv             3/27/2018                  Derek Burton;                                                         providing guidance
             pdf                   Hank Moeller                         Mark Novak                    Attorney Client
_1163                  13:05                      John Templin                                                          regarding regulatory
                                                                                                                        compliance.

                                                                                     Employee(s) of
                                                                                     NuCO2                              Communications
NuCO2_Priv             3/27/2018                  Derek Burton;                                                         providing guidance
             pdf                   Hank Moeller                         Mark Novak                    Attorney Client
_1164                  13:05                      John Templin                                                          regarding regulatory
                                                                                                                        compliance.

                                                                                     Employee(s) of
                                                                                     NuCO2                              Communications
NuCO2_Priv             3/27/2018                  Derek Burton;                                                         providing guidance
             pdf                   Hank Moeller                         Mark Novak                    Attorney Client
_1165                  13:05                      John Templin                                                          regarding regulatory
                                                                                                                        compliance.

                                                                                     Employee(s) of
                                                                                     NuCO2                              Communications
NuCO2_Priv             3/27/2018                  Derek Burton;                                                         providing guidance
             pdf                   Hank Moeller                         Mark Novak                    Attorney Client
_1166                  13:05                      John Templin                                                          regarding regulatory
                                                                                                                        compliance.

                                                                                     Employee(s) of
                                                                                     NuCO2                              Communications
NuCO2_Priv             3/27/2018                  Derek Burton;                                                         providing guidance
             pdf                   Hank Moeller                         Mark Novak                    Attorney Client
_1167                  13:05                      John Templin                                                          regarding regulatory
                                                                                                                        compliance.




                                                                  209
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 211 of
                                                         573



                                                                                   Employee(s) of
                                                                                                                      Communication
NuCO2_Priv                                                                        NuCO2 and its
             MSG       3/6/2016 8:00   Edward Balzarini   Kathy Waters                              Attorney Client   regarding litigation
_1168                                                                             affiliated
                                                                                                                      hold.
                                                                                  company(ies)

                                                                                  Employee(s) of                      Communications
                                                                                  NuCO2                               regarding request
                                                                                                    Attorney          for/provision of legal
NuCO2_Priv             3/27/2018
             MSG                       Kym Cherubini      John Templin                              Client/Work       advice/work product
_1169                  13:46
                                                                                                    Product           of counsel concerning
                                                                                                                      negotiation/drafting of
                                                                                                                      customer agreement.
                                                                                  Employee(s) of                      Communications
                                                                                  NuCO2                               regarding request
                                                                                                    Attorney          for/provision of legal
NuCO2_Priv             3/27/2018
             pdf                       Kym Cherubini      John Templin                              Client/Work       advice/work product
_1170                  13:46
                                                                                                    Product           of counsel concerning
                                                                                                                      negotiation/drafting of
                                                                                                                      customer agreement.
                                                                                  Employee(s) of                      Communications
                                                                                  NuCO2                               regarding request
                                                                                                    Attorney          for/provision of legal
NuCO2_Priv             3/27/2018
             pdf                       Kym Cherubini      John Templin                              Client/Work       advice/work product
_1171                  13:46
                                                                                                    Product           of counsel concerning
                                                                                                                      negotiation/drafting of
                                                                                                                      customer agreement.
                                                                                  Employee(s) of                      Communications
                                                                                  NuCO2                               regarding request
                                                                                                    Attorney          for/provision of legal
NuCO2_Priv             3/27/2018
             pdf                       Kym Cherubini      John Templin                              Client/Work       advice/work product
_1172                  13:46
                                                                                                    Product           of counsel concerning
                                                                                                                      negotiation/drafting of
                                                                                                                      customer agreement.
                                                                                  Employee(s) of
                                                                                                                      Reflects need
                                                                                  NuCO2 and its
                                                                                                                      for/provision of legal
NuCO2_Priv                                                Russell Vicari;         affiliated
             MSG       3/7/2016 9:49   Markatos, David                                              Attorney Client   advice regarding
_1173                                                     John Templin            company(ies)                        customer
                                                                                                                      account/dispute.



                                                                            210
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 212 of
                                                         573


                                                                                                 Employee(s) of
                                                                                                                                    Reflects need
                                                                                                 NuCO2 and its
                                                                                                                                    for/provision of legal
NuCO2_Priv                                                Russell Vicari;                        affiliated
             pdf       3/7/2016 9:49   Markatos, David                                                            Attorney Client   advice regarding
_1174                                                     John Templin                           company(ies)                       customer
                                                                                                                                    account/dispute.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects need
                                                                                                 NuCO2 and its
                                                                                                                                    for/provision of legal
NuCO2_Priv                                                Russell Vicari;                        affiliated
             pdf       3/7/2016 9:49   Markatos, David                                                            Attorney Client   advice regarding
_1175                                                     John Templin                           company(ies)                       customer
                                                                                                                                    account/dispute.
                                                                                                 Employee(s) of
                                                                                                 NuCO2 and its
                                                                                                                                    Communication
NuCO2_Priv             3/14/2016                                                                 affiliated
             MSG                       Edward Balzarini   Kathy Waters                                            Attorney Client   regarding litigation
_1176                  8:28                                                                      company(ies)                       hold.

                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2
                                                                                                                                    communications
NuCO2_Priv             3/18/2016                          Melissa Mangels;                                        Settlement
             MSG                       Peter Craig                                John Templin                                      regarding settlement
_1177                  16:18                              Brian Catmull                                           Negotiations
                                                                                                                                    concerning customer
                                                                                                                                    dispute.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2
                                                                                                                                    communications
NuCO2_Priv             3/18/2016                          Melissa Mangels;                                        Settlement
             xls                       Peter Craig                                John Templin                                      regarding settlement
_1178                  16:18                              Brian Catmull                                           Negotiations
                                                                                                                                    concerning customer
                                                                                                                                    dispute.
                                                                                                 Employee(s) of
                                                                                                                                    Reflects
                                                                                                 NuCO2
                                                                                                                                    communications
NuCO2_Priv             3/18/2016                          Melissa Mangels;                                        Settlement
             pdf                       Peter Craig                                John Templin                                      regarding settlement
_1179                  16:18                              Brian Catmull                                           Negotiations
                                                                                                                                    concerning customer
                                                                                                                                    dispute.




                                                                            211
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 213 of
                                                         573


                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             3/15/2016                                                               Settlement
             MSG                   Peter Craig        John Templin                                               regarding settlement
_1180                  9:14                                                                    Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             3/15/2016                                                               Settlement
             xls                   Peter Craig        John Templin                                               regarding settlement
_1181                  9:14                                                                    Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                              NuCO2
                                                                                                                 Communication
NuCO2_Priv             3/23/2016
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1182                  8:00
                                                                                                                 hold.

                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding request
                                                                                               Attorney          for/provision of legal
NuCO2_Priv             4/11/2018
             pdf                   Kym Cherubini      John Templin                             Client/Work       advice/work product
_1183                  6:04
                                                                                               Product           of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding request
                                                                                               Attorney          for/provision of legal
NuCO2_Priv             4/11/2018
             PDF                   Kym Cherubini      John Templin                             Client/Work       advice/work product
_1184                  6:04
                                                                                               Product           of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding request
                                                                                               Attorney          for/provision of legal
NuCO2_Priv             4/11/2018
             PDF                   Kym Cherubini      John Templin                             Client/Work       advice/work product
_1185                  6:04
                                                                                               Product           of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.



                                                                     212
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 214 of
                                                          573


                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              4/11/2018
             XLSM                   Kym Cherubini    John Templin                               Client/Work   advice/work product
_1186                   6:04
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              4/11/2018
             PDF                    Kym Cherubini    John Templin                               Client/Work   advice/work product
_1187                   6:04
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              4/11/2018
             pdf                    Kym Cherubini    John Templin                               Client/Work   advice/work product
_1188                   6:04
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              4/11/2018
             MSG                    Kym Cherubini    John Templin                               Client/Work   advice/work product
_1189                   6:04
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              3/23/2016
             doc                    Vince Giordano   John Templin                               Client/Work   advice/work product
_1190                   7:07
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney
NuCO2_Priv              3/23/2016                                                                             for/provision of legal
             pdf                    Vince Giordano   John Templin                               Client/Work
_1191                   7:07                                                                                  advice/work product
                                                                                                Product
                                                                                                              of counsel concerning
                                                                                                              negotiation/drafting of

                                                                    213
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 215 of
                                                          573


                                                                                                                           customer agreement.




                                                                                        Employee(s) of                     Communications
                                                                                        NuCO2                              regarding request
                                                                                                         Attorney          for/provision of legal
NuCO2_Priv              3/23/2016
             MSG                    Vince Giordano   John Templin                                        Client/Work       advice/work product
_1192                   7:07
                                                                                                         Product           of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                        Employee(s) of
                                                                                        NuCO2                              Communications
NuCO2_Priv              4/16/2018                    Derek Burton;                                                         regarding need for
             MSG                    Hank Moeller                           Mark Novak                    Attorney Client
_1193                   14:21                        John Templin                                                          guidance regarding
                                                                                                                           regulatory compliance.

                                                                                        Employee(s) of
                                                                                        NuCO2                              Communications
NuCO2_Priv              4/16/2018                    Derek Burton;                                                         regarding need for
             pdf                    Hank Moeller                           Mark Novak                    Attorney Client
_1194                   14:21                        John Templin                                                          guidance regarding
                                                                                                                           regulatory compliance.

                                                                                        Employee(s) of
                                                                                        NuCO2                              Communications
NuCO2_Priv              4/16/2018                    Derek Burton;                                                         regarding need for
             pdf                    Hank Moeller                           Mark Novak                    Attorney Client
_1195                   14:21                        John Templin                                                          guidance regarding
                                                                                                                           regulatory compliance.

                                                                                        Employee(s) of
                                                                                        NuCO2                              Communications
NuCO2_Priv              4/16/2018                    Derek Burton;                                                         regarding need for
             docx                   Hank Moeller                           Mark Novak                    Attorney Client
_1196                   14:21                        John Templin                                                          guidance regarding
                                                                                                                           regulatory compliance.




                                                                     214
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 216 of
                                                         573


                                                                                         Employee(s) of
                                                                                         NuCO2                               Communications
NuCO2_Priv             4/16/2018                      Derek Burton;                                                          providing guidance
             pdf                   Hank Moeller                             Mark Novak                     Attorney Client
_1197                  14:21                          John Templin                                                           regarding regulatory
                                                                                                                             compliance.


                                                                                          Employee(s) of
                                                                                                                             Communication
NuCO2_Priv             3/25/2016                                                         NuCO2 and its
             MSG                   Edward Balzarini   Kathy Waters                                         Attorney Client   regarding litigation
_1198                  8:00                                                              affiliated
                                                                                                                             hold.
                                                                                         company(ies)

                                                                                         Employee(s) of
                                                                                         NuCO2
                                                                                                                             Communications
NuCO2_Priv             3/23/2016
             MSG                   Vince Giordano     John Templin                                         Attorney Client   regarding need for legal
_1199                  10:21
                                                                                                                             advice of counsel.

                                                                                         Employee(s) of
                                                                                         NuCO2
                                                                                                                             Communications
NuCO2_Priv             3/23/2016
             MSG                   Vince Giordano     John Templin                                         Attorney Client   regarding need for legal
_1200                  10:30
                                                                                                                             advice of counsel.

                                                                                         Employee(s) of                      Communications
                                                                                         NuCO2 and its                       regarding request
                                                                                         affiliated                          for/provision of legal
NuCO2_Priv             3/18/2016                      John Templin;
             pdf                   Peter Craig                                                             Attorney Client   advice/work product
_1201                  13:10                          David Markatos                     company(ies)
                                                                                                                             of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                         Employee(s) of                      Communications
                                                                                         NuCO2 and its                       regarding request
                                                                                         affiliated                          for/provision of legal
NuCO2_Priv             3/18/2016                      John Templin;
             pdf                   Peter Craig                                                             Attorney Client   advice/work product
_1202                  13:10                          David Markatos                     company(ies)
                                                                                                                             of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.




                                                                      215
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 217 of
                                                          573


                                                                                 Employee(s) of                     Communications
                                                                                 NuCO2                              regarding request
                                                                                                  Attorney          for/provision of legal
NuCO2_Priv              4/12/2018
             pdf                        Brian D. Potter    John Templin                           Client/Work       advice/work product
_1203                   16:33
                                                                                                  Product           of counsel concerning
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                 Employee(s) of                     Communications
                                                                                 NuCO2                              regarding request
                                                                                                  Attorney          for/provision of legal
NuCO2_Priv              4/12/2018
             msg                        John Templin       Kym Cherubini                          Client/Work       advice/work product
_1204                   11:42
                                                                                                  Product           of counsel concerning
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                 Employee(s) of                     Communications
                                                                                 NuCO2                              regarding request
                                                                                                  Attorney          for/provision of legal
NuCO2_Priv              4/12/2018
             pdf                        Kym Cherubini      John Templin                           Client/Work       advice/work product
_1205                   11:42
                                                                                                  Product           of counsel concerning
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                 Employee(s) of                     Communications
                                                                                 NuCO2                              regarding request
                                                                                                  Attorney          for/provision of legal
NuCO2_Priv              4/12/2018
             XLSM                       Kym Cherubini      John Templin                           Client/Work       advice/work product
_1206                   11:42
                                                                                                  Product           of counsel concerning
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                 Employee(s) of
                                                                                 NuCO2 and its
                                                                                                                    Communication
NuCO2_Priv                                                                       affiliated
             MSG        4/1/2016 8:27   Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1207                                                                            company(ies)                       hold.

                                                                                 Employee(s) of
                                                                                 NuCO2 and its
                                                                                                                    Communication
NuCO2_Priv                                                                       affiliated
             MSG        4/2/2016 8:00   Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1208                                                                            company(ies)                       hold.




                                                                           216
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 218 of
                                                         573


                                                                                                  Employee(s) of                      Communications
                                                                                                  NuCO2                               regarding request
                                                                                                                    Attorney          for/provision of legal
NuCO2_Priv             4/19/2018                      John Templin;
             pdf                   Angie Baggett                            Adam Prenguber                          Client/Work       advice/work product
_1209                  13:56                          Ronald Thermil
                                                                                                                    Product           of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                  Employee(s) of                      Communications
                                                                                                  NuCO2                               regarding request
                                                                                                                    Attorney          for/provision of legal
NuCO2_Priv             4/19/2018                      John Templin;
             pdf                   Angie Baggett                            Adam Prenguber                          Client/Work       advice/work product
_1210                  13:56                          Ronald Thermil
                                                                                                                    Product           of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                  Employee(s) of                      Communications
                                                                                                  NuCO2                               regarding request
                                                                                                                    Attorney          for/provision of legal
NuCO2_Priv             4/19/2018                      John Templin;
             pdf                   Angie Baggett                            Adam Prenguber                          Client/Work       advice/work product
_1211                  13:56                          Ronald Thermil
                                                                                                                    Product           of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.

                                                                                                   Employee(s) of
                                                                                                                                      Communication
NuCO2_Priv             3/26/2016                                                                  NuCO2 and its
             MSG                   Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1212                  8:00                                                                       affiliated
                                                                                                                                      hold.
                                                                                                  company(ies)

                                                                                                  Employee(s) of
                                                                                                                                      Reflects
                                                                                                  NuCO2
                                                                                                                                      communications
NuCO2_Priv             4/4/2016                                             John Templin; Peter                     Settlement
             MSG                   Melissa Mangels    Brian Catmull                                                                   regarding settlement
_1213                  14:49                                                Craig                                   Negotiations
                                                                                                                                      concerning customer
                                                                                                                                      dispute.
                                                                                                  Employee(s) of
                                                                                                                                      Reflects
                                                                                                  NuCO2
                                                                                                                                      communications
NuCO2_Priv             4/4/2016                                             John Templin; Peter                     Settlement
             xls                   Melissa Mangels    Brian Catmull                                                                   regarding settlement
_1214                  14:49                                                Craig                                   Negotiations
                                                                                                                                      concerning customer
                                                                                                                                      dispute.




                                                                      217
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 219 of
                                                          573


                                                                                                   Employee(s) of
                                                                                                                                       Reflects
                                                                                                   NuCO2
                                                                                                                                       communications
NuCO2_Priv              4/4/2016                                             John Templin; Peter                     Settlement
             xlsx                   Melissa Mangels    Brian Catmull                                                                   regarding settlement
_1215                   14:49                                                Craig                                   Negotiations
                                                                                                                                       concerning customer
                                                                                                                                       dispute.
                                                                                                   Employee(s) of
                                                                                                                                       Reflects
                                                                                                   NuCO2
                                                                                                                                       communications
NuCO2_Priv              4/4/2016                                             John Templin; Peter                     Settlement
             pdf                    Melissa Mangels    Brian Catmull                                                                   regarding settlement
_1216                   14:49                                                Craig                                   Negotiations
                                                                                                                                       concerning customer
                                                                                                                                       dispute.
                                                                                                   Employee(s) of                      Communications
                                                                                                   NuCO2                               regarding need for legal
                                                                                                                     Attorney
NuCO2_Priv              5/17/2018                                                                                                      advice/work product
             docx                   Brian D. Potter    John Templin          Christine Bukowski                      Client/Work
_1217                   16:25                                                                                                          of counsel concerning
                                                                                                                     Product
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                   Employee(s) of                      Communications
                                                                                                   NuCO2                               regarding need for legal
                                                                                                                     Attorney
NuCO2_Priv              5/17/2018                                                                                                      advice/work product
             pdf                    Brian D. Potter    John Templin          Christine Bukowski                      Client/Work
_1218                   16:25                                                                                                          of counsel concerning
                                                                                                                     Product
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                   Employee(s) of                      Communications
                                                                                                   NuCO2                               regarding need for legal
                                                                                                                     Attorney
NuCO2_Priv              5/17/2018                                                                                                      advice/work product
             MSG                    Brian D. Potter    John Templin          Christine Bukowski                      Client/Work
_1219                   16:25                                                                                                          of counsel concerning
                                                                                                                     Product
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.

                                                                                                    Employee(s) of
                                                                                                                                       Communication
NuCO2_Priv              4/11/2016                                                                  NuCO2 and its
             MSG                    Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1220                   8:27                                                                       affiliated
                                                                                                                                       hold.
                                                                                                   company(ies)




                                                                       218
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 220 of
                                                         573


                                                                                                                  Reflects need
                                                                              Employee(s) of                      for/provision of legal
                                                                                                Attorney          advice regarding
NuCO2_Priv             4/13/2016                                              NuCO2
             MSG                   Vince Giordano     John Templin                              Client/Work       negotiation/drafting of
_1221                  9:10
                                                                                                Product           customer
                                                                                                                  agreements/other
                                                                                                                  issues.

                                                                               Employee(s) of
                                                                                                                  Communication
NuCO2_Priv             4/13/2016                                              NuCO2 and its
             MSG                   Edward Balzarini   Kathy Waters                              Attorney Client   regarding litigation
_1222                  8:00                                                   affiliated
                                                                                                                  hold.
                                                                              company(ies)

                                                                              Employee(s) of
                                                                              NuCO2                               Communications
NuCO2_Priv             5/8/2018                                                                 Settlement        regarding strategy for
             MSG                   Nate Freese        John Templin
_1223                  11:45                                                                    Negotiations      settling customer
                                                                                                                  dispute.

                                                                              Employee(s) of
                                                                              NuCO2                               Communications
NuCO2_Priv             5/8/2018                                                                 Settlement        regarding strategy for
             pdf                   Nate Freese        John Templin
_1224                  11:45                                                                    Negotiations      settling customer
                                                                                                                  dispute.

                                                                              Employee(s) of
                                                                              NuCO2                               Communications
                                                      Thomas
NuCO2_Priv             5/8/2018                                                                 Settlement        regarding strategy for
             msg                   Zac Boulund        McGann; Nate
_1225                  11:45                                                                    Negotiations      settling customer
                                                      Freese
                                                                                                                  dispute.

                                                                              Employee(s) of
                                                                              NuCO2                               Communications
                                                                                                Attorney
NuCO2_Priv             5/11/2018                                                                                  regarding strategy for
             MSG                   Brian D. Potter    John Templin                              Client/Work
_1226                  10:08                                                                                      settling customer
                                                                                                Product
                                                                                                                  dispute.




                                                                     219
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 221 of
                                                          573


                                                                                           Employee(s) of
                                                                                           NuCO2                              Communications
                                                                                                            Attorney
NuCO2_Priv              5/11/2018                                                                                             regarding strategy for
             xlsx                   Brian D. Potter   John Templin                                          Client/Work
_1227                   10:08                                                                                                 settling customer
                                                                                                            Product
                                                                                                                              dispute.

                                                                                           Employee(s) of
                                                                                           NuCO2                              Communications
                                                                                                            Attorney
NuCO2_Priv              5/11/2018                                                                                             regarding strategy for
             pdf                    Brian D. Potter   John Templin                                          Client/Work
_1228                   10:08                                                                                                 settling customer
                                                                                                            Product
                                                                                                                              dispute.

                                                                                           Employee(s) of
                                                                                           NuCO2                              Communications
                                                                                                            Attorney
NuCO2_Priv              5/11/2018                                                                                             regarding strategy for
             pdf                    Brian D. Potter   John Templin                                          Client/Work
_1229                   10:08                                                                                                 settling customer
                                                                                                            Product
                                                                                                                              dispute.

                                                                                           Employee(s) of
                                                                                                                              Reflects need
                                                                                           NuCO2
                                                                                                                              for/provision of legal
NuCO2_Priv              5/22/2018
             MSG                    Bridget Correa    Gerald Miller         John Templin                    Attorney Client   advice regarding
_1230                   15:52
                                                                                                                              customer
                                                                                                                              account/dispute.
                                                                                           Employee(s) of
                                                                                                                              Reflects need
                                                                                           NuCO2
                                                                                                                              for/provision of legal
NuCO2_Priv              5/22/2018
             pdf                    Bridget Correa    Gerald Miller         John Templin                    Attorney Client   advice regarding
_1231                   15:52
                                                                                                                              customer
                                                                                                                              account/dispute.
                                                                                           Employee(s) of
                                                                                                                              Reflects need
                                                                                           NuCO2
                                                                                                                              for/provision of legal
NuCO2_Priv              5/22/2018
             docx                   Bridget Correa    Gerald Miller         John Templin                    Attorney Client   advice regarding
_1232                   15:52
                                                                                                                              customer
                                                                                                                              account/dispute.




                                                                      220
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 222 of
                                                          573



                                                                                                   Employee(s) of
                                                                                                                                      Communication
NuCO2_Priv              4/20/2016                                                                 NuCO2 and its
             MSG                    Edward Balzarini   Kathy Waters                                                 Attorney Client   regarding litigation
_1233                   8:01                                                                      affiliated
                                                                                                                                      hold.
                                                                                                  company(ies)


                                                                                                  Employee(s) of                      Reflects need
                                                                                                                                      for/provision of legal
NuCO2_Priv              4/11/2016                                                                 NuCO2
             MSG                    Justina Connelly   John Templin                                                 Attorney Client   advice regarding
_1234                   15:27
                                                                                                                                      customer
                                                                                                                                      account/dispute.
                                                                                                  Employee(s) of
                                                                                                  NuCO2                               Communications
NuCO2_Priv              4/19/2016                      Hank Moeller;        Chris Pherson; John                                       providing guidance
             MSG                    Heather Lindbom                                                                 Attorney Client
_1235                   8:35                           Mike Kleimeyer       Templin; Mark Novak                                       regarding regulatory
                                                                                                                                      compliance.

                                                                                                  Employee(s) of
                                                                                                  NuCO2                               Communications
NuCO2_Priv              4/19/2016                      Hank Moeller;        Chris Pherson; John                                       providing guidance
             xlsx                   Heather Lindbom                                                                 Attorney Client
_1236                   8:35                           Mike Kleimeyer       Templin; Mark Novak                                       regarding regulatory
                                                                                                                                      compliance.

                                                                                                  Employee(s) of
                                                                                                                                      Reflects need
                                                                                                  NuCO2
                                                                                                                                      for/provision of legal
NuCO2_Priv              4/11/2016
             MSG                    Justina Connelly   John Templin         Khalif Richardson                       Attorney Client   advice regarding
_1237                   14:59
                                                                                                                                      customer
                                                                                                                                      account/dispute.
                                                                                                  Employee(s) of
                                                                                                                                      Reflects need
                                                                                                  NuCO2
                                                                                                                                      for/provision of legal
NuCO2_Priv              4/11/2016
             xls                    Justina Connelly   John Templin         Khalif Richardson                       Attorney Client   advice regarding
_1238                   14:59
                                                                                                                                      customer
                                                                                                                                      account/dispute.




                                                                      221
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 223 of
                                                          573


                                                                                                Employee(s) of
                                                                                                                                    Reflects need
                                                                                                NuCO2
                                                                                                                                    for/provision of legal
NuCO2_Priv              4/11/2016
             xlsx                   Justina Connelly   John Templin         Khalif Richardson                     Attorney Client   advice regarding
_1239                   14:59
                                                                                                                                    customer
                                                                                                                                    account/dispute.
                                                                                                Employee(s) of
                                                                                                                                    Reflects need
                                                                                                NuCO2
                                                                                                                                    for/provision of legal
NuCO2_Priv              4/11/2016
             pdf                    Justina Connelly   John Templin         Khalif Richardson                     Attorney Client   advice regarding
_1240                   14:59
                                                                                                                                    customer
                                                                                                                                    account/dispute.


                                                                                                Employee(s) of                      Reflects need
                                                                                                                                    for/provision of legal
NuCO2_Priv              4/11/2016                                                               NuCO2
             PDF                    Justina Connelly   John Templin         Khalif Richardson                     Attorney Client   advice regarding
_1241                   14:59
                                                                                                                                    customer
                                                                                                                                    account/dispute.


                                                                                                 Employee(s) of
                                                                                                                                    Communication
NuCO2_Priv              4/14/2016                                                               NuCO2 and its
             MSG                    Edward Balzarini   Kathy Waters                                               Attorney Client   regarding litigation
_1242                   8:00                                                                    affiliated
                                                                                                                                    hold.
                                                                                                company(ies)

                                                                                                Employee(s) of
                                                                                                                                    Reflects need
                                                                                                NuCO2
                                                                                                                  Attorney          for/provision of legal
NuCO2_Priv              4/18/2016
             MSG                    Justina Connelly   John Templin         Khalif Richardson                     Client/Work       advice regarding
_1243                   9:54
                                                                                                                  Product           customer
                                                                                                                                    account/dispute.
                                                                                                Employee(s) of
                                                                                                                                    Reflects need
                                                                                                NuCO2
                                                                                                                                    for/provision of legal
NuCO2_Priv              5/22/2018
             MSG                    Gerald Miller      John Templin         Bridget Correa                        Attorney Client   advice regarding
_1244                   20:18
                                                                                                                                    customer
                                                                                                                                    account/dispute.




                                                                      222
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 224 of
                                                         573


                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2 and its                       regarding request
                                                                                            affiliated                          for/provision of legal
NuCO2_Priv             4/21/2016                      John Templin;
             MSG                   Justina Connelly                                                           Attorney Client   advice/work product
_1245                  7:47                           David Markatos                        company(ies)
                                                                                                                                of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2 and its                       regarding request
                                                                                            affiliated                          for/provision of legal
NuCO2_Priv             4/21/2016                      John Templin;
             pdf                   Justina Connelly                                                           Attorney Client   advice/work product
_1246                  7:47                           David Markatos                        company(ies)
                                                                                                                                of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                                                                Communications
                                                                                                                                regarding request
                                                                                             Employee(s) of
                                                                                                                                for/provision of legal
NuCO2_Priv             4/21/2016                      John Templin;                         NuCO2 and its
             pdf                   Justina Connelly                                                           Attorney Client   advice/work product
_1247                  7:47                           David Markatos                        affiliated
                                                                                                                                of counsel concerning
                                                                                            company(ies)
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                             Employee(s) of                     Communications
                                                                                            NuCO2 and                           regarding request
                                                                                                                                for/provision of legal
NuCO2_Priv             4/21/2016                      'VITTORIO83@                          NuCO2’s
             msg                   Justina Connelly                                                           Attorney Client   advice/work product
_1248                  7:47                           GMAIL.COM'                            customer(s)                         of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2                               regarding request
                                                                                                              Attorney          for/provision of legal
NuCO2_Priv             5/30/2018
             MSG                   Brian D. Potter    John Templin         Michael Graham                     Client/Work       advice/work product
_1249                  11:23
                                                                                                              Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2                               regarding request
                                                                                                              Attorney
NuCO2_Priv             5/30/2018                                                                                                for/provision of legal
             pdf                   Brian D. Potter    John Templin         Michael Graham                     Client/Work
_1250                  11:23                                                                                                    advice/work product
                                                                                                              Product
                                                                                                                                of counsel concerning
                                                                                                                                negotiation/drafting of

                                                                     223
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 225 of
                                                          573


                                                                                                                           customer agreement.




                                                                                            Employee(s) of                 Communications
                                                                                            NuCO2                          regarding request
                                                                                                             Attorney      for/provision of legal
NuCO2_Priv              5/30/2018
             pdf                    Brian D. Potter   John Templin         Michael Graham                    Client/Work   advice/work product
_1251                   11:23
                                                                                                             Product       of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                            Employee(s) of                 Communications
                                                                                            NuCO2                          regarding request
                                                                                                             Attorney      for/provision of legal
NuCO2_Priv              5/30/2018
             pdf                    Brian D. Potter   John Templin         Michael Graham                    Client/Work   advice/work product
_1252                   11:23
                                                                                                             Product       of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                            Employee(s) of                 Communications
                                                                                            NuCO2                          regarding need
                                                                                                                           for/provision of
                                                                                                                           information regarding
                                                                                                             Attorney
NuCO2_Priv              4/18/2016                                                                                          customer
             docx                   Kevin Patton      John Templin                                           Client/Work
_1253                   9:25                                                                                               account/dispute in
                                                                                                             Product
                                                                                                                           order to facilitate
                                                                                                                           provision of legal
                                                                                                                           advice/services
                                                                                                                           concerning the same.
                                                                                                                           Communications
                                                                                                                           regarding need
                                                                                                                           for/provision of
                                                                                            Employee(s) of                 information regarding
                                                                                                             Attorney
NuCO2_Priv              4/18/2016                                                           NuCO2                          customer
             MSG                    Kevin Patton      John Templin                                           Client/Work
_1254                   9:25                                                                                               account/dispute in
                                                                                                             Product
                                                                                                                           order to facilitate
                                                                                                                           provision of legal
                                                                                                                           advice/services
                                                                                                                           concerning the same.


                                                                     224
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 226 of
                                                          573



                                                                                                          Employee(s) of
                                                                                                                                             Communication
NuCO2_Priv              4/17/2016                                                                        NuCO2 and its
             MSG                        Edward Balzarini   Kathy Waters                                                    Attorney Client   regarding litigation
_1255                   8:00                                                                             affiliated
                                                                                                                                             hold.
                                                                                                         company(ies)

                                                                                                         Employee(s) of                      Communications
                                                                                                         NuCO2                               regarding need
                                                                                                                                             for/provision of
                                                                                                                           Attorney
NuCO2_Priv              5/25/2018                                                                                                            information concerning
             MSG                        Bridget Correa     John Templin                                                    Client/Work
_1256                   12:42                                                                                                                competitor dispute in
                                                                                                                           Product
                                                                                                                                             order to facilitate
                                                                                                                                             provision of legal
                                                                                                                                             advice/services.
                                                                                                         Employee(s) of                      Communications
                                                                                                         NuCO2                               regarding request
                                                                                                                           Attorney          for/provision of legal
NuCO2_Priv                                                 Brian D. Potter;
             MSG        6/1/2018 9:26   Michael Graham                                                                     Client/Work       advice/work product
_1257                                                      John Templin
                                                                                                                           Product           of counsel concerning
                                                                                                                                             negotiation/drafting of
                                                                                                                                             customer agreement.
                                                                                                                                             Communications
                                                                                                         Employee(s) of                      regarding request
                                                                                                                           Attorney          for/provision of legal
NuCO2_Priv                                                 Brian D. Potter;                              NuCO2
             docx       6/1/2018 9:26   Michael Graham                                                                     Client/Work       advice/work product
_1258                                                      John Templin
                                                                                                                           Product           of counsel concerning
                                                                                                                                             negotiation/drafting of
                                                                                                                                             customer agreement.

                                                                                                          Employee(s) of
                                                                                  John Templin;                            Attorney          Communications
NuCO2_Priv              4/19/2016                                                                        NuCO2 and its
             MSG                        Markatos, David    Russell Vicari         Morrison, Rob; Vince                     Client/Work       regarding need for legal
_1259                   16:11                                                                            affiliated
                                                                                  Giordano                                 Product           advice of counsel.
                                                                                                         company(ies)


                                                                                                         Employee(s) of                      Reflects
                                                                                                                                             communications
NuCO2_Priv              5/21/2018                          John Templin;                                 NuCO2             Settlement
             MSG                        Bridget Correa                                                                                       regarding settlement
_1260                   13:55                              Ronald Thermil                                                  Negotiations
                                                                                                                                             concerning customer
                                                                                                                                             dispute.



                                                                            225
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 227 of
                                                          573



                                                                                                                                 Reflects
                                                                                                 Employee(s) of
                                                                                                                                 communications
NuCO2_Priv              5/21/2018                                                               NuCO2 and its     Settlement
             msg                    Bridget Correa   Homan, Ray            Nate Freese                                           regarding settlement
_1261                   13:55                                                                   affiliated        Negotiations
                                                                                                                                 concerning customer
                                                                                                company(ies)
                                                                                                                                 dispute.
                                                                                                Employee(s) of
                                                                                                                                 Reflects
                                                                                                NuCO2
                                                                                                                                 communications
NuCO2_Priv              5/21/2018                                          John Templin; Nate                     Settlement
             msg                    Bridget Correa   Gerald Miller                                                               regarding settlement
_1262                   13:55                                              Freese                                 Negotiations
                                                                                                                                 concerning customer
                                                                                                                                 dispute.
                                                                                                Employee(s) of
                                                                                                                                 Reflects
                                                                                                NuCO2
                                                                                                                                 communications
NuCO2_Priv              5/21/2018                                                                                 Settlement
             msg                    Bridget Correa   Scott Bankhead        John-Paul Venanzi                                     regarding settlement
_1263                   13:55                                                                                     Negotiations
                                                                                                                                 concerning customer
                                                                                                                                 dispute.
                                                                                                Employee(s) of
                                                                                                                                 Reflects
                                                                                                NuCO2
                                                                                                                                 communications
NuCO2_Priv              5/21/2018                    John Templin;                                                Settlement
             pdf                    Bridget Correa                                                                               regarding settlement
_1264                   13:55                        Ronald Thermil                                               Negotiations
                                                                                                                                 concerning customer
                                                                                                                                 dispute.
                                                                                                Employee(s) of
                                                                                                                                 Reflects
                                                                                                NuCO2
                                                                                                                                 communications
NuCO2_Priv              5/21/2018                    John Templin;                                                Settlement
             xlsx                   Bridget Correa                                                                               regarding settlement
_1265                   13:55                        Ronald Thermil                                               Negotiations
                                                                                                                                 concerning customer
                                                                                                                                 dispute.
                                                                                                Employee(s) of
                                                                                                                                 Reflects
                                                                                                NuCO2
                                                                                                                                 communications
NuCO2_Priv              5/21/2018                    John Templin;                                                Settlement
             xls                    Bridget Correa                                                                               regarding settlement
_1266                   13:55                        Ronald Thermil                                               Negotiations
                                                                                                                                 concerning customer
                                                                                                                                 dispute.




                                                                     226
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 228 of
                                                          573


                                                                                                   Employee(s) of
                                                                                                                                      Reflects
                                                                                                   NuCO2
                                                                                                                                      communications
NuCO2_Priv              5/21/2018                    John Templin;                                                  Settlement
             pdf                    Bridget Correa                                                                                    regarding settlement
_1267                   13:55                        Ronald Thermil                                                 Negotiations
                                                                                                                                      concerning customer
                                                                                                                                      dispute.
                                                                                                   Employee(s) of
                                                                                                                                      Reflects need
                                                                                                   NuCO2
                                                                                                                                      for/provision of legal
NuCO2_Priv              5/29/2018
             MSG                    Bridget Correa   John Templin         Ronald Thermil                            Attorney Client   advice regarding
_1268                   10:03
                                                                                                                                      customer
                                                                                                                                      account/dispute.
                                                                                                   Employee(s) of
                                                                                                                                      Reflects
                                                                                                   NuCO2
                                                                          Dirk Horst; Scott                                           communications
NuCO2_Priv              5/21/2018                                                                                   Settlement
             xlsx                   Derek Burton     Terry Mckiernan      Bankhead; John                                              regarding settlement
_1269                   13:57                                                                                       Negotiations
                                                                          Templin; Gerald Miller                                      concerning customer
                                                                                                                                      dispute.
                                                                                                   Employee(s) of
                                                                                                                                      Reflects
                                                                                                   NuCO2
                                                                          Dirk Horst; Scott                                           communications
NuCO2_Priv              5/21/2018                                                                                   Settlement
             xls                    Derek Burton     Terry Mckiernan      Bankhead; John                                              regarding settlement
_1270                   13:57                                                                                       Negotiations
                                                                          Templin; Gerald Miller                                      concerning customer
                                                                                                                                      dispute.
                                                                                                   Employee(s) of
                                                                                                                                      Reflects
                                                                                                   NuCO2
                                                                          Dirk Horst; Scott                                           communications
NuCO2_Priv              5/21/2018                                                                                   Settlement
             xls                    Derek Burton     Terry Mckiernan      Bankhead; John                                              regarding settlement
_1271                   13:57                                                                                       Negotiations
                                                                          Templin; Gerald Miller                                      concerning customer
                                                                                                                                      dispute.
                                                                                                   Employee(s) of
                                                                                                                                      Reflects
                                                                                                   NuCO2
                                                                          Dirk Horst; Scott                                           communications
NuCO2_Priv              5/21/2018                                                                                   Settlement
             docx                   Derek Burton     Terry Mckiernan      Bankhead; John                                              regarding settlement
_1272                   13:57                                                                                       Negotiations
                                                                          Templin; Gerald Miller                                      concerning customer
                                                                                                                                      dispute.




                                                                    227
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 229 of
                                                          573


                                                                                                     Employee(s) of
                                                                                                                                        Reflects
                                                                                                     NuCO2
                                                                            Dirk Horst; Scott                                           communications
NuCO2_Priv              5/21/2018                                                                                     Settlement
             MSG                    Derek Burton       Terry Mckiernan      Bankhead; John                                              regarding settlement
_1273                   13:57                                                                                         Negotiations
                                                                            Templin; Gerald Miller                                      concerning customer
                                                                                                                                        dispute.
                                                                                                     Employee(s) of
                                                                                                     NuCO2 and its
                                                                                                                      Attorney          Communications
NuCO2_Priv              4/19/2016                                           Morrison, Rob; Russell   affiliated
             MSG                    Markatos, David    John Templin                                                   Client/Work       regarding need for legal
_1274                   16:16                                               Vicari; Vince Giordano   company(ies)     Product           advice of counsel.

                                                                                                     Employee(s) of
                                                                                                     NuCO2 and its
                                                                                                                                        Communication
NuCO2_Priv              4/15/2016                                                                    affiliated
             MSG                    Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_1275                   8:00                                                                         company(ies)                       hold.

                                                                                                     Employee(s) of                     Communications
                                                                                                     NuCO2                              regarding request
                                                                                                                      Attorney          for/provision of legal
NuCO2_Priv              6/5/2018
             MSG                    Brian D. Potter    John Templin                                                   Client/Work       advice/work product
_1276                   14:09
                                                                                                                      Product           of counsel concerning
                                                                                                                                        negotiation/drafting of
                                                                                                                                        customer agreement.
                                                                                                     Employee(s) of                     Communications
                                                                                                     NuCO2                              regarding request
                                                                                                                      Attorney          for/provision of legal
NuCO2_Priv              6/11/2018
             MSG                    Brian D. Potter    John Templin         Christine Bukowski                        Client/Work       advice/work product
_1277                   8:35
                                                                                                                      Product           of counsel concerning
                                                                                                                                        negotiation/drafting of
                                                                                                                                        customer agreement.
                                                                                                     Employee(s) of                     Communications
                                                                                                     NuCO2                              regarding request
                                                                                                                      Attorney          for/provision of legal
NuCO2_Priv              6/11/2018
             docx                   Brian D. Potter    John Templin         Christine Bukowski                        Client/Work       advice/work product
_1278                   8:35
                                                                                                                      Product           of counsel concerning
                                                                                                                                        negotiation/drafting of
                                                                                                                                        customer agreement.



                                                                      228
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 230 of
                                                         573


                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2                              regarding request
                                                                                                                    Attorney          for/provision of legal
NuCO2_Priv             6/11/2018
             msg                   John Templin       Brian D. Potter         Christine Bukowski                    Client/Work       advice/work product
_1279                  8:35
                                                                                                                    Product           of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                   Employee(s) of
                                                                                                   NuCO2 and its
                                                                                                                    Attorney          Communications
NuCO2_Priv             4/30/2016                                                                   affiliated
             MSG                   Chris Pherson      John Templin            David Markatos                        Client/Work       regarding need for legal
_1280                  10:23                                                                       company(ies)     Product           advice of counsel.

                                                                                                   Employee(s) of
                                                                                                   NuCO2 and its
                                                                                                                                      Communication
NuCO2_Priv             4/18/2016                                                                   affiliated
             MSG                   Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1281                  8:30                                                                        company(ies)                       hold.


                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2                              regarding request
                                                                                                                    Attorney          for/provision of legal
NuCO2_Priv             4/28/2016
             MSG                   Jeff Wilson        John Templin                                                  Client/Work       advice/work product
_1282                  13:22
                                                                                                                    Product           of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2                              regarding request
                                                                                                                    Attorney          for/provision of legal
NuCO2_Priv             4/28/2016
             png                   Jeff Wilson        John Templin                                                  Client/Work       advice/work product
_1283                  13:22
                                                                                                                    Product           of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2                              regarding need
                                                                                                                    Attorney          for/provision of
NuCO2_Priv             5/21/2018
             MSG                   Bridget Correa     John Templin                                                  Client/Work       information concerning
_1284                  13:58
                                                                                                                    Product           competitor dispute in
                                                                                                                                      order to facilitate
                                                                                                                                      provision of legal


                                                                        229
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 231 of
                                                         573


                                                                                                                                   advice/services.




                                                                                                    Employee(s) of
                                                                                                                                   Reflects
                                                                                                    NuCO2 and its
                                                                                                                     Attorney      communicationss/wor
NuCO2_Priv             4/27/2016                                          Vince Giordano; John      affiliated
             pdf                   Markatos, David   Matt Butcher                                                    Client/Work   k product regarding
_1285                  16:28                                              Templin; Piazza, Shelly   company(ies)     Product       settlement of customer
                                                                                                                                   disputes.
                                                                                                    Employee(s) of
                                                                                                                                   Reflects
                                                                                                    NuCO2 and its
                                                                                                                     Attorney      communicationss/wor
NuCO2_Priv             4/27/2016                                          Vince Giordano; John      affiliated
             htm                   Markatos, David   Matt Butcher                                                    Client/Work   k product regarding
_1286                  16:28                                              Templin; Piazza, Shelly   company(ies)     Product       settlement of customer
                                                                                                                                   disputes.
                                                                                                    Employee(s) of
                                                                                                                                   Reflects
                                                                                                    NuCO2 and its
                                                                                                                     Attorney      communicationss/wor
NuCO2_Priv             4/27/2016                                          Vince Giordano; John      affiliated
             pdf                   Markatos, David   Matt Butcher                                                    Client/Work   k product regarding
_1287                  16:28                                              Templin; Piazza, Shelly   company(ies)     Product       settlement of customer
                                                                                                                                   disputes.
                                                                                                    Employee(s) of
                                                                                                                                   Reflects
                                                                                                    NuCO2 and its
                                                                                                                     Attorney      communicationss/wor
NuCO2_Priv             4/27/2016                                          Vince Giordano; John      affiliated
             htm                   Markatos, David   Matt Butcher                                                    Client/Work   k product regarding
_1288                  16:28                                              Templin; Piazza, Shelly   company(ies)     Product       settlement of customer
                                                                                                                                   disputes.
                                                                                                    Employee(s) of
                                                                                                                                   Reflects
                                                                                                    NuCO2 and its
                                                                                                                     Attorney      communicationss/wor
NuCO2_Priv             4/27/2016                                          Vince Giordano; John      affiliated
             MSG                   Markatos, David   Matt Butcher                                                    Client/Work   k product regarding
_1289                  16:28                                              Templin; Piazza, Shelly   company(ies)     Product       settlement of customer
                                                                                                                                   disputes.




                                                                    230
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 232 of
                                                          573


                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                   Communications
NuCO2_Priv              4/19/2016                                              affiliated
             MSG                    Markatos, David   John Templin                               Attorney Client   regarding need for legal
_1290                   17:20                                                  company(ies)                        advice of counsel.


                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                   Communications
NuCO2_Priv              4/19/2016                                              affiliated
             pdf                    Markatos, David   John Templin                               Attorney Client   regarding need for legal
_1291                   17:20                                                  company(ies)                        advice of counsel.

                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                   Communications
NuCO2_Priv              4/19/2016                                              affiliated
             htm                    Markatos, David   John Templin                               Attorney Client   regarding need for legal
_1292                   17:20                                                  company(ies)                        advice of counsel.

                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              5/30/2018                     John Templin;
             MSG                    Michael Graham                                               Client/Work       advice/work product
_1293                   12:47                         Brian D. Potter
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              5/30/2018                     John Templin;
             docx                   Michael Graham                                               Client/Work       advice/work product
_1294                   12:47                         Brian D. Potter
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.

                                                                                Employee(s) of
                                                                                                 Attorney          Communications
NuCO2_Priv              5/4/2016                                               NuCO2 and its
             MSG                    Markatos, David   John Templin                               Client/Work       regarding need for legal
_1295                   10:41                                                  affiliated
                                                                                                 Product           advice of counsel.
                                                                               company(ies)




                                                                        231
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 233 of
                                                         573


                                                                                                  Employee(s) of
                                                                                                  NuCO2 and its
                                                                                                                   Attorney          Communications
NuCO2_Priv             5/4/2016                                                                   affiliated
             pdf                       Markatos, David    John Templin                                             Client/Work       regarding need for legal
_1296                  10:41                                                                      company(ies)     Product           advice of counsel.


                                                                                                  Employee(s) of
                                                                                                  NuCO2 and its
                                                                                                                                     Communications
NuCO2_Priv                                                                                        affiliated
             MSG       5/2/2016 7:22   Markatos, David    Chris Pherson          John Templin                      Attorney Client   regarding need for legal
_1297                                                                                             company(ies)                       advice of counsel.



                                                                                                  Employee(s) of
                                                          John Templin;                                            Attorney          Communications
NuCO2_Priv             5/2/2016                                                                   NuCO2
             MSG                       Russell Vicari     Chris Pherson;                                           Client/Work       regarding need for legal
_1298                  10:17
                                                          Randy Gold                                               Product           advice of counsel.

                                                                                                  Employee(s) of                     Communications
                                                                                                  NuCO2 and its                      regarding need
                                                                                                                   Attorney
NuCO2_Priv             6/14/2018                                                                  affiliated                         for/provision of
             MSG                       Markatos, David    John Templin           Piazza, Shelly                    Client/Work
_1299                  16:05                                                                      company(ies)                       information in order to
                                                                                                                   Product
                                                                                                                                     facilitate provision of
                                                                                                                                     legal advice/services.
                                                                                                  Employee(s) of
                                                                                                  NuCO2 and its
                                                                                                                                     Communication
NuCO2_Priv                                                                                        affiliated
             MSG       5/7/2016 8:00   Edward Balzarini   Kathy Waters                                             Attorney Client   regarding litigation
_1300                                                                                             company(ies)                       hold.

                                                                                                  Employee(s) of
                                                                                                  NuCO2 and its
                                                                                                                                     Communications
NuCO2_Priv             4/25/2016                                                                  affiliated
             MSG                       Markatos, David    John Templin                                             Attorney Client   regarding need for legal
_1301                  13:06                                                                      company(ies)                       advice of counsel.




                                                                           232
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 234 of
                                                          573


                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding need
NuCO2_Priv              4/21/2016                                                                                  for/provision of
             MSG                    Peter Craig       John Templin                               Attorney Client
_1302                   12:15                                                                                      information in order to
                                                                                                                   facilitate provision of
                                                                                                                   legal advice/services.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding need
NuCO2_Priv              4/21/2016                                                                                  for/provision of
             pdf                    Peter Craig       John Templin                               Attorney Client
_1303                   12:15                                                                                      information in order to
                                                                                                                   facilitate provision of
                                                                                                                   legal advice/services.
                                                                                                                   Communications
                                                                                                                   regarding request
                                                                                Employee(s) of
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              6/14/2018                                              NuCO2 and its
             MSG                    Gerald Miller     John Templin                               Client/Work       advice/work product
_1304                   8:25                                                   affiliated
                                                                                                 Product           of counsel concerning
                                                                               company(ies)
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              6/14/2018
             pdf                    Gerald Miller     John Templin                               Client/Work       advice/work product
_1305                   8:25
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              6/14/2018
             MSG                    Brian D. Potter   John Templin                               Client/Work       advice/work product
_1306                   16:34
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding request
                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              6/14/2018
             DOCX                   Brian D. Potter   John Templin                               Client/Work       advice/work product
_1307                   16:34
                                                                                                 Product           of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.


                                                                     233
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 235 of
                                                          573


                                                                                             Employee(s) of                      Communications
                                                                                             NuCO2 and its                       regarding request
                                                                                             affiliated        Attorney          for/provision of legal
NuCO2_Priv              5/3/2016
             MSG                    Justina Connelly   David Markatos         John Templin                     Client/Work       advice/work product
_1308                   13:01                                                                company(ies)
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                             Employee(s) of                      Communications
                                                                                             NuCO2 and its                       regarding request
                                                                                             affiliated        Attorney          for/provision of legal
NuCO2_Priv              5/3/2016
             pdf                    Justina Connelly   David Markatos         John Templin                     Client/Work       advice/work product
_1309                   13:01                                                                company(ies)
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                                                                 Communications
                                                                                             Employee(s) of                      regarding need
                                                       John Templin;                                           Attorney
NuCO2_Priv              5/2/2016                                                             NuCO2                               for/provision of
             MSG                    Randy Gold         Chris Pherson;                                          Client/Work
_1310                   10:22                                                                                                    information in order to
                                                       Russell Vicari                                          Product
                                                                                                                                 facilitate provision of
                                                                                                                                 legal advice/services.
                                                                                                                                 Communications
                                                                                              Employee(s) of                     regarding need
                                                                                                               Attorney
NuCO2_Priv              4/29/2016                                                            NuCO2 and its                       for/provision of
             MSG                    Markatos, David    John Templin                                            Client/Work
_1311                   8:17                                                                 affiliated                          information in order to
                                                                                                               Product
                                                                                             company(ies)                        facilitate provision of
                                                                                                                                 legal advice/services.
                                                                                             Employee(s) of                      Communications
                                                                                             NuCO2 and its                       regarding need
                                                                                                               Attorney
NuCO2_Priv              4/29/2016                                                            affiliated                          for/provision of
             docx                   Markatos, David    John Templin                                            Client/Work
_1312                   8:17                                                                 company(ies)                        information in order to
                                                                                                               Product
                                                                                                                                 facilitate provision of
                                                                                                                                 legal advice/services.
                                                                                             Employee(s) of
                                                                                             NuCO2 and its
                                                                                                                                 Communication
NuCO2_Priv              4/27/2016                                                            affiliated
             MSG                    Edward Balzarini   Kathy Waters                                            Attorney Client   regarding litigation
_1313                   8:00                                                                 company(ies)                        hold.




                                                                        234
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 236 of
                                                         573


                                                                                                    Employee(s) of
                                                                                                    NuCO2 and its
                                                                                                                                       Communication
NuCO2_Priv             4/22/2016                                                                    affiliated
             MSG                   Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_1314                  8:01                                                                         company(ies)                       hold.


                                                                                                    Employee(s) of
                                                                                                                                       Reflects
                                                                                                    NuCO2 and its
                                                                                                                                       communications
NuCO2_Priv             5/31/2018                                            Gerald Miller; Ronald   affiliated
             MSG                   Bridget Correa     Markatos, David                                                Attorney Client   regarding settlement
_1315                  15:12                                                Thermil; John Templin   company(ies)                       concerning customer
                                                                                                                                       dispute.
                                                                                                    Employee(s) of
                                                                                                                                       Reflects
                                                                                                    NuCO2 and its
                                                                                                                                       communications
NuCO2_Priv             5/31/2018                                            Gerald Miller; Ronald   affiliated
             pdf                   Bridget Correa     Markatos, David                                                Attorney Client   regarding settlement
_1316                  15:12                                                Thermil; John Templin   company(ies)                       concerning customer
                                                                                                                                       dispute.
                                                                                                    Employee(s) of
                                                                                                                                       Reflects
                                                                                                    NuCO2 and its
                                                                                                                                       communications
NuCO2_Priv             5/31/2018                                            Gerald Miller; Ronald   affiliated
             pdf                   Bridget Correa     Markatos, David                                                Attorney Client   regarding settlement
_1317                  15:12                                                Thermil; John Templin   company(ies)                       concerning customer
                                                                                                                                       dispute.
                                                                                                    Employee(s) of
                                                                                                                                       Reflects
                                                                                                    NuCO2
                                                                                                                                       communications
NuCO2_Priv             5/31/2018                                            Gerald Miller; Ronald
             xls                   Bridget Correa     Markatos, David                                                Attorney Client   regarding settlement
_1318                  15:12                                                Thermil; John Templin
                                                                                                                                       concerning customer
                                                                                                                                       dispute.
                                                                                                    Employee(s) of
                                                                                                                                       Reflects
                                                                                                    NuCO2
                                                                                                                                       communications
NuCO2_Priv             5/31/2018                                            John Templin; Nate
             msg                   Bridget Correa     Gerald Miller                                                  Attorney Client   regarding settlement
_1319                  15:12                                                Freese
                                                                                                                                       concerning customer
                                                                                                                                       dispute.




                                                                      235
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 237 of
                                                          573


                                                                                                Employee(s) of
                                                                                                                                   Reflects
                                                                                                NuCO2 and its
                                                                                                                                   communications
NuCO2_Priv              5/31/2018                                             Bridget Correa;   affiliated
             msg                    Rourke, Rebecca   Nate Freese                                                Attorney Client   regarding settlement
_1320                   15:12                                                 Homan, Ray        company(ies)                       concerning customer
                                                                                                                                   dispute.
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2 and its                      regarding request
                                                                                                affiliated                         for/provision of legal
NuCO2_Priv              6/12/2018
             docx                   Brian D. Potter   Markatos, David         John Templin                       Attorney Client   advice/work product
_1321                   13:53                                                                   company(ies)
                                                                                                                                   of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2 and its                      regarding request
                                                                                                affiliated                         for/provision of legal
NuCO2_Priv              6/12/2018
             MSG                    Brian D. Potter   Markatos, David         John Templin                       Attorney Client   advice/work product
_1322                   13:53                                                                   company(ies)
                                                                                                                                   of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                Employee(s) of
                                                                                                                                   Reflects
                                                                                                NuCO2
                                                                                                                                   communications
NuCO2_Priv              6/14/2018
             MSG                    Bridget Correa    John Templin                                               Attorney Client   regarding settlement
_1323                   9:17
                                                                                                                                   concerning customer
                                                                                                                                   dispute.
                                                                                                Employee(s) of
                                                                                                                                   Reflects
                                                                                                NuCO2
                                                                                                                                   communications
NuCO2_Priv              6/13/2018
             MSG                    Bridget Correa    John Templin                                               Attorney Client   regarding settlement
_1324                   15:47
                                                                                                                                   concerning customer
                                                                                                                                   dispute.
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2                              regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              6/13/2018                     John Templin;
             docx                   Michael Graham                                                               Client/Work       advice/work product
_1325                   15:47                         Brian D. Potter
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.



                                                                        236
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 238 of
                                                         573


                                                                                               Employee(s) of                 Communications
                                                                                               NuCO2                          regarding request
                                                                                                                Attorney      for/provision of legal
NuCO2_Priv             6/13/2018                     John Templin;
             pdf                   Michael Graham                                                               Client/Work   advice/work product
_1326                  15:47                         Brian D. Potter
                                                                                                                Product       of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                               Employee(s) of                 Communications
                                                                                               NuCO2                          regarding request
                                                                                                                Attorney      for/provision of legal
NuCO2_Priv             6/13/2018                     John Templin;
             MSG                   Michael Graham                                                               Client/Work   advice/work product
_1327                  15:47                         Brian D. Potter
                                                                                                                Product       of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                               Employee(s) of                 Communications
                                                                                               NuCO2 and its                  regarding need
                                                                                                                Attorney
NuCO2_Priv             6/5/2018                                                                affiliated                     for/provision of
             MSG                   Piazza, Shelly    John Templin            Markatos, David                    Client/Work
_1328                  10:49                                                                   company(ies)                   information in order to
                                                                                                                Product
                                                                                                                              facilitate provision of
                                                                                                                              legal advice/services.
                                                                                               Employee(s) of                 Communications
                                                                                               NuCO2 and its                  regarding request
                                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv             5/3/2016                      Justina Connelly;
             jpg                   Markatos, David                           Piazza, Shelly                     Client/Work   advice/work product
_1329                  13:05                         John Templin                              company(ies)
                                                                                                                Product       of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                               Employee(s) of                 Communications
                                                                                               NuCO2 and its                  regarding request
                                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv             5/3/2016                      Justina Connelly;
             pdf                   Markatos, David                           Piazza, Shelly                     Client/Work   advice/work product
_1330                  13:05                         John Templin                              company(ies)
                                                                                                                Product       of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                               Employee(s) of                 Communications
                                                                                               NuCO2                          regarding request
                                                                                                                Attorney      for/provision of legal
NuCO2_Priv             6/13/2018
             MSG                   Brian D. Potter   John Templin                                               Client/Work   advice/work product
_1331                  14:36
                                                                                                                Product       of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.

                                                                       237
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 239 of
                                                          573


                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2                              regarding request
                                                                                                                     Attorney          for/provision of legal
NuCO2_Priv              6/13/2018
             docx                   Brian D. Potter    John Templin                                                  Client/Work       advice/work product
_1332                   14:36
                                                                                                                     Product           of counsel concerning
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding request
                                                                                                    affiliated       Attorney          for/provision of legal
NuCO2_Priv              5/3/2016                       David Markatos;
             MSG                    Justina Connelly                        John Templin                             Client/Work       advice/work product
_1333                   13:09                          Piazza, Shelly                               company(ies)
                                                                                                                     Product           of counsel concerning
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding request
                                                                                                    affiliated       Attorney          for/provision of legal
NuCO2_Priv              5/3/2016                                            John Templin; Piazza,
             MSG                    Markatos, David    Justina Connelly                                              Client/Work       advice/work product
_1334                   13:24                                               Shelly                  company(ies)
                                                                                                                     Product           of counsel concerning
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                    Employee(s) of
                                                                                                    NuCO2 and its
                                                                                                                                       Communication
NuCO2_Priv              4/24/2016                                                                   affiliated
             MSG                    Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1335                   8:01                                                                        company(ies)                       hold.

                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2 and its                      regarding request
                                                       John Templin;                                affiliated       Attorney          for/provision of legal
NuCO2_Priv              4/28/2016
             MSG                    Jeff Wilson        Randy Gold;          Piazza, Shelly                           Client/Work       advice/work product
_1336                   15:52                                                                       company(ies)
                                                       David Markatos                                                Product           of counsel concerning
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2                              regarding request
                                                                                                                     Attorney          for/provision of legal
NuCO2_Priv              5/31/2018
             MSG                    Nate Freese        John Templin                                                  Client/Work       advice/work product
_1337                   11:56
                                                                                                                     Product           of counsel concerning
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.

                                                                      238
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 240 of
                                                         573


                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2                              regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv             5/31/2018
             pdf                       Nate Freese        John Templin                                           Client/Work       advice/work product
_1338                  11:56
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2                              regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv             5/31/2018
             msg                       Kyle Brown         Nate Freese                                            Client/Work       advice/work product
_1339                  11:56
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2                              regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv             5/31/2018
             pdf                       Kyle Brown         John Templin                                           Client/Work       advice/work product
_1340                  11:56
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2 and its                      regarding request
                                                          Jeff Wilson; John                     affiliated       Attorney          for/provision of legal
NuCO2_Priv             4/28/2016
             MSG                       Markatos, David    Templin; Randy       Piazza, Shelly                    Client/Work       advice/work product
_1341                  15:57                                                                    company(ies)
                                                          Gold                                                   Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                Employee(s) of
                                                                                                NuCO2 and its
                                                                                                                                   Communication
NuCO2_Priv                                                                                      affiliated
             MSG       5/2/2016 8:34   Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_1342                                                                                           company(ies)                       hold.

                                                                                                Employee(s) of
                                                                                                NuCO2 and its
                                                                                                                                   Communication
NuCO2_Priv             4/28/2016                                                                affiliated
             MSG                       Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_1343                  8:00                                                                     company(ies)                       hold.




                                                                         239
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 241 of
                                                          573


                                                                                                 Employee(s) of
                                                                                                 NuCO2 and its
                                                                                                                                    Communication
NuCO2_Priv                                                                                       affiliated
             MSG        5/2/2016 8:34   Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_1344                                                                                            company(ies)                       hold.


                                                                                                                                    Communications
                                                                                                 Employee(s) of                     regarding request
                                                                                                                  Attorney          for/provision of legal
NuCO2_Priv                                                                                       NuCO2
             MSG        5/6/2016 9:48   Chris Pherson      John Templin                                           Client/Work       advice/work product
_1345
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding request
                                                                                                 affiliated       Attorney          for/provision of legal
NuCO2_Priv              4/28/2016
             MSG                        Markatos, David    John Templin         Piazza, Shelly                    Client/Work       advice/work product
_1346                   9:39                                                                     company(ies)
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding request
                                                                                                 affiliated       Attorney          for/provision of legal
NuCO2_Priv              4/28/2016
             doc                        Markatos, David    John Templin         Piazza, Shelly                    Client/Work       advice/work product
_1347                   9:39                                                                     company(ies)
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding request
                                                                                                 affiliated       Attorney          for/provision of legal
NuCO2_Priv              4/28/2016
             MSG                        Markatos, David    John Templin                                           Client/Work       advice/work product
_1348                   9:04                                                                     company(ies)
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding request
                                                                                                 affiliated       Attorney          for/provision of legal
NuCO2_Priv              4/28/2016
             docx                       Markatos, David    John Templin                                           Client/Work       advice/work product
_1349                   9:04                                                                     company(ies)
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.

                                                                          240
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 242 of
                                                          573


                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2 and its                       regarding request
                                                                                            affiliated        Attorney          for/provision of legal
NuCO2_Priv              6/12/2018                     Brian D. Potter;
             MSG                    Markatos, David                        Piazza, Shelly                     Client/Work       advice/work product
_1350                   14:49                         John Templin                          company(ies)
                                                                                                              Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2 and its                       regarding request
                                                                                            affiliated        Attorney          for/provision of legal
NuCO2_Priv              6/12/2018                     Brian D. Potter;
             docx                   Markatos, David                        Piazza, Shelly                     Client/Work       advice/work product
_1351                   14:49                         John Templin                          company(ies)
                                                                                                              Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2                               regarding request
                                                                                                              Attorney          for/provision of legal
NuCO2_Priv              6/5/2018
             MSG                    Brian D. Potter   John Templin                                            Client/Work       advice/work product
_1352                   13:50
                                                                                                              Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2                               regarding request
                                                                                                              Attorney          for/provision of legal
NuCO2_Priv              6/5/2018
             pdf                    Brian D. Potter   John Templin                                            Client/Work       advice/work product
_1353                   13:50
                                                                                                              Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                                                                Reflects
                                                                                             Employee(s) of
                                                                                                                                communications
NuCO2_Priv              6/14/2018                                                           NuCO2 and its
             MSG                    Markatos, David   John Templin         Bridget Correa                     Attorney Client   regarding settlement
_1354                   11:09                                                               affiliated
                                                                                                                                concerning customer
                                                                                            company(ies)
                                                                                                                                dispute.
                                                                                                                                Communications
                                                                                            Employee(s) of                      regarding need
                                                                                                              Attorney
NuCO2_Priv              5/2/2016                                                            NuCO2                               for/provision of
             MSG                    Chris Pherson     John Templin                                            Client/Work
_1355                   11:40                                                                                                   information in order to
                                                                                                              Product
                                                                                                                                facilitate provision of
                                                                                                                                legal advice/services.


                                                                     241
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 243 of
                                                         573


                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2 and its                      regarding need
                                                                                                                 Attorney
NuCO2_Priv             5/3/2016                                                                 affiliated                         for/provision of
             MSG                       Markatos, David    John Templin         Morrison, Rob                     Client/Work
_1356                  19:33                                                                    company(ies)                       information in order to
                                                                                                                 Product
                                                                                                                                   facilitate provision of
                                                                                                                                   legal advice/services.
                                                                                                Employee(s) of
                                                                                                NuCO2 and its
                                                                                                                                   Communication
NuCO2_Priv                                                                                      affiliated
             MSG       5/9/2016 8:40   Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_1357                                                                                           company(ies)                       hold.

                                                                                                Employee(s) of
                                                                                                                                   Reflects
                                                                                                NuCO2
                                                                                                                                   communications
NuCO2_Priv             6/5/2018                                                                                  Settlement
             MSG                       Nate Freese        John Templin                                                             regarding settlement
_1358                  19:48                                                                                     Negotiations
                                                                                                                                   concerning customer
                                                                                                                                   dispute.
                                                                                                Employee(s) of
                                                                                                                                   Reflects
                                                                                                NuCO2
                                                                                                                                   communications
NuCO2_Priv             6/5/2018                                                                                  Settlement
             xls                       Nate Freese        John Templin                                                             regarding settlement
_1359                  19:48                                                                                     Negotiations
                                                                                                                                   concerning customer
                                                                                                                                   dispute.


                                                                                                Employee(s) of                     Reflects need
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv             6/25/2018                                                                NuCO2
             MSG                       Maria Primm        John Templin         Ronald Thermil                    Client/Work       advice regarding
_1360                  14:50
                                                                                                                 Product           customer
                                                                                                                                   account/dispute.
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2                              regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv             6/19/2018
             MSG                       Brian D. Potter    John Templin                                           Client/Work       advice/work product
_1361                  14:44
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.




                                                                         242
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 244 of
                                                          573


                                                                                Employee(s) of                      Communications
                                                                                NuCO2                               regarding request
                                                                                                  Attorney          for/provision of legal
NuCO2_Priv              6/19/2018
             docx                       Brian D. Potter    John Templin                           Client/Work       advice/work product
_1362                   14:44
                                                                                                  Product           of counsel concerning
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                Employee(s) of
                                                                                NuCO2 and its
                                                                                                                    Communication
NuCO2_Priv                                                                      affiliated
             MSG        5/9/2016 8:40   Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1363                                                                           company(ies)                        hold.

                                                                                Employee(s) of
                                                                                NuCO2 and its
                                                                                                                    Communication
NuCO2_Priv                                                                      affiliated
             MSG        5/5/2016 8:00   Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1364                                                                           company(ies)                        hold.


                                                                                                                    Reflects
                                                                                 Employee(s) of
                                                                                                                    communications
NuCO2_Priv              6/25/2018                                               NuCO2 and its
             MSG                        Markatos, David    John Templin                           Attorney Client   regarding settlement
_1365                   14:52                                                   affiliated
                                                                                                                    concerning customer
                                                                                company(ies)
                                                                                                                    dispute.
                                                                                Employee(s) of                      Communications
                                                                                NuCO2                               regarding need
                                                                                                  Attorney
NuCO2_Priv              5/6/2016                           Carmen Torbus;                                           for/provision of
             MSG                        Vince Giordano                                            Client/Work
_1366                   14:48                              John Templin                                             information in order to
                                                                                                  Product
                                                                                                                    facilitate provision of
                                                                                                                    legal advice/services.
                                                           Carmen Torbus;       Employee(s) of                      Reflects need
                                                           Patrick Woelfel;     NuCO2                               for/provision of legal
                                                           Mark Novak;                            Attorney          advice regarding
NuCO2_Priv              5/6/2016
             png                        Randy Gold         Mike Kleimeyer;                        Client/Work       negotiation/drafting of
_1367                   14:49
                                                           Vince Giordano;                        Product           customer
                                                           Russell Vicari;                                          agreements/other
                                                           John Templin                                             issues.




                                                                          243
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 245 of
                                                         573


                                                         Carmen Torbus;                        Employee(s) of                 Reflects need
                                                         Patrick Woelfel;                      NuCO2                          for/provision of legal
                                                         Mark Novak;                                            Attorney      advice regarding
NuCO2_Priv             5/6/2016
             MSG                       Randy Gold        Mike Kleimeyer;                                        Client/Work   negotiation/drafting of
_1368                  14:49
                                                         Vince Giordano;                                        Product       customer
                                                         Russell Vicari;                                                      agreements/other
                                                         John Templin                                                         issues.
                                                                                               Employee(s) of                 Communications
                                                                                               NuCO2                          regarding need
                                                                                                                Attorney
NuCO2_Priv             5/6/2016                          Carmen Torbus;                                                       for/provision of
             MSG                       Vince Giordano                                                           Client/Work
_1369                  14:49                             John Templin                                                         information in order to
                                                                                                                Product
                                                                                                                              facilitate provision of
                                                                                                                              legal advice/services.
                                                                                               Employee(s) of
                                                                                                                              Reflects attorney
                                                                                               NuCO2 and its
                                                                                                                Attorney      Communications
NuCO2_Priv                                               John Templin;                         affiliated
             MSG       5/4/2016 8:40   Markatos, David                         Morrison, Rob                    Client/Work   and/or attorney work
_1370                                                    Gerald Miller                         company(ies)     Product       product regarding
                                                                                                                              safety.
                                                                                               Employee(s) of
                                                                                                                              Reflects attorney
                                                                                               NuCO2 and its
                                                                                                                Attorney      Communications
NuCO2_Priv                                               John Templin;                         affiliated
             pdf       5/4/2016 8:40   Markatos, David                         Morrison, Rob                    Client/Work   and/or attorney work
_1371                                                    Gerald Miller                         company(ies)     Product       product regarding
                                                                                                                              safety.
                                                         Vince Giordano;                       Employee(s) of
                                                         Patrick Woelfel;                      NuCO2
                                                         Mark Novak;                                                          Reflects attorney
                                                         Mike Kleimeyer;                                        Attorney      Communications
NuCO2_Priv             5/6/2016
             MSG                       Carmen Torbus     Russell Vicari;                                        Client/Work   and/or attorney work
_1372                  15:14
                                                         Randy Gold;                                            Product       product regarding
                                                         John Templin;                                                        safety.
                                                         Mark Novak;
                                                         Chris Pherson
                                                                                               Employee(s) of                 Communications
                                                                                               NuCO2                          regarding request
                                                                                                                Attorney
NuCO2_Priv             6/14/2018                                                                                              for/provision of legal
             MSG                       Nate Freese       John Templin                                           Client/Work
_1373                  6:07                                                                                                   advice/work product
                                                                                                                Product
                                                                                                                              of counsel concerning
                                                                                                                              negotiation/drafting of


                                                                         244
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 246 of
                                                          573


                                                                                                                            customer agreement.




                                                                                            Employee(s) of
                                                                                                                            Reflects attorney
                                                                                            NuCO2
                                                                                                             Attorney       Communications
NuCO2_Priv              5/6/2016
             MSG                    Vince Giordano    John Templin                                           Client/Work    and/or attorney work
_1374                   15:18
                                                                                                             Product        product regarding
                                                                                                                            safety.
                                                                                            Employee(s) of                  Communications
                                                                                            NuCO2 and its                   regarding request
                                                                                            affiliated       Attorney       for/provision of legal
NuCO2_Priv              6/25/2018
             MSG                    Markatos, David   John Templin         Piazza, Shelly                    Client/Work    advice/work product
_1375                   15:16                                                               company(ies)
                                                                                                             Product        of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                            Employee(s) of                  Communications
                                                                                            NuCO2 and its                   regarding request
                                                                                            affiliated       Attorney       for/provision of legal
NuCO2_Priv              6/25/2018
             docx                   Markatos, David   John Templin         Piazza, Shelly                    Client/Work    advice/work product
_1376                   15:16                                                               company(ies)
                                                                                                             Product        of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                            Employee(s) of                  Communications
                                                                                            NuCO2 and its                   regarding request
                                                                                            affiliated       Attorney       for/provision of legal
NuCO2_Priv              6/25/2018
             pdf                    Markatos, David   John Templin         Piazza, Shelly                    Client/Work    advice/work product
_1377                   15:16                                                               company(ies)
                                                                                                             Product        of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                            Employee(s) of
                                                                                            NuCO2                           Communications
NuCO2_Priv              6/27/2018                                                                            Settlement     regarding strategy for
             MSG                    Nate Freese       John Templin
_1378                   8:22                                                                                 Negotiations   settling customer
                                                                                                                            dispute.




                                                                     245
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 247 of
                                                          573


                                                                               Employee(s) of
                                                                               NuCO2                           Communications
NuCO2_Priv              6/27/2018                                                               Settlement     regarding strategy for
             docx                   Nate Freese       John Templin
_1379                   8:22                                                                    Negotiations   settling customer
                                                                                                               dispute.

                                                                               Employee(s) of                  Communications
                                                                               NuCO2                           regarding request
                                                                                                Attorney       for/provision of legal
NuCO2_Priv              6/13/2018                     John Templin;
             MSG                    Michael Graham                                              Client/Work    advice/work product
_1380                   10:39                         Brian D. Potter
                                                                                                Product        of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                               Employee(s) of                  Communications
                                                                               NuCO2                           regarding request
                                                                                                Attorney       for/provision of legal
NuCO2_Priv              6/13/2018                     John Templin;
             docx                   Michael Graham                                              Client/Work    advice/work product
_1381                   10:39                         Brian D. Potter
                                                                                                Product        of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                               Employee(s) of                  Communications
                                                                               NuCO2                           regarding request
                                                                                                Attorney       for/provision of legal
NuCO2_Priv              6/13/2018                     John Templin;
             pdf                    Michael Graham                                              Client/Work    advice/work product
_1382                   10:39                         Brian D. Potter
                                                                                                Product        of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                               Employee(s) of                  Communications
                                                                               NuCO2                           regarding request
                                                                                                Attorney       for/provision of legal
NuCO2_Priv              6/13/2018                     John Templin;
             pdf                    Michael Graham                                              Client/Work    advice/work product
_1383                   10:39                         Brian D. Potter
                                                                                                Product        of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                               Employee(s) of                  Communications
                                                                               NuCO2                           regarding request
                                                                                                Attorney       for/provision of legal
NuCO2_Priv              6/14/2018
             MSG                    Kathleen Daniel   John Templin                              Client/Work    advice/work product
_1384                   13:58
                                                                                                Product        of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.

                                                                        246
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 248 of
                                                          573


                                                                               Employee(s) of                  Communications
                                                                               NuCO2                           regarding request
                                                                                                Attorney       for/provision of legal
NuCO2_Priv              6/14/2018
             pdf                    Kathleen Daniel   John Templin                              Client/Work    advice/work product
_1385                   13:58
                                                                                                Product        of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              6/26/2018                     John Templin;                             Settlement
             pdf                    Gerald Miller                                                              regarding settlement
_1386                   11:22                         Nate Freese                               Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              6/26/2018                     John Templin;                             Settlement
             pdf                    Gerald Miller                                                              regarding settlement
_1387                   11:22                         Nate Freese                               Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              6/26/2018                     John Templin;                             Settlement
             docx                   Gerald Miller                                                              regarding settlement
_1388                   11:22                         Nate Freese                               Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              6/26/2018                     John Templin;                             Settlement
             docx                   Gerald Miller                                                              regarding settlement
_1389                   11:22                         Nate Freese                               Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                                                               Reflects
                                                                               NuCO2
                                                                                                               communications
NuCO2_Priv              6/26/2018                     John Templin;                             Settlement
             MSG                    Gerald Miller                                                              regarding settlement
_1390                   11:22                         Nate Freese                               Negotiations
                                                                                                               concerning customer
                                                                                                               dispute.




                                                                      247
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 249 of
                                                          573


                                                                               Employee(s) of
                                                                                                                  Reflects
                                                                               NuCO2
                                                                                                                  communications
NuCO2_Priv              6/22/2018
             MSG                    Bridget Correa     John Templin                             Attorney Client   regarding settlement
_1391                   12:04
                                                                                                                  concerning customer
                                                                                                                  dispute.
                                                                               Employee(s) of
                                                                                                                  Reflects
                                                                               NuCO2
                                                                                                                  communications
NuCO2_Priv              6/22/2018
             xlsx                   Bridget Correa     John Templin                             Attorney Client   regarding settlement
_1392                   12:04
                                                                                                                  concerning customer
                                                                                                                  dispute.
                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv              5/16/2016                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1393                   8:40                                                   company(ies)                       hold.

                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv              5/23/2016                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1394                   8:31                                                   company(ies)                       hold.

                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv              5/20/2016                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1395                   8:01                                                   company(ies)                       hold.

                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv              5/16/2016                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1396                   8:40                                                   company(ies)                       hold.




                                                                      248
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 250 of
                                                          573


                                                                                              Employee(s) of
                                                                                              NuCO2 and its
                                                                                                                                 Communication
NuCO2_Priv              5/23/2016                                                             affiliated
             MSG                    Edward Balzarini   Kathy Waters                                            Attorney Client   regarding litigation
_1397                   8:31                                                                  company(ies)                       hold.


                                                                                                                                 Communications
                                                                                              Employee(s) of                     regarding request
                                                                                                               Attorney          for/provision of legal
NuCO2_Priv              5/24/2016                                                             NuCO2
             MSG                    Peter Craig        John Templin                                            Client/Work       advice/work product
_1398                   9:47
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                              Employee(s) of
                                                                                                                                 Reflects
                                                                                              NuCO2 and its
                                                                                                               Attorney          communications
NuCO2_Priv              6/25/2018                                                             affiliated
             MSG                    Markatos, David    John Templin                                            Client/Work       regarding settlement
_1399                   12:41                                                                 company(ies)     Product           concerning customer
                                                                                                                                 dispute.
                                                                                              Employee(s) of
                                                                                                                                 Reflects
                                                                                              NuCO2 and its
                                                                                                               Attorney          communications
NuCO2_Priv              6/25/2018                                                             affiliated
             docx                   Markatos, David    John Templin                                            Client/Work       regarding settlement
_1400                   12:41                                                                 company(ies)     Product           concerning customer
                                                                                                                                 dispute.
                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2 and its                      regarding request
                                                                                              affiliated       Attorney          for/provision of legal
NuCO2_Priv              6/25/2018
             docx                   Piazza, Shelly     John Templin         Markatos, David                    Client/Work       advice/work product
_1401                   11:05                                                                 company(ies)
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2 and its                      regarding request
                                                                                              affiliated       Attorney          for/provision of legal
NuCO2_Priv              6/25/2018
             MSG                    Piazza, Shelly     John Templin         Markatos, David                    Client/Work       advice/work product
_1402                   11:05                                                                 company(ies)
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.



                                                                      249
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 251 of
                                                          573


                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv              5/31/2016                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                              Attorney Client   regarding litigation
_1403                   8:01                                                   company(ies)                        hold.


                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2
                                                                                                 Attorney          communications
NuCO2_Priv              7/10/2018
             xlsm                   Bridget Correa     John Templin                              Client/Work       regarding settlement
_1404                   8:50
                                                                                                 Product           concerning customer
                                                                                                                   dispute.
                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2
                                                                                                 Attorney          communications
NuCO2_Priv              7/10/2018
             MSG                    Bridget Correa     John Templin                              Client/Work       regarding settlement
_1405                   8:50
                                                                                                 Product           concerning customer
                                                                                                                   dispute.


                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv              5/29/2016                                              NuCO2 and its
             MSG                    Edward Balzarini   Kathy Waters                              Attorney Client   regarding litigation
_1406                   8:00                                                   affiliated
                                                                                                                   hold.
                                                                               company(ies)

                                                                               Employee(s) of
                                                       CAMS; Ronald            NuCO2                               Communications
NuCO2_Priv              6/1/2016                       Thermil; Sondra                                             providing guidance
             MSG                    Kym Cherubini                                                Attorney Client
_1407                   13:52                          Meyer; Peter                                                regarding regulatory
                                                       Craig                                                       compliance.

                                                                               Employee(s) of
                                                       CAMS; Ronald            NuCO2                               Communications
NuCO2_Priv              6/1/2016                       Thermil; Sondra                                             providing guidance
             pdf                    Kym Cherubini                                                Attorney Client
_1408                   13:52                          Meyer; Peter                                                regarding regulatory
                                                       Craig                                                       compliance.




                                                                      250
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 252 of
                                                         573


                                                                                            Employee(s) of
                                                      CAMS; Ronald                          NuCO2                               Communications
NuCO2_Priv             6/1/2016                       Thermil; Sondra                                                           providing guidance
             pdf                   Kym Cherubini                                                              Attorney Client
_1409                  13:52                          Meyer; Peter                                                              regarding regulatory
                                                      Craig                                                                     compliance.

                                                                                            Employee(s) of
                                                      CAMS; Ronald                          NuCO2                               Communications
NuCO2_Priv             6/1/2016                       Thermil; Sondra                                                           providing guidance
             pdf                   Kym Cherubini                                                              Attorney Client
_1410                  13:52                          Meyer; Peter                                                              regarding regulatory
                                                      Craig                                                                     compliance.

                                                                                            Employee(s) of
                                                      CAMS; Ronald                          NuCO2                               Communications
NuCO2_Priv             6/1/2016                       Thermil; Sondra                                                           providing guidance
             pdf                   Kym Cherubini                                                              Attorney Client
_1411                  13:52                          Meyer; Peter                                                              regarding regulatory
                                                      Craig                                                                     compliance.


                                                                                             Employee(s) of                     Communications
NuCO2_Priv             7/19/2018                                                            NuCO2 and its                       regarding strategy for
             MSG                   Markatos, David    John Templin         Piazza, Shelly                     Attorney Client
_1412                  9:18                                                                 affiliated                          settling customer
                                                                                            company(ies)                        dispute.

                                                                                                                                Communications
                                                                                            Employee(s) of                      regarding request
                                                                                                              Attorney          for/provision of legal
NuCO2_Priv             6/10/2016                                                            NuCO2
             MSG                   Justina Connelly   John Templin                                            Client/Work       advice/work product
_1413                  7:23
                                                                                                              Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                                                                Communications
                                                                                                                                regarding request
                                                                                                              Attorney          for/provision of legal
NuCO2_Priv             6/10/2016
             PDF                                      John Templin                          Self              Client/Work       advice/work product
_1414                  7:23
                                                                                                              Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.




                                                                     251
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 253 of
                                                         573


                                                                              Employee(s) of                      Communications
                                                                              NuCO2                               regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv             6/10/2016
             pdf                   Justina Connelly   John Templin                              Client/Work       advice/work product
_1415                  7:23
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                              Employee(s) of                      Communications
                                                                              NuCO2                               regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv             6/10/2016
             msg                   Josh Brassfield    Nate Freese                               Client/Work       advice/work product
_1416                  7:23
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                              Employee(s) of                      Communications
                                                                              NuCO2                               regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv             6/10/2016                      Justina Connelly;
             msg                   Josh Brassfield                                              Client/Work       advice/work product
_1417                  7:23                           Nate Freese
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.

                                                                               Employee(s) of
                                                                                                                  Communication
NuCO2_Priv             6/13/2016                                              NuCO2 and its
             MSG                   Edward Balzarini   Kathy Waters                              Attorney Client   regarding litigation
_1418                  8:42                                                   affiliated
                                                                                                                  hold.
                                                                              company(ies)


                                                                              Employee(s) of                      Reflects
                                                                                                Attorney          communications
NuCO2_Priv             7/10/2018                                              NuCO2
             MSG                   Bridget Correa     John Templin                              Client/Work       regarding settlement
_1419                  9:49
                                                                                                Product           concerning customer
                                                                                                                  dispute.


                                                                               Employee(s) of
                                                                                                                  Communication
NuCO2_Priv             5/24/2016                                              NuCO2 and its
             MSG                   Edward Balzarini   Kathy Waters                              Attorney Client   regarding litigation
_1420                  8:01                                                   affiliated
                                                                                                                  hold.
                                                                              company(ies)




                                                                     252
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 254 of
                                                          573


                                                                                                           Employee(s) of
                                                                                                          NuCO2 and                           Reflects
                                                                                                          attorney(s) for                     communications
NuCO2_Priv              7/11/2018                                               Christian Stein; Gerald                     Settlement
             MSG                        Edward Voelker     John Templin                                   NuCO2’s                             regarding settlement
_1421                   15:23                                                   Miller                                      Negotiations
                                                                                                          customer(s)                         concerning customer
                                                                                                                                              dispute.

                                                                                                           Employee(s) of
                                                                                                          NuCO2 and                           Reflects
                                                                                                          attorney(s) for                     communications
NuCO2_Priv              7/11/2018                                               Christian Stein; Gerald                     Settlement
             docx                       Edward Voelker     John Templin                                   NuCO2’s                             regarding settlement
_1422                   15:23                                                   Miller                                      Negotiations
                                                                                                          customer(s)                         concerning customer
                                                                                                                                              dispute.


                                                                                                           Employee(s) of
                                                                                                                                              Communication
NuCO2_Priv              6/10/2016                                                                         NuCO2 and its
             MSG                        Edward Balzarini   Kathy Waters                                                     Attorney Client   regarding litigation
_1423                   8:01                                                                              affiliated
                                                                                                                                              hold.
                                                                                                          company(ies)

                                                                                                          Employee(s) of
                                                                                                                                              Reflects
                                                                                                          NuCO2
                                                                                                                                              communications
NuCO2_Priv              6/10/2016                                                                                           Settlement
             MSG                        Justina Connelly   John Templin                                                                       regarding settlement
_1424                   10:05                                                                                               Negotiations
                                                                                                                                              concerning customer
                                                                                                                                              dispute.
                                                                                                          Employee(s) of
                                                                                                                                              Reflects
                                                                                                          NuCO2
                                                                                                                                              communications
NuCO2_Priv              6/10/2016                                                                                           Settlement
             xlsm                       Justina Connelly   John Templin                                                                       regarding settlement
_1425                   10:05                                                                                               Negotiations
                                                                                                                                              concerning customer
                                                                                                                                              dispute.


                                                                                                           Employee(s) of
                                                                                                                                              Communication
NuCO2_Priv                                                                                                NuCO2 and its
             MSG        6/5/2016 8:01   Edward Balzarini   Kathy Waters                                                     Attorney Client   regarding litigation
_1426                                                                                                     affiliated
                                                                                                                                              hold.
                                                                                                          company(ies)




                                                                          253
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 255 of
                                                         573


                                                                                                Employee(s) of
                                                                                                NuCO2 and its
                                                                                                                                   Communication
NuCO2_Priv             6/12/2016                                                                affiliated
             MSG                   Edward Balzarini    Kathy Waters                                              Attorney Client   regarding litigation
_1427                  8:00                                                                     company(ies)                       hold.


                                                       Gerald Miller;                           Employee(s) of
                                                       Foti, Kevin; Jeff                        NuCO2 and its
                                                       Gilheney; Derek                          affiliated
                                                       Burton; John
                                                                                                company(ies)
                                                       Templin; Mike
                                                       Lyons; Ruthie
                                                       Clemente; Stuart
                                                       Luks; Toyanna
                                                       Platt; Mark
                                                                                                                                   Reflects attorney
                                                       Novak; Dirk          Jerry Destefano;                     Attorney
NuCO2_Priv             7/9/2018                                                                                                    Communicationss/or
             MSG                   Felicia Gallagher   Horst; Damarie       Dominick Brandow;                    Client/Work
_1428                  16:07                                                                                                       attorney work product
                                                       Cortez; Sarah        Kevin Patton                         Product
                                                                                                                                   regarding legal matters.
                                                       Llewellyn; Bill
                                                       Wilson; Jeff
                                                       West; Brian D.
                                                       Potter; Nate
                                                       Freese; Brian
                                                       Catmull; Terry
                                                       Mckiernan; Eric
                                                       Hansen; Richard
                                                       Wilkie
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2 and its                      regarding request
                                                                                                affiliated       Attorney          for/provision of legal
NuCO2_Priv             7/19/2018
             png                   Ronald Thermil      John Templin                                              Client/Work       advice/work product
_1429                  15:41                                                                    company(ies)
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2                              regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv             7/19/2018
             pdf                   Ronald Thermil      John Templin                                              Client/Work       advice/work product
_1430                  15:41
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.

                                                                      254
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 256 of
                                                         573


                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding request
                                                                                               Attorney          for/provision of legal
NuCO2_Priv             7/19/2018
             pdf                   Ronald Thermil   John Templin                               Client/Work       advice/work product
_1431                  15:41
                                                                                               Product           of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding request
                                                                                               Attorney          for/provision of legal
NuCO2_Priv             7/19/2018
             MSG                   Ronald Thermil   John Templin                               Client/Work       advice/work product
_1432                  15:41
                                                                                               Product           of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                              Employee(s) of
                                                                              NuCO2
                                                                                                                 Communications
NuCO2_Priv             7/31/2018
             msg                   Ronald Thermil   John Templin                               Attorney Client   regarding customer
_1433                  6:45
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2
                                                                                                                 Communications
NuCO2_Priv             7/31/2018
             xls                   Ronald Thermil   John Templin                               Attorney Client   regarding customer
_1434                  6:45
                                                                                                                 dispute.


                                                                              Employee(s) of
                                                                              NuCO2
                                                                                                                 Communications
NuCO2_Priv             7/31/2018
             xls                   Ronald Thermil   John Templin                               Attorney Client   regarding customer
_1435                  6:45
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2
                                                                                                                 Communications
NuCO2_Priv             7/31/2018
             MSG                   Ronald Thermil   John Templin                               Attorney Client   regarding customer
_1436                  6:45
                                                                                                                 dispute.




                                                                   255
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 257 of
                                                          573



                                                                                                  Employee(s) of
                                                                                                                                     Communication
NuCO2_Priv              6/15/2016                                                                NuCO2 and its
             MSG                        Edward Balzarini   Kathy Waters                                            Attorney Client   regarding litigation
_1437                   8:00                                                                     affiliated
                                                                                                                                     hold.
                                                                                                 company(ies)


                                                                                                 Employee(s) of                      Reflects
                                                                                                                                     communications
NuCO2_Priv              7/18/2018                                                                NuCO2             Settlement
             MSG                        Nate Freese        John Templin                                                              regarding settlement
_1438                   20:01                                                                                      Negotiations
                                                                                                                                     concerning customer
                                                                                                                                     dispute.
                                                                                                 Employee(s) of
                                                                                                 NuCO2 and its
                                                           John Templin;                                           Attorney          Communications
NuCO2_Priv              6/20/2016                                                                affiliated
             MSG                        Markatos, David    Randy Gold;          Piazza, Shelly                     Client/Work       regarding need for legal
_1439                   15:31                                                                    company(ies)
                                                           Vince Giordano                                          Product           advice of counsel.

                                                                                                 Employee(s) of
                                                                                                 NuCO2 and its
                                                           John Templin;                                           Attorney          Communications
NuCO2_Priv              6/20/2016                                                                affiliated
             docx                       Markatos, David    Randy Gold;          Piazza, Shelly                     Client/Work       regarding need for legal
_1440                   15:31                                                                    company(ies)
                                                           Vince Giordano                                          Product           advice of counsel.

                                                                                                 Employee(s) of                      Communications
                                                                                                 NuCO2                               regarding need
                                                                                                                                     for/provision of
                                                                                                                                     information regarding
NuCO2_Priv                                                                                                                           customer
             pdf        8/2/2018 8:35   Sondra Meyer       John Templin         Ronald Thermil                     Attorney Client
_1441                                                                                                                                account/dispute in
                                                                                                                                     order to facilitate
                                                                                                                                     provision of legal
                                                                                                                                     advice/services
                                                                                                                                     concerning the same.
                                                                                                 Employee(s) of                      Communications
                                                                                                 NuCO2                               regarding need
NuCO2_Priv                                                                                                                           for/provision of
             xls        8/2/2018 8:35   Sondra Meyer       John Templin         Ronald Thermil                     Attorney Client
_1442                                                                                                                                information regarding
                                                                                                                                     customer
                                                                                                                                     account/dispute in

                                                                          256
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 258 of
                                                         573


                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.


                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             6/14/2016
             pdf                   Sondra Meyer   John Templin                                 Attorney Client   advice regarding
_1443                  15:52
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             6/14/2016
             pdf                   Sondra Meyer   John Templin                                 Attorney Client   advice regarding
_1444                  15:52
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             6/14/2016
             pdf                   Sondra Meyer   John Templin                                 Attorney Client   advice regarding
_1445                  15:52
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             6/14/2016
             xls                   Sondra Meyer   John Templin                                 Attorney Client   advice regarding
_1446                  15:52
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             6/14/2016
             MSG                   Sondra Meyer   John Templin                                 Attorney Client   advice regarding
_1447                  15:52
                                                                                                                 customer
                                                                                                                 account/dispute.




                                                                 257
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 259 of
                                                          573


                                                                                                          Employee(s) of                  Communications
                                                                                                          NuCO2 and its                   regarding request
                                                        Gerald Miller;
                                                                                                          affiliated       Attorney       for/provision of legal
NuCO2_Priv              6/24/2016                       John Templin;          Bourque, Michael;
             MSG                    Markatos, David                                                                        Client/Work    advice/work product
_1448                   8:17                            Randy Gold;            Piazza, Shelly             company(ies)
                                                                                                                           Product        of counsel concerning
                                                        Vince Giordano
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.
                                                                                                          Employee(s) of                  Communications
                                                                                                          NuCO2 and its                   regarding request
                                                        Gerald Miller;
                                                                                                          affiliated       Attorney       for/provision of legal
NuCO2_Priv              6/24/2016                       John Templin;          Bourque, Michael;
             docx                   Markatos, David                                                                        Client/Work    advice/work product
_1449                   8:17                            Randy Gold;            Piazza, Shelly             company(ies)
                                                                                                                           Product        of counsel concerning
                                                        Vince Giordano
                                                                                                                                          negotiation/drafting of
                                                                                                                                          customer agreement.
                                                                               Gina Ferriss; Hank         Employee(s) of
                                                        John Chesney;                                                                     Communications
                                                                               Moeller; Roger
NuCO2_Priv              7/12/2018                       Robbi Stiell; Jeff                                NuCO2            Settlement     regarding strategy for
             msg                    Mark Novak                                 Montealegre;
_1450                   17:11                           Dodds; Jeff                                                        Negotiations   settling customer
                                                                               Regulatory; Tech
                                                        Bagby                                                                             dispute.
                                                                               Support
                                                                                                          Employee(s) of
                                                                                                          NuCO2                           Communications
                                                                               Jeff Bagby; Bill Wilson;
NuCO2_Priv              7/12/2018                                                                                          Settlement     regarding strategy for
             msg                    Roger Montealegre   Robbi Stiell           Kyle Brown; James
_1451                   17:11                                                                                              Negotiations   settling customer
                                                                               Gubatan
                                                                                                                                          dispute.

                                                                               Conesha Moorer;            Employee(s) of
                                                        Mark Novak;
                                                                               HAY; Sarah Llewellyn;      NuCO2                           Communications
                                                        Roger
NuCO2_Priv              7/12/2018                                              Hank Moeller;                               Settlement     regarding strategy for
             MSG                    Robbi Stiell        Montealegre;
_1452                   17:11                                                  Regulatory; Jeff Bagby;                     Negotiations   settling customer
                                                        Amber Rives;
                                                                               Derek Burton; John                                         dispute.
                                                        Schedulers
                                                                               Templin
                                                                               Conesha Moorer;
                                                        Mark Novak;                                       Employee(s) of
                                                                               HAY; Sarah Llewellyn;                                      Communications
                                                        Roger
NuCO2_Priv              7/12/2018                                              Hank Moeller;              NuCO2            Settlement     regarding strategy for
             pdf                    Roger Montealegre   Montealegre;
_1453                   17:11                                                  Regulatory; Jeff Bagby;                     Negotiations   settling customer
                                                        Amber Rives;
                                                                               Derek Burton; John                                         dispute.
                                                        Schedulers
                                                                               Templin




                                                                         258
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 260 of
                                                         573



                                                                               Employee(s) of
                                                                                                                  Communication
NuCO2_Priv             6/20/2016                                              NuCO2 and its
             MSG                   Edward Balzarini   John Templin                              Attorney Client   regarding litigation
_1454                  8:43                                                   affiliated
                                                                                                                  hold.
                                                                              company(ies)


                                                                              Employee(s) of                      Reflects attorney
                                                                                                Attorney          Communications
NuCO2_Priv             7/30/2018                                              NuCO2
             MSG                   Help Desk          John Templin                              Client/Work       and/or attorney work
_1455                  9:34
                                                                                                Product           product regarding
                                                                                                                  acquisition.

                                                                                                                  Reflects attorney
                                                                                                Attorney          Communications
NuCO2_Priv             7/30/2018
             pdf                                      John Templin             Self             Client/Work       and/or attorney work
_1456                  9:34
                                                                                                Product           product regarding
                                                                                                                  acquisition.
                                                                              Employee(s) of
                                                                                                                  Reflects attorney
                                                                              NuCO2 and its
                                                                                                Attorney          Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                      John Templin                              Client/Work       and/or attorney work
_1457                  9:34                                                   company(ies)      Product           product regarding
                                                                                                                  acquisition.
                                                                              Employee(s) of
                                                                                                                  Reflects attorney
                                                                              NuCO2 and its
                                                                                                Attorney          Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                      John Templin                              Client/Work       and/or attorney work
_1458                  9:34                                                   company(ies)      Product           product regarding
                                                                                                                  acquisition.
                                                                              Employee(s) of
                                                                                                                  Reflects attorney
                                                                              NuCO2 and its
                                                                                                Attorney          Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                      John Templin                              Client/Work       and/or attorney work
_1459                  9:34                                                   company(ies)      Product           product regarding
                                                                                                                  acquisition.




                                                                     259
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 261 of
                                                         573


                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1460                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1461                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1462                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1463                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1464                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1465                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.




                                                                260
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 262 of
                                                         573


                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1466                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1467                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             DOC                                 John Templin                                  Client/Work   and/or attorney work
_1468                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1469                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             XLS                                 John Templin                                  Client/Work   and/or attorney work
_1470                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             XLS                                 John Templin                                  Client/Work   and/or attorney work
_1471                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.




                                                                261
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 263 of
                                                         573


                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1472                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1473                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1474                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1475                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             BIN                                 John Templin                                  Client/Work   and/or attorney work
_1476                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1477                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.




                                                                262
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 264 of
                                                         573


                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1478                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1479                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             BIN                                 John Templin                                  Client/Work   and/or attorney work
_1480                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1481                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             XLS                                 John Templin                                  Client/Work   and/or attorney work
_1482                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1483                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.




                                                                263
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 265 of
                                                         573


                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             XLS                                 John Templin                                  Client/Work   and/or attorney work
_1484                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1485                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             XLS                                 John Templin                                  Client/Work   and/or attorney work
_1486                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1487                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             XLS                                 John Templin                                  Client/Work   and/or attorney work
_1488                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1489                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.




                                                                264
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 266 of
                                                         573


                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             XLS                                 John Templin                                  Client/Work   and/or attorney work
_1490                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             XLS                                 John Templin                                  Client/Work   and/or attorney work
_1491                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             XLS                                 John Templin                                  Client/Work   and/or attorney work
_1492                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             XLS                                 John Templin                                  Client/Work   and/or attorney work
_1493                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             XLS                                 John Templin                                  Client/Work   and/or attorney work
_1494                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1495                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.




                                                                265
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 267 of
                                                         573


                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1496                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1497                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1498                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             ZIP                                 John Templin                                  Client/Work   and/or attorney work
_1499                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             VSD                                 John Templin                                  Client/Work   and/or attorney work
_1500                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.
                                                                              Employee(s) of
                                                                                                             Reflects attorney
                                                                              NuCO2 and its
                                                                                               Attorney      Communications
NuCO2_Priv             7/30/2018                                              affiliated
             DOC                                 John Templin                                  Client/Work   and/or attorney work
_1501                  9:34                                                   company(ies)     Product       product regarding
                                                                                                             acquisition.




                                                                266
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 268 of
                                                          573


                                                                               Employee(s) of
                                                                                                                   Reflects attorney
                                                                               NuCO2 and its
                                                                                                 Attorney          Communications
NuCO2_Priv              7/30/2018                                              affiliated
             VSD                                       John Templin                              Client/Work       and/or attorney work
_1502                   9:34                                                   company(ies)      Product           product regarding
                                                                                                                   acquisition.
                                                                               Employee(s) of
                                                                                                                   Reflects attorney
                                                                               NuCO2
                                                                                                 Attorney          Communications
NuCO2_Priv              7/30/2018   Gerald_Miller@pr
             pptx                                      John Templin                              Client/Work       and/or attorney work
_1503                   9:34        axair.com
                                                                                                 Product           product regarding
                                                                                                                   acquisition.
                                                                               Employee(s) of
                                                                                                                   Reflects attorney
                                                                               NuCO2
                                                                                                 Attorney          Communications
NuCO2_Priv              7/30/2018   Gerald_Miller@pr
             doc                                       John Templin                              Client/Work       and/or attorney work
_1504                   9:34        axair.com
                                                                                                 Product           product regarding
                                                                                                                   acquisition.
                                                                               Employee(s) of
                                                                                                                   Reflects attorney
                                                                               NuCO2
                                                                                                 Attorney          Communications
NuCO2_Priv              7/30/2018   Gerald_Miller@pr
             doc                                       John Templin                              Client/Work       and/or attorney work
_1505                   9:34        axair.com
                                                                                                 Product           product regarding
                                                                                                                   acquisition.
                                                                               Employee(s) of
                                                                                                                   Reflects attorney
                                                                               NuCO2
                                                                                                 Attorney          Communications
NuCO2_Priv              7/30/2018   Gerald_Miller@pr   Jtemplin@nuco2.
             msg                                                                                 Client/Work       and/or attorney work
_1506                   9:34        axair.com          com
                                                                                                 Product           product regarding
                                                                                                                   acquisition.


                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv              6/20/2016                                              NuCO2 and its
             MSG                    Edward Balzarini   Kathy Waters                              Attorney Client   regarding litigation
_1507                   8:43                                                   affiliated
                                                                                                                   hold.
                                                                               company(ies)




                                                                      267
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 269 of
                                                         573


                                                                                        Employee(s) of
                                                                                        NuCO2                              Communications
NuCO2_Priv             7/12/2018                                                                         Settlement        regarding strategy for
             MSG                   Robbi Stiell     John Templin         Derek Burton
_1508                  18:00                                                                             Negotiations      settling customer
                                                                                                                           dispute.

                                                                                        Employee(s) of                     Communications
                                                                                        NuCO2                              regarding request
                                                                                                         Attorney          for/provision of legal
NuCO2_Priv             7/31/2018
             MSG                   Ronald Thermil   John Templin                                         Client/Work       advice/work product
_1509                  10:55
                                                                                                         Product           of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                        Employee(s) of                     Communications
                                                                                        NuCO2                              regarding request
                                                                                                         Attorney          for/provision of legal
NuCO2_Priv             7/31/2018
             pdf                   Ronald Thermil   John Templin                                         Client/Work       advice/work product
_1510                  10:55
                                                                                                         Product           of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                        Employee(s) of                     Communications
                                                                                        NuCO2                              regarding request
                                                                                                         Attorney          for/provision of legal
NuCO2_Priv             7/31/2018
             pdf                   Ronald Thermil   John Templin                                         Client/Work       advice/work product
_1511                  10:55
                                                                                                         Product           of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                        Employee(s) of
                                                                                                                           Reflects need
                                                                                        NuCO2
                                                                                                                           for/provision of legal
NuCO2_Priv             6/15/2016
             MSG                   Sondra Meyer     John Templin                                         Attorney Client   advice regarding
_1512                  9:32
                                                                                                                           customer
                                                                                                                           account/dispute.
                                                                                        Employee(s) of
                                                                                                                           Reflects need
                                                                                        NuCO2
                                                                                                                           for/provision of legal
NuCO2_Priv             6/15/2016
             pdf                   Sondra Meyer     John Templin                                         Attorney Client   advice regarding
_1513                  9:32
                                                                                                                           customer
                                                                                                                           account/dispute.




                                                                   268
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 270 of
                                                          573


                                                                                             Employee(s) of
                                                                                                                                Reflects need
                                                                                             NuCO2
                                                                                                                                for/provision of legal
NuCO2_Priv              6/15/2016
             pdf                    Sondra Meyer       John Templin                                           Attorney Client   advice regarding
_1514                   9:32
                                                                                                                                customer
                                                                                                                                account/dispute.
                                                                                             Employee(s) of
                                                                                                                                Reflects need
                                                                                             NuCO2
                                                                                                                                for/provision of legal
NuCO2_Priv              6/15/2016
             pdf                    Sondra Meyer       John Templin                                           Attorney Client   advice regarding
_1515                   9:32
                                                                                                                                customer
                                                                                                                                account/dispute.
                                                                                             Employee(s) of
                                                                                                                                Reflects need
                                                                                             NuCO2
                                                                                                                                for/provision of legal
NuCO2_Priv              6/15/2016
             xls                    Sondra Meyer       John Templin                                           Attorney Client   advice regarding
_1516                   9:32
                                                                                                                                customer
                                                                                                                                account/dispute.
                                                                                             Employee(s) of
                                                                                             NuCO2
                                                                                                                                Communication
NuCO2_Priv              6/18/2016
             MSG                    Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_1517                   8:00
                                                                                                                                hold.

                                                                                             Employee(s) of
                                                                                                                                Reflects
                                                                                             NuCO2
                                                                                                              Attorney          communications
NuCO2_Priv              7/30/2018
             pdf                    Kathleen Daniel    John Templin         Suzanne Morine                    Client/Work       regarding settlement
_1518                   16:17
                                                                                                              Product           concerning customer
                                                                                                                                dispute.
                                                                                             Employee(s) of
                                                                                                                                Reflects
                                                                                             NuCO2
                                                                                                              Attorney          communications
NuCO2_Priv              7/30/2018
             docx                   Kathleen Daniel    John Templin         Suzanne Morine                    Client/Work       regarding settlement
_1519                   16:17
                                                                                                              Product           concerning customer
                                                                                                                                dispute.




                                                                      269
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 271 of
                                                          573


                                                                                             Employee(s) of
                                                                                                                                Reflects
                                                                                             NuCO2
                                                                                                              Attorney          communications
NuCO2_Priv              7/30/2018
             xlsx                   Kathleen Daniel    John Templin         Suzanne Morine                    Client/Work       regarding settlement
_1520                   16:17
                                                                                                              Product           concerning customer
                                                                                                                                dispute.
                                                                                             Employee(s) of
                                                                                                                                Reflects
                                                                                             NuCO2
                                                                                                              Attorney          communications
NuCO2_Priv              7/30/2018
             MSG                    Kathleen Daniel    John Templin         Suzanne Morine                    Client/Work       regarding settlement
_1521                   16:17
                                                                                                              Product           concerning customer
                                                                                                                                dispute.
                                                                                             Employee(s) of
                                                       Heather
                                                                                             NuCO2                              Communications
                                                       Lindbom; Chain
NuCO2_Priv              6/21/2016                                                                                               providing guidance
             pdf                    Justina Connelly   and Prestige;        Ian Harper                        Attorney Client
_1522                   7:08                                                                                                    regarding regulatory
                                                       Field Account
                                                                                                                                compliance.
                                                       Coordinators
                                                                                             Employee(s) of
                                                       Heather
                                                                                             NuCO2                              Communications
                                                       Lindbom; Chain
NuCO2_Priv              6/21/2016                                                                                               providing guidance
             pdf                    Justina Connelly   and Prestige;        Ian Harper                        Attorney Client
_1523                   7:08                                                                                                    regarding regulatory
                                                       Field Account
                                                                                                                                compliance.
                                                       Coordinators
                                                                                             Employee(s) of
                                                       Heather
                                                                                             NuCO2                              Communications
                                                       Lindbom; Chain
NuCO2_Priv              6/21/2016                                                                                               providing guidance
             pdf                    Justina Connelly   and Prestige;        Ian Harper                        Attorney Client
_1524                   7:08                                                                                                    regarding regulatory
                                                       Field Account
                                                                                                                                compliance.
                                                       Coordinators
                                                                                             Employee(s) of
                                                       Heather
                                                                                             NuCO2                              Communications
                                                       Lindbom; Chain
NuCO2_Priv              6/21/2016                                                                                               providing guidance
             pdf                    Justina Connelly   and Prestige;        Ian Harper                        Attorney Client
_1525                   7:08                                                                                                    regarding regulatory
                                                       Field Account
                                                                                                                                compliance.
                                                       Coordinators




                                                                      270
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 272 of
                                                         573


                                                                                      Employee(s) of
                                                      Heather
                                                                                      NuCO2                              Communications
                                                      Lindbom; Chain
NuCO2_Priv             6/21/2016                                                                                         providing guidance
             pdf                   Justina Connelly   and Prestige;      Ian Harper                    Attorney Client
_1526                  7:08                                                                                              regarding regulatory
                                                      Field Account
                                                                                                                         compliance.
                                                      Coordinators
                                                                                      Employee(s) of
                                                      Heather
                                                                                      NuCO2                              Communications
                                                      Lindbom; Chain
NuCO2_Priv             6/21/2016                                                                                         providing guidance
             pdf                   Justina Connelly   and Prestige;      Ian Harper                    Attorney Client
_1527                  7:08                                                                                              regarding regulatory
                                                      Field Account
                                                                                                                         compliance.
                                                      Coordinators
                                                                                      Employee(s) of
                                                      Heather
                                                                                      NuCO2                              Communications
                                                      Lindbom; Chain
NuCO2_Priv             6/21/2016                                                                                         providing guidance
             pdf                   Justina Connelly   and Prestige;      Ian Harper                    Attorney Client
_1528                  7:08                                                                                              regarding regulatory
                                                      Field Account
                                                                                                                         compliance.
                                                      Coordinators
                                                                                      Employee(s) of
                                                      Heather
                                                                                      NuCO2                              Communications
                                                      Lindbom; Chain
NuCO2_Priv             6/21/2016                                                                                         providing guidance
             pdf                   Justina Connelly   and Prestige;      Ian Harper                    Attorney Client
_1529                  7:08                                                                                              regarding regulatory
                                                      Field Account
                                                                                                                         compliance.
                                                      Coordinators
                                                                                      Employee(s) of
                                                      Heather
                                                                                      NuCO2                              Communications
                                                      Lindbom; Chain
NuCO2_Priv             6/21/2016                                                                                         providing guidance
             pdf                   Justina Connelly   and Prestige;      Ian Harper                    Attorney Client
_1530                  7:08                                                                                              regarding regulatory
                                                      Field Account
                                                                                                                         compliance.
                                                      Coordinators
                                                                                      Employee(s) of
                                                      Heather
                                                                                      NuCO2                              Communications
                                                      Lindbom; Chain
NuCO2_Priv             6/21/2016                                                                                         providing guidance
             MSG                   Justina Connelly   and Prestige;      Ian Harper                    Attorney Client
_1531                  7:08                                                                                              regarding regulatory
                                                      Field Account
                                                                                                                         compliance.
                                                      Coordinators




                                                                   271
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 273 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             6/21/2016                                                                                 regarding need for
             MSG                   Mark Novak         John Templin                             Attorney Client
_1532                  11:08                                                                                     guidance regarding
                                                                                                                 regulatory compliance.

                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             8/3/2018                                                                Settlement
             MSG                   Brian D. Potter    John Templin                                               regarding settlement
_1533                  10:16                                                                   Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             8/3/2018                                                                Settlement
             xls                   Brian D. Potter    John Templin                                               regarding settlement
_1534                  10:16                                                                   Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             8/3/2018                                                                Settlement
             pdf                   Brian D. Potter    John Templin                                               regarding settlement
_1535                  10:16                                                                   Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             6/23/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1536                  8:01                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             6/28/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1537                  8:00                                                   company(ies)                       hold.




                                                                     272
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 274 of
                                                          573


                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2 and its                      regarding request
                                                           John Templin;
                                                                                                   affiliated       Attorney          for/provision of legal
NuCO2_Priv              6/23/2016                          Gerald Miller;
             MSG                        Markatos, David                         Bourque, Michael                    Client/Work       advice/work product
_1538                   7:55                               Randy Gold;                             company(ies)
                                                                                                                    Product           of counsel concerning
                                                           Vince Giordano
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2 and its                      regarding request
                                                           John Templin;
                                                                                                   affiliated       Attorney          for/provision of legal
NuCO2_Priv              6/23/2016                          Gerald Miller;
             docx                       Markatos, David                         Bourque, Michael                    Client/Work       advice/work product
_1539                   7:55                               Randy Gold;                             company(ies)
                                                                                                                    Product           of counsel concerning
                                                           Vince Giordano
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2 and its                      regarding request
                                                           John Templin;
                                                                                                   affiliated       Attorney          for/provision of legal
NuCO2_Priv              6/23/2016                          Gerald Miller;
             docx                       Markatos, David                         Bourque, Michael                    Client/Work       advice/work product
_1540                   7:55                               Randy Gold;                             company(ies)
                                                                                                                    Product           of counsel concerning
                                                           Vince Giordano
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                   Employee(s) of
                                                                                                   NuCO2 and its
                                                                                                                                      Communication
NuCO2_Priv                                                                                         affiliated
             MSG        7/3/2016 7:59   Edward Balzarini   Kathy Waters                                             Attorney Client   regarding litigation
_1541                                                                                              company(ies)                       hold.

                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2                              regarding need
                                                                                                                    Attorney
NuCO2_Priv              7/7/2016                                                                                                      for/provision of
             MSG                        Vince Giordano     John Templin                                             Client/Work
_1542                   12:28                                                                                                         information in order to
                                                                                                                    Product
                                                                                                                                      facilitate provision of
                                                                                                                                      legal advice/services.
                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2                              regarding need
                                                                                                                    Attorney
NuCO2_Priv              7/7/2016                                                                                                      for/provision of
             docx                       Vince Giordano     John Templin                                             Client/Work
_1543                   12:28                                                                                                         information in order to
                                                                                                                    Product
                                                                                                                                      facilitate provision of
                                                                                                                                      legal advice/services.



                                                                          273
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 275 of
                                                          573


                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding request
                                                                                                 affiliated       Attorney          for/provision of legal
NuCO2_Priv
             MSG        7/6/2016 9:36   Markatos, David    John Templin         Piazza, Shelly                    Client/Work       advice/work product
_1544                                                                                            company(ies)
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                 Employee(s) of                     Communications
                                                                                                 NuCO2 and its                      regarding request
                                                                                                 affiliated       Attorney          for/provision of legal
NuCO2_Priv
             docx       7/6/2016 9:36   Markatos, David    John Templin         Piazza, Shelly                    Client/Work       advice/work product
_1545                                                                                            company(ies)
                                                                                                                  Product           of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                 Employee(s) of
                                                                                                 NuCO2 and its
                                                                                                                                    Communication
NuCO2_Priv              6/30/2016                                                                affiliated
             MSG                        Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_1546                   7:57                                                                     company(ies)                       hold.

                                                                                                 Employee(s) of
                                                                                                 NuCO2 and its
                                                                                                                                    Communication
NuCO2_Priv              7/11/2016                                                                affiliated
             MSG                        Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_1547                   8:41                                                                     company(ies)                       hold.


                                                                                                 Employee(s) of
                                                                                                 NuCO2 and its
                                                                                                                                    Communication
NuCO2_Priv                                                                                       affiliated
             MSG        7/8/2016 7:57   Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_1548                                                                                            company(ies)                       hold.

                                                                                                 Employee(s) of
                                                                                                 NuCO2 and its
                                                                                                                                    Communication
NuCO2_Priv              7/12/2016                                                                affiliated
             MSG                        Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_1549                   7:59                                                                     company(ies)                       hold.




                                                                          274
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 276 of
                                                          573


                                                                                                         Employee(s) of
                                                                                                         NuCO2 and its
                                                                                                                                            Communication
NuCO2_Priv                                                                                               affiliated
             MSG        7/5/2016 7:58   Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_1550                                                                                                    company(ies)                       hold.


                                                                                                         Employee(s) of
                                                                                                         NuCO2                              Communications
NuCO2_Priv              7/14/2016                                                                                                           providing guidance
             MSG                        Jeff Wilson        Kym Cherubini         John Templin                             Attorney Client
_1551                   11:05                                                                                                               regarding regulatory
                                                                                                                                            compliance.

                                                                                                         Employee(s) of
                                                                                                         NuCO2                              Communications
NuCO2_Priv              7/14/2016                                                                                                           providing guidance
             pdf                        Jeff Wilson        Kym Cherubini         John Templin                             Attorney Client
_1552                   11:05                                                                                                               regarding regulatory
                                                                                                                                            compliance.

                                                                                                         Employee(s) of                     Communications
                                                                                                         NuCO2 and its                      regarding request
                                                                                                         affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/11/2016                                                David Markatos; John
             MSG                        Piazza, Shelly     Robbi Stiell                                                   Client/Work       advice/work product
_1553                   14:58                                                    Templin                 company(ies)
                                                                                                                          Product           of counsel concerning
                                                                                                                                            negotiation/drafting of
                                                                                                                                            customer agreement.
                                                                                                         Employee(s) of                     Communications
                                                                                                         NuCO2 and its                      regarding request
                                                                                                         affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/11/2016                                                David Markatos; John
             docx                       Piazza, Shelly     Robbi Stiell                                                   Client/Work       advice/work product
_1554                   14:58                                                    Templin                 company(ies)
                                                                                                                          Product           of counsel concerning
                                                                                                                                            negotiation/drafting of
                                                                                                                                            customer agreement.
                                                                                                         Employee(s) of                     Communications
                                                                                                         NuCO2 and its                      regarding request
                                                                                                         affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/13/2016                                                John Templin; Piazza,
             MSG                        Robbi Stiell       David Markatos                                                 Client/Work       advice/work product
_1555                   10:33                                                    Shelly                  company(ies)
                                                                                                                          Product           of counsel concerning
                                                                                                                                            negotiation/drafting of
                                                                                                                                            customer agreement.



                                                                           275
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 277 of
                                                          573


                                                                                             Employee(s) of                     Communications
                                                                                             NuCO2 and its                      regarding request
                                                                                             affiliated                         for/provision of legal
NuCO2_Priv              7/7/2016                       David Markatos;
             MSG                    Robbi Stiell                            John Templin                      Attorney Client   advice/work product
_1556                   14:23                          Piazza, Shelly                        company(ies)
                                                                                                                                of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                             Employee(s) of                     Communications
                                                                                             NuCO2 and its                      regarding request
                                                                                             affiliated                         for/provision of legal
NuCO2_Priv              7/7/2016                       David Markatos;
             docx                   Robbi Stiell                            John Templin                      Attorney Client   advice/work product
_1557                   14:23                          Piazza, Shelly                        company(ies)
                                                                                                                                of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                             Employee(s) of                     Communications
                                                                                             NuCO2 and its                      regarding request
                                                                                             affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/13/2016                      Robbi Stiell; John
             docx                   Markatos, David                         Piazza, Shelly                    Client/Work       advice/work product
_1558                   13:25                          Templin                               company(ies)
                                                                                                              Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                             Employee(s) of                     Communications
                                                                                             NuCO2 and its                      regarding request
                                                                                             affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/13/2016                      Robbi Stiell; John
             MSG                    Markatos, David                         Piazza, Shelly                    Client/Work       advice/work product
_1559                   13:25                          Templin                               company(ies)
                                                                                                              Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                             Employee(s) of
                                                                                             NuCO2 and its
                                                                                                                                Communication
NuCO2_Priv              7/19/2016                                                            affiliated
             MSG                    Edward Balzarini   Kathy Waters                                           Attorney Client   regarding litigation
_1560                   8:01                                                                 company(ies)                       hold.

                                                                                             Employee(s) of                     Communications
                                                                                             NuCO2 and its                      regarding request
                                                                                             affiliated                         for/provision of legal
NuCO2_Priv              7/22/2016
             MSG                    Markatos, David    John Templin         Piazza, Shelly                    Attorney Client   advice/work product
_1561                   8:18                                                                 company(ies)
                                                                                                                                of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.

                                                                      276
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 278 of
                                                          573


                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2 and its                       regarding request
                                                                                            affiliated                          for/provision of legal
NuCO2_Priv              7/22/2016
             docx                   Markatos, David   John Templin         Piazza, Shelly                     Attorney Client   advice/work product
_1562                   8:18                                                                company(ies)
                                                                                                                                of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                                                                Communications
                                                                                                                                regarding request
                                                                                             Employee(s) of
                                                                                                              Attorney          for/provision of legal
NuCO2_Priv              7/22/2016                                                           NuCO2 and its
             MSG                    Markatos, David   John Templin                                            Client/Work       advice/work product
_1563                   13:50                                                               affiliated
                                                                                                              Product           of counsel concerning
                                                                                            company(ies)
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2                               regarding request
                                                                                                              Attorney          for/provision of legal
NuCO2_Priv              7/11/2016
             MSG                    Robbi Stiell      John Templin                                            Client/Work       advice/work product
_1564                   17:02
                                                                                                              Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2                               regarding request
                                                                                                              Attorney          for/provision of legal
NuCO2_Priv              7/11/2016
             jpg                    Robbi Stiell      John Templin                                            Client/Work       advice/work product
_1565                   17:02
                                                                                                              Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2                               regarding request
                                                                                                              Attorney          for/provision of legal
NuCO2_Priv              7/11/2016
             png                    Robbi Stiell      John Templin                                            Client/Work       advice/work product
_1566                   17:02
                                                                                                              Product           of counsel concerning
                                                                                                                                negotiation/drafting of
                                                                                                                                customer agreement.
                                                                                            Employee(s) of                      Communications
                                                                                            NuCO2                               regarding need
                                                                                                              Attorney
NuCO2_Priv              7/12/2016                                                                                               for/provision of
             MSG                    Vince Giordano    John Templin                                            Client/Work
_1567                   8:17                                                                                                    information in order to
                                                                                                              Product
                                                                                                                                facilitate provision of
                                                                                                                                legal advice/services.

                                                                     277
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 279 of
                                                         573


                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                               Attorney
NuCO2_Priv             7/12/2016                                                                                 for/provision of
             png                   Vince Giordano     John Templin                             Client/Work
_1568                  8:17                                                                                      information in order to
                                                                                               Product
                                                                                                                 facilitate provision of
                                                                                                                 legal advice/services.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                               Attorney
NuCO2_Priv             7/12/2016                                                                                 for/provision of
             png                   Vince Giordano     John Templin                             Client/Work
_1569                  8:17                                                                                      information in order to
                                                                                               Product
                                                                                                                 facilitate provision of
                                                                                                                 legal advice/services.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                               Attorney
NuCO2_Priv             7/12/2016                                                                                 for/provision of
             png                   Vince Giordano     John Templin                             Client/Work
_1570                  8:17                                                                                      information in order to
                                                                                               Product
                                                                                                                 facilitate provision of
                                                                                                                 legal advice/services.
                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             7/14/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1571                  8:01                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             7/15/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1572                  7:59                                                   company(ies)                       hold.

                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding need
                                                                                               Attorney
NuCO2_Priv             7/12/2016                                                                                 for/provision of
             MSG                   Vince Giordano     John Templin                             Client/Work
_1573                  8:18                                                                                      information in order to
                                                                                               Product
                                                                                                                 facilitate provision of
                                                                                                                 legal advice/services.




                                                                     278
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 280 of
                                                          573


                                                                                                      Employee(s) of                     Communications
                                                                                                      NuCO2                              regarding need
                                                                                                                       Attorney
NuCO2_Priv              7/12/2016                                                                                                        for/provision of
             docx                   Vince Giordano     John Templin                                                    Client/Work
_1574                   8:18                                                                                                             information in order to
                                                                                                                       Product
                                                                                                                                         facilitate provision of
                                                                                                                                         legal advice/services.
                                                                                                      Employee(s) of                     Communications
                                                                                                      NuCO2 and its                      regarding request
                                                                                                      affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/12/2016                                             David Markatos; John
             MSG                    Robbi Stiell       Piazza, Shelly                                                  Client/Work       advice/work product
_1575                   10:46                                                 Templin                 company(ies)
                                                                                                                       Product           of counsel concerning
                                                                                                                                         negotiation/drafting of
                                                                                                                                         customer agreement.
                                                                                                      Employee(s) of                     Communications
                                                                                                      NuCO2 and its                      regarding request
                                                                                                      affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/12/2016                                             David Markatos; John
             docx                   Robbi Stiell       Piazza, Shelly                                                  Client/Work       advice/work product
_1576                   10:46                                                 Templin                 company(ies)
                                                                                                                       Product           of counsel concerning
                                                                                                                                         negotiation/drafting of
                                                                                                                                         customer agreement.
                                                                                                      Employee(s) of                     Communications
                                                                                                      NuCO2 and its                      regarding request
                                                                                                      affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/13/2016                                             John Templin; Piazza,
             MSG                    Markatos, David    Robbi Stiell                                                    Client/Work       advice/work product
_1577                   12:54                                                 Shelly                  company(ies)
                                                                                                                       Product           of counsel concerning
                                                                                                                                         negotiation/drafting of
                                                                                                                                         customer agreement.
                                                                                                      Employee(s) of
                                                                                                      NuCO2 and its
                                                                                                                                         Communication
NuCO2_Priv              7/25/2016                                                                     affiliated
             MSG                    Edward Balzarini   Kathy Waters                                                    Attorney Client   regarding litigation
_1578                   8:44                                                                          company(ies)                       hold.

                                                                                                      Employee(s) of                     Communications
                                                                                                      NuCO2 and its                      regarding request
                                                                                                      affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/22/2016
             MSG                    Markatos, David    John Templin                                                    Client/Work       advice/work product
_1579                   10:25                                                                         company(ies)
                                                                                                                       Product           of counsel concerning
                                                                                                                                         negotiation/drafting of
                                                                                                                                         customer agreement.


                                                                        279
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 281 of
                                                          573


                                                                                                                             Communications
                                                                                              Employee(s) of                 regarding request
                                                                                                               Attorney      for/provision of legal
NuCO2_Priv              7/22/2016                     Gerald Miller;                          NuCO2
             MSG                    Randy Gold                                                                 Client/Work   advice/work product
_1580                   15:10                         John Templin
                                                                                                               Product       of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications
                                                                                              NuCO2 and its                  regarding request
                                                      Randy Gold;
                                                                                              affiliated       Attorney      for/provision of legal
NuCO2_Priv              7/21/2016                     Gerald Miller;
             docx                   Markatos, David                          Piazza, Shelly                    Client/Work   advice/work product
_1581                   15:19                         John Templin;                           company(ies)
                                                                                                               Product       of counsel concerning
                                                      Jeff Wilson
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications
                                                                                              NuCO2 and its                  regarding request
                                                      Randy Gold;
                                                                                              affiliated       Attorney      for/provision of legal
NuCO2_Priv              7/21/2016                     Gerald Miller;
             MSG                    Markatos, David                          Piazza, Shelly                    Client/Work   advice/work product
_1582                   15:19                         John Templin;                           company(ies)
                                                                                                               Product       of counsel concerning
                                                      Jeff Wilson
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications
                                                                                              NuCO2 and its                  regarding request
                                                                                              affiliated       Attorney      for/provision of legal
NuCO2_Priv              8/2/2016
             docx                   Markatos, David   John Templin           Piazza, Shelly                    Client/Work   advice/work product
_1583                   13:09                                                                 company(ies)
                                                                                                               Product       of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications
                                                                                              NuCO2 and its                  regarding request
                                                                                              affiliated       Attorney      for/provision of legal
NuCO2_Priv              8/2/2016
             MSG                    Markatos, David   John Templin           Piazza, Shelly                    Client/Work   advice/work product
_1584                   13:09                                                                 company(ies)
                                                                                                               Product       of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications
                                                      David Markatos;                         NuCO2 and its                  regarding request
                                                                                                               Attorney
NuCO2_Priv              7/21/2016                     Gerald Miller;                          affiliated                     for/provision of legal
             MSG                    Randy Gold                               Piazza, Shelly                    Client/Work
_1585                   15:26                         John Templin;                           company(ies)                   advice/work product
                                                                                                               Product
                                                      Jeff Wilson                                                            of counsel concerning
                                                                                                                             negotiation/drafting of

                                                                       280
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 282 of
                                                          573


                                                                                                                                           customer agreement.




                                                                                                        Employee(s) of                     Communications
                                                                                                        NuCO2 and its                      regarding request
                                                                                Gerald Miller; John     affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/21/2016
             MSG                        Markatos, David    Randy Gold           Templin; Jeff Wilson;                    Client/Work       advice/work product
_1586                   15:41                                                                           company(ies)
                                                                                Piazza, Shelly                           Product           of counsel concerning
                                                                                                                                           negotiation/drafting of
                                                                                                                                           customer agreement.
                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                           Communication
NuCO2_Priv              7/21/2016                                                                       affiliated
             MSG                        Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1587                   8:01                                                                            company(ies)                       hold.


                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                           Communication
NuCO2_Priv              7/29/2016                                                                       affiliated
             MSG                        Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1588                   8:01                                                                            company(ies)                       hold.

                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                           Communication
NuCO2_Priv                                                                                              affiliated
             MSG        8/2/2016 8:01   Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1589                                                                                                   company(ies)                       hold.


                                                                                                        Employee(s) of
                                                                                                        NuCO2
                                                                                                                                           Communications
NuCO2_Priv              7/26/2016
             xlsx                       Angie Baggett      John Templin                                                  Attorney Client   regarding customer
_1590                   9:12
                                                                                                                                           dispute.




                                                                          281
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 283 of
                                                          573


                                                                                              Employee(s) of
                                                                                              NuCO2
                                                                                                                                 Communications
NuCO2_Priv              7/26/2016
             MSG                    Angie Baggett     John Templin                                             Attorney Client   regarding customer
_1591                   9:12
                                                                                                                                 dispute.


                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2                              regarding need
                                                                                                               Attorney
NuCO2_Priv              8/3/2016                                                                                                 for/provision of
             MSG                    Robbi Stiell      John Templin                                             Client/Work
_1592                   16:02                                                                                                    information in order to
                                                                                                               Product
                                                                                                                                 facilitate provision of
                                                                                                                                 legal advice/services.
                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2                              regarding need
                                                                                                               Attorney
NuCO2_Priv              8/3/2016                                                                                                 for/provision of
             docx                   Robbi Stiell      John Templin                                             Client/Work
_1593                   16:02                                                                                                    information in order to
                                                                                                               Product
                                                                                                                                 facilitate provision of
                                                                                                                                 legal advice/services.
                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2                              regarding need
                                                                                                               Attorney
NuCO2_Priv              8/3/2016                                                                                                 for/provision of
             MSG                    Robbi Stiell      John Templin                                             Client/Work
_1594                   16:38                                                                                                    information in order to
                                                                                                               Product
                                                                                                                                 facilitate provision of
                                                                                                                                 legal advice/services.
                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2 and its                      regarding request
                                                      Randy Gold;
                                                                                              affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/22/2016                     Gerald Miller;
             MSG                    Markatos, David                          Piazza, Shelly                    Client/Work       advice/work product
_1595                   8:01                          John Templin;                           company(ies)
                                                                                                               Product           of counsel concerning
                                                      Jeff Wilson
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2 and its                      regarding request
                                                      Randy Gold;
                                                                                              affiliated       Attorney          for/provision of legal
NuCO2_Priv              7/22/2016                     Gerald Miller;
             pdf                    Markatos, David                          Piazza, Shelly                    Client/Work       advice/work product
_1596                   8:01                          John Templin;                           company(ies)
                                                                                                               Product           of counsel concerning
                                                      Jeff Wilson
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.




                                                                       282
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 284 of
                                                         573


                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding need
                                                                                                 Attorney
NuCO2_Priv             8/3/2016                                                                                    for/provision of
             MSG                       Robbi Stiell       John Templin                           Client/Work
_1597                  16:53                                                                                       information in order to
                                                                                                 Product
                                                                                                                   facilitate provision of
                                                                                                                   legal advice/services.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2                               regarding need
                                                                                                 Attorney
NuCO2_Priv             8/3/2016                                                                                    for/provision of
             MSG                       Robbi Stiell       John Templin                           Client/Work
_1598                  18:13                                                                                       information in order to
                                                                                                 Product
                                                                                                                   facilitate provision of
                                                                                                                   legal advice/services.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2 and its                       regarding request
                                                                               affiliated                          for/provision of legal
NuCO2_Priv             8/4/2016                           David Markatos;
             MSG                       Vince Giordano                                            Attorney Client   advice/work product
_1599                  16:48                              John Templin         company(ies)
                                                                                                                   of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2 and its                       regarding request
                                                                               affiliated                          for/provision of legal
NuCO2_Priv             8/4/2016                           David Markatos;
             pdf                       Vince Giordano                                            Attorney Client   advice/work product
_1600                  16:48                              John Templin         company(ies)
                                                                                                                   of counsel concerning
                                                                                                                   negotiation/drafting of
                                                                                                                   customer agreement.
                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                   Communication
NuCO2_Priv                                                                     affiliated
             MSG       8/1/2016 8:50   Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1601                                                                          company(ies)                        hold.



                                                                                Employee(s) of
                                                                                                                   Communication
NuCO2_Priv             7/31/2016                                               NuCO2 and its
             MSG                       Edward Balzarini   Kathy Waters                           Attorney Client   regarding litigation
_1602                  8:01                                                    affiliated
                                                                                                                   hold.
                                                                               company(ies)




                                                                         283
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 285 of
                                                          573


                                                                                                        Employee(s) of                      Communications
                                                                                                        NuCO2                               regarding request
                                                                                                                                            for/provision of legal
NuCO2_Priv
             MSG        8/8/2016 9:22   Randy Gold        John Templin                                                    Attorney Client   advice/work product
_1603
                                                                                                                                            of counsel concerning
                                                                                                                                            negotiation/drafting of
                                                                                                                                            customer agreement.
                                                                                                        Employee(s) of                      Communications
                                                                                                        NuCO2                               regarding request
                                                                                                                                            for/provision of legal
NuCO2_Priv
             docx       8/8/2016 9:22   Randy Gold        John Templin                                                    Attorney Client   advice/work product
_1604
                                                                                                                                            of counsel concerning
                                                                                                                                            negotiation/drafting of
                                                                                                                                            customer agreement.
                                                                                                        Employee(s) of                      Communications
                                                                                                        NuCO2                               regarding request
                                                                                                                                            for/provision of legal
NuCO2_Priv
             htm        8/8/2016 9:22   Randy Gold        John Templin                                                    Attorney Client   advice/work product
_1605
                                                                                                                                            of counsel concerning
                                                                                                                                            negotiation/drafting of
                                                                                                                                            customer agreement.
                                                                                                                                            Communications
                                                                                                                                            regarding request
                                                                                                         Employee(s) of
                                                                                                                          Attorney          for/provision of legal
NuCO2_Priv                                                                     Morrison, Rob; Piazza,   NuCO2 and its
             MSG        8/2/2016 8:38   Markatos, David   John Templin                                                    Client/Work       advice/work product
_1606                                                                          Shelly                   affiliated
                                                                                                                          Product           of counsel concerning
                                                                                                        company(ies)
                                                                                                                                            negotiation/drafting of
                                                                                                                                            customer agreement.
                                                                                                                                            Communications
                                                                                                                                            regarding request
                                                                                                         Employee(s) of
                                                                                                                          Attorney          for/provision of legal
NuCO2_Priv                                                                     Morrison, Rob; Piazza,   NuCO2 and its
             docx       8/2/2016 8:38   Markatos, David   John Templin                                                    Client/Work       advice/work product
_1607                                                                          Shelly                   affiliated
                                                                                                                          Product           of counsel concerning
                                                                                                        company(ies)
                                                                                                                                            negotiation/drafting of
                                                                                                                                            customer agreement.
                                                                                                        Employee(s) of
                                                                                                                                            Reflects need
                                                                                                        NuCO2
                                                                                                                          Attorney          for/provision of legal
NuCO2_Priv
             MSG        8/9/2016 8:58   Kathleen Daniel   John Templin                                                    Client/Work       advice regarding
_1608
                                                                                                                          Product           customer
                                                                                                                                            account/dispute.


                                                                         284
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 286 of
                                                         573


                                                                                             Employee(s) of
                                                                                                                                 Reflects need
                                                                                             NuCO2
                                                                                                               Attorney          for/provision of legal
NuCO2_Priv
             doc       8/9/2016 8:58   Kathleen Daniel   John Templin                                          Client/Work       advice regarding
_1609
                                                                                                               Product           customer
                                                                                                                                 account/dispute.
                                                                                             Employee(s) of
                                                                                                                                 Reflects need
                                                                                             NuCO2
                                                                                                               Attorney          for/provision of legal
NuCO2_Priv
             xls       8/9/2016 8:58   Kathleen Daniel   John Templin                                          Client/Work       advice regarding
_1610
                                                                                                               Product           customer
                                                                                                                                 account/dispute.

                                                                                                                                 Reflects need
                                                                                              Employee(s) of
                                                                                                                                 for/provision of legal
NuCO2_Priv             8/16/2016                                                             NuCO2 and its
             pdf                       Peter Craig       David Markatos       John Templin                     Attorney Client   advice regarding
_1611                  9:10                                                                  affiliated
                                                                                                                                 customer
                                                                                             company(ies)
                                                                                                                                 account/dispute.
                                                                                             Employee(s) of
                                                                                                                                 Reflects need
                                                                                             NuCO2 and its
                                                                                                                                 for/provision of legal
NuCO2_Priv             8/16/2016                                                             affiliated
             pdf                       Peter Craig       David Markatos       John Templin                     Attorney Client   advice regarding
_1612                  9:10                                                                  company(ies)                        customer
                                                                                                                                 account/dispute.
                                                                                             Employee(s) of
                                                                                                                                 Reflects need
                                                                                             NuCO2 and its
                                                                                                                                 for/provision of legal
NuCO2_Priv             8/16/2016                                                             affiliated
             MSG                       Peter Craig       David Markatos       John Templin                     Attorney Client   advice regarding
_1613                  9:10                                                                  company(ies)                        customer
                                                                                                                                 account/dispute.
                                                                                             Employee(s) of
                                                                                             NuCO2
                                                                                                               Attorney          Communications
NuCO2_Priv
             MSG       8/4/2016 9:14   Robbi Stiell      John Templin                                          Client/Work       regarding need for legal
_1614
                                                                                                               Product           advice of counsel.




                                                                        285
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 287 of
                                                         573


                                                                               Employee(s) of
                                                                               NuCO2
                                                                                                Attorney          Communications
NuCO2_Priv
             pdf       8/4/2016 9:14   Robbi Stiell       John Templin                          Client/Work       regarding need for legal
_1615
                                                                                                Product           advice of counsel.


                                                                               Employee(s) of
                                                                                                                  Reflects
                                                                               NuCO2
                                                                                                                  communications
NuCO2_Priv             8/3/2016                                                                 Settlement
             MSG                       Sondra Meyer       John Templin                                            regarding settlement
_1616                  15:43                                                                    Negotiations
                                                                                                                  concerning customer
                                                                                                                  dispute.
                                                                               Employee(s) of
                                                                                                                  Reflects
                                                                               NuCO2
                                                                                                                  communications
NuCO2_Priv             8/3/2016                                                                 Settlement
             pdf                       Sondra Meyer       John Templin                                            regarding settlement
_1617                  15:43                                                                    Negotiations
                                                                                                                  concerning customer
                                                                                                                  dispute.
                                                                               Employee(s) of
                                                                                                                  Reflects
                                                                               NuCO2
                                                                                                                  communications
NuCO2_Priv             8/3/2016                                                                 Settlement
             xls                       Sondra Meyer       John Templin                                            regarding settlement
_1618                  15:43                                                                    Negotiations
                                                                                                                  concerning customer
                                                                                                                  dispute.
                                                                               Employee(s) of
                                                                                                                  Reflects
                                                                               NuCO2
                                                                                                                  communications
NuCO2_Priv             8/3/2016                                                                 Settlement
             pdf                       Sondra Meyer       John Templin                                            regarding settlement
_1619                  15:43                                                                    Negotiations
                                                                                                                  concerning customer
                                                                                                                  dispute.
                                                                               Employee(s) of
                                                                               NuCO2 and its
                                                                                                                  Communication
NuCO2_Priv             8/23/2016                                               affiliated
             MSG                       Edward Balzarini   Kathy Waters                          Attorney Client   regarding litigation
_1620                  8:00                                                    company(ies)                       hold.




                                                                         286
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 288 of
                                                         573


                                                                                                   Employee(s) of
                                                                                                   NuCO2 and its
                                                                                                                                       Communication
NuCO2_Priv             8/22/2016                                                                   affiliated
             MSG                   Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_1621                  8:42                                                                        company(ies)                        hold.


                                                                                                                                       Communications
                                                                                                                                       regarding request
                                                                                                    Employee(s) of
                                                                                                                     Attorney          for/provision of legal
NuCO2_Priv             8/12/2016                                           David Markatos;         NuCO2 and its
             doc                   Brice, Rachelle    John Templin                                                   Client/Work       advice/work product
_1622                  9:58                                                Kathleen Daniel         affiliated
                                                                                                                     Product           of counsel concerning
                                                                                                   company(ies)
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.

                                                                           Donohue, Dana; David     Employee(s) of                     Reflects attorney
NuCO2_Priv             8/12/2016   Judy_Coco@praxa                         Markatos; Black,        NuCO2 and its                       Communicationss/or
             MSG                                      Ruthie Clemente                                                Attorney Client
_1623                  13:44       ir.com                                  Donald; Bourque,        affiliated                          attorney work product
                                                                           Michael; John Templin   company(ies)                        regarding legal matters.


                                                                           Donohue, Dana; David     Employee(s) of                     Reflects attorney
NuCO2_Priv             8/12/2016   Judy_Coco@praxa                         Markatos; Black,        NuCO2 and its                       Communicationss/or
             pdf                                      Ruthie Clemente                                                Attorney Client
_1624                  13:44       ir.com                                  Donald; Bourque,        affiliated                          attorney work product
                                                                           Michael; John Templin   company(ies)                        regarding legal matters.


                                                                                                   Employee(s) of                      Reflects
                                                                                                                                       communications
NuCO2_Priv             8/29/2016                                                                   NuCO2             Settlement
             MSG                   Maria Primm        John Templin                                                                     regarding settlement
_1625                  14:03                                                                                         Negotiations
                                                                                                                                       concerning customer
                                                                                                                                       dispute.


                                                                                                    Employee(s) of
                                                                                                                                       Communication
NuCO2_Priv             8/26/2016                                                                   NuCO2 and its
             MSG                   Edward Balzarini   Kathy Waters                                                   Attorney Client   regarding litigation
_1626                  8:00                                                                        affiliated
                                                                                                                                       hold.
                                                                                                   company(ies)




                                                                     287
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 289 of
                                                         573


                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             8/29/2016                                                               Settlement
             MSG                   Maria Primm   John Templin                                                    regarding settlement
_1627                  12:31                                                                   Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             8/29/2016                                                               Settlement
             pdf                   Maria Primm   John Templin                                                    regarding settlement
_1628                  12:31                                                                   Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             8/31/2016
             MSG                   Peter Craig   John Templin                                  Attorney Client   advice regarding
_1629                  16:58
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             8/31/2016
             pdf                   Peter Craig   John Templin                                  Attorney Client   advice regarding
_1630                  16:58
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             8/31/2016
             pdf                   Peter Craig   John Templin                                  Attorney Client   advice regarding
_1631                  16:58
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2
                                                                                                                 for/provision of legal
NuCO2_Priv             8/31/2016
             pdf                   Peter Craig   John Templin                                  Attorney Client   advice regarding
_1632                  16:58
                                                                                                                 customer
                                                                                                                 account/dispute.




                                                                288
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 290 of
                                                          573



                                                                                                Employee(s) of
                                                                                                                                   Communication
NuCO2_Priv                                                                                     NuCO2 and its
             MSG        9/4/2016 8:01   Edward Balzarini   Kathy Waters                                          Attorney Client   regarding litigation
_1633                                                                                          affiliated
                                                                                                                                   hold.
                                                                                               company(ies)

                                                                                               Employee(s) of                      Communications
                                                                                               NuCO2                               regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              8/30/2016
             MSG                        Maria Primm        John Templin                                          Client/Work       advice/work product
_1634                   9:52
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                               Employee(s) of                      Communications
                                                                                               NuCO2                               regarding request
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              8/30/2016
             docx                       Maria Primm        John Templin                                          Client/Work       advice/work product
_1635                   9:52
                                                                                                                 Product           of counsel concerning
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                               Employee(s) of
                                                                                                                                   Reflects need
                                                                                               NuCO2
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              9/6/2016                           Beth Ann.
             doc                        Jeff Gilheney                           John Templin                     Client/Work       advice regarding
_1636                   12:16                              Amber
                                                                                                                 Product           customer
                                                                                                                                   account/dispute.
                                                                                               Employee(s) of
                                                                                                                                   Reflects need
                                                                                               NuCO2
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              9/6/2016                           Beth Ann.
             xls                        Jeff Gilheney                           John Templin                     Client/Work       advice regarding
_1637                   12:16                              Amber
                                                                                                                 Product           customer
                                                                                                                                   account/dispute.
                                                                                               Employee(s) of
                                                                                                                                   Reflects need
                                                                                               NuCO2
                                                                                                                 Attorney          for/provision of legal
NuCO2_Priv              9/6/2016                           Beth Ann.
             MSG                        Jeff Gilheney                           John Templin                     Client/Work       advice regarding
_1638                   12:16                              Amber
                                                                                                                 Product           customer
                                                                                                                                   account/dispute.




                                                                          289
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 291 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             9/20/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1639                  7:52                                                   company(ies)                       hold.


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             9/20/2016                                              affiliated
             MSG                   Edward Balzarini   John Templin                             Attorney Client   regarding litigation
_1640                  7:52                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             9/20/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1641                  8:01                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             9/18/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1642                  8:01                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             9/22/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1643                  8:01                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             9/19/2016                                              affiliated
             MSG                   Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1644                  8:43                                                   company(ies)                       hold.




                                                                     290
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 292 of
                                                         573


                                                                                         Employee(s) of
                                                                                         NuCO2 and its
                                                                                                                            Communication
NuCO2_Priv             10/1/2016                                                         affiliated
             MSG                   Edward Balzarini   Kathy Waters                                        Attorney Client   regarding litigation
_1645                  8:45                                                              company(ies)                       hold.


                                                                                         Employee(s) of
                                                                                         NuCO2 and its
                                                                                                                            Communication
NuCO2_Priv             9/27/2016                                                         affiliated
             MSG                   Edward Balzarini   Kathy Waters                                        Attorney Client   regarding litigation
_1646                  8:01                                                              company(ies)                       hold.

                                                                                         Employee(s) of
                                                                                         NuCO2 and its
                                                                                                                            Communication
NuCO2_Priv             10/1/2016                                                         affiliated
             MSG                   Edward Balzarini   Kathy Waters                                        Attorney Client   regarding litigation
_1647                  8:50                                                              company(ies)                       hold.

                                                                                         Employee(s) of
                                                                                                                            Reflects
                                                                                         NuCO2 and its
                                                                                                                            communications or
NuCO2_Priv             10/6/2016                                                         affiliated
             MSG                   Markatos, David    John Templin         Foti, Kevin                    Attorney Client   advice or work product
_1648                  13:42                                                             company(ies)                       regarding handling
                                                                                                                            competitor disputes.
                                                                                         Employee(s) of
                                                                                                                            Reflects
                                                                                         NuCO2 and its
                                                                                                                            communications or
NuCO2_Priv             10/6/2016                                                         affiliated
             pdf                   Markatos, David    John Templin         Foti, Kevin                    Attorney Client   advice or work product
_1649                  13:42                                                             company(ies)                       regarding handling
                                                                                                                            competitor disputes.
                                                                                         Employee(s) of
                                                                                                                            Reflects
                                                                                         NuCO2 and its
                                                                                                                            communications or
NuCO2_Priv             10/6/2016                                                         affiliated
             pdf                   Markatos, David    John Templin         Foti, Kevin                    Attorney Client   advice or work product
_1650                  13:42                                                             company(ies)                       regarding handling
                                                                                                                            competitor disputes.




                                                                     291
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 293 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             10/9/2016                                              affiliated
             MSG                    Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_1651                  8:01                                                   company(ies)                       hold.



                                                                              Employee(s) of                     Reflects need
                                                                                               Attorney          for/provision of legal
NuCO2_Priv             10/17/2016                                             NuCO2
             MSG                    Peter Craig        John Templin                            Client/Work       advice regarding
_1652                  9:28
                                                                                               Product           customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             10/20/2016                                             affiliated
             MSG                    Edward Balzarini   Kathy Waters                            Attorney Client   regarding litigation
_1653                  8:01                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2 and its
                                                                                                                 for/provision of legal
NuCO2_Priv             10/17/2016                      John Templin;          affiliated
             MSG                    Peter Craig                                                Attorney Client   advice regarding
_1654                  8:49                            David Markatos         company(ies)                       customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2 and its
                                                                                                                 for/provision of legal
NuCO2_Priv             10/17/2016                      John Templin;          affiliated
             pdf                    Peter Craig                                                Attorney Client   advice regarding
_1655                  8:49                            David Markatos         company(ies)                       customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects need
                                                                              NuCO2 and its
                                                                                                                 for/provision of legal
NuCO2_Priv             10/17/2016                      John Templin;          affiliated
             xls                    Peter Craig                                                Attorney Client   advice regarding
_1656                  8:49                            David Markatos         company(ies)                       customer
                                                                                                                 account/dispute.




                                                                      292
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 294 of
                                                          573


                                                                                                     Employee(s) of
                                                                                                                                        Reflects need
                                                                                                     NuCO2 and its
                                                                                                                                        for/provision of legal
NuCO2_Priv              10/17/2016                      John Templin;                                affiliated
             pdf                     Peter Craig                                                                      Attorney Client   advice regarding
_1657                   8:49                            David Markatos                               company(ies)                       customer
                                                                                                                                        account/dispute.
                                                                                                     Employee(s) of
                                                                                                     NuCO2 and its
                                                                                                                                        Communication
NuCO2_Priv              10/14/2016                                                                   affiliated
             MSG                     Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1658                   8:01                                                                         company(ies)                       hold.

                                                                                                     Employee(s) of
                                                                                                                                        Reflects need
                                                                                                     NuCO2 and its
                                                                                                                                        for/provision of legal
NuCO2_Priv              10/20/2016                                                                   affiliated
             MSG                     Markatos, David    John Templin                                                  Attorney Client   advice regarding
_1659                   14:34                                                                        company(ies)                       customer
                                                                                                                                        account/dispute.
                                                                                                     Employee(s) of
                                                                                                                                        Reflects attorney
                                                                                                     NuCO2 and its
                                                                             Bill Wilson; Gerald                      Attorney          Communications
NuCO2_Priv              10/27/2016   Maynard-Elliott,                                                affiliated
             xlsm                                       Randy Gold           Miller; John Templin;                    Client/Work       and/or attorney work
_1660                   7:49         Nichelle                                                        company(ies)
                                                                             Russell Vicari                           Product           product regarding
                                                                                                                                        acquisition.
                                                                                                     Employee(s) of
                                                                                                                                        Reflects attorney
                                                                                                     NuCO2 and its
                                                                             Bill Wilson; Gerald                      Attorney          Communications
NuCO2_Priv              10/27/2016   Maynard-Elliott,                                                affiliated
             MSG                                        Randy Gold           Miller; John Templin;                    Client/Work       and/or attorney work
_1661                   7:49         Nichelle                                                        company(ies)
                                                                             Russell Vicari                           Product           product regarding
                                                                                                                                        acquisition.
                                                                                                     Employee(s) of
                                                                                                     NuCO2 and its
                                                                                                                                        Communication
NuCO2_Priv              10/7/2016                                                                    affiliated
             MSG                     Edward Balzarini   Kathy Waters                                                  Attorney Client   regarding litigation
_1662                   8:02                                                                         company(ies)                       hold.




                                                                       293
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 295 of
                                                          573


                                                                               Employee(s) of
                                                                                                                   Reflects need
                                                                               NuCO2 and its
                                                                                                                   for/provision of legal
NuCO2_Priv              10/20/2016                                             affiliated
             MSG                     Markatos, David   John Templin                              Attorney Client   advice regarding
_1663                   14:38                                                  company(ies)                        customer
                                                                                                                   account/dispute.


                                                                               Employee(s) of                      Communications
NuCO2_Priv              10/25/2016                                             NuCO2             Settlement        regarding strategy for
             MSG                     Vince Giordano    John Templin
_1664                   12:20                                                                    Negotiations      settling customer
                                                                                                                   dispute.


                                                                                                                   Reflects need
                                                                                Employee(s) of
                                                                                                                   for/provision of legal
NuCO2_Priv              10/20/2016                                             NuCO2 and its
             MSG                     Markatos, David   John Templin                              Attorney Client   advice regarding
_1665                   14:48                                                  affiliated
                                                                                                                   customer
                                                                               company(ies)
                                                                                                                   account/dispute.
                                                       Gerald Miller;
                                                       Jeff Gilheney;
                                                       Mark Novak;
                                                       Mike Kleimeyer;
                                                       Randy Gold;
                                                                               Employee(s) of                      Reflects attorney
                                                       Ruthie Clemente;
                                                                                                 Attorney          Communications
NuCO2_Priv              10/11/2016                     Russell Vicari;         NuCO2
             xlsx                    Harry Torres                                                Client/Work       and/or attorney work
_1666                   12:59                          Kent Hoffman;
                                                                                                 Product           product regarding
                                                       Vince Giordano;
                                                                                                                   insurance.
                                                       John Templin;
                                                       Russell Vicari;
                                                       Stuart Luks;
                                                       Toyanna Platt;
                                                       Derek Burton
                                                                               Employee(s) of
                                                                                                                   Reflects attorney
                                                                               NuCO2
                                                                                                 Attorney          Communications
NuCO2_Priv              11/2/2016
             MSG                     Russell Vicari    John Templin                              Client/Work       and/or attorney work
_1667                   10:05
                                                                                                 Product           product regarding
                                                                                                                   acquisition.




                                                                      294
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 296 of
                                                          573


                                                                                                   Employee(s) of
                                                                                                                                    Reflects attorney
                                                                                                   NuCO2
                                                                                                                     Attorney       Communications
NuCO2_Priv              11/2/2016
             xlsm                    Russell Vicari    John Templin                                                  Client/Work    and/or attorney work
_1668                   10:05
                                                                                                                     Product        product regarding
                                                                                                                                    acquisition.
                                                                                                   Employee(s) of                   Communications
                                                                                                   NuCO2                            regarding request
                                                                                                                     Attorney       for/provision of legal
NuCO2_Priv              10/24/2016
             pdf                     Peter Craig       John Templin                                                  Client/Work    advice/work product
_1669                   10:25
                                                                                                                     Product        of counsel concerning
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                                                    Communications
                                                                                                                                    regarding request
                                                                                                    Employee(s) of
                                                                                                                     Attorney       for/provision of legal
NuCO2_Priv              10/24/2016                                                                 NuCO2 and its
             MSG                     Peter Craig       John Templin                                                  Client/Work    advice/work product
_1670                   10:25                                                                      affiliated
                                                                                                                     Product        of counsel concerning
                                                                                                   company(ies)
                                                                                                                                    negotiation/drafting of
                                                                                                                                    customer agreement.
                                                                                                   Employee(s) of
                                                                                                   NuCO2                            Communications
NuCO2_Priv              10/20/2016                                                                                   Settlement     regarding strategy for
             msg                     Kathleen Daniel   Nate Freese
_1671                   11:14                                                                                        Negotiations   settling customer
                                                                                                                                    dispute.

                                                                                                   Employee(s) of
                                                                                                   NuCO2                            Communications
NuCO2_Priv              10/20/2016                                                                                   Settlement     regarding strategy for
             msg                     Kathleen Daniel   Kathleen Daniel
_1672                   11:14                                                                                        Negotiations   settling customer
                                                                                                                                    dispute.

                                                                                                   Employee(s) of
                                                                                                   NuCO2                            Communications
NuCO2_Priv              10/20/2016                     Eric Monroe;         Dryoel, Greg; Gomez,                     Settlement     regarding strategy for
             pdf                     Kathleen Daniel
_1673                   11:14                          John Templin         David; Evans, Mitch                      Negotiations   settling customer
                                                                                                                                    dispute.




                                                                      295
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 297 of
                                                         573


                                                                                                       Employee(s) of
                                                                                                       NuCO2                               Communications
NuCO2_Priv             10/20/2016                      Eric Monroe;           Dryoel, Greg; Gomez,                       Settlement        regarding strategy for
             MSG                    Seth Flowers
_1674                  11:14                           John Templin           David; Evans, Mitch                        Negotiations      settling customer
                                                                                                                                           dispute.


                                                                                                        Employee(s) of
                                                                                                                                           Communication
NuCO2_Priv             10/19/2016                                                                      NuCO2 and its
             MSG                    Edward Balzarini   Kathy Waters                                                      Attorney Client   regarding litigation
_1675                  8:01                                                                            affiliated
                                                                                                                                           hold.
                                                                                                       company(ies)


                                                                                                       Employee(s) of                      Reflects need
                                                                                                                         Attorney          for/provision of legal
NuCO2_Priv             11/3/2016                                                                       NuCO2
             pdf                    Sondra Meyer       John Templin                                                      Client/Work       advice regarding
_1676                  7:57
                                                                                                                         Product           customer
                                                                                                                                           account/dispute.
                                                                                                                                           Reflects
                                                                                                        Employee(s) of                     communications or
                                                                                                                         Attorney
NuCO2_Priv             10/31/2016                                             John Templin; Griegel,   NuCO2 and its                       advice or work product
             MSG                    Foti, Kevin        Barnhard, Jeff                                                    Client/Work
_1677                  16:04                                                  Beth                     affiliated                          regarding
                                                                                                                         Product
                                                                                                       company(ies)                        negotiation/drafting of
                                                                                                                                           customer agreement.

                                                                                                        Employee(s) of
                                                                                                                                           Communication
NuCO2_Priv             11/13/2016                                                                      NuCO2 and its
             MSG                    Edward Balzarini   Kathy Waters                                                      Attorney Client   regarding litigation
_1678                  8:01                                                                            affiliated
                                                                                                                                           hold.
                                                                                                       company(ies)

                                                                                                       Employee(s) of
                                                                                                       NuCO2                               Communications
NuCO2_Priv             11/4/2016                                                                                         Settlement        regarding strategy for
             MSG                    Vince Giordano     John Templin
_1679                  15:36                                                                                             Negotiations      settling customer
                                                                                                                                           dispute.




                                                                        296
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 298 of
                                                          573


                                                                                                   Employee(s) of
                                                                                                   NuCO2                              Communications
NuCO2_Priv              11/4/2016                                                                                   Settlement        regarding strategy for
             pdf                     Vince Giordano     John Templin
_1680                   15:36                                                                                       Negotiations      settling customer
                                                                                                                                      dispute.

                                                                                                   Employee(s) of                     Reflects
                                                                                                   NuCO2 and its                      communications or
                                                                                                                    Attorney
NuCO2_Priv              11/1/2016                                              Foti, Kevin; John   affiliated                         advice or work product
             pptx                    Griegel, Beth      Barnhard, Jeff                                              Client/Work
_1681                   7:37                                                   Templin             company(ies)                       regarding
                                                                                                                    Product
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                   Employee(s) of                     Reflects
                                                                                                   NuCO2 and its                      communications or
                                                                                                                    Attorney
NuCO2_Priv              11/1/2016                                              Foti, Kevin; John   affiliated                         advice or work product
             MSG                     Griegel, Beth      Barnhard, Jeff                                              Client/Work
_1682                   7:37                                                   Templin             company(ies)                       regarding
                                                                                                                    Product
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                   Employee(s) of
                                                                                                   NuCO2 and its
                                                                                                                                      Communication
NuCO2_Priv              11/10/2016                                                                 affiliated
             MSG                     Edward Balzarini   Kathy Waters                                                Attorney Client   regarding litigation
_1683                   8:01                                                                       company(ies)                       hold.

                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2                              regarding request
                                                        John Templin;                                               Attorney          for/provision of legal
NuCO2_Priv              11/11/2016
             MSG                     James Taylor       Vince Giordano;        Ronald Thermil                       Client/Work       advice/work product
_1684                   8:00
                                                        Bettina Silas                                               Product           of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.
                                                                                                   Employee(s) of                     Communications
                                                                                                   NuCO2                              regarding request
                                                        John Templin;                                               Attorney          for/provision of legal
NuCO2_Priv              11/11/2016
             xlsm                    James Taylor       Vince Giordano;        Ronald Thermil                       Client/Work       advice/work product
_1685                   8:00
                                                        Bettina Silas                                               Product           of counsel concerning
                                                                                                                                      negotiation/drafting of
                                                                                                                                      customer agreement.




                                                                         297
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 299 of
                                                         573



                                                                               Employee(s) of
                                                                                                                  Communication
NuCO2_Priv             11/11/2016                                             NuCO2 and its
             MSG                    Edward Balzarini   Kathy Waters                             Attorney Client   regarding litigation
_1686                  8:01                                                   affiliated
                                                                                                                  hold.
                                                                              company(ies)

                                                                              Employee(s) of                      Reflects
                                                                              NuCO2                               communications or
NuCO2_Priv             11/10/2016                                                               Attorney Work     advice or work product
             MSG                    Matt Butcher       John Templin
_1687                  13:31                                                                    Product           regarding
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                              Employee(s) of                      Reflects
                                                                              NuCO2                               communications or
NuCO2_Priv             11/10/2016                                                               Attorney Work     advice or work product
             png                    Matt Butcher       John Templin
_1688                  13:31                                                                    Product           regarding
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                              Employee(s) of                      Reflects
                                                                              NuCO2                               communications or
NuCO2_Priv             11/10/2016                                                               Attorney Work     advice or work product
             htm                    Matt Butcher       John Templin
_1689                  13:31                                                                    Product           regarding
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                              Employee(s) of                      Reflects
                                                                              NuCO2                               communications or
NuCO2_Priv             11/10/2016                                                               Attorney Work     advice or work product
             pdf                    Matt Butcher       John Templin
_1690                  13:31                                                                    Product           regarding
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                              Employee(s) of                      Reflects
                                                                              NuCO2                               communications or
NuCO2_Priv             11/10/2016                                                               Attorney Work     advice or work product
             htm                    Matt Butcher       John Templin
_1691                  13:31                                                                    Product           regarding
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.




                                                                      298
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 300 of
                                                          573


                                                                                          Employee(s) of                   Reflects
                                                                                          NuCO2                            communications or
NuCO2_Priv              11/10/2016                                                                         Attorney Work   advice or work product
             docx                    Matt Butcher   John Templin
_1692                   13:31                                                                              Product         regarding
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                          Employee(s) of                   Reflects
                                                                                          NuCO2                            communications or
NuCO2_Priv              11/10/2016                                                                         Attorney Work   advice or work product
             htm                     Matt Butcher   John Templin
_1693                   13:31                                                                              Product         regarding
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                          Employee(s) of                   Communications
                                                                                          NuCO2                            regarding request
                                                                                                           Attorney        for/provision of legal
NuCO2_Priv              11/11/2016
             xlsm                    James Taylor   John Templin         Ronald Thermil                    Client/Work     advice/work product
_1694                   8:19
                                                                                                           Product         of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                          Employee(s) of                   Communications
                                                                                          NuCO2                            regarding request
                                                                                                           Attorney        for/provision of legal
NuCO2_Priv              11/11/2016
             xlsm                    James Taylor   John Templin         Ronald Thermil                    Client/Work     advice/work product
_1695                   8:19
                                                                                                           Product         of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                          Employee(s) of                   Communications
                                                                                          NuCO2                            regarding request
                                                                                                           Attorney        for/provision of legal
NuCO2_Priv              11/11/2016
             MSG                     James Taylor   John Templin         Ronald Thermil                    Client/Work     advice/work product
_1696                   8:19
                                                                                                           Product         of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                          Employee(s) of                   Reflects
                                                    John Templin;                         NuCO2                            communications or
NuCO2_Priv              11/10/2016                  Vince Giordano;                                        Attorney Work   advice or work product
             pdf                     John Templin                        Ronald Thermil
_1697                   13:51                       James Taylor;                                          Product         regarding
                                                    Bettina Silas                                                          negotiation/drafting of
                                                                                                                           customer agreement.



                                                                   299
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 301 of
                                                          573


                                                                                          Employee(s) of                     Reflects
                                                    John Templin;                         NuCO2                              communications or
NuCO2_Priv              11/10/2016                  Vince Giordano;                                        Attorney Work     advice or work product
             docx                    John Templin                        Ronald Thermil
_1698                   13:51                       James Taylor;                                          Product           regarding
                                                    Bettina Silas                                                            negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                          Employee(s) of                     Reflects
                                                    John Templin;                         NuCO2                              communications or
NuCO2_Priv              11/10/2016                  Vince Giordano;                                        Attorney Work     advice or work product
             MSG                     John Templin                        Ronald Thermil
_1699                   13:51                       James Taylor;                                          Product           regarding
                                                    Bettina Silas                                                            negotiation/drafting of
                                                                                                                             customer agreement.
                                                    Jeff Gilheney;                        Employee(s) of
                                                    Randy Gold;                           NuCO2
                                                    Mike Kleimeyer;
                                                    Vince Giordano;
                                                    John Templin;
                                                                                                                             Reflects attorney
                                                    Kent Hoffman;
                                                                                                           Attorney          Communications
NuCO2_Priv              11/22/2016                  Kevin Patton;
             pptx                                                                                          Client/Work       and/or attorney work
_1700                   7:55                        Patrick Woelfel;
                                                                                                           Product           product regarding
                                                    Gerald Miller;
                                                                                                                             safety.
                                                    Foti, Kevin; John
                                                    Chesney; Derek
                                                    Burton; Russell
                                                    Vicari; Dominick
                                                    Brandow
                                                                                          Employee(s) of
                                                                                                                             Reflects
                                                                                          NuCO2
                                                                                                                             communications
NuCO2_Priv              5/14/2018
             MSG                     John Templin   Maria Primm          Ronald Thermil                    Attorney Client   regarding settlement
_1701                   13:52
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                          Employee(s) of
                                                                                                                             Reflects
                                                                                          NuCO2
                                                                                                                             communications
NuCO2_Priv              5/14/2018
             pdf                     John Templin   Maria Primm          Ronald Thermil                    Attorney Client   regarding settlement
_1702                   13:52
                                                                                                                             concerning customer
                                                                                                                             dispute.




                                                                   300
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 302 of
                                                         573


                                                                                          Employee(s) of
                                                                                                                             Reflects
                                                                                          NuCO2
                                                                                                                             communications
NuCO2_Priv             5/14/2018
             pdf                   John Templin   Maria Primm            Ronald Thermil                    Attorney Client   regarding settlement
_1703                  13:52
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                          Employee(s) of
                                                                                                                             Reflects
                                                                                          NuCO2
                                                                                                                             communications
NuCO2_Priv             5/14/2018
             pdf                   John Templin   Maria Primm            Ronald Thermil                    Attorney Client   regarding settlement
_1704                  13:52
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                          Employee(s) of
                                                                                                                             Reflects
                                                                                          NuCO2
                                                                                                                             communications
NuCO2_Priv             5/14/2018
             pdf                   John Templin   Maria Primm            Ronald Thermil                    Attorney Client   regarding settlement
_1705                  13:52
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                          Employee(s) of
                                                                                                                             Reflects
                                                                                          NuCO2
                                                                                                                             communications
NuCO2_Priv             5/14/2018
             pdf                   John Templin   Maria Primm            Ronald Thermil                    Attorney Client   regarding settlement
_1706                  13:52
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                          Employee(s) of
                                                                                                                             Reflects
                                                                                          NuCO2
                                                                                                                             communications
NuCO2_Priv             5/14/2018
             pdf                   John Templin   Maria Primm            Ronald Thermil                    Attorney Client   regarding settlement
_1707                  13:52
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                          Employee(s) of
                                                                                                                             Reflects
                                                                                          NuCO2
                                                                                                           Attorney          communications or
NuCO2_Priv             5/22/2018
             MSG                   John Templin   Bridget Correa         Gerald Miller                     Client/Work       advice or work product
_1708                  20:09
                                                                                                           Product           regarding handling
                                                                                                                             customer disputes.




                                                                   301
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 303 of
                                                         573


                                                                                         Employee(s) of
                                                                                                                        Reflects
                                                                                         NuCO2
                                                                                                          Attorney      communications or
NuCO2_Priv             5/22/2018
             jpg                   John Templin   Bridget Correa         Gerald Miller                    Client/Work   advice or work product
_1709                  20:09
                                                                                                          Product       regarding handling
                                                                                                                        customer disputes.
                                                                                         Employee(s) of
                                                                                                                        Reflects need
                                                                                         NuCO2
                                                                                                          Attorney      for/provision of legal
NuCO2_Priv             5/9/2018
             MSG                   John Templin   Bridget Correa         Debbie Oliver                    Client/Work   advice regarding
_1710                  14:02
                                                                                                          Product       customer
                                                                                                                        account/dispute.
                                                                                         Employee(s) of
                                                                                                                        Reflects need
                                                                                         NuCO2
                                                                                                          Attorney      for/provision of legal
NuCO2_Priv             5/9/2018
             pdf                   John Templin   Bridget Correa         Debbie Oliver                    Client/Work   advice regarding
_1711                  14:02
                                                                                                          Product       customer
                                                                                                                        account/dispute.
                                                                                         Employee(s) of
                                                                                                                        Reflects need
                                                                                         NuCO2
                                                                                                          Attorney      for/provision of legal
NuCO2_Priv             5/9/2018
             xls                   John Templin   Bridget Correa         Debbie Oliver                    Client/Work   advice regarding
_1712                  14:02
                                                                                                          Product       customer
                                                                                                                        account/dispute.
                                                                                         Employee(s) of
                                                                                                                        Reflects need
                                                                                         NuCO2
                                                                                                          Attorney      for/provision of legal
NuCO2_Priv             5/9/2018
             xls                   John Templin   Bridget Correa         Debbie Oliver                    Client/Work   advice regarding
_1713                  14:02
                                                                                                          Product       customer
                                                                                                                        account/dispute.
                                                                                         Employee(s) of                 Communications
                                                                                         NuCO2                          regarding request
                                                                                                          Attorney      for/provision of legal
NuCO2_Priv             5/31/2018                  Michael Graham;
             MSG                   John Templin                                                           Client/Work   advice/work product
_1714                  8:24                       Brian D. Potter
                                                                                                          Product       of counsel concerning
                                                                                                                        negotiation/drafting of
                                                                                                                        customer agreement.




                                                                   302
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 304 of
                                                          573


                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              5/31/2018                  Michael Graham;
             docx                   John Templin                                                Client/Work   advice/work product
_1715                   8:24                       Brian D. Potter
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of
                                                                                                              Reflects
                                                                               NuCO2 and its
                                                                                                Attorney      communications
NuCO2_Priv              6/14/2018                  Markatos, David;            affiliated
             docx                   John Templin                                                Client/Work   regarding settlement
_1716                   10:57                      Bridget Correa              company(ies)     Product       concerning customer
                                                                                                              dispute.
                                                                               Employee(s) of
                                                                                                              Reflects
                                                                               NuCO2 and its
                                                                                                Attorney      communications
NuCO2_Priv              6/14/2018                  Markatos, David;            affiliated
             MSG                    John Templin                                                Client/Work   regarding settlement
_1717                   10:57                      Bridget Correa              company(ies)     Product       concerning customer
                                                                                                              dispute.


                                                                               Employee(s) of                 Communications
                                                                                                Attorney
NuCO2_Priv              5/14/2018                                              NuCO2                          regarding strategy for
             MSG                    John Templin   Gerald Miller                                Client/Work
_1718                   14:25                                                                                 settling customer
                                                                                                Product
                                                                                                              dispute.

                                                                               Employee(s) of
                                                                               NuCO2                          Communications
                                                                                                Attorney
NuCO2_Priv              5/14/2018                                                                             regarding strategy for
             xlsx                   John Templin   Gerald Miller                                Client/Work
_1719                   14:25                                                                                 settling customer
                                                                                                Product
                                                                                                              dispute.

                                                                               Employee(s) of
                                                                               NuCO2                          Communications
                                                                                                Attorney
NuCO2_Priv              5/14/2018                                                                             regarding strategy for
             pdf                    John Templin   Gerald Miller                                Client/Work
_1720                   14:25                                                                                 settling customer
                                                                                                Product
                                                                                                              dispute.




                                                                   303
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 305 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2                          Communications
                                                                                               Attorney
NuCO2_Priv             5/14/2018                                                                             regarding strategy for
             pdf                   John Templin   Gerald Miller                                Client/Work
_1721                  14:25                                                                                 settling customer
                                                                                               Product
                                                                                                             dispute.

                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding need
                                                                                               Attorney
NuCO2_Priv             5/21/2018                                                                             for/provision of
             MSG                   John Templin   Nate Freese                                  Client/Work
_1722                  15:08                                                                                 information in order to
                                                                                               Product
                                                                                                             facilitate provision of
                                                                                                             legal advice/services.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding need
                                                                                               Attorney
NuCO2_Priv             5/21/2018                                                                             for/provision of
             MSG                   John Templin   Jeff Wilson                                  Client/Work
_1723                  15:16                                                                                 information in order to
                                                                                               Product
                                                                                                             facilitate provision of
                                                                                                             legal advice/services.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding need
                                                                                               Attorney
NuCO2_Priv             5/21/2018                                                                             for/provision of
             MSG                   John Templin   Brian D. Potter                              Client/Work
_1724                  16:55                                                                                 information in order to
                                                                                               Product
                                                                                                             facilitate provision of
                                                                                                             legal advice/services.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding request
                                                                                               Attorney      for/provision of legal
NuCO2_Priv             5/26/2018
             jpg                   John Templin   Bridget Correa                               Client/Work   advice/work product
_1725                  16:13
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2                          regarding request
                                                                                               Attorney      for/provision of legal
NuCO2_Priv             5/26/2018
             png                   John Templin   Bridget Correa                               Client/Work   advice/work product
_1726                  16:13
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.




                                                                    304
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 306 of
                                                         573


                                                                              Employee(s) of                      Communications
                                                                              NuCO2                               regarding request
                                                                                                Attorney          for/provision of legal
NuCO2_Priv             5/26/2018
             png                   John Templin   Bridget Correa                                Client/Work       advice/work product
_1727                  16:13
                                                                                                Product           of counsel concerning
                                                                                                                  negotiation/drafting of
                                                                                                                  customer agreement.
                                                                              Employee(s) of                      Communications
                                                                              NuCO2                               regarding need
                                                                                                Attorney
NuCO2_Priv             5/26/2018                                                                                  for/provision of
             MSG                   John Templin   Bridget Correa                                Client/Work
_1728                  16:13                                                                                      information in order to
                                                                                                Product
                                                                                                                  facilitate provision of
                                                                                                                  legal advice/services.

                                                                                                                  Reflects need
                                                                               Employee(s) of
                                                                                                                  for/provision of legal
NuCO2_Priv             5/9/2018                                               NuCO2 and its
             MSG                   John Templin   Markatos, David                               Attorney Client   advice regarding
_1729                  12:54                                                  affiliated
                                                                                                                  customer
                                                                              company(ies)
                                                                                                                  account/dispute.
                                                                              Employee(s) of
                                                                                                                  Reflects need
                                                                              NuCO2 and its
                                                                                                                  for/provision of legal
NuCO2_Priv             5/9/2018                                               affiliated
             pdf                   John Templin   Markatos, David                               Attorney Client   advice regarding
_1730                  12:54                                                  company(ies)                        customer
                                                                                                                  account/dispute.
                                                                              Employee(s) of
                                                                                                                  Reflects need
                                                                              NuCO2 and its
                                                                                                                  for/provision of legal
NuCO2_Priv             5/9/2018                                               affiliated
             xls                   John Templin   Markatos, David                               Attorney Client   advice regarding
_1731                  12:54                                                  company(ies)                        customer
                                                                                                                  account/dispute.
                                                                              Employee(s) of
                                                                                                                  Reflects need
                                                                              NuCO2 and its
                                                                                                                  for/provision of legal
NuCO2_Priv             5/9/2018                                               affiliated
             xls                   John Templin   Markatos, David                               Attorney Client   advice regarding
_1732                  12:54                                                  company(ies)                        customer
                                                                                                                  account/dispute.




                                                                   305
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 307 of
                                                         573



                                                                                                  Employee(s) of                      Reflects
                                                                                                                                      communications
NuCO2_Priv             7/11/2018                                                                  NuCO2             Settlement
             MSG                   John Templin   Gerald Miller                                                                       regarding settlement
_1733                  16:20                                                                                        Negotiations
                                                                                                                                      concerning customer
                                                                                                                                      dispute.
                                                                                                   Employee(s) of
                                                                                                  NuCO2 and                           Reflects
                                                                                                  attorney(s) for                     communications
NuCO2_Priv             7/11/2018                                        Christian Stein; Gerald                     Settlement
             MSG                   John Templin   Edward Voelker                                  NuCO2’s                             regarding settlement
_1734                  16:52                                            Miller                                      Negotiations
                                                                                                  customer(s)                         concerning customer
                                                                                                                                      dispute.


                                                                                                                                      Communications
NuCO2_Priv             5/11/2018                                                                  Employee(s) of                      regarding strategy for
             MSG                   John Templin   Melissa Baker         Kyle Brown                                  Attorney Client
_1735                  10:05                                                                      NuCO2                               settling customer
                                                                                                                                      dispute.

                                                                                                  Employee(s) of
                                                                                                  NuCO2                               Communications
NuCO2_Priv             5/11/2018                                                                                                      regarding strategy for
             pdf                   John Templin   Melissa Baker         Kyle Brown                                  Attorney Client
_1736                  10:05                                                                                                          settling customer
                                                                                                                                      dispute.

                                                                                                  Employee(s) of
                                                                                                  NuCO2                               Communications
NuCO2_Priv             5/11/2018                                                                                                      regarding strategy for
             pdf                   John Templin   Melissa Baker         Kyle Brown                                  Attorney Client
_1737                  10:05                                                                                                          settling customer
                                                                                                                                      dispute.

                                                                                                  Employee(s) of
                                                                                                  NuCO2                               Communications
NuCO2_Priv             5/11/2018                                                                                                      regarding strategy for
             pdf                   John Templin   Melissa Baker         Kyle Brown                                  Attorney Client
_1738                  10:05                                                                                                          settling customer
                                                                                                                                      dispute.




                                                                  306
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 308 of
                                                          573


                                                                                       Employee(s) of
                                                                                       NuCO2                              Communications
NuCO2_Priv              5/11/2018                                                                                         regarding strategy for
             pdf                    John Templin   Melissa Baker         Kyle Brown                     Attorney Client
_1739                   10:05                                                                                             settling customer
                                                                                                                          dispute.

                                                                                       Employee(s) of
                                                                                       NuCO2                              Communications
NuCO2_Priv              5/11/2018                                                                                         regarding strategy for
             pdf                    John Templin   Melissa Baker         Kyle Brown                     Attorney Client
_1740                   10:05                                                                                             settling customer
                                                                                                                          dispute.

                                                                                       Employee(s) of
                                                                                       NuCO2                              Communications
NuCO2_Priv              5/11/2018                                                                                         regarding strategy for
             pdf                    John Templin   Melissa Baker         Kyle Brown                     Attorney Client
_1741                   10:05                                                                                             settling customer
                                                                                                                          dispute.

                                                                                       Employee(s) of
                                                                                                                          Reflects
                                                                                       NuCO2
                                                                                                                          communications
NuCO2_Priv              6/27/2018                                                                       Settlement
             MSG                    John Templin   Gerald Miller         Nate Freese                                      regarding settlement
_1742                   9:39                                                                            Negotiations
                                                                                                                          concerning customer
                                                                                                                          dispute.
                                                                                       Employee(s) of
                                                                                                                          Reflects
                                                                                       NuCO2
                                                                                                                          communications
NuCO2_Priv              6/27/2018                                                                       Settlement
             docx                   John Templin   Gerald Miller         Nate Freese                                      regarding settlement
_1743                   9:39                                                                            Negotiations
                                                                                                                          concerning customer
                                                                                                                          dispute.
                                                                                       Employee(s) of
                                                                                                                          Reflects
                                                                                       NuCO2
                                                                                                                          communications
NuCO2_Priv              7/18/2018                                                                       Settlement
             png                    John Templin   Gerald Miller                                                          regarding settlement
_1744                   19:02                                                                           Negotiations
                                                                                                                          concerning customer
                                                                                                                          dispute.




                                                                   307
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 309 of
                                                         573


                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             7/18/2018                                                               Settlement
             MSG                   John Templin   Gerald Miller                                                  regarding settlement
_1745                  19:02                                                                   Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             5/11/2018                                                                                 regarding strategy for
             pdf                   John Templin   Ronald Thermil                               Attorney Client
_1746                  10:07                                                                                     settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             5/11/2018                                                                                 regarding strategy for
             pdf                   John Templin   Ronald Thermil                               Attorney Client
_1747                  10:07                                                                                     settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             5/11/2018                                                                                 regarding strategy for
             pdf                   John Templin   Ronald Thermil                               Attorney Client
_1748                  10:07                                                                                     settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             5/11/2018                                                                                 regarding strategy for
             pdf                   John Templin   Ronald Thermil                               Attorney Client
_1749                  10:07                                                                                     settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             5/11/2018                                                                                 regarding strategy for
             pdf                   John Templin   Ronald Thermil                               Attorney Client
_1750                  10:07                                                                                     settling customer
                                                                                                                 dispute.




                                                                  308
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 310 of
                                                         573


                                                                                           Employee(s) of
                                                                                           NuCO2                               Communications
NuCO2_Priv             5/11/2018                                                                                               regarding strategy for
             pdf                   John Templin   Ronald Thermil                                             Attorney Client
_1751                  10:07                                                                                                   settling customer
                                                                                                                               dispute.

                                                                                           Employee(s) of
                                                                                           NuCO2                               Communications
NuCO2_Priv             5/11/2018                                                                                               regarding strategy for
             MSG                   John Templin   Ronald Thermil                                             Attorney Client
_1752                  10:07                                                                                                   settling customer
                                                                                                                               dispute.

                                                                                                                               Communications
                                                                                                                               regarding request
                                                                                            Employee(s) of
                                                                                                             Attorney          for/provision of legal
NuCO2_Priv             6/25/2018                                                           NuCO2 and its
             MSG                   John Templin   Piazza, Shelly         Markatos, David                     Client/Work       advice/work product
_1753                  15:06                                                               affiliated
                                                                                                             Product           of counsel concerning
                                                                                           company(ies)
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.
                                                                                           Employee(s) of
                                                                                                                               Reflects
                                                                                           NuCO2
                                                                                                             Attorney          communications
NuCO2_Priv             6/13/2018
             MSG                   John Templin   Bridget Correa                                             Client/Work       regarding settlement
_1754                  16:16
                                                                                                             Product           concerning customer
                                                                                                                               dispute.
                                                                                           Employee(s) of
                                                                                                                               Reflects
                                                                                           NuCO2
                                                                                                             Attorney          communications
NuCO2_Priv             6/13/2018
             jpg                   John Templin   Bridget Correa                                             Client/Work       regarding settlement
_1755                  16:16
                                                                                                             Product           concerning customer
                                                                                                                               dispute.
                                                                                           Employee(s) of
                                                                                                                               Reflects
                                                                                           NuCO2
                                                                                                                               communications
NuCO2_Priv             7/18/2018                                                                             Settlement
             MSG                   John Templin   Nate Freese                                                                  regarding settlement
_1756                  19:51                                                                                 Negotiations
                                                                                                                               concerning customer
                                                                                                                               dispute.




                                                                   309
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 311 of
                                                          573


                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2
                                                                                                                   communications
NuCO2_Priv              7/18/2018                                                                Settlement
             png                    John Templin   Nate Freese                                                     regarding settlement
_1757                   19:51                                                                    Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.
                                                                                                                   Reflects attorney
                                                                                Employee(s) of                     Communicationss/or
                                                                                                 Attorney
NuCO2_Priv              7/19/2018                                              NuCO2 and its                       attorney work product
             MSG                    John Templin   Markatos, David                               Client/Work
_1758                   9:06                                                   affiliated                          regarding settlement
                                                                                                 Product
                                                                               company(ies)                        concerning customer
                                                                                                                   dispute.
                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2 and
                                                                                                                   communications
NuCO2_Priv              7/27/2018                                              NuCO2’s           Settlement
             MSG                    John Templin   Christian Stein                                                 regarding settlement
_1759                   7:32                                                   customer(s)       Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.
                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2 and
                                                                                                                   communications
NuCO2_Priv              7/27/2018                                              NuCO2’s           Settlement
             pdf                    John Templin   Christian Stein                                                 regarding settlement
_1760                   7:32                                                   customer(s)       Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.
                                                                               Employee(s) of
                                                                                                                   Reflects
                                                                               NuCO2 and
                                                                                                                   communications
NuCO2_Priv              7/27/2018                                              NuCO2’s           Settlement
             docx                   John Templin   Christian Stein                                                 regarding settlement
_1761                   7:32                                                   customer(s)       Negotiations
                                                                                                                   concerning customer
                                                                                                                   dispute.
                                                                               Employee(s) of                      Communications
                                                                               NuCO2 and its                       regarding need
                                                                               affiliated                          for/provision of
                                                                                                                   information regarding
                                                                               company(ies)
NuCO2_Priv              8/1/2018                                                                                   customer
             pdf                    John Templin   Markatos, David                               Attorney Client
_1762                   14:28                                                                                      account/dispute in
                                                                                                                   order to facilitate
                                                                                                                   provision of legal
                                                                                                                   advice/services
                                                                                                                   concerning the same.

                                                                     310
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 312 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2 and its                      Communications
NuCO2_Priv             7/19/2018                                              affiliated                         regarding strategy for
             MSG                   John Templin   Markatos, David                              Attorney Client
_1763                  9:08                                                   company(ies)                       settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2 and its                      Communications
NuCO2_Priv             7/19/2018                                              affiliated                         regarding strategy for
             PDF                   John Templin   Markatos, David                              Attorney Client
_1764                  9:08                                                   company(ies)                       settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2 and its                      Communications
NuCO2_Priv             7/19/2018                                              affiliated                         regarding strategy for
             PDF                   John Templin   Markatos, David                              Attorney Client
_1765                  9:08                                                   company(ies)                       settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2 and its                      Communications
NuCO2_Priv             7/19/2018                                              affiliated                         regarding strategy for
             pdf                   John Templin   Markatos, David                              Attorney Client
_1766                  9:08                                                   company(ies)                       settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2 and its                      Communications
NuCO2_Priv             7/19/2018                                              affiliated                         regarding strategy for
             pdf                   John Templin   Markatos, David                              Attorney Client
_1767                  9:08                                                   company(ies)                       settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2 and its                      Communications
NuCO2_Priv             7/19/2018                                              affiliated                         regarding strategy for
             pdf                   John Templin   Markatos, David                              Attorney Client
_1768                  9:08                                                   company(ies)                       settling customer
                                                                                                                 dispute.




                                                                311
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 313 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2 and its                      Communications
NuCO2_Priv             7/19/2018                                              affiliated                         regarding strategy for
             PDF                   John Templin   Markatos, David                              Attorney Client
_1769                  9:08                                                   company(ies)                       settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2 and its                      Communications
NuCO2_Priv             7/19/2018                                              affiliated                         regarding strategy for
             pdf                   John Templin   Markatos, David                              Attorney Client
_1770                  9:08                                                   company(ies)                       settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2 and its                      Communications
NuCO2_Priv             7/19/2018                                              affiliated                         regarding strategy for
             xls                   John Templin   Markatos, David                              Attorney Client
_1771                  9:08                                                   company(ies)                       settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of                     Communications
                                                                              NuCO2                              regarding request
                                                                                               Attorney          for/provision of legal
NuCO2_Priv             6/14/2018
             MSG                   John Templin   Nate Freese                                  Client/Work       advice/work product
_1772                  8:25
                                                                                               Product           of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.
                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             6/14/2018
             pdf                   John Templin   Gerald Miller                                Attorney Client   regarding settlement
_1773                  8:42
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             6/14/2018
             xls                   John Templin   Gerald Miller                                Attorney Client   regarding settlement
_1774                  8:42
                                                                                                                 concerning customer
                                                                                                                 dispute.




                                                                  312
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 314 of
                                                          573


                                                                                                   Employee(s) of
                                                                                                                                       Reflects
                                                                                                   NuCO2
                                                                                                                                       communications
NuCO2_Priv              6/14/2018                                             John Templin; Nate
             msg                    Bridget Correa    Gerald Miller                                                  Attorney Client   regarding settlement
_1775                   8:42                                                  Freese
                                                                                                                                       concerning customer
                                                                                                                                       dispute.

                                                                                                                                       Reflects
                                                                                                    Employee(s) of
                                                                                                                                       communications
NuCO2_Priv              6/14/2018                                             Bridget Correa;      NuCO2 and its
             msg                    Rourke, Rebecca   Nate Freese                                                    Attorney Client   regarding settlement
_1776                   8:42                                                  Homan, Ray           affiliated
                                                                                                                                       concerning customer
                                                                                                   company(ies)
                                                                                                                                       dispute.
                                                                                                   Employee(s) of
                                                                                                                                       Reflects
                                                                                                   NuCO2
                                                                                                                                       communications
NuCO2_Priv              6/14/2018
             pdf                    Bridget Correa    Gerald Miller                                                  Attorney Client   regarding settlement
_1777                   8:42
                                                                                                                                       concerning customer
                                                                                                                                       dispute.
                                                                                                   Employee(s) of
                                                                                                                                       Reflects
                                                                                                   NuCO2
                                                                                                                                       communications
NuCO2_Priv              6/14/2018
             MSG                    John Templin      Gerald Miller                                                  Attorney Client   regarding settlement
_1778                   8:42
                                                                                                                                       concerning customer
                                                                                                                                       dispute.
                                                                                                   Employee(s) of
                                                                                                                                       Reflects
                                                                                                   NuCO2 and
                                                                                                                                       communications
NuCO2_Priv              7/25/2018                                                                  NuCO2’s           Settlement
             MSG                    John Templin      Christian Stein                                                                  regarding settlement
_1779                   8:32                                                                       customer(s)       Negotiations
                                                                                                                                       concerning customer
                                                                                                                                       dispute.
                                                                                                   Employee(s) of
                                                                                                                                       Reflects
                                                                                                   NuCO2 and
                                                                                                                                       communications
NuCO2_Priv              7/25/2018                                                                  NuCO2’s           Settlement
             docx                   John Templin      Christian Stein                                                                  regarding settlement
_1780                   8:32                                                                       customer(s)       Negotiations
                                                                                                                                       concerning customer
                                                                                                                                       dispute.




                                                                        313
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 315 of
                                                         573


                                                                                       Employee(s) of
                                                                                                                       Reflects
                                                                                       NuCO2
                                                                                                                       communications
NuCO2_Priv             7/18/2018                                                                        Settlement
             MSG                   John Templin   Gerald Miller                                                        regarding settlement
_1781                  9:49                                                                             Negotiations
                                                                                                                       concerning customer
                                                                                                                       dispute.
                                                                                       Employee(s) of
                                                                                       NuCO2                           Communications
NuCO2_Priv             7/12/2018                                                                        Settlement     regarding strategy for
             MSG                   John Templin   Robbi Stiell          Derek Burton
_1782                  17:25                                                                            Negotiations   settling customer
                                                                                                                       dispute.

                                                                                       Employee(s) of
                                                                                       NuCO2                           Communications
NuCO2_Priv             7/12/2018                                                                        Settlement     regarding strategy for
             jpg                   John Templin   Robbi Stiell          Derek Burton
_1783                  17:25                                                                            Negotiations   settling customer
                                                                                                                       dispute.

                                                                                       Employee(s) of
                                                                                       NuCO2                           Communications
NuCO2_Priv             7/12/2018                                                                        Settlement     regarding strategy for
             jpg                   John Templin   Robbi Stiell          Derek Burton
_1784                  17:25                                                                            Negotiations   settling customer
                                                                                                                       dispute.

                                                                                       Employee(s) of
                                                                                       NuCO2                           Communications
NuCO2_Priv             7/12/2018                                                                        Settlement     regarding strategy for
             jpg                   John Templin   Robbi Stiell          Derek Burton
_1785                  17:25                                                                            Negotiations   settling customer
                                                                                                                       dispute.

                                                                                       Employee(s) of
                                                                                       NuCO2                           Communications
NuCO2_Priv             7/12/2018                                                                        Settlement     regarding strategy for
             png                   John Templin   Robbi Stiell          Derek Burton
_1786                  17:25                                                                            Negotiations   settling customer
                                                                                                                       dispute.




                                                                  314
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 316 of
                                                         573


                                                                                        Employee(s) of
                                                                                        NuCO2                              Communications
NuCO2_Priv             7/12/2018                                                                         Settlement        regarding strategy for
             png                   John Templin   Robbi Stiell           Derek Burton
_1787                  17:25                                                                             Negotiations      settling customer
                                                                                                                           dispute.

                                                                                        Employee(s) of
                                                                                        NuCO2                              Communications
NuCO2_Priv             7/12/2018                                                                         Settlement        regarding strategy for
             jpg                   John Templin   Robbi Stiell           Derek Burton
_1788                  17:25                                                                             Negotiations      settling customer
                                                                                                                           dispute.

                                                                                        Employee(s) of
                                                                                        NuCO2                              Communications
NuCO2_Priv             7/12/2018                                                                         Settlement        regarding strategy for
             jpg                   John Templin   Robbi Stiell           Derek Burton
_1789                  17:25                                                                             Negotiations      settling customer
                                                                                                                           dispute.

                                                                                        Employee(s) of
                                                                                                                           Reflects
                                                                                        NuCO2
                                                                                                                           communications
NuCO2_Priv             7/18/2018                                                                         Settlement
             png                   John Templin   Gerald Miller                                                            regarding settlement
_1790                  11:01                                                                             Negotiations
                                                                                                                           concerning customer
                                                                                                                           dispute.
                                                                                        Employee(s) of
                                                                                                                           Reflects
                                                                                        NuCO2
                                                                                                                           communications
NuCO2_Priv             7/18/2018                                                                         Settlement
             MSG                   John Templin   Gerald Miller                                                            regarding settlement
_1791                  11:01                                                                             Negotiations
                                                                                                                           concerning customer
                                                                                                                           dispute.
                                                                                        Employee(s) of
                                                                                                                           Reflects
                                                                                        NuCO2
                                                                                                                           communications
NuCO2_Priv             7/10/2018
             MSG                   John Templin   Bridget Correa                                         Attorney Client   regarding settlement
_1792                  9:53
                                                                                                                           concerning customer
                                                                                                                           dispute.




                                                                   315
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 317 of
                                                         573


                                                                                       Employee(s) of
                                                                                                                          Reflects
                                                                                       NuCO2
                                                                                                                          communications
NuCO2_Priv             7/10/2018
             jpg                   John Templin   Bridget Correa                                        Attorney Client   regarding settlement
_1793                  9:53
                                                                                                                          concerning customer
                                                                                                                          dispute.
                                                                                       Employee(s) of
                                                                                                                          Reflects
                                                                                       NuCO2
                                                                                                                          communications
NuCO2_Priv             7/10/2018
             png                   John Templin   Bridget Correa                                        Attorney Client   regarding settlement
_1794                  9:53
                                                                                                                          concerning customer
                                                                                                                          dispute.
                                                                                       Employee(s) of
                                                                                                                          Reflects
                                                                                       NuCO2
                                                                                                                          communications
NuCO2_Priv             7/18/2018                                                                        Settlement
             png                   John Templin   Ronald Thermil         Nate Freese                                      regarding settlement
_1795                  11:01                                                                            Negotiations
                                                                                                                          concerning customer
                                                                                                                          dispute.
                                                                                       Employee(s) of
                                                                                                                          Reflects
                                                                                       NuCO2
                                                                                                                          communications
NuCO2_Priv             7/18/2018                                                                        Settlement
             MSG                   John Templin   Ronald Thermil         Nate Freese                                      regarding settlement
_1796                  11:01                                                                            Negotiations
                                                                                                                          concerning customer
                                                                                                                          dispute.
                                                                                       Employee(s) of
                                                                                                                          Reflects
                                                                                       NuCO2
                                                                                                                          communications
NuCO2_Priv             7/30/2018                                                                        Settlement
             MSG                   John Templin   Gerald Miller                                                           regarding settlement
_1797                  7:56                                                                             Negotiations
                                                                                                                          concerning customer
                                                                                                                          dispute.
                                                                                       Employee(s) of
                                                                                                                          Reflects
                                                                                       NuCO2
                                                                                                                          communications
NuCO2_Priv             7/30/2018                                                                        Settlement
             pdf                   John Templin   Gerald Miller                                                           regarding settlement
_1798                  7:56                                                                             Negotiations
                                                                                                                          concerning customer
                                                                                                                          dispute.




                                                                   316
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 318 of
                                                         573


                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             7/13/2018                                                               Settlement
             MSG                   John Templin   Nate Freese                                                    regarding settlement
_1799                  9:06                                                                    Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             7/13/2018                                                               Settlement
             png                   John Templin   Nate Freese                                                    regarding settlement
_1800                  9:06                                                                    Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             7/13/2018                                                               Settlement
             png                   John Templin   Nate Freese                                                    regarding settlement
_1801                  9:06                                                                    Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             7/13/2018                                                                                 regarding strategy for
             MSG                   John Templin   Ronald Thermil                               Attorney Client
_1802                  9:11                                                                                      settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             7/13/2018                                                                                 regarding strategy for
             PDF                   John Templin   Ronald Thermil                               Attorney Client
_1803                  9:11                                                                                      settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             7/13/2018                                                                                 regarding strategy for
             PDF                   John Templin   Ronald Thermil                               Attorney Client
_1804                  9:11                                                                                      settling customer
                                                                                                                 dispute.




                                                                317
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 319 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             7/13/2018                                                                                 regarding strategy for
             pdf                   John Templin   Ronald Thermil                               Attorney Client
_1805                  9:11                                                                                      settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             7/13/2018                                                                                 regarding strategy for
             pdf                   John Templin   Ronald Thermil                               Attorney Client
_1806                  9:11                                                                                      settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             7/13/2018                                                                                 regarding strategy for
             pdf                   John Templin   Ronald Thermil                               Attorney Client
_1807                  9:11                                                                                      settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             7/13/2018                                                                                 regarding strategy for
             PDF                   John Templin   Ronald Thermil                               Attorney Client
_1808                  9:11                                                                                      settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             7/13/2018                                                                                 regarding strategy for
             pdf                   John Templin   Ronald Thermil                               Attorney Client
_1809                  9:11                                                                                      settling customer
                                                                                                                 dispute.

                                                                              Employee(s) of
                                                                              NuCO2                              Communications
NuCO2_Priv             7/13/2018                                                                                 regarding strategy for
             xls                   John Templin   Ronald Thermil                               Attorney Client
_1810                  9:11                                                                                      settling customer
                                                                                                                 dispute.




                                                               318
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 320 of
                                                          573


                                                                                           Employee(s) of
                                                                                                                              Reflects
                                                                                           NuCO2
                                                                                                                              communications
NuCO2_Priv              7/30/2018                                                                           Settlement
             MSG                    John Templin   Nate Freese                                                                regarding settlement
_1811                   8:43                                                                                Negotiations
                                                                                                                              concerning customer
                                                                                                                              dispute.
                                                                                           Employee(s) of
                                                                                                                              Reflects
                                                                                           NuCO2
                                                                                                                              communications
NuCO2_Priv              7/30/2018                                                                           Settlement
             pdf                    John Templin   Nate Freese                                                                regarding settlement
_1812                   8:43                                                                                Negotiations
                                                                                                                              concerning customer
                                                                                                                              dispute.
                                                                                           Employee(s) of                     Communications
                                                                                           NuCO2                              regarding request
                                                                                                            Attorney          for/provision of legal
NuCO2_Priv              7/31/2018
             MSG                    John Templin   Ronald Thermil                                           Client/Work       advice/work product
_1813                   11:20
                                                                                                            Product           of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                           Employee(s) of                     Communications
                                                                                           NuCO2                              regarding need
                                                                                                                              for/provision of
                                                                                                                              information regarding
NuCO2_Priv              8/15/2018                                                                                             customer
             docx                   John Templin   Bridget Correa         Ronald Thermil                    Attorney Client
_1814                   7:43                                                                                                  account/dispute in
                                                                                                                              order to facilitate
                                                                                                                              provision of legal
                                                                                                                              advice/services
                                                                                                                              concerning the same.
                                                                                           Employee(s) of                     Communications
                                                                                           NuCO2                              regarding need
                                                                                                                              for/provision of
                                                                                                                              information regarding
NuCO2_Priv              8/15/2018                                                                                             customer
             pdf                    John Templin   Bridget Correa         Ronald Thermil                    Attorney Client
_1815                   7:43                                                                                                  account/dispute in
                                                                                                                              order to facilitate
                                                                                                                              provision of legal
                                                                                                                              advice/services
                                                                                                                              concerning the same.



                                                                    319
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 321 of
                                                         573


                                                                                          Employee(s) of                     Communications
                                                                                          NuCO2                              regarding need
                                                                                                                             for/provision of
                                                                                                                             information regarding
NuCO2_Priv             8/15/2018                                                                                             customer
             pdf                   John Templin   Bridget Correa         Ronald Thermil                    Attorney Client
_1816                  7:43                                                                                                  account/dispute in
                                                                                                                             order to facilitate
                                                                                                                             provision of legal
                                                                                                                             advice/services
                                                                                                                             concerning the same.
                                                                                          Employee(s) of
                                                                                          NuCO2                              Reflects attorney
NuCO2_Priv             8/24/2018                                                                                             Communicationss/or
             MSG                   John Templin   Kym Cherubini                                            Attorney Client
_1817                  9:13                                                                                                  attorney workproduct
                                                                                                                             regarding legal mater.

                                                                                          Employee(s) of
                                                                                          NuCO2                              Reflects attorney
NuCO2_Priv             8/24/2018                                                                                             Communicationss/or
             pdf                   John Templin   Kym Cherubini                                            Attorney Client
_1818                  9:13                                                                                                  attorney workproduct
                                                                                                                             regarding legal mater.

                                                                                          Employee(s) of
                                                                                          NuCO2                              Reflects attorney
NuCO2_Priv             8/24/2018                                                                                             Communicationss/or
             pdf                   John Templin   Kym Cherubini                                            Attorney Client
_1819                  9:13                                                                                                  attorney workproduct
                                                                                                                             regarding legal mater.

                                                                                          Employee(s) of                     Reflects need
                                                                                          NuCO2                              for/provision of legal
                                                                                                                             advice regarding state
                                                                                                                             consumer complaint as
NuCO2_Priv             8/16/2018                                                                                             well as need
             MSG                   John Templin   Sondra Meyer           Ronald Thermil                    Attorney Client
_1820                  11:09                                                                                                 for/provision of
                                                                                                                             information in order to
                                                                                                                             facilitate legal
                                                                                                                             advice/services
                                                                                                                             concerning the same.




                                                                   320
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 322 of
                                                          573


                                                                                         Employee(s) of                     Reflects need
                                                                                         NuCO2                              for/provision of legal
                                                                                                                            advice regarding state
                                                                                                                            consumer complaint as
NuCO2_Priv              8/16/2018                                                                                           well as need
             pdf                    John Templin   Sondra Meyer         Ronald Thermil                    Attorney Client
_1821                   11:09                                                                                               for/provision of
                                                                                                                            information in order to
                                                                                                                            facilitate legal
                                                                                                                            advice/services
                                                                                                                            concerning the same.
                                                                                         Employee(s) of                     Reflects need
                                                                                         NuCO2                              for/provision of legal
                                                                                                                            advice regarding state
                                                                                                                            consumer complaint as
NuCO2_Priv              8/16/2018                                                                                           well as need
             PDF                    John Templin   Sondra Meyer         Ronald Thermil                    Attorney Client
_1822                   11:09                                                                                               for/provision of
                                                                                                                            information in order to
                                                                                                                            facilitate legal
                                                                                                                            advice/services
                                                                                                                            concerning the same.
                                                                                         Employee(s) of                     Communications
                                                                                         NuCO2                              regarding request
                                                                                                          Attorney          for/provision of legal
NuCO2_Priv              7/21/2018
             MSG                    John Templin   Ronald Thermil                                         Client/Work       advice/work product
_1823                   8:42
                                                                                                          Product           of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                         Employee(s) of                     Communications
                                                                                         NuCO2                              regarding request
                                                                                                          Attorney          for/provision of legal
NuCO2_Priv              8/30/2018                  Heather
             docx                   John Templin                                                          Client/Work       advice/work product
_1824                   13:52                      Shepherd
                                                                                                          Product           of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                         Employee(s) of                     Communications
                                                                                         NuCO2                              regarding request
                                                                                                          Attorney          for/provision of legal
NuCO2_Priv              8/30/2018                  Heather
             docx                   John Templin                                                          Client/Work       advice/work product
_1825                   13:52                      Shepherd
                                                                                                          Product           of counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.

                                                                  321
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 323 of
                                                          573


                                                                                        Employee(s) of                 Communications
                                                                                        NuCO2                          regarding request
                                                                                                         Attorney      for/provision of legal
NuCO2_Priv              8/30/2018                  Heather
             pdf                    John Templin                                                         Client/Work   advice/work product
_1826                   13:52                      Shepherd
                                                                                                         Product       of counsel concerning
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                        Employee(s) of                 Communications
                                                                                        NuCO2                          regarding request
                                                                                                         Attorney      for/provision of legal
NuCO2_Priv              8/30/2018                  Heather
             pdf                    John Templin                                                         Client/Work   advice/work product
_1827                   13:52                      Shepherd
                                                                                                         Product       of counsel concerning
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                        Employee(s) of                 Communications
                                                                                        NuCO2                          regarding request
                                                                                                         Attorney      for/provision of legal
NuCO2_Priv              8/30/2018                  Heather
             MSG                    John Templin                                                         Client/Work   advice/work product
_1828                   13:52                      Shepherd
                                                                                                         Product       of counsel concerning
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                        Employee(s) of                 Communications
                                                                                        NuCO2 and its                  regarding request
                                                                                        affiliated       Attorney      for/provision of legal
NuCO2_Priv              9/5/2018
             MSG                    John Templin   Markatos, David     Piazza, Shelly                    Client/Work   advice/work product
_1829                   15:21                                                           company(ies)
                                                                                                         Product       of counsel concerning
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                        Employee(s) of                 Communications
                                                                                        NuCO2 and its                  regarding request
                                                                                        affiliated       Attorney      for/provision of legal
NuCO2_Priv              9/5/2018
             docx                   John Templin   Markatos, David     Piazza, Shelly                    Client/Work   advice/work product
_1830                   15:21                                                           company(ies)
                                                                                                         Product       of counsel concerning
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                        Employee(s) of                 Reflects need
                                                                                        NuCO2 and its                  for/provision of legal
                                                                                                         Attorney
NuCO2_Priv              8/20/2018                                                       affiliated                     advice regarding state
             MSG                    John Templin   Markatos, David                                       Client/Work
_1831                   12:31                                                           company(ies)                   consumer complaint as
                                                                                                         Product
                                                                                                                       well as need
                                                                                                                       for/provision of

                                                                 322
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 324 of
                                                         573


                                                                                                             information in order to
                                                                                                             facilitate legal
                                                                                                             advice/services
                                                                                                             concerning the same.


                                                                              Employee(s) of                 Reflects need
                                                                              NuCO2 and its                  for/provision of legal
                                                                              affiliated                     advice regarding state
                                                                                                             consumer complaint as
                                                                              company(ies)     Attorney
NuCO2_Priv             8/20/2018                                                                             well as need
             xls                   John Templin   Markatos, David                              Client/Work
_1832                  12:31                                                                                 for/provision of
                                                                                               Product
                                                                                                             information in order to
                                                                                                             facilitate legal
                                                                                                             advice/services
                                                                                                             concerning the same.
                                                                              Employee(s) of                 Reflects need
                                                                              NuCO2 and its                  for/provision of legal
                                                                              affiliated                     advice regarding state
                                                                                                             consumer complaint as
                                                                              company(ies)     Attorney
NuCO2_Priv             8/20/2018                                                                             well as need
             xls                   John Templin   Markatos, David                              Client/Work
_1833                  12:31                                                                                 for/provision of
                                                                                               Product
                                                                                                             information in order to
                                                                                                             facilitate legal
                                                                                                             advice/services
                                                                                                             concerning the same.
                                                                              Employee(s) of                 Reflects need
                                                                              NuCO2 and its                  for/provision of legal
                                                                              affiliated                     advice regarding state
                                                                                                             consumer complaint as
                                                                              company(ies)     Attorney
NuCO2_Priv             8/20/2018                                                                             well as need
             PDF                   John Templin   Markatos, David                              Client/Work
_1834                  12:31                                                                                 for/provision of
                                                                                               Product
                                                                                                             information in order to
                                                                                                             facilitate legal
                                                                                                             advice/services
                                                                                                             concerning the same.




                                                                323
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 325 of
                                                          573


                                                                               Employee(s) of                 Reflects need
                                                                               NuCO2 and its                  for/provision of legal
                                                                               affiliated                     advice regarding state
                                                                                                              consumer complaint as
                                                                               company(ies)     Attorney
NuCO2_Priv              8/20/2018                                                                             well as need
             xlsx                   John Templin   Markatos, David                              Client/Work
_1835                   12:31                                                                                 for/provision of
                                                                                                Product
                                                                                                              information in order to
                                                                                                              facilitate legal
                                                                                                              advice/services
                                                                                                              concerning the same.
                                                                               Employee(s) of                 Reflects need
                                                                               NuCO2                          for/provision of legal
                                                                                                              advice regarding state
                                                                                                              consumer complaint as
                                                                                                Attorney
NuCO2_Priv              8/17/2018                                                                             well as need
             PDF                    John Templin   Ronald Thermil                               Client/Work
_1836                   7:40                                                                                  for/provision of
                                                                                                Product
                                                                                                              information in order to
                                                                                                              facilitate legal
                                                                                                              advice/services
                                                                                                              concerning the same.
                                                                               Employee(s) of                 Reflects need
                                                                               NuCO2                          for/provision of legal
                                                                                                              advice regarding state
                                                                                                              consumer complaint as
                                                                                                Attorney
NuCO2_Priv              8/17/2018                                                                             well as need
             pdf                    John Templin   Ronald Thermil                               Client/Work
_1837                   7:40                                                                                  for/provision of
                                                                                                Product
                                                                                                              information in order to
                                                                                                              facilitate legal
                                                                                                              advice/services
                                                                                                              concerning the same.
                                                                               Employee(s) of                 Reflects need
                                                                               NuCO2                          for/provision of legal
                                                                                                              advice regarding state
                                                                                                              consumer complaint as
                                                                                                Attorney
NuCO2_Priv              8/17/2018                                                                             well as need
             MSG                    John Templin   Ronald Thermil                               Client/Work
_1838                   7:40                                                                                  for/provision of
                                                                                                Product
                                                                                                              information in order to
                                                                                                              facilitate legal
                                                                                                              advice/services
                                                                                                              concerning the same.



                                                                 324
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 326 of
                                                         573


                                                                                         Employee(s) of
                                                                                         NuCO2
                                                                                                          Attorney          Communication
NuCO2_Priv             8/27/2018
             MSG                   John Templin   Peter Craig                                             Client/Work       regarding litigation
_1839                  7:52
                                                                                                          Product           hold.


                                                                                         Employee(s) of                     Communications
                                                                                         NuCO2 and its                      regarding need
                                                                                         affiliated                         for/provision of
                                                  Markatos, David;                                                          information regarding
                                                                                         company(ies)     Attorney
NuCO2_Priv             8/27/2018                  Sarner, Eric;                                                             customer
             MSG                   John Templin                                                           Client/Work
_1840                  8:24                       Balzarini,                                                                account/dispute in
                                                                                                          Product
                                                  Edward                                                                    order to facilitate
                                                                                                                            provision of legal
                                                                                                                            advice/services
                                                                                                                            concerning the same.
                                                                                         Employee(s) of                     Communications
                                                                                         NuCO2 and its                      regarding need
                                                                                         affiliated                         for/provision of
                                                  Markatos, David;                                                          information regarding
                                                                                         company(ies)     Attorney
NuCO2_Priv             8/27/2018                  Sarner, Eric;                                                             customer
             pdf                   John Templin                                                           Client/Work
_1841                  8:24                       Balzarini,                                                                account/dispute in
                                                                                                          Product
                                                  Edward                                                                    order to facilitate
                                                                                                                            provision of legal
                                                                                                                            advice/services
                                                                                                                            concerning the same.
                                                                                         Employee(s) of                     Reflects need
                                                                                         NuCO2                              for/provision of legal
NuCO2_Priv             9/25/2018                                                                                            advice regarding
             MSG                   John Templin   Gerald Miller         Bridget Correa                    Attorney Client
_1842                  9:08                                                                                                 strategy concerning
                                                                                                                            customer/competitor
                                                                                                                            disputes.
                                                                                         Employee(s) of                     Communications
                                                                                         NuCO2                              regarding need
                                                                                                          Attorney
NuCO2_Priv             8/22/2018                                                                                            for/provision of
             MSG                   John Templin   Gerald Miller                                           Client/Work
_1843                  12:19                                                                                                information in order to
                                                                                                          Product
                                                                                                                            facilitate provision of
                                                                                                                            legal advice/services.




                                                                  325
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 327 of
                                                         573


                                                                              Employee(s) of                     Communications
                                                                              NuCO2 and its                      regarding need
                                                                              affiliated                         for/provision of
                                                                                                                 information regarding
                                                                              company(ies)
NuCO2_Priv             8/28/2018                                                                                 customer
             MSG                    John Templin   Markatos, David                             Attorney Client
_1844                  14:02                                                                                     account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2 and its                      regarding need
                                                                              affiliated                         for/provision of
                                                                                                                 information regarding
                                                                              company(ies)
NuCO2_Priv             8/28/2018                                                                                 customer
             pdf                    John Templin   Markatos, David                             Attorney Client
_1845                  14:02                                                                                     account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2 and its                      regarding need
                                                                              affiliated                         for/provision of
                                                                                                                 information regarding
                                                                              company(ies)
NuCO2_Priv             8/28/2018                                                                                 customer
             pdf                    John Templin   Markatos, David                             Attorney Client
_1846                  14:02                                                                                     account/dispute in
                                                                                                                 order to facilitate
                                                                                                                 provision of legal
                                                                                                                 advice/services
                                                                                                                 concerning the same.
                                                                              Employee(s) of                     Communications
                                                                              NuCO2 and its                      regarding request
                                                                              affiliated       Attorney          for/provision of legal
NuCO2_Priv             10/16/2018                  Markatos, David;
             MSG                    John Templin                                               Client/Work       advice/work product
_1847                  13:49                       Piazza, Shelly             company(ies)
                                                                                               Product           of counsel concerning
                                                                                                                 negotiation/drafting of
                                                                                                                 customer agreement.




                                                                 326
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 328 of
                                                          573


                                                                                              Employee(s) of                      Communications
                                                                                              NuCO2 and its                       regarding request
                                                                                              affiliated        Attorney          for/provision of legal
NuCO2_Priv              10/16/2018                  Markatos, David;
             docx                    John Templin                                                               Client/Work       advice/work product
_1848                   13:49                       Piazza, Shelly                            company(ies)
                                                                                                                Product           of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                              Employee(s) of                      Communications
                                                                                              NuCO2 and its                       regarding request
                                                                                              affiliated                          for/provision of legal
NuCO2_Priv              9/11/2018                   Piazza, Shelly;
             docx                    John Templin                           Markatos, David                     Attorney Client   advice/work product
_1849                   16:07                       Robbi Stiell                              company(ies)
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                                                                  Communications
                                                                                                                                  regarding request
                                                                                               Employee(s) of
                                                                                                                                  for/provision of legal
NuCO2_Priv              9/11/2018                   Piazza, Shelly;                           NuCO2 and its
             MSG                     John Templin                           Markatos, David                     Attorney Client   advice/work product
_1850                   16:07                       Robbi Stiell                              affiliated
                                                                                                                                  of counsel concerning
                                                                                              company(ies)
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                              Employee(s) of                      Communications
                                                                                              NuCO2                               regarding request
                                                                                                                                  for/provision of legal
NuCO2_Priv              9/11/2018
             MSG                     John Templin   Robbi Stiell                                                Attorney Client   advice/work product
_1851                   17:20
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                              Employee(s) of                      Communications
                                                                                              NuCO2                               regarding request
                                                                                                                                  for/provision of legal
NuCO2_Priv              9/11/2018
             jpg                     John Templin   Robbi Stiell                                                Attorney Client   advice/work product
_1852                   17:20
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                              Employee(s) of                      Communications
                                                                                              NuCO2                               regarding request
NuCO2_Priv              9/11/2018                                                                                                 for/provision of legal
             png                     John Templin   Robbi Stiell                                                Attorney Client
_1853                   17:20                                                                                                     advice/work product
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting of

                                                                      327
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 329 of
                                                          573


                                                                                                                               customer agreement.




                                                                                                                               Communications
                                                                                            Employee(s) of                     regarding request
                                                                                                                               for/provision of legal
NuCO2_Priv              9/11/2018                                                           NuCO2
             jpg                    John Templin   Robbi Stiell                                              Attorney Client   advice/work product
_1854                   17:20
                                                                                                                               of counsel concerning
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.
                                                                                                                               Reflects need
                                                                                            Employee(s) of                     for/provision of legal
NuCO2_Priv              9/24/2018                  Competitive                              NuCO2                              advice regarding
             MSG                    John Templin                           Bridget Correa                    Attorney Client
_1855                   15:13                      Conversions                                                                 strategy concerning
                                                                                                                               customer/competitor
                                                                                                                               disputes.
                                                                                            Employee(s) of                     Communications
                                                                                            NuCO2                              regarding request
                                                                                                             Attorney          for/provision of legal
NuCO2_Priv              11/1/2018
             MSG                    John Templin   Brian D. Potter                                           Client/Work       advice/work product
_1856                   9:51
                                                                                                             Product           of counsel concerning
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.
                                                                                            Employee(s) of                     Communications
                                                                                            NuCO2                              regarding request
                                                                                                             Attorney          for/provision of legal
NuCO2_Priv              11/1/2018
             docx                   John Templin   Brian D. Potter                                           Client/Work       advice/work product
_1857                   9:51
                                                                                                             Product           of counsel concerning
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.
                                                                                            Employee(s) of                     Reflects
                                                                                            NuCO2                              communications or
                                                                                                             Attorney
NuCO2_Priv              10/4/2018                                                                                              advice or work product
             MSG                    John Templin   Gerald Miller                                             Client/Work
_1858                   10:09                                                                                                  regarding
                                                                                                             Product
                                                                                                                               negotiation/drafting of
                                                                                                                               customer agreement.



                                                                     328
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 330 of
                                                          573


                                                                                             Employee(s) of                  Reflects
                                                                                             NuCO2                           communications or
                                                                                                              Attorney
NuCO2_Priv              10/4/2018                                                                                            advice or work product
             MSG                     John Templin   Gerald Miller                                             Client/Work
_1859                   10:18                                                                                                regarding
                                                                                                              Product
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                             Employee(s) of                  Communications
                                                                                             NuCO2 and its                   regarding request
                                                                                             affiliated       Attorney       for/provision of legal
NuCO2_Priv              11/1/2018
             MSG                     John Templin   Piazza, Shelly         Markatos, David                    Client/Work    advice/work product
_1860                   13:10                                                                company(ies)
                                                                                                              Product        of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                             Employee(s) of                  Communications
                                                                                             NuCO2 and its                   regarding request
                                                                                             affiliated       Attorney       for/provision of legal
NuCO2_Priv              11/1/2018
             docx                    John Templin   Piazza, Shelly         Markatos, David                    Client/Work    advice/work product
_1861                   13:10                                                                company(ies)
                                                                                                              Product        of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                             Employee(s) of                  Communications
                                                                                             NuCO2 and its                   regarding request
                                                                                             affiliated       Attorney       for/provision of legal
NuCO2_Priv              11/1/2018
             docx                    John Templin   Piazza, Shelly         Markatos, David                    Client/Work    advice/work product
_1862                   13:10                                                                company(ies)
                                                                                                              Product        of counsel concerning
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                             Employee(s) of
                                                                                             NuCO2                           Communications
                                                    Christine
NuCO2_Priv              10/17/2018                                                                            Settlement     regarding strategy for
             MSG                     John Templin   Bukowski; Brian
_1863                   12:04                                                                                 Negotiations   settling customer
                                                    D. Potter
                                                                                                                             dispute.

                                                                                             Employee(s) of
                                                                                             NuCO2                           Communications
                                                    Christine
NuCO2_Priv              10/17/2018                                                                            Settlement     regarding strategy for
             pdf                     John Templin   Bukowski; Brian
_1864                   12:04                                                                                 Negotiations   settling customer
                                                    D. Potter
                                                                                                                             dispute.




                                                                     329
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 331 of
                                                          573


                                                                                           Employee(s) of
                                                                                           NuCO2                           Communications
                                                    Christine
NuCO2_Priv              10/17/2018                                                                          Settlement     regarding strategy for
             pdf                     John Templin   Bukowski; Brian
_1865                   12:04                                                                               Negotiations   settling customer
                                                    D. Potter
                                                                                                                           dispute.

                                                                                           Employee(s) of                  Communications
                                                                                           NuCO2 and its                   regarding request
                                                                                           affiliated       Attorney       for/provision of legal
NuCO2_Priv              9/27/2018
             MSG                     John Templin   Markatos, David       Piazza, Shelly                    Client/Work    advice/work product
_1866                   14:00                                                              company(ies)
                                                                                                            Product        of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                           Employee(s) of                  Communications
                                                                                           NuCO2 and its                   regarding request
                                                                                           affiliated       Attorney       for/provision of legal
NuCO2_Priv              9/27/2018
             docx                    John Templin   Markatos, David       Piazza, Shelly                    Client/Work    advice/work product
_1867                   14:00                                                              company(ies)
                                                                                                            Product        of counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                    Gerald Miller;
                                                    Jeff Gilheney;
                                                                                                                           Communications
                                                    Felicia Gallagher;                     Employee(s) of                  regarding need
                                                    Derek Burton;                                           Attorney
NuCO2_Priv              10/3/2018                                                          NuCO2                           for/provision of
             MSG                     John Templin   Richard Wilkie;                                         Client/Work
_1868                   13:56                                                                                              information in order to
                                                    Nate Freese;                                            Product
                                                                                                                           facilitate provision of
                                                    Brian D. Potter;
                                                                                                                           legal advice/services.
                                                    Jeff Wilson;
                                                    Ronald Thermil
                                                    Gerald Miller;                         Employee(s) of
                                                    Jeff Gilheney;                         NuCO2                           Communications
                                                    Felicia Gallagher;
                                                                                                                           regarding need
                                                    Derek Burton;                                           Attorney
NuCO2_Priv              10/3/2018                                                                                          for/provision of
             docx                    John Templin   Richard Wilkie;                                         Client/Work
_1869                   13:56                                                                                              information in order to
                                                    Nate Freese;                                            Product
                                                                                                                           facilitate provision of
                                                    Brian D. Potter;
                                                                                                                           legal advice/services.
                                                    Jeff Wilson;
                                                    Ronald Thermil




                                                                    330
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 332 of
                                                          573


                                                    Gerald Miller;             Employee(s) of
                                                    Jeff Gilheney;             NuCO2                           Communications
                                                    Felicia Gallagher;
                                                                                                               regarding need
                                                    Derek Burton;                                Attorney
NuCO2_Priv              10/3/2018                                                                              for/provision of
             docx                    John Templin   Richard Wilkie;                              Client/Work
_1870                   13:56                                                                                  information in order to
                                                    Nate Freese;                                 Product
                                                                                                               facilitate provision of
                                                    Brian D. Potter;
                                                                                                               legal advice/services.
                                                    Jeff Wilson;
                                                    Ronald Thermil
                                                                                                               Communications
                                                                                                               regarding request
                                                                                Employee(s) of
                                                                                                 Attorney      for/provision of legal
NuCO2_Priv              11/5/2018                   Piazza, Shelly;            NuCO2 and its
             MSG                     John Templin                                                Client/Work   advice/work product
_1871                   9:47                        Markatos, David            affiliated
                                                                                                 Product       of counsel concerning
                                                                               company(ies)
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                               Employee(s) of                  Communications
                                                                               NuCO2                           regarding request
                                                                                                 Attorney      for/provision of legal
NuCO2_Priv              11/14/2018
             docx                    John Templin   Jeff Gilheney                                Client/Work   advice/work product
_1872                   16:43
                                                                                                 Product       of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.
                                                                               Employee(s) of
                                                                               NuCO2                           Reflects attorney
                                                                                                 Attorney
NuCO2_Priv              11/14/2018                                                                             Communicationss/or
             MSG                     John Templin   Jeff Gilheney                                Client/Work
_1873                   16:43                                                                                  attorney workproduct
                                                                                                 Product
                                                                                                               regarding legal mater.

                                                                               Employee(s) of                  Communications
                                                                               NuCO2 and its                   regarding request
                                                                               affiliated        Attorney      for/provision of legal
NuCO2_Priv              11/14/2018
             MSG                     John Templin   Foti, Kevin                                  Client/Work   advice/work product
_1874                   17:38                                                  company(ies)
                                                                                                 Product       of counsel concerning
                                                                                                               negotiation/drafting of
                                                                                                               customer agreement.




                                                                    331
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 333 of
                                                          573


                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              11/14/2018
             docx                    John Templin   Foti, Kevin                                 Client/Work   advice/work product
_1875                   17:38                                                  company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              10/31/2018
             MSG                     John Templin   Nate Freese                                 Client/Work   advice/work product
_1876                   15:10
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              10/31/2018
             docx                    John Templin   Nate Freese                                 Client/Work   advice/work product
_1877                   15:10
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of
                                                                                                              Reflects attorney
                                                                               NuCO2 and its
                                                                                                Attorney      Communications
NuCO2_Priv              12/4/2018                   Felicia Gallagher;         affiliated
             MSG                     John Templin                                               Client/Work   and/or attorney work
_1878                   8:36                        Derek Burton               company(ies)     Product       product regarding
                                                                                                              acquisition.
                                                                               Employee(s) of
                                                                                                              Reflects attorney
                                                                               NuCO2 and its
                                                                                                Attorney      Communications
NuCO2_Priv              12/4/2018                   Felicia Gallagher;         affiliated
             xls                     John Templin                                               Client/Work   and/or attorney work
_1879                   8:36                        Derek Burton               company(ies)     Product       product regarding
                                                                                                              acquisition.
                                                                               Employee(s) of
                                                                                                              Reflects attorney
                                                                               NuCO2 and its
                                                                                                Attorney      Communications
NuCO2_Priv              12/4/2018                   Felicia Gallagher;         affiliated
             xls                     John Templin                                               Client/Work   and/or attorney work
_1880                   8:36                        Derek Burton               company(ies)     Product       product regarding
                                                                                                              acquisition.




                                                                    332
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 334 of
                                                         573


                                                                                         Employee(s) of
                                                                                                                        Reflects attorney
                                                                                         NuCO2 and its
                                                                                                          Attorney      Communications
NuCO2_Priv             12/4/2018                   Felicia Gallagher;                    affiliated
             xls                   John Templin                                                           Client/Work   and/or attorney work
_1881                  8:36                        Derek Burton                          company(ies)     Product       product regarding
                                                                                                                        acquisition.
                                                                                         Employee(s) of
                                                                                                                        Reflects attorney
                                                                                         NuCO2 and its
                                                                                                          Attorney      Communications
NuCO2_Priv             12/4/2018                   Felicia Gallagher;                    affiliated
             pdf                   John Templin                                                           Client/Work   and/or attorney work
_1882                  8:36                        Derek Burton                          company(ies)     Product       product regarding
                                                                                                                        acquisition.
                                                                                         Employee(s) of
                                                                                                                        Reflects attorney
                                                                                         NuCO2 and its
                                                                                                          Attorney      Communications
NuCO2_Priv             12/4/2018                   Felicia Gallagher;                    affiliated
             pdf                   John Templin                                                           Client/Work   and/or attorney work
_1883                  8:36                        Derek Burton                          company(ies)     Product       product regarding
                                                                                                                        acquisition.
                                                                                         Employee(s) of
                                                                                                                        Reflects attorney
                                                                                         NuCO2 and its
                                                                                                          Attorney      Communications
NuCO2_Priv             12/4/2018                   Felicia Gallagher;                    affiliated
             pdf                   John Templin                                                           Client/Work   and/or attorney work
_1884                  8:36                        Derek Burton                          company(ies)     Product       product regarding
                                                                                                                        acquisition.
                                                                                         Employee(s) of
                                                   Maynard-Elliott,                                                     Reflects attorney
                                                                                         NuCO2 and its
                                                   Nichelle; Felicia                                      Attorney      Communications
NuCO2_Priv             12/4/2018                                                         affiliated
             msg                   Gerald Miller   Gallagher;            Gerald Miller                    Client/Work   and/or attorney work
_1885                  8:36                                                              company(ies)
                                                   Toyanna Platt;                                         Product       product regarding
                                                   John Templin                                                         acquisition.
                                                                                         Employee(s) of
                                                                                                                        Reflects attorney
                                                                                         NuCO2 and its
                                                                                                          Attorney      Communications
NuCO2_Priv             12/4/2018                   Felicia Gallagher;                    affiliated
             pdf                   Gerald Miller                                                          Client/Work   and/or attorney work
_1886                  8:36                        Derek Burton                          company(ies)     Product       product regarding
                                                                                                                        acquisition.




                                                                   333
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 335 of
                                                          573


                                                                               Employee(s) of
                                                                                                              Reflects attorney
                                                                               NuCO2 and its
                                                                                                Attorney      Communications
NuCO2_Priv              12/4/2018                   Felicia Gallagher;         affiliated
             pdf                    Gerald Miller                                               Client/Work   and/or attorney work
_1887                   8:36                        Derek Burton               company(ies)     Product       product regarding
                                                                                                              acquisition.
                                                                               Employee(s) of
                                                                                                              Reflects attorney
                                                                               NuCO2 and its
                                                                                                Attorney      Communications
NuCO2_Priv              12/4/2018                   Felicia Gallagher;         affiliated
             xlsx                   Gerald Miller                                               Client/Work   and/or attorney work
_1888                   8:36                        Derek Burton               company(ies)     Product       product regarding
                                                                                                              acquisition.
                                                                               Employee(s) of
                                                                                                              Reflects attorney
                                                                               NuCO2 and its
                                                                                                Attorney      Communications
NuCO2_Priv              12/4/2018                   Felicia Gallagher;         affiliated
             pdf                    Gerald Miller                                               Client/Work   and/or attorney work
_1889                   8:36                        Derek Burton               company(ies)     Product       product regarding
                                                                                                              acquisition.
                                                                               Employee(s) of
                                                                                                              Reflects attorney
                                                                               NuCO2 and its
                                                                                                Attorney      Communications
NuCO2_Priv              12/4/2018                   Felicia Gallagher;         affiliated
             pdf                    Gerald Miller                                               Client/Work   and/or attorney work
_1890                   8:36                        Derek Burton               company(ies)     Product       product regarding
                                                                                                              acquisition.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/6/2018
             xlsx                   Foti, Kevin     Foti, Kevin                                 Client/Work   advice/work product
_1891                   9:26                                                   company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/6/2018
             xlsx                   Foti, Kevin     Foti, Kevin                                 Client/Work   advice/work product
_1892                   9:26                                                   company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.




                                                                    334
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 336 of
                                                         573


                                                                              Employee(s) of                 Communications
                                                                              NuCO2 and its                  regarding request
                                                                              affiliated       Attorney      for/provision of legal
NuCO2_Priv             12/6/2018
             pdf                   Foti, Kevin   Foti, Kevin                                   Client/Work   advice/work product
_1893                  9:26                                                   company(ies)
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2 and its                  regarding request
                                                                              affiliated       Attorney      for/provision of legal
NuCO2_Priv             12/6/2018
             jpg                   Foti, Kevin   Foti, Kevin                                   Client/Work   advice/work product
_1894                  9:26                                                   company(ies)
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2 and its                  regarding request
                                                                              affiliated       Attorney      for/provision of legal
NuCO2_Priv             12/6/2018
             png                   Foti, Kevin   Foti, Kevin                                   Client/Work   advice/work product
_1895                  9:26                                                   company(ies)
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2 and its                  regarding request
                                                                              affiliated       Attorney      for/provision of legal
NuCO2_Priv             12/6/2018
             msg                   Foti, Kevin   John Templin                                  Client/Work   advice/work product
_1896                  9:26                                                   company(ies)
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2 and its                  regarding request
                                                                              affiliated       Attorney      for/provision of legal
NuCO2_Priv             12/6/2018
             msg                   Foti, Kevin   John Templin                                  Client/Work   advice/work product
_1897                  9:26                                                   company(ies)
                                                                                               Product       of counsel concerning
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications
                                                                              NuCO2 and its                  regarding request
                                                                                               Attorney
NuCO2_Priv             12/6/2018                                              affiliated                     for/provision of legal
             msg                   Foti, Kevin   John Templin                                  Client/Work
_1898                  9:26                                                   company(ies)                   advice/work product
                                                                                               Product
                                                                                                             of counsel concerning
                                                                                                             negotiation/drafting of

                                                                335
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 337 of
                                                          573


                                                                                                              customer agreement.




                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/6/2018
             msg                    Foti, Kevin   John Templin                                  Client/Work   advice/work product
_1899                   9:26                                                   company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/6/2018
             msg                    Foti, Kevin   John Templin                                  Client/Work   advice/work product
_1900                   9:26                                                   company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/6/2018
             xlsx                   Foti, Kevin   Foti, Kevin                                   Client/Work   advice/work product
_1901                   9:26                                                   company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/6/2018
             xlsx                   Foti, Kevin   Foti, Kevin                                   Client/Work   advice/work product
_1902                   9:26                                                   company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/6/2018
             xlsx                   Foti, Kevin   Foti, Kevin                                   Client/Work   advice/work product
_1903                   9:26                                                   company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.

                                                                 336
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 338 of
                                                          573


                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/6/2018
             MSG                     John Templin   Foti, Kevin                                 Client/Work   advice/work product
_1904                   9:26                                                   company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              12/12/2018
             pdf                     John Templin   Debbie Oliver                               Client/Work   advice/work product
_1905                   17:35
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              12/12/2018
             MSG                     John Templin   Debbie Oliver                               Client/Work   advice/work product
_1906                   17:35
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              12/4/2018
             MSG                     John Templin   Kevin Patton                                Client/Work   advice/work product
_1907                   14:09
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              12/4/2018
             pdf                     John Templin   Kevin Patton                                Client/Work   advice/work product
_1908                   14:09
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney
NuCO2_Priv              12/4/2018                                                                             for/provision of legal
             docx                    John Templin   Kevin Patton                                Client/Work
_1909                   14:09                                                                                 advice/work product
                                                                                                Product
                                                                                                              of counsel concerning
                                                                                                              negotiation/drafting of

                                                                    337
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 339 of
                                                          573


                                                                                                              customer agreement.




                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              11/28/2018                  John-Paul
             MSG                     John Templin                                               Client/Work   advice/work product
_1910                   8:12                        Venanzi
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              11/28/2018                  John-Paul
             docx                    John Templin                                               Client/Work   advice/work product
_1911                   8:12                        Venanzi
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              11/28/2018                  John-Paul
             docx                    John Templin                                               Client/Work   advice/work product
_1912                   8:12                        Venanzi
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2                          regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              10/29/2018                  Michael Graham;
             MSG                     John Templin                                               Client/Work   advice/work product
_1913                   8:07                        Brian D. Potter
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                                                              Communications
                                                                               Employee(s) of                 regarding request
                                                                                                Attorney      for/provision of legal
NuCO2_Priv              10/29/2018                  Michael Graham;            NuCO2
             docx                    John Templin                                               Client/Work   advice/work product
_1914                   8:07                        Brian D. Potter
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.

                                                                 338
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 340 of
                                                          573


                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/13/2018
             MSG                     John Templin    Felicia Gallagher                          Client/Work   advice/work product
_1915                   12:01                                                  company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/13/2018
             pdf                     John Templin    Felicia Gallagher                          Client/Work   advice/work product
_1916                   12:01                                                  company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of                 Communications
                                                                               NuCO2 and its                  regarding request
                                                                               affiliated       Attorney      for/provision of legal
NuCO2_Priv              12/13/2018
             msg                     Debbie Oliver   John Templin                               Client/Work   advice/work product
_1917                   12:01                                                  company(ies)
                                                                                                Product       of counsel concerning
                                                                                                              negotiation/drafting of
                                                                                                              customer agreement.
                                                                               Employee(s) of
                                                                               NuCO2 and its                  Reflects attorney
                                                                                                Attorney
NuCO2_Priv              11/14/2018                   Balzarini,                affiliated                     Communicationss/or
             xls                     John Templin                                               Client/Work
_1918                   12:15                        Edward                    company(ies)                   attorney workproduct
                                                                                                Product
                                                                                                              regarding legal mater.

                                                                               Employee(s) of
                                                                               NuCO2 and its                  Reflects attorney
                                                                                                Attorney
NuCO2_Priv              11/14/2018                   Balzarini,                affiliated                     Communicationss/or
             pdf                     John Templin                                               Client/Work
_1919                   12:15                        Edward                    company(ies)                   attorney workproduct
                                                                                                Product
                                                                                                              regarding legal mater.

                                                                               Employee(s) of
                                                                               NuCO2 and its                  Reflects attorney
                                                                                                Attorney
NuCO2_Priv              11/14/2018                   Balzarini,                affiliated                     Communicationss/or
             docx                    John Templin                                               Client/Work
_1920                   12:15                        Edward                    company(ies)                   attorney workproduct
                                                                                                Product
                                                                                                              regarding legal mater.




                                                                    339
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 341 of
                                                          573



                                                                                         Employee(s) of                  Reflects attorney
                                                                                                           Attorney
NuCO2_Priv              11/14/2018                                                       NuCO2                           Communicationss/or
             msg                     Derek Burton   John Templin                                           Client/Work
_1921                   12:15                                                                                            attorney workproduct
                                                                                                           Product
                                                                                                                         regarding legal mater.


                                                                                          Employee(s) of                 Reflects attorney
                                                                                                           Attorney
NuCO2_Priv              11/14/2018                  Balzarini,                           NuCO2 and its                   Communicationss/or
             MSG                     John Templin                                                          Client/Work
_1922                   12:15                       Edward                               affiliated                      attorney workproduct
                                                                                                           Product
                                                                                         company(ies)                    regarding legal mater.


                                                                                         Employee(s) of                  Reflects need
                                                                                                           Attorney      for/provision of legal
NuCO2_Priv              10/29/2018                  Peter Craig;                         NuCO2
             MSG                     John Templin                        Derek Burton                      Client/Work   advice regarding
_1923                   11:52                       Ronald Thermil
                                                                                                           Product       customer
                                                                                                                         account/dispute.
                                                                                         Employee(s) of                  Communications
                                                                                         NuCO2                           regarding request
                                                                                                           Attorney      for/provision of legal
NuCO2_Priv              12/24/2018                  Michael Graham;
             MSG                     John Templin                                                          Client/Work   advice/work product
_1924                   16:50                       Brian D. Potter
                                                                                                           Product       of counsel concerning
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                         Employee(s) of                  Communications
                                                                                         NuCO2                           regarding request
                                                                                                           Attorney      for/provision of legal
NuCO2_Priv              11/7/2018                   John-Paul
             MSG                     John Templin                        Gerald Miller                     Client/Work   advice/work product
_1925                   15:15                       Venanzi
                                                                                                           Product       of counsel concerning
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                         Employee(s) of                  Communications
                                                                                         NuCO2                           regarding request
                                                                                                           Attorney      for/provision of legal
NuCO2_Priv              11/7/2018                   John-Paul
             docx                    John Templin                        Gerald Miller                     Client/Work   advice/work product
_1926                   15:15                       Venanzi
                                                                                                           Product       of counsel concerning
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.



                                                                   340
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 342 of
                                                         573


                                                                                          Employee(s) of
                                                                                          NuCO2                              Reflects need
NuCO2_Priv             11/27/2018                                                                                            for/provision of legal
             MSG                    John Templin   Mark Novak              Derek Burton                    Attorney Client
_1927                  8:20                                                                                                  advice regarding state
                                                                                                                             consumer complaint.

                                                                                          Employee(s) of
                                                                                          NuCO2                              Reflects need
NuCO2_Priv             11/27/2018                                                                                            for/provision of legal
             pdf                    John Templin   Mark Novak              Derek Burton                    Attorney Client
_1928                  8:20                                                                                                  advice regarding state
                                                                                                                             consumer complaint.

                                                                                          Employee(s) of
                                                                                          NuCO2                              Reflects need
NuCO2_Priv             11/27/2018                                                                                            for/provision of legal
             xls                    John Templin   Mark Novak              Derek Burton                    Attorney Client
_1929                  8:20                                                                                                  advice regarding state
                                                                                                                             consumer complaint.

                                                                                          Employee(s) of
                                                                                          NuCO2                              Reflects need
NuCO2_Priv             11/27/2018                                                                                            for/provision of legal
             PDF                    John Templin   Mark Novak              Derek Burton                    Attorney Client
_1930                  8:20                                                                                                  advice regarding state
                                                                                                                             consumer complaint.

                                                                                          Employee(s) of
                                                                                          NuCO2                              Reflects need
                                                                                                           Attorney
NuCO2_Priv             12/1/2018                                                                                             for/provision of legal
             MSG                    John Templin   Brian D. Potter                                         Client/Work
_1931                  9:16                                                                                                  advice regarding state
                                                                                                           Product
                                                                                                                             consumer complaint.

                                                                                          Employee(s) of
                                                                                          NuCO2                              Reflects need
                                                                                                           Attorney
NuCO2_Priv             12/1/2018                                                                                             for/provision of legal
             pdf                    John Templin   Brian D. Potter                                         Client/Work
_1932                  9:16                                                                                                  advice regarding state
                                                                                                           Product
                                                                                                                             consumer complaint.




                                                                     341
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 343 of
                                                          573


                                                                                              Employee(s) of
                                                                                              NuCO2                               Reflects need
                                                                                                                Attorney
NuCO2_Priv              12/1/2018                                                                                                 for/provision of legal
             pdf                     John Templin   Brian D. Potter                                             Client/Work
_1933                   9:16                                                                                                      advice regarding state
                                                                                                                Product
                                                                                                                                  consumer complaint.

                                                                                                                                  Communications
                                                                                                                                  regarding request
                                                                                               Employee(s) of
                                                                                                                                  for/provision of legal
NuCO2_Priv              11/14/2018                                                            NuCO2 and its
             docx                    John Templin   Markatos, David         Piazza, Shelly                      Attorney Client   advice/work product
_1934                   14:26                                                                 affiliated
                                                                                                                                  of counsel concerning
                                                                                              company(ies)
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                              Employee(s) of                      Communications
                                                                                              NuCO2 and its                       regarding request
                                                                                              affiliated                          for/provision of legal
NuCO2_Priv              11/14/2018
             docx                    John Templin   Markatos, David         Piazza, Shelly                      Attorney Client   advice/work product
_1935                   14:26                                                                 company(ies)
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                              Employee(s) of                      Communications
                                                                                              NuCO2 and its                       regarding request
                                                                                              affiliated                          for/provision of legal
NuCO2_Priv              11/14/2018
             MSG                     John Templin   Markatos, David         Piazza, Shelly                      Attorney Client   advice/work product
_1936                   14:26                                                                 company(ies)
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                              Employee(s) of                      Communications
                                                                                              NuCO2                               regarding request
                                                                                                                                  for/provision of legal
NuCO2_Priv              12/20/2018
             MSG                     John Templin   Michael Graham          Brian D. Potter                     Attorney Client   advice/work product
_1937                   17:45
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                              Employee(s) of                      Communications
                                                                                              NuCO2                               regarding request
                                                                                                                                  for/provision of legal
NuCO2_Priv              12/20/2018
             jpg                     John Templin   Michael Graham          Brian D. Potter                     Attorney Client   advice/work product
_1938                   17:45
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.

                                                                      342
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 344 of
                                                          573


                                                                                           Employee(s) of                     Communications
                                                                                           NuCO2                              regarding request
                                                                                                                              for/provision of legal
NuCO2_Priv              12/20/2018
             gif                     John Templin   Michael Graham       Brian D. Potter                    Attorney Client   advice/work product
_1939                   17:45
                                                                                                                              of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                           Employee(s) of                     Communications
                                                                                           NuCO2                              regarding request
                                                                                                                              for/provision of legal
NuCO2_Priv              12/20/2018
             gif                     John Templin   Michael Graham       Brian D. Potter                    Attorney Client   advice/work product
_1940                   17:45
                                                                                                                              of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                           Employee(s) of                     Communications
                                                                                           NuCO2                              regarding request
                                                                                                                              for/provision of legal
NuCO2_Priv              12/20/2018
             png                     John Templin   Michael Graham       Brian D. Potter                    Attorney Client   advice/work product
_1941                   17:45
                                                                                                                              of counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                           Employee(s) of
                                                                                                                              Reflects need
                                                                                           NuCO2
                                                                                                                              for/provision of legal
NuCO2_Priv              2/12/2019
             MSG                     John Templin   Derek Burton                                            Attorney Client   advice regarding
_1942                   9:40
                                                                                                                              customer
                                                                                                                              account/dispute.
                                                                                           Employee(s) of
                                                                                                                              Reflects need
                                                                                           NuCO2
                                                                                                                              for/provision of legal
NuCO2_Priv              2/12/2019
             xlsx                    John Templin   Derek Burton                                            Attorney Client   advice regarding
_1943                   9:40
                                                                                                                              customer
                                                                                                                              account/dispute.
                                                                                           Employee(s) of
                                                                                                                              Reflects need
                                                                                           NuCO2
                                                                                                                              for/provision of legal
NuCO2_Priv              2/12/2019
             xls                     John Templin   Derek Burton                                            Attorney Client   advice regarding
_1944                   9:40
                                                                                                                              customer
                                                                                                                              account/dispute.




                                                                   343
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 345 of
                                                          573


                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2                              regarding need for legal
NuCO2_Priv              1/30/2019                  John-Paul                                                                     advice/work product
             MSG                    John Templin                                                               Attorney Client
_1945                   14:17                      Venanzi                                                                       of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2                              regarding need for legal
NuCO2_Priv              1/30/2019                  John-Paul                                                                     advice/work product
             docx                   John Templin                                                               Attorney Client
_1946                   14:17                      Venanzi                                                                       of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2                              regarding request
                                                                                                               Attorney          for/provision of legal
NuCO2_Priv              2/23/2019
             MSG                    John Templin   Brian D. Potter                                             Client/Work       advice/work product
_1947                   17:18
                                                                                                               Product           of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                              Employee(s) of                     Communications
                                                                                              NuCO2                              regarding request
                                                                                                                                 for/provision of legal
NuCO2_Priv              2/14/2019                                          Ronald Thermil;
             MSG                    John Templin   Angie Baggett                                               Attorney Client   advice/work product
_1948                   15:49                                              Heather Shepherd
                                                                                                                                 of counsel concerning
                                                                                                                                 negotiation/drafting of
                                                                                                                                 customer agreement.
                                                                                              Employee(s) of                     Reflects need
                                                                                              NuCO2                              for/provision of legal
NuCO2_Priv              2/19/2019                  Rodney                                                                        advice regarding
             MSG                    John Templin                           Brian D. Potter                     Attorney Client
_1949                   15:37                      Husbands                                                                      strategy concerning
                                                                                                                                 customer/competitor
                                                                                                                                 disputes.
                                                                                              Employee(s) of                     Reflects need
                                                                                              NuCO2                              for/provision of legal
NuCO2_Priv              2/19/2019                  Rodney                                                                        advice regarding
             png                    John Templin                           Brian D. Potter                     Attorney Client
_1950                   15:37                      Husbands                                                                      strategy concerning
                                                                                                                                 customer/competitor
                                                                                                                                 disputes.




                                                                     344
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 346 of
                                                          573


                                                                               Employee(s) of                     Reflects need
                                                                               NuCO2                              for/provision of legal
                                                                                                                  advice regarding
NuCO2_Priv              3/1/2019
             docx                   John Templin     Robbi Stiell                               Attorney Client   negotiation/drafting of
_1951                   14:53
                                                                                                                  customer
                                                                                                                  agreements/other
                                                                                                                  issues.
                                                                               Employee(s) of                     Reflects need
                                                                               NuCO2                              for/provision of legal
                                                                                                                  advice regarding
NuCO2_Priv              3/1/2019
             MSG                    John Templin     Robbi Stiell                               Attorney Client   negotiation/drafting of
_1952                   14:53
                                                                                                                  customer
                                                                                                                  agreements/other
                                                                                                                  issues.
                                                     Randy Gold;               Employee(s) of
                                                     John Templin;             NuCO2                              Reflects need
                                                     Kelly Gluck;
                                                                                                                  for/provision of legal
                                                     Vince Giordano;
                                                                                                Attorney          advice regarding
NuCO2_Priv              6/25/2015                    Heather
             xlsx                   Lanette North                                               Client/Work       negotiation/drafting of
_1953                   14:26                        Lindbom; Russell
                                                                                                Product           customer
                                                     Vicari; Kathy
                                                                                                                  agreements/other
                                                     Waters; Mike
                                                                                                                  issues.
                                                     Kleimeyer;
                                                     Toyanna Platt
                                                                               Employee(s) of
                                                                                                                  Reflects
                                                                               NuCO2
                                                     Bridget Correa;                                              communications
NuCO2_Priv              6/13/2018
             MSG                    Bridget Correa   John Templin;                              Attorney Client   regarding settlement
_1954                   16:25
                                                     Markatos, David                                              concerning customer
                                                                                                                  dispute.
                                                                               Employee(s) of
                                                                                                                  Reflects
                                                                               NuCO2
                                                     Bridget Correa;                                              communications
NuCO2_Priv              6/13/2018
             xlsx                   Bridget Correa   John Templin;                              Attorney Client   regarding settlement
_1955                   16:25
                                                     Markatos, David                                              concerning customer
                                                                                                                  dispute.




                                                                    345
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 347 of
                                                          573


                                                                                                     Employee(s) of
                                                                                                                                         Reflects
                                                                                                     NuCO2
                                                                                                                                         communications
NuCO2_Priv              6/13/2018                     Bridget Correa;
             msg                    Markatos, David                                                                    Attorney Client   regarding settlement
_1956                   16:25                         John Templin
                                                                                                                                         concerning customer
                                                                                                                                         dispute.
                                                      Damarie Cortez;                                Employee(s) of
                                                      Kathy Waters;                                  NuCO2
                                                      Toyanna Platt;
                                                                                                                                         Reflects need
                                                      Kelly Gluck;
                                                                                                                                         for/provision of legal
                                                      Heather
                                                                                                                       Attorney          advice regarding
NuCO2_Priv              9/4/2015                      Lindbom; Sales          Austin Rappe; Nate
             XLSX                   Damarie Cortez                                                                     Client/Work       negotiation/drafting of
_1957                   15:13                         Managers; Randy         Freese; Matt Butcher
                                                                                                                       Product           customer
                                                      Gold; Mike
                                                                                                                                         agreements/other
                                                      Kleimeyer;
                                                                                                                                         issues.
                                                      Russell Vicari;
                                                      Vince Giordano;
                                                      John Templin
                                                      Derek Burton;
                                                                                                      Employee(s) of                     Communications
                                                      Markatos, David;                                                 Attorney
NuCO2_Priv              5/23/2018                                                                    NuCO2 and its                       regarding need for
             pptx                   Derek Burton      Dominick                John Templin                             Client/Work
_1958                   12:05                                                                        affiliated                          guidance regarding
                                                      Brandow; Mark                                                    Product
                                                                                                     company(ies)                        regulatory compliance.
                                                      Novak
                                                                                                     Employee(s) of
                                                      Derek Burton;
                                                                                                     NuCO2 and its                       Communications
                                                      Markatos, David;                                                 Attorney
NuCO2_Priv              5/23/2018                                                                    affiliated                          regarding need for
             pdf                    Derek Burton      Dominick                John Templin                             Client/Work
_1959                   12:05                                                                        company(ies)                        guidance regarding
                                                      Brandow; Mark                                                    Product
                                                                                                                                         regulatory compliance.
                                                      Novak
                                                                                                     Employee(s) of
                                                      Derek Burton;
                                                                                                     NuCO2 and its                       Communications
                                                      Markatos, David;                                                 Attorney
NuCO2_Priv              5/23/2018                                                                    affiliated                          regarding need for
             docx                   Derek Burton      Dominick                John Templin                             Client/Work
_1960                   12:05                                                                        company(ies)                        guidance regarding
                                                      Brandow; Mark                                                    Product
                                                                                                                                         regulatory compliance.
                                                      Novak




                                                                        346
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 348 of
                                                         573


                                                                                                  Employee(s) of
                                                    Derek Burton;
                                                                                                  NuCO2 and its                       Communications
                                                    Markatos, David;                                                Attorney
NuCO2_Priv             5/23/2018                                                                  affiliated                          regarding need for
             MSG                   Derek Burton     Dominick              John Templin                              Client/Work
_1961                  12:05                                                                      company(ies)                        guidance regarding
                                                    Brandow; Mark                                                   Product
                                                                                                                                      regulatory compliance.
                                                    Novak
                                                                                                  Employee(s) of
                                                                                                                                      Reflects
                                                                                                  NuCO2 and its
                                                                                                                                      communications
NuCO2_Priv             5/31/2018                    Bridget Correa;                               affiliated
             MSG                   Bridget Correa                         John Templin                              Attorney Client   regarding settlement
_1962                  15:49                        Markatos, David                               company(ies)                        concerning customer
                                                                                                                                      dispute.
                                                                                                  Employee(s) of
                                                                                                                                      Reflects
                                                                                                  NuCO2 and its
                                                                                                                                      communications
NuCO2_Priv             5/31/2018                                          Gerald Miller; Ronald   affiliated
             msg                   Bridget Correa   Markatos, David                                                 Attorney Client   regarding settlement
_1963                  15:49                                              Thermil; John Templin   company(ies)                        concerning customer
                                                                                                                                      dispute.
                                                                                                  Employee(s) of
                                                                                                                                      Reflects
                                                                                                  NuCO2 and its
                                                                                                                                      communications
NuCO2_Priv             5/31/2018                    Bridget Correa;                               affiliated
             pdf                   Bridget Correa                         John Templin                              Attorney Client   regarding settlement
_1964                  15:49                        Markatos, David                               company(ies)                        concerning customer
                                                                                                                                      dispute.

                                                                                                                                      Reflects
                                                                                                   Employee(s) of
                                                                                                                                      communications
NuCO2_Priv             5/31/2018                    Bridget Correa;                               NuCO2 and its
             xls                   Bridget Correa                         John Templin                              Attorney Client   regarding settlement
_1965                  15:49                        Markatos, David                               affiliated
                                                                                                                                      concerning customer
                                                                                                  company(ies)
                                                                                                                                      dispute.


                                                                                                  Employee(s) of                      Reflects
                                                                                                                                      communications
NuCO2_Priv             5/31/2018                                          John Templin; Nate      NuCO2
             msg                   Bridget Correa   Gerald Miller                                                   Attorney Client   regarding settlement
_1966                  15:49                                              Freese
                                                                                                                                      concerning customer
                                                                                                                                      dispute.




                                                                    347
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 349 of
                                                          573


                                                                                                    Employee(s) of
                                                                                                                                        Reflects
                                                                                                    NuCO2 and its
                                                                                                                                        communications
NuCO2_Priv              5/31/2018                                          Bridget Correa;          affiliated
             msg                    Rourke, Rebecca   Nate Freese                                                     Attorney Client   regarding settlement
_1967                   15:49                                              Homan, Ray               company(ies)                        concerning customer
                                                                                                                                        dispute.
                                                                                                    Employee(s) of
                                                                                                                                        Reflects
                                                                                                    NuCO2 and its
                                                                                                                                        communications
NuCO2_Priv              5/31/2018                     Bridget Correa;                               affiliated
             pdf                    Bridget Correa                         John Templin                               Attorney Client   regarding settlement
_1968                   15:49                         Markatos, David                               company(ies)                        concerning customer
                                                                                                                                        dispute.
                                                                                                    Employee(s) of
                                                      Dave Copeland;                                                                    Reflects attorney
                                                                                                    NuCO2 and its
                                                      CN=Gerald                                                       Attorney          Communications
NuCO2_Priv              8/25/2015                                                                   affiliated
             DXL                    Anjali Kumar      Miller;              Florence Zhang                             Client/Work       and/or attorney work
_1969                   14:32                                                                       company(ies)
                                                      CN=Laura                                                        Product           product regarding
                                                      Cremer                                                                            acquisition.
                                                                                                    Employee(s) of
                                                                                                                                        Reflects attorney
                                                                           Armando Botello;         NuCO2 and its
                                                                                                                      Attorney          Communications
NuCO2_Priv              9/21/2015                                          Kiranmai Valluri; Dave   affiliated
             DXL                    Anjali Kumar      Laura Cremer                                                    Client/Work       and/or attorney work
_1970                   22:37                                              Copeland; Gerald         company(ies)      Product           product regarding
                                                                           Miller
                                                                                                                                        acquisition.

                                                                                                                                        Reflects attorney
                                                                           Armando Botello;          Employee(s) of
                                                                                                                      Attorney          Communications
NuCO2_Priv              9/21/2015                                          Kiranmai Valluri; Dave   NuCO2 and its
             doc                    Anjali Kumar      Laura Cremer                                                    Client/Work       and/or attorney work
_1971                   22:37                                              Copeland; Gerald         affiliated
                                                                                                                      Product           product regarding
                                                                           Miller                   company(ies)
                                                                                                                                        acquisition.
                                                      John Templin;                                 Employee(s) of
                                                      Vince Giordano;                               NuCO2
                                                      gerald_Miller@p
                                                                                                                                        Reflects attorney
                                                      raxair.com; Jeff
                                                                                                                      Attorney          Communications
NuCO2_Priv              2/23/2016                     Gilheney; Chris      Ruthie Clemente; Mark
             pptx                   Russell Vicari                                                                    Client/Work       and/or attorney work
_1972                   8:01                          Pherson; Gerald      Novak
                                                                                                                      Product           product regarding
                                                      Miller; Kevin
                                                                                                                                        safety.
                                                      Patton; Patrick
                                                      Woelfel; Randy
                                                      Gold; Kent

                                                                     348
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 350 of
                                                          573


                                                        Hoffman; Mike
                                                        Kleimeyer; John
                                                        Chesney



                                                        Jeff Gilheney;         Employee(s) of
                                                        Randy Gold;            NuCO2
                                                        Mike Kleimeyer;
                                                        Chris Pherson;
                                                        Vince Giordano;                                        Reflects attorney
                                                        John Templin;                            Attorney      Communications
NuCO2_Priv              4/26/2016
             pptx                                       Kent Hoffman;                            Client/Work   and/or attorney work
_1973                   7:56
                                                        Kevin Patton;                            Product       product regarding
                                                        Patrick Woelfel;                                       safety.
                                                        Gerald Miller;
                                                        gerald_Miller@p
                                                        raxair.com; John
                                                        Chesney
                                                        rgold@nuco2.co
                                                        m; Russell Vicari;
                                                        Jtemplin@nuco2.
                                                        com;
                                                        khoffman@nuco
                                                        2.com;
                                                        mkleimeyer@nuc
                                                        o2.com;
                                                        Vgiordano@nuc
                                                        o2.com;                 Employee(s) of                 Reflects attorney
                                                                                                 Attorney
NuCO2_Priv                                              pwoelfel@nuco2.        NuCO2 and its                   Communicationss/or
             DXL        7/7/2016 6:54   Gerald Miller                                            Client/Work
_1974                                                   com;                   affiliated                      attorney work product
                                                                                                 Product
                                                        kpatton@nuco2.         company(ies)                    regarding legal matters.
                                                        com; Troy
                                                        Ficarra; David
                                                        Markatos;
                                                        acritcher@nuco2
                                                        .com; Russell
                                                        Vicari; Troy
                                                        Ficarra; David
                                                        Markatos;
                                                        jgilheney@nuco2

                                                                       349
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 351 of
                                                          573


                                                         .com




                                                         rgold@nuco2.co
                                                         m; Russell Vicari;
                                                         Jtemplin@nuco2.
                                                         com;
                                                         khoffman@nuco
                                                         2.com;
                                                         mkleimeyer@nuc
                                                         o2.com;
                                                         Vgiordano@nuc
                                                         o2.com;
                                                                                Employee(s) of                 Reflects attorney
                                                         pwoelfel@nuco2.                         Attorney
NuCO2_Priv                                                                     NuCO2 and its                   Communicationss/or
             pptx       7/7/2016 6:54   Gerald Miller    com;                                    Client/Work
_1975                                                                          affiliated                      attorney work product
                                                         kpatton@nuco2.                          Product
                                                                               company(ies)                    regarding legal matters.
                                                         com; Troy
                                                         Ficarra; David
                                                         Markatos;
                                                         acritcher@nuco2
                                                         .com; Russell
                                                         Vicari; Troy
                                                         Ficarra; David
                                                         Markatos;
                                                         jgilheney@nuco2
                                                         .com
                                                                               Employee(s) of
                                                                                                               Reflects attorney
                                                                               NuCO2
                                                                                                 Attorney      Communications
NuCO2_Priv              8/5/2016                         Gerald_Miller@p
             pptx                       Russell Vicari                                           Client/Work   and/or attorney work
_1976                   10:58                            raxair.com
                                                                                                 Product       product regarding
                                                                                                               safety.




                                                                        350
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 352 of
                                                          573


                                                                                                    Employee(s) of
                                                                                                                                        Reflects attorney
                                                                                                    NuCO2
                                                                                                                      Attorney          Communications
NuCO2_Priv              8/5/2016                     Gerald_Miller@p
             pptx                   Russell Vicari                                                                    Client/Work       and/or attorney work
_1977                   10:58                        raxair.com
                                                                                                                      Product           product regarding
                                                                                                                                        safety.

                                                                                                                                        Reflects attorney
                                                                                                                      Attorney          Communications
NuCO2_Priv              8/5/2016
             pptx                   Gerald Miller                                                   Self              Client/Work       and/or attorney work
_1978                   15:49
                                                                                                                      Product           product regarding
                                                                                                                                        safety.
                                                                                                    Self
                                                                                                                                        Reflects attorney
                                                                                                                      Attorney          Communications
NuCO2_Priv              8/5/2016
             pptx                   Gerald Miller                                                                     Client/Work       and/or attorney work
_1979                   15:49
                                                                                                                      Product           product regarding
                                                                                                                                        safety.
                                                                                                    Self
                                                                                                                                        Reflects attorney
                                                                                                                      Attorney          Communications
NuCO2_Priv              8/5/2016
             pptx                   Gerald Miller                                                                     Client/Work       and/or attorney work
_1980                   15:49
                                                                                                                      Product           product regarding
                                                                                                                                        safety.

                                                                                                                                        Reflects attorney
                                                                                                     Employee(s) of
                                                                                                                                        Communications
NuCO2_Priv              9/21/2016                    Rick Steinseifer;     rgold@nuco2.com;         NuCO2 and its
             DXL                    Gerald Miller                                                                     Attorney Client   and/or attorney work
_1981                   10:07                        Rick Steinseifer      Kevin Foti; Kevin Foti   affiliated
                                                                                                                                        product regarding
                                                                                                    company(ies)
                                                                                                                                        acquisition.
                                                                                                    Employee(s) of
                                                                                                                                        Reflects attorney
                                                                                                    NuCO2 and its
                                                                                                                                        Communications
NuCO2_Priv              9/21/2016                    Rick Steinseifer;     rgold@nuco2.com;         affiliated
             pdf                    Gerald Miller                                                                     Attorney Client   and/or attorney work
_1982                   10:07                        Rick Steinseifer      Kevin Foti; Kevin Foti   company(ies)                        product regarding
                                                                                                                                        acquisition.




                                                                     351
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 353 of
                                                         573


                                                                                               Employee(s) of
                                                                                                                                  Reflects
                                                                                               NuCO2 and its
                                                                                                                                  communications or
NuCO2_Priv             10/6/2016                                                               affiliated
             DXL                    David Markatos     John Templin            Gerald Miller                    Attorney Client   advice or work product
_1983                  13:42                                                                   company(ies)                       regarding handling
                                                                                                                                  competitor disputes.
                                                                                               Employee(s) of
                                                                                                                                  Reflects
                                                                                               NuCO2 and its
                                                                                                                                  communications or
NuCO2_Priv             10/6/2016                                                               affiliated
             pdf                    David Markatos     John Templin            Gerald Miller                    Attorney Client   advice or work product
_1984                  13:42                                                                   company(ies)                       regarding handling
                                                                                                                                  competitor disputes.
                                                                                               Employee(s) of
                                                                                                                                  Reflects
                                                                                               NuCO2 and its
                                                                                                                                  communications or
NuCO2_Priv             10/6/2016                                                               affiliated
             pdf                    David Markatos     John Templin            Gerald Miller                    Attorney Client   advice or work product
_1985                  13:42                                                                   company(ies)                       regarding handling
                                                                                                                                  competitor disputes.
                                                                                               Employee(s) of
                                                                                               NuCO2 and its                      Reflects attorney
NuCO2_Priv             10/24/2016                                                              affiliated                         Communicationss/or
             DXL                    Gerald Miller      Veerle Slenders                                          Attorney Client
_1986                  8:55                                                                    company(ies)                       attorney work product
                                                                                                                                  regarding legal matters.

                                                                                               Employee(s) of
                                                                                               NuCO2 and its
                                                                                                                                  Communication
NuCO2_Priv             10/31/2016                      Gerald_Miller@p                         affiliated
             DXL                    Edward Balzarini                                                            Attorney Client   regarding litigation
_1987                  13:56                           raxair.com                              company(ies)                       hold.

                                                                                               Employee(s) of                     Reflects
                                                                                               NuCO2 and its                      communications or
                                                                                                                Attorney
NuCO2_Priv             10/31/2016                      Gerald_Miller@p                         affiliated                         advice or work product
             DXL                    Gerald Miller                                                               Client/Work
_1988                  15:36                           raxair.com                              company(ies)                       regarding
                                                                                                                Product
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.




                                                                         352
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 354 of
                                                          573


                                                                                                    Employee(s) of                 Reflects
                                                                                                    NuCO2 and its                  communications or
                                                                                                                     Attorney
NuCO2_Priv              10/31/2016                   Gerald_Miller@p                                affiliated                     advice or work product
             png                     Gerald Miller                                                                   Client/Work
_1989                   15:36                        raxair.com                                     company(ies)                   regarding
                                                                                                                     Product
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                    Employee(s) of                 Reflects
                                                                                                    NuCO2 and its                  communications or
                                                                                                                     Attorney
NuCO2_Priv              10/31/2016                   Gerald_Miller@p                                affiliated                     advice or work product
             pptx                    Gerald Miller                                                                   Client/Work
_1990                   15:36                        raxair.com                                     company(ies)                   regarding
                                                                                                                     Product
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                    Employee(s) of                 Reflects
                                                                                                    NuCO2 and its                  communications or
                                                                                                                     Attorney
NuCO2_Priv              11/1/2016                                          Gerald Miller;           affiliated                     advice or work product
             DXL                     Beth Griegel    Jeff Barnhard                                                   Client/Work
_1991                   7:37                                               Jtemplin@nuco2.com       company(ies)                   regarding
                                                                                                                     Product
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                    Employee(s) of                 Reflects
                                                                                                    NuCO2 and its                  communications or
                                                                                                                     Attorney
NuCO2_Priv              11/1/2016                                          Gerald Miller;           affiliated                     advice or work product
             pptx                    Beth Griegel    Jeff Barnhard                                                   Client/Work
_1992                   7:37                                               Jtemplin@nuco2.com       company(ies)                   regarding
                                                                                                                     Product
                                                                                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                    Employee(s) of                 Reflects
                                                     Beth_Griegel@P                                 NuCO2 and its                  communications or
                                                                                                                     Attorney
NuCO2_Priv              11/2/2016                    raxair.com;           Gerald_Miller@praxair.   affiliated                     advice or work product
             DXL                     John Templin                                                                    Client/Work
_1993                   16:20                        Jeff_Barnhard@        com                      company(ies)                   regarding
                                                                                                                     Product
                                                     praxair.com                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.
                                                                                                    Employee(s) of                 Reflects
                                                     Beth_Griegel@P                                 NuCO2 and its                  communications or
                                                                                                                     Attorney
NuCO2_Priv              11/2/2016                    raxair.com;           Gerald_Miller@praxair.   affiliated                     advice or work product
             png                     John Templin                                                                    Client/Work
_1994                   16:20                        Jeff_Barnhard@        com                      company(ies)                   regarding
                                                                                                                     Product
                                                     praxair.com                                                                   negotiation/drafting of
                                                                                                                                   customer agreement.




                                                                     353
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 355 of
                                                         573


                                                                              Employee(s) of
                                                                                                             Reflects
                                                                              NuCO2 and its
                                                                                               Attorney      communications or
NuCO2_Priv             12/20/2016                                             affiliated
             DXL                    Jared DeValk   Gerald Miller                               Client/Work   advice work product
_1995                  8:06                                                   company(ies)     Product       regarding
                                                                                                             Praxair/Linde merger.
                                                                              Employee(s) of
                                                                                                             Reflects
                                                                              NuCO2 and its
                                                                                               Attorney      communications or
NuCO2_Priv             12/20/2016                                             affiliated
             pdf                    Jared DeValk   Gerald Miller                               Client/Work   advice work product
_1996                  8:06                                                   company(ies)     Product       regarding
                                                                                                             Praxair/Linde merger.
                                                                              Employee(s) of
                                                                                                             Reflects
                                                                              NuCO2 and its
                                                                                               Attorney      communications or
NuCO2_Priv             12/20/2016                                             affiliated
             pdf                    Jared DeValk   Gerald Miller                               Client/Work   advice work product
_1997                  8:06                                                   company(ies)     Product       regarding
                                                                                                             Praxair/Linde merger.
                                                                              Employee(s) of
                                                                                                             Reflects
                                                                              NuCO2 and its
                                                                                               Attorney      communications or
NuCO2_Priv             12/20/2016                                             affiliated
             pdf                    Jared DeValk   Gerald Miller                               Client/Work   advice work product
_1998                  8:06                                                   company(ies)     Product       regarding
                                                                                                             Praxair/Linde merger.
                                                                              Employee(s) of
                                                                                                             Reflects
                                                                              NuCO2 and its
                                                                                               Attorney      communications or
NuCO2_Priv             12/20/2016                                             affiliated
             pdf                    Jared DeValk   Gerald Miller                               Client/Work   advice work product
_1999                  8:06                                                   company(ies)     Product       regarding
                                                                                                             Praxair/Linde merger.
                                                                              Employee(s) of
                                                                                                             Reflects
                                                                              NuCO2 and its
                                                                                               Attorney      communications or
NuCO2_Priv             12/20/2016                                             affiliated
             pdf                    Jared DeValk   Gerald Miller                               Client/Work   advice work product
_2000                  8:06                                                   company(ies)     Product       regarding
                                                                                                             Praxair/Linde merger.




                                                                   354
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 356 of
                                                         573


                                                                              Employee(s) of
                                                                                                             Reflects
                                                                              NuCO2
                                                                                               Attorney      communications or
NuCO2_Priv             12/20/2016
             pdf                    Russell Vicari   Gerald Miller                             Client/Work   advice work product
_2001                  9:02
                                                                                               Product       regarding
                                                                                                             Praxair/Linde merger.
                                                                              Employee(s) of
                                                                                                             Reflects
                                                                              NuCO2
                                                                                               Attorney      communications or
NuCO2_Priv             12/20/2016
             pdf                    Russell Vicari   Gerald Miller                             Client/Work   advice work product
_2002                  9:02
                                                                                               Product       regarding
                                                                                                             Praxair/Linde merger.
                                                                              Employee(s) of
                                                                                                             Reflects
                                                                              NuCO2
                                                                                               Attorney      communications or
NuCO2_Priv             12/20/2016
             pdf                    Russell Vicari   Gerald Miller                             Client/Work   advice work product
_2003                  9:02
                                                                                               Product       regarding
                                                                                                             Praxair/Linde merger.
                                                                              Employee(s) of
                                                                                                             Reflects
                                                                              NuCO2
                                                                                               Attorney      communications or
NuCO2_Priv             12/20/2016
             pdf                    Russell Vicari   Gerald Miller                             Client/Work   advice work product
_2004                  9:02
                                                                                               Product       regarding
                                                                                                             Praxair/Linde merger.
                                                                              Employee(s) of
                                                                                                             Reflects
                                                                              NuCO2
                                                                                               Attorney      communications or
NuCO2_Priv             12/20/2016
             pdf                    Russell Vicari   Gerald Miller                             Client/Work   advice work product
_2005                  9:02
                                                                                               Product       regarding
                                                                                                             Praxair/Linde merger.
                                                                              Employee(s) of
                                                                                                             Reflects
                                                                              NuCO2
                                                                                               Attorney      communications or
NuCO2_Priv             12/20/2016
             DXL                    Russell Vicari   Gerald Miller                             Client/Work   advice work product
_2006                  9:02
                                                                                               Product       regarding
                                                                                                             Praxair/Linde merger.




                                                                     355
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 357 of
                                                          573


                                                                                                      Employee(s) of
                                                                                                                                     Reflects attorney
                                                                                                      NuCO2 and its
                                                                            Gerald Miller; Kevin                       Attorney      Communications
NuCO2_Priv              2/3/2017                        Nichelle                                      affiliated
             DXL                    Ed Danieli                              Foti; Rick Steinseifer;                    Client/Work   and/or attorney work
_2007                   10:21                           Maynard-Elliott                               company(ies)
                                                                            Taimur Sharih                              Product       product regarding
                                                                                                                                     acquisition.
                                                                                                      Employee(s) of
                                                                                                                                     Reflects attorney
                                                                                                      NuCO2 and its
                                                                            Gerald Miller; Kevin                       Attorney      Communications
NuCO2_Priv              2/3/2017                        Nichelle                                      affiliated
             pptx                   Ed Danieli                              Foti; Rick Steinseifer;                    Client/Work   and/or attorney work
_2008                   10:21                           Maynard-Elliott                               company(ies)
                                                                            Taimur Sharih                              Product       product regarding
                                                                                                                                     acquisition.
                                                                                                      Employee(s) of
                                                                                                                                     Reflects attorney
                                                                                                      NuCO2 and its
                                                                            Gerald Miller; Kevin                       Attorney      Communications
NuCO2_Priv              2/3/2017                        Nichelle                                      affiliated
             xlsm                   Ed Danieli                              Foti; Rick Steinseifer;                    Client/Work   and/or attorney work
_2009                   10:21                           Maynard-Elliott                               company(ies)
                                                                            Taimur Sharih                              Product       product regarding
                                                                                                                                     acquisition.
                                                                                                      Employee(s) of
                                                                                                                                     Reflects attorney
                                                        Gerald Miller;                                NuCO2 and its
                                                                                                                       Attorney      Communications
NuCO2_Priv              2/3/2017    Nichelle Maynard-   Gold                                          affiliated
             DXL                                                                                                       Client/Work   and/or attorney work
_2010                   10:23       Elliott             <RGold@nuco2.                                 company(ies)     Product       product regarding
                                                        com>
                                                                                                                                     acquisition.
                                                                                                      Employee(s) of
                                                                                                                                     Reflects attorney
                                                        Gerald Miller;                                NuCO2 and its
                                                                                                                       Attorney      Communications
NuCO2_Priv              2/3/2017    Nichelle Maynard-   Gold                                          affiliated
             pptx                                                                                                      Client/Work   and/or attorney work
_2011                   10:23       Elliott             <RGold@nuco2.                                 company(ies)     Product       product regarding
                                                        com>
                                                                                                                                     acquisition.
                                                                                                      Employee(s) of
                                                                                                                                     Reflects attorney
                                                        Gerald Miller;                                NuCO2 and its
                                                                                                                       Attorney      Communications
NuCO2_Priv              2/3/2017    Nichelle Maynard-   Gold                                          affiliated
             xlsm                                                                                                      Client/Work   and/or attorney work
_2012                   10:23       Elliott             <RGold@nuco2.                                 company(ies)     Product       product regarding
                                                        com>
                                                                                                                                     acquisition.




                                                                      356
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 358 of
                                                          573


                                                                                                          Employee(s) of
                                                                                                                                         Reflects attorney
                                                            Gerald Miller;                                NuCO2 and its
                                                                                                                           Attorney      Communications
NuCO2_Priv                              Nichelle Maynard-   Gold                                          affiliated
             DXL        2/6/2017 8:17                                                                                      Client/Work   and/or attorney work
_2013                                   Elliott             <RGold@nuco2.                                 company(ies)     Product       product regarding
                                                            com>
                                                                                                                                         acquisition.
                                                                                                          Employee(s) of
                                                                                                                                         Reflects attorney
                                                            Gerald Miller;                                NuCO2 and its
                                                                                                                           Attorney      Communications
NuCO2_Priv                              Nichelle Maynard-   Gold                                          affiliated
             ppt        2/6/2017 8:17                                                                                      Client/Work   and/or attorney work
_2014                                   Elliott             <RGold@nuco2.                                 company(ies)     Product       product regarding
                                                            com>
                                                                                                                                         acquisition.
                                                                                                          Employee(s) of
                                                                                                                                         Reflects
                                                                                                          NuCO2 and its
                                                                                                                           Attorney      communications or
NuCO2_Priv              3/2/2017                            Gerald_Miller@p       Felicia_Gallagher@Pra   affiliated
             DXL                        Ruthie Clemente                                                                    Client/Work   advice work product
_2015                   14:16                               raxair.com            xair.com                company(ies)     Product       regarding
                                                                                                                                         Praxair/Linde merger.
                                                                                                          Employee(s) of
                                                                                                                                         Reflects
                                                                                                          NuCO2 and its
                                                                                                                           Attorney      communications or
NuCO2_Priv              3/2/2017                            Gerald_Miller@p       Felicia_Gallagher@Pra   affiliated
             xlsx                       Ruthie Clemente                                                                    Client/Work   advice work product
_2016                   14:16                               raxair.com            xair.com                company(ies)     Product       regarding
                                                                                                                                         Praxair/Linde merger.
                                                                                                          Employee(s) of
                                                                                                                                         Reflects
                                                                                                          NuCO2 and its
                                                                                                                           Attorney      communications or
NuCO2_Priv              3/2/2017                            Rob Morrison;         Michael Devine;         affiliated
             DXL                        Gerald Miller                                                                      Client/Work   advice work product
_2017                   15:12                               Rob Morrison          Michael Devine          company(ies)     Product       regarding
                                                                                                                                         Praxair/Linde merger.
                                                                                                          Employee(s) of
                                                                                                                                         Reflects
                                                                                                          NuCO2 and its
                                                                                                                           Attorney      communications or
NuCO2_Priv              3/2/2017                            Rob Morrison;         Michael Devine;         affiliated
             xlsx                       Gerald Miller                                                                      Client/Work   advice work product
_2018                   15:12                               Rob Morrison          Michael Devine          company(ies)     Product       regarding
                                                                                                                                         Praxair/Linde merger.




                                                                            357
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 359 of
                                                          573


                                                                                                    Employee(s) of                 Reflects attorney
                                                                                                    NuCO2 and its                  Communicationss/or
                                                                                                    affiliated       Attorney      attorney work product
NuCO2_Priv              3/31/2017                   Scott Telesz;
             pptx                   Gerald Miller                                                                    Client/Work   regarding insurance
_2019                   17:14                       Scott Telesz                                    company(ies)
                                                                                                                     Product       and legal matters and
                                                                                                                                   acquisition and and
                                                                                                                                   safety.
                                                                                                    Employee(s) of                 Reflects attorney
                                                                                                    NuCO2 and its                  Communicationss/or
                                                                                                    affiliated       Attorney      attorney work product
NuCO2_Priv              4/3/2017                    Scott Telesz;         Sue Barton; Kevin Foti;
             pptx                   Gerald Miller                                                                    Client/Work   regarding insurance
_2020                   10:27                       Scott Telesz          Sue Barton; Kevin Foti    company(ies)
                                                                                                                     Product       and legal matters and
                                                                                                                                   acquisition and and
                                                                                                                                   safety.
                                                                                                    Employee(s) of                 Reflects attorney
                                                                                                    NuCO2 and its                  Communicationss/or
                                                                                                    affiliated       Attorney      attorney work product
NuCO2_Priv              4/3/2017                    Gerald_Miller@p
             pptx                   Gerald Miller                                                                    Client/Work   regarding insurance
_2021                   14:30                       raxair.com                                      company(ies)
                                                                                                                     Product       and legal matters and
                                                                                                                                   acquisition and and
                                                                                                                                   safety.
                                                                                                    Employee(s) of
                                                                                                                                   Reflects
                                                                                                    NuCO2 and its
                                                                                                                     Attorney      communications or
NuCO2_Priv              6/1/2017                                                                    affiliated
             DXL                    Jared DeValk    Gerald Miller                                                    Client/Work   advice work product
_2022                   12:31                                                                       company(ies)     Product       regarding
                                                                                                                                   Praxair/Linde merger.
                                                                                                    Employee(s) of
                                                                                                                                   Reflects
                                                                                                    NuCO2 and its
                                                                                                                     Attorney      communications or
NuCO2_Priv              6/1/2017                                                                    affiliated
             pdf                    Jared DeValk    Gerald Miller                                                    Client/Work   advice work product
_2023                   12:31                                                                       company(ies)     Product       regarding
                                                                                                                                   Praxair/Linde merger.
                                                                                                    Employee(s) of
                                                                                                                                   Reflects
                                                                                                    NuCO2 and its
                                                                                                                     Attorney      communications or
NuCO2_Priv              6/1/2017                                                                    affiliated
             pdf                    Jared DeValk    Gerald Miller                                                    Client/Work   advice work product
_2024                   12:31                                                                       company(ies)     Product       regarding
                                                                                                                                   Praxair/Linde merger.




                                                                    358
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 360 of
                                                          573


                                                  Melissa                                      Employee(s) of
                                                  Streaman; Martin                             NuCO2 and its
                                                  Kokuma;                                      affiliated
                                                  Kristen_Ward@        Jeff Barnhard; Andrew
                                                                                               company(ies)
                                                  praxair.com;         Sarantapoulas;
                                                                                                                              Reflects
                                                  Mary Ellen           Armando Botello;
                                                                                                                Attorney      communications or
NuCO2_Priv              6/1/2017                  Samuelson; Mary      Todd Lawson; Kevin
             docx                   Del Shannon                                                                 Client/Work   advice work product
_2025                   16:00                     Ann Vasquez;         Foti; Taimur Sharih;
                                                                                                                Product       regarding
                                                  John T Lillis;       Dominic Cianchetti;
                                                                                                                              Praxair/Linde merger.
                                                  Rick Taylor;         Gerald Miller; Joe
                                                  Heather Burg;        Abdoo
                                                  Shirley Froehner;
                                                  Melissa
                                                  Angelovski
                                                  Melissa                                      Employee(s) of
                                                  Streaman; Martin                             NuCO2 and its
                                                  Kokuma;                                      affiliated
                                                  Kristen_Ward@        Jeff Barnhard; Andrew
                                                                                               company(ies)
                                                  praxair.com;         Sarantapoulas;
                                                                                                                              Reflects
                                                  Mary Ellen           Armando Botello;
                                                                                                                Attorney      communications or
NuCO2_Priv              6/1/2017                  Samuelson; Mary      Todd Lawson; Kevin
             docx                   Del Shannon                                                                 Client/Work   advice work product
_2026                   16:00                     Ann Vasquez;         Foti; Taimur Sharih;
                                                                                                                Product       regarding
                                                  John T Lillis;       Dominic Cianchetti;
                                                                                                                              Praxair/Linde merger.
                                                  Rick Taylor;         Gerald Miller; Joe
                                                  Heather Burg;        Abdoo
                                                  Shirley Froehner;
                                                  Melissa
                                                  Angelovski
                                                  Melissa                                      Employee(s) of
                                                  Streaman; Martin                             NuCO2 and its
                                                  Kokuma;                                      affiliated
                                                                       Jeff Barnhard; Andrew
                                                  Kristen_Ward@
                                                                       Sarantapoulas;          company(ies)
                                                  praxair.com;                                                                Reflects
                                                                       Armando Botello;
                                                  Mary Ellen                                                    Attorney      communications or
NuCO2_Priv              6/1/2017                                       Todd Lawson; Kevin
             docx                   Del Shannon   Samuelson; Mary                                               Client/Work   advice work product
_2027                   16:00                                          Foti; Taimur Sharih;
                                                  Ann Vasquez;                                                  Product       regarding
                                                                       Dominic Cianchetti;
                                                  John T Lillis;                                                              Praxair/Linde merger.
                                                                       Gerald Miller; Joe
                                                  Rick Taylor;
                                                                       Abdoo
                                                  Heather Burg;
                                                  Shirley Froehner;
                                                  Melissa


                                                                 359
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 361 of
                                                          573


                                                  Angelovski




                                                  Melissa                                      Employee(s) of
                                                  Streaman; Martin                             NuCO2 and its
                                                  Kokuma;                                      affiliated
                                                  Kristen_Ward@        Jeff Barnhard; Andrew
                                                                                               company(ies)
                                                  praxair.com;         Sarantapoulas;
                                                                                                                              Reflects
                                                  Mary Ellen           Armando Botello;
                                                                                                                Attorney      communications or
NuCO2_Priv              6/1/2017                  Samuelson; Mary      Todd Lawson; Kevin
             pptx                   Del Shannon                                                                 Client/Work   advice work product
_2028                   16:00                     Ann Vasquez;         Foti; Taimur Sharih;
                                                                                                                Product       regarding
                                                  John T Lillis;       Dominic Cianchetti;
                                                                                                                              Praxair/Linde merger.
                                                  Rick Taylor;         Gerald Miller; Joe
                                                  Heather Burg;        Abdoo
                                                  Shirley Froehner;
                                                  Melissa
                                                  Angelovski
                                                  Melissa                                      Employee(s) of
                                                  Streaman; Martin                             NuCO2 and its
                                                  Kokuma;                                      affiliated
                                                  Kristen_Ward@        Jeff Barnhard; Andrew
                                                                                               company(ies)
                                                  praxair.com;         Sarantapoulas;
                                                                                                                              Reflects
                                                  Mary Ellen           Armando Botello;
                                                                                                                Attorney      communications or
NuCO2_Priv              6/1/2017                  Samuelson; Mary      Todd Lawson; Kevin
             pptx                   Del Shannon                                                                 Client/Work   advice work product
_2029                   16:00                     Ann Vasquez;         Foti; Taimur Sharih;
                                                                                                                Product       regarding
                                                  John T Lillis;       Dominic Cianchetti;
                                                                                                                              Praxair/Linde merger.
                                                  Rick Taylor;         Gerald Miller; Joe
                                                  Heather Burg;        Abdoo
                                                  Shirley Froehner;
                                                  Melissa
                                                  Angelovski
                                                  Melissa              Jeff Barnhard; Andrew   Employee(s) of
                                                  Streaman; Martin     Sarantapoulas;          NuCO2 and its                  Reflects
                                                  Kokuma;              Armando Botello;        affiliated       Attorney      communications or
NuCO2_Priv              6/1/2017
             docx                   Del Shannon   Kristen_Ward@        Todd Lawson; Kevin                       Client/Work   advice work product
_2030                   16:00                                                                  company(ies)
                                                  praxair.com;         Foti; Taimur Sharih;                     Product       regarding
                                                  Mary Ellen           Dominic Cianchetti;                                    Praxair/Linde merger.
                                                  Samuelson; Mary      Gerald Miller; Joe

                                                                 360
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 362 of
                                                          573


                                                  Ann Vasquez;         Abdoo
                                                  John T Lillis;
                                                  Rick Taylor;
                                                  Heather Burg;
                                                  Shirley Froehner;
                                                  Melissa
                                                  Angelovski
                                                  Melissa                                      Employee(s) of
                                                  Streaman; Martin                             NuCO2 and its
                                                  Kokuma;                                      affiliated
                                                  Kristen_Ward@        Jeff Barnhard; Andrew
                                                                                               company(ies)
                                                  praxair.com;         Sarantapoulas;
                                                                                                                              Reflects
                                                  Mary Ellen           Armando Botello;
                                                                                                                Attorney      communications or
NuCO2_Priv              6/1/2017                  Samuelson; Mary      Todd Lawson; Kevin
             docx                   Del Shannon                                                                 Client/Work   advice work product
_2031                   16:00                     Ann Vasquez;         Foti; Taimur Sharih;
                                                                                                                Product       regarding
                                                  John T Lillis;       Dominic Cianchetti;
                                                                                                                              Praxair/Linde merger.
                                                  Rick Taylor;         Gerald Miller; Joe
                                                  Heather Burg;        Abdoo
                                                  Shirley Froehner;
                                                  Melissa
                                                  Angelovski
                                                  Melissa                                      Employee(s) of
                                                  Streaman; Martin                             NuCO2 and its
                                                  Kokuma;                                      affiliated
                                                  Kristen_Ward@        Jeff Barnhard; Andrew
                                                                                               company(ies)
                                                  praxair.com;         Sarantapoulas;
                                                                                                                              Reflects
                                                  Mary Ellen           Armando Botello;
                                                                                                                Attorney      communications or
NuCO2_Priv              6/1/2017                  Samuelson; Mary      Todd Lawson; Kevin
             docx                   Del Shannon                                                                 Client/Work   advice work product
_2032                   16:00                     Ann Vasquez;         Foti; Taimur Sharih;
                                                                                                                Product       regarding
                                                  John T Lillis;       Dominic Cianchetti;
                                                                                                                              Praxair/Linde merger.
                                                  Rick Taylor;         Gerald Miller; Joe
                                                  Heather Burg;        Abdoo
                                                  Shirley Froehner;
                                                  Melissa
                                                  Angelovski
                                                  Melissa              Jeff Barnhard; Andrew   Employee(s) of
                                                                                                                              Reflects
                                                  Streaman; Martin     Sarantapoulas;          NuCO2 and its
                                                                                                                Attorney      communications or
NuCO2_Priv              6/1/2017                  Kokuma;              Armando Botello;        affiliated
             docx                   Del Shannon                                                                 Client/Work   advice work product
_2033                   16:00                     Kristen_Ward@        Todd Lawson; Kevin      company(ies)     Product       regarding
                                                  praxair.com;         Foti; Taimur Sharih;
                                                                                                                              Praxair/Linde merger.
                                                  Mary Ellen           Dominic Cianchetti;

                                                                 361
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 363 of
                                                          573


                                                  Samuelson; Mary      Gerald Miller; Joe
                                                  Ann Vasquez;         Abdoo
                                                  John T Lillis;
                                                  Rick Taylor;
                                                  Heather Burg;
                                                  Shirley Froehner;
                                                  Melissa
                                                  Angelovski
                                                  Melissa                                      Employee(s) of
                                                  Streaman; Martin                             NuCO2 and its
                                                  Kokuma;                                      affiliated
                                                  Kristen_Ward@        Jeff Barnhard; Andrew
                                                                                               company(ies)
                                                  praxair.com;         Sarantapoulas;
                                                                                                                              Reflects
                                                  Mary Ellen           Armando Botello;
                                                                                                                Attorney      communications or
NuCO2_Priv              6/1/2017                  Samuelson; Mary      Todd Lawson; Kevin
             docx                   Del Shannon                                                                 Client/Work   advice work product
_2034                   16:00                     Ann Vasquez;         Foti; Taimur Sharih;
                                                                                                                Product       regarding
                                                  John T Lillis;       Dominic Cianchetti;
                                                                                                                              Praxair/Linde merger.
                                                  Rick Taylor;         Gerald Miller; Joe
                                                  Heather Burg;        Abdoo
                                                  Shirley Froehner;
                                                  Melissa
                                                  Angelovski
                                                  Melissa                                      Employee(s) of
                                                  Streaman; Martin                             NuCO2 and its
                                                  Kokuma;                                      affiliated
                                                  Kristen_Ward@        Jeff Barnhard; Andrew
                                                                                               company(ies)
                                                  praxair.com;         Sarantapoulas;
                                                                                                                              Reflects
                                                  Mary Ellen           Armando Botello;
                                                                                                                Attorney      communications or
NuCO2_Priv              6/1/2017                  Samuelson; Mary      Todd Lawson; Kevin
             docx                   Del Shannon                                                                 Client/Work   advice work product
_2035                   16:00                     Ann Vasquez;         Foti; Taimur Sharih;
                                                                                                                Product       regarding
                                                  John T Lillis;       Dominic Cianchetti;
                                                                                                                              Praxair/Linde merger.
                                                  Rick Taylor;         Gerald Miller; Joe
                                                  Heather Burg;        Abdoo
                                                  Shirley Froehner;
                                                  Melissa
                                                  Angelovski




                                                                 362
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 364 of
                                                          573


                                                  Melissa                                      Employee(s) of
                                                  Streaman; Martin                             NuCO2 and its
                                                  Kokuma;                                      affiliated
                                                  Kristen_Ward@        Jeff Barnhard; Andrew
                                                                                               company(ies)
                                                  praxair.com;         Sarantapoulas;
                                                                                                                               Reflects
                                                  Mary Ellen           Armando Botello;
                                                                                                                 Attorney      communications or
NuCO2_Priv              6/1/2017                  Samuelson; Mary      Todd Lawson; Kevin
             docx                   Del Shannon                                                                  Client/Work   advice work product
_2036                   16:00                     Ann Vasquez;         Foti; Taimur Sharih;
                                                                                                                 Product       regarding
                                                  John T Lillis;       Dominic Cianchetti;
                                                                                                                               Praxair/Linde merger.
                                                  Rick Taylor;         Gerald Miller; Joe
                                                  Heather Burg;        Abdoo
                                                  Shirley Froehner;
                                                  Melissa
                                                  Angelovski
                                                  Melissa
                                                  Streaman; Martin
                                                  Kokuma;
                                                  Kristen_Ward@        Jeff Barnhard; Andrew
                                                  praxair.com;         Sarantapoulas;
                                                                                                                               Reflects
                                                  Mary Ellen           Armando Botello;         Employee(s) of
                                                                                                                 Attorney      communications or
NuCO2_Priv              6/1/2017                  Samuelson; Mary      Todd Lawson; Kevin      NuCO2 and its
             docx                   Del Shannon                                                                  Client/Work   advice work product
_2037                   16:00                     Ann Vasquez;         Foti; Taimur Sharih;    affiliated
                                                                                                                 Product       regarding
                                                  John T Lillis;       Dominic Cianchetti;     company(ies)
                                                                                                                               Praxair/Linde merger.
                                                  Rick Taylor;         Gerald Miller; Joe
                                                  Heather Burg;        Abdoo
                                                  Shirley Froehner;
                                                  Melissa
                                                  Angelovski
                                                  Melissa                                      Employee(s) of
                                                  Streaman; Martin                             NuCO2 and its
                                                  Kokuma;                                      affiliated
                                                                       Jeff Barnhard; Andrew
                                                  Kristen_Ward@
                                                                       Sarantapoulas;          company(ies)
                                                  praxair.com;                                                                 Reflects
                                                                       Armando Botello;
                                                  Mary Ellen                                                     Attorney      communications or
NuCO2_Priv              6/1/2017                                       Todd Lawson; Kevin
             docx                   Del Shannon   Samuelson; Mary                                                Client/Work   advice work product
_2038                   16:00                                          Foti; Taimur Sharih;
                                                  Ann Vasquez;                                                   Product       regarding
                                                                       Dominic Cianchetti;
                                                  John T Lillis;                                                               Praxair/Linde merger.
                                                                       Gerald Miller; Joe
                                                  Rick Taylor;
                                                                       Abdoo
                                                  Heather Burg;
                                                  Shirley Froehner;
                                                  Melissa


                                                                 363
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 365 of
                                                          573


                                                   Angelovski




                                                   Melissa                                      Employee(s) of
                                                   Streaman; Martin                             NuCO2 and its
                                                   Kokuma;                                      affiliated
                                                   Kristen_Ward@        Jeff Barnhard; Andrew
                                                                                                company(ies)
                                                   praxair.com;         Sarantapoulas;
                                                                                                                               Reflects
                                                   Mary Ellen           Armando Botello;
                                                                                                                 Attorney      communications or
NuCO2_Priv              6/1/2017                   Samuelson; Mary      Todd Lawson; Kevin
             DXL                    Del Shannon                                                                  Client/Work   advice work product
_2039                   16:00                      Ann Vasquez;         Foti; Taimur Sharih;
                                                                                                                 Product       regarding
                                                   John T Lillis;       Dominic Cianchetti;
                                                                                                                               Praxair/Linde merger.
                                                   Rick Taylor;         Gerald Miller; Joe
                                                   Heather Burg;        Abdoo
                                                   Shirley Froehner;
                                                   Melissa
                                                   Angelovski
                                                   Joe Abdoo;                                   Employee(s) of
                                                   Kevin Foti;                                  NuCO2 and its
                                                   Amer Akhras;                                 affiliated
                                                   Tim Baird; Jeff
                                                                                                company(ies)
                                                   Barnhard;
                                                   Armando
                                                   Botello; Craig
                                                   Cook; Marcos
                                                   Cuevas; Stacey
                                                                        Edward Balzarini;
                                                   Grauer;                                                       Attorney      Communication
NuCO2_Priv              6/6/2017                                        Michael Devine; Sanaa
             docx                   Rob Morrison   Roman_grossma                                                 Client/Work   regarding litigation
_2040                   10:56                                           Almarayati; Scott
                                                   n@praxair.com;                                                Product       hold.
                                                                        Telesz
                                                   Craig Heal;
                                                   Doreen Heal; Liz
                                                   Holcomb; Jakob
                                                   Janzon; Jim J
                                                   Kelly; John
                                                   Lachs; Todd
                                                   Lawson; Gerald
                                                   Miller; Holly
                                                   O'Donnell; John

                                                                  364
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 366 of
                                                         573


                                                  R Peterson; Mark
                                                  Plant; Kevin
                                                  Reinhart;
                                                  Wladimir
                                                  Sarmiento-
                                                  Darkin; Andrew
                                                  Sarantapoulas;
                                                  Steve Schoper;
                                                  Paul Shah;
                                                  Taimur Sharih;
                                                  John Smeader;
                                                  Jim D Smith;
                                                  Susan Stevenson;
                                                  Jason Matthews;
                                                  Jason Moural
                                                  Joe Abdoo;
                                                  Kevin Foti;
                                                  Amer Akhras;
                                                  Tim Baird; Jeff
                                                  Barnhard;
                                                  Armando
                                                  Botello; Craig
                                                  Cook; Marcos
                                                  Cuevas; Stacey
                                                  Grauer;
                                                  Roman_grossma
                                                  n@praxair.com;      Edward Balzarini;        Employee(s) of
                                                                                                                Attorney      Communication
NuCO2_Priv             6/6/2017                   Craig Heal;         Michael Devine; Sanaa   NuCO2 and its
             DXL                   Rob Morrison                                                                 Client/Work   regarding litigation
_2041                  10:56                      Doreen Heal; Liz    Almarayati; Scott       affiliated
                                                                                                                Product       hold.
                                                  Holcomb; Jakob      Telesz                  company(ies)
                                                  Janzon; Jim J
                                                  Kelly; John
                                                  Lachs; Todd
                                                  Lawson; Gerald
                                                  Miller; Holly
                                                  O'Donnell; John
                                                  R Peterson; Mark
                                                  Plant; Kevin
                                                  Reinhart;
                                                  Wladimir
                                                  Sarmiento-


                                                                365
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 367 of
                                                          573


                                                           Darkin; Andrew
                                                           Sarantapoulas;
                                                           Steve Schoper;
                                                           Paul Shah;
                                                           Taimur Sharih;
                                                           John Smeader;
                                                           Jim D Smith;
                                                           Susan Stevenson;
                                                           Jason Matthews;
                                                           Jason Moural
                                                                                              Employee(s) of
                                                                                              NuCO2 and its
                                                                                                               Attorney          Communication
NuCO2_Priv              6/6/2017                           Gerald_Miller@p                    affiliated
             DXL                        Edward Balzarini                                                       Client/Work       regarding litigation
_2042                   14:27                              raxair.com                         company(ies)     Product           hold.

                                                                                              Employee(s) of
                                                                                                                                 Reflects attorney
                                                                                              NuCO2 and its
                                                                                                               Attorney          Communications
NuCO2_Priv              6/30/2017                                                             affiliated
             DXL                        Kevin Foti         Gerald Miller                                       Client/Work       and/or attorney work
_2043                   17:01                                                                 company(ies)     Product           product regarding
                                                                                                                                 acquisition.
                                                                                              Employee(s) of
                                                                                                                                 Reflects attorney
                                                                                              NuCO2 and its
                                                                                                               Attorney          Communications
NuCO2_Priv              6/30/2017                                                             affiliated
             xlsx                       Kevin Foti         Gerald Miller                                       Client/Work       and/or attorney work
_2044                   17:01                                                                 company(ies)     Product           product regarding
                                                                                                                                 acquisition.
                                                                                              Employee(s) of
                                                                                              NuCO2 and its
                                                                                                               Attorney          Communication
NuCO2_Priv                                                 Gerald_Miller@p                    affiliated
             DXL        7/1/2017 8:44   Edward Balzarini                                                       Client/Work       regarding litigation
_2045                                                      raxair.com                         company(ies)     Product           hold.


                                                                                              Employee(s) of
                                                                                                                                 Reflects attorney
                                                                                              NuCO2 and its
                                                                                                                                 Communications
NuCO2_Priv              7/19/2017                                                             affiliated
             DXL                        Gerald Miller      Dick Marini           Kevin Foti                    Attorney Client   and/or attorney work
_2046                   16:53                                                                 company(ies)                       product regarding
                                                                                                                                 acquisition.


                                                                           366
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 368 of
                                                          573


                                                                                     Employee(s) of
                                                                                                                        Reflects attorney
                                                                                     NuCO2 and its
                                                                                                                        Communications
NuCO2_Priv              7/19/2017                                                    affiliated
             xlsx                   Gerald Miller   Dick Marini         Kevin Foti                    Attorney Client   and/or attorney work
_2047                   16:53                                                        company(ies)                       product regarding
                                                                                                                        acquisition.
                                                                                     Employee(s) of
                                                                                                                        Reflects attorney
                                                                                     NuCO2 and its
                                                                                                                        Communications
NuCO2_Priv              7/19/2017                                                    affiliated
             htm                    Gerald Miller   Dick Marini         Kevin Foti                    Attorney Client   and/or attorney work
_2048                   16:53                                                        company(ies)                       product regarding
                                                                                                                        acquisition.
                                                                                     Employee(s) of
                                                                                                                        Reflects attorney
                                                                                     NuCO2 and its
                                                                                                                        Communications
NuCO2_Priv              7/19/2017                                                    affiliated
             xlsx                   Gerald Miller   Dick Marini         Kevin Foti                    Attorney Client   and/or attorney work
_2049                   16:53                                                        company(ies)                       product regarding
                                                                                                                        acquisition.
                                                                                     Employee(s) of
                                                                                                                        Reflects attorney
                                                                                     NuCO2 and its
                                                                                                                        Communications
NuCO2_Priv              7/19/2017                                                    affiliated
             htm                    Gerald Miller   Dick Marini         Kevin Foti                    Attorney Client   and/or attorney work
_2050                   16:53                                                        company(ies)                       product regarding
                                                                                                                        acquisition.
                                                                                     Employee(s) of
                                                                                                                        Reflects attorney
                                                                                     NuCO2 and its
                                                                                                                        Communications
NuCO2_Priv              7/19/2017                                                    affiliated
             xlsx                   Gerald Miller   Dick Marini         Kevin Foti                    Attorney Client   and/or attorney work
_2051                   16:53                                                        company(ies)                       product regarding
                                                                                                                        acquisition.
                                                                                     Employee(s) of
                                                                                                                        Reflects attorney
                                                                                     NuCO2 and its
                                                                                                                        Communications
NuCO2_Priv              7/19/2017                                                    affiliated
             htm                    Gerald Miller   Dick Marini         Kevin Foti                    Attorney Client   and/or attorney work
_2052                   16:53                                                        company(ies)                       product regarding
                                                                                                                        acquisition.




                                                                  367
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 369 of
                                                         573


                                                                                                      Employee(s) of
                                                                                                      NuCO2 and its
                                                                                                                                         Communication
NuCO2_Priv             10/1/2017                          Gerald_Miller@p                             affiliated
             DXL                       Edward Balzarini                                                                Attorney Client   regarding litigation
_2053                  8:53                               raxair.com                                  company(ies)                       hold.


                                                                                                      Employee(s) of
                                                                                                      NuCO2 and its
                                                                                                                                         Communication
NuCO2_Priv             1/1/2018                           Gerald_Miller@p                             affiliated
             DXL                       Edward Balzarini                                                                Attorney Client   regarding litigation
_2054                  10:52                              raxair.com                                  company(ies)                       hold.

                                                                                                      Employee(s) of
                                                                                                      NuCO2 and its
                                                                                                                                         Communication
NuCO2_Priv                                                                                            affiliated
             DXL       4/6/2018 9:10   Gerald Miller      Edward Balzarini      Ruthie Clemente                        Attorney Client   regarding litigation
_2055                                                                                                 company(ies)                       hold.

                                                                                                      Employee(s) of
                                                                                                      NuCO2 and its
                                                                                                                                         Communication
NuCO2_Priv             4/10/2018                                                                      affiliated
             DXL                       Edward Balzarini   Gerald Miller         Ruthie Clemente                        Attorney Client   regarding litigation
_2056                  14:31                                                                          company(ies)                       hold.

                                                                                                      Employee(s) of
                                                                                                      NuCO2 and its                      Reflects attorney
                                                          David Markatos;
NuCO2_Priv             4/13/2018                                                FGallagher@nuco2.co   affiliated                         Communicationss/or
             DXL                       Gerald Miller      CN=Troy                                                      Attorney Client
_2057                  14:35                                                    m                     company(ies)                       attorney work product
                                                          Ficarra
                                                                                                                                         regarding legal matters.

                                                                                                      Employee(s) of
                                                                                                      NuCO2 and its                      Reflects attorney
                                                          David Markatos;
NuCO2_Priv             4/13/2018                                                FGallagher@nuco2.co   affiliated                         Communicationss/or
             pdf                       Gerald Miller      CN=Troy                                                      Attorney Client
_2058                  14:35                                                    m                     company(ies)                       attorney work product
                                                          Ficarra
                                                                                                                                         regarding legal matters.




                                                                          368
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 370 of
                                                          573


                                                    Andrew                     Employee(s) of
                                                    Sarantapoulas;             NuCO2 and its
                                                    Armando                    affiliated
                                                    Botello; Del
                                                                               company(ies)
                                                    Shannon; Denny                                            Reflects
                                                    Brown; Dominic                              Attorney      communications or
NuCO2_Priv              5/23/2018   Andrew
             DXL                                    Cianchetti;                                 Client/Work   advice work product
_2059                   13:32       Sarantapoulas
                                                    Gerald Miller;                              Product       regarding
                                                    Jeff Barnhard;                                            Praxair/Linde merger.
                                                    Joe Abdoo; Rob
                                                    Morrison; Todd
                                                    Lawson; Kevin
                                                    Foti
                                                    Andrew                     Employee(s) of
                                                    Sarantapoulas;             NuCO2 and its
                                                    Armando                    affiliated
                                                    Botello; Del
                                                                               company(ies)
                                                    Shannon; Denny                                            Reflects
                                                    Brown; Dominic                              Attorney      communications or
NuCO2_Priv              5/23/2018   Andrew
             xlsx                                   Cianchetti;                                 Client/Work   advice work product
_2060                   13:32       Sarantapoulas
                                                    Gerald Miller;                              Product       regarding
                                                    Jeff Barnhard;                                            Praxair/Linde merger.
                                                    Joe Abdoo; Rob
                                                    Morrison; Todd
                                                    Lawson; Kevin
                                                    Foti
                                                    Andrew                     Employee(s) of
                                                    Sarantapoulas;             NuCO2 and its
                                                    Armando                    affiliated
                                                    Botello; Del
                                                                               company(ies)
                                                    Shannon; Denny                                            Reflects
                                                    Brown; Dominic                              Attorney      communications or
NuCO2_Priv              5/23/2018   Andrew
             doc                                    Cianchetti;                                 Client/Work   advice work product
_2061                   13:32       Sarantapoulas
                                                    Gerald Miller;                              Product       regarding
                                                    Jeff Barnhard;                                            Praxair/Linde merger.
                                                    Joe Abdoo; Rob
                                                    Morrison; Todd
                                                    Lawson; Kevin
                                                    Foti




                                                                369
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 371 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             XLS                                 Cianchetti;                                   Client/Work   advice work product
_2062                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             XLS                                 Cianchetti;                                   Client/Work   advice work product
_2063                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             XLS                                 Cianchetti;                                   Client/Work   advice work product
_2064                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             370
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 372 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2065                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2066                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2067                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             371
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 373 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                               Reflects
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2068                  13:32
                                                 Gerald Miller;                                 Product       regarding
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew
                                                 Sarantapoulas;
                                                 Armando
                                                 Botello; Del
                                                 Shannon; Denny                                               Reflects
                                                                               Employee(s) of
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018                                              NuCO2 and its
             ZIP                                 Cianchetti;                                    Client/Work   advice work product
_2069                  13:32                                                  affiliated
                                                 Gerald Miller;                                 Product       regarding
                                                                              company(ies)
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew
                                                 Sarantapoulas;
                                                 Armando
                                                 Botello; Del
                                                 Shannon; Denny                                               Reflects
                                                                               Employee(s) of
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018                                              NuCO2 and its
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2070                  13:32                                                  affiliated
                                                 Gerald Miller;                                 Product       regarding
                                                                              company(ies)
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             372
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 374 of
                                                         573


                                                 Andrew
                                                 Sarantapoulas;
                                                 Armando
                                                 Botello; Del
                                                 Shannon; Denny                                               Reflects
                                                                               Employee(s) of
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018                                              NuCO2 and its
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2071                  13:32                                                  affiliated
                                                 Gerald Miller;                                 Product       regarding
                                                                              company(ies)
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew
                                                 Sarantapoulas;
                                                 Armando
                                                 Botello; Del
                                                 Shannon; Denny                                               Reflects
                                                                               Employee(s) of
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018                                              NuCO2 and its
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2072                  13:32                                                  affiliated
                                                 Gerald Miller;                                 Product       regarding
                                                                              company(ies)
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                               Reflects
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2073                  13:32
                                                 Gerald Miller;                                 Product       regarding
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             373
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 375 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                               Reflects
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2074                  13:32
                                                 Gerald Miller;                                 Product       regarding
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew
                                                 Sarantapoulas;
                                                 Armando
                                                 Botello; Del
                                                 Shannon; Denny                                               Reflects
                                                                               Employee(s) of
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018                                              NuCO2 and its
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2075                  13:32                                                  affiliated
                                                 Gerald Miller;                                 Product       regarding
                                                                              company(ies)
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                               Reflects
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2076                  13:32
                                                 Gerald Miller;                                 Product       regarding
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             374
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 376 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                               Reflects
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2077                  13:32
                                                 Gerald Miller;                                 Product       regarding
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew
                                                 Sarantapoulas;
                                                 Armando
                                                 Botello; Del
                                                 Shannon; Denny                                               Reflects
                                                                               Employee(s) of
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018                                              NuCO2 and its
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2078                  13:32                                                  affiliated
                                                 Gerald Miller;                                 Product       regarding
                                                                              company(ies)
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                               Reflects
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2079                  13:32
                                                 Gerald Miller;                                 Product       regarding
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             375
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 377 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                               Reflects
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018
             DOC                                 Cianchetti;                                    Client/Work   advice work product
_2080                  13:32
                                                 Gerald Miller;                                 Product       regarding
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew
                                                 Sarantapoulas;
                                                 Armando
                                                 Botello; Del
                                                 Shannon; Denny                                               Reflects
                                                                               Employee(s) of
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018                                              NuCO2 and its
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2081                  13:32                                                  affiliated
                                                 Gerald Miller;                                 Product       regarding
                                                                              company(ies)
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                               Reflects
                                                 Brown; Dominic                                 Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                    Client/Work   advice work product
_2082                  13:32
                                                 Gerald Miller;                                 Product       regarding
                                                 Jeff Barnhard;                                               Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             376
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 378 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             DOC                                 Cianchetti;                                   Client/Work   advice work product
_2083                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2084                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             XLS                                 Cianchetti;                                   Client/Work   advice work product
_2085                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             377
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 379 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             XLS                                 Cianchetti;                                   Client/Work   advice work product
_2086                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2087                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2088                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             378
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 380 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2089                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2090                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             BIN                                 Cianchetti;                                   Client/Work   advice work product
_2091                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             379
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 381 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2092                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2093                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2094                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             380
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 382 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             BIN                                 Cianchetti;                                   Client/Work   advice work product
_2095                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2096                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             XLS                                 Cianchetti;                                   Client/Work   advice work product
_2097                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             381
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 383 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2098                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             XLS                                 Cianchetti;                                   Client/Work   advice work product
_2099                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2100                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             382
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 384 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             XLS                                 Cianchetti;                                   Client/Work   advice work product
_2101                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2102                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             XLS                                 Cianchetti;                                   Client/Work   advice work product
_2103                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             383
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 385 of
                                                         573


                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             VSD                                 Cianchetti;                                   Client/Work   advice work product
_2104                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             XLS                                 Cianchetti;                                   Client/Work   advice work product
_2105                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti
                                                 Andrew                       Employee(s) of
                                                 Sarantapoulas;               NuCO2 and its
                                                 Armando                      affiliated
                                                 Botello; Del
                                                                              company(ies)
                                                 Shannon; Denny                                              Reflects
                                                 Brown; Dominic                                Attorney      communications or
NuCO2_Priv             5/23/2018
             XLS                                 Cianchetti;                                   Client/Work   advice work product
_2106                  13:32
                                                 Gerald Miller;                                Product       regarding
                                                 Jeff Barnhard;                                              Praxair/Linde merger.
                                                 Joe Abdoo; Rob
                                                 Morrison; Todd
                                                 Lawson; Kevin
                                                 Foti




                                                             384
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 386 of
                                                         573


                                                           Andrew                                      Employee(s) of
                                                           Sarantapoulas;                              NuCO2 and its
                                                           Armando                                     affiliated
                                                           Botello; Del
                                                                                                       company(ies)
                                                           Shannon; Denny                                                                 Reflects
                                                           Brown; Dominic                                               Attorney          communications or
NuCO2_Priv             5/23/2018
             VSD                                           Cianchetti;                                                  Client/Work       advice work product
_2107                  13:32
                                                           Gerald Miller;                                               Product           regarding
                                                           Jeff Barnhard;                                                                 Praxair/Linde merger.
                                                           Joe Abdoo; Rob
                                                           Morrison; Todd
                                                           Lawson; Kevin
                                                           Foti
                                                           Andrew                                      Employee(s) of
                                                           Sarantapoulas;                              NuCO2 and its
                                                           Armando                                     affiliated
                                                           Botello; Del
                                                                                                       company(ies)
                                                           Shannon; Denny                                                                 Reflects
                                                           Brown; Dominic                                               Attorney          communications or
NuCO2_Priv             5/23/2018
             pdf                                           Cianchetti;                                                  Client/Work       advice work product
_2108                  13:32
                                                           Gerald Miller;                                               Product           regarding
                                                           Jeff Barnhard;                                                                 Praxair/Linde merger.
                                                           Joe Abdoo; Rob
                                                           Morrison; Todd
                                                           Lawson; Kevin
                                                           Foti
                                                           Melissa_Andros                              Employee(s) of
                                                           @Praxair.com;                               NuCO2 and its                      Reflects attorney
                                                           Russell_Vicari@                             affiliated
                                                                              Gerald Miller;                            Attorney          Communications
NuCO2_Priv             6/15/2018                           praxair.com;
             pdf                       Felicia Gallagher                      Gerald_Miller@praxair.   company(ies)     Client/Work       and/or attorney work
_2109                  8:05                                Kevin_Foti@pra
                                                                              com                                       Product           product regarding
                                                           xair.com;
                                                                                                                                          safety.
                                                           Eduardo_Menez
                                                           es@praxair.com
                                                                                                       Employee(s) of
                                                                                                       NuCO2 and its
                                                                                                                                          Communication
NuCO2_Priv                                                 Gerald_Miller@p                             affiliated
             DXL       7/1/2018 9:00   Edward Balzarini                                                                 Attorney Client   regarding litigation
_2110                                                      raxair.com                                  company(ies)                       hold.




                                                                        385
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 387 of
                                                          573


                                                                                                       Employee(s) of                      Reflects attorney
                                                         John Templin;
                                                                                                       NuCO2 and its                       Communicationss/or
                                                         Derek Burton;
                                                                                                       affiliated        Attorney          attorney work product
NuCO2_Priv              8/10/2018                        GMiller@nuco2.
             pptx                    Felicia Gallagher                                                                   Client/Work       regarding insurance
_2111                   16:19                            com;                                          company(ies)
                                                                                                                         Product           and legal matters and
                                                         Gerald_Miller@p
                                                                                                                                           acquisition and and
                                                         raxair.com
                                                                                                                                           safety.
                                                                                                                                           Reflects attorney
                                                                              Kevin_Foti@praxair.co                                        Communicationss/or
                                                         Melissa_Andros                                 Employee(s) of
                                                                              m;                                         Attorney          attorney work product
NuCO2_Priv              9/17/2018                        @Praxair.com;                                 NuCO2 and its
             pptx                    Felicia Gallagher                        GMiller@nuco2.com;                         Client/Work       regarding insurance
_2112                   15:38                            Russell_Vicari@                               affiliated
                                                                              Gerald_Miller@praxair.                     Product           and legal matters and
                                                         praxair.com                                   company(ies)
                                                                              com                                                          acquisition and and
                                                                                                                                           safety.
                                                                                                       Employee(s) of
                                                                                                       NuCO2 and its
                                                                                                                                           Communication
NuCO2_Priv              10/1/2018                        Gerald_Miller@p                               affiliated
             DXL                     Edward Balzarini                                                                    Attorney Client   regarding litigation
_2113                   10:39                            raxair.com                                    company(ies)                        hold.

                                                                                                       Employee(s) of
                                                                              Gerald Miller;                                               Reflects attorney
                                                                                                       NuCO2 and its
                                                         Vicari, Russell;     Gerald_Miller@praxair.                     Attorney          Communicationss/or
NuCO2_Priv              10/11/2018                                                                     affiliated
             pdf                     Felicia Gallagher   Melissa_Andros       com;                                       Client/Work       attorney work product
_2114                   9:48                                                                           company(ies)
                                                         @Praxair.com         Kevin_Foti@praxair.co                      Product           regardinglegal matters
                                                                              m                                                            and safety.
                                                                                                       Employee(s) of                      Reflects attorney
                                                                              Gerald Miller;           NuCO2 and its                       Communicationss/or
                                                         Vicari, Russell;     Gerald_Miller@praxair.   affiliated        Attorney          attorney work product
NuCO2_Priv              10/11/2018
             pptx                    Felicia Gallagher   Melissa_Andros       com;                                       Client/Work       regarding insurance
_2115                   9:48                                                                           company(ies)
                                                         @Praxair.com         Kevin_Foti@praxair.co                      Product           and legal matters and
                                                                              m                                                            acquisition and and
                                                                                                                                           safety.
                                                         |Truncated|                                   Employee(s) of
                                                         Akhras, Amer;                                 NuCO2 and its                       Reflects attorney
                                                         Amy_Petrivelli@                               affiliated        Attorney
NuCO2_Priv              10/14/2018                                                                                                         Communicationss/or
             pdf                     Vicari, Russell     Praxair.com;         Roby, Anne                                 Client/Work
_2116                   21:01                                                                          company(ies)                        attorney work product
                                                         Carlos_Paiva@pr                                                 Product
                                                                                                                                           regarding legal matters.
                                                         axair.com; Xiang,
                                                         Caroline;


                                                                        386
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 388 of
                                                         573


                                                      Daphne_Gulcu
                                                      @Praxair.com;
                                                      Denny_Brown@
                                                      Praxair.com;
                                                      Marini, Dick;
                                                      Felipe_Delfin@P
                                                      raxair.com;
                                                      FGallagher@nuc
                                                      o2.com; Miller,
                                                      Gerald;
                                                      Gilney_Bastos@
                                                      praxair.com;
                                                      Hezal_Patel@Pr
                                                      axair.com;
                                                      Panikar, John;
                                                      Josue_Lee@prax
                                                      air.com; Foti,
                                                      Kevin;
                                                      Madariaga, Lou;
                                                      Luiz_Oliveira@p
                                                      raxair.com;
                                                      Pierre_Luthi@pr
                                                      axair.com;
                                                      Culina, Rosanne;
                                                      Sean_Durbin@p
                                                      raxair.com;
                                                      Todd_Skare@pr
                                                      axair.com;
                                                      Slenders, Veerle;
                                                      Dan_Yankowski
                                                      @praxair.com;
                                                      Mi
                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             11/1/2018                      Gerald_Miller@p         affiliated
             DXL                   Edward Balzarini                                            Attorney Client   regarding litigation
_2117                  15:40                          raxair.com              company(ies)                       hold.




                                                                     387
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 389 of
                                                         573


                                                           Bert Blondin;                                   Employee(s) of
                                                           Bridgette Briske;                               NuCO2 and its
                                                           Brian Catmull;                                  affiliated
                                                           Damarie Cortez;
                                                                                                           company(ies)
                                                           Dirk Horst;             David Markatos;                                            Communication
NuCO2_Priv
             MSG       6/3/2015 9:59   Balzarini, Edward   Geraldine               Sarner, Eric;                            Attorney Client   regarding litigation
_2118
                                                           Knapp; Greg             Almarayati, Sanaa                                          hold.
                                                           Seefeldt; Kelly
                                                           Gluck; Lanette
                                                           North; Mike
                                                           Kleimeyer
                                                                                                           Employee(s) of
                                                                                                           NuCO2 and                          Reflects
                                                                                                                                              communications
NuCO2_Priv             3/22/2018                                                   Damarie Cortez;         NuCO2’s debt     Settlement
             MSG                       Gail Donahue        'Peter Parisey'                                                                    regarding settlement
_2119                  13:06                                                       Kenisha Russell-Alejo   collection       Negotiations
                                                                                                                                              concerning customer
                                                                                                           company                            dispute.

                                                                                                           Employee(s) of
                                                                                                           NuCO2 and                          Reflects
                                                                                                                                              communications
NuCO2_Priv             3/22/2018                                                   Damarie Cortez;         NuCO2’s debt     Settlement
             pdf                       Gail Donahue        'Peter Parisey'                                                                    regarding settlement
_2120                  13:06                                                       Kenisha Russell-Alejo   collection       Negotiations
                                                                                                                                              concerning customer
                                                                                                           company                            dispute.

                                                                                                           Employee(s) of
                                                                                                           NuCO2 and                          Communications
                                                                                   Nancy L. Rainey;
NuCO2_Priv             4/24/2018                           'customer                                       NuCO2’s debt     Settlement        regarding strategy for
             pdf                       Gail Donahue                                Damarie Cortez;
_2121                  7:46                                service2'                                       collection       Negotiations      settling customer
                                                                                   Kenisha Russell-Alejo
                                                                                                           company                            dispute.

                                                                                                           Employee(s) of
                                                                                                           NuCO2 and                          Communications
                                                                                   Nancy L. Rainey;
NuCO2_Priv             4/24/2018                           'customer                                       NuCO2’s debt     Settlement        regarding strategy for
             MSG                       Gail Donahue                                Damarie Cortez;
_2122                  7:46                                service2'                                       collection       Negotiations      settling customer
                                                                                   Kenisha Russell-Alejo
                                                                                                           company                            dispute.




                                                                             388
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 390 of
                                                         573


                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                            Communication
NuCO2_Priv             8/27/2018                                                                        affiliated
             MSG                       Edward Balzarini   Damarie Cortez                                                  Attorney Client   regarding litigation
_2123                  8:52                                                                             company(ies)                        hold.


                                                                                                        Employee(s) of
                                                                                                        NuCO2 and its
                                                                                                                                            Communication
NuCO2_Priv             8/24/2018                                                                        affiliated
             MSG                       Edward Balzarini   Damarie Cortez                                                  Attorney Client   regarding litigation
_2124                  14:51                                                                            company(ies)                        hold.



                                                                                                         Employee(s) of
                                                                                                                                            Communication
NuCO2_Priv                                                                                              NuCO2 and its
             MSG       9/3/2018 8:53   Edward Balzarini   Damarie Cortez                                                  Attorney Client   regarding litigation
_2125                                                                                                   affiliated
                                                                                                                                            hold.
                                                                                                        company(ies)


                                                                                                         Employee(s) of
                                                                                                                                            Communication
NuCO2_Priv             9/10/2018                                                                        NuCO2 and its
             MSG                       Edward Balzarini   Damarie Cortez                                                  Attorney Client   regarding litigation
_2126                  9:04                                                                             affiliated
                                                                                                                                            hold.
                                                                                                        company(ies)

                                                                                                        Employee(s) of
                                                                                Damarie Cortez; Aaron   NuCO2 and                           Communications
NuCO2_Priv             9/19/2018                                                Nelson; Nikki Ervin;    NuCO2’s debt      Settlement        regarding strategy for
             MSG                       Julie Reigle       Toyanna Platt
_2127                  8:02                                                     Ryan Ellerbusch; Ed     collection        Negotiations      settling customer
                                                                                Meglis                  company                             dispute.

                                                                                                        Employee(s) of
                                                                                Damarie Cortez; Aaron   NuCO2 and                           Communications
NuCO2_Priv             9/19/2018                                                Nelson; Nikki Ervin;    NuCO2’s debt      Settlement        regarding strategy for
             csv                       Julie Reigle       Toyanna Platt
_2128                  8:02                                                     Ryan Ellerbusch; Ed     collection        Negotiations      settling customer
                                                                                Meglis                  company                             dispute.




                                                                          389
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 391 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             9/24/2018                                              affiliated
             MSG                    Edward Balzarini   Damarie Cortez                          Attorney Client   regarding litigation
_2129                  9:00                                                   company(ies)                       hold.


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             9/17/2018                                              affiliated
             MSG                    Edward Balzarini   Damarie Cortez                          Attorney Client   regarding litigation
_2130                  8:58                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             10/1/2018                                              affiliated
             MSG                    Edward Balzarini   Damarie Cortez                          Attorney Client   regarding litigation
_2131                  10:16                                                  company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             10/1/2018                                              affiliated
             MSG                    Edward Balzarini   Damarie Cortez                          Attorney Client   regarding litigation
_2132                  11:19                                                  company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             10/8/2018                                              affiliated
             MSG                    Edward Balzarini   Damarie Cortez                          Attorney Client   regarding litigation
_2133                  8:59                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             10/15/2018                                             affiliated
             MSG                    Edward Balzarini   Damarie Cortez                          Attorney Client   regarding litigation
_2134                  9:02                                                   company(ies)                       hold.




                                                                    390
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 392 of
                                                          573


                                                                                                     Employee(s) of
                                                                                                                                        Reflects
                                                                                                     NuCO2
                                                                                                                      Attorney          communications
NuCO2_Priv              10/17/2018
             MSG                     Sharon Moran       Damarie Cortez                                                Client/Work       regarding settlement
_2135                   12:32
                                                                                                                      Product           concerning customer
                                                                                                                                        dispute.
                                                                                                     Employee(s) of
                                                                                                                                        Reflects
                                                                                                     NuCO2
                                                                                                                      Attorney          communications
NuCO2_Priv              10/17/2018
             xlsx                    Sharon Moran       Damarie Cortez                                                Client/Work       regarding settlement
_2136                   12:32
                                                                                                                      Product           concerning customer
                                                                                                                                        dispute.
                                                                                                     Employee(s) of
                                                                                                     NuCO2 and its
                                                                                                                                        Communication
NuCO2_Priv              10/22/2018                                                                   affiliated
             MSG                     Edward Balzarini   Damarie Cortez                                                Attorney Client   regarding litigation
_2137                   9:06                                                                         company(ies)                       hold.

                                                                                                     Employee(s) of
                                                                                                     NuCO2 and its
                                                                                                                                        Communication
NuCO2_Priv              10/29/2018                                                                   affiliated
             MSG                     Edward Balzarini   Damarie Cortez                                                Attorney Client   regarding litigation
_2138                   9:08                                                                         company(ies)                       hold.

                                                                                                     Employee(s) of                     Communications
                                                                                                     NuCO2                              regarding request
                                                                                                                                        for/provision of legal
NuCO2_Priv              10/22/2018                                           Damarie Cortez;
             pdf                     Ronald Thermil     Sondra Meyer                                                  Attorney Client   advice/work product
_2139                   10:32                                                Kenisha Russell-Alejo
                                                                                                                                        of counsel concerning
                                                                                                                                        negotiation/drafting of
                                                                                                                                        customer agreement.
                                                                                                     Employee(s) of                     Communications
                                                                                                     NuCO2                              regarding request
                                                                                                                                        for/provision of legal
NuCO2_Priv              10/22/2018                                           Damarie Cortez;
             pdf                     Ronald Thermil     Sondra Meyer                                                  Attorney Client   advice/work product
_2140                   10:32                                                Kenisha Russell-Alejo
                                                                                                                                        of counsel concerning
                                                                                                                                        negotiation/drafting of
                                                                                                                                        customer agreement.




                                                                       391
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 393 of
                                                         573


                                                                                                    Employee(s) of                     Communications
                                                                                                    NuCO2                              regarding request
                                                                                                                                       for/provision of legal
NuCO2_Priv             10/22/2018                                           Damarie Cortez;
             MSG                    Ronald Thermil     Sondra Meyer                                                  Attorney Client   advice/work product
_2141                  10:32                                                Kenisha Russell-Alejo
                                                                                                                                       of counsel concerning
                                                                                                                                       negotiation/drafting of
                                                                                                                                       customer agreement.
                                                                                                    Employee(s) of
                                                                                                    NuCO2 and its
                                                                                                                                       Communication
NuCO2_Priv             11/12/2018                                                                   affiliated
             MSG                    Edward Balzarini   Damarie Cortez                                                Attorney Client   regarding litigation
_2142                  9:01                                                                         company(ies)                       hold.

                                                                                                    Employee(s) of
                                                                                                    NuCO2 and its
                                                                                                                                       Communication
NuCO2_Priv             11/5/2018                                                                    affiliated
             MSG                    Edward Balzarini   Damarie Cortez                                                Attorney Client   regarding litigation
_2143                  9:09                                                                         company(ies)                       hold.


                                                                                                    Employee(s) of
                                                                                                    NuCO2 and its
                                                                                                                                       Communication
NuCO2_Priv             11/26/2018                                                                   affiliated
             MSG                    Edward Balzarini   Damarie Cortez                                                Attorney Client   regarding litigation
_2144                  9:03                                                                         company(ies)                       hold.

                                                                                                    Employee(s) of
                                                                                                    NuCO2 and its
                                                                                                                                       Communication
NuCO2_Priv             11/19/2018                                                                   affiliated
             MSG                    Edward Balzarini   Damarie Cortez                                                Attorney Client   regarding litigation
_2145                  9:05                                                                         company(ies)                       hold.


                                                                                                    Employee(s) of
                                                                                                    NuCO2 and its
                                                                                                                                       Communication
NuCO2_Priv             12/3/2018                                                                    affiliated
             MSG                    Edward Balzarini   Damarie Cortez                                                Attorney Client   regarding litigation
_2146                  9:03                                                                         company(ies)                       hold.




                                                                      392
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 394 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             12/10/2018                                             affiliated
             MSG                       Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2147                  9:04                                                   company(ies)                       hold.


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             12/24/2018                                             affiliated
             MSG                       Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2148                  9:02                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             12/31/2018                                             affiliated
             MSG                       Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2149                  9:03                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv                                                                    affiliated
             MSG       1/1/2019 9:24   Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2150                                                                         company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv                                                                    affiliated
             MSG       1/7/2019 9:04   Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2151                                                                         company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             12/17/2018                                             affiliated
             MSG                       Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2152                  9:07                                                   company(ies)                       hold.




                                                                       393
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 395 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             1/14/2019                                              affiliated
             MSG                       Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2153                  9:07                                                   company(ies)                       hold.


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             1/21/2019                                              affiliated
             MSG                       Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2154                  9:07                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2 and its
                                                                                                                 communications
NuCO2_Priv             1/8/2019                                               affiliated       Settlement
             MSG                       Toyanna Platt      Damarie Cortez                                         regarding settlement
_2155                  15:40                                                  company(ies)     Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.


                                                                              Employee(s) of                     Reflects
                                                                                                                 communications
NuCO2_Priv             1/22/2019                                              NuCO2            Settlement
             MSG                       Toyanna Platt      Damarie Cortez                                         regarding settlement
_2156                  8:22                                                                    Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.
                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             1/28/2019                                              affiliated
             MSG                       Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2157                  9:16                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv                                                                    affiliated
             MSG       2/4/2019 9:13   Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2158                                                                         company(ies)                       hold.




                                                                       394
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 396 of
                                                         573


                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             2/11/2019                                              affiliated
             MSG                       Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2159                  9:15                                                   company(ies)                       hold.



                                                                              Employee(s) of                     Reflects need
                                                                                                                 for/provision of legal
NuCO2_Priv             2/15/2019                                              NuCO2
             MSG                       Brian D. Potter    Damarie Cortez                       Attorney Client   advice regarding
_2160                  11:47
                                                                                                                 customer
                                                                                                                 account/dispute.
                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             2/18/2019                                              affiliated
             MSG                       Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2161                  9:06                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv             2/25/2019                                              affiliated
             MSG                       Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2162                  9:15                                                   company(ies)                       hold.

                                                                              Employee(s) of
                                                                              NuCO2 and its
                                                                                                                 Communication
NuCO2_Priv                                                                    affiliated
             MSG       3/4/2019 9:15   Edward Balzarini   Damarie Cortez                       Attorney Client   regarding litigation
_2163                                                                         company(ies)                       hold.

                                                                              Employee(s) of
                                                                                                                 Reflects
                                                                              NuCO2
                                                                                                                 communications
NuCO2_Priv             3/20/2017                                                               Settlement
             MSG                       David Reyes        Damarie Cortez                                         regarding settlement
_2164                  13:47                                                                   Negotiations
                                                                                                                 concerning customer
                                                                                                                 dispute.




                                                                       395
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 397 of
                                                          573


                                                                               Employee(s) of
                                                                                                                Reflects
                                                                               NuCO2
                                                                                                                communications
NuCO2_Priv              3/20/2017                                                                Settlement
             pdf                    David Reyes      Damarie Cortez                                             regarding settlement
_2165                   13:47                                                                    Negotiations
                                                                                                                concerning customer
                                                                                                                dispute.
                                                                               Employee(s) of
                                                                                                                Reflects
                                                                               NuCO2
                                                                                                                communications
NuCO2_Priv              3/17/2017                                                                Settlement
             pdf                    David Reyes      Damarie Cortez                                             regarding settlement
_2166                   13:58                                                                    Negotiations
                                                                                                                concerning customer
                                                                                                                dispute.
                                                                               Employee(s) of
                                                                                                                Reflects
                                                                               NuCO2
                                                                                                                communications
NuCO2_Priv              3/17/2017                                                                Settlement
             MSG                    David Reyes      Damarie Cortez                                             regarding settlement
_2167                   13:58                                                                    Negotiations
                                                                                                                concerning customer
                                                                                                                dispute.
                                                                               Employee(s) of                   Communications
                                                                               NuCO2                            regarding need
                                                                                                                for/provision of
                                                                                                                information regarding
NuCO2_Priv              3/17/2017                                                                Settlement     customer
             MSG                    David Reyes      Damarie Cortez
_2168                   14:51                                                                    Negotiations   account/dispute in
                                                                                                                order to facilitate
                                                                                                                provision of legal
                                                                                                                advice/services
                                                                                                                concerning the same.
                                                                               Employee(s) of
                                                                                                                Reflects
                                                                               NuCO2
                                                     Damarie Cortez;                                            communications
NuCO2_Priv              3/23/2017                                                                Settlement
             MSG                    David Reyes      Catarina                                                   regarding settlement
_2169                   9:54                                                                     Negotiations
                                                     Mendoza                                                    concerning customer
                                                                                                                dispute.

                                                                                                                Reflects attorney
                                                                                Employee(s) of
                                                                                                 Attorney       Communications
NuCO2_Priv              4/6/2017                     Felicia Gallagher;        NuCO2 and its
             xlsx                   Dominick Nigra                                               Client/Work    and/or attorney work
_2170                   12:25                        Damarie Cortez            affiliated
                                                                                                 Product        product regarding
                                                                               company(ies)
                                                                                                                acquisition.


                                                                     396
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 398 of
                                                          573


                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2 and its                      regarding need
NuCO2_Priv              4/20/2017                                                               affiliated                         for/provision of
             docx                   Markatos, David   Damarie Cortez     Kortlandt, Catherine                    Attorney Client
_2171                   11:54                                                                   company(ies)                       information in order to
                                                                                                                                   facilitate provision of
                                                                                                                                   legal advice/services.
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2 and its                      regarding need
NuCO2_Priv              4/20/2017                                                               affiliated                         for/provision of
             docx                   Markatos, David   Damarie Cortez     Kortlandt, Catherine                    Attorney Client
_2172                   11:54                                                                   company(ies)                       information in order to
                                                                                                                                   facilitate provision of
                                                                                                                                   legal advice/services.
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2 and its                      regarding need
NuCO2_Priv              4/20/2017                                                               affiliated                         for/provision of
             docx                   Markatos, David   Damarie Cortez     Kortlandt, Catherine                    Attorney Client
_2173                   11:54                                                                   company(ies)                       information in order to
                                                                                                                                   facilitate provision of
                                                                                                                                   legal advice/services.
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2 and its                      regarding need
NuCO2_Priv              4/20/2017                                                               affiliated                         for/provision of
             jpg                    Markatos, David   Damarie Cortez     Kortlandt, Catherine                    Attorney Client
_2174                   11:54                                                                   company(ies)                       information in order to
                                                                                                                                   facilitate provision of
                                                                                                                                   legal advice/services.
                                                                                                Employee(s) of                     Communications
                                                                                                NuCO2 and its                      regarding need
NuCO2_Priv              4/20/2017                                                               affiliated                         for/provision of
             MSG                    Markatos, David   Damarie Cortez     Kortlandt, Catherine                    Attorney Client
_2175                   11:54                                                                   company(ies)                       information in order to
                                                                                                                                   facilitate provision of
                                                                                                                                   legal advice/services.

                                                                                                Employee(s) of                     Reflects
                                                                                                                                   communications
NuCO2_Priv              4/19/2017                                                               NuCO2            Settlement
             MSG                    David Reyes       Damarie Cortez                                                               regarding settlement
_2176                   14:13                                                                                    Negotiations
                                                                                                                                   concerning customer
                                                                                                                                   dispute.




                                                                   397
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 399 of
                                                          573


                                                                                                        Employee(s) of
                                                                                                                                        Reflects attorney
                                                                                                        NuCO2 and its
                                                                                                                         Attorney       Communications
NuCO2_Priv                                               Felicia Gallagher;                             affiliated
             xlsx       5/4/2017 8:32   Dominick Nigra                                                                   Client/Work    and/or attorney work
_2177                                                    Damarie Cortez                                 company(ies)     Product        product regarding
                                                                                                                                        acquisition.
                                                                                Felicia Gallagher;      Employee(s) of
                                                                                Douglas Caputo; Erica   NuCO2 and its
                                                                                Aponte; Damarie         affiliated
                                                         Toyanna Platt;         Cortez; David Reyes;                                    Communications
NuCO2_Priv              5/18/2017                                                                       company(ies)     Accountant-
             MSG                        Ed Meglis        Kent Hoffman;          Grace Overstreet;                                       regarding need for
_2178                   8:53                                                                                             Client
                                                         Diego Olarte           Jonathon Kielbasa;                                      accounting advice.
                                                                                Stuart Luks; Sandy
                                                                                Johnson; Jonathon
                                                                                Kielbasa
                                                                                Felicia Gallagher;      Employee(s) of
                                                                                Douglas Caputo; Erica   NuCO2 and its
                                                                                Aponte; Damarie         affiliated
                                                         Toyanna Platt;         Cortez; David Reyes;                                    Communications
NuCO2_Priv              5/18/2017                                                                       company(ies)     Accountant-
             xlsx                       Ed Meglis        Kent Hoffman;          Grace Overstreet;                                       regarding need for
_2179                   8:53                                                                                             Client
                                                         Diego Olarte           Jonathon Kielbasa;                                      accounting advice.
                                                                                Stuart Luks; Sandy
                                                                                Johnson; Jonathon
                                                                                Kielbasa
                                                                                                        Employee(s) of
                                                                                                        NuCO2 and                       Communications
NuCO2_Priv              5/15/2017                                                                       NuCO2’s debt     Settlement     regarding strategy for
             pdf                        Daniel Mullins   Damarie Cortez         Felicia Gallagher
_2180                   14:51                                                                           collection       Negotiations   settling customer
                                                                                                        company                         dispute.

                                                                                                        Employee(s) of
                                                                                                        NuCO2 and                       Communications
NuCO2_Priv              5/15/2017                                                                       NuCO2’s debt     Settlement     regarding strategy for
             MSG                        Daniel Mullins   Damarie Cortez         Felicia Gallagher
_2181                   14:51                                                                           collection       Negotiations   settling customer
                                                                                                        company                         dispute.




                                                                          398
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 400 of
                                                          573


                                                                              Felicia Gallagher;
                                                                              Douglas Caputo;
                                                       Erica Aponte;
                                                                              Damarie Cortez; David     Employee(s) of
                                                       Toyanna Platt;                                                                   Communications
NuCO2_Priv              5/19/2017                                             Reyes; Grace             NuCO2 and its     Accountant-
             xlsx                   Ed Meglis          Kent Hoffman;                                                                    regarding need for
_2182                   16:17                                                 Overstreet; Jonathon     affiliated        Client
                                                       Diego Olarte;                                                                    accounting advice.
                                                                              Kielbasa; Stuart Luks;   company(ies)
                                                       Sandy Johnson
                                                                              Sandy Johnson;
                                                                              Jonathon Kielbasa
                                                                              Felicia Gallagher;
                                                                              Douglas Caputo;          Employee(s) of
                                                       Erica Aponte;                                   NuCO2 and its
                                                                              Damarie Cortez; David
                                                       Toyanna Platt;                                                                   Communications
NuCO2_Priv              5/19/2017                                             Reyes; Grace             affiliated        Accountant-
             MSG                    Ed Meglis          Kent Hoffman;                                                                    regarding need for
_2183                   16:17                                                 Overstreet; Jonathon     company(ies)      Client
                                                       Diego Olarte;                                                                    accounting advice.
                                                                              Kielbasa; Stuart Luks;
                                                       Sandy Johnson
                                                                              Sandy Johnson;
                                                                              Jonathon Kielbasa
                                                                                                       Employee(s) of
                                                                                                       NuCO2 and                        Communications
NuCO2_Priv              7/24/2017   Coll. Svcs -                                                       NuCO2’s debt      Settlement     regarding strategy for
             MSG                                       Damarie Cortez         Gail Donahue
_2184                   13:30       Dannielle Coates                                                   collection        Negotiations   settling customer
                                                                                                       company                          dispute.

                                                                                                       Employee(s) of
                                                                                                       NuCO2 and                        Communications
NuCO2_Priv              7/24/2017   Coll. Svcs -                                                       NuCO2’s debt      Settlement     regarding strategy for
             pdf                                       Damarie Cortez         Gail Donahue
_2185                   13:30       Dannielle Coates                                                   collection        Negotiations   settling customer
                                                                                                       company                          dispute.

                                                                                                                                        Reflects attorney
                                                       'Adele Wang';                                   Employee(s) of
                                                                              'Peter Donbavand';                                        Communicationss/or
                                                       'Bob Amaro';
NuCO2_Priv              8/4/2017                                              'Brian Jerden'; Sal      NuCO2             Settlement     attorney work product
             xls                    Lisa Willard       Kyle Brown;
_2186                   11:14                                                 DeCarlo; Damarie                           Negotiations   regarding settlement
                                                       'Lissette Villamil';
                                                                              Cortez                                                    concerning customer
                                                       'Jenna Bippert'
                                                                                                                                        dispute.




                                                                        399
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 401 of
                                                          573


                                                                                                                                        Reflects attorney
                                                       'Adele Wang';
                                                                              'Peter Donbavand';     Employee(s) of                     Communicationss/or
                                                       'Bob Amaro';
NuCO2_Priv              8/4/2017                                              'Brian Jerden'; Sal   NuCO2 and its     Settlement        attorney work product
             MSG                        Lisa Willard   Kyle Brown;
_2187                   11:14                                                 DeCarlo; Damarie      affiliated        Negotiations      regarding settlement
                                                       'Lissette Villamil';
                                                                              Cortez                company(ies)                        concerning customer
                                                       'Jenna Bippert'
                                                                                                                                        dispute.
                                                                                                    Employee(s) of
                                                       'Coll. Svcs -                                NuCO2 and                           Communications
NuCO2_Priv              8/9/2017                       Dannielle                                    NuCO2’s debt      Settlement        regarding strategy for
             pdf                        Gail Donahue
_2188                   14:45                          Coates'; Damarie                             collection        Negotiations      settling customer
                                                       Cortez                                       company                             dispute.

                                                                                                    Employee(s) of
                                                       'Coll. Svcs -                                NuCO2 and                           Communications
NuCO2_Priv              8/9/2017                       Dannielle                                    NuCO2’s debt      Settlement        regarding strategy for
             MSG                        Gail Donahue
_2189                   14:45                          Coates'; Damarie                             collection        Negotiations      settling customer
                                                       Cortez                                       company                             dispute.

                                                                                                    Employee(s) of
                                                                                                                                        Reflects need
                                                                                                    NuCO2 and its
                                                                                                                                        for/provision of legal
NuCO2_Priv                                                                    Felicia Gallagher;    affiliated
             docx       8/7/2017 9:35   John Templin   Damarie Cortez                                                 Attorney Client   advice regarding
_2190                                                                         David Markatos        company(ies)                        customer
                                                                                                                                        account/dispute.
                                                                                                    Employee(s) of
                                                                                                                                        Reflects need
                                                                                                    NuCO2 and its
                                                                                                                                        for/provision of legal
NuCO2_Priv                                                                    Felicia Gallagher;    affiliated
             PDF        8/7/2017 9:35   John Templin   Damarie Cortez                                                 Attorney Client   advice regarding
_2191                                                                         David Markatos        company(ies)                        customer
                                                                                                                                        account/dispute.
                                                                                                    Employee(s) of
                                                                                                                                        Reflects need
                                                                                                    NuCO2 and its
                                                                                                                                        for/provision of legal
NuCO2_Priv                                                                    Felicia Gallagher;    affiliated
             xls        8/7/2017 9:35   John Templin   Damarie Cortez                                                 Attorney Client   advice regarding
_2192                                                                         David Markatos        company(ies)                        customer
                                                                                                                                        account/dispute.




                                                                        400
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 402 of
                                                          573


                                                                                                      Employee(s) of
                                                                                                                                         Reflects need
                                                                                                      NuCO2 and its
                                                                                                                                         for/provision of legal
NuCO2_Priv                                                                       Felicia Gallagher;   affiliated
             DOCX       8/7/2017 9:35   John Templin       Damarie Cortez                                              Attorney Client   advice regarding
_2193                                                                            David Markatos       company(ies)                       customer
                                                                                                                                         account/dispute.
                                                                                                      Employee(s) of
                                                                                                                                         Reflects need
                                                                                                      NuCO2 and its
                                                                                                                                         for/provision of legal
NuCO2_Priv                                                                       Felicia Gallagher;   affiliated
             DOCX       8/7/2017 9:35   John Templin       Damarie Cortez                                              Attorney Client   advice regarding
_2194                                                                            David Markatos       company(ies)                       customer
                                                                                                                                         account/dispute.
                                                                                                      Employee(s) of
                                                                                                                                         Reflects need
                                                                                                      NuCO2 and its
                                                                                                                                         for/provision of legal
NuCO2_Priv                                                                       Felicia Gallagher;   affiliated
             MSG        8/7/2017 9:35   John Templin       Damarie Cortez                                              Attorney Client   advice regarding
_2195                                                                            David Markatos       company(ies)                       customer
                                                                                                                                         account/dispute.
                                                                                                      Employee(s) of
                                                                                                      NuCO2 and                          Communications
NuCO2_Priv              8/8/2017                           Collections - Lisa                         NuCO2’s debt     Settlement        regarding strategy for
             msg                        Tina Miskova
_2196                   13:23                              Henry                                      collection       Negotiations      settling customer
                                                                                                      company                            dispute.

                                                                                                      Employee(s) of
                                                                                                      NuCO2 and                          Communications
NuCO2_Priv              8/8/2017        Coll. Svcs -       Collections - Lisa                         NuCO2’s debt     Settlement        regarding strategy for
             msg
_2197                   13:23           Dannielle Coates   Henry                                      collection       Negotiations      settling customer
                                                                                                      company                            dispute.

                                                                                                      Employee(s) of
                                                                                                      NuCO2 and                          Communications
NuCO2_Priv              8/8/2017        Coll. Svcs -                                                  NuCO2’s debt     Settlement        regarding strategy for
             PDF                                           Damarie Cortez        Gail Donahue
_2198                   13:23           Dannielle Coates                                              collection       Negotiations      settling customer
                                                                                                      company                            dispute.




                                                                           401
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 403 of
                                                         573


                                                                                               Employee(s) of
                                                                                               NuCO2 and its                   Communications
NuCO2_Priv             8/8/2017    Coll. Svcs -                                                affiliated       Settlement     regarding strategy for
             MSG                                      Damarie Cortez          Gail Donahue
_2199                  13:23       Dannielle Coates                                            company(ies)     Negotiations   settling customer
                                                                                                                               dispute.

                                                                                               Employee(s) of
                                                                                                                               Reflects
                                                                                               NuCO2 and its
                                                                                                                               communications
NuCO2_Priv             8/17/2017                                                               affiliated       Settlement
             MSG                   IT - IT Docs       Gail Donahue            Damarie Cortez                                   regarding settlement
_2200                  10:00                                                                   company(ies)     Negotiations
                                                                                                                               concerning customer
                                                                                                                               dispute.
                                                                                               Employee(s) of
                                                                                                                               Reflects
                                                                                               NuCO2 and its
                                                                                                                               communications
NuCO2_Priv             8/17/2017                                                               affiliated       Settlement
             pdf                   IT - IT Docs       Gail Donahue            Damarie Cortez                                   regarding settlement
_2201                  10:00                                                                   company(ies)     Negotiations
                                                                                                                               concerning customer
                                                                                                                               dispute.
                                                                                               Employee(s) of
                                                                                               NuCO2 and                       Reflects
                                                                                                                               communications
NuCO2_Priv             8/21/2017                                                               NuCO2’s debt     Settlement
             pdf                   Gail Donahue       'Peter Parisey'         Damarie Cortez                                   regarding settlement
_2202                  14:41                                                                   collection       Negotiations
                                                                                                                               concerning customer
                                                                                               company                         dispute.

                                                                                               Employee(s) of
                                                                                               NuCO2 and                       Reflects
                                                                                                                               communications
NuCO2_Priv             8/21/2017                                                               NuCO2’s debt     Settlement
             MSG                   Gail Donahue       'Peter Parisey'         Damarie Cortez                                   regarding settlement
_2203                  14:41                                                                   collection       Negotiations
                                                                                                                               concerning customer
                                                                                               company                         dispute.

                                                                                               Employee(s) of
                                                                                               NuCO2 and                       Reflects
                                                                                                                               communications
NuCO2_Priv             8/25/2017                                                               NuCO2’s debt     Settlement
             pdf                   Gail Donahue       'Peter Parisey'         Damarie Cortez                                   regarding settlement
_2204                  13:53                                                                   collection       Negotiations
                                                                                                                               concerning customer
                                                                                               company                         dispute.




                                                                        402
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 404 of
                                                         573


                                                                                               Employee(s) of
                                                                                               NuCO2 and                       Reflects
                                                                                                                               communications
NuCO2_Priv             8/25/2017                                                               NuCO2’s debt     Settlement
             MSG                   Gail Donahue   'Peter Parisey'         Damarie Cortez                                       regarding settlement
_2205                  13:53                                                                   collection       Negotiations
                                                                                                                               concerning customer
                                                                                               company                         dispute.

                                                                                               Employee(s) of
                                                                                               NuCO2 and                       Reflects
                                                                                                                               communications
NuCO2_Priv             8/29/2017                                                               NuCO2’s debt     Settlement
             MSG                   Gail Donahue   'Peter Parisey'         Damarie Cortez                                       regarding settlement
_2206                  14:43                                                                   collection       Negotiations
                                                                                                                               concerning customer
                                                                                               company                         dispute.

                                                                                               Employee(s) of
                                                                                               NuCO2 and                       Reflects
                                                                                                                               communications
NuCO2_Priv             8/29/2017                                                               NuCO2’s debt     Settlement
             pdf                   Gail Donahue   'Peter Parisey'         Damarie Cortez                                       regarding settlement
_2207                  14:43                                                                   collection       Negotiations
                                                                                                                               concerning customer
                                                                                               company                         dispute.

                                                                                               Employee(s) of
                                                                                               NuCO2 and                       Reflects
                                                                                                                               communications
NuCO2_Priv             8/29/2017                                                               NuCO2’s debt     Settlement
             pdf                   Gail Donahue   'Peter Parisey'         Damarie Cortez                                       regarding settlement
_2208                  14:43                                                                   collection       Negotiations
                                                                                                                               concerning customer
                                                                                               company                         dispute.

                                                                                               Employee(s) of
                                                                                               NuCO2 and                       Reflects
                                                                                                                               communications
NuCO2_Priv             9/14/2017                                          Sarah N. Dezainde;   NuCO2’s debt     Settlement
             MSG                   Gail Donahue   'Peter Parisey'                                                              regarding settlement
_2209                  9:11                                               Damarie Cortez       collection       Negotiations
                                                                                                                               concerning customer
                                                                                               company                         dispute.

                                                                                               Employee(s) of
                                                                                               NuCO2 and                       Reflects
                                                                                                                               communications
NuCO2_Priv             9/14/2017                                          Sarah N. Dezainde;   NuCO2’s debt     Settlement
             pdf                   Gail Donahue   'Peter Parisey'                                                              regarding settlement
_2210                  9:11                                               Damarie Cortez       collection       Negotiations
                                                                                                                               concerning customer
                                                                                               company                         dispute.




                                                                    403
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 405 of
                                                         573


                                                                                             Employee(s) of
                                                                                             NuCO2 and                       Reflects
                                                                                                                             communications
NuCO2_Priv             10/12/2017                                                            NuCO2’s debt     Settlement
             pdf                    Gail Donahue   'Peter Parisey'         Damarie Cortez                                    regarding settlement
_2211                  12:00                                                                 collection       Negotiations
                                                                                                                             concerning customer
                                                                                             company                         dispute.

                                                                                             Employee(s) of
                                                                                             NuCO2 and                       Reflects
                                                                                                                             communications
NuCO2_Priv             10/12/2017                                                            NuCO2’s debt     Settlement
             pdf                    Gail Donahue   'Peter Parisey'         Damarie Cortez                                    regarding settlement
_2212                  12:00                                                                 collection       Negotiations
                                                                                                                             concerning customer
                                                                                             company                         dispute.

                                                                                             Employee(s) of
                                                                                             NuCO2 and                       Reflects
                                                                                                                             communications
NuCO2_Priv             10/12/2017                                                            NuCO2’s debt     Settlement
             MSG                    Gail Donahue   'Peter Parisey'         Damarie Cortez                                    regarding settlement
_2213                  12:00                                                                 collection       Negotiations
                                                                                                                             concerning customer
                                                                                             company                         dispute.

                                                                                             Employee(s) of
                                                                                             NuCO2 and                       Communications
                                                   'customer
NuCO2_Priv             10/20/2017                                                            NuCO2’s debt     Settlement     regarding strategy for
             MSG                    Gail Donahue   service2';              Nancy L. Rainey
_2214                  8:27                                                                  collection       Negotiations   settling customer
                                                   Damarie Cortez
                                                                                             company                         dispute.

                                                                                             Employee(s) of
                                                                                             NuCO2 and                       Communications
                                                   'customer
NuCO2_Priv             10/20/2017                                                            NuCO2’s debt     Settlement     regarding strategy for
             pdf                    Gail Donahue   service2';              Nancy L. Rainey
_2215                  8:27                                                                  collection       Negotiations   settling customer
                                                   Damarie Cortez
                                                                                             company                         dispute.

                                                                                             Employee(s) of
                                                                                             NuCO2 and                       Communications
                                                   'customer
NuCO2_Priv             10/20/2017                                                            NuCO2’s debt     Settlement     regarding strategy for
             PDF                    Gail Donahue   service2';              Nancy L. Rainey
_2216                  8:27                                                                  collection       Negotiations   settling customer
                                                   Damarie Cortez
                                                                                             company                         dispute.




                                                                     404
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 406 of
                                                          573


                                                                                                Employee(s) of
                                                                                                                                   Reflects attorney
                                                                                                NuCO2 and its
                                                                                                                 Attorney          Communications
NuCO2_Priv              11/17/2017                                                              affiliated
             xlsx                    Dominick Nigra    Damarie Cortez                                            Client/Work       and/or attorney work
_2217                   14:25                                                                   company(ies)     Product           product regarding
                                                                                                                                   acquisition.
                                                                                                Employee(s) of                     Reflects need
                                                                                                NuCO2 and its                      for/provision of legal
NuCO2_Priv              11/7/2017                                                               affiliated                         advice regarding
             MSG                     Brian D. Potter   Rosario Larson         Damarie Cortez                     Attorney Client
_2218                   16:27                                                                   company(ies)                       strategy concerning
                                                                                                                                   customer/competitor
                                                                                                                                   disputes.
                                                                                                Employee(s) of
                                                                                                NuCO2 and                          Communications
                                                       'customer
NuCO2_Priv              12/1/2017                                                               NuCO2’s debt     Settlement        regarding strategy for
             MSG                     Gail Donahue      service2';             Nancy L. Rainey
_2219                   12:28                                                                   collection       Negotiations      settling customer
                                                       Damarie Cortez
                                                                                                company                            dispute.

                                                                                                Employee(s) of
                                                                                                NuCO2 and                          Communications
                                                       'customer
NuCO2_Priv              12/1/2017                                                               NuCO2’s debt     Settlement        regarding strategy for
             PDF                     Gail Donahue      service2';             Nancy L. Rainey
_2220                   12:28                                                                   collection       Negotiations      settling customer
                                                       Damarie Cortez
                                                                                                company                            dispute.

                                                                                                Employee(s) of
                                                                                                NuCO2 and                          Communications
                                                       'customer
NuCO2_Priv              12/1/2017                                                               NuCO2’s debt     Settlement        regarding strategy for
             pdf                     Gail Donahue      service2';             Nancy L. Rainey
_2221                   12:28                                                                   collection       Negotiations      settling customer
                                                       Damarie Cortez
                                                                                                company                            dispute.

                                                                                                Employee(s) of
                                                                                                NuCO2 and                          Communications
                                                       'customer
NuCO2_Priv              12/1/2017                                                               NuCO2’s debt     Settlement        regarding strategy for
             pdf                     Gail Donahue      service2';             Nancy L. Rainey
_2222                   12:28                                                                   collection       Negotiations      settling customer
                                                       Damarie Cortez
                                                                                                company                            dispute.




                                                                        405
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 407 of
                                                         573


                                                                                         Employee(s) of
                                                                                         NuCO2 and                       Communications
                                                    'customer
NuCO2_Priv             12/1/2017                                                         NuCO2’s debt     Settlement     regarding strategy for
             pdf                    Gail Donahue    service2';         Nancy L. Rainey
_2223                  12:28                                                             collection       Negotiations   settling customer
                                                    Damarie Cortez
                                                                                         company                         dispute.

                                                                                         Employee(s) of
                                                                                         NuCO2 and                       Communications
                                                    'customer
NuCO2_Priv             12/1/2017                                                         NuCO2’s debt     Settlement     regarding strategy for
             pdf                    Gail Donahue    service2';         Nancy L. Rainey
_2224                  12:28                                                             collection       Negotiations   settling customer
                                                    Damarie Cortez
                                                                                         company                         dispute.

                                                                                         Employee(s) of
                                                                                         NuCO2                           Communications
NuCO2_Priv             12/15/2017                                                                         Settlement     regarding strategy for
             MSG                    Gail Donahue    Damarie Cortez
_2225                  14:54                                                                              Negotiations   settling customer
                                                                                                                         dispute.

                                                                                         Employee(s) of
                                                                                         NuCO2                           Communications
NuCO2_Priv             12/15/2017                                                                         Settlement     regarding strategy for
             pdf                    Gail Donahue    Damarie Cortez
_2226                  14:54                                                                              Negotiations   settling customer
                                                                                                                         dispute.

                                                                                         Employee(s) of
                                                                                         NuCO2 and                       Communications
NuCO2_Priv             1/11/2018    Cust. Svcs -                                         NuCO2’s debt     Settlement     regarding strategy for
             pdf                                    Damarie Cortez     Gail Donahue
_2227                  16:12        Kathie Coates                                        collection       Negotiations   settling customer
                                                                                         company                         dispute.

                                                                                         Employee(s) of
                                                                                         NuCO2 and                       Communications
NuCO2_Priv             1/11/2018    Cust. Svcs -                                         NuCO2’s debt     Settlement     regarding strategy for
             PDF                                    Damarie Cortez     Gail Donahue
_2228                  16:12        Kathie Coates                                        collection       Negotiations   settling customer
                                                                                         company                         dispute.




                                                                 406
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 408 of
                                                         573


                                                                                             Employee(s) of
                                                                                            NuCO2 and
                                                                                                                             Communications
                                                                                            NuCO2’s debt
NuCO2_Priv             1/11/2018   Cust. Svcs -                                                               Settlement     regarding strategy for
             MSG                                   Damarie Cortez          Gail Donahue     collection
_2229                  16:12       Kathie Coates                                                              Negotiations   settling customer
                                                                                            company                          dispute.


                                                                                            Employee(s) of                   Reflects attorney
                                                                                            NuCO2                            Communicationss/or
NuCO2_Priv             1/9/2018                                                                               Settlement     attorney work product
             MSG                   IT - IT Docs    Gail Donahue            Damarie Cortez
_2230                  20:34                                                                                  Negotiations   regarding settlement
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                            Employee(s) of                   Reflects attorney
                                                                                            NuCO2                            Communicationss/or
NuCO2_Priv             1/9/2018                                                                               Settlement     attorney work product
             pdf                   IT - IT Docs    Gail Donahue            Damarie Cortez
_2231                  20:34                                                                                  Negotiations   regarding settlement
                                                                                                                             concerning customer
                                                                                                                             dispute.
                                                                                            Employee(s) of
                                                                                            NuCO2 and                        Reflects
                                                                                                                             communications
NuCO2_Priv             2/27/2018                                                            NuCO2’s debt      Settlement
             MSG                   Gail Donahue    'Peter Parisey'         Damarie Cortez                                    regarding settlement
_2232                  15:03                                                                collection        Negotiations
                                                                                                                             concerning customer
                                                                                            company                          dispute.

                                                                                            Employee(s) of
                                                                                            NuCO2 and                        Reflects
                                                                                                                             communications
NuCO2_Priv             2/27/2018                                                            NuCO2’s debt      Settlement
             PDF                   Gail Donahue    'Peter Parisey'         Damarie Cortez                                    regarding settlement
_2233                  15:03                                                                collection        Negotiations
                                                                                                                             concerning customer
                                                                                            company                          dispute.

                                                                                            Employee(s) of
                                                                                            NuCO2 and                        Reflects
                                                                                                                             communications
NuCO2_Priv             2/27/2018                                                            NuCO2’s debt      Settlement
             pdf                   Gail Donahue    'Peter Parisey'         Damarie Cortez                                    regarding settlement
_2234                  15:03                                                                collection        Negotiations
                                                                                                                             concerning customer
                                                                                            company                          dispute.




                                                                     407
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 409 of
                                                          573


                                                                                           Employee(s) of
                                                                                                                               Reflects
                                                                                           NuCO2
                                                                                                                               communications
NuCO2_Priv              3/23/2017                    Catarina                                                Settlement
             pdf                    Damarie Cortez                          David Reyes                                        regarding settlement
_2235                   8:20                         Mendoza                                                 Negotiations
                                                                                                                               concerning customer
                                                                                                                               dispute.
                                                                                           Employee(s) of
                                                                                                                               Reflects
                                                                                           NuCO2
                                                                                                                               communications
NuCO2_Priv              3/23/2017                    Catarina                                                Settlement
             MSG                    Damarie Cortez                          David Reyes                                        regarding settlement
_2236                   8:20                         Mendoza                                                 Negotiations
                                                                                                                               concerning customer
                                                                                                                               dispute.

                                                                                                                               Reflects need
                                                                                            Employee(s) of
                                                                                                             Attorney          for/provision of legal
NuCO2_Priv              4/25/2017                    Kortlandt,                            NuCO2 and its
             MSG                    Damarie Cortez                                                           Client/Work       advice regarding
_2237                   14:47                        Catherine                             affiliated
                                                                                                             Product           customer
                                                                                           company(ies)
                                                                                                                               account/dispute.
                                                                                            Employee(s) of
                                                                                           NuCO2 and                           Reflects
                                                                                           NuCO2’s debt                        communications
NuCO2_Priv              7/28/2017                    Coll. Svcs -                                            Settlement
             MSG                    Damarie Cortez                          Gail Donahue   collection                          regarding settlement
_2238                   14:16                        Dannielle Coates                                        Negotiations
                                                                                           company                             concerning customer
                                                                                                                               dispute.

                                                                                                                               Reflects need
                                                                                                                               for/provision of legal
NuCO2_Priv              11/2/2017                                                          Employee(s) of                      advice regarding
             docx                   Damarie Cortez   Rosario Larson                                          Attorney Client
_2239                   13:54                                                              NuCO2                               strategy concerning
                                                                                                                               customer/competitor
                                                                                                                               disputes.
                                                                                                                               Reflects need
                                                                                                                               for/provision of legal
NuCO2_Priv              11/2/2017                                                          Employee(s) of                      advice regarding
             MSG                    Damarie Cortez   Rosario Larson                                          Attorney Client
_2240                   13:54                                                              NuCO2                               strategy concerning
                                                                                                                               customer/competitor
                                                                                                                               disputes.




                                                                      408
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 410 of
                                                          573


                                                                                                   Employee(s) of
                                                                                                   NuCO2 and                           Reflects
                                                                                                                                       communications
NuCO2_Priv              1/3/2018                                                                   attorney(s) for   Settlement
             PDF                     Damarie Cortez      Andrew Felker         Pamela Kane                                             regarding settlement
_2241                   15:04                                                                      NuCO2’s           Negotiations
                                                                                                                                       concerning customer
                                                                                                   customer(s)                         dispute.

                                                                                                   Employee(s) of
                                                                                                   NuCO2 and                           Reflects
                                                                                                                                       communications
NuCO2_Priv              1/3/2018                                                                   attorney(s) for   Settlement
             PDF                     Damarie Cortez      Andrew Felker         Pamela Kane                                             regarding settlement
_2242                   15:04                                                                      NuCO2’s           Negotiations
                                                                                                                                       concerning customer
                                                                                                   customer(s)                         dispute.

                                                                                                   Employee(s) of
                                                                                                   NuCO2 and                           Reflects
                                                                                                                                       communications
NuCO2_Priv              1/3/2018                                                                   attorney(s) for   Settlement
             MSG                     Damarie Cortez      Andrew Felker         Pamela Kane                                             regarding settlement
_2243                   15:04                                                                      NuCO2’s           Negotiations
                                                                                                                                       concerning customer
                                                                                                   customer(s)                         dispute.

                                                                                                   Employee(s) of                      Reflects need
                                                                                                   NuCO2 and its                       for/provision of legal
                                                         Brian D. Potter;
NuCO2_Priv              3/4/2019                                                                   affiliated                          advice regarding
             MSG                     Rodney Husbands     Markatos, David;      Felicia Gallagher                     Attorney Client
_2244                   14:17                                                                      company(ies)                        strategy concerning
                                                         Volmer, Tamara
                                                                                                                                       customer/competitor
                                                                                                                                       disputes.
                                                                                                   Employee(s) of                      Reflects attorney
                                                         Felicia Gallagher;
                                                                                                   NuCO2 and its                       Communicationss/or
                                                         John Templin;
                                                                                                   affiliated        Attorney          attorney work product
NuCO2_Priv              1/15/2019                        Derek Burton;
             pptx                    Felicia Gallagher                                                               Client/Work       regarding insurance
_2245                   8:45                             Brian Catmull;                            company(ies)
                                                                                                                     Product           and legal matters and
                                                         Dominick
                                                                                                                                       acquisition and and
                                                         Brandow
                                                                                                                                       safety.
                                                         Eric Hansen;                              Employee(s) of
                                                         John Templin;                             NuCO2 and its                       Reflects confidential
                                                         Felicia Gallagher;                        affiliated        Attorney
NuCO2_Priv              10/22/2018                                                                                                     business and/or legal
             xlsx                    Eric Hansen         Dirk Horst;                                                 Client/Work
_2246                   11:21                                                                      company(ies)                        information regarding
                                                         Dominick                                                    Product
                                                                                                                                       non-party.
                                                         Brandow; Gerald
                                                         Miller


                                                                         409
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 411 of
                                                          573


                                                                                  Employee(s) of                 Reflects attorney
                                                                                  NuCO2 and its                  Communicationss/or
                                                            Felicia Gallagher;
                                                                                  affiliated       Attorney      attorney work product
NuCO2_Priv              7/11/2018                           Derek Burton;
             pptx                       Felicia Gallagher                                          Client/Work   regarding insurance
_2247                   16:10                               John Templin;         company(ies)
                                                                                                   Product       and legal matters and
                                                            Gerald Miller
                                                                                                                 acquisition and and
                                                                                                                 safety.
                                                                                  Employee(s) of
                                                                                                                 Reflects attorney
                                                                                  NuCO2 and its
                                                                                                   Attorney      Communications
NuCO2_Priv              12/17/2018                                                affiliated
             xlsx                       Stuart Luks         Felicia Gallagher                      Client/Work   and/or attorney work
_2248                   15:24                                                     company(ies)     Product       product regarding
                                                                                                                 acquisition.
                                                                                  Employee(s) of
                                                                                                                 Reflects attorney
                                                                                  NuCO2 and its
                                                                                                   Attorney      Communications
NuCO2_Priv              12/17/2018                                                affiliated
             MSG                        Stuart Luks         Felicia Gallagher                      Client/Work   and/or attorney work
_2249                   15:24                                                     company(ies)     Product       product regarding
                                                                                                                 acquisition.
                                                                                  Employee(s) of
                                                                                  NuCO2 and its                  Reflects confidential
                                                                                                   Attorney
NuCO2_Priv                                                                        affiliated                     business and/or legal
             MSG        1/9/2019 9:42   Stuart Luks         Felicia Gallagher                      Client/Work
_2250                                                                             company(ies)                   information regarding
                                                                                                   Product
                                                                                                                 non-party.

                                                                                  Employee(s) of
                                                                                  NuCO2 and its                  Reflects confidential
                                                                                                   Attorney
NuCO2_Priv                                                                        affiliated                     business and/or legal
             xlsx       1/9/2019 9:42   Stuart Luks         Felicia Gallagher                      Client/Work
_2251                                                                             company(ies)                   information regarding
                                                                                                   Product
                                                                                                                 non-party.

                                                                                  Employee(s) of                 Reflects attorney
                                                                                  NuCO2 and its                  Communicationss/or
                                                                                  affiliated       Attorney      attorney work product
NuCO2_Priv              1/15/2019                           Kevin Foti;
             pptx                       Felicia Gallagher                                          Client/Work   regarding insurance
_2252                   12:24                               Brown, Denny          company(ies)
                                                                                                   Product       and legal matters and
                                                                                                                 acquisition and and
                                                                                                                 safety.




                                                                            410
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 412 of
                                                          573


                                                                                                     Employee(s) of                 Reflects attorney
                                                         John Templin;                               NuCO2 and its                  Communicationss/or
                                                         Derek Burton;                               affiliated       Attorney      attorney work product
NuCO2_Priv              1/15/2019
             pptx                    Felicia Gallagher   Brian Catmull;                                               Client/Work   regarding insurance
_2253                   8:45                                                                         company(ies)
                                                         Dominick                                                     Product       and legal matters and
                                                         Brandow                                                                    acquisition and and
                                                                                                                                    safety.
                                                                                                     Employee(s) of                 Reflects attorney
                                                                                                     NuCO2 and its                  Communicationss/or
                                                         Vicari, Russell;                            affiliated       Attorney      attorney work product
NuCO2_Priv              1/14/2019
             pptx                    Felicia Gallagher   Andros, Melissa;                                             Client/Work   regarding insurance
_2254                   16:47                                                                        company(ies)
                                                         Kevin Foti                                                   Product       and legal matters and
                                                                                                                                    acquisition and and
                                                                                                                                    safety.
                                                                                                     Employee(s) of
                                                                                                     NuCO2 and its
                                                                                                                                    Communications
NuCO2_Priv              12/27/2018                                                                   affiliated       Accountant-
             MSG                     Felicia Gallagher   Ballerini, David                                                           regarding provision of
_2255                   12:48                                                                        company(ies)     Client
                                                                                                                                    accounting advice.

                                                                                                     Employee(s) of                 Reflects attorney
                                                                                                     NuCO2 and its                  Communicationss/or
                                                         Andros, Melissa;                            affiliated       Attorney      attorney work product
NuCO2_Priv              12/14/2018
             pptx                    Felicia Gallagher   Vicari, Russell;         Kevin Foti                          Client/Work   regarding insurance
_2256                   15:10                                                                        company(ies)
                                                         Sarna, Nihar                                                 Product       and legal matters and
                                                                                                                                    acquisition and and
                                                                                                                                    safety.
                                                                                                     Employee(s) of                 Reflects attorney
                                                                                                     NuCO2 and its                  Communicationss/or
                                                         Vicari, Russell;                            affiliated       Attorney      attorney work product
NuCO2_Priv              11/13/2018
             pptx                    Felicia Gallagher   Melissa_Andros           'Foti, Kevin'                       Client/Work   regarding insurance
_2257                   17:43                                                                        company(ies)
                                                         @Praxair.com                                                 Product       and legal matters and
                                                                                                                                    acquisition and and
                                                                                                                                    safety.
                                                                                                     Employee(s) of
                                                                                                     NuCO2 and its                  Reflects attorney
                                                                                                                      Attorney
NuCO2_Priv              10/12/2018                                                                   affiliated                     Communicationss/or
             pptx                    Felicia Gallagher   Eric Hansen              Dominick Brandow                    Client/Work
_2258                   10:11                                                                        company(ies)                   attorney work product
                                                                                                                      Product
                                                                                                                                    regarding legal matters.



                                                                            411
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 413 of
                                                          573


                                                                                                       Employee(s) of                  Reflects attorney
                                                                              Gerald Miller;           NuCO2 and its                   Communicationss/or
                                                         Vicari, Russell;     Gerald_Miller@praxair.   affiliated        Attorney      attorney work product
NuCO2_Priv              10/11/2018
             pdf                     Felicia Gallagher   Melissa_Andros       com;                                       Client/Work   regarding insurance
_2259                   9:48                                                                           company(ies)
                                                         @Praxair.com         Kevin_Foti@praxair.co                      Product       and legal matters and
                                                                              m                                                        acquisition and and
                                                                                                                                       safety.
                                                                                                       Employee(s) of                  Reflects attorney
                                                                              Gerald Miller;           NuCO2 and its                   Communicationss/or
                                                         Vicari, Russell;     Gerald_Miller@praxair.   affiliated        Attorney      attorney work product
NuCO2_Priv              10/11/2018
             pptx                    Felicia Gallagher   Melissa_Andros       com;                                       Client/Work   regarding insurance
_2260                   9:48                                                                           company(ies)
                                                         @Praxair.com         Kevin_Foti@praxair.co                      Product       and legal matters and
                                                                              m                                                        acquisition and and
                                                                                                                                       safety.
                                                         'eduardo_meneze
                                                                                                                                       Reflects attorney
                                                         s@praxair.com';
                                                                                                                                       Communicationss/or
                                                         'kevin_foti@prax                               Employee(s) of
                                                                                                                         Attorney      attorney work product
NuCO2_Priv              5/9/2018                         air.com';                                     NuCO2 and its
             pptx                    Felicia Gallagher                        Gerald Miller                              Client/Work   regarding insurance
_2261                   17:53                            'melissa_andros                               affiliated
                                                                                                                         Product       and legal matters and
                                                         @praxair.com';                                company(ies)
                                                                                                                                       acquisition and and
                                                         'russell_vicari@p
                                                                                                                                       safety.
                                                         raxair.com'




                                                                        412
                        Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 414 of
                                                              573




                                                                                             Relationship of
  Bates       Type of                                                                                                          Nature and Subject Matter of
                           Sent Date           Sender              To               CC      the Parties to the     Privilege
  Label      Document                                                                                                              the Communication
                                                                                             Communication

                                                                                            Employee(s) of
NuCO2_                    7/22/2016                                                         NuCO2                Attorney      Communication regarding
            MSG                        Edward Balzarini    Kathy Waters
Priv_2262                 8:01                                                                                   Client        litigation hold.

                                                           Felicia Gallagher;                                                  Reflects attorney
                                                                                            Employee(s) of
                                                           John Templin;                                         Attorney      communications and/or
NuCO2_                    1/15/2019                                                         NuCO2 and its
            pptx                       Felicia Gallagher   Derek Burton;                                         Client/Work   attorney work product
Priv_2263                 8:45                                                              affiliated
                                                           Brian Catmull;                                        Product       regarding legal matters and
                                                                                            company(ies)
                                                           Dominick Brandow                                                    acquisition and safety.
                                                                                                                               Reflects need for/provision of
                                                                                                                 Attorney      legal advice regarding
NuCO2_                    11/28/2018
            msg                        Heather Shepherd    Heather Shepherd                 Self                 Client/Work   negotiation/drafting of
Priv_2264                 10:31
                                                                                                                 Product       customer agreements/other
                                                                                                                               issues.
                                                                                                                               Reflects need for/provision of
                                                                                Heather     Employee(s) of
                                                                                                                 Attorney      legal advice regarding
NuCO2_                    11/28/2018                       Markatos, David;     Shepherd;   NuCO2 and its
            msg                        Heather Shepherd                                                          Client/Work   negotiation/drafting of
Priv_2265                 10:31                            Riley, Robin K       John        affiliated
                                                                                                                 Product       customer agreements/other
                                                                                Templin     company(ies)
                                                                                                                               issues.
                                       /O=NUCO2/OU=E
                                       XCHANGE
                                                                                                                               Reflects need for/provision of
                                       ADMINISTRATIVE                                       Employee(s) of
                                                                                                                 Attorney      legal advice regarding
NuCO2_                    11/28/2018   GROUP               Heather Shepherd;                NuCO2
            docx                                                                                                 Client/Work   negotiation/drafting of
Priv_2266                 10:31        (FYDIBOHF23SPDL     John Templin
                                                                                                                 Product       customer agreements/other
                                       T)/CN=RECIPIENTS
                                                                                                                               issues.
                                       /CN=HEATHER
                                       SHEPHERDFCE
                                       /O=NUCO2/OU=E                                        Employee(s) of                     Reflects need for/provision of
                                       XCHANGE                                              NuCO2                Attorney      legal advice regarding
NuCO2_                    11/28/2018                       Heather Shepherd;
            pdf                        ADMINISTRATIVE                                                            Client/Work   negotiation/drafting of
Priv_2267                 10:31                            John Templin
                                       GROUP                                                                     Product       customer agreements/other
                                       (FYDIBOHF23SPDL                                                                         issues.

                                                                          413
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 415 of
                                                         573


                                  T)/CN=RECIPIENTS
                                  /CN=HEATHER
                                  SHEPHERDFCE

                                  /O=NUCO2/OU=E                           Employee(s) of
                                  XCHANGE                                 NuCO2
                                                                                                         Reflects need for/provision of
                                  ADMINISTRATIVE
                                                                                           Attorney      legal advice regarding
NuCO2_               11/28/2018   GROUP              Heather Shepherd;
            pdf                                                                            Client/Work   negotiation/drafting of
Priv_2268            10:31        (FYDIBOHF23SPDL    John Templin
                                                                                           Product       customer agreements/other
                                  T)/CN=RECIPIENTS
                                                                                                         issues.
                                  /CN=HEATHER
                                  SHEPHERDFCE
                                                                          Employee(s) of                 Reflects need for/provision of
                                                                          NuCO2            Attorney      legal advice regarding
NuCO2_               11/28/2018                      Heather Shepherd;
            docx                  Heather Shepherd                                         Client/Work   negotiation/drafting of
Priv_2269            10:31                           John Templin
                                                                                           Product       customer agreements/other
                                                                                                         issues.
                                                                          Employee(s) of                 Reflects need for/provision of
                                                                          NuCO2            Attorney      legal advice regarding
NuCO2_               11/28/2018                      Heather Shepherd;
            xlsx                  Heather Shepherd                                         Client/Work   negotiation/drafting of
Priv_2270            10:31                           John Templin
                                                                                           Product       customer agreements/other
                                                                                                         issues.
                                  /O=NUCO2/OU=E                           Employee(s) of
                                  XCHANGE                                 NuCO2
                                                                                                         Reflects need for/provision of
                                  ADMINISTRATIVE
                                                                                           Attorney      legal advice regarding
NuCO2_               11/28/2018   GROUP              Heather Shepherd;
            msg                                                                            Client/Work   negotiation/drafting of
Priv_2271            10:31        (FYDIBOHF23SPDL    John Templin
                                                                                           Product       customer agreements/other
                                  T)/CN=RECIPIENTS
                                                                                                         issues.
                                  /CN=HEATHER
                                  SHEPHERDFCE
                                  /O=NUCO2/OU=E                           Employee(s) of
                                  XCHANGE                                 NuCO2
                                                                                                         Reflects need for/provision of
                                  ADMINISTRATIVE
                                                                                           Attorney      legal advice regarding
NuCO2_               11/28/2018   GROUP              Heather Shepherd;
            msg                                                                            Client/Work   negotiation/drafting of
Priv_2272            10:31        (FYDIBOHF23SPDL    John Templin
                                                                                           Product       customer agreements/other
                                  T)/CN=RECIPIENTS
                                                                                                         issues.
                                  /CN=HEATHER
                                  SHEPHERDFCE




                                                                    414
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 416 of
                                                        573


                                                                         Employee(s) of                 Reflects need for/provision of
                                                                         NuCO2            Attorney      legal advice regarding
NuCO2_              11/28/2018                      Heather Shepherd;
            msg                  Heather Shepherd                                         Client/Work   negotiation/drafting of
Priv_2273           10:31                           John Templin
                                                                                          Product       customer agreements/other
                                                                                                        issues.
                                 /O=NUCO2/OU=E                           Employee(s) of
                                 XCHANGE                                 NuCO2
                                                                                                        Reflects need for/provision of
                                 ADMINISTRATIVE
                                                                                          Attorney      legal advice regarding
NuCO2_              11/28/2018   GROUP              Heather Shepherd;
            msg                                                                           Client/Work   negotiation/drafting of
Priv_2274           10:31        (FYDIBOHF23SPDL    John Templin
                                                                                          Product       customer agreements/other
                                 T)/CN=RECIPIENTS
                                                                                                        issues.
                                 /CN=HEATHER
                                 SHEPHERDFCE
                                 /O=NUCO2/OU=E                           Employee(s) of
                                 XCHANGE                                 NuCO2
                                                                                                        Reflects need for/provision of
                                 ADMINISTRATIVE
                                                                                          Attorney      legal advice regarding
NuCO2_              11/28/2018   GROUP              Heather Shepherd;
            msg                                                                           Client/Work   negotiation/drafting of
Priv_2275           10:31        (FYDIBOHF23SPDL    John Templin
                                                                                          Product       customer agreements/other
                                 T)/CN=RECIPIENTS
                                                                                                        issues.
                                 /CN=HEATHER
                                 SHEPHERDFCE
                                 /O=NUCO2/OU=E                           Employee(s) of
                                 XCHANGE                                 NuCO2
                                                                                                        Reflects need for/provision of
                                 ADMINISTRATIVE
                                                                                          Attorney      legal advice regarding
NuCO2_              11/28/2018   GROUP              Heather Shepherd;
            msg                                                                           Client/Work   negotiation/drafting of
Priv_2276           10:31        (FYDIBOHF23SPDL    John Templin
                                                                                          Product       customer agreements/other
                                 T)/CN=RECIPIENTS
                                                                                                        issues.
                                 /CN=HEATHER
                                 SHEPHERDFCE
                                                                         Employee(s) of                 Reflects need for/provision of
                                                                         NuCO2            Attorney      legal advice regarding
NuCO2_              11/28/2018
            msg                                                                           Client/Work   negotiation/drafting of
Priv_2277           10:31
                                                                                          Product       customer agreements/other
                                                                                                        issues.
                                 /O=NUCO2/OU=E                           Employee(s) of
                                 XCHANGE                                 NuCO2                          Reflects need for/provision of
                                 ADMINISTRATIVE                                           Attorney      legal advice regarding
NuCO2_              11/28/2018                      Heather Shepherd;
            msg                  GROUP                                                    Client/Work   negotiation/drafting of
Priv_2278           10:31                           John Templin
                                 (FYDIBOHF23SPDL                                          Product       customer agreements/other
                                 T)/CN=RECIPIENTS                                                       issues.
                                 /CN=HEATHER


                                                                   415
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 417 of
                                                         573


                                  SHEPHERDFCE




                                  /O=NUCO2/OU=E                                     Employee(s) of
                                  XCHANGE                                           NuCO2
                                                                                                                   Reflects need for/provision of
                                  ADMINISTRATIVE
                                                                                                     Attorney      legal advice regarding
NuCO2_               11/28/2018   GROUP              Heather Shepherd;
            msg                                                                                      Client/Work   negotiation/drafting of
Priv_2279            10:31        (FYDIBOHF23SPDL    John Templin
                                                                                                     Product       customer agreements/other
                                  T)/CN=RECIPIENTS
                                                                                                                   issues.
                                  /CN=HEATHER
                                  SHEPHERDFCE
                                  /O=NUCO2/OU=E                                     Employee(s) of
                                  XCHANGE                                           NuCO2
                                                                                                                   Reflects need for/provision of
                                  ADMINISTRATIVE
                                                                                                     Attorney      legal advice regarding
NuCO2_               11/28/2018   GROUP              Heather Shepherd;
            xlsx                                                                                     Client/Work   negotiation/drafting of
Priv_2280            10:31        (FYDIBOHF23SPDL    John Templin
                                                                                                     Product       customer agreements/other
                                  T)/CN=RECIPIENTS
                                                                                                                   issues.
                                  /CN=HEATHER
                                  SHEPHERDFCE
                                                                                    Employee(s) of
                                                                                                                   Reflects need for/provision of
                                                                                    NuCO2 and
                                                                                                     Attorney      legal advice regarding
NuCO2_               11/28/2018                                           John F.   NuCO2’s
            msg                   Chase Grubb        Heather Shepherd                                Client/Work   negotiation/drafting of
Priv_2281            10:31                                                Hamra     customer(s)
                                                                                                     Product       customer agreements/other
                                                                                                                   issues.
                                                                                                                   Reflects need for/provision of
                                                                                                     Attorney      legal advice regarding
NuCO2_               11/28/2018                                                     Employee(s) of
            msg                   Kyle Brown         Heather Shepherd                                Client/Work   negotiation/drafting of
Priv_2282            10:31                                                          NuCO2
                                                                                                     Product       customer agreements/other
                                                                                                                   issues.
                                                                                                                   Reflects need for/provision of
                                                                                                     Attorney      legal advice regarding
NuCO2_               11/28/2018
            msg                   Heather Shepherd   Heather Shepherd               Self             Client/Work   negotiation/drafting of
Priv_2283            10:31
                                                                                                     Product       customer agreements/other
                                                                                                                   issues.
                                  /O=NUCO2/OU=E                                     Employee(s) of                 Reflects need for/provision of
                                                                                    NuCO2            Attorney
NuCO2_               11/28/2018   XCHANGE            Heather Shepherd;                                             legal advice regarding
            xlsx                                                                                     Client/Work
Priv_2284            10:31        ADMINISTRATIVE     John Templin                                                  negotiation/drafting of
                                                                                                     Product
                                  GROUP                                                                            customer agreements/other


                                                                    416
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 418 of
                                                         573


                                  (FYDIBOHF23SPDL                                                        issues.
                                  T)/CN=RECIPIENTS
                                  /CN=HEATHER
                                  SHEPHERDFCE
                                  /O=NUCO2/OU=E                           Employee(s) of
                                  XCHANGE                                 NuCO2
                                                                                                         Reflects need for/provision of
                                  ADMINISTRATIVE
                                                                                           Attorney      legal advice regarding
NuCO2_               11/28/2018   GROUP              Heather Shepherd;
            xlsm                                                                           Client/Work   negotiation/drafting of
Priv_2285            10:31        (FYDIBOHF23SPDL    John Templin
                                                                                           Product       customer agreements/other
                                  T)/CN=RECIPIENTS
                                                                                                         issues.
                                  /CN=HEATHER
                                  SHEPHERDFCE
                                  /O=NUCO2/OU=E                           Employee(s) of
                                  XCHANGE                                 NuCO2
                                                                                                         Reflects need for/provision of
                                  ADMINISTRATIVE
                                                                                           Attorney      legal advice regarding
NuCO2_               11/28/2018   GROUP              Heather Shepherd;
            docx                                                                           Client/Work   negotiation/drafting of
Priv_2286            10:31        (FYDIBOHF23SPDL    John Templin
                                                                                           Product       customer agreements/other
                                  T)/CN=RECIPIENTS
                                                                                                         issues.
                                  /CN=HEATHER
                                  SHEPHERDFCE
                                  /O=NUCO2/OU=E                           Employee(s) of
                                  XCHANGE                                 NuCO2
                                                                                                         Reflects need for/provision of
                                  ADMINISTRATIVE
                                                                                           Attorney      legal advice regarding
NuCO2_               11/28/2018   GROUP              Heather Shepherd;
            pdf                                                                            Client/Work   negotiation/drafting of
Priv_2287            10:31        (FYDIBOHF23SPDL    John Templin
                                                                                           Product       customer agreements/other
                                  T)/CN=RECIPIENTS
                                                                                                         issues.
                                  /CN=HEATHER
                                  SHEPHERDFCE
                                  /O=NUCO2/OU=E                           Employee(s) of
                                  XCHANGE                                 NuCO2
                                                                                                         Reflects need for/provision of
                                  ADMINISTRATIVE
                                                                                           Attorney      legal advice regarding
NuCO2_               11/28/2018   GROUP              Heather Shepherd;
            pdf                                                                            Client/Work   negotiation/drafting of
Priv_2288            10:31        (FYDIBOHF23SPDL    John Templin
                                                                                           Product       customer agreements/other
                                  T)/CN=RECIPIENTS
                                                                                                         issues.
                                  /CN=HEATHER
                                  SHEPHERDFCE
                                  /O=NUCO2/OU=E                           Employee(s) of                 Reflects need for/provision of
                                                                          NuCO2            Attorney
NuCO2_               11/28/2018   XCHANGE            Heather Shepherd;                                   legal advice regarding
            docx                                                                           Client/Work
Priv_2289            10:31        ADMINISTRATIVE     John Templin                                        negotiation/drafting of
                                                                                           Product
                                  GROUP                                                                  customer agreements/other


                                                                    417
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 419 of
                                                         573


                                  (FYDIBOHF23SPDL                                                         issues.
                                  T)/CN=RECIPIENTS
                                  /CN=HEATHER
                                  SHEPHERDFCE
                                  /O=NUCO2/OU=E                            Employee(s) of
                                  XCHANGE                                  NuCO2
                                                                                                          Reflects need for/provision of
                                  ADMINISTRATIVE
                                                                                            Attorney      legal advice regarding
NuCO2_               11/28/2018   GROUP               Heather Shepherd;
            docx                                                                            Client/Work   negotiation/drafting of
Priv_2290            10:31        (FYDIBOHF23SPDL     John Templin
                                                                                            Product       customer agreements/other
                                  T)/CN=RECIPIENTS
                                                                                                          issues.
                                  /CN=HEATHER
                                  SHEPHERDFCE
                                                                           Employee(s) of                 Reflects need for/provision of
                                                                           NuCO2            Attorney      legal advice regarding
NuCO2_               11/28/2018                       Heather Shepherd;
            pdf                   Kyle Brown                                                Client/Work   negotiation/drafting of
Priv_2291            10:31                            John Templin
                                                                                            Product       customer agreements/other
                                                                                                          issues.
                                                                           Employee(s) of                 Reflects need for/provision of
                                                                           NuCO2            Attorney      legal advice regarding
NuCO2_               11/28/2018                       Heather Shepherd;
            MSG                   Heather Shepherd                                          Client/Work   negotiation/drafting of
Priv_2292            10:31                            John Templin
                                                                                            Product       customer agreements/other
                                                                                                          issues.
                                                      Eric Hansen; John    Employee(s) of
                                                      Templin; Felicia     NuCO2 and its
                                                                                            Attorney      Reflects confidential business
NuCO2_               10/22/2018                       Gallagher; Dirk      affiliated
            xlsx                  Eric Hansen                                               Client/Work   and/or legal information
Priv_2293            11:21                            Horst; Dominick      company(ies)
                                                                                            Product       regarding non-party.
                                                      Brandow; Gerald
                                                      Miller
                                                                           Employee(s) of                 Reflects attorney
                                                      Felicia Gallagher;
                                                                           NuCO2 and its    Attorney      communications and/or
NuCO2_               7/11/2018                        Derek Burton; John
            pptx                  Felicia Gallagher                        affiliated       Client/Work   attorney work product
Priv_2294            16:10                            Templin; Gerald
                                                                           company(ies)     Product       regarding legal matters and
                                                      Miller
                                                                                                          acquisition and safety.
                                                                           Employee(s) of                 Reflects attorney
                                                      Bridget Correa;
                                                                           NuCO2 and its                  communications and/or
NuCO2_               6/13/2018                        John Templin;                         Attorney
            MSG                   Bridget Correa                           affiliated                     attorney work product
Priv_2295            16:25                            David_Markatos@                       Client
                                                                           company(ies)                   regarding settlement
                                                      Praxair.com
                                                                                                          concerning customer dispute.




                                                                     418
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 420 of
                                                         573


                                                                                          Employee(s) of                 Reflects attorney
                                                       Bridget Correa;
                                                                                          NuCO2 and its                  communications and/or
NuCO2_               6/13/2018                         John Templin;                                       Attorney
            xlsx                 Bridget Correa                                           affiliated                     attorney work product
Priv_2296            16:25                             David_Markatos@                                     Client
                                                                                          company(ies)                   regarding settlement
                                                       Praxair.com
                                                                                                                         concerning customer dispute.
                                                                                          Employee(s) of                 Reflects attorney
                                                                                          NuCO2 and its                  communications and/or
NuCO2_               6/13/2018   David_Markatos@Prax   Bridget Correa;                                     Attorney
            msg                                                                           affiliated                     attorney work product
Priv_2297            16:25       air.com               John Templin                                        Client
                                                                                          company(ies)                   regarding settlement
                                                                                                                         concerning customer dispute.
                                                       Felicia Gallagher;                 Employee(s) of
                                                                                                                         Reflects attorney
                                                       Gerald Miller; Jeff                NuCO2 and its
                                                                                                           Attorney      communications and/or
NuCO2_               6/13/2018                         Gilheney; Derek                    affiliated
            pptx                 Felicia Gallagher                                                         Client/Work   attorney work product
Priv_2298            7:41                              Burton; John                       company(ies)
                                                                                                           Product       regarding legal matters and
                                                       Templin; Richard
                                                                                                                         acquisition and safety.
                                                       Wilkie
                                                                               Gerald     Employee(s) of
                                                                                                                         Reflects attorney
                                                                               Miller;    NuCO2 and its
                                                                                                                         communications and/or
NuCO2_               5/31/2018                         David_Markatos@         Ronald     affiliated       Attorney
            msg                  Bridget Correa                                                                          attorney work product
Priv_2299            15:49                             Praxair.com             Thermil;   company(ies)     Client
                                                                                                                         regarding settlement
                                                                               John
                                                                                                                         concerning customer dispute.
                                                                               Templin
                                                                                          Employee(s) of                 Reflects attorney
                                                       Bridget Correa;                    NuCO2 and its                  communications and/or
NuCO2_               5/31/2018                                                 John                        Attorney
            MSG                  Bridget Correa        David_Markatos@                    affiliated                     attorney work product
Priv_2300            15:49                                                     Templin                     Client
                                                       Praxair.com                        company(ies)                   regarding settlement
                                                                                                                         concerning customer dispute.
                                                                                          Employee(s) of                 Reflects attorney
                                                       Bridget Correa;                    NuCO2 and its                  communications and/or
NuCO2_               5/31/2018                                                 John                        Attorney
            pdf                  Bridget Correa        David_Markatos@                    affiliated                     attorney work product
Priv_2301            15:49                                                     Templin                     Client
                                                       Praxair.com                        company(ies)                   regarding settlement
                                                                                                                         concerning customer dispute.
                                                                                          Employee(s) of                 Reflects attorney
                                                       Bridget Correa;                    NuCO2 and its                  communications and/or
NuCO2_               5/31/2018                                                 John                        Attorney
            xls                  Bridget Correa        David_Markatos@                    affiliated                     attorney work product
Priv_2302            15:49                                                     Templin                     Client
                                                       Praxair.com                        company(ies)                   regarding settlement
                                                                                                                         concerning customer dispute.




                                                                         419
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 421 of
                                                         573


                                                                                                                            Reflects attorney
                                                                              John                                          communications and/or
NuCO2_               5/31/2018                                                               Employee(s) of   Attorney
            msg                  Bridget Correa        Gerald Miller          Templin;                                      attorney work product
Priv_2303            15:49                                                                   NuCO2            Client
                                                                              Nate Freese                                   regarding settlement
                                                                                                                            concerning customer dispute.
                                                                              Bridget                                       Reflects attorney
                                                                                             Employee(s) of
                                                                              Correa;                                       communications and/or
NuCO2_               5/31/2018   Rebecca_Rourke@Prax                                         NuCO2 and its    Attorney
            msg                                        Nate Freese            Ray_Homan                                     attorney work product
Priv_2304            15:49       air.com                                                     affiliated       Client
                                                                              @Praxair.co                                   regarding settlement
                                                                                             company(ies)
                                                                              m                                             concerning customer dispute.
                                                                                                                            Reflects attorney
                                                                                             Employee(s) of
                                                       Bridget Correa;                                                      communications and/or
NuCO2_               5/31/2018                                                John           NuCO2 and its    Attorney
            pdf                  Bridget Correa        David_Markatos@                                                      attorney work product
Priv_2305            15:49                                                    Templin        affiliated       Client
                                                       Praxair.com                                                          regarding settlement
                                                                                             company(ies)
                                                                                                                            concerning customer dispute.
                                                       Derek Burton;
                                                                                             Employee(s) of
                                                       David_Markatos@                                                      Communications regarding
NuCO2_               5/23/2018                                                John           NuCO2 and its    Attorney
            pptx                 Derek Burton          Praxair.com;                                                         need for guidance regarding
Priv_2306            12:05                                                    Templin        affiliated       Client
                                                       Dominick Brandow;                                                    regulatory compliance.
                                                                                             company(ies)
                                                       Mark Novak
                                                       Derek Burton;                         Employee(s) of
                                                       David_Markatos@                       NuCO2 and its                  Communications regarding
NuCO2_               5/23/2018                                                John                            Attorney
            pdf                  Derek Burton          Praxair.com;                          affiliated                     need for guidance regarding
Priv_2307            12:05                                                    Templin                         Client
                                                       Dominick Brandow;                     company(ies)                   regulatory compliance.
                                                       Mark Novak
                                                       Derek Burton;                         Employee(s) of
                                                       David_Markatos@                       NuCO2 and its                  Communications regarding
NuCO2_               5/23/2018                                                John                            Attorney
            docx                 Derek Burton          Praxair.com;                          affiliated                     need for guidance regarding
Priv_2308            12:05                                                    Templin                         Client
                                                       Dominick Brandow;                     company(ies)                   regulatory compliance.
                                                       Mark Novak
                                                       Derek Burton;                         Employee(s) of
                                                       David_Markatos@                       NuCO2 and its                  Communications regarding
NuCO2_               5/23/2018                                                John                            Attorney
            MSG                  Derek Burton          Praxair.com;                          affiliated                     need for guidance regarding
Priv_2309            12:05                                                    Templin                         Client
                                                       Dominick Brandow;                     company(ies)                   regulatory compliance.
                                                       Mark Novak
                                                       Damarie Cortez;                       Employee(s) of
                                                                                                                            Reflects need for/provision of
                                                       Kathy Waters;          Austin         NuCO2
                                                                                                              Attorney      legal advice regarding
NuCO2_               9/4/2015                          Toyanna Platt; Kelly   Rappe; Nate
            XLSX                 Damarie Cortez                                                               Client/Work   negotiation/drafting of
Priv_2310            15:13                             Gluck; Heather         Freese; Matt
                                                                                                              Product       customer agreements/other
                                                       Lindbom; Sales         Butcher
                                                                                                                            issues.
                                                       Managers; Randy

                                                                       420
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 422 of
                                                         573


                                                    Gold; Mike
                                                    Kleimeyer; Russell
                                                    Vicari; Vince
                                                    Giordano; John
                                                    Templin
                                                    Randy Gold; John                 Employee(s) of
                                                    Templin; Kelly                   NuCO2
                                                    Gluck; Vince                                                    Reflects need for/provision of
                                                    Giordano; Heather                                 Attorney      legal advice regarding
NuCO2_               6/25/2015
            xlsx                 Lanette North      Lindbom; Russell                                  Client/Work   negotiation/drafting of
Priv_2311            14:26
                                                    Vicari; Kathy                                     Product       customer agreements/other
                                                    Waters; Mike                                                    issues.
                                                    Kleimeyer; Toyanna
                                                    Platt
                                                                                                                    Communications regarding
                                                                                     Employee(s) of                 request for and provision of
                                                                                                      Attorney
NuCO2_               3/5/2019                                            John        NuCO2 and its                  legal advice/work product of
            msg                  Foti, Kevin        Robbi Stiell                                      Client/Work
Priv_2312            17:27                                               Templin     affiliated                     counsel concerning
                                                                                                      Product
                                                                                     company(ies)                   negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                                                    Reflects need for/provision of
                                                                                                      Attorney      legal advice regarding
NuCO2_               2/27/2019                                                       Employee(s) of
            xlsx                 Heather Shepherd   John Templin                                      Client/Work   negotiation/drafting of
Priv_2313            8:50                                                            NuCO2
                                                                                                      Product       customer agreements/other
                                                                                                                    issues.
                                                                                                                    Reflects need for/provision of
                                                                                                      Attorney      legal advice regarding
NuCO2_               2/27/2019
            msg                  Heather Shepherd   Heather Shepherd                 Self             Client/Work   negotiation/drafting of
Priv_2314            8:50
                                                                                                      Product       customer agreements/other
                                                                                                                    issues.
                                                                                                                    Reflects need for/provision of
                                                                         Heather     Employee(s) of
                                                                                                                    legal advice regarding
NuCO2_               2/27/2019                      Markatos, David;     Shepherd;   NuCO2 and its    Attorney
            msg                  Heather Shepherd                                                                   negotiation/drafting of
Priv_2315            8:50                           Riley, Robin K       John        affiliated       Client
                                                                                                                    customer agreements/other
                                                                         Templin     company(ies)
                                                                                                                    issues.
                                                                                     Employee(s) of                 Reflects need for/provision of
                                                                                     NuCO2            Attorney      legal advice regarding
NuCO2_               2/27/2019
            docx                 Heather Shepherd   John Templin                                      Client/Work   negotiation/drafting of
Priv_2316            8:50
                                                                                                      Product       customer agreements/other
                                                                                                                    issues.



                                                                   421
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 423 of
                                                         573


                                                                                   Employee(s) of                 Reflects need for/provision of
                                                                                   NuCO2            Attorney      legal advice regarding
NuCO2_               2/27/2019
            pdf                  Heather Shepherd   John Templin                                    Client/Work   negotiation/drafting of
Priv_2317            8:50
                                                                                                    Product       customer agreements/other
                                                                                                                  issues.
                                                                                   Employee(s) of                 Reflects need for/provision of
                                                                                   NuCO2            Attorney      legal advice regarding
NuCO2_               2/27/2019
            pdf                  Heather Shepherd   John Templin                                    Client/Work   negotiation/drafting of
Priv_2318            8:50
                                                                                                    Product       customer agreements/other
                                                                                                                  issues.
                                                                                   Employee(s) of                 Reflects need for/provision of
                                                                                   NuCO2            Attorney      legal advice regarding
NuCO2_               2/27/2019
            docx                 Heather Shepherd   John Templin                                    Client/Work   negotiation/drafting of
Priv_2319            8:50
                                                                                                    Product       customer agreements/other
                                                                                                                  issues.
                                                                                   Employee(s) of                 Reflects need for/provision of
                                                                                   NuCO2                          legal advice regarding
NuCO2_               2/27/2019                                                                      Attorney
            MSG                  Heather Shepherd   John Templin                                                  negotiation/drafting of
Priv_2320            8:50                                                                           Client
                                                                                                                  customer agreements/other
                                                                                                                  issues.
                                                                                   Employee(s) of                 Communications regarding
                                                    'David_Markatos@               NuCO2 and its                  request for and provision of
NuCO2_               2/21/2019                      Praxair.com';        John      affiliated       Attorney      legal advice/work product of
            doc                  Brian D. Potter
Priv_2321            12:38                          Shelly_Piazza@Prax   Templin   company(ies)     Client        counsel concerning
                                                    air.com                                                       negotiation/drafting of
                                                                                                                  customer agreement.
                                                                                   Employee(s) of                 Communications regarding
                                                    'David_Markatos@               NuCO2 and its                  request for and provision of
NuCO2_               2/21/2019                      Praxair.com';        John      affiliated       Attorney      legal advice/work product of
            MSG                  Brian D. Potter
Priv_2322            12:38                          Shelly_Piazza@Prax   Templin   company(ies)     Client        counsel concerning
                                                    air.com                                                       negotiation/drafting of
                                                                                                                  customer agreement.
                                                                                   Employee(s) of
                                                                                                                  Reflects need for/provision of
                                                    Rodney Husbands;               NuCO2 and its
NuCO2_               2/19/2019                                           John                       Attorney      legal advice regarding strategy
            MSG                  Brian D. Potter    'David_Markatos@               affiliated
Priv_2323            16:18                                               Templin                    Client        concerning
                                                    Praxair.com'                   company(ies)
                                                                                                                  customer/competitor disputes.




                                                                   422
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 424 of
                                                         573


                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2 and its                  request for and provision of
                                                                           Riley, Robin
NuCO2_               2/17/2019                                                            affiliated       Attorney      legal advice/work product of
            docx                 Debbie Oliver       'Markatos, David'     K; Piazza,
Priv_2324            8:41                                                                 company(ies)     Client        counsel concerning
                                                                           Shelly
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2 and its                  request for and provision of
                                                                           Riley, Robin
NuCO2_               2/17/2019                                                            affiliated       Attorney      legal advice/work product of
            MSG                  Debbie Oliver       'Markatos, David'     K; Piazza,
Priv_2325            8:41                                                                 company(ies)     Client        counsel concerning
                                                                           Shelly
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2                          request for and provision of
                                                                                                           Attorney
NuCO2_               1/31/2019                                                                                           legal advice/work product of
            MSG                  John-Paul Venanzi   John Templin                                          Client/Work
Priv_2326            14:54                                                                                               counsel concerning
                                                                                                           Product
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2                          request for and provision of
                                                                                                           Attorney
NuCO2_               1/31/2019                                                                                           legal advice/work product of
            pdf                  John-Paul Venanzi   John Templin                                          Client/Work
Priv_2327            14:54                                                                                               counsel concerning
                                                                                                           Product
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2                          request for and provision of
                                                                                                           Attorney
NuCO2_               1/31/2019                                                                                           legal advice/work product of
            xlsx                 John-Paul Venanzi   John Templin                                          Client/Work
Priv_2328            14:25                                                                                               counsel concerning
                                                                                                           Product
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2                          request for and provision of
                                                                                                           Attorney
NuCO2_               1/31/2019                                                                                           legal advice/work product of
            MSG                  John-Paul Venanzi   John Templin                                          Client/Work
Priv_2329            14:25                                                                                               counsel concerning
                                                                                                           Product
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2            Attorney      request for and provision of
NuCO2_               1/31/2019
            MSG                  John-Paul Venanzi   John Templin                                          Client/Work   legal advice/work product of
Priv_2330            14:17
                                                                                                           Product       counsel concerning
                                                                                                                         negotiation/drafting of


                                                                     423
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 425 of
                                                         573


                                                                                                             customer agreement.




                                                                              Employee(s) of                 Communications regarding
                                                                              NuCO2                          request for and provision of
                                                                                               Attorney
NuCO2_               1/31/2019                                                                               legal advice/work product of
            docx                 John-Paul Venanzi   John Templin                              Client/Work
Priv_2331            14:17                                                                                   counsel concerning
                                                                                               Product
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Reflects attorney
                                                     John Templin;
                                                                              NuCO2 and its    Attorney      communications and/or
NuCO2_               1/15/2019                       Derek Burton;
            pptx                 Felicia Gallagher                            affiliated       Client/Work   attorney work product
Priv_2332            8:45                            Brian Catmull;
                                                                              company(ies)     Product       regarding legal matters and
                                                     Dominick Brandow
                                                                                                             acquisition and safety.
                                                                              Employee(s) of                 Communications regarding
                                                                              NuCO2 and its                  request for and provision of
                                                     John Templin;
NuCO2_               1/13/2019                                                affiliated       Attorney      legal advice/work product of
            docx                 Debbie Oliver       David Markatos;
Priv_2333            12:50                                                    company(ies)     Client        counsel concerning
                                                     'Riley, Robin K'
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications regarding
                                                                              NuCO2 and its                  request for and provision of
                                                     John Templin;
NuCO2_               1/13/2019                                                affiliated       Attorney      legal advice/work product of
            MSG                  Debbie Oliver       David Markatos;
Priv_2334            12:50                                                    company(ies)     Client        counsel concerning
                                                     'Riley, Robin K'
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Reflects need for/provision of
                                                                              NuCO2            Attorney      legal advice regarding
NuCO2_               1/6/2019
            MSG                  Heather Shepherd    John Templin                              Client/Work   negotiation/drafting of
Priv_2335            20:56
                                                                                               Product       customer agreements/other
                                                                                                             issues.
                                                                              Employee(s) of                 Reflects need for/provision of
                                                                              NuCO2            Attorney      legal advice regarding
NuCO2_               1/6/2019
            pdf                  Kyle Brown          John Templin                              Client/Work   negotiation/drafting of
Priv_2336            20:56
                                                                                               Product       customer agreements/other
                                                                                                             issues.




                                                                        424
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 426 of
                                                         573


                                                                              Employee(s) of                 Reflects need for/provision of
                                                                              NuCO2            Attorney      legal advice regarding
NuCO2_               1/6/2019
            msg                   Kyle Brown         Heather Shepherd                          Client/Work   negotiation/drafting of
Priv_2337            20:56
                                                                                               Product       customer agreements/other
                                                                                                             issues.
                                                                              Employee(s) of                 Reflects need for/provision of
                                                                              NuCO2            Attorney      legal advice regarding
NuCO2_               1/6/2019
            msg                   Heather Shepherd   Heather Shepherd                          Client/Work   negotiation/drafting of
Priv_2338            20:56
                                                                                               Product       customer agreements/other
                                                                                                             issues.
                                                                              Employee(s) of                 Reflects need for/provision of
                                                                              NuCO2            Attorney      legal advice regarding
NuCO2_               1/6/2019
            xlsm                  Heather Shepherd   John Templin                              Client/Work   negotiation/drafting of
Priv_2339            20:56
                                                                                               Product       customer agreements/other
                                                                                                             issues.
                                                                              Employee(s) of                 Reflects need for/provision of
                                                                              NuCO2            Attorney      legal advice regarding
NuCO2_               1/6/2019
            docx                  Heather Shepherd   John Templin                              Client/Work   negotiation/drafting of
Priv_2340            20:56
                                                                                               Product       customer agreements/other
                                                                                                             issues.
                                                                              Employee(s) of                 Communications regarding
                                                                              NuCO2                          request for and provision of
                                                                                               Attorney
NuCO2_               12/21/2018                      John Templin;                                           legal advice/work product of
            MSG                   Michael Graham                                               Client/Work
Priv_2341            12:44                           Brian D. Potter                                         counsel concerning
                                                                                               Product
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications regarding
                                                                              NuCO2                          request for and provision of
                                                                                               Attorney
NuCO2_               12/21/2018                      Brian D. Potter;                                        legal advice/work product of
            MSG                   Michael Graham                                               Client/Work
Priv_2342            12:15                           John Templin                                            counsel concerning
                                                                                               Product
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.
                                                                              Employee(s) of                 Communications regarding
                                                                              NuCO2                          request for and provision of
                                                                                               Attorney
NuCO2_               12/21/2018                      Brian D. Potter;                                        legal advice/work product of
            docx                  Michael Graham                                               Client/Work
Priv_2343            12:15                           John Templin                                            counsel concerning
                                                                                               Product
                                                                                                             negotiation/drafting of
                                                                                                             customer agreement.




                                                                        425
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 427 of
                                                         573


                                                                                        Employee(s) of                 Communications regarding
                                                                                        NuCO2                          request for and provision of
                                                                                                         Attorney
NuCO2_               12/20/2018                      John Templin;                                                     legal advice/work product of
            MSG                   Michael Graham                                                         Client/Work
Priv_2344            17:31                           Brian D. Potter                                                   counsel concerning
                                                                                                         Product
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                        Employee(s) of                 Reflects need for/provision of
                                                                                        NuCO2            Attorney      legal advice regarding
NuCO2_               12/5/2018
            xlsm                  Heather Shepherd   John Templin                                        Client/Work   negotiation/drafting of
Priv_2345            11:58
                                                                                                         Product       customer agreements/other
                                                                                                                       issues.
                                                                                        Employee(s) of
                                                     Felicia Gallagher;
                                                                                        NuCO2 and its    Attorney      Communications regarding
NuCO2_               11/27/2018                      Richard Wilkie; Jeff
            MSG                   Derek Burton                                          affiliated       Client/Work   need for guidance regarding
Priv_2346            15:37                           Gilheney; John
                                                                                        company(ies)     Product       regulatory compliance.
                                                     Templin
                                                                                        Employee(s) of
                                                     Felicia Gallagher;
                                                                                        NuCO2 and its    Attorney      Communications regarding
NuCO2_               11/27/2018                      Richard Wilkie; Jeff
            xlsx                  Derek Burton                                          affiliated       Client/Work   need for guidance regarding
Priv_2347            15:37                           Gilheney; John
                                                                                        company(ies)     Product       regulatory compliance.
                                                     Templin
                                                                                        Employee(s) of
                                                     Felicia Gallagher;
                                                                                        NuCO2 and its    Attorney      Communications regarding
NuCO2_               11/27/2018                      Richard Wilkie; Jeff
            docx                  Derek Burton                                          affiliated       Client/Work   need for guidance regarding
Priv_2348            15:37                           Gilheney; John
                                                                                        company(ies)     Product       regulatory compliance.
                                                     Templin
                                                                                        Employee(s) of                 Communications regarding
                                                                                        NuCO2                          request for and provision of
                                                                                                         Attorney
NuCO2_               11/21/2018                                              Heather                                   legal advice/work product of
            MSG                   Heather Shepherd   John Templin                                        Client/Work
Priv_2349            10:39                                                   Shepherd                                  counsel concerning
                                                                                                         Product
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                        Employee(s) of                 Communications regarding
                                                                                        NuCO2                          request for and provision of
                                                                                                         Attorney
NuCO2_               11/21/2018                                              Heather                                   legal advice/work product of
            PDF                   Heather Shepherd   John Templin                                        Client/Work
Priv_2350            10:39                                                   Shepherd                                  counsel concerning
                                                                                                         Product
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.




                                                                       426
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 428 of
                                                         573


                                                                                     Employee(s) of                 Communications regarding
                                                                                     NuCO2                          request for and provision of
                                                                                                      Attorney
NuCO2_               11/21/2018                                                                                     legal advice/work product of
            msg                   Brdecka, Nadine    Heather Shepherd                                 Client/Work
Priv_2351            10:39                                                                                          counsel concerning
                                                                                                      Product
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                     Employee(s) of                 Communications regarding
                                                                                     NuCO2                          request for and provision of
                                                                                                      Attorney
NuCO2_               11/21/2018                                           Heather                                   legal advice/work product of
            docx                  Heather Shepherd   John Templin                                     Client/Work
Priv_2352            10:39                                                Shepherd                                  counsel concerning
                                                                                                      Product
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                     Employee(s) of                 Communications regarding
                                                                                     NuCO2                          request for and provision of
                                                                                                      Attorney
NuCO2_               11/21/2018                                           Heather                                   legal advice/work product of
            txt                   Brdecka, Nadine    John Templin                                     Client/Work
Priv_2353            10:39                                                Shepherd                                  counsel concerning
                                                                                                      Product
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                     Employee(s) of                 Communications regarding
                                                                                     NuCO2                          request for and provision of
                                                                                                      Attorney
NuCO2_               11/21/2018                                           Heather                                   legal advice/work product of
            htm                   Brdecka, Nadine    John Templin                                     Client/Work
Priv_2354            10:39                                                Shepherd                                  counsel concerning
                                                                                                      Product
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                     Employee(s) of                 Communications regarding
                                                                                     NuCO2                          request for and provision of
                                                     Gerald Miller;                                   Attorney
NuCO2_               11/21/2018                                           Derek                                     legal advice/work product of
            msg                   Patrick Woelfel    Heather Shepherd;                                Client/Work
Priv_2355            10:39                                                Burton                                    counsel concerning
                                                     Mark Novak                                       Product
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                     Employee(s) of                 Communications regarding
                                                                                     NuCO2                          request for and provision of
                                                                                                      Attorney
NuCO2_               11/21/2018                                           Heather                                   legal advice/work product of
            PDF                                      John Templin                                     Client/Work
Priv_2356            10:39                                                Shepherd                                  counsel concerning
                                                                                                      Product
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                     Employee(s) of                 Communications regarding
                                                                                     NuCO2            Attorney      request for and provision of
NuCO2_               11/21/2018                                           Heather
            PDF                                      John Templin                                     Client/Work   legal advice/work product of
Priv_2357            10:39                                                Shepherd
                                                                                                      Product       counsel concerning
                                                                                                                    negotiation/drafting of


                                                                    427
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 429 of
                                                         573


                                                                                                                    customer agreement.




                                                                                     Employee(s) of                 Communications regarding
                                                                                     NuCO2 and its                  request for and provision of
                                                                                                      Attorney
NuCO2_               11/15/2018                                            Piazza,   affiliated                     legal advice/work product of
            msg                   Markatos, David     John-Paul Venanzi                               Client/Work
Priv_2358            7:31                                                  Shelly    company(ies)                   counsel concerning
                                                                                                      Product
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                     Employee(s) of                 Communications regarding
                                                                                     NuCO2 and its                  request for and provision of
                                                                                                      Attorney
NuCO2_               11/15/2018                       John-Paul Venanzi;             affiliated                     legal advice/work product of
            msg                   Piazza, Shelly                                                      Client/Work
Priv_2359            7:31                             Markatos, David                company(ies)                   counsel concerning
                                                                                                      Product
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                     Employee(s) of                 Communications regarding
                                                                                     NuCO2 and its                  request for and provision of
                                                                                                      Attorney
NuCO2_               11/15/2018                                                      affiliated                     legal advice/work product of
            docx                  Piazza, Shelly      John Templin                                    Client/Work
Priv_2360            7:31                                                            company(ies)                   counsel concerning
                                                                                                      Product
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                     Employee(s) of                 Communications regarding
                                                                                     NuCO2                          request for and provision of
                                                                                                      Attorney
NuCO2_               11/15/2018                                                                                     legal advice/work product of
            MSG                   John-Paul Venanzi   John Templin                                    Client/Work
Priv_2361            7:31                                                                                           counsel concerning
                                                                                                      Product
                                                                                                                    negotiation/drafting of
                                                                                                                    customer agreement.
                                                                                     Employee(s) of                 Communications regarding
                                                                           Amber
                                                                                     NuCO2            Attorney      need for legal advice/work
NuCO2_               11/14/2018                                            Rives;
            MSG                   Robbi Stiell        John Templin                                    Client/Work   product of counsel concerning
Priv_2362            15:02                                                 Bridget
                                                                                                      Product       negotiation/drafting of
                                                                           Correa
                                                                                                                    customer agreement.
                                                                                     Employee(s) of                 Communications regarding
                                                                                     NuCO2 and its    Attorney      need for legal advice/work
NuCO2_               11/14/2018
            msg                   Randy Gold          Robbi Stiell                   affiliated       Client/Work   product of counsel concerning
Priv_2363            15:02
                                                                                     company(ies)     Product       negotiation/drafting of
                                                                                                                    customer agreement.




                                                                     428
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 430 of
                                                         573


                                                                                                  Employee(s) of                  Communications regarding
                                                                                   Amber
                                                                                                  NuCO2            Attorney       need for legal advice/work
NuCO2_               11/14/2018                                                    Rives;
            xlsx                  Robbi Stiell            John Templin                                             Client/Work    product of counsel concerning
Priv_2364            15:02                                                         Bridget
                                                                                                                   Product        negotiation/drafting of
                                                                                   Correa
                                                                                                                                  customer agreement.
                                                                                                  Employee(s) of                  Communications regarding
                                                                                   Shelly_Piazz   NuCO2 and its    Attorney       need for legal advice/work
NuCO2_               11/14/2018   David_Markatos@Prax
            msg                                           Robbi Stiell             a@Praxair.c    affiliated       Client/Work    product of counsel concerning
Priv_2365            15:02        air.com
                                                                                   om             company(ies)     Product        negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                                  Employee(s) of                  Communications regarding
                                                                                   Amber
                                                                                                  NuCO2            Attorney       need for legal advice/work
NuCO2_               11/14/2018                                                    Rives;
            pdf                   Robbi Stiell            John Templin                                             Client/Work    product of counsel concerning
Priv_2366            15:02                                                         Bridget
                                                                                                                   Product        negotiation/drafting of
                                                                                   Correa
                                                                                                                                  customer agreement.
                                                          John Templin;                           Employee(s) of
                                                          Felicia Gallagher;                      NuCO2 and its    Attorney       Reflects confidential business
NuCO2_               10/23/2018
            xlsx                  Eric Hansen             Dirk Horst;                             affiliated       Client/Work    and/or legal information
Priv_2367            21:13
                                                          Dominick Brandow;                       company(ies)     Product        regarding non-party.
                                                          Gerald Miller
                                                                                   Elizabeth      Employee(s) of                  Reflects attorney
NuCO2_               10/10/2018                           Brian D. Potter;         Conti;         NuCO2            Attorney       communications and /or
            PDF                   Heather Shepherd
Priv_2368            8:45                                 Kathleen Daniel          Heather                         Work Product   attorney work product
                                                                                   Shepherd                                       regarding acquisition.
                                                                                                  Employee(s) of                  Communications regarding
                                                                                                  NuCO2 and its                   request for and provision of
                                                                                                                   Attorney
NuCO2_               10/8/2018                            John Templin;            Markatos,      affiliated                      legal advice/work product of
            MSG                   Robbi Stiell                                                                     Client/Work
Priv_2369            10:41                                'Piazza, Shelly'         David          company(ies)                    counsel concerning
                                                                                                                   Product
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                                  Employee(s) of                  Communications regarding
                                                                                                  NuCO2 and its                   request for and provision of
                                                                                   Barnhard,                       Attorney
NuCO2_               10/4/2018                            Beth_Griegel@Prax                       affiliated                      legal advice/work product of
            MSG                   Gerald Miller                                    Jeff; John                      Client/Work
Priv_2370            9:30                                 air.com                                 company(ies)                    counsel concerning
                                                                                   Templin                         Product
                                                                                                                                  negotiation/drafting of
                                                                                                                                  customer agreement.
                                                                                                  Employee(s) of                  Communications regarding
                                                                                   Barnhard,      NuCO2 and its    Attorney
NuCO2_               10/4/2018    Beth_Griegel@Praxair.                                                                           request for and provision of
            MSG                                           Gerald Miller            Jeff; John     affiliated       Client/Work
Priv_2371            9:25         com                                                                                             legal advice/work product of
                                                                                   Templin                         Product
                                                                                                                                  counsel concerning


                                                                             429
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 431 of
                                                         573


                                                                                              company(ies)                   negotiation/drafting of
                                                                                                                             customer agreement.


                                                                                              Employee(s) of                 Communications regarding
                                                                                              NuCO2 and its                  request for and provision of
                                                                               Barnhard,                       Attorney
NuCO2_               10/4/2018   Beth_Griegel@Praxair.                                        affiliated                     legal advice/work product of
            pptx                                         Gerald Miller         Jeff; John                      Client/Work
Priv_2372            9:25        com                                                          company(ies)                   counsel concerning
                                                                               Templin                         Product
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                                              NuCO2 and its                  request for and provision of
                                                                               Shelly_Piazz                    Attorney
NuCO2_               9/19/2018   David_Markatos@Prax                                          affiliated                     legal advice/work product of
            MSG                                          John Templin          a@Praxair.c                     Client/Work
Priv_2373            15:42       air.com                                                      company(ies)                   counsel concerning
                                                                               om                              Product
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                                              NuCO2 and its                  request for and provision of
                                                                               Shelly_Piazz                    Attorney
NuCO2_               9/19/2018   David_Markatos@Prax                                          affiliated                     legal advice/work product of
            pdf                                          John Templin          a@Praxair.c                     Client/Work
Priv_2374            15:42       air.com                                                      company(ies)                   counsel concerning
                                                                               om                              Product
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                                              NuCO2 and its                  request for and provision of
                                                                               Shelly_Piazz                    Attorney
NuCO2_               9/19/2018   David_Markatos@Prax                                          affiliated                     legal advice/work product of
            docx                                         John Templin          a@Praxair.c                     Client/Work
Priv_2375            15:42       air.com                                                      company(ies)                   counsel concerning
                                                                               om                              Product
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Reflects attorney
                                                         Gerald Miller; John                  NuCO2 and its    Attorney      communications and/or
NuCO2_               9/15/2018
            pptx                 Felicia Gallagher       Templin; Derek                       affiliated       Client/Work   attorney work product
Priv_2376            9:22
                                                         Burton                               company(ies)     Product       regarding legal matters and
                                                                                                                             acquisition and safety.
                                                                                              Employee(s) of                 Communications regarding
                                                                                              NuCO2 and its                  request for and provision of
                                                         John Templin;         'David_Mar
NuCO2_               9/11/2018                                                                affiliated       Attorney      legal advice/work product of
            docx                 Robbi Stiell            Shelly_Piazza@Prax    katos@Prax
Priv_2377            17:15                                                                    company(ies)     Client        counsel concerning
                                                         air.com               air.com'
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.



                                                                         430
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 432 of
                                                         573


                                                                                              Employee(s) of                 Communications regarding
                                                                                              NuCO2 and its                  request for and provision of
                                                          John Templin;        'David_Mar
NuCO2_               9/11/2018                                                                affiliated       Attorney      legal advice/work product of
            docx                 Robbi Stiell             Shelly_Piazza@Prax   katos@Prax
Priv_2378            17:15                                                                    company(ies)     Client        counsel concerning
                                                          air.com              air.com'
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                                              NuCO2 and its                  request for and provision of
                                                          John Templin;        'David_Mar
NuCO2_               9/11/2018                                                                affiliated       Attorney      legal advice/work product of
            MSG                  Robbi Stiell             Shelly_Piazza@Prax   katos@Prax
Priv_2379            17:15                                                                    company(ies)     Client        counsel concerning
                                                          air.com              air.com'
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                               'David_Mar
                                                                                              NuCO2 and its                  request for and provision of
                                                                               katos@Prax                      Attorney
NuCO2_               9/11/2018   Shelly_Piazza@Praxair.                                       affiliated                     legal advice/work product of
            MSG                                           Robbi Stiell         air.com';                       Client/Work
Priv_2380            15:45       com                                                          company(ies)                   counsel concerning
                                                                               John                            Product
                                                                                                                             negotiation/drafting of
                                                                               Templin
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                               'David_Mar
                                                                                              NuCO2 and its                  request for and provision of
                                                                               katos@Prax                      Attorney
NuCO2_               9/11/2018   Shelly_Piazza@Praxair.                                       affiliated                     legal advice/work product of
            docx                                          Robbi Stiell         air.com';                       Client/Work
Priv_2381            15:45       com                                                          company(ies)                   counsel concerning
                                                                               John                            Product
                                                                                                                             negotiation/drafting of
                                                                               Templin
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                               'David_Mar
                                                                                              NuCO2 and its                  request for and provision of
                                                                               katos@Prax
NuCO2_               9/10/2018                            'Shelly_Piazza@Pra                  affiliated       Attorney      legal advice/work product of
            MSG                  Robbi Stiell                                  air.com';
Priv_2382            15:42                                xair.com'                           company(ies)     Client        counsel concerning
                                                                               John
                                                                                                                             negotiation/drafting of
                                                                               Templin
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                                              NuCO2 and its                  request for and provision of
                                                                               Shelly_Piazz                    Attorney
NuCO2_               9/6/2018    David_Markatos@Prax                                          affiliated                     legal advice/work product of
            MSG                                           John Templin         a@Praxair.c                     Client/Work
Priv_2383            16:12       air.com                                                      company(ies)                   counsel concerning
                                                                               om                              Product
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                          Derek Burton;                       Employee(s) of
                                                                               Honglu_Yu
                                                          Gerald_Miller@pra                   NuCO2 and its    Attorney      Reflects confidential business
NuCO2_               9/6/2018    Stanley_M_Smith@Pra                           @praxair.ma
            xlsx                                          xair.com; Gerald                    affiliated       Client/Work   and/or legal information
Priv_2384            6:30        xair.com                                      il.onmicroso
                                                          Miller; John                        company(ies)     Product       regarding non-party.
                                                                               ft.com
                                                          Templin


                                                                         431
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 433 of
                                                         573


                                                                                            Employee(s) of              Communications regarding
                                                                            'Shelly_Piazz   NuCO2 and its               request for and provision of
NuCO2_               8/29/2018                         'David_Markatos@     a@Praxair.c     affiliated       Attorney   legal advice/work product of
            xlsx                 Robbi Stiell
Priv_2385            11:46                             Praxair.com'         om'; John       company(ies)     Client     counsel concerning
                                                                            Templin                                     negotiation/drafting of
                                                                                                                        customer agreement.
                                                                                            Employee(s) of              Communications regarding
                                                                            'Shelly_Piazz   NuCO2 and its               request for and provision of
NuCO2_               8/29/2018                         'David_Markatos@     a@Praxair.c     affiliated       Attorney   legal advice/work product of
            xlsx                 Robbi Stiell
Priv_2386            11:46                             Praxair.com'         om'; John       company(ies)     Client     counsel concerning
                                                                            Templin                                     negotiation/drafting of
                                                                                                                        customer agreement.
                                                                                            Employee(s) of              Communications regarding
                                                                            'Shelly_Piazz   NuCO2 and its               request for and provision of
NuCO2_               8/29/2018                         'David_Markatos@     a@Praxair.c     affiliated       Attorney   legal advice/work product of
            xlsx                 Robbi Stiell
Priv_2387            11:46                             Praxair.com'         om'; John       company(ies)     Client     counsel concerning
                                                                            Templin                                     negotiation/drafting of
                                                                                                                        customer agreement.
                                                                                            Employee(s) of              Communications regarding
                                                                            'Shelly_Piazz   NuCO2 and its               request for and provision of
NuCO2_               8/29/2018                         'David_Markatos@     a@Praxair.c     affiliated       Attorney   legal advice/work product of
            pdf                  Robbi Stiell
Priv_2388            11:46                             Praxair.com'         om'; John       company(ies)     Client     counsel concerning
                                                                            Templin                                     negotiation/drafting of
                                                                                                                        customer agreement.
                                                                                            Employee(s) of              Communications regarding
                                                                            'Shelly_Piazz   NuCO2 and its               request for and provision of
NuCO2_               8/29/2018                         'David_Markatos@     a@Praxair.c     affiliated       Attorney   legal advice/work product of
            pdf                  Robbi Stiell
Priv_2389            11:46                             Praxair.com'         om'; John       company(ies)     Client     counsel concerning
                                                                            Templin                                     negotiation/drafting of
                                                                                                                        customer agreement.
                                                                                            Employee(s) of              Communications regarding
                                                                            'Shelly_Piazz   NuCO2 and its               request for and provision of
NuCO2_               8/29/2018                         'David_Markatos@     a@Praxair.c     affiliated       Attorney   legal advice/work product of
            MSG                  Robbi Stiell
Priv_2390            11:46                             Praxair.com'         om'; John       company(ies)     Client     counsel concerning
                                                                            Templin                                     negotiation/drafting of
                                                                                                                        customer agreement.
                                                                                            Employee(s) of              Communications regarding
                                                                            Shelly_Piazz    NuCO2 and its               request for and provision of
NuCO2_               8/22/2018   David_Markatos@Prax                                                         Attorney
            MSG                                        John Templin         a@Praxair.c     affiliated                  legal advice/work product of
Priv_2391            8:40        air.com                                                                     Client
                                                                            om              company(ies)                counsel concerning
                                                                                                                        negotiation/drafting of


                                                                      432
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 434 of
                                                         573


                                                                                                                        customer agreement.




                                                                                            Employee(s) of              Communications regarding
                                                                                            NuCO2 and its               request for and provision of
                                                                             Shelly_Piazz
NuCO2_               8/22/2018   David_Markatos@Prax                                        affiliated       Attorney   legal advice/work product of
            docx                                       John Templin          a@Praxair.c
Priv_2392            8:40        air.com                                                    company(ies)     Client     counsel concerning
                                                                             om
                                                                                                                        negotiation/drafting of
                                                                                                                        customer agreement.
                                                                                            Employee(s) of
                                                                             Eric_Sarner    NuCO2 and its               Reflects need for/provision of
NuCO2_               8/15/2018   David_Markatos@Prax   Gerald Miller; John                                   Attorney
            MSG                                                              @Praxair.co    affiliated                  legal advice regarding state
Priv_2393            17:03       air.com               Templin                                               Client
                                                                             m              company(ies)                consumer complaint.

                                                                                            Employee(s) of
                                                                             Eric_Sarner    NuCO2 and its               Reflects need for/provision of
NuCO2_               8/15/2018   David_Markatos@Prax   Gerald Miller; John                                   Attorney
            PDF                                                              @Praxair.co    affiliated                  legal advice regarding state
Priv_2394            17:03       air.com               Templin                                               Client
                                                                             m              company(ies)                consumer complaint.

                                                                                            Employee(s) of
                                                                             Eric_Sarner    NuCO2 and its               Reflects need for/provision of
NuCO2_               8/15/2018   David_Markatos@Prax   Gerald Miller; John                                   Attorney
            pdf                                                              @Praxair.co    affiliated                  legal advice regarding state
Priv_2395            17:03       air.com               Templin                                               Client
                                                                             m              company(ies)                consumer complaint.

                                                                                            Employee(s) of
                                                                             David_Mark                                 Reflects need for/provision of
                                                                                            NuCO2 and its
NuCO2_               8/15/2018                         Robin_K_Riley@Pr      atos@Praxai                     Attorney   legal advice regarding strategy
            pdf                  Bridget Correa                                             affiliated
Priv_2396            12:13                             axair.com             r.com; John                     Client     concerning
                                                                                            company(ies)
                                                                             Templin                                    customer/competitor disputes.
                                                                                            Employee(s) of
                                                                             David_Mark                                 Reflects need for/provision of
                                                                                            NuCO2 and its
NuCO2_               8/15/2018                         Robin_K_Riley@Pr      atos@Praxai                     Attorney   legal advice regarding strategy
            pdf                  Bridget Correa                                             affiliated
Priv_2397            12:13                             axair.com             r.com; John                     Client     concerning
                                                                                            company(ies)
                                                                             Templin                                    customer/competitor disputes.
                                                                                            Employee(s) of
                                                                             David_Mark                                 Reflects need for/provision of
                                                                                            NuCO2 and its
NuCO2_               8/15/2018                         Robin_K_Riley@Pr      atos@Praxai                     Attorney   legal advice regarding strategy
            pdf                  Bridget Correa                                             affiliated
Priv_2398            12:13                             axair.com             r.com; John                     Client     concerning
                                                                                            company(ies)
                                                                             Templin                                    customer/competitor disputes.


                                                                       433
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 435 of
                                                         573


                                                                                           Employee(s) of
                                                                             David_Mark                                   Reflects need for/provision of
                                                                                           NuCO2 and its
NuCO2_               8/15/2018                         Robin_K_Riley@Pr      atos@Praxai                    Attorney      legal advice regarding strategy
            pdf                  Bridget Correa                                            affiliated
Priv_2399            12:13                             axair.com             r.com; John                    Client        concerning
                                                                                           company(ies)
                                                                             Templin                                      customer/competitor disputes.
                                                                                           Employee(s) of
                                                                             David_Mark                                   Reflects need for/provision of
                                                                                           NuCO2 and its
NuCO2_               8/15/2018                         Robin_K_Riley@Pr      atos@Praxai                    Attorney      legal advice regarding strategy
            pdf                  Bridget Correa                                            affiliated
Priv_2400            12:13                             axair.com             r.com; John                    Client        concerning
                                                                                           company(ies)
                                                                             Templin                                      customer/competitor disputes.
                                                                                           Employee(s) of
                                                                                                                          Reflects need for/provision of
                                                                             David_Mark    NuCO2 and its
NuCO2_               8/15/2018   Robin_K_Riley@Praxa                                                        Attorney      legal advice regarding strategy
            docx                                       John Templin          atos@Praxai   affiliated
Priv_2401            7:04        ir.com                                                                     Client        concerning
                                                                             r.com         company(ies)
                                                                                                                          customer/competitor disputes.
                                                                                           Employee(s) of
                                                                                                                          Reflects need for/provision of
                                                                             David_Mark    NuCO2 and its
NuCO2_               8/15/2018   Robin_K_Riley@Praxa                                                        Attorney      legal advice regarding strategy
            pdf                                        John Templin          atos@Praxai   affiliated
Priv_2402            7:04        ir.com                                                                     Client        concerning
                                                                             r.com         company(ies)
                                                                                                                          customer/competitor disputes.
                                                                                           Employee(s) of
                                                                                                                          Reflects need for/provision of
                                                                             David_Mark    NuCO2 and its
NuCO2_               8/15/2018   Robin_K_Riley@Praxa                                                        Attorney      legal advice regarding strategy
            pdf                                        John Templin          atos@Praxai   affiliated
Priv_2403            7:04        ir.com                                                                     Client        concerning
                                                                             r.com         company(ies)
                                                                                                                          customer/competitor disputes.
                                                       felicia_gallagher@p                 Employee(s) of                 Reflects attorney
                                                       raxair.com; Gerald                  NuCO2 and its    Attorney      communications and/or
NuCO2_               8/14/2018
            pptx                 Felicia Gallagher     Miller; John                        affiliated       Client/Work   attorney work product
Priv_2404            10:18
                                                       Templin; Derek                      company(ies)     Product       regarding legal matters and
                                                       Burton                                                             acquisition and safety.
                                                       felicia_gallagher@p                 Employee(s) of
                                                       raxair.com; John                    NuCO2 and its
                                                                                                                          Reflects attorney
                                                       Templin; Derek        Denny_Bro     affiliated       Attorney
NuCO2_               8/13/2018                                                                                            communications and/or
            pdf                  Felicia Gallagher     Burton; Gerald        wn@Praxair.   company(ies)     Client/Work
Priv_2405            14:42                                                                                                attorney work product
                                                       Miller;               com                            Product
                                                                                                                          regarding legal matters.
                                                       Kevin_Foti@praxai
                                                       r.com




                                                                      434
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 436 of
                                                         573


                                                          John Templin;        Employee(s) of
                                                                                                              Reflects attorney
                                                          Derek Burton;        NuCO2 and its    Attorney
NuCO2_               8/10/2018                                                                                communications and/or
            pptx                 Felicia Gallagher        Gerald Miller;       affiliated       Client/Work
Priv_2406            16:19                                                                                    attorney work product
                                                          Gerald_Miller@pra    company(ies)     Product
                                                                                                              regarding legal matters.
                                                          xair.com
                                                                                                              Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018   Gerald_Miller@praxair.   Jtemplin@nuco2.co    Employee(s) of                 communications and /or
            msg                                                                                 Client/Work
Priv_2407            9:34        com                      m                    NuCO2                          attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                                                              Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                 Employee(s) of                 communications and /or
            MSG                  helpdesk@nuco2.com       John Templin                          Client/Work
Priv_2408            9:34                                                      NuCO2                          attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                                                              Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                                                communications and /or
            VSD                                           John Templin         Self             Client/Work
Priv_2409            9:34                                                                                     attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                               Self                           Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                                                communications and /or
            VSD                                           John Templin                          Client/Work
Priv_2410            9:34                                                                                     attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                               Self                           Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                                                communications and /or
            VSD                                           John Templin                          Client/Work
Priv_2411            9:34                                                                                     attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                               Self                           Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                                                communications and /or
            VSD                                           John Templin                          Client/Work
Priv_2412            9:34                                                                                     attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                               Self                           Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                                                communications and /or
            VSD                                           John Templin                          Client/Work
Priv_2413            9:34                                                                                     attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                               Self                           Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                                                communications and /or
            VSD                                           John Templin                          Client/Work
Priv_2414            9:34                                                                                     attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.


                                                                         435
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 437 of
                                                        573


                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2415           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2416           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2417           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2418           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            DOC                                John Templin                         Client/Work
Priv_2419           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2420           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2421           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            DOC                                John Templin                         Client/Work
Priv_2422           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2423           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.



                                                              436
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 438 of
                                                        573


                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            XLS                                John Templin                         Client/Work
Priv_2424           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            XLS                                John Templin                         Client/Work
Priv_2425           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2426           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2427           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2428           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2429           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            BIN                                John Templin                         Client/Work
Priv_2430           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2431           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2432           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.



                                                              437
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 439 of
                                                        573


                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2433           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            BIN                                John Templin                         Client/Work
Priv_2434           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2435           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            XLS                                John Templin                         Client/Work
Priv_2436           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2437           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            XLS                                John Templin                         Client/Work
Priv_2438           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2439           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            XLS                                John Templin                         Client/Work
Priv_2440           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.
                                                                       Self                       Reflects attorney
                                                                                    Attorney
NuCO2_              7/30/2018                                                                     communications and /or
            VSD                                John Templin                         Client/Work
Priv_2441           9:34                                                                          attorney work product
                                                                                    Product
                                                                                                  regarding acquisition.



                                                              438
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 440 of
                                                         573


                                                                               Self                           Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                                                communications and /or
            XLS                                           John Templin                          Client/Work
Priv_2442            9:34                                                                                     attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                               Self                           Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                                                communications and /or
            VSD                                           John Templin                          Client/Work
Priv_2443            9:34                                                                                     attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                               Employee(s) of                 Reflects attorney
                                                                               NuCO2            Attorney
NuCO2_               7/30/2018   Gerald_Miller@praxair.                                                       communications and /or
            pptx                                          John Templin                          Client/Work
Priv_2444            9:34        com                                                                          attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                               Employee(s) of                 Reflects attorney
                                                                               NuCO2            Attorney
NuCO2_               7/30/2018   Gerald_Miller@praxair.                                                       communications and /or
            doc                                           John Templin                          Client/Work
Priv_2445            9:34        com                                                                          attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                               Employee(s) of                 Reflects attorney
                                                                               NuCO2            Attorney
NuCO2_               7/30/2018   Gerald_Miller@praxair.                                                       communications and /or
            doc                                           John Templin                          Client/Work
Priv_2446            9:34        com                                                                          attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                                                              Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                                                communications and /or
            XLS                                           John Templin         Self             Client/Work
Priv_2447            9:34                                                                                     attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                               Self                           Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                                                communications and /or
            XLS                                           John Templin                          Client/Work
Priv_2448            9:34                                                                                     attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                               Self                           Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                                                communications and /or
            XLS                                           John Templin                          Client/Work
Priv_2449            9:34                                                                                     attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.
                                                                               Self                           Reflects attorney
                                                                                                Attorney
NuCO2_               7/30/2018                                                                                communications and /or
            XLS                                           John Templin                          Client/Work
Priv_2450            9:34                                                                                     attorney work product
                                                                                                Product
                                                                                                              regarding acquisition.



                                                                         439
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 441 of
                                                        573


                                                                                          Self                           Reflects attorney
                                                                                                           Attorney
NuCO2_              7/30/2018                                                                                            communications and /or
            XLS                                       John Templin                                         Client/Work
Priv_2451           9:34                                                                                                 attorney work product
                                                                                                           Product
                                                                                                                         regarding acquisition.
                                                                                          Self                           Reflects attorney
                                                                                                           Attorney
NuCO2_              7/30/2018                                                                                            communications and /or
            VSD                                       John Templin                                         Client/Work
Priv_2452           9:34                                                                                                 attorney work product
                                                                                                           Product
                                                                                                                         regarding acquisition.
                                                                                          Self                           Reflects attorney
                                                                                                           Attorney
NuCO2_              7/30/2018                                                                                            communications and /or
            VSD                                       John Templin                                         Client/Work
Priv_2453           9:34                                                                                                 attorney work product
                                                                                                           Product
                                                                                                                         regarding acquisition.
                                                                                          Self                           Reflects attorney
                                                                                                           Attorney
NuCO2_              7/30/2018                                                                                            communications and /or
            VSD                                       John Templin                                         Client/Work
Priv_2454           9:34                                                                                                 attorney work product
                                                                                                           Product
                                                                                                                         regarding acquisition.
                                                                                          Self                           Reflects attorney
                                                                                                           Attorney
NuCO2_              7/30/2018                                                                                            communications and /or
            VSD                                       John Templin                                         Client/Work
Priv_2455           9:34                                                                                                 attorney work product
                                                                                                           Product
                                                                                                                         regarding acquisition.
                                                                                          Self                           Reflects attorney
                                                                                                           Attorney
NuCO2_              7/30/2018                                                                                            communications and /or
            ZIP                                       John Templin                                         Client/Work
Priv_2456           9:34                                                                                                 attorney work product
                                                                                                           Product
                                                                                                                         regarding acquisition.
                                                                                          Self                           Reflects attorney
                                                                                                           Attorney
NuCO2_              7/30/2018                                                                                            communications and /or
            pdf                                       John Templin                                         Client/Work
Priv_2457           9:34                                                                                                 attorney work product
                                                                                                           Product
                                                                                                                         regarding acquisition.
                                                                                          Self                           Reflects attorney
                                                                                                           Attorney
NuCO2_              7/30/2018                                                                                            communications and /or
            VSD                                       John Templin                                         Client/Work
Priv_2458           9:34                                                                                                 attorney work product
                                                                                                           Product
                                                                                                                         regarding acquisition.
                                                                                          Employee(s) of
                                                                           Shelly_Piazz                                  Reflects need for/provision of
NuCO2_              7/19/2018   David_Markatos@Prax                                       NuCO2 and its    Attorney
            MSG                                       John Templin         a@Praxair.c                                   legal advice regarding settling
Priv_2459           9:18        air.com                                                   affiliated       Client
                                                                           om                                            customer dispute.
                                                                                          company(ies)



                                                                     440
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 442 of
                                                        573


                                                                                         Employee(s) of
                                                                                         NuCO2                           Reflects communications
NuCO2_              7/18/2018                                                                             Settlement
            MSG                 Nate Freese         John Templin                                                         regarding settlement
Priv_2460           20:01                                                                                 Negotiations
                                                                                                                         concerning customer dispute.

                                                                          Conesha        Employee(s) of
                                                                          Moorer;        NuCO2
                                                                          HAY; Sarah
                                                                          Llewellyn;
                                                    Mark Novak; Roger     Hank
                                                                                                                         Communications regarding
NuCO2_              7/12/2018                       Montealegre;          Moeller;                        Settlement
            MSG                 Robbi Stiell                                                                             strategy for settling customer
Priv_2461           17:11                           Amber Rives;          Regulatory;                     Negotiations
                                                                                                                         dispute.
                                                    Schedulers            Jeff Bagby;
                                                                          Derek
                                                                          Burton;
                                                                          John
                                                                          Templin
                                                                          Conesha        Employee(s) of
                                                                          Moorer;        NuCO2
                                                                          HAY; Sarah
                                                                          Llewellyn;
                                                    Mark Novak; Roger     Hank
                                                                                                                         Communications regarding
NuCO2_              7/12/2018                       Montealegre;          Moeller;                        Settlement
            pdf                 Roger Montealegre                                                                        strategy for settling customer
Priv_2462           17:11                           Amber Rives;          Regulatory;                     Negotiations
                                                                                                                         dispute.
                                                    Schedulers            Jeff Bagby;
                                                                          Derek
                                                                          Burton;
                                                                          John
                                                                          Templin
                                                                          Jonathon       Employee(s) of
                                                                          Kielbasa;      NuCO2
                                                                          Hank
                                                    John Chesney;         Moeller;                                       Communications regarding
NuCO2_              7/12/2018                                                                             Settlement
            msg                 Mark Novak          Robbi Stiell; Jeff    Roger                                          strategy for settling customer
Priv_2463           17:11                                                                                 Negotiations
                                                    Dodds; Jeff Bagby     Montealegre;                                   dispute.
                                                                          Regulatory;
                                                                          Tech
                                                                          Support




                                                                    441
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 443 of
                                                         573


                                                                           Jeff Bagby;    Employee(s) of
                                                                           Bill Wilson;   NuCO2                           Communications regarding
NuCO2_               7/12/2018                                                                             Settlement
            msg                  Roger Montealegre    Robbi Stiell         Kyle Brown;                                    strategy for settling customer
Priv_2464            17:11                                                                                 Negotiations
                                                                           James                                          dispute.
                                                                           Gubatan
                                                                                          Employee(s) of                  Reflects attorney
                                                      Derek Burton; John                  NuCO2 and its    Attorney       communications and/or
NuCO2_               7/12/2018
            pptx                 Felicia Gallagher    Templin; Gerald                     affiliated       Client/Work    attorney work product
Priv_2465            15:07
                                                      Miller                              company(ies)     Product        regardinglegal matters and
                                                                                                                          safety.
                                                                                          Employee(s) of                  Reflects attorney
                                                      Derek Burton; John                  NuCO2 and its    Attorney       communications and/or
NuCO2_               7/12/2018
            pptx                 Felicia Gallagher    Templin; Gerald                     affiliated       Client/Work    attorney work product
Priv_2466            10:49
                                                      Miller                              company(ies)     Product        regardinglegal matters and
                                                                                                                          safety.
                                                                                          Employee(s) of                  Reflects attorney
                                                      Derek Burton; John                  NuCO2 and its    Attorney       communications and/or
NuCO2_               7/11/2018
            pptx                 Felicia Gallagher    Templin; Gerald                     affiliated       Client/Work    attorney work product
Priv_2467            16:10
                                                      Miller                              company(ies)     Product        regarding legal matters and
                                                                                                                          acquisition and safety.
                                                                                          Employee(s) of                  Reflects attorney
                                                                           John
                                                                                          NuCO2 and its                   communications and/or
NuCO2_               7/11/2018                        David_Markatos@      Templin;                        Attorney
            xlsx                 Christine Bukowski                                       affiliated                      attorney work product
Priv_2468            11:39                            Praxair.com          Brian D.                        Client
                                                                                          company(ies)                    regarding settlement
                                                                           Potter
                                                                                                                          concerning customer dispute.
                                                                                          Employee(s) of                  Reflects attorney
                                                                           John
                                                                                          NuCO2 and its                   communications and/or
NuCO2_               7/11/2018                        David_Markatos@      Templin;                        Attorney
            pdf                  Christine Bukowski                                       affiliated                      attorney work product
Priv_2469            11:39                            Praxair.com          Brian D.                        Client
                                                                                          company(ies)                    regarding settlement
                                                                           Potter
                                                                                                                          concerning customer dispute.
                                                                                                                          Reflects attorney
                                                                           John           Employee(s) of
                                                                                                                          communications and/or
NuCO2_               7/11/2018                        David_Markatos@      Templin;       NuCO2 and its    Attorney
            MSG                  Christine Bukowski                                                                       attorney work product
Priv_2470            11:39                            Praxair.com          Brian D.       affiliated       Client
                                                                                                                          regarding settlement
                                                                           Potter         company(ies)
                                                                                                                          concerning customer dispute.
                                                                                          Employee(s) of
                                                                                          NuCO2            Attorney       Reflects confidential business
NuCO2_               6/27/2018
            xls                  Debbie Oliver        John Templin                                         Client/Work    and/or legal information
Priv_2471            10:10
                                                                                                           Product        regarding non-party.




                                                                     442
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 444 of
                                                         573


                                                                                           Employee(s) of
                                                                                           NuCO2                           Reflects communications
NuCO2_               6/26/2018                         John Templin; Nate                                   Settlement
            MSG                  Gerald Miller                                                                             regarding settlement
Priv_2472            11:22                             Freese                                               Negotiations
                                                                                                                           concerning customer dispute.

                                                                                           Employee(s) of
                                                                                           NuCO2                           Reflects communications
NuCO2_               6/26/2018                         John Templin; Nate                                   Settlement
            pdf                  Gerald Miller                                                                             regarding settlement
Priv_2473            11:22                             Freese                                               Negotiations
                                                                                                                           concerning customer dispute.
                                                                                           Employee(s) of
                                                                                           NuCO2                           Reflects communications
NuCO2_               6/26/2018                         John Templin; Nate                                   Settlement
            pdf                  Gerald Miller                                                                             regarding settlement
Priv_2474            11:22                             Freese                                               Negotiations
                                                                                                                           concerning customer dispute.

                                                                                           Employee(s) of
                                                                                           NuCO2                           Reflects communications
NuCO2_               6/26/2018                         John Templin; Nate                                   Settlement
            docx                 Gerald Miller                                                                             regarding settlement
Priv_2475            11:22                             Freese                                               Negotiations
                                                                                                                           concerning customer dispute.

                                                                                           Employee(s) of
                                                                                           NuCO2                           Reflects communications
NuCO2_               6/26/2018                         John Templin; Nate                                   Settlement
            docx                 Gerald Miller                                                                             regarding settlement
Priv_2476            11:22                             Freese                                               Negotiations
                                                                                                                           concerning customer dispute.

                                                                                           Employee(s) of                  Communications regarding
                                                                                           NuCO2 and its                   request for and provision of
                                                                            Shelly_Piazz                    Attorney
NuCO2_               6/25/2018   David_Markatos@Prax                                       affiliated                      legal advice/work product of
            docx                                       John Templin         a@Praxair.c                     Client/Work
Priv_2477            15:16       air.com                                                   company(ies)                    counsel concerning
                                                                            om                              Product
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                           Employee(s) of                  Communications regarding
                                                                                           NuCO2 and its                   request for and provision of
                                                                            Shelly_Piazz                    Attorney
NuCO2_               6/25/2018   David_Markatos@Prax                                       affiliated                      legal advice/work product of
            pdf                                        John Templin         a@Praxair.c                     Client/Work
Priv_2478            15:16       air.com                                                   company(ies)                    counsel concerning
                                                                            om                              Product
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                           Employee(s) of                  Communications regarding
                                                                                           NuCO2 and its                   request for and provision of
                                                                            Shelly_Piazz                    Attorney
NuCO2_               6/25/2018   David_Markatos@Prax                                       affiliated                      legal advice/work product of
            MSG                                        John Templin         a@Praxair.c                     Client/Work
Priv_2479            15:16       air.com                                                   company(ies)                    counsel concerning
                                                                            om                              Product
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.


                                                                      443
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 445 of
                                                         573


                                                                                              Employee(s) of                  Reflects attorney
                                                                                              NuCO2 and its    Attorney       communications and/or
NuCO2_               6/25/2018   David_Markatos@Prax
            MSG                                           John Templin                        affiliated       Client/Work    attorney work product
Priv_2480            14:52       air.com
                                                                                              company(ies)     Product        regarding settlement
                                                                                                                              concerning customer dispute.
                                                                                              Employee(s) of                  Reflects attorney
                                                                                              NuCO2 and its    Attorney       communications and/or
NuCO2_               6/25/2018   David_Markatos@Prax
            MSG                                           John Templin                        affiliated       Client/Work    attorney work product
Priv_2481            12:41       air.com
                                                                                              company(ies)     Product        regarding settlement
                                                                                                                              concerning customer dispute.
                                                                                              Employee(s) of                  Reflects attorney
                                                                                              NuCO2 and its    Attorney       communications and/or
NuCO2_               6/25/2018   David_Markatos@Prax
            docx                                          John Templin                        affiliated       Client/Work    attorney work product
Priv_2482            12:41       air.com
                                                                                              company(ies)     Product        regarding settlement
                                                                                                                              concerning customer dispute.
                                                                                              Employee(s) of                  Communications regarding
                                                                                              NuCO2 and its                   request for and provision of
                                                                               David_Mark                      Attorney
NuCO2_               6/25/2018   Shelly_Piazza@Praxair.                                       affiliated                      legal advice/work product of
            docx                                          John Templin         atos@Praxai                     Client/Work
Priv_2483            11:05       com                                                          company(ies)                    counsel concerning
                                                                               r.com                           Product
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                              Employee(s) of                  Communications regarding
                                                                                              NuCO2 and its                   request for and provision of
                                                                               David_Mark                      Attorney
NuCO2_               6/25/2018   Shelly_Piazza@Praxair.                                       affiliated                      legal advice/work product of
            MSG                                           John Templin         atos@Praxai                     Client/Work
Priv_2484            11:05       com                                                          company(ies)                    counsel concerning
                                                                               r.com                           Product
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                              Employee(s) of                  Reflects attorney
                                                                                              NuCO2 and its                   communications and/or
NuCO2_               6/22/2018   David_Markatos@Prax                                                           Attorney
            MSG                                           John Templin                        affiliated                      attorney work product
Priv_2485            9:22        air.com                                                                       Work Product
                                                                                              company(ies)                    regarding settlement
                                                                                                                              concerning customer dispute.
                                                                                              Employee(s) of                  Communications regarding
                                                                                              NuCO2 and its                   request for and provision of
                                                                               Shelly_Piazz                    Attorney
NuCO2_               6/14/2018   David_Markatos@Prax                                          affiliated                      legal advice/work product of
            MSG                                           John Templin         a@Praxair.c                     Client/Work
Priv_2486            16:05       air.com                                                      company(ies)                    counsel concerning
                                                                               om                              Product
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.




                                                                         444
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 446 of
                                                         573


                                                                                               Employee(s) of                 Reflects attorney
                                                                                               NuCO2 and its                  communications and/or
NuCO2_               6/14/2018   David_Markatos@Prax                            Bridget                         Attorney
            MSG                                        John Templin                            affiliated                     attorney work product
Priv_2487            11:09       air.com                                        Correa                          Client
                                                                                               company(ies)                   regarding settlement
                                                                                                                              concerning customer dispute.
                                                                                               Employee(s) of                 Reflects attorney
                                                       John Templin;                           NuCO2 and its                  communications and/or
NuCO2_               6/13/2018                                                                                  Attorney
            MSG                  Bridget Correa        David_Markatos@                         affiliated                     attorney work product
Priv_2488            16:25                                                                                      Client
                                                       Praxair.com                             company(ies)                   regarding settlement
                                                                                                                              concerning customer dispute.
                                                                                               Employee(s) of                 Reflects attorney
                                                       John Templin;                           NuCO2 and its                  communications and/or
NuCO2_               6/13/2018                                                                                  Attorney
            xlsx                 Bridget Correa        David_Markatos@                         affiliated                     attorney work product
Priv_2489            16:25                                                                                      Client
                                                       Praxair.com                             company(ies)                   regarding settlement
                                                                                                                              concerning customer dispute.
                                                                                               Employee(s) of                 Reflects attorney
                                                                                               NuCO2 and its                  communications and/or
NuCO2_               6/13/2018   David_Markatos@Prax   Bridget Correa;                                          Attorney
            msg                                                                                affiliated                     attorney work product
Priv_2490            16:25       air.com               John Templin                                             Client
                                                                                               company(ies)                   regarding settlement
                                                                                                                              concerning customer dispute.
                                                                                               Employee(s) of                 Reflects attorney
                                                                                               NuCO2 and its                  communications and/or
NuCO2_               6/13/2018   David_Markatos@Prax   Bridget Correa;                                          Attorney
            MSG                                                                                affiliated                     attorney work product
Priv_2491            15:37       air.com               John Templin                                             Client
                                                                                               company(ies)                   regarding settlement
                                                                                                                              concerning customer dispute.
                                                       Gerald Miller; Jeff                     Employee(s) of                 Reflects attorney
                                                       Gilheney; Derek                         NuCO2 and its    Attorney      communications and/or
NuCO2_               6/13/2018
            pptx                 Felicia Gallagher     Burton; John                            affiliated       Client/Work   attorney work product
Priv_2492            7:41
                                                       Templin; Richard                        company(ies)     Product       regarding legal matters and
                                                       Wilkie                                                                 acquisition and safety.
                                                                                               Employee(s) of                 Communications regarding
                                                                                               NuCO2 and its                  request for and provision of
                                                                                Shelly_Piazz                    Attorney
NuCO2_               6/12/2018   David_Markatos@Prax   Brian D. Potter;                        affiliated                     legal advice/work product of
            MSG                                                                 a@Praxair.c                     Client/Work
Priv_2493            14:49       air.com               John Templin                            company(ies)                   counsel concerning
                                                                                om                              Product
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                               Employee(s) of                 Communications regarding
                                                                                Shelly_Piazz   NuCO2 and its    Attorney
NuCO2_               6/12/2018   David_Markatos@Prax   Brian D. Potter;                                                       request for and provision of
            docx                                                                a@Praxair.c    affiliated       Client/Work
Priv_2494            14:49       air.com               John Templin                                                           legal advice/work product of
                                                                                om                              Product
                                                                                                                              counsel concerning


                                                                          445
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 447 of
                                                         573


                                                                                             company(ies)                   negotiation/drafting of
                                                                                                                            customer agreement.


                                                                                             Employee(s) of                 Communications regarding
                                                                                             NuCO2 and its                  request for and provision of
NuCO2_               6/12/2018                            David_Markatos@      John          affiliated       Attorney      legal advice/work product of
            docx                 Brian D. Potter
Priv_2495            13:53                                Praxair.com          Templin       company(ies)     Client        counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                             Employee(s) of                 Communications regarding
                                                                                             NuCO2 and its                  request for and provision of
NuCO2_               6/12/2018                            David_Markatos@      John          affiliated       Attorney      legal advice/work product of
            MSG                  Brian D. Potter
Priv_2496            13:53                                Praxair.com          Templin       company(ies)     Client        counsel concerning
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                             Employee(s) of                 Communications regarding
                                                                               David_Mark    NuCO2 and its                  need for legal advice/work
NuCO2_               6/5/2018    Shelly_Piazza@Praxair.                                                       Attorney
            MSG                                           John Templin         atos@Praxai   affiliated                     product of counsel concerning
Priv_2497            10:49       com                                                                          Client
                                                                               r.com         company(ies)                   negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                             Employee(s) of                 Reflects attorney
                                                                                             NuCO2 and its    Attorney      communications and/or
NuCO2_               6/4/2018                             David_Markatos@      John
            MSG                  Bridget Correa                                              affiliated       Client/Work   attorney work product
Priv_2498            8:22                                 Praxair.com          Templin
                                                                                             company(ies)     Product       regarding settlement
                                                                                                                            concerning customer dispute.
                                                                                             Employee(s) of                 Reflects attorney
                                                                                             NuCO2 and its    Attorney      communications and/or
NuCO2_               6/4/2018                             David_Markatos@      John
            pdf                  Bridget Correa                                              affiliated       Client/Work   attorney work product
Priv_2499            8:22                                 Praxair.com          Templin
                                                                                             company(ies)     Product       regarding settlement
                                                                                                                            concerning customer dispute.
                                                                                             Employee(s) of                 Reflects attorney
                                                                                             NuCO2 and its    Attorney      communications and/or
NuCO2_               6/4/2018                             David_Markatos@      John
            pdf                  Bridget Correa                                              affiliated       Client/Work   attorney work product
Priv_2500            8:22                                 Praxair.com          Templin
                                                                                             company(ies)     Product       regarding settlement
                                                                                                                            concerning customer dispute.
                                                                                             Employee(s) of                 Reflects attorney
                                                                                             NuCO2 and its    Attorney
NuCO2_               6/4/2018                             David_Markatos@      John                                         communications and/or
            xls                  Bridget Correa                                              affiliated       Client/Work
Priv_2501            8:22                                 Praxair.com          Templin                                      attorney work product
                                                                                                              Product
                                                                                                                            regarding settlement


                                                                         446
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 448 of
                                                        573


                                                                                          company(ies)                   concerning customer dispute.




                                                                                                                         Reflects attorney
                                                                                          Employee(s) of
                                                                            John                           Attorney      communications and/or
NuCO2_              6/4/2018                                                              NuCO2
            msg                 Bridget Correa        Gerald Miller         Templin;                       Client/Work   attorney work product
Priv_2502           8:22
                                                                            Nate Freese                    Product       regarding settlement
                                                                                                                         concerning customer dispute.
                                                                            Bridget       Employee(s) of                 Reflects attorney
                                                                            Correa;       NuCO2 and its    Attorney      communications and/or
NuCO2_              6/4/2018    Rebecca_Rourke@Prax
            msg                                       Nate Freese           Ray_Homan     affiliated       Client/Work   attorney work product
Priv_2503           8:22        air.com
                                                                            @Praxair.co   company(ies)     Product       regarding settlement
                                                                            m                                            concerning customer dispute.
                                                                            Gerald        Employee(s) of
                                                                                                                         Reflects attorney
                                                                            Miller;       NuCO2 and its
                                                                                                           Attorney      communications and/or
NuCO2_              6/4/2018                          David_Markatos@       Ronald        affiliated
            msg                 Bridget Correa                                                             Client/Work   attorney work product
Priv_2504           8:22                              Praxair.com           Thermil;      company(ies)
                                                                                                           Product       regarding settlement
                                                                            John
                                                                                                                         concerning customer dispute.
                                                                            Templin
                                                                            Gerald        Employee(s) of
                                                                                                                         Reflects attorney
                                                                            Miller;       NuCO2 and its
                                                                                                                         communications and/or
NuCO2_              5/31/2018                         David_Markatos@       Ronald        affiliated       Attorney
            pdf                 Bridget Correa                                                                           attorney work product
Priv_2505           15:12                             Praxair.com           Thermil;      company(ies)     Client
                                                                                                                         regarding settlement
                                                                            John
                                                                                                                         concerning customer dispute.
                                                                            Templin
                                                                            Gerald        Employee(s) of
                                                                                                                         Reflects attorney
                                                                            Miller;       NuCO2 and its
                                                                                                                         communications and/or
NuCO2_              5/31/2018                         David_Markatos@       Ronald        affiliated       Attorney
            xls                 Bridget Correa                                                                           attorney work product
Priv_2506           15:12                             Praxair.com           Thermil;      company(ies)     Client
                                                                                                                         regarding settlement
                                                                            John
                                                                                                                         concerning customer dispute.
                                                                            Templin
                                                                                          Employee(s) of                 Reflects attorney
                                                                            John          NuCO2                          communications and/or
NuCO2_              5/31/2018                                                                              Attorney
            msg                 Bridget Correa        Gerald Miller         Templin;                                     attorney work product
Priv_2507           15:12                                                                                  Client
                                                                            Nate Freese                                  regarding settlement
                                                                                                                         concerning customer dispute.




                                                                      447
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 449 of
                                                         573


                                                                           Bridget       Employee(s) of              Reflects attorney
                                                                           Correa;       NuCO2 and its               communications and/or
NuCO2_               5/31/2018   Rebecca_Rourke@Prax                                                      Attorney
            msg                                        Nate Freese         Ray_Homan     affiliated                  attorney work product
Priv_2508            15:12       air.com                                                                  Client
                                                                           @Praxair.co   company(ies)                regarding settlement
                                                                           m                                         concerning customer dispute.
                                                                           Gerald        Employee(s) of
                                                                                                                     Reflects attorney
                                                                           Miller;       NuCO2 and its
                                                                                                                     communications and/or
NuCO2_               5/31/2018                         David_Markatos@     Ronald        affiliated       Attorney
            pdf                  Bridget Correa                                                                      attorney work product
Priv_2509            15:12                             Praxair.com         Thermil;      company(ies)     Client
                                                                                                                     regarding settlement
                                                                           John
                                                                                                                     concerning customer dispute.
                                                                           Templin
                                                                           Gerald        Employee(s) of
                                                                                                                     Reflects attorney
                                                                           Miller;       NuCO2 and its
                                                                                                                     communications and/or
NuCO2_               5/31/2018                         David_Markatos@     Ronald        affiliated       Attorney
            MSG                  Bridget Correa                                                                      attorney work product
Priv_2510            15:12                             Praxair.com         Thermil;      company(ies)     Client
                                                                                                                     regarding settlement
                                                                           John
                                                                                                                     concerning customer dispute.
                                                                           Templin
                                                                                         Employee(s) of
                                                       David_Markatos@
                                                                                         NuCO2 and its               Communications regarding
NuCO2_               5/24/2018                         Praxair.com;        John                           Attorney
            MSG                  Derek Burton                                            affiliated                  need for guidance regarding
Priv_2511            8:26                              Dominick Brandow;   Templin                        Client
                                                                                         company(ies)                regulatory compliance.
                                                       Mark Novak
                                                                                         Employee(s) of
                                                       David_Markatos@
                                                                                         NuCO2 and its               Communications regarding
NuCO2_               5/24/2018                         Praxair.com;        John                           Attorney
            pptx                 Derek Burton                                            affiliated                  need for guidance regarding
Priv_2512            8:26                              Dominick Brandow;   Templin                        Client
                                                                                         company(ies)                regulatory compliance.
                                                       Mark Novak
                                                                                         Employee(s) of
                                                       David_Markatos@
                                                                                         NuCO2 and its               Communications regarding
NuCO2_               5/24/2018                         Praxair.com;        John                           Attorney
            pdf                  Derek Burton                                            affiliated                  need for guidance regarding
Priv_2513            8:26                              Dominick Brandow;   Templin                        Client
                                                                                         company(ies)                regulatory compliance.
                                                       Mark Novak
                                                                                         Employee(s) of
                                                       David_Markatos@
                                                                                         NuCO2 and its               Communications regarding
NuCO2_               5/24/2018                         Praxair.com;        John                           Attorney
            docx                 Derek Burton                                            affiliated                  need for guidance regarding
Priv_2514            8:26                              Dominick Brandow;   Templin                        Client
                                                                                         company(ies)                regulatory compliance.
                                                       Mark Novak




                                                                     448
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 450 of
                                                        573


                                                    John Templin;                        Employee(s) of
                                                    Dominick Brandow;                    NuCO2 and its
                                                    Kevin Patton;                        affiliated
                                                                                                                        Reflects attorney
                                                    Gerald Miller; Jeff                  company(ies)     Attorney
NuCO2_              5/21/2018                                                                                           communications and/or
            pdf                 Felicia Gallagher   Gilheney; Derek                                       Client/Work
Priv_2515           20:15                                                                                               attorney work product
                                                    Burton; Randy                                         Product
                                                                                                                        regarding legal matters.
                                                    Gold; Patrick
                                                    Woelfel; Richard
                                                    Wilkie
                                                                                         Employee(s) of                 Reflects attorney
                                                                                         NuCO2 and its    Attorney      communications and/or
NuCO2_              5/21/2018                       'Ray_Homan@Prax
            msg                 Bridget Correa                             Nate Freese   affiliated       Client/Work   attorney work product
Priv_2516           13:55                           air.com'
                                                                                         company(ies)     Product       regarding settlement
                                                                                                                        concerning customer dispute.
                                                                                         Employee(s) of                 Reflects attorney
                                                                           John          NuCO2 and its    Attorney      communications and/or
NuCO2_              5/21/2018
            msg                 Bridget Correa      Gerald Miller          Templin;      affiliated       Client/Work   attorney work product
Priv_2517           13:55
                                                                           Nate Freese   company(ies)     Product       regarding settlement
                                                                                                                        concerning customer dispute.
                                                                                         Employee(s) of                 Reflects attorney
                                                                                         NuCO2            Attorney      communications and/or
NuCO2_              5/21/2018                                              John-Paul
            msg                 Bridget Correa      Scott Bankhead                                        Client/Work   attorney work product
Priv_2518           13:55                                                  Venanzi
                                                                                                          Product       regarding settlement
                                                                                                                        concerning customer dispute.
                                                                                         Employee(s) of                 Reflects attorney
                                                                                         NuCO2            Attorney      communications and/or
NuCO2_              5/21/2018                       John Templin;
            pdf                 Bridget Correa                                                            Client/Work   attorney work product
Priv_2519           13:55                           Ronald Thermil
                                                                                                          Product       regarding settlement
                                                                                                                        concerning customer dispute.
                                                                                         Employee(s) of                 Reflects attorney
                                                                                         NuCO2            Attorney      communications and/or
NuCO2_              5/21/2018                       John Templin;
            xls                 Bridget Correa                                                            Client/Work   attorney work product
Priv_2520           13:55                           Ronald Thermil
                                                                                                          Product       regarding settlement
                                                                                                                        concerning customer dispute.
                                                                                                                        Reflects attorney
                                                                                                          Attorney      communications and/or
NuCO2_              5/21/2018                       John Templin;                        Employee(s) of
            pdf                 Bridget Correa                                                            Client/Work   attorney work product
Priv_2521           13:55                           Ronald Thermil                       NuCO2
                                                                                                          Product       regarding settlement
                                                                                                                        concerning customer dispute.




                                                                     449
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 451 of
                                                         573


                                                                         Employee(s) of                  Reflects attorney
                                                                         NuCO2            Attorney       communications and/or
NuCO2_               5/21/2018                    John Templin;
            xlsx                 Bridget Correa                                           Client/Work    attorney work product
Priv_2522            13:55                        Ronald Thermil
                                                                                          Product        regarding settlement
                                                                                                         concerning customer dispute.
                                                                         Employee(s) of                  Reflects attorney
                                                                         NuCO2            Attorney       communications and/or
NuCO2_               5/21/2018                    John Templin;
            MSG                  Bridget Correa                                           Client/Work    attorney work product
Priv_2523            13:55                        Ronald Thermil
                                                                                          Product        regarding settlement
                                                                                                         concerning customer dispute.
                                                                         Employee(s) of                  Reflects need for/provision of
                                                                         NuCO2            Attorney       legal advice regarding
NuCO2_               5/8/2018
            pdf                  Nate Freese      John Templin                            Client/Work    negotiation/drafting of
Priv_2524            11:45
                                                                                          Product        customer agreements/other
                                                                                                         issues.
                                                                         Employee(s) of                  Reflects need for/provision of
                                                                         NuCO2            Attorney       legal advice regarding
NuCO2_               5/8/2018                     Thomas McGann;
            msg                  Zac Boulund                                              Client/Work    negotiation/drafting of
Priv_2525            11:45                        Nate Freese
                                                                                          Product        customer agreements/other
                                                                                                         issues.
                                                                         Employee(s) of                  Reflects need for/provision of
                                                                         NuCO2            Attorney       legal advice regarding
NuCO2_               5/8/2018
            MSG                  Nate Freese      John Templin                            Client/Work    negotiation/drafting of
Priv_2526            11:45
                                                                                          Product        customer agreements/other
                                                                                                         issues.
                                                                         Employee(s) of
                                                                         NuCO2                           Communications regarding
NuCO2_               4/12/2018                                                            Settlement
            msg                  John Templin     Kym Cherubini                                          strategy for settling customer
Priv_2527            11:42                                                                Negotiations
                                                                                                         dispute.
                                                                         Employee(s) of
                                                                         NuCO2                           Communications regarding
NuCO2_               4/12/2018                                                            Settlement
            pdf                  Kym Cherubini    John Templin                                           strategy for settling customer
Priv_2528            11:42                                                                Negotiations
                                                                                                         dispute.

                                                                         Employee(s) of
                                                                         NuCO2                           Communications regarding
NuCO2_               4/12/2018                                                            Settlement
            XLSM                 Kym Cherubini    John Templin                                           strategy for settling customer
Priv_2529            11:42                                                                Negotiations
                                                                                                         dispute.




                                                                   450
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 452 of
                                                         573


                                                                                        Employee(s) of
                                                                                        NuCO2                           Communications regarding
NuCO2_               4/12/2018                                                                           Settlement
            PDF                  Kym Cherubini     John Templin                                                         strategy for settling customer
Priv_2530            11:42                                                                               Negotiations
                                                                                                                        dispute.

                                                                                        Employee(s) of
                                                                                        NuCO2                           Communications regarding
NuCO2_               4/12/2018                                                                           Settlement
            MSG                  Kym Cherubini     John Templin                                                         strategy for settling customer
Priv_2531            11:42                                                                               Negotiations
                                                                                                                        dispute.
                                                                                        Employee(s) of
                                                                                        NuCO2                           Communications regarding
NuCO2_               4/12/2018                                                                           Settlement
            MSG                  Kym Cherubini     John Templin          Robbi Stiell                                   strategy for settling customer
Priv_2532            11:11                                                                               Negotiations
                                                                                                                        dispute.

                                                                                        Employee(s) of
                                                                                                                        Communications regarding
NuCO2_               4/12/2018                                                          NuCO2            Settlement
            msg                  John Templin      Kym Cherubini                                                        strategy for settling customer
Priv_2533            11:11                                                                               Negotiations
                                                                                                                        dispute.

                                                                                        Employee(s) of
                                                   Gerald Miller;
                                                                                        NuCO2 and its                   Reflects attorney
                                                   Randy Gold; John                                      Attorney
NuCO2_               4/5/2018                                                           affiliated                      communications and /or
            xlsx                 Kevin Patton      Templin; Felicia                                      Client/Work
Priv_2534            13:46                                                              company(ies)                    attorney work product
                                                   Gallagher; Derek                                      Product
                                                                                                                        regarding acquisition.
                                                   Burton
                                                                                                                        Reflects need for/provision of
                                                                                        Employee(s) of
                                                                                                         Attorney       legal advice regarding
NuCO2_               3/28/2018                                                          NuCO2
            MSG                  Nate Freese       John Templin                                          Client/Work    negotiation/drafting of
Priv_2535            15:04
                                                                                                         Product        customer agreements/other
                                                                                                                        issues.
                                                                                        Employee(s) of
                                                   Gerald Miller;                       NuCO2 and its                   Reflects attorney
                                                                                                         Attorney
NuCO2_               3/7/2018                      Randy Gold; John                     affiliated                      communications and /or
            xlsx                 Kevin Patton                                                            Client/Work
Priv_2536            8:13                          Templin; Felicia                     company(ies)                    attorney work product
                                                                                                         Product
                                                   Gallagher                                                            regarding acquisition.

                                                                                        Employee(s) of
                                                                                        NuCO2                           Communications regarding
NuCO2_               2/21/2018                                                                           Settlement
            png                  Rodney Husbands   John Templin                                                         strategy for settling customer
Priv_2537            17:32                                                                               Negotiations
                                                                                                                        dispute.




                                                                   451
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 453 of
                                                         573


                                                                                        Employee(s) of
                                                                                        NuCO2                          Communications regarding
NuCO2_               2/21/2018
            MSG                   Rodney Husbands   John Templin                                                       strategy for settling customer
Priv_2538            17:32
                                                                                                                       dispute.

                                                                                        Employee(s) of
                                                    Gerald Miller;                                                     Reflects attorney
                                                                                        NuCO2 and its    Attorney
NuCO2_               2/7/2018                       Randy Gold; John                                                   communications and /or
            xlsx                  Kevin Patton                                          affiliated       Client/Work
Priv_2539            9:07                           Templin; Felicia                                                   attorney work product
                                                                                        company(ies)     Product
                                                    Gallagher                                                          regarding acquisition.
                                                                                        Employee(s) of
                                                    Gerald Miller;                                                     Reflects attorney
                                                                                        NuCO2 and its    Attorney
NuCO2_               1/8/2018                       Randy Gold; John                                                   communications and /or
            xlsx                  Kevin Patton                                          affiliated       Client/Work
Priv_2540            15:24                          Templin; Felicia                                                   attorney work product
                                                                                        company(ies)     Product
                                                    Gallagher                                                          regarding acquisition.
                                                                         Derek          Employee(s) of
                                                                         Burton;        NuCO2 and its
                                                                         Felicia        affiliated
                                                                         Gallagher;     company(ies)
                                                                         John
                                                                         Chesney;
                                                                         John
                                                                                                                       Reflects attorney
                                                                         Templin;                        Attorney
NuCO2_               12/26/2017                     Scott_Rummans@P                                                    communications and /or
            MSG                   Randy Gold                             Lisa_Coyle                      Client/Work
Priv_2541            7:47                           raxair.com                                                         attorney work product
                                                                         @praxair.co                     Product
                                                                                                                       regarding acquisition.
                                                                         m; Ruthie
                                                                         Clemente;
                                                                         Toyanna
                                                                         Platt;
                                                                         Paul_W_Kib
                                                                         be@Praxair.
                                                                         com
                                                                         Scott_Rum      Employee(s) of
                                                                         mans@Prax      NuCO2 and its
                                                                         air.com;       affiliated
                                                    Randy Gold;                                                        Reflects attorney
                                                                         Toyanna        company(ies)     Attorney
NuCO2_               12/11/2017                     Lisa_Coyle@praxair                                                 communications and /or
            MSG                   John Chesney                           Platt; Derek                    Client/Work
Priv_2542            18:21                          .com; Michael                                                      attorney work product
                                                                         Burton;                         Product
                                                    Simmons                                                            regarding acquisition.
                                                                         Felicia
                                                                         Gallagher;
                                                                         John


                                                                   452
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 454 of
                                                         573


                                                                               Templin;
                                                                               Ruthie
                                                                               Clemente

                                                                               Derek          Employee(s) of
                                                                               Burton;        NuCO2 and its
                                                                               Felicia        affiliated
                                                                               Gallagher;     company(ies)
                                                                               John
                                                                               Chesney;
                                                                                                                             Reflects attorney
                                                                               John                            Attorney
NuCO2_               12/11/2017   Lisa_Coyle@praxair.co                                                                      communications and /or
            MSG                                           Randy Gold           Templin;                        Client/Work
Priv_2543            15:21        m                                                                                          attorney work product
                                                                               Ruthie                          Product
                                                                                                                             regarding acquisition.
                                                                               Clemente;
                                                                               Scott_Rum
                                                                               mans@Prax
                                                                               air.com;
                                                                               Toyanna
                                                                               Platt
                                                                               Scott_Rum      Employee(s) of
                                                                               mans@Prax      NuCO2 and its
                                                                               air.com;       affiliated
                                                                               Toyanna        company(ies)
                                                                               Platt; Derek
                                                                               Burton;                                       Reflects attorney
                                                          Randy Gold;                                          Attorney
NuCO2_               12/11/2017                                                Felicia                                       communications and /or
            MSG                   Randy Gold              Lisa_Coyle@praxair                                   Client/Work
Priv_2544            15:19                                                     Gallagher;                                    attorney work product
                                                          .com                                                 Product
                                                                               John                                          regarding acquisition.
                                                                               Templin;
                                                                               Ruthie
                                                                               Clemente;
                                                                               John
                                                                               Chesney
                                                                               Scott_Rum      Employee(s) of
                                                                               mans@Prax      NuCO2 and its
                                                                                                                             Reflects attorney
                                                          Randy Gold;          air.com;       affiliated       Attorney
NuCO2_               12/11/2017                                                                                              communications and /or
            xlsx                  Randy Gold              Lisa_Coyle@praxair   Toyanna        company(ies)     Client/Work
Priv_2545            15:19                                                                                                   attorney work product
                                                          .com                 Platt; Derek                    Product
                                                                                                                             regarding acquisition.
                                                                               Burton;
                                                                               Felicia


                                                                        453
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 455 of
                                                        573


                                                                           Gallagher;
                                                                           John
                                                                           Templin;
                                                                           Ruthie
                                                                           Clemente;
                                                                           John
                                                                           Chesney
                                                                                         Employee(s) of   Attorney        Reflects attorney
NuCO2_              10/19/2017                                                           NuCO2            Client / Work   communications and /or
            pdf                  Robbi Stiell      John Templin            Randy Gold                     Product
Priv_2546           9:49                                                                                                  attorney work product
                                                                                                                          regarding acquisition.
                                                                                         Employee(s) of   Attorney        Reflects attorney
NuCO2_              10/19/2017                                                           NuCO2            Client / Work   communications and /or
            MSG                  Randy Gold        John Templin            Randy Gold                     Product
Priv_2547           9:49                                                                                                  attorney work product
                                                                                                                          regarding acquisition.
                                                                                         Employee(s) of   Attorney        Reflects attorney
NuCO2_              10/19/2017                                                           NuCO2            Client / Work   communications and /or
            pdf                  Randy Gold        John Templin            Randy Gold                     Product
Priv_2548           9:49                                                                                                  attorney work product
                                                                                                                          regarding acquisition.
                                                                                         Employee(s) of   Attorney        Reflects attorney
NuCO2_              10/19/2017                                                           NuCO2            Client / Work   communications and /or
            xls                  Randy Gold        John Templin            Randy Gold                     Product
Priv_2549           9:49                                                                                                  attorney work product
                                                                                                                          regarding acquisition.
                                                                                         Employee(s) of   Attorney
                                                                                         NuCO2 and        Client / Work   Reflects attorney
NuCO2_              10/19/2017                                             plabelle@da   NuCO2’s          Product         communications and /or
            msg                  Robbi Stiell      Brent Fairchild
Priv_2550           9:49                                                   rden.com      customer(s)                      attorney work product
                                                                                                                          regarding acquisition.

                                                                                         Employee(s) of   Attorney        Reflects attorney
NuCO2_              10/19/2017                                                           NuCO2            Client / Work   communications and /or
            xls                  Randy Gold        John Templin            Randy Gold                     Product
Priv_2551           9:49                                                                                                  attorney work product
                                                                                                                          regarding acquisition.
                                                                                         Employee(s) of                   Communications regarding
                                                                           John
                                                                                         NuCO2 and its    Attorney        need for/provision of
NuCO2_              10/5/2017                      Edward_Balzarini@       Templin;
            pdf                  Sarah Llewellyn                                         affiliated       Client / Work   information regarding
Priv_2552           10:38                          Praxair.com             Jeff
                                                                                         company(ies)     Product         customer in order to facilitate
                                                                           Gilheney
                                                                                                                          provision of legal


                                                                     454
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 456 of
                                                         573


                                                                                                                            advice/services concerning
                                                                                                                            response to subpoena.


                                                                                             Employee(s) of                 Communications regarding
                                                                                             NuCO2 and its                  need for/provision of
                                                                               John
                                                                                             affiliated                     information regarding
NuCO2_               10/5/2017                          Edward_Balzarini@      Templin;                       Attorney
            docx                 Sarah Llewellyn                                             company(ies)                   customer in order to facilitate
Priv_2553            10:38                              Praxair.com            Jeff                           Client
                                                                                                                            provision of legal
                                                                               Gilheney
                                                                                                                            advice/services concerning
                                                                                                                            response to subpoena.
                                                                                             Employee(s) of                 Communications regarding
                                                                                             NuCO2 and its                  need for/provision of
                                                                               John
                                                                                             affiliated                     information regarding
NuCO2_               10/5/2017                          Edward_Balzarini@      Templin;                       Attorney
            MSG                  Sarah Llewellyn                                             company(ies)                   customer in order to facilitate
Priv_2554            10:38                              Praxair.com            Jeff                           Client
                                                                                                                            provision of legal
                                                                               Gilheney
                                                                                                                            advice/services concerning
                                                                                                                            response to subpoena.
                                                                               Eric_Sarner   Employee(s) of                 Communications regarding
                                                                               @Praxair.co   NuCO2 and its                  need for/provision of
                                                                                                              Attorney
NuCO2_               10/3/2017   Edward_Balzarini@Pra                          m; John       affiliated                     information concerning
            MSG                                         Jeff Gilheney                                         Client/Work
Priv_2555            12:26       xair.com                                      Templin;      company(ies)                   competitor dispute in order to
                                                                                                              Product
                                                                               David                                        facilitate provision of legal
                                                                               Markatos                                     advice/services.
                                                                               Eric_Sarner   Employee(s) of                 Communications regarding
                                                                               @Praxair.co   NuCO2 and its                  need for/provision of
                                                                                                              Attorney
NuCO2_               10/3/2017   Edward_Balzarini@Pra                          m; John       affiliated                     information concerning
            docx                                        Jeff Gilheney                                         Client/Work
Priv_2556            12:26       xair.com                                      Templin;      company(ies)                   competitor dispute in order to
                                                                                                              Product
                                                                               David                                        facilitate provision of legal
                                                                               Markatos                                     advice/services.
                                                                               Eric_Sarner                                  Communications regarding
                                                                               @Praxair.co   Employee(s) of                 need for/provision of
                                                                                                              Attorney
NuCO2_               10/3/2017   Edward_Balzarini@Pra                          m; John       NuCO2 and its                  information concerning
            pdf                                         Jeff Gilheney                                         Client/Work
Priv_2557            12:26       xair.com                                      Templin;      affiliated                     competitor dispute in order to
                                                                                                              Product
                                                                               David         company(ies)                   facilitate provision of legal
                                                                               Markatos                                     advice/services.
                                                                               'Edward_Bal   Employee(s) of   Attorney      Communications regarding
NuCO2_               10/3/2017                          Jeff Gilheney; Sarah   zarini@Prax   NuCO2 and its    Client        need for/provision of
            MSG                  Toyanna Platt                                               affiliated
Priv_2558            10:21                              Llewellyn              air.com';                                    information regarding
                                                                               John                                         customer in order to facilitate


                                                                        455
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 457 of
                                                        573


                                                                       Templin       company(ies)                provision of legal
                                                                                                                 advice/services concerning
                                                                                                                 response to subpoena.

                                                                                     Employee(s) of   Attorney   Communications regarding
                                                                       'Edward_Bal   NuCO2 and its    Client     need for/provision of
                                                                       zarini@Prax   affiliated                  information regarding
NuCO2_              10/3/2017                   Jeff Gilheney; Sarah
            pdf                 Toyanna Platt                          air.com';     company(ies)                customer in order to facilitate
Priv_2559           10:21                       Llewellyn
                                                                       John                                      provision of legal
                                                                       Templin                                   advice/services concerning
                                                                                                                 response to subpoena.
                                                                                     Employee(s) of   Attorney   Communications regarding
                                                                       'Edward_Bal   NuCO2 and its    Client     need for/provision of
                                                                       zarini@Prax   affiliated                  information regarding
NuCO2_              10/3/2017                   Jeff Gilheney; Sarah
            pdf                 Toyanna Platt                          air.com';     company(ies)                customer in order to facilitate
Priv_2560           10:20                       Llewellyn
                                                                       John                                      provision of legal
                                                                       Templin                                   advice/services concerning
                                                                                                                 response to subpoena.
                                                                                     Employee(s) of   Attorney   Communications regarding
                                                                       'Edward_Bal   NuCO2 and its    Client     need for/provision of
                                                                       zarini@Prax   affiliated                  information regarding
NuCO2_              10/3/2017                   Jeff Gilheney; Sarah
            MSG                 Toyanna Platt                          air.com';     company(ies)                customer in order to facilitate
Priv_2561           10:20                       Llewellyn
                                                                       John                                      provision of legal
                                                                       Templin                                   advice/services concerning
                                                                                                                 response to subpoena.
                                                                                     Employee(s) of   Attorney   Communications regarding
                                                                       'Edward_Bal   NuCO2 and its    Client     need for/provision of
                                                Toyanna Platt; Jeff    zarini@Prax   affiliated                  information regarding
NuCO2_              10/3/2017
            MSG                 Toyanna Platt   Gilheney; Sarah        air.com';     company(ies)                customer in order to facilitate
Priv_2562           10:18
                                                Llewellyn              John                                      provision of legal
                                                                       Templin                                   advice/services concerning
                                                                                                                 response to subpoena.
                                                                                     Employee(s) of   Attorney   Communications regarding
                                                                       'Edward_Bal   NuCO2 and its    Client     need for/provision of
                                                Toyanna Platt; Jeff    zarini@Prax   affiliated                  information regarding
NuCO2_              10/3/2017
            pdf                 Toyanna Platt   Gilheney; Sarah        air.com';     company(ies)                customer in order to facilitate
Priv_2563           10:18
                                                Llewellyn              John                                      provision of legal
                                                                       Templin                                   advice/services concerning
                                                                                                                 response to subpoena.



                                                                456
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 458 of
                                                        573


                                                                                      Employee(s) of              Communications regarding
                                                                        Edward_Bal    NuCO2 and its               need for/provision of
                                                                        zarini@Prax   affiliated                  information regarding
NuCO2_              10/3/2017                   Jeff Gilheney; Sarah                                   Attorney
            MSG                 Toyanna Platt                           air.com;      company(ies)                customer in order to facilitate
Priv_2564           10:17                       Llewellyn                                              Client
                                                                        John                                      provision of legal
                                                                        Templin                                   advice/services concerning
                                                                                                                  response to subpoena.
                                                                                      Employee(s) of   Attorney   Communications regarding
                                                                        Edward_Bal    NuCO2 and its    Client     need for/provision of
                                                                        zarini@Prax   affiliated                  information regarding
NuCO2_              10/3/2017                   Jeff Gilheney; Sarah
            pdf                 Toyanna Platt                           air.com;      company(ies)                customer in order to facilitate
Priv_2565           10:17                       Llewellyn
                                                                        John                                      provision of legal
                                                                        Templin                                   advice/services concerning
                                                                                                                  response to subpoena.
                                                                                      Employee(s) of   Attorney   Communications regarding
                                                                        Edward_Bal    NuCO2 and its    Client     need for/provision of
                                                                        zarini@Prax   affiliated                  information regarding
NuCO2_              10/3/2017                   Toyanna Platt;
            pdf                 Jeff Gilheney                           air.com;      company(ies)                customer in order to facilitate
Priv_2566           10:01                       Sarah Llewellyn
                                                                        John                                      provision of legal
                                                                        Templin                                   advice/services concerning
                                                                                                                  response to subpoena.
                                                                                      Employee(s) of   Attorney   Communications regarding
                                                                        Edward_Bal    NuCO2 and its    Client     need for/provision of
                                                                        zarini@Prax   affiliated                  information regarding
NuCO2_              10/3/2017                   Toyanna Platt;
            MSG                 Jeff Gilheney                           air.com;      company(ies)                customer in order to facilitate
Priv_2567           10:01                       Sarah Llewellyn
                                                                        John                                      provision of legal
                                                                        Templin                                   advice/services concerning
                                                                                                                  response to subpoena.
                                                                                      Employee(s) of   Attorney   Communications regarding
                                                                                      NuCO2 and its    Client     need for/provision of
                                                                        David
                                                                                      affiliated                  information regarding
NuCO2_              10/3/2017                   Edward_Balzarini@       Markatos;
            MSG                 Jeff Gilheney                                         company(ies)                customer in order to facilitate
Priv_2568           8:06                        Praxair.com             John
                                                                                                                  provision of legal
                                                                        Templin
                                                                                                                  advice/services concerning
                                                                                                                  response to subpoena.
                                                                                      Employee(s) of   Attorney   Communications regarding
                                                                        David         NuCO2 and its    Client     need for/provision of
NuCO2_              10/3/2017                   Edward_Balzarini@       Markatos;     affiliated                  information regarding
            htm                 Jeff Gilheney
Priv_2569           8:06                        Praxair.com             John          company(ies)                customer in order to facilitate
                                                                        Templin                                   provision of legal
                                                                                                                  advice/services concerning


                                                                  457
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 459 of
                                                        573


                                                                                                            response to subpoena.




                                                                                Employee(s) of   Attorney   Communications regarding
                                                                                NuCO2 and its    Client     need for/provision of
                                                                    David
                                                                                affiliated                  information regarding
NuCO2_              10/3/2017                   Edward_Balzarini@   Markatos;
            htm                 Jeff Gilheney                                   company(ies)                customer in order to facilitate
Priv_2570           8:06                        Praxair.com         John
                                                                                                            provision of legal
                                                                    Templin
                                                                                                            advice/services concerning
                                                                                                            response to subpoena.
                                                                                Employee(s) of   Attorney   Communications regarding
                                                                                NuCO2 and its    Client     need for/provision of
                                                                    David
                                                                                affiliated                  information regarding
NuCO2_              10/3/2017                   Edward_Balzarini@   Markatos;
            pdf                 Jeff Gilheney                                   company(ies)                customer in order to facilitate
Priv_2571           8:06                        Praxair.com         John
                                                                                                            provision of legal
                                                                    Templin
                                                                                                            advice/services concerning
                                                                                                            response to subpoena.
                                                                                Employee(s) of   Attorney   Communications regarding
                                                                                NuCO2 and its    Client     need for/provision of
                                                                    David
                                                                                affiliated                  information regarding
NuCO2_              10/3/2017                   Edward_Balzarini@   Markatos;
            htm                 Jeff Gilheney                                   company(ies)                customer in order to facilitate
Priv_2572           8:06                        Praxair.com         John
                                                                                                            provision of legal
                                                                    Templin
                                                                                                            advice/services concerning
                                                                                                            response to subpoena.
                                                                                Employee(s) of   Attorney   Communications regarding
                                                                                NuCO2 and its    Client     need for/provision of
                                                                    David
                                                                                affiliated                  information regarding
NuCO2_              10/3/2017                   Edward_Balzarini@   Markatos;
            xls                 Jeff Gilheney                                   company(ies)                customer in order to facilitate
Priv_2573           8:06                        Praxair.com         John
                                                                                                            provision of legal
                                                                    Templin
                                                                                                            advice/services concerning
                                                                                                            response to subpoena.
                                                                                Employee(s) of   Attorney   Communications regarding
                                                                                NuCO2 and its    Client     need for/provision of
                                                                    David
                                                                                affiliated                  information regarding
NuCO2_              10/3/2017                   Edward_Balzarini@   Markatos;
            htm                 Jeff Gilheney                                   company(ies)                customer in order to facilitate
Priv_2574           8:06                        Praxair.com         John
                                                                                                            provision of legal
                                                                    Templin
                                                                                                            advice/services concerning
                                                                                                            response to subpoena.



                                                             458
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 460 of
                                                        573


                                                                                     Employee(s) of   Attorney   Communications regarding
                                                                                     NuCO2 and its    Client     need for/provision of
                                                                         David
                                                                                     affiliated                  information regarding
NuCO2_              10/3/2017                     Edward_Balzarini@      Markatos;
            pdf                 Jeff Gilheney                                        company(ies)                customer in order to facilitate
Priv_2575           8:06                          Praxair.com            John
                                                                                                                 provision of legal
                                                                         Templin
                                                                                                                 advice/services concerning
                                                                                                                 response to subpoena.
                                                                                     Employee(s) of   Attorney   Communications regarding
                                                                                     NuCO2 and its    Client     need for/provision of
                                                                         David
                                                                                     affiliated                  information regarding
NuCO2_              10/3/2017                     Edward_Balzarini@      Markatos;
            htm                 Jeff Gilheney                                        company(ies)                customer in order to facilitate
Priv_2576           8:06                          Praxair.com            John
                                                                                                                 provision of legal
                                                                         Templin
                                                                                                                 advice/services concerning
                                                                                                                 response to subpoena.
                                                                                     Employee(s) of   Attorney   Communications regarding
                                                                                     NuCO2 and its    Client     need for/provision of
                                                                         David
                                                                                     affiliated                  information regarding
NuCO2_              10/3/2017                     Edward_Balzarini@      Markatos;
            pdf                 Jeff Gilheney                                        company(ies)                customer in order to facilitate
Priv_2577           8:06                          Praxair.com            John
                                                                                                                 provision of legal
                                                                         Templin
                                                                                                                 advice/services concerning
                                                                                                                 response to subpoena.
                                                                                     Employee(s) of   Attorney   Communications regarding
                                                                                     NuCO2 and its    Client     need for/provision of
                                                                         David
                                                                                     affiliated                  information regarding
NuCO2_              10/3/2017                     Edward_Balzarini@      Markatos;
            htm                 Jeff Gilheney                                        company(ies)                customer in order to facilitate
Priv_2578           8:06                          Praxair.com            John
                                                                                                                 provision of legal
                                                                         Templin
                                                                                                                 advice/services concerning
                                                                                                                 response to subpoena.
                                                                                     Employee(s) of              Communications regarding
                                                                                     NuCO2                       need for/provision of
NuCO2_              9/29/2017                     John Templin;                                       Attorney   information concerning
            MSG                 Jeffrey Desmond
Priv_2579           16:12                         Ronald Thermil                                      Client     competitor dispute in order to
                                                                                                                 facilitate provision of legal
                                                                                                                 advice/services.
                                                                                     Employee(s) of              Communications regarding
                                                                                     NuCO2                       need for/provision of
NuCO2_              9/29/2017                     Competitive                                         Attorney   information concerning
            msg                 Zac Boulund
Priv_2580           16:12                         Conversions                                         Client     competitor dispute in order to
                                                                                                                 facilitate provision of legal
                                                                                                                 advice/services.



                                                                   459
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 461 of
                                                        573


                                                                                           Employee(s) of              Communications regarding
                                                                                           NuCO2                       need for/provision of
NuCO2_              9/29/2017                        Competitive                                            Attorney   information concerning
            msg                 Zac Boulund
Priv_2581           16:12                            Conversions                                            Client     competitor dispute in order to
                                                                                                                       facilitate provision of legal
                                                                                                                       advice/services.
                                                                                           Employee(s) of              Communications regarding
                                                                                           NuCO2                       need for/provision of
NuCO2_              9/29/2017                        Competitive                                            Attorney   information concerning
            msg                 Zac Boulund                                  Nate Freese
Priv_2582           16:12                            Conversions                                            Client     competitor dispute in order to
                                                                                                                       facilitate provision of legal
                                                                                                                       advice/services.
                                                                                           Employee(s) of              Communications regarding
                                                                             Competitive   NuCO2                       need for/provision of
NuCO2_              9/29/2017                                                Conversions                    Attorney   information concerning
            msg                 Zac Boulund          Nanette Caceres
Priv_2583           16:12                                                    ; Nate                         Client     competitor dispute in order to
                                                                             Freese                                    facilitate provision of legal
                                                                                                                       advice/services.
                                                                                           Employee(s) of              Communications regarding
                                                     Zac Boulund;                          NuCO2                       need for/provision of
NuCO2_              9/29/2017                        Competitive                                            Attorney   information concerning
            msg                 Nanette Caceres
Priv_2584           16:12                            Conversions; Nate                                      Client     competitor dispute in order to
                                                     Freese                                                            facilitate provision of legal
                                                                                                                       advice/services.
                                                                                                                       Communications regarding
                                                                                                                       need for/provision of
                                Nanette Caceres on                           Zac
NuCO2_              9/29/2017                        Competitive                           Employee(s) of   Attorney   information concerning
            msg                 behalf of Contract                           Boulund;
Priv_2585           16:12                            Conversions                           NuCO2            Client     competitor dispute in order to
                                Admin                                        Nate Freese
                                                                                                                       facilitate provision of legal
                                                                                                                       advice/services.
                                                                                           Employee(s) of              Communications regarding
                                                                                           NuCO2                       need for/provision of
                                Nanette Caceres on                           Zac
NuCO2_              9/29/2017                        Competitive                                            Attorney   information concerning
            msg                 behalf of Contract                           Boulund;
Priv_2586           16:12                            Conversions                                            Client     competitor dispute in order to
                                Admin                                        Nate Freese
                                                                                                                       facilitate provision of legal
                                                                                                                       advice/services.
                                                                                           Employee(s) of              Communications regarding
                                                                                           NuCO2                       need for/provision of
NuCO2_              9/29/2017                        John Templin;                                          Attorney
            pdf                 Zac Boulund                                                                            information concerning
Priv_2587           16:12                            Ronald Thermil                                         Client
                                                                                                                       competitor dispute in order to
                                                                                                                       facilitate provision of legal


                                                                       460
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 462 of
                                                        573


                                                                                                        advice/services.




                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
NuCO2_              9/29/2017                        John Templin;                           Attorney   information concerning
            txt                 Zac Boulund
Priv_2588           16:12                            Ronald Thermil                          Client     competitor dispute in order to
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
                                Nanette Caceres on
NuCO2_              9/29/2017                        John Templin;                           Attorney   information concerning
            pdf                 behalf of Contract
Priv_2589           16:12                            Ronald Thermil                          Client     competitor dispute in order to
                                Admin
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
NuCO2_              9/29/2017                        John Templin;                           Attorney   information concerning
            pdf                 Nanette Caceres
Priv_2590           16:12                            Ronald Thermil                          Client     competitor dispute in order to
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
                                Nanette Caceres on
NuCO2_              9/29/2017                        John Templin;                           Attorney   information concerning
            pdf                 behalf of Contract
Priv_2591           16:12                            Ronald Thermil                          Client     competitor dispute in order to
                                Admin
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
NuCO2_              9/29/2017                        John Templin;                           Attorney   information concerning
            pdf                 Nanette Caceres
Priv_2592           16:12                            Ronald Thermil                          Client     competitor dispute in order to
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
                                Nanette Caceres on
NuCO2_              9/29/2017                        John Templin;                           Attorney   information concerning
            pdf                 behalf of Contract
Priv_2593           16:12                            Ronald Thermil                          Client     competitor dispute in order to
                                Admin
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.


                                                                      461
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 463 of
                                                        573


                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
                                Nanette Caceres on
NuCO2_              9/29/2017                        John Templin;                           Attorney   information concerning
            pdf                 behalf of Contract
Priv_2594           16:12                            Ronald Thermil                          Client     competitor dispute in order to
                                Admin
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
NuCO2_              9/29/2017                        John Templin;                           Attorney   information concerning
            pdf                 Nanette Caceres
Priv_2595           16:12                            Ronald Thermil                          Client     competitor dispute in order to
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
NuCO2_              9/29/2017                                                                Attorney   information concerning
            msg                 Zac Boulund          Contract Admin
Priv_2596           16:12                                                                    Client     competitor dispute in order to
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
NuCO2_              9/29/2017                                                                Attorney   information concerning
            msg                 Zac Boulund          Zac Boulund
Priv_2597           16:12                                                                    Client     competitor dispute in order to
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
NuCO2_              9/29/2017                                                                Attorney   information concerning
            msg                 Zac Boulund          Zac Boulund
Priv_2598           16:12                                                                    Client     competitor dispute in order to
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
NuCO2_              9/29/2017                        John Templin;                           Attorney   information concerning
            pdf                 Zac Boulund
Priv_2599           16:12                            Ronald Thermil                          Client     competitor dispute in order to
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                            Employee(s) of              Communications regarding
                                                                            NuCO2                       need for/provision of
NuCO2_              9/29/2017                        John Templin;                           Attorney
            pdf                 Zac Boulund                                                             information concerning
Priv_2600           16:12                            Ronald Thermil                          Client
                                                                                                        competitor dispute in order to
                                                                                                        facilitate provision of legal


                                                                      462
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 464 of
                                                         573


                                                                                                        advice/services.




                                                                        Employee(s) of                  Communications regarding
                                                                        NuCO2                           need for/provision of
NuCO2_               9/29/2017                  John Templin;                            Attorney       information concerning
            pdf                  Zac Boulund
Priv_2601            16:12                      Ronald Thermil                           Client         competitor dispute in order to
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                        Employee(s) of                  Communications regarding
                                                                        NuCO2                           need for/provision of
NuCO2_               9/29/2017                                                           Attorney       information concerning
            msg                  Zac Boulund    Zac Boulund
Priv_2602            16:12                                                               Client         competitor dispute in order to
                                                                                                        facilitate provision of legal
                                                                                                        advice/services.
                                                                        Employee(s) of
                                                                        NuCO2                           Reflects communications
NuCO2_               9/27/2017                                                           Settlement
            MSG                  Matt Butcher   John Templin                                            regarding settlement
Priv_2603            11:01                                                               Negotiations
                                                                                                        concerning customer dispute.

                                                                        Employee(s) of
                                                                        NuCO2                           Reflects communications
NuCO2_               9/27/2017                                                           Settlement
            pdf                  Matt Butcher   John Templin                                            regarding settlement
Priv_2604            11:01                                                               Negotiations
                                                                                                        concerning customer dispute.

                                                                        Employee(s) of
                                                                        NuCO2                           Reflects communications
NuCO2_               9/27/2017                                                           Settlement
            htm                  Matt Butcher   John Templin                                            regarding settlement
Priv_2605            11:01                                                               Negotiations
                                                                                                        concerning customer dispute.

                                                                        Employee(s) of
                                                                        NuCO2                           Reflects communications
NuCO2_               9/27/2017                                                           Settlement
            xlsx                 Matt Butcher   John Templin                                            regarding settlement
Priv_2606            11:01                                                               Negotiations
                                                                                                        concerning customer dispute.
                                                                        Employee(s) of
                                                                        NuCO2                           Reflects communications
NuCO2_               9/27/2017                                                           Settlement
            htm                  Matt Butcher   John Templin                                            regarding settlement
Priv_2607            11:01                                                               Negotiations
                                                                                                        concerning customer dispute.




                                                                 463
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 465 of
                                                        573



                                                                      John       Employee(s) of
                                                                                 NuCO2                           Reflects communications
NuCO2_              9/25/2017                                         Templin;                    Settlement
            MSG                 Matt Butcher   Contract Admin                                                    regarding settlement
Priv_2608           9:29                                              Brian                       Negotiations
                                                                                                                 concerning customer dispute.
                                                                      Lovejoy
                                                                                 Employee(s) of   Attorney       Reflects attorney
NuCO2_              9/21/2017                                                    NuCO2            Client/Work    communications and /or
            MSG                 Matt Butcher   John Templin                                       Product
Priv_2609           14:54                                                                                        attorney work product
                                                                                                                 regarding acquisition.
                                                                                 Employee(s) of   Attorney       Reflects attorney
NuCO2_              9/21/2017                                                    NuCO2            Client/Work    communications and /or
            png                 Matt Butcher   John Templin                                       Product
Priv_2610           14:54                                                                                        attorney work product
                                                                                                                 regarding acquisition.
                                                                                 Employee(s) of   Attorney       Reflects attorney
NuCO2_              9/21/2017                                                    NuCO2            Client/Work    communications and /or
            MSG                 Matt Butcher   John Templin                                       Product
Priv_2611           11:30                                                                                        attorney work product
                                                                                                                 regarding acquisition.
                                                                                 Employee(s) of                  Reflects attorney
                                                                                 NuCO2            Attorney
NuCO2_              9/21/2017                                                                                    communications and /or
            png                 Matt Butcher   John Templin                                       Client/Work
Priv_2612           11:30                                                                                        attorney work product
                                                                                                  Product
                                                                                                                 regarding acquisition.
                                                                                 Employee(s) of
                                                                                 NuCO2                           Reflects communications
NuCO2_              9/19/2017                                                                     Settlement
            MSG                 Matt Butcher   John Templin                                                      regarding settlement
Priv_2613           16:33                                                                         Negotiations
                                                                                                                 concerning customer dispute.

                                                                                 Employee(s) of
                                                                                 NuCO2                           Reflects communications
NuCO2_              9/19/2017                                                                     Settlement
            png                 Matt Butcher   John Templin                                                      regarding settlement
Priv_2614           16:33                                                                         Negotiations
                                                                                                                 concerning customer dispute.

                                                                                 Employee(s) of
                                                                                 NuCO2 and
                                                                                                                 Reflects communications
NuCO2_              9/19/2017                                                    NuCO2’s          Settlement
            msg                 Erin Ward      Matt Butcher                                                      regarding settlement
Priv_2615           16:16                                                        customer(s)      Negotiations
                                                                                                                 concerning customer dispute.




                                                                464
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 466 of
                                                         573


                                                                                              Employee(s) of
                                                                                              NuCO2                           Reflects communications
NuCO2_               9/19/2017                                                                                 Settlement
            MSG                  Matt Butcher             John Templin                                                        regarding settlement
Priv_2616            16:16                                                                                     Negotiations
                                                                                                                              concerning customer dispute.

                                                                                              Employee(s) of
                                                                                              NuCO2                           Reflects communications
NuCO2_               9/15/2017                                                                                 Settlement
            MSG                  Matt Butcher             John Templin                                                        regarding settlement
Priv_2617            8:07                                                                                      Negotiations
                                                                                                                              concerning customer dispute.

                                                                               David          Employee(s) of                  Communications regarding
                                                                               Markatos;      NuCO2 and its                   need for legal advice/work
NuCO2_               8/28/2017   Shelly_Piazza@Praxair.                                                        Attorney
            MSG                                           John Templin         Robin_K_Ri     affiliated                      product of counsel concerning
Priv_2618            9:00        com                                                                           Client
                                                                               ley@Praxair.   company(ies)                    negotiation/drafting of
                                                                               com                                            customer agreement.
                                                                               David          Employee(s) of                  Communications regarding
                                                                               Markatos;      NuCO2 and its                   need for legal advice/work
NuCO2_               8/28/2017   Shelly_Piazza@Praxair.                                                        Attorney
            docx                                          John Templin         Robin_K_Ri     affiliated                      product of counsel concerning
Priv_2619            9:00        com                                                                           Client
                                                                               ley@Praxair.   company(ies)                    negotiation/drafting of
                                                                               com                                            customer agreement.
                                                                                              Employee(s) of
                                                                                              NuCO2                           Communications providing
NuCO2_               8/17/2017                                                                                 Attorney
            MSG                  Derek Burton             John Templin                                                        guidance regarding regulatory
Priv_2620            12:04                                                                                     Client
                                                                                                                              compliance.

                                                                                              Employee(s) of
                                                                                              NuCO2                           Communications providing
NuCO2_               8/17/2017                                                                                 Attorney
            png                  Derek Burton             John Templin                                                        guidance regarding regulatory
Priv_2621            12:04                                                                                     Client
                                                                                                                              compliance.

                                                                                              Employee(s) of
                                                                                              NuCO2                           Communications providing
NuCO2_               8/17/2017                                                                                 Attorney
            htm                  Derek Burton             John Templin                                                        guidance regarding regulatory
Priv_2622            12:04                                                                                     Client
                                                                                                                              compliance.
                                                                                              Employee(s) of
                                                                                              NuCO2                           Communications providing
NuCO2_               8/17/2017                                                                                 Attorney
            docx                 Derek Burton             John Templin                                                        guidance regarding regulatory
Priv_2623            12:04                                                                                     Client
                                                                                                                              compliance.




                                                                         465
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 467 of
                                                        573


                                                                                   Employee(s) of
                                                                                   NuCO2                           Communications providing
NuCO2_              8/17/2017                                                                       Attorney
            htm                 Derek Burton   John Templin                                                        guidance regarding regulatory
Priv_2624           12:04                                                                           Client
                                                                                                                   compliance.

                                                                                   Employee(s) of
                                                                                   NuCO2                           Reflects communications
NuCO2_              7/11/2017                                                                       Settlement
            MSG                 Derek Burton   John Templin           Dirk Horst                                   regarding settlement
Priv_2625           17:38                                                                           Negotiations
                                                                                                                   concerning customer dispute.
                                                                                   Employee(s) of   Settlement
                                                                                   NuCO2            Negotiations   Reflects communications
NuCO2_              7/11/2017
            png                 Derek Burton   John Templin           Dirk Horst                                   regarding settlement
Priv_2626           17:38
                                                                                                                   concerning customer dispute.

                                                                                   Employee(s) of   Settlement
                                                                                   NuCO2            Negotiations   Reflects communications
NuCO2_              7/11/2017
            jpg                 Derek Burton   John Templin           Dirk Horst                                   regarding settlement
Priv_2627           17:38
                                                                                                                   concerning customer dispute.

                                                                                   Employee(s) of   Settlement
                                                                                   NuCO2            Negotiations   Reflects communications
NuCO2_              7/11/2017
            jpg                 Derek Burton   John Templin           Dirk Horst                                   regarding settlement
Priv_2628           17:38
                                                                                                                   concerning customer dispute.

                                                                                   Employee(s) of   Settlement
                                                                                   NuCO2            Negotiations   Reflects communications
NuCO2_              7/11/2017
            png                 Derek Burton   John Templin           Dirk Horst                                   regarding settlement
Priv_2629           17:38
                                                                                                                   concerning customer dispute.

                                                                                   Employee(s) of
                                                                                   NuCO2            Attorney       Communications regarding
NuCO2_              7/6/2017
            msg                 Sondra Meyer   Ronald Thermil                                       Client/Work    strategy for settling customer
Priv_2630           9:56
                                                                                                    Product        dispute.

                                                                                   Employee(s) of
                                                                                   NuCO2            Attorney       Communications regarding
NuCO2_              7/6/2017
            msg                 Sondra Meyer   Ronald Thermil                                       Client/Work    strategy for settling customer
Priv_2631           9:56
                                                                                                    Product        dispute.

                                                                                   Employee(s) of
                                                                                   NuCO2            Attorney       Communications regarding
NuCO2_              7/6/2017
            msg                 Sondra Meyer   Ronald Thermil                                       Client/Work    strategy for settling customer
Priv_2632           9:56
                                                                                                    Product        dispute.



                                                                466
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 468 of
                                                         573


                                                                        Employee(s) of
                                                                        NuCO2            Attorney       Communications regarding
NuCO2_               7/6/2017
            MSG                 Ronald Thermil   John Templin                            Client/Work    strategy for settling customer
Priv_2633            9:56
                                                                                         Product        dispute.

                                                                        Employee(s) of
                                                                        NuCO2            Attorney       Communications regarding
NuCO2_               7/6/2017
            pdf                 Sondra Meyer     John Templin                            Client/Work    strategy for settling customer
Priv_2634            9:56
                                                                                         Product        dispute.
                                                                        Employee(s) of   Settlement
                                                                        NuCO2            Negotiations   Communications regarding
NuCO2_               7/6/2017
            pdf                 Sondra Meyer     John Templin                                           strategy for settling customer
Priv_2635            9:56
                                                                                                        dispute.

                                                                        Employee(s) of   Settlement
                                                                        NuCO2            Negotiations   Communications regarding
NuCO2_               7/6/2017
            xls                 Sondra Meyer     John Templin                                           strategy for settling customer
Priv_2636            9:56
                                                                                                        dispute.

                                                                        Employee(s) of   Settlement
                                                                        NuCO2            Negotiations   Communications regarding
NuCO2_               7/6/2017
            xlsx                Sondra Meyer     John Templin                                           strategy for settling customer
Priv_2637            9:56
                                                                                                        dispute.

                                                                        Employee(s) of   Settlement
                                                                        NuCO2            Negotiations   Communications regarding
NuCO2_               7/6/2017
            xlsx                Sondra Meyer     John Templin                                           strategy for settling customer
Priv_2638            9:56
                                                                                                        dispute.

                                                                        Employee(s) of   Settlement
                                                                        NuCO2            Negotiations   Reflects communications
NuCO2_               7/5/2017                    John Templin;
            MSG                 Randy Gold                                                              regarding settlement
Priv_2639            8:04                        Ronald Thermil
                                                                                                        concerning customer dispute.

                                                                        Employee(s) of   Settlement
                                                                        NuCO2            Negotiations   Reflects communications
NuCO2_               7/5/2017                    John Templin;
            pdf                 Randy Gold                                                              regarding settlement
Priv_2640            8:04                        Ronald Thermil
                                                                                                        concerning customer dispute.

                                                                        Employee(s) of   Settlement
                                                                        NuCO2            Negotiations   Reflects communications
NuCO2_               7/5/2017                    John Templin;
            pdf                 Randy Gold                                                              regarding settlement
Priv_2641            8:04                        Ronald Thermil
                                                                                                        concerning customer dispute.



                                                                  467
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 469 of
                                                         573


                                                                                            Employee(s) of   Settlement
                                                                                            NuCO2            Negotiations   Reflects communications
NuCO2_               7/5/2017                          John Templin;
            pdf                  Randy Gold                                                                                 regarding settlement
Priv_2642            8:04                              Ronald Thermil
                                                                                                                            concerning customer dispute.

                                                                                                                            Reflects communications
NuCO2_               7/5/2017                          John Templin;                        Employee(s) of   Settlement
            pdf                  Randy Gold                                                                                 regarding settlement
Priv_2643            8:04                              Ronald Thermil                       NuCO2            Negotiations
                                                                                                                            concerning customer dispute.
                                                                                            Employee(s) of
                                                                                            NuCO2 and its    Attorney       Reflects communications
NuCO2_               6/16/2017   David_Markatos@Prax                          John
            MSG                                        Matt Butcher                         affiliated       Client/Work    regarding settlement
Priv_2644            7:47        air.com                                      Templin
                                                                                            company(ies)     Product        concerning customer dispute.

                                                                                            Employee(s) of
                                                                                            NuCO2 and its    Attorney       Reflects communications
NuCO2_               6/15/2017   David_Markatos@Prax                          John
            MSG                                        Matt Butcher                         affiliated       Client/Work    regarding settlement
Priv_2645            17:32       air.com                                      Templin
                                                                                            company(ies)     Product        concerning customer dispute.

                                                                                            Employee(s) of
                                                                                            NuCO2 and its    Attorney       Reflects communications
NuCO2_               6/15/2017                                                John
            MSG                  Matt Butcher          David Markatos                       affiliated       Client/Work    regarding settlement
Priv_2646            16:47                                                    Templin
                                                                                            company(ies)     Product        concerning customer dispute.

                                                                                            Employee(s) of
                                                                                            NuCO2 and its    Attorney       Reflects communications
NuCO2_               6/15/2017   David_Markatos@Prax   Matt Butcher; John     Maria
            MSG                                                                             affiliated       Client/Work    regarding settlement
Priv_2647            11:02       air.com               Templin                Primm
                                                                                            company(ies)     Product        concerning customer dispute.

                                                                                            Employee(s) of                  Communications regarding
                                                                                            NuCO2 and its                   request for and provision of
                                                                                                             Attorney
NuCO2_               6/13/2017   David_Markatos@Prax                                        affiliated                      legal advice/work product of
            ppt                                        John Templin           Jeff Wilson                    Client/Work
Priv_2648            9:51        air.com                                                    company(ies)                    counsel concerning
                                                                                                             Product
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                            Employee(s) of                  Communications regarding
                                                                                            NuCO2 and its                   request for and provision of
                                                                                                             Attorney
NuCO2_               6/13/2017   David_Markatos@Prax                                        affiliated                      legal advice/work product of
            pptx                                       John Templin           Jeff Wilson                    Client/Work
Priv_2649            9:51        air.com                                                    company(ies)                    counsel concerning
                                                                                                             Product
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.

                                                                        468
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 470 of
                                                         573


                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2 and its                  request for and provision of
                                                                                                           Attorney
NuCO2_               6/13/2017   David_Markatos@Prax                                      affiliated                     legal advice/work product of
            pptx                                       John Templin         Jeff Wilson                    Client/Work
Priv_2650            9:51        air.com                                                  company(ies)                   counsel concerning
                                                                                                           Product
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2 and its                  request for and provision of
                                                                                                           Attorney
NuCO2_               6/13/2017   David_Markatos@Prax                                      affiliated                     legal advice/work product of
            ppt                                        John Templin         Jeff Wilson                    Client/Work
Priv_2651            9:51        air.com                                                  company(ies)                   counsel concerning
                                                                                                           Product
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2 and its                  request for and provision of
                                                                                                           Attorney
NuCO2_               6/13/2017   David_Markatos@Prax                                      affiliated                     legal advice/work product of
            ppt                                        John Templin         Jeff Wilson                    Client/Work
Priv_2652            9:51        air.com                                                  company(ies)                   counsel concerning
                                                                                                           Product
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2                          request for and provision of
                                                                                                           Attorney
NuCO2_               6/13/2017                                                                                           legal advice/work product of
            DOC                                        John Templin         Jeff Wilson                    Client/Work
Priv_2653            9:51                                                                                                counsel concerning
                                                                                                           Product
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2                          request for and provision of
                                                                                                           Attorney
NuCO2_               6/13/2017                                                                                           legal advice/work product of
            DOCX                                       John Templin         Jeff Wilson                    Client/Work
Priv_2654            9:51                                                                                                counsel concerning
                                                                                                           Product
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2                          request for and provision of
                                                                                                           Attorney
NuCO2_               6/13/2017                                                                                           legal advice/work product of
            DOCX                                       John Templin         Jeff Wilson                    Client/Work
Priv_2655            9:51                                                                                                counsel concerning
                                                                                                           Product
                                                                                                                         negotiation/drafting of
                                                                                                                         customer agreement.
                                                                                          Employee(s) of                 Communications regarding
                                                                                          NuCO2 and its    Attorney      request for and provision of
NuCO2_               6/13/2017   David_Markatos@Prax
            MSG                                        John Templin         Jeff Wilson   affiliated       Client/Work   legal advice/work product of
Priv_2656            9:51        air.com
                                                                                          company(ies)     Product       counsel concerning
                                                                                                                         negotiation/drafting of


                                                                      469
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 471 of
                                                        573


                                                                                                                             customer agreement.




                                                                                            Employee(s) of                   Reflects attorney
                                                                                            NuCO2                            communications and/or
NuCO2_              6/9/2017                                                 Maria                            Attorney
            MSG                Matt Butcher          John Templin                                                            attorney work product
Priv_2657           12:22                                                    Primm                            Client
                                                                                                                             regarding settlement
                                                                                                                             concerning customer dispute.
                                                                                            Employee(s) of                   Reflects attorney
                                                                                            NuCO2                            communications and/or
NuCO2_              6/9/2017                                                 Maria                            Attorney
            png                Matt Butcher          John Templin                                                            attorney work product
Priv_2658           12:22                                                    Primm                            Client
                                                                                                                             regarding settlement
                                                                                                                             concerning customer dispute.
                                                                                            Employee(s) of                   Communications regarding
                                                                                            NuCO2 and its                    need for/provision of
NuCO2_              6/9/2017   David_Markatos@Prax   Matt Butcher; John                                       Attorney
            MSG                                                                             affiliated                       information in order to
Priv_2659           9:28       air.com               Templin                                                  Client
                                                                                            company(ies)                     facilitate provision of legal
                                                                                                                             advice/services.
                                                                                            Employee(s) of
                                                                                                                             Reflects communications or
                                                                             Shelly_Piazz   NuCO2 and its
NuCO2_              6/7/2017   David_Markatos@Prax   John Templin;                                            Attorney       advice or work product
            MSG                                                              a@Praxair.c    affiliated
Priv_2660           12:25      air.com               Vince Giordano                                           Client         regarding handling competitor
                                                                             om             company(ies)
                                                                                                                             disputes.
                                                                                            Employee(s) of
                                                                                                                             Reflects communications or
                                                                             Shelly_Piazz   NuCO2 and its
NuCO2_              6/7/2017   David_Markatos@Prax   John Templin;                                            Attorney       advice or work product
            pdf                                                              a@Praxair.c    affiliated
Priv_2661           12:25      air.com               Vince Giordano                                           Client         regarding handling competitor
                                                                             om             company(ies)
                                                                                                                             disputes.
                                                                                            Employee(s) of
                                                                                                                             Reflects communications or
                                                                             Shelly_Piazz   NuCO2 and its
NuCO2_              6/7/2017   David_Markatos@Prax   John Templin;                                            Attorney       advice or work product
            txt                                                              a@Praxair.c    affiliated
Priv_2662           12:25      air.com               Vince Giordano                                           Client         regarding handling competitor
                                                                             om             company(ies)
                                                                                                                             disputes.
                                                                                            Employee(s) of
                                                                                                                             Reflects attorney
                                                                                            NuCO2 and
                                                                                                                             communications and/or
NuCO2_              6/6/2017                         David Markatos;         Erin Ward;     attorney(s) for   Settlement
            msg                Erin R. Olshever                                                                              attorney work product
Priv_2663           14:03                            Maria Primm             Drew Kuruc     NuCO2’s           Negotiations
                                                                                                                             regarding settlement
                                                                                            customer(s)
                                                                                                                             concerning customer dispute.


                                                                       470
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 472 of
                                                        573




                                                                                                        Reflects attorney
                                                                       Employee(s) of
                                                                                                        communications and/or
NuCO2_              6/6/2017                                           NuCO2             Settlement
            pdf                Maria Primm        John Templin                                          attorney work product
Priv_2664           14:03                                                                Negotiations
                                                                                                        regarding settlement
                                                                                                        concerning customer dispute.
                                                                       Employee(s) of
                                                                       NuCO2 and                        Reflects attorney
                                                                       attorney(s) for                  communications and/or
NuCO2_              6/6/2017                                                             Settlement
            pdf                Erin R. Olshever   John Templin         NuCO2’s                          attorney work product
Priv_2665           14:03                                                                Negotiations
                                                                       customer(s)                      regarding settlement
                                                                                                        concerning customer dispute.

                                                                                                        Reflects attorney
                                                                       Employee(s) of
                                                                                                        communications and/or
NuCO2_              6/6/2017                                           NuCO2             Settlement
            MSG                Maria Primm        John Templin                                          attorney work product
Priv_2666           14:03                                                                Negotiations
                                                                                                        regarding settlement
                                                                                                        concerning customer dispute.
                                                                                                        Communications regarding
                                                                                                        need for/provision of
                                                                                         Attorney       information regarding
NuCO2_              5/4/2017
            MSG                John Templin       John Templin         Self              Client/Work    customer account/dispute in
Priv_2667           9:20
                                                                                         Product        order to facilitate provision of
                                                                                                        legal advice/services
                                                                                                        concerning the same.
                                                                       Self                             Communications regarding
                                                                                                        need for/provision of
                                                                                         Attorney       information regarding
NuCO2_              5/4/2017
            png                John Templin       John Templin                           Client/Work    customer account/dispute in
Priv_2668           9:20
                                                                                         Product        order to facilitate provision of
                                                                                                        legal advice/services
                                                                                                        concerning the same.
                                                                       Self                             Communications regarding
                                                                                         Attorney       need for/provision of
NuCO2_              5/4/2017
            htm                John Templin       John Templin                           Client/Work    information regarding
Priv_2669           9:20
                                                                                         Product        customer account/dispute in
                                                                                                        order to facilitate provision of


                                                                 471
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 473 of
                                                         573


                                                                                                   legal advice/services
                                                                                                   concerning the same.


                                                                        Self                       Communications regarding
                                                                                                   need for/provision of
                                                                                     Attorney      information regarding
NuCO2_               5/4/2017
            jpg                 John Templin    John Templin                         Client/Work   customer account/dispute in
Priv_2670            9:20
                                                                                     Product       order to facilitate provision of
                                                                                                   legal advice/services
                                                                                                   concerning the same.
                                                                        Self                       Communications regarding
                                                                                                   need for/provision of
                                                                                     Attorney      information regarding
NuCO2_               5/4/2017
            htm                 John Templin    John Templin                         Client/Work   customer account/dispute in
Priv_2671            9:20
                                                                                     Product       order to facilitate provision of
                                                                                                   legal advice/services
                                                                                                   concerning the same.
                                                                        Self                       Communications regarding
                                                                                                   need for/provision of
                                                                                     Attorney      information regarding
NuCO2_               5/4/2017
            jpg                 John Templin    John Templin                         Client/Work   customer account/dispute in
Priv_2672            9:20
                                                                                     Product       order to facilitate provision of
                                                                                                   legal advice/services
                                                                                                   concerning the same.
                                                                        Self                       Communications regarding
                                                                                                   need for/provision of
                                                                                     Attorney      information regarding
NuCO2_               5/4/2017
            htm                 John Templin    John Templin                         Client/Work   customer account/dispute in
Priv_2673            9:20
                                                                                     Product       order to facilitate provision of
                                                                                                   legal advice/services
                                                                                                   concerning the same.
                                                                                                   Communications regarding
                                                                                                   need for/provision of
                                                                                     Attorney      information regarding
NuCO2_               5/4/2017
            docx                John Templin    John Templin            Self         Client/Work   customer account/dispute in
Priv_2674            9:20
                                                                                     Product       order to facilitate provision of
                                                                                                   legal advice/services
                                                                                                   concerning the same.



                                                               472
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 474 of
                                                         573


                                                                                                                           Communications regarding
                                                                                                                           need for/provision of
                                                                                                             Attorney      information regarding
NuCO2_               5/4/2017
            htm                  John Templin          John Templin                         Self             Client/Work   customer account/dispute in
Priv_2675            9:20
                                                                                                             Product       order to facilitate provision of
                                                                                                                           legal advice/services
                                                                                                                           concerning the same.
                                                       Ami_Gupta@praxai
                                                       r.com; Dominick
                                                       Brandow;
                                                       Ranko_Bursac@Pra
                                                       xair.com;
                                                       Todd_Skare@praxa
                                                       ir.com;
                                                       Shawn_Cecula@pra
                                                       xair.com;
                                                       Gerald_Miller/USA
                                                       /NA/Praxair%Prax
                                                       air@na.praxair.com;
                                                       Dennis_Brestovans
                                                       ky@Praxair.com;       Luis_Duclau
                                                                                            Employee(s) of
                                                       John Chesney; John    d@praxair.c
                                                                                            NuCO2 and its
                                                       Templin;              om;                             Attorney      Reflects confidential business
NuCO2_               4/24/2017   Stanley_M_Smith@Pra                                        affiliated
            pptx                                       Gerald_Miller@pra     Russell_Vica                    Client/Work   and/or legal information
Priv_2676            13:43       xair.com                                                   company(ies)
                                                       xair.com; Kent        ri@praxair.c                    Product       regarding non-party.
                                                       Hoffman; Mike         om; Russell
                                                       Kleimeyer; Mark       Vicari
                                                       Novak;
                                                       Ranko_Bursac/US
                                                       A/NA/Praxair%Pr
                                                       axair@na.praxair.co
                                                       m; Randy Gold;
                                                       Shawn_Cecula/US
                                                       A/NA/Praxair%PR
                                                       AXAIR@na.praxair
                                                       .com;
                                                       Todd_Skare/USA/
                                                       NA/Praxair%PRA
                                                       XAIR@na.praxair.c
                                                       om



                                                                      473
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 475 of
                                                         573


                                                                                         Employee(s) of
                                                                                         NuCO2            Attorney      Reflects communications
NuCO2_               4/20/2017                                               Toyanna
            MSG                  Damarie Cortez        John Templin                                       Client/Work   regarding settlement
Priv_2677            11:10                                                   Platt
                                                                                                          Product       concerning customer dispute.

                                                                                         Employee(s) of
                                                                                         NuCO2            Attorney      Reflects communications
NuCO2_               4/20/2017                                               Toyanna
            xlsm                 Damarie Cortez        John Templin                                       Client/Work   regarding settlement
Priv_2678            11:10                                                   Platt
                                                                                                          Product       concerning customer dispute.
                                                                                         Employee(s) of                 Communications regarding
                                                                                         NuCO2 and its                  request for and provision of
                                                                                                          Attorney
NuCO2_               4/20/2017                                               David       affiliated                     legal advice/work product of
            MSG                  Kym Cherubini         John Templin                                       Client/Work
Priv_2679            9:07                                                    Markatos    company(ies)                   counsel concerning
                                                                                                          Product
                                                                                                                        negotiation/drafting of
                                                                                                                        customer agreement.
                                                                                         Employee(s) of                 Communications regarding
                                                                                         NuCO2 and its                  request for and provision of
                                                                                                          Attorney
NuCO2_               4/20/2017                                               David       affiliated                     legal advice/work product of
            pdf                  Kym Cherubini         John Templin                                       Client/Work
Priv_2680            9:07                                                    Markatos    company(ies)                   counsel concerning
                                                                                                          Product
                                                                                                                        negotiation/drafting of
                                                                                                                        customer agreement.
                                                                                         Employee(s) of                 Communications regarding
                                                                                         NuCO2 and its                  request for and provision of
                                                                                                          Attorney
NuCO2_               4/20/2017                                               David       affiliated                     legal advice/work product of
            pdf                  Kym Cherubini         John Templin                                       Client/Work
Priv_2681            9:07                                                    Markatos    company(ies)                   counsel concerning
                                                                                                          Product
                                                                                                                        negotiation/drafting of
                                                                                                                        customer agreement.
                                                                                         Employee(s) of
                                                                             David
                                                                                         NuCO2 and its                  Reflects need for/provision of
NuCO2_               4/12/2017   Ray_Homan@Praxair.c                         Markatos;                    Attorney
            MSG                                        Gerald Miller                     affiliated                     legal advice regarding
Priv_2682            22:18       om                                          John                         Client
                                                                                         company(ies)                   customer account/dispute.
                                                                             Templin
                                                                                         Employee(s) of
                                                                             David
                                                                                         NuCO2 and its                  Reflects need for/provision of
NuCO2_               4/12/2017   Ray_Homan@Praxair.c                         Markatos;                    Attorney
            xls                                        Gerald Miller                     affiliated                     legal advice regarding
Priv_2683            22:18       om                                          John                         Client
                                                                                         company(ies)                   customer account/dispute.
                                                                             Templin




                                                                       474
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 476 of
                                                         573


                                                                                         Employee(s) of
                                                                             David
                                                                                         NuCO2 and its                  Reflects need for/provision of
NuCO2_               4/12/2017   Ray_Homan@Praxair.c                         Markatos;                    Attorney
            pdf                                        Gerald Miller                     affiliated                     legal advice regarding
Priv_2684            22:18       om                                          John                         Client
                                                                                         company(ies)                   customer account/dispute.
                                                                             Templin
                                                       Gerald Miller;                    Employee(s) of
                                                       Randy Gold; John                  NuCO2 and its
                                                       Templin; Vince                    affiliated
                                                       Giordano; Derek                   company(ies)
                                                                                                                        Reflects attorney
                                                       Burton; Mike
                                                                                                          Attorney      communications and/or
NuCO2_               4/3/2017                          Kleimeyer; Kent
            pptx                 Felicia Gallagher                                                        Client/Work   attorney work product
Priv_2685            14:12                             Hoffman; Ashley
                                                                                                          Product       regarding legal matters and
                                                       Critcher; Kevin
                                                                                                                        safety.
                                                       Patton; Jeff
                                                       Gilheney; Jeff
                                                       Gilheney; Patrick
                                                       Woelfel
                                                       Gerald Miller;                    Employee(s) of
                                                       Randy Gold; John                  NuCO2 and its
                                                       Templin; Vince                    affiliated
                                                       Giordano; Derek                   company(ies)
                                                                                                                        Reflects attorney
                                                       Burton; Mike
                                                                                                          Attorney      communications and/or
NuCO2_               4/3/2017                          Kleimeyer; Kent
            pptx                 Felicia Gallagher                                                        Client/Work   attorney work product
Priv_2686            12:59                             Hoffman; Ashley
                                                                                                          Product       regarding legal matters and
                                                       Critcher; Kevin
                                                                                                                        safety.
                                                       Patton; Jeff
                                                       Gilheney; Jeff
                                                       Gilheney; Patrick
                                                       Woelfel
                                                       Randy Gold; John                  Employee(s) of
                                                       Templin; Vince                    NuCO2 and its
                                                       Giordano; Derek                   affiliated
                                                       Burton; Mike                      company(ies)
                                                                                                                        Reflects attorney
                                                       Kleimeyer; Kent
                                                                                                          Attorney      communications and/or
NuCO2_               4/3/2017                          Hoffman; Ashley
            pptx                 Gerald Miller                                                            Client/Work   attorney work product
Priv_2687            10:40                             Critcher; Kevin
                                                                                                          Product       regarding legal matters and
                                                       Patton; Jeff
                                                                                                                        safety.
                                                       Gilheney; Felicia
                                                       Gallagher; Jeff
                                                       Gilheney; Gerald
                                                       Miller; Patrick


                                                                       475
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 477 of
                                                         573


                                                     Woelfel




                                                     Felicia Gallagher;    Employee(s) of
                                                     Jeff Gilheney;        NuCO2 and its                  Reflects attorney
                                                     Gerald Miller;        affiliated       Attorney      communications and/or
NuCO2_               3/31/2017
            pptx                 Felicia Gallagher   Derek Burton;         company(ies)     Client/Work   attorney work product
Priv_2688            16:43
                                                     Vince Giordano;                        Product       regardinglegal matters and
                                                     John Templin;                                        safety.
                                                     Kevin Patton
                                                     Felicia Gallagher;    Employee(s) of
                                                     Jeff Gilheney;        NuCO2 and its                  Reflects attorney
                                                     Gerald Miller;        affiliated       Attorney      communications and/or
NuCO2_               3/31/2017
            pptx                 Felicia Gallagher   Derek Burton;         company(ies)     Client/Work   attorney work product
Priv_2689            16:16
                                                     Vince Giordano;                        Product       regardinglegal matters and
                                                     John Templin;                                        safety.
                                                     Kevin Patton
                                                     Felicia Gallagher;    Employee(s) of
                                                     Jeff Gilheney;        NuCO2 and its                  Reflects attorney
                                                     Gerald Miller;        affiliated       Attorney      communications and/or
NuCO2_               3/31/2017
            pptx                 Felicia Gallagher   Derek Burton;         company(ies)     Client/Work   attorney work product
Priv_2690            13:06
                                                     Vince Giordano;                        Product       regardinglegal matters and
                                                     John Templin;                                        safety.
                                                     Kevin Patton
                                                     Gerald Miller; Mike   Employee(s) of
                                                     Kleimeyer; Jeff       NuCO2 and its
                                                     Gilheney; John        affiliated
                                                     Templin; Derek        company(ies)
                                                     Burton; Randy
                                                     Gold; Vince                                          Reflects attorney
                                                                                            Attorney
NuCO2_               3/28/2017                       Giordano; Patrick                                    communications and /or
            pptx                                                                            Client/Work
Priv_2691            8:31                            Woelfel; John                                        attorney work product
                                                                                            Product
                                                     Chesney; Dominick                                    regarding acquisition.
                                                     Brandow; Felicia
                                                     Gallagher; Kevin
                                                     Patton;
                                                     Felicia_Gallagher@
                                                     Praxair.com



                                                                     476
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 478 of
                                                         573


                                                Gerald Miller; Mike     Employee(s) of
                                                Kleimeyer; Jeff         NuCO2 and its
                                                Gilheney; John          affiliated
                                                Templin; Derek          company(ies)
                                                Burton; Randy
                                                Gold; Vince                                            Reflects attorney
                                                                                         Attorney
NuCO2_               3/28/2017                  Giordano; Patrick                                      communications and /or
            pptx                                                                         Client/Work
Priv_2692            8:31                       Woelfel; John                                          attorney work product
                                                                                         Product
                                                Chesney; Dominick                                      regarding safety.
                                                Brandow; Felicia
                                                Gallagher; Kevin
                                                Patton;
                                                Felicia_Gallagher@
                                                Praxair.com
                                                Gerald Miller; Mike     Employee(s) of
                                                Kleimeyer; Jeff         NuCO2 and its
                                                Gilheney; John          affiliated
                                                Templin; Derek          company(ies)
                                                Burton; Randy
                                                Gold; Vince                                            Reflects attorney
                                                                                         Attorney
NuCO2_               3/28/2017                  Giordano; Patrick                                      communications and /or
            pptx                                                                         Client/Work
Priv_2693            7:27                       Woelfel; John                                          attorney work product
                                                                                         Product
                                                Chesney; Dominick                                      regarding safety.
                                                Brandow; Felicia
                                                Gallagher; Kevin
                                                Patton;
                                                Felicia_Gallagher@
                                                Praxair.com
                                                Gerald Miller; Mike
                                                Kleimeyer; Jeff
                                                Gilheney; John
                                                Templin; Derek
                                                                        Employee(s) of
                                                Burton; Randy
                                                                        NuCO2 and its                  Reflects attorney
                                                Gold; Vince                              Attorney
NuCO2_               3/28/2017                                          affiliated                     communications and /or
            pptx                                Giordano; Patrick                        Client/Work
Priv_2694            7:27                                               company(ies)                   attorney work product
                                                Woelfel; John                            Product
                                                                                                       regarding acquisition.
                                                Chesney; Dominick
                                                Brandow; Felicia
                                                Gallagher; Kevin
                                                Patton;
                                                Felicia_Gallagher@


                                                                477
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 479 of
                                                         573


                                                Praxair.com




                                                                                    Logico2
                                                                      Kristina
                                                                                    employee(s),                       Communications providing
NuCO2_               3/20/2017                  fireofficial@hacken   Baron; Hank                        Attorney
            msg                  Bo Hansson                                         NuCO2                              guidance regarding regulatory
Priv_2695            9:58                       sack.org              Moeller;                           Client
                                                                                    employee(s) and                    compliance.
                                                                      Mark Novak
                                                                                    city fire official
                                                                                    Logico2
                                                                                    employee(s) and                    Communications providing
NuCO2_               3/20/2017                  Derek Burton; John    Hank                               Attorney
            pdf                  Bo Hansson                                         NuCO2                              guidance regarding regulatory
Priv_2696            9:58                       Templin               Moeller                            Client
                                                                                    employee(s)                        compliance.

                                                                                    Logico2
                                                                                    employee(s) and                    Communications providing
NuCO2_               3/20/2017                  Derek Burton; John    Hank                               Attorney
            pdf                  Bo Hansson                                         NuCO2                              guidance regarding regulatory
Priv_2697            9:58                       Templin               Moeller                            Client
                                                                                    employee(s)                        compliance.

                                                                                    Employee(s) of
                                                                                    NuCO2                              Communications providing
NuCO2_               3/20/2017                  Derek Burton; John    Hank                               Attorney
            MSG                  Mark Novak                                                                            guidance regarding regulatory
Priv_2698            9:58                       Templin               Moeller                            Client
                                                                                                                       compliance.
                                                Gerald Miller; Mike                 Employee(s) of
                                                Kleimeyer; Jeff                     NuCO2
                                                Gilheney; John
                                                Templin; Derek
                                                Burton; Randy
                                                Gold; Vince
                                                                                                                       Reflects attorney
                                                Giordano; Patrick                                        Attorney
NuCO2_               2/28/2017                                                                                         communications and /or
            pptx                                Woelfel; John                                            Client/Work
Priv_2699            7:42                                                                                              attorney work product
                                                Chesney; Dominick                                        Product
                                                                                                                       regarding insurance.
                                                Brandow; Russell
                                                Vicari; Felicia
                                                Gallagher; Kevin
                                                Patton;
                                                Felicia_Gallagher@
                                                Praxair.com




                                                                478
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 480 of
                                                         573


                                                 Gerald Miller; Mike                Employee(s) of
                                                 Kleimeyer; Jeff                    NuCO2
                                                 Gilheney; John
                                                 Templin; Derek
                                                 Burton; Randy
                                                 Gold; Vince
                                                                                                                   Reflects attorney
                                                 Giordano; Patrick                                   Attorney
NuCO2_               2/28/2017                                                                                     communications and /or
            pptx                                 Woelfel; John                                       Client/Work
Priv_2700            7:42                                                                                          attorney work product
                                                 Chesney; Dominick                                   Product
                                                                                                                   regarding safety.
                                                 Brandow; Russell
                                                 Vicari; Felicia
                                                 Gallagher; Kevin
                                                 Patton;
                                                 Felicia_Gallagher@
                                                 Praxair.com
                                                 John Templin;                      Employee(s) of
                                                 Russell_Vicari@pra                 NuCO2
                                                 xair.com; Vince
                                                 Giordano; Derek
                                                 Burton; Mike                                                      Reflects attorney
                                                                                                     Attorney
NuCO2_               2/7/2017                    Kleimeyer; Kent                                                   communications and /or
            pptx                 Gerald Miller                         Randy Gold                    Client/Work
Priv_2701            8:16                        Hoffman; Jeff                                                     attorney work product
                                                                                                     Product
                                                 Gilheney; Patrick                                                 regarding acquisition.
                                                 Woelfel;
                                                 felicia_gallagher@p
                                                 raxair.com; Kevin
                                                 Patton
                                                 John Templin;                      Employee(s) of
                                                 Russell_Vicari@pra                 NuCO2
                                                 xair.com; Vince
                                                 Giordano; Derek
                                                 Burton; Mike                                                      Reflects attorney
                                                                                                     Attorney
NuCO2_               2/7/2017                    Kleimeyer; Kent                                                   communications and /or
            xlsm                 Gerald Miller                         Randy Gold                    Client/Work
Priv_2702            8:16                        Hoffman; Jeff                                                     attorney work product
                                                                                                     Product
                                                 Gilheney; Patrick                                                 regarding acquisition.
                                                 Woelfel;
                                                 felicia_gallagher@p
                                                 raxair.com; Kevin
                                                 Patton




                                                                479
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 481 of
                                                         573


                                                 John Templin;                      Employee(s) of
                                                 Russell_Vicari@pra                 NuCO2
                                                 xair.com; Vince
                                                 Giordano; Derek
                                                 Burton; Mike                                                      Reflects attorney
                                                                                                     Attorney
NuCO2_               2/7/2017                    Kleimeyer; Kent                                                   communications and /or
            MSG                  Gerald Miller                         Randy Gold                    Client/Work
Priv_2703            8:16                        Hoffman; Jeff                                                     attorney work product
                                                                                                     Product
                                                 Gilheney; Patrick                                                 regarding acquisition.
                                                 Woelfel;
                                                 felicia_gallagher@p
                                                 raxair.com; Kevin
                                                 Patton
                                                 Jeff Gilheney;                     Employee(s) of
                                                 Randy Gold; Mike                   NuCO2
                                                 Kleimeyer; Vince
                                                 Giordano; John
                                                 Templin; Kent
                                                 Hoffman; Kevin
                                                                                                                   Reflects attorney
                                                 Patton; Patrick                                     Attorney
NuCO2_               1/24/2017                                                                                     communications and /or
            pptx                                 Woelfel; Gerald                                     Client/Work
Priv_2704            8:56                                                                                          attorney work product
                                                 Miller;                                             Product
                                                                                                                   regarding safety.
                                                 'gerald_Miller@prax
                                                 air.com'; John
                                                 Chesney; Derek
                                                 Burton; Russell
                                                 Vicari; Dominick
                                                 Brandow
                                                 Jeff Gilheney;                     Employee(s) of
                                                 Randy Gold; Mike                   NuCO2
                                                 Kleimeyer; Vince
                                                 Giordano; John
                                                 Templin; Kent
                                                 Hoffman; Kevin                                                    Reflects attorney
                                                                                                     Attorney
NuCO2_               1/24/2017                   Patton; Patrick                                                   communications and /or
            pptx                                                                                     Client/Work
Priv_2705            8:56                        Woelfel; Gerald                                                   attorney work product
                                                                                                     Product
                                                 Miller;                                                           regarding insurance.
                                                 'gerald_Miller@prax
                                                 air.com'; John
                                                 Chesney; Derek
                                                 Burton; Russell
                                                 Vicari; Dominick


                                                                480
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 482 of
                                                         573


                                                          Brandow




                                                                                Employee(s) of
                                                                                                               Reflects attorney
                                                                                NuCO2 and its
NuCO2_               1/20/2017    Edward_Balzarini@Pra                                           Attorney      communications and/or
            MSG                                           John Templin          affiliated
Priv_2706            12:39        xair.com                                                       Client        attorney workproduct
                                                                                company(ies)
                                                                                                               regarding legal mater.
                                                                                Employee(s) of
                                                                                                               Reflects attorney
                                                                                NuCO2 and its
NuCO2_               1/20/2017    Edward_Balzarini@Pra                                           Attorney      communications and/or
            pdf                                           John Templin          affiliated
Priv_2707            12:39        xair.com                                                       Client        attorney workproduct
                                                                                company(ies)
                                                                                                               regarding legal mater.
                                                                                Employee(s) of
                                                                                                               Reflects communications or
                                                                                NuCO2 and its    Attorney
NuCO2_               12/13/2016   Beth_Griegel@Praxair.                                                        advice or work product
            MSG                                           John Templin          affiliated       Client/Work
Priv_2708            12:54        com                                                                          regarding negotiation/drafting
                                                                                company(ies)     Product
                                                                                                               of customer agreement.
                                                                                Employee(s) of
                                                                                                               Reflects communications or
                                                                                NuCO2 and its    Attorney
NuCO2_               12/13/2016   Beth_Griegel@Praxair.                                                        advice or work product
            pptx                                          John Templin          affiliated       Client/Work
Priv_2709            12:54        com                                                                          regarding negotiation/drafting
                                                                                company(ies)     Product
                                                                                                               of customer agreement.
                                                          Jeff Gilheney;
                                                          Randy Gold; Mike
                                                          Kleimeyer; Vince
                                                          Giordano; John
                                                          Templin; Kent
                                                          Hoffman; Kevin
                                                                                                               Reflects attorney
                                                          Patton; Patrick                        Attorney
NuCO2_               11/22/2016                                                 Employee(s) of                 communications and /or
            pptx                                          Woelfel; Gerald                        Client/Work
Priv_2710            7:55                                                       NuCO2                          attorney work product
                                                          Miller;                                Product
                                                                                                               regarding safety.
                                                          'gerald_Miller@prax
                                                          air.com'; John
                                                          Chesney; Derek
                                                          Burton; Russell
                                                          Vicari; Dominick
                                                          Brandow



                                                                         481
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 483 of
                                                         573


                                                                        Employee(s) of   Attorney      Reflects communications or
NuCO2_               11/10/2016                                         NuCO2            Client/Work   advice or work product
            MSG                   Matt Butcher     John Templin                          Product
Priv_2711            13:31                                                                             regarding negotiation/drafting
                                                                                                       of customer agreement.
                                                                        Employee(s) of   Attorney      Reflects communications or
NuCO2_               11/10/2016                                         NuCO2            Client/Work   advice or work product
            htm                   Matt Butcher     John Templin                          Product
Priv_2712            13:31                                                                             regarding negotiation/drafting
                                                                                                       of customer agreement.
                                                                        Employee(s) of   Attorney      Reflects communications or
NuCO2_               11/10/2016                                         NuCO2            Client/Work   advice or work product
            pdf                   Matt Butcher     John Templin                          Product
Priv_2713            13:31                                                                             regarding negotiation/drafting
                                                                                                       of customer agreement.
                                                                        Employee(s) of   Attorney      Reflects communications or
NuCO2_               11/10/2016                                         NuCO2            Client/Work   advice or work product
            htm                   Matt Butcher     John Templin                          Product
Priv_2714            13:31                                                                             regarding negotiation/drafting
                                                                                                       of customer agreement.
                                                                        Employee(s) of   Attorney      Reflects communications or
NuCO2_               11/10/2016                                         NuCO2            Client/Work   advice or work product
            docx                  Matt Butcher     John Templin                          Product
Priv_2715            13:31                                                                             regarding negotiation/drafting
                                                                                                       of customer agreement.
                                                                        Employee(s) of   Attorney      Reflects communications,
NuCO2_               11/10/2016                                         NuCO2            Client/Work   advice, and/or work product
            htm                   Matt Butcher     John Templin                          Product
Priv_2716            13:31                                                                             regarding negotiation/drafting
                                                                                                       of customer agreement.
                                                                        Employee(s) of   Attorney      Reflects communications,
NuCO2_               11/10/2016                                         NuCO2            Client/Work   advice, and/or work product
            png                   Matt Butcher     John Templin                          Product
Priv_2717            13:31                                                                             regarding negotiation/drafting
                                                                                                       of customer agreement.
                                                                        Employee(s) of                 Reflects attorney
                                                                        NuCO2            Attorney
NuCO2_               11/2/2016                                                                         communications and /or
            xlsm                  Russell Vicari   John Templin                          Client/Work
Priv_2718            10:05                                                                             attorney work product
                                                                                         Product
                                                                                                       regarding acquisition.
                                                                        Employee(s) of                 Reflects attorney
                                                                        NuCO2            Attorney
NuCO2_               11/2/2016                                                                         communications and /or
            MSG                   Russell Vicari   John Templin                          Client/Work
Priv_2719            10:05                                                                             attorney work product
                                                                                         Product
                                                                                                       regarding acquisition.



                                                                  482
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 484 of
                                                         573


                                                                                              Employee(s) of   Attorney      Reflects need for/provision of
                                                                               Gerald_Mill
                                                                                              NuCO2 and its    Client/Work   legal advice regarding
NuCO2_               11/1/2016    Beth_Griegel@Praxair.    Jeff_Barnhard@pra   er@praxair.c
            MSG                                                                               affiliated       Product       negotiation/drafting of
Priv_2720            7:37         com                      xair.com            om; John
                                                                                              company(ies)                   customer agreements/other
                                                                               Templin
                                                                                                                             issues.
                                                                                              Employee(s) of   Attorney      Reflects need for/provision of
                                                                               Gerald_Mill
                                                                                              NuCO2 and its    Client/Work   legal advice regarding
NuCO2_               11/1/2016    Beth_Griegel@Praxair.    Jeff_Barnhard@pra   er@praxair.c
            pptx                                                                              affiliated       Product       negotiation/drafting of
Priv_2721            7:37         com                      xair.com            om; John
                                                                                              company(ies)                   customer agreements/other
                                                                               Templin
                                                                                                                             issues.
                                                                               John           Employee(s) of   Attorney      Reflects need for/provision of
                                                                               Templin;       NuCO2 and its    Client/Work   legal advice regarding
NuCO2_               10/31/2016   Gerald_Miller@praxair.   Jeff_Barnhard@pra
            MSG                                                                Beth_Griege    affiliated       Product       negotiation/drafting of
Priv_2722            16:04        com                      xair.com
                                                                               l@Praxair.co   company(ies)                   customer agreements/other
                                                                               m                                             issues.
                                                                                              Employee(s) of   Attorney      Reflects need for/provision of
                                                                                              NuCO2 and its    Client/Work   legal advice regarding
NuCO2_               10/31/2016   Gerald_Miller@praxair.   Jeff_Barnhard@pra   John
            MSG                                                                               affiliated       Product       negotiation/drafting of
Priv_2723            15:42        com                      xair.com            Templin
                                                                                              company(ies)                   customer agreements/other
                                                                                                                             issues.
                                                                                              Employee(s) of   Attorney      Reflects need for/provision of
                                                                                              NuCO2 and its    Client/Work   legal advice regarding
NuCO2_               10/31/2016   Gerald_Miller@praxair.   Jeff_Barnhard@pra   John
            pptx                                                                              affiliated       Product       negotiation/drafting of
Priv_2724            15:42        com                      xair.com            Templin
                                                                                              company(ies)                   customer agreements/other
                                                                                                                             issues.
                                                                               Bill Wilson;   Employee(s) of
                                                                               Gerald         NuCO2 and its                  Reflects attorney
                                                                                                               Attorney
NuCO2_               10/27/2016   Nichelle_Maynard-                            Miller; John   affiliated                     communications and /or
            MSG                                            Randy Gold                                          Client/Work
Priv_2725            7:49         Elliott@Praxair.com                          Templin;       company(ies)                   attorney work product
                                                                                                               Product
                                                                               Russell                                       regarding acquisition.
                                                                               Vicari
                                                                               Bill Wilson;   Employee(s) of
                                                                               Gerald         NuCO2 and its                  Reflects attorney
                                                                                                               Attorney
NuCO2_               10/27/2016   Nichelle_Maynard-                            Miller; John   affiliated                     communications and /or
            xlsm                                           Randy Gold                                          Client/Work
Priv_2726            7:49         Elliott@Praxair.com                          Templin;       company(ies)                   attorney work product
                                                                                                               Product
                                                                               Russell                                       regarding acquisition.
                                                                               Vicari




                                                                         483
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 485 of
                                                        573


                                                                                              Employee(s) of
                                                                                              NuCO2 and its               Reflects need for/provision of
NuCO2_              10/20/2016   David_Markatos@Prax                                                           Attorney
            MSG                                        John Templin                           affiliated                  legal advice regarding
Priv_2727           14:48        air.com                                                                       Client
                                                                                              company(ies)                customer account/dispute.

                                                                                              Employee(s) of
                                                                                              NuCO2 and its               Reflects need for/provision of
NuCO2_              10/20/2016   David_Markatos@Prax                                                           Attorney
            MSG                                        John Templin                           affiliated                  legal advice regarding
Priv_2728           14:38        air.com                                                                       Client
                                                                                              company(ies)                customer account/dispute.

                                                                                              Employee(s) of
                                                                                              NuCO2 and its               Reflects need for/provision of
NuCO2_              10/20/2016   David_Markatos@Prax                                                           Attorney
            MSG                                        John Templin                           affiliated                  legal advice regarding
Priv_2729           14:34        air.com                                                                       Client
                                                                                              company(ies)                customer account/dispute.

                                                                               Greg_Dryoe     Employee(s) of
                                                                               l@Praxair.co   NuCO2 and its
                                                                               m;             affiliated
                                                                               david_gome     company(ies)                Reflects need for/provision of
NuCO2_              10/20/2016                         Eric Monroe; John                                       Attorney
            MSG                  Seth Flowers                                  z@praxair.c                                legal advice regarding
Priv_2730           11:14                              Templin                                                 Client
                                                                               om;                                        customer account/dispute.
                                                                               Mitch_Evan
                                                                               s@praxair.c
                                                                               om
                                                                                              Employee(s) of
                                                                                              NuCO2 and its               Reflects need for/provision of
NuCO2_              10/20/2016                                                                                 Attorney
            msg                  Kathleen Daniel       Seth Flowers                           affiliated                  legal advice regarding
Priv_2731           11:14                                                                                      Client
                                                                                              company(ies)                customer account/dispute.

                                                                                              Employee(s) of
                                                                                              NuCO2 and its               Reflects need for/provision of
NuCO2_              10/20/2016                                                                                 Attorney
            msg                  Kathleen Daniel       Kathleen Daniel                        affiliated                  legal advice regarding
Priv_2732           11:14                                                                                      Client
                                                                                              company(ies)                customer account/dispute.

                                                                               Greg_Dryoe     Employee(s) of
                                                                               l@Praxair.co   NuCO2 and its
                                                                                                                          Reflects need for/provision of
NuCO2_              10/20/2016                         Eric Monroe; John       m;             affiliated       Attorney
            pdf                  Kathleen Daniel                                                                          legal advice regarding
Priv_2733           11:14                              Templin                 david_gome     company(ies)     Client
                                                                                                                          customer account/dispute.
                                                                               z@praxair.c
                                                                               om;


                                                                         484
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 486 of
                                                         573


                                                                              Mitch_Evan
                                                                              s@praxair.c
                                                                              om

                                                                                             Employee(s) of
                                                                                                                            Reflects communications or
                                                                              Gerald_Mill    NuCO2 and its    Attorney
NuCO2_               10/6/2016   David_Markatos@Prax                                                                        advice or work product
            pdf                                          John Templin         er@praxair.c   affiliated       Client/Work
Priv_2734            13:42       air.com                                                                                    regarding handling competitor
                                                                              om             company(ies)     Product
                                                                                                                            disputes.
                                                                                             Employee(s) of
                                                                                                                            Reflects communications or
                                                                              Gerald_Mill    NuCO2 and its    Attorney
NuCO2_               10/6/2016   David_Markatos@Prax                                                                        advice or work product
            pdf                                          John Templin         er@praxair.c   affiliated       Client/Work
Priv_2735            13:42       air.com                                                                                    regarding handling competitor
                                                                              om             company(ies)     Product
                                                                                                                            disputes.
                                                                                             Employee(s) of
                                                                                                                            Reflects communications or
                                                                              Gerald_Mill    NuCO2 and its    Attorney
NuCO2_               10/6/2016   David_Markatos@Prax                                                                        advice or work product
            MSG                                          John Templin         er@praxair.c   affiliated       Client/Work
Priv_2736            13:42       air.com                                                                                    regarding handling competitor
                                                                              om             company(ies)     Product
                                                                                                                            disputes.
                                                                                             Employee(s) of                 Communications regarding
                                                                                             NuCO2 and its                  request for and provision of
                                                                              'Robin_K_R                      Attorney
NuCO2_               8/30/2016   David_Markatos@Prax     Maria Primm; John                   affiliated                     legal advice/work product of
            MSG                                                               iley@Praxair                    Client/Work
Priv_2737            9:46        air.com                 Templin                             company(ies)                   counsel concerning
                                                                              .com'                           Product
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                             Employee(s) of                 Communications regarding
                                                                                             NuCO2 and its                  request for and provision of
                                                                              'Robin_K_R                      Attorney
NuCO2_               8/30/2016   David_Markatos@Prax     Maria Primm; John                   affiliated                     legal advice/work product of
            docx                                                              iley@Praxair                    Client/Work
Priv_2738            9:46        air.com                 Templin                             company(ies)                   counsel concerning
                                                                              .com'                           Product
                                                                                                                            negotiation/drafting of
                                                                                                                            customer agreement.
                                                                                             Employee(s) of
                                                                                             NuCO2 and its                  Reflects need for/provision of
NuCO2_               8/15/2016   David_Markatos@Prax                          John                            Attorney
            MSG                                          Peter Craig                         affiliated                     legal advice regarding
Priv_2739            14:07       air.com                                      Templin                         Client
                                                                                             company(ies)                   customer account/dispute.

                                                                              David          Employee(s) of                 Communications regarding
                                                                                             NuCO2 and its    Attorney
NuCO2_               8/12/2016   Rachelle_Brice@Praxai                        Markatos;                                     request for and provision of
            MSG                                          John Templin                        affiliated       Client/Work
Priv_2740            9:58        r.com                                        Kathleen                                      legal advice/work product of
                                                                                                              Product
                                                                              Daniel                                        counsel concerning


                                                                        485
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 487 of
                                                        573


                                                                                               company(ies)                   negotiation/drafting of
                                                                                                                              customer agreement.


                                                                                               Employee(s) of                 Communications regarding
                                                                                David          NuCO2 and its                  request for and provision of
                                                                                                                Attorney
NuCO2_              8/12/2016   Rachelle_Brice@Praxai                           Markatos;      affiliated                     legal advice/work product of
            doc                                         John Templin                                            Client/Work
Priv_2741           9:58        r.com                                           Kathleen       company(ies)                   counsel concerning
                                                                                                                Product
                                                                                Daniel                                        negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                               Employee(s) of
                                                                                John
                                                                                               NuCO2 and its    Attorney      Reflects need for/provision of
NuCO2_              8/8/2016    David_Markatos@Prax                             Templin;
            MSG                                         Kathleen Daniel                        affiliated       Client/Work   legal advice regarding
Priv_2742           16:24       air.com                                         Jeff
                                                                                               company(ies)     Product       customer account/dispute.
                                                                                Gilheney
                                                                                               Employee(s) of
                                                                                John
                                                                                               NuCO2 and its    Attorney      Reflects need for/provision of
NuCO2_              8/8/2016    David_Markatos@Prax                             Templin;
            doc                                         Kathleen Daniel                        affiliated       Client/Work   legal advice regarding
Priv_2743           16:24       air.com                                         Jeff
                                                                                               company(ies)     Product       customer account/dispute.
                                                                                Gilheney
                                                                                               Employee(s) of
                                                                                John
                                                                                               NuCO2 and its    Attorney      Reflects need for/provision of
NuCO2_              8/8/2016    David_Markatos@Prax                             Templin;
            xls                                         Kathleen Daniel                        affiliated       Client/Work   legal advice regarding
Priv_2744           16:24       air.com                                         Jeff
                                                                                               company(ies)     Product       customer account/dispute.
                                                                                Gilheney
                                                                                                                              Communications regarding
                                                                                                                              request for and provision of
NuCO2_              8/3/2016                                                                   Employee(s) of   Attorney      legal advice/work product of
            MSG                 Robbi Stiell            John Templin
Priv_2745           18:13                                                                      NuCO2            Client        counsel concerning
                                                                                                                              negotiation/drafting of
                                                                                                                              customer agreement.
                                                                                                                              Communications regarding
                                                                                               Employee(s) of                 request for and provision of
                                                                                Shelly_Piazz                    Attorney
NuCO2_              8/3/2016    David_Markatos@Prax                                            NuCO2 and its                  legal advice/work product of
            MSG                                         John Templin            a@Praxair.c                     Client/Work
Priv_2746           15:52       air.com                                                        affiliated                     counsel concerning
                                                                                om                              Product
                                                                                               company(ies)                   negotiation/drafting of
                                                                                                                              customer agreement.




                                                                          486
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 488 of
                                                         573


                                                                                            Employee(s) of                 Communications regarding
                                                                                            NuCO2 and its                  request for and provision of
                                                                             Shelly_Piazz                    Attorney
NuCO2_               8/3/2016    David_Markatos@Prax                                        affiliated                     legal advice/work product of
            docx                                       John Templin          a@Praxair.c                     Client/Work
Priv_2747            15:52       air.com                                                    company(ies)                   counsel concerning
                                                                             om                              Product
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                            Employee(s) of
                                                                                                                           Reflects communications or
                                                                             Shelly_Piazz   NuCO2 and its    Attorney
NuCO2_               8/2/2016    David_Markatos@Prax                                                                       advice or work product
            MSG                                        John Templin          a@Praxair.c    affiliated       Client/Work
Priv_2748            13:09       air.com                                                                                   regarding negotiation/drafting
                                                                             om             company(ies)     Product
                                                                                                                           of customer agreement.
                                                                                            Employee(s) of
                                                                                                                           Reflects communications or
                                                                             Shelly_Piazz   NuCO2 and its    Attorney
NuCO2_               8/2/2016    David_Markatos@Prax                                                                       advice or work product
            docx                                       John Templin          a@Praxair.c    affiliated       Client/Work
Priv_2749            13:09       air.com                                                                                   regarding negotiation/drafting
                                                                             om             company(ies)     Product
                                                                                                                           of customer agreement.
                                                                             Rob_Morris     Employee(s) of
                                                                             on@praxair.    NuCO2 and its                  Reflects communications or
                                                                                                             Attorney
NuCO2_               8/2/2016    David_Markatos@Prax                         com;           affiliated                     advice or work product
            docx                                       John Templin                                          Client/Work
Priv_2750            8:38        air.com                                     Shelly_Piazz   company(ies)                   regarding negotiation/drafting
                                                                                                             Product
                                                                             a@Praxair.c                                   of customer agreement.
                                                                             om
                                                                             Rob_Morris     Employee(s) of
                                                                             on@praxair.    NuCO2 and its                  Reflects communications or
                                                                                                             Attorney
NuCO2_               8/2/2016    David_Markatos@Prax                         com;           affiliated                     advice or work product
            MSG                                        John Templin                                          Client/Work
Priv_2751            8:38        air.com                                     Shelly_Piazz   company(ies)                   regarding negotiation/drafting
                                                                                                             Product
                                                                             a@Praxair.c                                   of customer agreement.
                                                                             om
                                                                                                                           Communications regarding
                                                                                                                           request for and provision of
                                                                                                             Attorney
NuCO2_               7/22/2016                         Gerald Miller; John                  Employee(s) of                 legal advice/work product of
            MSG                  Randy Gold                                                                  Client/Work
Priv_2752            15:10                             Templin                              NuCO2                          counsel concerning
                                                                                                             Product
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                            Employee(s) of                 Communications regarding
                                                                                            NuCO2 and its                  request for and provision of
                                                                                                             Attorney
NuCO2_               7/22/2016   David_Markatos@Prax                                        affiliated                     legal advice/work product of
            MSG                                        John Templin                                          Client/Work
Priv_2753            13:50       air.com                                                    company(ies)                   counsel concerning
                                                                                                             Product
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.



                                                                       487
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 489 of
                                                         573


                                                                                            Employee(s) of                 Communications regarding
                                                                                            NuCO2 and its                  request for and provision of
                                                                                                             Attorney
NuCO2_               7/22/2016   David_Markatos@Prax                                        affiliated                     legal advice/work product of
            MSG                                        John Templin                                          Client/Work
Priv_2754            10:25       air.com                                                    company(ies)                   counsel concerning
                                                                                                             Product
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                            Employee(s) of                 Communications regarding
                                                                             Shelly_Piazz   NuCO2 and its    Attorney      need for/provision of
NuCO2_               7/22/2016   David_Markatos@Prax
            MSG                                        John Templin          a@Praxair.c    affiliated       Client/Work   information in order to
Priv_2755            8:18        air.com
                                                                             om             company(ies)     Product       facilitate provision of legal
                                                                                                                           advice/services.
                                                                                            Employee(s) of                 Communications regarding
                                                                             Shelly_Piazz   NuCO2 and its    Attorney      need for/provision of
NuCO2_               7/22/2016   David_Markatos@Prax
            docx                                       John Templin          a@Praxair.c    affiliated       Client/Work   information in order to
Priv_2756            8:18        air.com
                                                                             om             company(ies)     Product       facilitate provision of legal
                                                                                                                           advice/services.
                                                                                            Employee(s) of                 Communications regarding
                                                       Randy Gold; Gerald                   NuCO2 and its                  request for and provision of
                                                                             Shelly_Piazz                    Attorney
NuCO2_               7/22/2016   David_Markatos@Prax   Miller; John                         affiliated                     legal advice/work product of
            pdf                                                              a@Praxair.c                     Client/Work
Priv_2757            8:01        air.com               Templin; Jeff                        company(ies)                   counsel concerning
                                                                             om                              Product
                                                       Wilson                                                              negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                            Employee(s) of                 Communications regarding
                                                       Randy Gold; Gerald                   NuCO2 and its                  request for and provision of
                                                                             Shelly_Piazz                    Attorney
NuCO2_               7/22/2016   David_Markatos@Prax   Miller; John                         affiliated                     legal advice/work product of
            MSG                                                              a@Praxair.c                     Client/Work
Priv_2758            8:01        air.com               Templin; Jeff                        company(ies)                   counsel concerning
                                                                             om                              Product
                                                       Wilson                                                              negotiation/drafting of
                                                                                                                           customer agreement.
                                                                             Gerald         Employee(s) of
                                                                                                                           Communications regarding
                                                                             Miller; John   NuCO2 and its
                                                                                                                           request for and provision of
                                                                             Templin;       affiliated       Attorney
NuCO2_               7/21/2016   David_Markatos@Prax                                                                       legal advice/work product of
            MSG                                        Randy Gold            Jeff Wilson;   company(ies)     Client/Work
Priv_2759            15:41       air.com                                                                                   counsel concerning
                                                                             Shelly_Piazz                    Product
                                                                                                                           negotiation/drafting of
                                                                             a@Praxair.c
                                                                                                                           customer agreement.
                                                                             om
                                                                                            Employee(s) of                 Communications regarding
                                                       David Markatos;                      NuCO2 and its                  request for and provision of
                                                                             Shelly_Piazz                    Attorney
NuCO2_               7/21/2016                         Gerald Miller; John                  affiliated                     legal advice/work product of
            MSG                  Randy Gold                                  a@Praxair.c                     Client/Work
Priv_2760            15:26                             Templin; Jeff                        company(ies)                   counsel concerning
                                                                             om                              Product
                                                       Wilson                                                              negotiation/drafting of
                                                                                                                           customer agreement.

                                                                       488
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 490 of
                                                         573


                                                                                              Employee(s) of                 Communications regarding
                                                       Randy Gold; Gerald                     NuCO2 and its                  request for and provision of
                                                                              Shelly_Piazz                     Attorney
NuCO2_               7/21/2016   David_Markatos@Prax   Miller; John                           affiliated                     legal advice/work product of
            MSG                                                               a@Praxair.c                      Client/Work
Priv_2761            15:19       air.com               Templin; Jeff                          company(ies)                   counsel concerning
                                                                              om                               Product
                                                       Wilson                                                                negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                       Randy Gold; Gerald                     NuCO2 and its                  request for and provision of
                                                                              Shelly_Piazz                     Attorney
NuCO2_               7/21/2016   David_Markatos@Prax   Miller; John                           affiliated                     legal advice/work product of
            docx                                                              a@Praxair.c                      Client/Work
Priv_2762            15:19       air.com               Templin; Jeff                          company(ies)                   counsel concerning
                                                                              om                               Product
                                                       Wilson                                                                negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                                              NuCO2 and its                  request for and provision of
                                                                              'Shelly_Piazz                    Attorney
NuCO2_               7/13/2016   David_Markatos@Prax   Robbi Stiell; John                     affiliated                     legal advice/work product of
            docx                                                              a@Praxair.c                      Client/Work
Priv_2763            13:25       air.com               Templin                                company(ies)                   counsel concerning
                                                                              om'                              Product
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                                              NuCO2 and its                  request for and provision of
                                                                              'Shelly_Piazz                    Attorney
NuCO2_               7/13/2016   David_Markatos@Prax   Robbi Stiell; John                     affiliated                     legal advice/work product of
            MSG                                                               a@Praxair.c                      Client/Work
Priv_2764            13:25       air.com               Templin                                company(ies)                   counsel concerning
                                                                              om'                              Product
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                              John
                                                                                              NuCO2 and its                  request for and provision of
                                                                              Templin;                         Attorney
NuCO2_               7/13/2016   David_Markatos@Prax                                          affiliated                     legal advice/work product of
            MSG                                        Robbi Stiell           Shelly_Piazz                     Client/Work
Priv_2765            12:54       air.com                                                      company(ies)                   counsel concerning
                                                                              a@Praxair.c                      Product
                                                                                                                             negotiation/drafting of
                                                                              om
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                              John
                                                                                              NuCO2 and its                  request for and provision of
                                                                              Templin;                         Attorney
NuCO2_               7/13/2016                                                                affiliated                     legal advice/work product of
            MSG                  Robbi Stiell          David Markatos         Shelly_Piazz                     Client/Work
Priv_2766            10:33                                                                    company(ies)                   counsel concerning
                                                                              a@Praxair.c                      Product
                                                                                                                             negotiation/drafting of
                                                                              om
                                                                                                                             customer agreement.
                                                                                              Employee(s) of                 Communications regarding
                                                                              David
                                                                                              NuCO2 and its    Attorney      request for and provision of
NuCO2_               7/12/2016                         'Shelly_Piazza@Pra     Markatos;
            MSG                  Robbi Stiell                                                 affiliated       Client/Work   legal advice/work product of
Priv_2767            10:46                             xair.com'              John
                                                                                              company(ies)     Product       counsel concerning
                                                                              Templin
                                                                                                                             negotiation/drafting of


                                                                        489
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 491 of
                                                         573


                                                                                                                          customer agreement.




                                                                                           Employee(s) of                 Communications regarding
                                                                               David       NuCO2 and its                  request for and provision of
                                                                                                            Attorney
NuCO2_               7/12/2016                            'Shelly_Piazza@Pra   Markatos;   affiliated                     legal advice/work product of
            docx                 Robbi Stiell                                                               Client/Work
Priv_2768            10:46                                xair.com'            John        company(ies)                   counsel concerning
                                                                                                            Product
                                                                               Templin                                    negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                                                          Communications regarding
                                                                                                                          request for and provision of
                                                                                                            Attorney
NuCO2_               7/11/2016                                                             Employee(s) of                 legal advice/work product of
            jpg                  Robbi Stiell             John Templin                                      Client/Work
Priv_2769            17:02                                                                 NuCO2                          counsel concerning
                                                                                                            Product
                                                                                                                          negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                           Employee(s) of                 Communications regarding
                                                                                           NuCO2                          request for and provision of
                                                                                                            Attorney
NuCO2_               7/11/2016                                                                                            legal advice/work product of
            png                  Robbi Stiell             John Templin                                      Client/Work
Priv_2770            17:02                                                                                                counsel concerning
                                                                                                            Product
                                                                                                                          negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                           Employee(s) of                 Communications regarding
                                                                                           NuCO2                          request for and provision of
                                                                                                            Attorney
NuCO2_               7/11/2016                                                                                            legal advice/work product of
            MSG                  Robbi Stiell             John Templin                                      Client/Work
Priv_2771            17:02                                                                                                counsel concerning
                                                                                                            Product
                                                                                                                          negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                           Employee(s) of                 Communications regarding
                                                                               David       NuCO2 and its                  request for and provision of
                                                                                                            Attorney
NuCO2_               7/11/2016   Shelly_Piazza@Praxair.                        Markatos;   affiliated                     legal advice/work product of
            MSG                                           Robbi Stiell                                      Client/Work
Priv_2772            14:58       com                                           John        company(ies)                   counsel concerning
                                                                                                            Product
                                                                               Templin                                    negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                           Employee(s) of                 Communications regarding
                                                                               David       NuCO2 and its                  request for and provision of
                                                                                                            Attorney
NuCO2_               7/11/2016   Shelly_Piazza@Praxair.                        Markatos;   affiliated                     legal advice/work product of
            docx                                          Robbi Stiell                                      Client/Work
Priv_2773            14:58       com                                           John        company(ies)                   counsel concerning
                                                                                                            Product
                                                                               Templin                                    negotiation/drafting of
                                                                                                                          customer agreement.


                                                                         490
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 492 of
                                                         573


                                                                                            Employee(s) of                 Communications regarding
                                                                                            NuCO2 and its                  request for and provision of
                                                       David Markatos;
NuCO2_               7/7/2016                                                John           affiliated       Attorney      legal advice/work product of
            docx                 Robbi Stiell          'Shelly_Piazza@Pra
Priv_2774            14:23                                                   Templin        company(ies)     Client        counsel concerning
                                                       xair.com'
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                            Employee(s) of                 Communications regarding
                                                                                            NuCO2 and its                  request for and provision of
                                                       David Markatos;
NuCO2_               7/7/2016                                                John           affiliated       Attorney      legal advice/work product of
            MSG                  Robbi Stiell          'Shelly_Piazza@Pra
Priv_2775            14:23                                                   Templin        company(ies)     Client        counsel concerning
                                                       xair.com'
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                            Employee(s) of                 Communications regarding
                                                                                            NuCO2 and its                  request for and provision of
                                                                             Shelly_Piazz                    Attorney
NuCO2_               7/6/2016    David_Markatos@Prax                                        affiliated                     legal advice/work product of
            MSG                                        John Templin          a@Praxair.c                     Client/Work
Priv_2776            9:36        air.com                                                    company(ies)                   counsel concerning
                                                                             om                              Product
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                                            Employee(s) of                 Communications regarding
                                                                                            NuCO2 and its                  request for and provision of
                                                                             Shelly_Piazz                    Attorney
NuCO2_               7/6/2016    David_Markatos@Prax                                        affiliated                     legal advice/work product of
            docx                                       John Templin          a@Praxair.c                     Client/Work
Priv_2777            9:36        air.com                                                    company(ies)                   counsel concerning
                                                                             om                              Product
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.
                                                                             Michael_Bo     Employee(s) of                 Communications regarding
                                                       Gerald Miller; John   urque@Prax     NuCO2 and its                  request for and provision of
                                                                                                             Attorney
NuCO2_               6/24/2016   David_Markatos@Prax   Templin; Randy        air.com;       affiliated                     legal advice/work product of
            MSG                                                                                              Client/Work
Priv_2778            8:17        air.com               Gold; Vince           Shelly_Piazz   company(ies)                   counsel concerning
                                                                                                             Product
                                                       Giordano              a@Praxair.c                                   negotiation/drafting of
                                                                             om                                            customer agreement.
                                                                             Michael_Bo     Employee(s) of                 Communications regarding
                                                       Gerald Miller; John   urque@Prax     NuCO2 and its                  request for and provision of
                                                                                                             Attorney
NuCO2_               6/24/2016   David_Markatos@Prax   Templin; Randy        air.com;       affiliated                     legal advice/work product of
            docx                                                                                             Client/Work
Priv_2779            8:17        air.com               Gold; Vince           Shelly_Piazz   company(ies)                   counsel concerning
                                                                                                             Product
                                                       Giordano              a@Praxair.c                                   negotiation/drafting of
                                                                             om                                            customer agreement.
                                                                                            Employee(s) of                 Communications regarding
                                                       John Templin;
                                                                                            NuCO2 and its    Attorney      request for and provision of
NuCO2_               6/23/2016   David_Markatos@Prax   Gerald Miller;        Michael_Bo
            MSG                                                                             affiliated       Client/Work   legal advice/work product of
Priv_2780            7:55        air.com               Randy Gold; Vince     urque
                                                                                            company(ies)     Product       counsel concerning
                                                       Giordano
                                                                                                                           negotiation/drafting of


                                                                       491
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 493 of
                                                         573


                                                                                                                          customer agreement.




                                                                                           Employee(s) of                 Communications regarding
                                                       John Templin;                       NuCO2 and its                  request for and provision of
                                                                                                            Attorney
NuCO2_               6/23/2016   David_Markatos@Prax   Gerald Miller;       Michael_Bo     affiliated                     legal advice/work product of
            docx                                                                                            Client/Work
Priv_2781            7:55        air.com               Randy Gold; Vince    urque          company(ies)                   counsel concerning
                                                                                                            Product
                                                       Giordano                                                           negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                           Employee(s) of                 Communications regarding
                                                       John Templin;                       NuCO2 and its                  request for and provision of
                                                                                                            Attorney
NuCO2_               6/23/2016   David_Markatos@Prax   Gerald Miller;       Michael_Bo     affiliated                     legal advice/work product of
            docx                                                                                            Client/Work
Priv_2782            7:55        air.com               Randy Gold; Vince    urque          company(ies)                   counsel concerning
                                                                                                            Product
                                                       Giordano                                                           negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                           Employee(s) of                 Communications regarding
                                                                                           NuCO2 and its                  request for and provision of
                                                       John Templin;        Shelly_Piazz                    Attorney
NuCO2_               6/20/2016   David_Markatos@Prax                                       affiliated                     legal advice/work product of
            MSG                                        Randy Gold; Vince    a@Praxair.c                     Client/Work
Priv_2783            15:31       air.com                                                   company(ies)                   counsel concerning
                                                       Giordano             om                              Product
                                                                                                                          negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                           Employee(s) of                 Communications regarding
                                                                                           NuCO2 and its                  request for and provision of
                                                       John Templin;        Shelly_Piazz                    Attorney
NuCO2_               6/20/2016   David_Markatos@Prax                                       affiliated                     legal advice/work product of
            docx                                       Randy Gold; Vince    a@Praxair.c                     Client/Work
Priv_2784            15:31       air.com                                                   company(ies)                   counsel concerning
                                                       Giordano             om                              Product
                                                                                                                          negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                           Employee(s) of                 Reflects communications or
                                                                                           NuCO2            Attorney
NuCO2_               6/10/2016                                                                                            advice or work product
            pdf                  Justina Connelly      John Templin                                         Client/Work
Priv_2785            7:23                                                                                                 regarding negotiation/drafting
                                                                                                            Product
                                                                                                                          of customer agreement.
                                                                                           Employee(s) of                 Reflects communications or
                                                                                           NuCO2            Attorney
NuCO2_               6/10/2016                                                                                            advice or work product
            msg                  Eric Monroe           Seth Flowers                                         Client/Work
Priv_2786            7:23                                                                                                 regarding negotiation/drafting
                                                                                                            Product
                                                                                                                          of customer agreement.




                                                                      492
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 494 of
                                                         573


                                                                          Employee(s) of                  Reflects communications or
                                                                          NuCO2            Attorney
NuCO2_               6/10/2016                      Justina Connelly;                                     advice or work product
            msg                  Eric Monroe                                               Client/Work
Priv_2787            7:23                           Seth Flowers                                          regarding negotiation/drafting
                                                                                           Product
                                                                                                          of customer agreement.
                                                                                                          Reflects communications or
                                                                                           Attorney
NuCO2_               6/10/2016                                                                            advice or work product
            PDF                                     John Templin          Self             Client/Work
Priv_2788            7:23                                                                                 regarding negotiation/drafting
                                                                                           Product
                                                                                                          of customer agreement.
                                                                          Employee(s) of                  Reflects communications or
                                                                          NuCO2            Attorney
NuCO2_               6/10/2016                                                                            advice or work product
            MSG                  Justina Connelly   John Templin                           Client/Work
Priv_2789            7:23                                                                                 regarding negotiation/drafting
                                                                                           Product
                                                                                                          of customer agreement.
                                                                          Employee(s) of                  Communications regarding
                                                    Randy Gold; John      NuCO2                           request for and provision of
NuCO2_               5/31/2016                      Templin; Debbie                        Attorney       legal advice/work product of
            xlsx                 Jeff Wilson
Priv_2790            17:48                          Oliver; Vince                          Work Product   counsel concerning
                                                    Giordano                                              negotiation/drafting of
                                                                                                          customer agreement.
                                                                          Employee(s) of                  Communications regarding
                                                    Randy Gold; John      NuCO2                           request for and provision of
NuCO2_               5/31/2016                      Templin; Debbie                        Attorney       legal advice/work product of
            xlsx                 Jeff Wilson
Priv_2791            17:48                          Oliver; Vince                          Work Product   counsel concerning
                                                    Giordano                                              negotiation/drafting of
                                                                                                          customer agreement.
                                                                          Employee(s) of                  Communications regarding
                                                    Randy Gold; John      NuCO2                           request for and provision of
NuCO2_               5/31/2016                      Templin; Debbie                        Attorney       legal advice/work product of
            MSG                  Jeff Wilson
Priv_2792            17:48                          Oliver; Vince                          Work Product   counsel concerning
                                                    Giordano                                              negotiation/drafting of
                                                                                                          customer agreement.
                                                    Carmen Torbus;        Employee(s) of
                                                    Patrick Woelfel;      NuCO2                           Reflects need for/provision of
                                                    Mark Novak; Mike                       Attorney       legal advice regarding
NuCO2_               5/6/2016
            MSG                  Randy Gold         Kleimeyer; Vince                       Client/Work    negotiation/drafting of
Priv_2793            14:49
                                                    Giordano; Russell                      Product        customer agreements/other
                                                    Vicari; John                                          issues.
                                                    Templin




                                                                    493
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 495 of
                                                        573


                                                     Carmen Torbus;                          Employee(s) of
                                                     Patrick Woelfel;                        NuCO2                          Reflects need for/provision of
                                                     Mark Novak; Mike                                         Attorney      legal advice regarding
NuCO2_              5/6/2016
            png                Randy Gold            Kleimeyer; Vince                                         Client/Work   negotiation/drafting of
Priv_2794           14:49
                                                     Giordano; Russell                                        Product       customer agreements/other
                                                     Vicari; John                                                           issues.
                                                     Templin
                                                                                             Employee(s) of                 Reflects need for/provision of
                                                                                             NuCO2 and its    Attorney      legal advice regarding
NuCO2_              5/4/2016   David_Markatos@Prax
            pdf                                      John Templin                            affiliated       Client/Work   negotiation/drafting of
Priv_2795           10:41      air.com
                                                                                             company(ies)     Product       customer agreements/other
                                                                                                                            issues.
                                                                                             Employee(s) of                 Reflects need for/provision of
                                                                                             NuCO2 and its    Attorney      legal advice regarding
NuCO2_              5/4/2016   David_Markatos@Prax
            MSG                                      John Templin                            affiliated       Client/Work   negotiation/drafting of
Priv_2796           10:41      air.com
                                                                                             company(ies)     Product       customer agreements/other
                                                                                                                            issues.
                                                                                             Employee(s) of                 Reflects need for/provision of
                                                                              Rob_Morris     NuCO2 and its    Attorney      legal advice regarding
NuCO2_              5/4/2016   David_Markatos@Prax   John Templin;
            MSG                                                               on@praxair.    affiliated       Client/Work   negotiation/drafting of
Priv_2797           8:40       air.com               Gerald Miller
                                                                              com            company(ies)     Product       customer agreements/other
                                                                                                                            issues.
                                                                                             Employee(s) of                 Reflects need for/provision of
                                                                              Rob_Morris     NuCO2 and its    Attorney      legal advice regarding
NuCO2_              5/4/2016   David_Markatos@Prax   John Templin;
            pdf                                                               on@praxair.    affiliated       Client/Work   negotiation/drafting of
Priv_2798           8:40       air.com               Gerald Miller
                                                                              com            company(ies)     Product       customer agreements/other
                                                                                                                            issues.
                                                                                             Employee(s) of                 Reflects need for/provision of
                                                                              Rob_Morris     NuCO2 and its    Attorney      legal advice regarding
NuCO2_              5/3/2016   David_Markatos@Prax
            MSG                                      John Templin             on@praxair.    affiliated       Client/Work   negotiation/drafting of
Priv_2799           19:33      air.com
                                                                              com            company(ies)     Product       customer agreements/other
                                                                                                                            issues.
                                                                              John           Employee(s) of
                                                                              Templin;       NuCO2 and its    Attorney      Reflects need for/provision of
NuCO2_              5/3/2016   David_Markatos@Prax
            MSG                                      Justina Connelly         Shelly_Piazz   affiliated       Client/Work   legal advice regarding
Priv_2800           13:24      air.com
                                                                              a@Praxair.c    company(ies)     Product       customer account/dispute.
                                                                              om




                                                                        494
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 496 of
                                                         573


                                                                                            Employee(s) of
                                                       David Markatos;                      NuCO2 and its    Attorney      Reflects need for/provision of
NuCO2_               5/3/2016                                                John
            MSG                  Justina Connelly      Shelly_Piazza@Prax                   affiliated       Client/Work   legal advice regarding
Priv_2801            13:09                                                   Templin
                                                       air.com                              company(ies)     Product       customer account/dispute.

                                                                                            Employee(s) of
                                                                             Shelly_Piazz   NuCO2 and its    Attorney      Reflects need for/provision of
NuCO2_               5/3/2016    David_Markatos@Prax   Justina Connelly;
            MSG                                                              a@Praxair.c    affiliated       Client/Work   legal advice regarding
Priv_2802            13:05       air.com               John Templin
                                                                             om             company(ies)     Product       customer account/dispute.

                                                                                            Employee(s) of
                                                                             Shelly_Piazz   NuCO2 and its    Attorney      Reflects need for/provision of
NuCO2_               5/3/2016    David_Markatos@Prax   Justina Connelly;
            jpg                                                              a@Praxair.c    affiliated       Client/Work   legal advice regarding
Priv_2803            13:05       air.com               John Templin
                                                                             om             company(ies)     Product       customer account/dispute.

                                                                                            Employee(s) of
                                                                             Shelly_Piazz   NuCO2 and its    Attorney      Reflects need for/provision of
NuCO2_               5/3/2016    David_Markatos@Prax   Justina Connelly;
            pdf                                                              a@Praxair.c    affiliated       Client/Work   legal advice regarding
Priv_2804            13:05       air.com               John Templin
                                                                             om             company(ies)     Product       customer account/dispute.

                                                                                            Employee(s) of                 Reflects need for/provision of
                                                                             Chris_Tiberi   NuCO2 and its    Attorney      legal advice regarding
NuCO2_               5/2/2016    David_Markatos@Prax
            MSG                                        John Templin          o@Praxair.c    affiliated       Client/Work   negotiation/drafting of
Priv_2805            10:04       air.com
                                                                             om             company(ies)     Product       customer agreements/other
                                                                                                                           issues.
                                                                                            Employee(s) of                 Reflects need for/provision of
                                                                                            NuCO2 and its    Attorney      legal advice regarding
NuCO2_               5/2/2016    David_Markatos@Prax                         John
            MSG                                        Chris Pherson                        affiliated       Client/Work   negotiation/drafting of
Priv_2806            7:22        air.com                                     Templin
                                                                                            company(ies)     Product       customer agreements/other
                                                                                                                           issues.
                                                                                            Employee(s) of                 Reflects need for/provision of
                                                                                            NuCO2 and its    Attorney      legal advice regarding
NuCO2_               4/29/2016   David_Markatos@Prax
            MSG                                        John Templin                         affiliated       Client/Work   negotiation/drafting of
Priv_2807            8:17        air.com
                                                                                            company(ies)     Product       customer agreements/other
                                                                                                                           issues.
                                                                                            Employee(s) of                 Reflects need for/provision of
                                                                                            NuCO2 and its    Attorney      legal advice regarding
NuCO2_               4/29/2016   David_Markatos@Prax
            docx                                       John Templin                         affiliated       Client/Work   negotiation/drafting of
Priv_2808            8:17        air.com
                                                                                            company(ies)     Product       customer agreements/other
                                                                                                                           issues.


                                                                       495
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 497 of
                                                         573


                                                                                             Employee(s) of                  Communications regarding
                                                                                             NuCO2 and its                   request for and provision of
                                                       Jeff Wilson; John     'Shelly_Piazz                    Attorney
NuCO2_               4/28/2016   David_Markatos@Prax                                         affiliated                      legal advice/work product of
            MSG                                        Templin; Randy        a@Praxair.c                      Client/Work
Priv_2809            15:57       air.com                                                     company(ies)                    counsel concerning
                                                       Gold                  om'                              Product
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                             Employee(s) of                  Communications regarding
                                                                                             NuCO2 and its                   request for and provision of
                                                       John Templin;         'Shelly_Piazz
NuCO2_               4/28/2016                                                               affiliated       Attorney       legal advice/work product of
            MSG                  Jeff Wilson           Randy Gold; David     a@Praxair.c
Priv_2810            15:52                                                                   company(ies)     Work Product   counsel concerning
                                                       Markatos              om'
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                             Employee(s) of                  Reflects need for/provision of
                                                                             Shelly_Piazz    NuCO2 and its    Attorney       legal advice regarding
NuCO2_               4/28/2016   David_Markatos@Prax
            MSG                                        John Templin          a@Praxair.c     affiliated       Client/Work    negotiation/drafting of
Priv_2811            9:39        air.com
                                                                             om              company(ies)     Product        customer agreements/other
                                                                                                                             issues.
                                                                                             Employee(s) of                  Reflects need for/provision of
                                                                             Shelly_Piazz    NuCO2 and its    Attorney       legal advice regarding
NuCO2_               4/28/2016   David_Markatos@Prax
            doc                                        John Templin          a@Praxair.c     affiliated       Client/Work    negotiation/drafting of
Priv_2812            9:39        air.com
                                                                             om              company(ies)     Product        customer agreements/other
                                                                                                                             issues.
                                                                                             Employee(s) of                  Communications regarding
                                                                                             NuCO2 and its                   request for and provision of
                                                                                                              Attorney
NuCO2_               4/28/2016   David_Markatos@Prax                                         affiliated                      legal advice/work product of
            MSG                                        John Templin                                           Client/Work
Priv_2813            9:04        air.com                                                     company(ies)                    counsel concerning
                                                                                                              Product
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                                             Employee(s) of                  Communications regarding
                                                                                             NuCO2 and its                   request for and provision of
                                                                                                              Attorney
NuCO2_               4/28/2016   David_Markatos@Prax                                         affiliated                      legal advice/work product of
            docx                                       John Templin                                           Client/Work
Priv_2814            9:04        air.com                                                     company(ies)                    counsel concerning
                                                                                                              Product
                                                                                                                             negotiation/drafting of
                                                                                                                             customer agreement.
                                                                             Vince           Employee(s) of
                                                                             Giordano;       NuCO2 and its
                                                                                                                             Reflects need for/provision of
                                                                             John            affiliated       Attorney
NuCO2_               4/27/2016   David_Markatos@Prax                                                                         legal advice regarding strategy
            pdf                                        Matt Butcher          Templin;        company(ies)     Client/Work
Priv_2815            16:28       air.com                                                                                     concerning settling customer
                                                                             Shelly_Piazz                     Product
                                                                                                                             disputes.
                                                                             a@Praxair.c
                                                                             om

                                                                       496
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 498 of
                                                        573


                                                                             Vince          Employee(s) of
                                                                             Giordano;      NuCO2 and its
                                                                                                                           Reflects need for/provision of
                                                                             John           affiliated       Attorney
NuCO2_              4/27/2016   David_Markatos@Prax                                                                        legal advice regarding strategy
            htm                                       Matt Butcher           Templin;       company(ies)     Client/Work
Priv_2816           16:28       air.com                                                                                    concerning settling customer
                                                                             Shelly_Piazz                    Product
                                                                                                                           disputes.
                                                                             a@Praxair.c
                                                                             om
                                                                             Vince          Employee(s) of
                                                                             Giordano;      NuCO2 and its
                                                                                                                           Reflects need for/provision of
                                                                             John           affiliated       Attorney
NuCO2_              4/27/2016   David_Markatos@Prax                                                                        legal advice regarding strategy
            pdf                                       Matt Butcher           Templin;       company(ies)     Client/Work
Priv_2817           16:28       air.com                                                                                    concerning settling customer
                                                                             Shelly_Piazz                    Product
                                                                                                                           disputes.
                                                                             a@Praxair.c
                                                                             om
                                                                             Vince          Employee(s) of
                                                                             Giordano;      NuCO2 and its
                                                                                                                           Reflects need for/provision of
                                                                             John           affiliated       Attorney
NuCO2_              4/27/2016   David_Markatos@Prax                                                                        legal advice regarding strategy
            htm                                       Matt Butcher           Templin;       company(ies)     Client/Work
Priv_2818           16:28       air.com                                                                                    concerning settling customer
                                                                             Shelly_Piazz                    Product
                                                                                                                           disputes.
                                                                             a@Praxair.c
                                                                             om
                                                                             Vince          Employee(s) of
                                                                             Giordano;      NuCO2 and its
                                                                                                                           Reflects need for/provision of
                                                                             John           affiliated       Attorney
NuCO2_              4/27/2016   David_Markatos@Prax                                                                        legal advice regarding strategy
            MSG                                       Matt Butcher           Templin;       company(ies)     Client/Work
Priv_2819           16:28       air.com                                                                                    concerning settling customer
                                                                             Shelly_Piazz                    Product
                                                                                                                           disputes.
                                                                             a@Praxair.c
                                                                             om
                                                                                            Employee(s) of                 Reflects need for/provision of
                                                                                            NuCO2 and its    Attorney      legal advice regarding
NuCO2_              4/25/2016   David_Markatos@Prax
            MSG                                       John Templin                          affiliated       Client/Work   negotiation/drafting of
Priv_2820           13:06       air.com
                                                                                            company(ies)     Product       customer agreements/other
                                                                                                                           issues.
                                                                                            Employee(s) of                 Communications regarding
                                                                                            NuCO2 and its                  request for and provision of
NuCO2_              4/21/2016                         John Templin;                         affiliated       Attorney      legal advice/work product of
            pdf                 Justina Connelly
Priv_2821           7:47                              David Markatos                        company(ies)     Client        counsel concerning
                                                                                                                           negotiation/drafting of
                                                                                                                           customer agreement.




                                                                       497
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 499 of
                                                        573


                                                                             Employee(s) of              Communications regarding
                                                                             NuCO2 and its               request for and provision of
NuCO2_              4/21/2016                         John Templin;          affiliated       Attorney   legal advice/work product of
            pdf                 Justina Connelly
Priv_2822           7:47                              David Markatos         company(ies)     Client     counsel concerning
                                                                                                         negotiation/drafting of
                                                                                                         customer agreement.
                                                                             Employee(s) of              Communications regarding
                                                                             NuCO2 and its               need for legal advice/work
NuCO2_              4/21/2016                         John Templin;                           Attorney
            MSG                 Justina Connelly                             affiliated                  product of counsel concerning
Priv_2823           7:47                              David Markatos                          Client
                                                                             company(ies)                negotiation/drafting of
                                                                                                         customer agreement.
                                                                             Employee(s) of
                                                                                                         Communications regarding
                                                                             NuCO2 and
                                                                                                         need for legal advice/work
NuCO2_              4/21/2016                         'VITTORIO83@G          NuCO2’s          Attorney
            msg                 Justina Connelly                                                         product of counsel concerning
Priv_2824           7:47                              MAIL.COM'              customer(s)      Client
                                                                                                         negotiation/drafting of
                                                                                                         customer agreement.
                                                                                                         Communications regarding
                                                                             Employee(s) of
                                                                                                         need for legal advice/work
NuCO2_              4/19/2016   David_Markatos@Prax                          NuCO2 and its    Attorney
            MSG                                       John Templin                                       product of counsel concerning
Priv_2825           17:20       air.com                                      affiliated       Client
                                                                                                         negotiation/drafting of
                                                                             company(ies)
                                                                                                         customer agreement.
                                                                             Employee(s) of              Communications regarding
                                                                             NuCO2 and its               need for legal advice/work
NuCO2_              4/19/2016   David_Markatos@Prax                                           Attorney
            pdf                                       John Templin           affiliated                  product of counsel concerning
Priv_2826           17:20       air.com                                                       Client
                                                                             company(ies)                negotiation/drafting of
                                                                                                         customer agreement.
                                                                             Employee(s) of              Communications regarding
                                                                             NuCO2 and its               need for legal advice/work
NuCO2_              4/19/2016   David_Markatos@Prax                                           Attorney
            htm                                       John Templin           affiliated                  product of counsel concerning
Priv_2827           17:20       air.com                                                       Client
                                                                             company(ies)                negotiation/drafting of
                                                                                                         customer agreement.
                                                                             Employee(s) of              Communications regarding
                                                                             NuCO2 and its               need for legal advice/work
NuCO2_              4/19/2016   David_Markatos@Prax                                           Attorney
            MSG                                       John Templin           affiliated                  product of counsel concerning
Priv_2828           16:42       air.com                                                       Client
                                                                             company(ies)                negotiation/drafting of
                                                                                                         customer agreement.




                                                                       498
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 500 of
                                                         573


                                                                                              Employee(s) of                  Communications regarding
                                                                                              NuCO2 and its                   need for legal advice/work
NuCO2_               4/19/2016   David_Markatos@Prax                                                           Attorney
            pdf                                        John Templin                           affiliated                      product of counsel concerning
Priv_2829            16:42       air.com                                                                       Client
                                                                                              company(ies)                    negotiation/drafting of
                                                                                                                              customer agreement.
                                                                              Rob_Morris      Employee(s) of                  Reflects need for/provision of
                                                                              on@praxair.     NuCO2 and its    Attorney       legal advice regarding
NuCO2_               4/19/2016   David_Markatos@Prax
            MSG                                        John Templin           com; Russell    affiliated       Client/Work    negotiation/drafting of
Priv_2830            16:16       air.com
                                                                              Vicari; Vince   company(ies)     Product        customer agreements/other
                                                                              Giordano                                        issues.
                                                                              John            Employee(s) of
                                                                                                                              Reflects need for/provision of
                                                                              Templin;        NuCO2 and its
                                                                                                               Attorney       legal advice regarding
NuCO2_               4/19/2016   David_Markatos@Prax                          Rob_Morris      affiliated
            MSG                                        Russell Vicari                                          Client/Work    negotiation/drafting of
Priv_2831            16:11       air.com                                      on@praxair.     company(ies)
                                                                                                               Product        customer agreements/other
                                                                              com; Vince
                                                                                                                              issues.
                                                                              Giordano
                                                                                              Employee(s) of
                                                                                              NuCO2 and its    Attorney       Reflects communications
NuCO2_               3/7/2016    David_Markatos@Prax   Russell Vicari; John
            pdf                                                                               affiliated       Client/Work    regarding settlement
Priv_2832            9:49        air.com               Templin
                                                                                              company(ies)     Product        concerning customer dispute.

                                                                                              Employee(s) of
                                                                                              NuCO2 and its    Attorney       Reflects communications
NuCO2_               3/7/2016    David_Markatos@Prax   Russell Vicari; John
            pdf                                                                               affiliated       Client/Work    regarding settlement
Priv_2833            9:49        air.com               Templin
                                                                                              company(ies)     Product        concerning customer dispute.

                                                                                              Employee(s) of
                                                                                              NuCO2                           Communications regarding
NuCO2_               2/17/2016                                                                                 Settlement
            MSG                  Kym Cherubini         John Templin                                                           strategy for settling customer
Priv_2834            11:45                                                                                     Negotiations
                                                                                                                              dispute.

                                                                                              Employee(s) of
                                                                                              NuCO2                           Communications regarding
NuCO2_               2/17/2016                                                                                 Settlement
            msg                  Erica Aponte          Matt Butcher                                                           strategy for settling customer
Priv_2835            11:45                                                                                     Negotiations
                                                                                                                              dispute.

                                                                                              Employee(s) of
                                                                                              NuCO2                           Communications regarding
NuCO2_               2/17/2016                                                                                 Settlement
            xlsm                 Kym Cherubini         John Templin                                                           strategy for settling customer
Priv_2836            11:45                                                                                     Negotiations
                                                                                                                              dispute.




                                                                        499
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 501 of
                                                        573


                                                                               Self
                                                                                                               Communications regarding
NuCO2_              2/3/2016                                                                    Settlement
            pdf                 John Templin          John Templin                                             strategy for settling customer
Priv_2837           9:18                                                                        Negotiations
                                                                                                               dispute.

                                                                               Self
                                                                                                               Communications regarding
NuCO2_              2/3/2016                                                                    Settlement
            htm                 John Templin          John Templin                                             strategy for settling customer
Priv_2838           9:18                                                                        Negotiations
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                               NuCO2                           Communications regarding
NuCO2_              2/3/2016                                                                    Settlement
            pdf                 Lynn Hastings         John Templin                                             strategy for settling customer
Priv_2839           9:18                                                                        Negotiations
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications regarding
NuCO2_              2/3/2016                                                                    Settlement
            htm                 Lynn Hastings         John Templin                                             strategy for settling customer
Priv_2840           9:18                                                                        Negotiations
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications regarding
NuCO2_              2/3/2016                                                                    Settlement
            msg                 John Templin          Justina Connelly                                         strategy for settling customer
Priv_2841           9:18                                                                        Negotiations
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications regarding
NuCO2_              2/3/2016                                                                    Settlement
            MSG                 Lynn Hastings         John Templin                                             strategy for settling customer
Priv_2842           9:18                                                                        Negotiations
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2 and its
NuCO2_              1/28/2016   David_Markatos@Prax                                             Attorney       Communications regarding
            pdf                                       John Templin             affiliated
Priv_2843           11:59       air.com                                                         Client         customer dispute.
                                                                               company(ies)

                                                                               Employee(s) of
                                                                               NuCO2 and its
NuCO2_              1/28/2016   David_Markatos@Prax                                             Attorney       Communications regarding
            MSG                                       John Templin             affiliated
Priv_2844           11:59       air.com                                                         Client         customer dispute.
                                                                               company(ies)




                                                                         500
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 502 of
                                                        573


                                                                                       Employee(s) of
                                                                                       NuCO2                           Reflects communications
NuCO2_              1/26/2016                                                John                       Settlement
            MSG                  Nate Freese        Justina Connelly                                                   regarding settlement
Priv_2845           6:40                                                     Templin                    Negotiations
                                                                                                                       concerning customer dispute.

                                                                                       Employee(s) of
                                                                                       NuCO2                           Reflects communications
NuCO2_              1/22/2016                                                John                       Settlement
            png                  Nate Freese        Justina Connelly                                                   regarding settlement
Priv_2846           12:25                                                    Templin                    Negotiations
                                                                                                                       concerning customer dispute.
                                                                                       Employee(s) of
                                                                                       NuCO2                           Reflects communications
NuCO2_              1/22/2016                                                John                       Settlement
            MSG                  Nate Freese        Justina Connelly                                                   regarding settlement
Priv_2847           12:25                                                    Templin                    Negotiations
                                                                                                                       concerning customer dispute.

                                                                                       Employee(s) of
                                                                                       NuCO2                           Communications regarding
NuCO2_              12/16/2015                                                                          Settlement
            MSG                  Lynn Hastings      John Templin                                                       strategy for settling customer
Priv_2848           15:24                                                                               Negotiations
                                                                                                                       dispute.

                                                                                       Employee(s) of
                                                                                       NuCO2                           Communications regarding
NuCO2_              12/16/2015                                                                          Settlement
            pdf                  John Templin       John Templin                                                       strategy for settling customer
Priv_2849           15:24                                                                               Negotiations
                                                                                                                       dispute.

                                                                                       Employee(s) of
                                                                                       NuCO2                           Communications regarding
NuCO2_              12/16/2015                                                                          Settlement
            msg                  John Templin       Lynn Hastings                                                      strategy for settling customer
Priv_2850           15:24                                                                               Negotiations
                                                                                                                       dispute.

                                                                                       Employee(s) of
                                                                                       NuCO2                           Communications regarding
NuCO2_              12/16/2015                                                                          Settlement
            xls                  Lynn Hastings      John Templin                                                       strategy for settling customer
Priv_2851           15:24                                                                               Negotiations
                                                                                                                       dispute.

                                                                                       Employee(s) of   Attorney       Reflects need for/provision of
                                                                                       NuCO2            Client/Work    legal advice regarding
NuCO2_              12/8/2015                       Angie Baggett; John
            MSG                  Justina Connelly                                                       Product        negotiation/drafting of
Priv_2852           14:34                           Templin
                                                                                                                       customer agreements/other
                                                                                                                       issues.
                                                                                       Employee(s) of   Attorney       Reflects need for/provision of
                                                                                       NuCO2            Client/Work    legal advice regarding
NuCO2_              12/8/2015                       Angie Baggett; John
            pdf                  Justina Connelly                                                       Product        negotiation/drafting of
Priv_2853           14:34                           Templin
                                                                                                                       customer agreements/other
                                                                                                                       issues.

                                                                       501
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 503 of
                                                         573


                                                                                             Employee(s) of   Attorney      Reflects need for/provision of
                                                                                             NuCO2            Client/Work   legal advice regarding
NuCO2_               12/8/2015                          Angie Baggett; John
            htm                   Justina Connelly                                                            Product       negotiation/drafting of
Priv_2854            14:34                              Templin
                                                                                                                            customer agreements/other
                                                                                                                            issues.
                                                                                             Employee(s) of   Attorney      Reflects need for/provision of
                                                                                             NuCO2            Client/Work   legal advice regarding
NuCO2_               12/8/2015                          Angie Baggett; John
            xlsx                  Justina Connelly                                                            Product       negotiation/drafting of
Priv_2855            14:34                              Templin
                                                                                                                            customer agreements/other
                                                                                                                            issues.
                                                                                             Employee(s) of   Attorney      Reflects need for/provision of
                                                                                             NuCO2            Client/Work   legal advice regarding
NuCO2_               12/8/2015                          Angie Baggett; John
            htm                   Justina Connelly                                                            Product       negotiation/drafting of
Priv_2856            14:34                              Templin
                                                                                                                            customer agreements/other
                                                                                                                            issues.
                                                                                             Employee(s) of
                                                                                                                            Reflects communications or
                                                                              Robin_K_Ri     NuCO2 and its    Attorney
NuCO2_               11/23/2015   David_Markatos@Prax                                                                       advice or work product
            png                                         John Templin          ley@Praxair.   affiliated       Client/Work
Priv_2857            8:21         air.com                                                                                   regarding handling competitor
                                                                              com            company(ies)     Product
                                                                                                                            disputes.
                                                                                             Employee(s) of
                                                                                                                            Reflects communications or
                                                                              Robin_K_Ri     NuCO2 and its    Attorney
NuCO2_               11/23/2015   David_Markatos@Prax                                                                       advice or work product
            pdf                                         John Templin          ley@Praxair.   affiliated       Client/Work
Priv_2858            8:21         air.com                                                                                   regarding handling competitor
                                                                              com            company(ies)     Product
                                                                                                                            disputes.
                                                                                             Employee(s) of
                                                                                                                            Reflects communications or
                                                                              Robin_K_Ri     NuCO2 and its    Attorney
NuCO2_               11/23/2015   David_Markatos@Prax                                                                       advice or work product
            pdf                                         John Templin          ley@Praxair.   affiliated       Client/Work
Priv_2859            8:21         air.com                                                                                   regarding handling competitor
                                                                              com            company(ies)     Product
                                                                                                                            disputes.
                                                                                             Employee(s) of
                                                                                                                            Reflects communications or
                                                                              Robin_K_Ri     NuCO2 and its    Attorney
NuCO2_               11/23/2015   David_Markatos@Prax                                                                       advice or work product
            MSG                                         John Templin          ley@Praxair.   affiliated       Client/Work
Priv_2860            8:21         air.com                                                                                   regarding handling competitor
                                                                              com            company(ies)     Product
                                                                                                                            disputes.
                                                                                             Employee(s) of
                                                                                                                            Reflects need for/provision of
                                                                              Shelly_Piazz   NuCO2 and its
NuCO2_               11/19/2015   David_Markatos@Prax                                                         Attorney      legal advice regarding strategy
            MSG                                         John Templin          a@Praxair.c    affiliated
Priv_2861            7:38         air.com                                                                     Client        concerning
                                                                              om             company(ies)
                                                                                                                            customer/competitor disputes.



                                                                       502
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 504 of
                                                         573


                                                                                            Employee(s) of
                                                                                                                               Reflects need for/provision of
                                                                             Shelly_Piazz   NuCO2 and its
NuCO2_               11/19/2015   David_Markatos@Prax                                                           Attorney       legal advice regarding strategy
            xlsx                                        John Templin         a@Praxair.c    affiliated
Priv_2862            7:38         air.com                                                                       Client         concerning
                                                                             om             company(ies)
                                                                                                                               customer/competitor disputes.
                                                                                            Employee(s) of                     Communications regarding
                                                                             Shelly_Piazz   NuCO2 and its       Attorney       need for/provision of
NuCO2_               11/18/2015   David_Markatos@Prax
            docx                                        John Templin         a@Praxair.c    affiliated          Client/Work    information in order to
Priv_2863            16:44        air.com
                                                                             om             company(ies)        Product        facilitate provision of legal
                                                                                                                               advice/services.
                                                                                            Employee(s) of                     Communications regarding
                                                                             Shelly_Piazz   NuCO2 and its       Attorney       need for/provision of
NuCO2_               11/18/2015   David_Markatos@Prax
            docx                                        John Templin         a@Praxair.c    affiliated          Client/Work    information in order to
Priv_2864            16:44        air.com
                                                                             om             company(ies)        Product        facilitate provision of legal
                                                                                                                               advice/services.
                                                                                            Employee(s) of                     Communications regarding
                                                                             Shelly_Piazz   NuCO2 and its       Attorney       need for/provision of
NuCO2_               11/18/2015   David_Markatos@Prax
            MSG                                         John Templin         a@Praxair.c    affiliated          Client/Work    information in order to
Priv_2865            16:44        air.com
                                                                             om             company(ies)        Product        facilitate provision of legal
                                                                                                                               advice/services.
                                                                             Gerald         Employee(s) of
                                                                             Miller;        NuCO2 and its
                                                                             David_Mark     affiliated
                                                                             atos@Praxai    company(ies), and
                                                                             r.com;         NuCO2’s                            Reflects communications
NuCO2_               5/11/2018                          tabletoptap@gmail.                                      Settlement
            pdf                   John Templin                               Randy Gold;    customer(s)                        regarding settlement
Priv_2866            16:14                              com                                                     Negotiations
                                                                             Felicia                                           concerning customer dispute.
                                                                             Gallagher;
                                                                             Derek
                                                                             Burton; Jeff
                                                                             Gilheney
                                                                             Gerald         Employee(s) of
                                                                             Miller;        NuCO2 and its
                                                                             David_Mark     affiliated
                                                                             atos@Praxai    company(ies), and
                                                                                                                               Reflects communications
NuCO2_               5/11/2018                          tabletoptap@gmail.   r.com;         NuCO2’s             Settlement
            pdf                   John Templin                                                                                 regarding settlement
Priv_2867            16:14                              com                  Randy Gold;    customer(s)         Negotiations
                                                                                                                               concerning customer dispute.
                                                                             Felicia
                                                                             Gallagher;
                                                                             Derek
                                                                             Burton; Jeff

                                                                       503
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 505 of
                                                        573


                                                                    Gilheney




                                                                    Gerald         Employee(s) of
                                                                    Miller;        NuCO2 and its
                                                                    David_Mark     affiliated
                                                                    atos@Praxai    company(ies), and
                                                                    r.com;         NuCO2’s                            Reflects communications
NuCO2_              5/11/2018                  tabletoptap@gmail.                                      Settlement
            pdf                 John Templin                        Randy Gold;    customer(s)                        regarding settlement
Priv_2868           16:14                      com                                                     Negotiations
                                                                    Felicia                                           concerning customer dispute.
                                                                    Gallagher;
                                                                    Derek
                                                                    Burton; Jeff
                                                                    Gilheney
                                                                    Gerald         Employee(s) of
                                                                    Miller;        NuCO2 and its
                                                                    David_Mark     affiliated
                                                                    atos@Praxai    company(ies), and
                                                                    r.com;         NuCO2’s                            Reflects communications
NuCO2_              5/11/2018                  tabletoptap@gmail.                                      Settlement
            pdf                 John Templin                        Randy Gold;    customer(s)                        regarding settlement
Priv_2869           16:14                      com                                                     Negotiations
                                                                    Felicia                                           concerning customer dispute.
                                                                    Gallagher;
                                                                    Derek
                                                                    Burton; Jeff
                                                                    Gilheney
                                                                    Gerald         Employee(s) of
                                                                    Miller;        NuCO2 and its
                                                                    David_Mark     affiliated
                                                                    atos@Praxai    company(ies), and
                                                                    r.com;         NuCO2’s                            Reflects communications
NuCO2_              5/11/2018                  tabletoptap@gmail.                                      Settlement
            pdf                 John Templin                        Randy Gold;    customer(s)                        regarding settlement
Priv_2870           16:14                      com                                                     Negotiations
                                                                    Felicia                                           concerning customer dispute.
                                                                    Gallagher;
                                                                    Derek
                                                                    Burton; Jeff
                                                                    Gilheney




                                                              504
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 506 of
                                                        573


                                                                    Gerald         Employee(s) of
                                                                    Miller;        NuCO2 and its
                                                                    David_Mark     affiliated
                                                                    atos@Praxai    company(ies), and
                                                                    r.com;         NuCO2’s                            Reflects communications
NuCO2_              5/11/2018                  tabletoptap@gmail.                                      Settlement
            pdf                 John Templin                        Randy Gold;    customer(s)                        regarding settlement
Priv_2871           16:14                      com                                                     Negotiations
                                                                    Felicia                                           concerning customer dispute.
                                                                    Gallagher;
                                                                    Derek
                                                                    Burton; Jeff
                                                                    Gilheney
                                                                    Gerald
                                                                    Miller;
                                                                                   Employee(s) of
                                                                    David_Mark
                                                                                   NuCO2 and its
                                                                    atos@Praxai
                                                                                   affiliated
                                                                    r.com;                                            Reflects communications
NuCO2_              5/11/2018                  tabletoptap@gmail.                  company(ies), and   Settlement
            MSG                 John Templin                        Randy Gold;                                       regarding settlement
Priv_2872           16:14                      com                                 NuCO2’s             Negotiations
                                                                    Felicia                                           concerning customer dispute.
                                                                                   customer(s)
                                                                    Gallagher;
                                                                    Derek
                                                                    Burton; Jeff
                                                                    Gilheney
                                                                                   Employee(s) of
                                                                                   NuCO2 and its                      Reflects need for/provision of
NuCO2_              5/9/2018                   David_Markatos@                                         Attorney
            MSG                 John Templin                                       affiliated                         legal advice regarding
Priv_2873           12:55                      Praxair.com                                             Client
                                                                                   company(ies)                       customer account/dispute.

                                                                                   Employee(s) of
                                                                                   NuCO2 and its                      Reflects need for/provision of
NuCO2_              5/9/2018                   David_Markatos@                                         Attorney
            pdf                 John Templin                                       affiliated                         legal advice regarding
Priv_2874           12:55                      Praxair.com                                             Client
                                                                                   company(ies)                       customer account/dispute.

                                                                                   Employee(s) of
                                                                                   NuCO2 and its                      Reflects need for/provision of
NuCO2_              5/9/2018                   David_Markatos@                                         Attorney
            xls                 John Templin                                       affiliated                         legal advice regarding
Priv_2875           12:55                      Praxair.com                                             Client
                                                                                   company(ies)                       customer account/dispute.




                                                              505
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 507 of
                                                         573


                                                                        Employee(s) of
                                                                        NuCO2 and its                  Reflects need for/provision of
NuCO2_               5/9/2018                     David_Markatos@                        Attorney
            xls                   John Templin                          affiliated                     legal advice regarding
Priv_2876            12:55                        Praxair.com                            Client
                                                                        company(ies)                   customer account/dispute.

                                                                                                       Communications regarding
                                                                        Employee(s) of                 request for and provision of
                                                                                         Attorney
NuCO2_               12/13/2018                                         NuCO2 and its                  legal advice/work product of
            MSG                   John Templin    Felicia Gallagher                      Client/Work
Priv_2877            12:01                                              affiliated                     counsel concerning
                                                                                         Product
                                                                        company(ies)                   negotiation/drafting of
                                                                                                       customer agreement.
                                                                                                       Communications regarding
                                                                        Employee(s) of                 request for and provision of
                                                                                         Attorney
NuCO2_               12/13/2018                                         NuCO2 and its                  legal advice/work product of
            pdf                   John Templin    Felicia Gallagher                      Client/Work
Priv_2878            12:01                                              affiliated                     counsel concerning
                                                                                         Product
                                                                        company(ies)                   negotiation/drafting of
                                                                                                       customer agreement.
                                                                                                       Communications regarding
                                                                        Employee(s) of                 request for and provision of
                                                                                         Attorney
NuCO2_               12/13/2018                                         NuCO2                          legal advice/work product of
            msg                   Debbie Oliver   John Templin                           Client/Work
Priv_2879            12:01                                                                             counsel concerning
                                                                                         Product
                                                                                                       negotiation/drafting of
                                                                                                       customer agreement.
                                                                        Employee(s) of                 Communications regarding
                                                                        NuCO2 and its                  request for and provision of
                                                                                         Attorney
NuCO2_               12/6/2018                                          affiliated                     legal advice/work product of
            MSG                   John Templin    Kevin Foti                             Client/Work
Priv_2880            9:26                                               company(ies)                   counsel concerning
                                                                                         Product
                                                                                                       negotiation/drafting of
                                                                                                       customer agreement.
                                                                                                       Communications regarding
                                                                                                       request for and provision of
                                                                                         Attorney
NuCO2_               12/6/2018                                                                         legal advice/work product of
            xlsx                  Foti, Kevin     Kevin Foti            Self             Client/Work
Priv_2881            9:26                                                                              counsel concerning
                                                                                         Product
                                                                                                       negotiation/drafting of
                                                                                                       customer agreement.
                                                                        Employee(s) of                 Communications regarding
                                                                        NuCO2 and its                  request for and provision of
                                                                                         Attorney
NuCO2_               12/6/2018                                          affiliated                     legal advice/work product of
            xlsx                  Foti, Kevin     Kevin Foti                             Client/Work
Priv_2882            9:26                                               company(ies)                   counsel concerning
                                                                                         Product
                                                                                                       negotiation/drafting of
                                                                                                       customer agreement.

                                                                  506
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 508 of
                                                         573


                                                                        Employee(s) of                 Communications regarding
                                                                        NuCO2 and its                  request for and provision of
                                                                                         Attorney
NuCO2_               12/6/2018                                          affiliated                     legal advice/work product of
            jpg                  Foti, Kevin    Kevin Foti                               Client/Work
Priv_2883            9:26                                               company(ies)                   counsel concerning
                                                                                         Product
                                                                                                       negotiation/drafting of
                                                                                                       customer agreement.
                                                                        Employee(s) of                 Communications regarding
                                                                        NuCO2 and its                  request for and provision of
                                                                                         Attorney
NuCO2_               12/6/2018                                          affiliated                     legal advice/work product of
            xlsx                 Foti, Kevin    Kevin Foti                               Client/Work
Priv_2884            9:26                                               company(ies)                   counsel concerning
                                                                                         Product
                                                                                                       negotiation/drafting of
                                                                                                       customer agreement.
                                                                        Employee(s) of                 Communications regarding
                                                                        NuCO2 and its                  request for and provision of
                                                                                         Attorney
NuCO2_               12/6/2018                                          affiliated                     legal advice/work product of
            xlsx                 Foti, Kevin    Kevin Foti                               Client/Work
Priv_2885            9:26                                               company(ies)                   counsel concerning
                                                                                         Product
                                                                                                       negotiation/drafting of
                                                                                                       customer agreement.
                                                                        Employee(s) of                 Communications regarding
                                                                        NuCO2 and its                  request for and provision of
                                                                                         Attorney
NuCO2_               12/6/2018                                          affiliated                     legal advice/work product of
            xlsx                 Foti, Kevin    Kevin Foti                               Client/Work
Priv_2886            9:26                                               company(ies)                   counsel concerning
                                                                                         Product
                                                                                                       negotiation/drafting of
                                                                                                       customer agreement.
                                                                        Employee(s) of   Attorney      Communications regarding
                                                                        NuCO2 and its    Client/Work   request for and provision of
NuCO2_               12/6/2018                                          affiliated       Product       legal advice/work product of
            png                  Foti, Kevin    Kevin Foti
Priv_2887            9:26                                               company(ies)                   counsel concerning
                                                                                                       negotiation/drafting of
                                                                                                       customer agreement.
                                                                        Employee(s) of   Attorney      Communications regarding
                                                                        NuCO2 and its    Client/Work   request for and provision of
NuCO2_               12/6/2018                                          affiliated       Product       legal advice/work product of
            msg                  Foti, Kevin    John Templin
Priv_2888            9:26                                               company(ies)                   counsel concerning
                                                                                                       negotiation/drafting of
                                                                                                       customer agreement.
                                                                        Employee(s) of                 Communications regarding
                                                                        NuCO2 and its    Attorney      request for and provision of
NuCO2_               12/6/2018
            msg                  Foti, Kevin    John Templin            affiliated       Client/Work   legal advice/work product of
Priv_2889            9:26
                                                                        company(ies)     Product       counsel concerning
                                                                                                       negotiation/drafting of


                                                               507
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 509 of
                                                        573


                                                                                                      customer agreement.




                                                                       Employee(s) of                 Communications regarding
                                                                       NuCO2 and its                  request for and provision of
                                                                                        Attorney
NuCO2_              12/6/2018                                          affiliated                     legal advice/work product of
            msg                 Foti, Kevin    John Templin                             Client/Work
Priv_2890           9:26                                               company(ies)                   counsel concerning
                                                                                        Product
                                                                                                      negotiation/drafting of
                                                                                                      customer agreement.
                                                                       Employee(s) of                 Communications regarding
                                                                       NuCO2 and its                  request for and provision of
                                                                                        Attorney
NuCO2_              12/6/2018                                          affiliated                     legal advice/work product of
            msg                 Foti, Kevin    John Templin                             Client/Work
Priv_2891           9:26                                               company(ies)                   counsel concerning
                                                                                        Product
                                                                                                      negotiation/drafting of
                                                                                                      customer agreement.
                                                                       Employee(s) of   Attorney      Communications regarding
                                                                       NuCO2 and its    Client/Work   request for and provision of
NuCO2_              12/6/2018                                          affiliated       Product       legal advice/work product of
            msg                 Foti, Kevin    John Templin
Priv_2892           9:26                                               company(ies)                   counsel concerning
                                                                                                      negotiation/drafting of
                                                                                                      customer agreement.
                                                                       Employee(s) of   Attorney
                                                                                                      Reflects attorney
                                                                       NuCO2 and its    Client/Work
NuCO2_              12/4/2018                  Felicia Gallagher;                                     communications and /or
            MSG                 John Templin                           affiliated       Product
Priv_2893           8:36                       Derek Burton                                           attorney work product
                                                                       company(ies)
                                                                                                      regarding acquisition.
                                                                       Employee(s) of   Attorney
                                                                                                      Reflects attorney
                                                                       NuCO2 and its    Client/Work
NuCO2_              12/4/2018                  Felicia Gallagher;                                     communications and /or
            xls                 John Templin                           affiliated       Product
Priv_2894           8:36                       Derek Burton                                           attorney work product
                                                                       company(ies)
                                                                                                      regarding acquisition.
                                                                       Employee(s) of   Attorney
                                                                                                      Reflects attorney
                                                                       NuCO2 and its    Client/Work
NuCO2_              12/4/2018                  Felicia Gallagher;                                     communications and /or
            xls                 John Templin                           affiliated       Product
Priv_2895           8:36                       Derek Burton                                           attorney work product
                                                                       company(ies)
                                                                                                      regarding acquisition.




                                                                508
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 510 of
                                                         573


                                                                                 Employee(s) of   Attorney
                                                                                                                Reflects attorney
                                                                                 NuCO2 and its    Client/Work
NuCO2_               12/4/2018                   Felicia Gallagher;                                             communications and /or
            xls                  John Templin                                    affiliated       Product
Priv_2896            8:36                        Derek Burton                                                   attorney work product
                                                                                 company(ies)
                                                                                                                regarding acquisition.
                                                                                 Employee(s) of   Attorney
                                                                                                                Reflects attorney
                                                                                 NuCO2 and its    Client/Work
NuCO2_               12/4/2018                   Felicia Gallagher;                                             communications and /or
            pdf                  John Templin                                    affiliated       Product
Priv_2897            8:36                        Derek Burton                                                   attorney work product
                                                                                 company(ies)
                                                                                                                regarding acquisition.
                                                                                 Employee(s) of   Attorney
                                                                                                                Reflects attorney
                                                                                 NuCO2 and its    Client/Work
NuCO2_               12/4/2018                   Felicia Gallagher;                                             communications and /or
            pdf                  John Templin                                    affiliated       Product
Priv_2898            8:36                        Derek Burton                                                   attorney work product
                                                                                 company(ies)
                                                                                                                regarding acquisition.
                                                                                 Employee(s) of   Attorney
                                                                                                                Reflects attorney
                                                                                 NuCO2 and its    Client/Work
NuCO2_               12/4/2018                   Felicia Gallagher;                                             communications and /or
            pdf                  John Templin                                    affiliated       Product
Priv_2899            8:36                        Derek Burton                                                   attorney work product
                                                                                 company(ies)
                                                                                                                regarding acquisition.
                                                                                 Employee(s) of   Attorney
                                                 Nichelle Maynard-                                              Reflects attorney
                                                                                 NuCO2 and its    Client/Work
NuCO2_               12/4/2018                   Elliott; Felicia       Gerald                                  communications and /or
            msg                  Gerald Miller                                   affiliated       Product
Priv_2900            8:36                        Gallagher; Toyanna     Miller                                  attorney work product
                                                                                 company(ies)
                                                 Platt; John Templin                                            regarding acquisition.
                                                                                 Employee(s) of   Attorney
                                                                                                                Reflects attorney
                                                                                 NuCO2 and its    Client/Work
NuCO2_               12/4/2018                   Felicia Gallagher;                                             communications and /or
            pdf                  Gerald Miller                                   affiliated       Product
Priv_2901            8:36                        Derek Burton                                                   attorney work product
                                                                                 company(ies)
                                                                                                                regarding acquisition.
                                                                                 Employee(s) of   Attorney
                                                                                                                Reflects attorney
                                                                                 NuCO2 and its    Client/Work
NuCO2_               12/4/2018                   Felicia Gallagher;                                             communications and /or
            xlsx                 Gerald Miller                                   affiliated       Product
Priv_2902            8:36                        Derek Burton                                                   attorney work product
                                                                                 company(ies)
                                                                                                                regarding acquisition.
                                                                                 Employee(s) of   Attorney
                                                                                                                Reflects attorney
                                                                                 NuCO2 and its    Client/Work
NuCO2_               12/4/2018                   Felicia Gallagher;                                             communications and /or
            pdf                  Gerald Miller                                   affiliated       Product
Priv_2903            8:36                        Derek Burton                                                   attorney work product
                                                                                 company(ies)
                                                                                                                regarding acquisition.



                                                                  509
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 511 of
                                                         573


                                                                         Employee(s) of   Attorney
                                                                                                         Reflects attorney
                                                                         NuCO2 and its    Client/Work
NuCO2_               12/4/2018                    Felicia Gallagher;                                     communications and /or
            pdf                   Gerald Miller                          affiliated       Product
Priv_2904            8:36                         Derek Burton                                           attorney work product
                                                                         company(ies)
                                                                                                         regarding acquisition.

                                                                         Employee(s) of   Attorney       Reflects attorney
NuCO2_               12/4/2018                    Felicia Gallagher;     NuCO2 and its    Client/Work    communications and /or
            pdf                   Gerald Miller                                           Product
Priv_2905            8:36                         Derek Burton           affiliated                      attorney work product
                                                                         company(ies)                    regarding acquisition.
                                                                         Employee(s) of                  Communications regarding
                                                                         NuCO2 and its                   request for and provision of
NuCO2_               11/14/2018                                          affiliated       Attorney       legal advice/work product of
            MSG                   John Templin    Kevin Foti
Priv_2906            17:38                                               company(ies)     Work Product   counsel concerning
                                                                                                         negotiation/drafting of
                                                                                                         customer agreement.
                                                                         Employee(s) of                  Communications regarding
                                                                         NuCO2 and its                   request for and provision of
NuCO2_               11/14/2018                                          affiliated       Attorney       legal advice/work product of
            docx                  John Templin    Kevin Foti
Priv_2907            17:38                                               company(ies)     Work Product   counsel concerning
                                                                                                         negotiation/drafting of
                                                                                                         customer agreement.
                                                                         Employee(s) of   Attorney
                                                  Nichelle_Maynard-                                      Reflects attorney
                                                                         NuCO2 and its    Client/Work
NuCO2_               11/14/2018                   Elliott@Praxair.co                                     communications and /or
            MSG                   John Templin                           affiliated       Product
Priv_2908            13:15                        m; Kevin Foti;                                         attorney work product
                                                                         company(ies)
                                                  Felicia Gallagher                                      regarding acquisition.
                                                                         Employee(s) of   Attorney
                                                  Nichelle_Maynard-                                      Reflects attorney
                                                                         NuCO2 and its    Client/Work
NuCO2_               11/14/2018                   Elliott@Praxair.co                                     communications and /or
            pdf                   Gerald Miller                          affiliated       Product
Priv_2909            13:15                        m; Kevin Foti;                                         attorney work product
                                                                         company(ies)
                                                  Felicia Gallagher                                      regarding acquisition.
                                                                         Employee(s) of   Attorney
                                                  Nichelle_Maynard-                                      Reflects attorney
                                                                         NuCO2 and its    Client/Work
NuCO2_               11/14/2018                   Elliott@Praxair.co                                     communications and /or
            pdf                   Gerald Miller                          affiliated       Product
Priv_2910            13:15                        m; Kevin Foti;                                         attorney work product
                                                                         company(ies)
                                                  Felicia Gallagher                                      regarding acquisition.

                                                  Nichelle_Maynard-      Employee(s) of   Attorney       Reflects attorney
NuCO2_               11/14/2018                   Elliott@Praxair.co     NuCO2 and its    Client/Work    communications and /or
            pdf                   Gerald Miller                          affiliated       Product
Priv_2911            13:15                        m; Kevin Foti;                                         attorney work product
                                                  Felicia Gallagher                                      regarding acquisition.


                                                                   510
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 512 of
                                                         573


                                                                        company(ies)




                                                                        Employee(s) of   Attorney
                                                  Nichelle_Maynard-                                    Reflects attorney
                                                                        NuCO2 and its    Client/Work
NuCO2_               11/14/2018                   Elliott@Praxair.co                                   communications and /or
            xlsx                  Gerald Miller                         affiliated       Product
Priv_2912            13:15                        m; Kevin Foti;                                       attorney work product
                                                                        company(ies)
                                                  Felicia Gallagher                                    regarding acquisition.
                                                                        Employee(s) of   Attorney
                                                  Nichelle_Maynard-                                    Reflects attorney
                                                                        NuCO2 and its    Client/Work
NuCO2_               11/14/2018                   Elliott@Praxair.co                                   communications and /or
            pdf                   Gerald Miller                         affiliated       Product
Priv_2913            13:15                        m; Kevin Foti;                                       attorney work product
                                                                        company(ies)
                                                  Felicia Gallagher                                    regarding acquisition.
                                                                        Employee(s) of   Attorney
                                                  Nichelle_Maynard-                                    Reflects attorney
                                                                        NuCO2 and its    Client/Work
NuCO2_               11/14/2018                   Elliott@Praxair.co                                   communications and /or
            xls                   John Templin                          affiliated       Product
Priv_2914            13:15                        m; Kevin Foti;                                       attorney work product
                                                                        company(ies)
                                                  Felicia Gallagher                                    regarding acquisition.
                                                                        Employee(s) of   Attorney
                                                  Nichelle_Maynard-                                    Reflects attorney
                                                                        NuCO2 and its    Client/Work
NuCO2_               11/14/2018                   Elliott@Praxair.co                                   communications and /or
            xls                   John Templin                          affiliated       Product
Priv_2915            13:15                        m; Kevin Foti;                                       attorney work product
                                                                        company(ies)
                                                  Felicia Gallagher                                    regarding acquisition.
                                                                        Employee(s) of   Attorney
                                                  Nichelle_Maynard-                                    Reflects attorney
                                                                        NuCO2 and its    Client/Work
NuCO2_               11/14/2018                   Elliott@Praxair.co                                   communications and /or
            xls                   John Templin                          affiliated       Product
Priv_2916            13:15                        m; Kevin Foti;                                       attorney work product
                                                                        company(ies)
                                                  Felicia Gallagher                                    regarding acquisition.
                                                                        Employee(s) of   Attorney
                                                  Nichelle_Maynard-                                    Reflects attorney
                                                                        NuCO2 and its    Client/Work
NuCO2_               11/14/2018                   Elliott@Praxair.co                                   communications and /or
            pdf                   John Templin                          affiliated       Product
Priv_2917            13:15                        m; Kevin Foti;                                       attorney work product
                                                                        company(ies)
                                                  Felicia Gallagher                                    regarding acquisition.
                                                                        Employee(s) of   Attorney
                                                  Nichelle_Maynard-                                    Reflects attorney
                                                                        NuCO2 and its    Client/Work
NuCO2_               11/14/2018                   Elliott@Praxair.co                                   communications and /or
            pdf                   John Templin                          affiliated       Product
Priv_2918            13:15                        m; Kevin Foti;                                       attorney work product
                                                                        company(ies)
                                                  Felicia Gallagher                                    regarding acquisition.



                                                                 511
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 513 of
                                                         573


                                                                                   Employee(s) of   Attorney
                                                  Nichelle_Maynard-                                               Reflects attorney
                                                                                   NuCO2 and its    Client/Work
NuCO2_               11/14/2018                   Elliott@Praxair.co                                              communications and /or
            pdf                   John Templin                                     affiliated       Product
Priv_2919            13:15                        m; Kevin Foti;                                                  attorney work product
                                                                                   company(ies)
                                                  Felicia Gallagher                                               regarding acquisition.
                                                                                   Employee(s) of   Attorney
                                                  Nichelle Maynard-                                               Reflects attorney
                                                                                   NuCO2 and its    Client/Work
NuCO2_               11/14/2018                   Elliott; Felicia        Gerald                                  communications and /or
            msg                   Gerald Miller                                    affiliated       Product
Priv_2920            13:15                        Gallagher; Toyanna      Miller                                  attorney work product
                                                                                   company(ies)
                                                  Platt; John Templin                                             regarding acquisition.
                                                                                   Employee(s) of
                                                                                                                  Reflects attorney
                                                                                   NuCO2 and its
NuCO2_               11/14/2018                                                                     Attorney      communications and/or
            MSG                   John Templin    Balzarini, Edward                affiliated
Priv_2921            12:15                                                                          Client        attorney workproduct
                                                                                   company(ies)
                                                                                                                  regarding legal mater.
                                                                                   Employee(s) of
                                                                                                                  Reflects attorney
                                                                                   NuCO2 and its
NuCO2_               11/14/2018                                                                     Attorney      communications and/or
            xls                   John Templin    Balzarini, Edward                affiliated
Priv_2922            12:15                                                                          Client        attorney workproduct
                                                                                   company(ies)
                                                                                                                  regarding legal mater.
                                                                                   Employee(s) of
                                                                                                                  Reflects attorney
                                                                                   NuCO2 and its
NuCO2_               11/14/2018                                                                     Attorney      communications and/or
            pdf                   John Templin    Balzarini, Edward                affiliated
Priv_2923            12:15                                                                          Client        attorney workproduct
                                                                                   company(ies)
                                                                                                                  regarding legal mater.
                                                                                   Employee(s) of
                                                                                                                  Reflects attorney
                                                                                   NuCO2 and its
NuCO2_               11/14/2018                                                                     Attorney      communications and/or
            docx                  John Templin    Balzarini, Edward                affiliated
Priv_2924            12:15                                                                          Client        attorney workproduct
                                                                                   company(ies)
                                                                                                                  regarding legal mater.
                                                                                   Employee(s) of
                                                                                                                  Reflects attorney
                                                                                   NuCO2 and its
NuCO2_               11/14/2018                                                                     Attorney      communications and/or
            msg                   Derek Burton    John Templin                     affiliated
Priv_2925            12:15                                                                          Client        attorney workproduct
                                                                                   company(ies)
                                                                                                                  regarding legal mater.
                                                                                   Employee(s) of
                                                                                                                  Reflects attorney
                                                                                   NuCO2 and its    Attorney
NuCO2_               10/31/2018                                                                                   communications and /or
            MSG                   John Templin    Brian D. Potter                  affiliated       Client/Work
Priv_2926            10:16                                                                                        attorney work product
                                                                                   company(ies)     Product
                                                                                                                  regarding acquisition.



                                                                    512
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 514 of
                                                         573


                                                                                       Employee(s) of                  Communications regarding
                                                                                       NuCO2 and its                   request for and provision of
                                                                        Shelly_Piazz                    Attorney
NuCO2_               9/27/2018                  David_Markatos@                        affiliated                      legal advice/work product of
            MSG                  John Templin                           a@Praxair.c                     Client/Work
Priv_2927            14:00                      Praxair.com                            company(ies)                    counsel concerning
                                                                        om                              Product
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                       Employee(s) of                  Communications regarding
                                                                                       NuCO2 and its                   request for and provision of
                                                                        Shelly_Piazz                    Attorney
NuCO2_               9/27/2018                  David_Markatos@                        affiliated                      legal advice/work product of
            docx                 John Templin                           a@Praxair.c                     Client/Work
Priv_2928            14:00                      Praxair.com                            company(ies)                    counsel concerning
                                                                        om                              Product
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                       Employee(s) of                  Communications regarding
                                                                                       NuCO2 and its                   request for and provision of
                                                                                                        Attorney
NuCO2_               9/11/2018                                                         affiliated                      legal advice/work product of
            MSG                  John Templin   Robbi Stiell                                            Client/Work
Priv_2929            17:20                                                             company(ies)                    counsel concerning
                                                                                                        Product
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                       Employee(s) of                  Communications regarding
                                                                                       NuCO2 and its                   request for and provision of
                                                                                                        Attorney
NuCO2_               9/11/2018                                                         affiliated                      legal advice/work product of
            png                  John Templin   Robbi Stiell                                            Client/Work
Priv_2930            17:20                                                             company(ies)                    counsel concerning
                                                                                                        Product
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                       Employee(s) of                  Communications regarding
                                                                                       NuCO2 and its                   request for and provision of
                                                                                                        Attorney
NuCO2_               9/11/2018                                                         affiliated                      legal advice/work product of
            jpg                  John Templin   Robbi Stiell                                            Client/Work
Priv_2931            17:20                                                             company(ies)                    counsel concerning
                                                                                                        Product
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                       Employee(s) of                  Communications regarding
                                                                                       NuCO2 and its                   request for and provision of
                                                                                                        Attorney
NuCO2_               9/11/2018                                                         affiliated                      legal advice/work product of
            jpg                  John Templin   Robbi Stiell                                            Client/Work
Priv_2932            17:20                                                             company(ies)                    counsel concerning
                                                                                                        Product
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                       Employee(s) of                  Communications regarding
                                                                        'David_Mar     NuCO2 and its                   request for and provision of
NuCO2_               9/11/2018                  Shelly_Piazza@Prax                                      Attorney
            docx                 John Templin                           katos@Prax     affiliated                      legal advice/work product of
Priv_2933            16:07                      air.com; Robbi Stiell                                   Work Product
                                                                        air.com'       company(ies)                    counsel concerning
                                                                                                                       negotiation/drafting of


                                                                 513
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 515 of
                                                         573


                                                                                                                       customer agreement.




                                                                                       Employee(s) of                  Communications regarding
                                                                                       NuCO2 and its                   request for and provision of
                                                                        'David_Mar
NuCO2_               9/11/2018                  Shelly_Piazza@Prax                     affiliated       Attorney       legal advice/work product of
            MSG                  John Templin                           katos@Prax
Priv_2934            16:07                      air.com; Robbi Stiell                  company(ies)     Work Product   counsel concerning
                                                                        air.com'
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                       Employee(s) of                  Communications regarding
                                                                                       NuCO2 and its                   request for and provision of
                                                                        Shelly_Piazz
NuCO2_               9/5/2018                   David_Markatos@                        affiliated       Attorney       legal advice/work product of
            MSG                  John Templin                           a@Praxair.c
Priv_2935            15:21                      Praxair.com                            company(ies)     Work Product   counsel concerning
                                                                        om
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                       Employee(s) of                  Communications regarding
                                                                                       NuCO2 and its                   request for and provision of
                                                                        Shelly_Piazz
NuCO2_               9/5/2018                   David_Markatos@                        affiliated       Attorney       legal advice/work product of
            docx                 John Templin                           a@Praxair.c
Priv_2936            15:21                      Praxair.com                            company(ies)     Work Product   counsel concerning
                                                                        om
                                                                                                                       negotiation/drafting of
                                                                                                                       customer agreement.
                                                                                       Employee(s) of                  Communications regarding
                                                                                       NuCO2 and its                   need for/provision of
                                                                                       affiliated       Attorney       information regarding
NuCO2_               8/28/2018                  David_Markatos@
            pdf                  John Templin                                          company(ies)     Client/Work    customer account/dispute in
Priv_2937            14:02                      Praxair.com
                                                                                                        Product        order to facilitate provision of
                                                                                                                       legal advice/services
                                                                                                                       concerning the same.
                                                                                       Employee(s) of                  Communications regarding
                                                                                       NuCO2 and its                   need for/provision of
                                                                                       affiliated       Attorney       information regarding
NuCO2_               8/28/2018                  David_Markatos@
            pdf                  John Templin                                          company(ies)     Client/Work    customer account/dispute in
Priv_2938            14:02                      Praxair.com
                                                                                                        Product        order to facilitate provision of
                                                                                                                       legal advice/services
                                                                                                                       concerning the same.
                                                                                       Employee(s) of                  Communications regarding
                                                                                       NuCO2 and its    Attorney
NuCO2_               8/28/2018                  David_Markatos@                                                        need for/provision of
            MSG                  John Templin                                          affiliated       Client/Work
Priv_2939            14:02                      Praxair.com                                                            information regarding
                                                                                                        Product
                                                                                                                       customer account/dispute in


                                                                 514
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 516 of
                                                         573


                                                                        company(ies)                   order to facilitate provision of
                                                                                                       legal advice/services
                                                                                                       concerning the same.

                                                                        Employee(s) of
                                                                        NuCO2 and its                  Reflects need for/provision of
NuCO2_               8/20/2018                  David_Markatos@                          Attorney
            MSG                  John Templin                           affiliated                     legal advice regarding state
Priv_2940            12:31                      Praxair.com                              Client
                                                                        company(ies)                   consumer complaint.

                                                                        Employee(s) of
                                                                        NuCO2 and its                  Reflects need for/provision of
NuCO2_               8/20/2018                  David_Markatos@                          Attorney
            xls                  John Templin                           affiliated                     legal advice regarding state
Priv_2941            12:31                      Praxair.com                              Client
                                                                        company(ies)                   consumer complaint.

                                                                        Employee(s) of
                                                                        NuCO2 and its                  Reflects need for/provision of
NuCO2_               8/20/2018                  David_Markatos@                          Attorney
            xls                  John Templin                           affiliated                     legal advice regarding state
Priv_2942            12:31                      Praxair.com                              Client
                                                                        company(ies)                   consumer complaint.

                                                                        Employee(s) of
                                                                        NuCO2 and its                  Reflects need for/provision of
NuCO2_               8/20/2018                  David_Markatos@                          Attorney
            PDF                  John Templin                           affiliated                     legal advice regarding state
Priv_2943            12:31                      Praxair.com                              Client
                                                                        company(ies)                   consumer complaint.

                                                                        Employee(s) of
                                                                        NuCO2 and its                  Reflects need for/provision of
NuCO2_               8/20/2018                  David_Markatos@                          Attorney
            xlsx                 John Templin                           affiliated                     legal advice regarding state
Priv_2944            12:31                      Praxair.com                              Client
                                                                        company(ies)                   consumer complaint.

                                                                        Employee(s) of                 Communications regarding
                                                                        NuCO2 and its                  need for/provision of
                                                                        affiliated       Attorney      information regarding
NuCO2_               8/1/2018                   David_Markatos@p
            MSG                  John Templin                           company(ies)     Client/Work   customer account/dispute in
Priv_2945            14:28                      raxair.com
                                                                                         Product       order to facilitate provision of
                                                                                                       legal advice/services
                                                                                                       concerning the same.
                                                                        Employee(s) of                 Communications regarding
                                                                        NuCO2 and its    Attorney
NuCO2_               8/1/2018                   David_Markatos@p                                       need for/provision of
            pdf                  John Templin                           affiliated       Client/Work
Priv_2946            14:28                      raxair.com                                             information regarding
                                                                                         Product
                                                                                                       customer account/dispute in


                                                             515
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 517 of
                                                        573


                                                                       company(ies)                   order to facilitate provision of
                                                                                                      legal advice/services
                                                                                                      concerning the same.


                                                                                                      Reflects communications or
                                                                                        Attorney
NuCO2_              7/20/2018                                          Employee(s) of                 advice or work product
            MSG                 John Templin   Ronald Thermil                           Client/Work
Priv_2947           8:58                                               NuCO2                          regarding negotiation/drafting
                                                                                        Product
                                                                                                      of customer agreement.
                                                                       Employee(s) of
                                                                                                      Reflects need for/provision of
                                                                       NuCO2 and its
NuCO2_              7/19/2018                  David_Markatos@                          Attorney      legal advice regarding strategy
            MSG                 John Templin                           affiliated
Priv_2948           9:08                       Praxair.com                              Client        concerning settling customer
                                                                       company(ies)
                                                                                                      disputes.
                                                                       Employee(s) of
                                                                                                      Reflects need for/provision of
                                                                       NuCO2 and its
NuCO2_              7/19/2018                  David_Markatos@                          Attorney      legal advice regarding strategy
            PDF                 John Templin                           affiliated
Priv_2949           9:08                       Praxair.com                              Client        concerning settling customer
                                                                       company(ies)
                                                                                                      disputes.
                                                                       Employee(s) of
                                                                                                      Reflects need for/provision of
                                                                       NuCO2 and its
NuCO2_              7/19/2018                  David_Markatos@                          Attorney      legal advice regarding strategy
            PDF                 John Templin                           affiliated
Priv_2950           9:08                       Praxair.com                              Client        concerning settling customer
                                                                       company(ies)
                                                                                                      disputes.
                                                                       Employee(s) of
                                                                                                      Reflects need for/provision of
                                                                       NuCO2 and its
NuCO2_              7/19/2018                  David_Markatos@                          Attorney      legal advice regarding strategy
            pdf                 John Templin                           affiliated
Priv_2951           9:08                       Praxair.com                              Client        concerning settling customer
                                                                       company(ies)
                                                                                                      disputes.
                                                                       Employee(s) of
                                                                                                      Reflects need for/provision of
                                                                       NuCO2 and its
NuCO2_              7/19/2018                  David_Markatos@                          Attorney      legal advice regarding strategy
            pdf                 John Templin                           affiliated
Priv_2952           9:08                       Praxair.com                              Client        concerning settling customer
                                                                       company(ies)
                                                                                                      disputes.
                                                                       Employee(s) of
                                                                                                      Reflects need for/provision of
                                                                       NuCO2 and its
NuCO2_              7/19/2018                  David_Markatos@                          Attorney      legal advice regarding strategy
            pdf                 John Templin                           affiliated
Priv_2953           9:08                       Praxair.com                              Client        concerning settling customer
                                                                       company(ies)
                                                                                                      disputes.




                                                                516
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 518 of
                                                        573


                                                                       Employee(s) of
                                                                                                       Reflects need for/provision of
                                                                       NuCO2 and its
NuCO2_              7/19/2018                  David_Markatos@                          Attorney       legal advice regarding strategy
            PDF                 John Templin                           affiliated
Priv_2954           9:08                       Praxair.com                              Client         concerning settling customer
                                                                       company(ies)
                                                                                                       disputes.
                                                                       Employee(s) of
                                                                                                       Reflects need for/provision of
                                                                       NuCO2 and its
NuCO2_              7/19/2018                  David_Markatos@                          Attorney       legal advice regarding strategy
            pdf                 John Templin                           affiliated
Priv_2955           9:08                       Praxair.com                              Client         concerning settling customer
                                                                       company(ies)
                                                                                                       disputes.
                                                                       Employee(s) of
                                                                                                       Reflects need for/provision of
                                                                       NuCO2 and its
NuCO2_              7/19/2018                  David_Markatos@                          Attorney       legal advice regarding strategy
            xls                 John Templin                           affiliated
Priv_2956           9:08                       Praxair.com                              Client         concerning settling customer
                                                                       company(ies)
                                                                                                       disputes.
                                                                       Employee(s) of
                                                                       NuCO2 and its                   Reflects need for/provision of
NuCO2_              7/19/2018                  David_Markatos@                          Attorney
            MSG                 John Templin                           affiliated                      legal advice regarding settling
Priv_2957           9:06                       Praxair.com                              Client
                                                                       company(ies)                    customer dispute.


                                                                                                       Reflects communications
NuCO2_              7/18/2018                                          Employee(s) of   Settlement
            MSG                 John Templin   Nate Freese                                             regarding settlement
Priv_2958           19:51                                              NuCO2            Negotiations
                                                                                                       concerning customer dispute.
                                                                       Employee(s) of
                                                                       NuCO2                           Reflects communications
NuCO2_              7/18/2018                                                           Settlement
            png                 John Templin   Nate Freese                                             regarding settlement
Priv_2959           19:51                                                               Negotiations
                                                                                                       concerning customer dispute.
                                                                       Employee(s) of
                                                                       NuCO2                           Reflects communications
NuCO2_              7/18/2018                                                           Settlement
            png                 John Templin   Gerald Miller                                           regarding settlement
Priv_2960           19:02                                                               Negotiations
                                                                                                       concerning customer dispute.
                                                                       Employee(s) of
                                                                       NuCO2                           Reflects communications
NuCO2_              7/18/2018                                                           Settlement
            MSG                 John Templin   Gerald Miller                                           regarding settlement
Priv_2961           19:02                                                               Negotiations
                                                                                                       concerning customer dispute.




                                                               517
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 519 of
                                                        573


                                                                                    Employee(s) of
                                                                                    NuCO2                           Reflects communications
NuCO2_              7/18/2018                                                                        Settlement
            MSG                 John Templin   Ronald Thermil         Nate Freese                                   regarding settlement
Priv_2962           11:01                                                                            Negotiations
                                                                                                                    concerning customer dispute.

                                                                                    Employee(s) of
                                                                                    NuCO2                           Reflects communications
NuCO2_              7/18/2018                                                                        Settlement
            png                 John Templin   Ronald Thermil         Nate Freese                                   regarding settlement
Priv_2963           11:01                                                                            Negotiations
                                                                                                                    concerning customer dispute.
                                                                                    Employee(s) of
                                                                                    NuCO2                           Reflects communications
NuCO2_              7/18/2018                                                                        Settlement
            MSG                 John Templin   Gerald Miller                                                        regarding settlement
Priv_2964           11:01                                                                            Negotiations
                                                                                                                    concerning customer dispute.

                                                                                    Employee(s) of
                                                                                    NuCO2                           Reflects communications
NuCO2_              7/18/2018                                                                        Settlement
            png                 John Templin   Gerald Miller                                                        regarding settlement
Priv_2965           11:01                                                                            Negotiations
                                                                                                                    concerning customer dispute.

                                                                                    Employee(s) of                  Reflects need for/provision of
                                                                                    NuCO2            Attorney       legal advice regarding
NuCO2_              7/17/2018
            MSG                 John Templin   Ronald Thermil                                        Client/Work    negotiation/drafting of
Priv_2966           16:21
                                                                                                     Product        customer agreements/other
                                                                                                                    issues.
                                                                                    Employee(s) of                  Reflects communications or
                                                                                    NuCO2            Attorney
NuCO2_              7/17/2018                                                                                       advice or work product
            png                 John Templin   Ronald Thermil                                        Client/Work
Priv_2967           16:21                                                                                           regarding negotiation/drafting
                                                                                                     Product
                                                                                                                    of customer agreement.
                                                                                    Employee(s) of
                                                                                    NuCO2                           Reflects communications
NuCO2_              7/13/2018                                                                        Settlement
            png                 John Templin   Nate Freese                                                          regarding settlement
Priv_2968           9:06                                                                             Negotiations
                                                                                                                    concerning customer dispute.
                                                                                    Employee(s) of
                                                                                    NuCO2                           Reflects communications
NuCO2_              7/13/2018                                                                        Settlement
            png                 John Templin   Nate Freese                                                          regarding settlement
Priv_2969           9:06                                                                             Negotiations
                                                                                                                    concerning customer dispute.
                                                                                    Employee(s) of
                                                                                    NuCO2                           Reflects communications
NuCO2_              7/13/2018                                                                        Settlement
            MSG                 John Templin   Nate Freese                                                          regarding settlement
Priv_2970           9:06                                                                             Negotiations
                                                                                                                    concerning customer dispute.



                                                                518
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 520 of
                                                        573


                                                                               Employee(s) of
                                                                               NuCO2                           Communications regarding
NuCO2_              7/12/2018                                         Derek                     Settlement
            MSG                 John Templin   Robbi Stiell                                                    strategy for settling customer
Priv_2971           17:25                                             Burton                    Negotiations
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications regarding
NuCO2_              7/12/2018                                         Derek                     Settlement
            jpg                 John Templin   Robbi Stiell                                                    strategy for settling customer
Priv_2972           17:25                                             Burton                    Negotiations
                                                                                                               dispute.
                                                                               Employee(s) of
                                                                               NuCO2                           Communications regarding
NuCO2_              7/12/2018                                         Derek                     Settlement
            jpg                 John Templin   Robbi Stiell                                                    strategy for settling customer
Priv_2973           17:25                                             Burton                    Negotiations
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications regarding
NuCO2_              7/12/2018                                         Derek                     Settlement
            jpg                 John Templin   Robbi Stiell                                                    strategy for settling customer
Priv_2974           17:25                                             Burton                    Negotiations
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications regarding
NuCO2_              7/12/2018                                         Derek                     Settlement
            png                 John Templin   Robbi Stiell                                                    strategy for settling customer
Priv_2975           17:25                                             Burton                    Negotiations
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications regarding
NuCO2_              7/12/2018                                         Derek                     Settlement
            png                 John Templin   Robbi Stiell                                                    strategy for settling customer
Priv_2976           17:25                                             Burton                    Negotiations
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications regarding
NuCO2_              7/12/2018                                         Derek                     Settlement
            jpg                 John Templin   Robbi Stiell                                                    strategy for settling customer
Priv_2977           17:25                                             Burton                    Negotiations
                                                                                                               dispute.

                                                                               Employee(s) of
                                                                               NuCO2                           Communications regarding
NuCO2_              7/12/2018                                         Derek                     Settlement
            jpg                 John Templin   Robbi Stiell                                                    strategy for settling customer
Priv_2978           17:25                                             Burton                    Negotiations
                                                                                                               dispute.

                                                                               Employee(s) of                  Reflects attorney
                                                                               NuCO2            Attorney       communications and/or
NuCO2_              7/10/2018
            MSG                 John Templin   Bridget Correa                                   Client/Work    attorney work product
Priv_2979           9:53
                                                                                                Product        regarding settlement
                                                                                                               concerning customer dispute.


                                                                519
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 521 of
                                                         573


                                                                                       Employee(s) of                 Reflects attorney
                                                                                       NuCO2            Attorney      communications and/or
NuCO2_               7/10/2018
            jpg                  John Templin     Bridget Correa                                        Client/Work   attorney work product
Priv_2980            9:53
                                                                                                        Product       regarding settlement
                                                                                                                      concerning customer dispute.
                                                                                       Employee(s) of                 Reflects attorney
                                                                                       NuCO2            Attorney      communications and/or
NuCO2_               7/10/2018
            png                  John Templin     Bridget Correa                                        Client/Work   attorney work product
Priv_2981            9:53
                                                                                                        Product       regarding settlement
                                                                                                                      concerning customer dispute.
                                                                                       Employee(s) of                 Communications regarding
                                                                                       NuCO2 and its                  request for and provision of
                                                                         David_Mark                     Attorney
NuCO2_               6/25/2018                    Shelly_Piazza@Prax                   affiliated                     legal advice/work product of
            MSG                  John Templin                            atos@Praxai                    Client/Work
Priv_2982            15:06                        air.com                              company(ies)                   counsel concerning
                                                                         r.com                          Product
                                                                                                                      negotiation/drafting of
                                                                                                                      customer agreement.
                                                                                       Employee(s) of                 Reflects attorney
                                                  David_Markatos@                      NuCO2 and its    Attorney      communications and/or
NuCO2_               6/14/2018
            MSG                  John Templin     Praxair.com;                         affiliated       Client/Work   attorney work product
Priv_2983            10:57
                                                  Bridget Correa                       company(ies)     Product       regarding settlement
                                                                                                                      concerning customer dispute.
                                                                                       Employee(s) of                 Reflects attorney
                                                  David_Markatos@                      NuCO2 and its    Attorney      communications and/or
NuCO2_               6/14/2018
            docx                 John Templin     Praxair.com;                         affiliated       Client/Work   attorney work product
Priv_2984            10:57
                                                  Bridget Correa                       company(ies)     Product       regarding settlement
                                                                                                                      concerning customer dispute.
                                                                                       Employee(s) of                 Reflects attorney
                                                                                       NuCO2            Attorney      communications and/or
NuCO2_               6/14/2018
            pdf                  John Templin     Gerald Miller                                         Client/Work   attorney work product
Priv_2985            8:42
                                                                                                        Product       regarding settlement
                                                                                                                      concerning customer dispute.
                                                                                       Employee(s) of                 Reflects attorney
                                                                                       NuCO2            Attorney      communications and/or
NuCO2_               6/14/2018
            xls                  John Templin     Gerald Miller                                         Client/Work   attorney work product
Priv_2986            8:42
                                                                                                        Product       regarding settlement
                                                                                                                      concerning customer dispute.
                                                                                                                      Reflects attorney
                                                                                       Employee(s) of
                                                                         John                           Attorney      communications and/or
NuCO2_               6/14/2018                                                         NuCO2
            msg                  Bridget Correa   Gerald Miller          Templin;                       Client/Work   attorney work product
Priv_2987            8:42
                                                                         Nate Freese                    Product       regarding settlement
                                                                                                                      concerning customer dispute.

                                                                   520
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 522 of
                                                        573


                                                                             Bridget                                      Reflects attorney
                                                                                           Employee(s) of
                                                                             Correa;                        Attorney      communications and/or
NuCO2_              6/14/2018   Rebecca_Rourke@Prax                                        NuCO2 and its
            msg                                       Nate Freese            Ray_Homan                      Client/Work   attorney work product
Priv_2988           8:42        air.com                                                    affiliated
                                                                             @Praxair.co                    Product       regarding settlement
                                                                                           company(ies)
                                                                             m                                            concerning customer dispute.
                                                                                           Employee(s) of                 Reflects attorney
                                                                                           NuCO2            Attorney      communications and/or
NuCO2_              6/14/2018
            MSG                 John Templin          Gerald Miller                                         Client/Work   attorney work product
Priv_2989           8:42
                                                                                                            Product       regarding settlement
                                                                                                                          concerning customer dispute.
                                                                                           Employee(s) of                 Reflects attorney
                                                                                           NuCO2            Attorney      communications and/or
NuCO2_              6/14/2018
            pdf                 Bridget Correa        Gerald Miller                                         Client/Work   attorney work product
Priv_2990           8:42
                                                                                                            Product       regarding settlement
                                                                                                                          concerning customer dispute.
                                                                                           Employee(s) of                 Communications regarding
                                                                                           NuCO2                          request for and provision of
                                                                                                            Attorney
NuCO2_              6/14/2018                                                                                             legal advice/work product of
            MSG                 John Templin          Nate Freese                                           Client/Work
Priv_2991           6:03                                                                                                  counsel concerning
                                                                                                            Product
                                                                                                                          negotiation/drafting of
                                                                                                                          customer agreement.
                                                                                           Employee(s) of                 Reflects attorney
                                                                                           NuCO2            Attorney      communications and/or
NuCO2_              6/13/2018
            MSG                 John Templin          Bridget Correa                                        Client/Work   attorney work product
Priv_2992           16:16
                                                                                                            Product       regarding settlement
                                                                                                                          concerning customer dispute.
                                                                                           Employee(s) of                 Reflects attorney
                                                                                           NuCO2            Attorney      communications and/or
NuCO2_              6/13/2018
            jpg                 John Templin          Bridget Correa                                        Client/Work   attorney work product
Priv_2993           16:16
                                                                                                            Product       regarding settlement
                                                                                                                          concerning customer dispute.
                                                                                           Employee(s) of                 Communications regarding
                                                                                           NuCO2                          need for/provision of
NuCO2_              5/26/2018                                                                               Attorney
            MSG                 John Templin          Bridget Correa                                                      information in order to
Priv_2994           16:13                                                                                   Client
                                                                                                                          facilitate provision of legal
                                                                                                                          advice/services.
                                                                                           Employee(s) of                 Communications regarding
                                                                                           NuCO2                          need for/provision of
NuCO2_              5/26/2018                                                                               Attorney
            jpg                 John Templin          Bridget Correa                                                      information in order to
Priv_2995           16:13                                                                                   Client
                                                                                                                          facilitate provision of legal
                                                                                                                          advice/services.


                                                                       521
                   Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 523 of
                                                         573


                                                                                       Employee(s) of                 Communications regarding
                                                                                       NuCO2                          need for/provision of
NuCO2_               5/26/2018                                                                          Attorney
            png                  John Templin       Bridget Correa                                                    information in order to
Priv_2996            16:13                                                                              Client
                                                                                                                      facilitate provision of legal
                                                                                                                      advice/services.
                                                                                                                      Communications regarding
                                                                                       Employee(s) of
                                                                                                                      need for/provision of
NuCO2_               5/26/2018                                                         NuCO2            Attorney
            png                  John Templin       Bridget Correa                                                    information in order to
Priv_2997            16:13                                                                              Client
                                                                                                                      facilitate provision of legal
                                                                                                                      advice/services.
                                                                                       Employee(s) of
                                                                                                                      Reflects need for/provision of
                                                                           Heather     NuCO2 and its
                                                                                                        Attorney      legal advice regarding
NuCO2_               2/27/2019                      Markatos, David;       Shepherd;   affiliated
            msg                  Heather Shepherd                                                       Client/Work   negotiation/drafting of
Priv_2998            8:50                           Riley, Robin K         John        company(ies)
                                                                                                        Product       customer agreements/other
                                                                           Templin
                                                                                                                      issues.
                                                                                       Employee(s) of
                                                                                       NuCO2 and its
NuCO2_               3/4/2019                                                          affiliated       Attorney      Communications regarding
            MSG                  Edward Balzarini   John Templin
Priv_2999            9:15                                                              company(ies)     Client        litigation hold.


                                                                                                        Attorney      Communications regarding
                                                                                                        Client        need for legal advice/work
NuCO2_               2/27/2019                                                         Employee(s) of
            MSG                  Heather Shepherd   John Templin                                                      product of counsel concerning
Priv_3000            8:43                                                              NuCO2
                                                                                                                      negotiation/drafting of
                                                                                                                      customer agreement.
                                                                                                        Attorney      Communications regarding
                                                                                                        Client        need for legal advice/work
NuCO2_               2/27/2019
            msg                  Heather Shepherd   Heather Shepherd                   Self                           product of counsel concerning
Priv_3001            8:43
                                                                                                                      negotiation/drafting of
                                                                                                                      customer agreement.
                                                                                                        Attorney      Communications regarding
                                                                                                        Client        need for legal advice/work
NuCO2_               2/27/2019                                                         Employee(s) of
            xlsx                 Heather Shepherd   John Templin                                                      product of counsel concerning
Priv_3002            8:43                                                              NuCO2
                                                                                                                      negotiation/drafting of
                                                                                                                      customer agreement.




                                                                     522
                  Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 524 of
                                                        573



                                                                        Employee(s) of
NuCO2_              1/28/2019                                           NuCO2 and its    Attorney   Communications regarding
            MSG                 Edward Balzarini   John Templin
Priv_3003           9:16                                                affiliated       Client     litigation hold.
                                                                        company(ies)




                                                                  523
                      Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 525 of
                                                            573




                               Type
 Bates Label   Pare                                                                                         Relationship of
                       Doc      of     Sent                                                                                                  Nature and Subject Matter of the
                nt                                 Sender             To                       CC          the Parties to the    Privilege
                       ID     Docum    Date                                                                                                          Communication
                ID                                                                                          Communication
                                ent

                                                                                                           Employee(s) of
                                                                                                           NuCO2 and its                     Reflects need for/provision of
NuCO2_Priv_                                                   Brian D. Potter;
               4984   49844           3/4/201   Rodney                                                     affiliated           Attorney     legal advice regarding strategy
3004                          MSG                             Markatos, David;         Felicia Gallagher
               41     1               9 14:17   Husbands                                                   company(ies)         Client       concerning
                                                              Volmer, Tamara
                                                                                                                                             customer/competitor disputes.

NuCO2_Priv_                                                                                                Employee(s) of
3005                                                                                                       NuCO2 and its
                                      12/17/2                                                                                   Attorney     Reflects attorney communication
               5400   54005                                                                                affiliated
                              MSG     018       Stuart Luks   Felicia Gallagher                                                 Client/Wo    and/or attorney work product
               59     9                                                                                    company(ies)
                                      15:24                                                                                     rk Product   regarding acquisition.

NuCO2_Priv_                                                                                                Employee(s) of
3006                                                                                                       NuCO2 and its
                                                                                                                                Attorney     Reflects confidential business
               5402   54027           1/9/201                                                              affiliated
                              MSG               Stuart Luks   Felicia Gallagher                                                 Client/Wo    and/or legal information
               70     0               9 9:42                                                               company(ies)         rk Product   regarding non-party.


NuCO2_Priv_                                                                                                Employee(s) of
3007                                                                                                       NuCO2’s
                                                                                                                                             Reflects need for/provision of
               5480   54809           3/1/201   Felicia       'david_markatos                              affiliated           Attorney
                              MSG                                                                                                            legal advice regarding, legal
               91     1               9 19:45   Gallagher     @praxair.com'                                company(ies)         Client
                                                                                                                                             matters


NuCO2_Priv_                                                                                                Employee(s) of
3008                                                                                                       NuCO2’s
                                      12/27/2
               5541   55418                     Felicia                                                    affiliated           Accountan    Communication regarding
                              MSG     018                     Ballerini, David
               87     7                         Gallagher                                                  company(ies)         t-Client     provision of accounting advice.
                                      12:48




                                                                                 524
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 526 of
                                                           573


NuCO2_Priv_                                                                                             Employee(s) of
                                                                                                                                      Reflects attorney
3009                                                         Felicia Gallagher;                         NuCO2 and its
                                                                                                                         Attorney     communications/or attorney
              5219   61079          7/11/20    Felicia       Derek Burton;                              affiliated
                             pptx                                                                                        Client/Wo    work product regarding
              69     7              18 16:10   Gallagher     John Templin;                              company(ies)     rk Product   insurance, legal matters,
                                                             Gerald Miller
                                                                                                                                      acquisition and/or safety.
NuCO2_Priv_                                                                                             Employee(s) of
3010                                                                                                    NuCO2 and its
                                    12/17/2                                                                              Attorney     Reflects attorney communication
              5400   61123                                                                              affiliated
                             xlsx   018        Stuart Luks   Felicia Gallagher                                           Client/Wo    and/or attorney work product
              59     5                                                                                  company(ies)
                                    15:24                                                                                rk Product   regarding acquisition.

NuCO2_Priv_                                                                                             Employee(s) of
                                                                                                                                      Reflects attorney
3011                                                                                                    NuCO2 and its
                                                                                                                         Attorney     communications/or attorney
              5527   61173          1/15/20    Felicia       Kevin Foti;                                affiliated
                             pptx                                                                                        Client/Wo    work product regarding
              76     0              19 12:24   Gallagher     Brown, Denny                               company(ies)     rk Product   insurance, legal matters,
                                                                                                                                      acquisition and/or safety.
NuCO2_Priv_                                                  Felicia Gallagher;                         Employee(s) of
                                                                                                                                      Reflects attorney
3012                                                         John Templin;                              NuCO2 and its
                                                                                                                         Attorney     communications/or attorney
              5209   61172          1/15/20    Felicia       Derek Burton;                              affiliated
                             pptx                                                                                        Client/Wo    work product regarding
              05     5              19 8:45    Gallagher     Brian Catmull;                             company(ies)     rk Product   insurance, legal matters,
                                                             Dominick
                                                                                                                                      acquisition and/or safety.
                                                             Brandow
NuCO2_Priv_                                                  Eric Hansen; John                          Employee(s) of
3013                                                         Templin; Felicia                           NuCO2 and its
                                    10/22/2                                                                              Attorney     Reflects confidential business
              5213   61206                                   Gallagher; Dirk                            affiliated
                             xlsx   018        Eric Hansen                                                               Client/Wo    and/or legal information
              91     0                                       Horst; Dominick                            company(ies)
                                    11:21                                                                                rk Product   regarding non-party.
                                                             Brandow; Gerald
                                                             Miller
NuCO2_Priv_                                                                                             Employee(s) of
                                                                                   Gerald Miller;                                     Reflects attorney
3014                                                                                                    NuCO2 and its
                                                             Vicari, Russell;      Gerald_Miller@prax                    Attorney     communications/or attorney
              5585   61205          10/11/2    Felicia                                                  affiliated
                             pdf                             Melissa_Andros@       air.com;                              Client/Wo    work product regarding
              00     2              018 9:48   Gallagher                                                company(ies)
                                                             Praxair.com           Kevin_Foti@praxair                    rk Product   insurance, legal matters,
                                                                                   .com                                               acquisition and/or safety.




                                                                             525
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 527 of
                                                           573


NuCO2_Priv_                                                                                            Employee(s) of
                                                                                  Gerald Miller;                                     Reflects attorney
3015                                                                                                   NuCO2 and its
                                                           Vicari, Russell;       Gerald_Miller@prax                    Attorney     communications/or attorney
              5585   61205          10/11/2    Felicia                                                 affiliated
                             pptx                          Melissa_Andros@        air.com;                              Client/Wo    work product regarding
              00     3              018 9:48   Gallagher                                               company(ies)
                                                           Praxair.com            Kevin_Foti@praxair                    rk Product   insurance, legal matters,
                                                                                  .com                                               acquisition and/or safety.
NuCO2_Priv_                                                                                            Employee(s) of
                                                                                                                                     Reflects attorney
3016                                                                                                   NuCO2 and its
                                    12/14/2                Andros, Melissa;                                             Attorney     communications/or attorney
              5547   61218                     Felicia                                                 affiliated
                             pptx   018                    Vicari, Russell;       Kevin Foti                            Client/Wo    work product regarding
              41     5                         Gallagher                                               company(ies)
                                    15:10                  Sarna, Nihar                                                 rk Product   insurance, legal matters,
                                                                                                                                     acquisition and/or safety.
NuCO2_Priv_                                                                                            Employee(s) of
3017                                                                                                   NuCO2 and its
                                                                                                                                      Reflects need for/provision of
              5480   62327          3/1/201    Felicia     'david_markatos                             affiliated       Attorney
                             docx                                                                                                    legal advice regarding, legal
              91     9              9 19:45    Gallagher   @praxair.com'                               company(ies)     Client
                                                                                                                                     matters

NuCO2_Priv_                                                                                            Employee(s) of
                                                           John Templin;                                                             Reflects attorney
3018                                                                                                   NuCO2 and its
                                                           Derek Burton;                                                Attorney     communications/or attorney
              5528   62746          1/15/20    Felicia                                                 affiliated
                             pptx                          Brian Catmull;                                               Client/Wo    work product regarding
              11     9              19 8:45    Gallagher                                               company(ies)
                                                           Dominick                                                     rk Product   insurance, legal matters,
                                                           Brandow                                                                   acquisition and/or safety.
NuCO2_Priv_                                                                                            Employee(s) of
                                                                                                                                     Reflects attorney
3019                                                                                                   NuCO2 and its
                                                           Vicari, Russell;                                             Attorney     communications/or attorney
              5528   62777          1/14/20    Felicia                                                 affiliated
                             pptx                          Andros, Melissa;                                             Client/Wo    work product regarding
              56     5              19 16:47   Gallagher                                               company(ies)
                                                           Kevin Foti                                                   rk Product   insurance, legal matters,
                                                                                                                                     acquisition and/or safety.
NuCO2_Priv_                                                                                            Employee(s) of
3020                                                       Hoerner, Mark;                              NuCO2 and its    Attorney     Reflects attorney communication
              5543   63004          12/21/2    Felicia     'Cucinotta, Mike';
                             pptx                                                 Brown, Denny         affiliated       Client/Wo    and/or attorney work product
              83     5              018 8:25   Gallagher   Sara Novy; Stuart
                                                                                                       company(ies)     rk Product   regarding insurance.
                                                           Luks




                                                                            526
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 528 of
                                                           573


NuCO2_Priv_                                                 'eduardo_menezes                         Employee(s) of
3021                                                        @praxair.com';                           NuCO2 and its                 Reflects attorney
                                                            'kevin_foti@praxa
                                                                                                     affiliated       Attorney     communications/or attorney
              5592   63110          5/9/201   Felicia       ir.com';
                             pptx                                                 Gerald Miller      company(ies)     Client/Wo    work product regarding
              51     3              8 17:53   Gallagher     'melissa_andros@
                                                                                                                      rk Product   insurance, legal matters,
                                                            praxair.com';
                                                                                                                                   acquisition and/or safety.
                                                            'russell_vicari@pr
                                                            axair.com'
NuCO2_Priv_                                                                                          Employee(s) of
3022                                                                                                 NuCO2 and its                 Reflects attorney
                                    10/12/2                                                                           Attorney
              5584   63632                    Felicia                                                                              communications/or attorney
                             pptx   018                     Eric Hansen           Dominick Brandow   affiliated       Client/Wo
              47     1                        Gallagher                                                                            work product regarding legal
                                    10:11                                                            company(ies)     rk Product
                                                                                                                                   matters.

NuCO2_Priv_                                                                                          Employee(s) of
3023                                                                                                 NuCO2 and its    Attorney     Reflects confidential business
              5402   63721          1/9/201
                             xlsx             Stuart Luks   Felicia Gallagher                        affiliated       Client/Wo    and/or legal information
              70     1              9 9:42
                                                                                                     company(ies)     rk Product   regarding non-party.

NuCO2_Priv_                                                                                          Employee(s) of
                                                                                                                                   Reflects attorney
3024                                                                                                 NuCO2 and its
                                    11/13/2                 Vicari, Russell;                                          Attorney     communications/or attorney
              5565   64238                    Felicia
                             pptx   018                     Melissa_Andros@       'Foti, Kevin'      affiliated       Client/Wo    work product regarding
              81     3                        Gallagher
                                    17:43                   Praxair.com                              company(ies)     rk Product   insurance, legal matters,
                                                                                                                                   acquisition and/or safety.




                                                                            527
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 529 of
                                                          573




Begin     End      Type of    Sent Date   Sender              To                    CC                     Relationship of the   Privilege         Nature and Subject
Bates     Bates    Document                                                                                Parties to the                          Matter of the
                                                                                                           Communication                           Communication



NUCO2     NUCO2_   pptx       2/4/2019    Brown, Denny        Abdoo, Joe;           Kevin Foti; Felicia    Employee(s) of        Attorney          Reflects confidential
_103962   103997              6:52                            Lawson, Todd;         Gallagher; Ranous,     NuCO2 and its         Client/Work       business and/or legal
                                                              Sarantapoulas,        Chris G; McCarthy,     affiliated            Product           information regarding
                                                              Andrew;               Christopher; Maitre,   company(ies)                            NuCO2 and non-
                                                              Barnhard, Jeff;       Bradley; Dhayafule,                                            party.
                                                              Botello, Armando      Mithun
NUCO2     NUCO2_   MSG        5/15/2018   Felicia Gallagher   Gerald Miller;        Jerry Destefano;       Employee(s) of        Attorney Client   Reflects attorney
_104171   104172              8:30                            Gerald_Miller@p       Dominick Brandow;      NuCO2 and its                           communications/or
                                                              raxair.com; Jeff      Kevin Patton           affiliated                              attorney work product
                                                              Gilheney; Kent                               company(ies)                            regarding legal
                                                              Hoffman; Derek                                                                       matters.
                                                              Burton; John
                                                              Templin; Randy
                                                              Gold; Mike
                                                              Lyons; Ruthie
                                                              Clemente; Stuart
                                                              Luks; Toyanna
                                                              Platt; Mark
                                                              Novak; Dirk
                                                              Horst; Damarie
                                                              Cortez; Sarah
                                                              Llewellyn; Bill
                                                              Wilson; Jeff West;
                                                              Brian D. Potter;
                                                              Nate Freese;
                                                              Brian Catmull;
                                                              Terry Mckiernan;
                                                              Eric Hansen




                                                                              528
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 530 of
                                                          573


NUCO2     NUCO2_   MSG     2/21/2019   Felicia Gallagher   Bridget Correa         Ruthie Clemente;    Employee(s) of   Attorney Client   Reflects
_104193   104194           18:02                                                  Kevin Patton;       NuCO2 and its                      communication or
                                                                                  Toyanna Platt       affiliated                         advice or work
                                                                                                      company(ies)                       product regarding
                                                                                                                                         negotiation/drafting
                                                                                                                                         of customer
                                                                                                                                         agreement.
NUCO2     NUCO2_   MSG     11/15/201   Felicia Gallagher   John Templin                               Employee(s) of   Attorney          Reflects
_104807   104813           8 10:08                                                                    NuCO2 and its    Client/Work       communication or
                                                                                                      affiliated       Product           advice or work
                                                                                                      company(ies)                       product regarding
                                                                                                                                         negotiation/drafting
                                                                                                                                         of customer
                                                                                                                                         agreement.
NUCO2     NUCO2_   MSG     9/11/2018   Felicia Gallagher   Gerald Miller;         Jerry Destefano;    Employee(s) of   Attorney          Reflects attorney
_104889   104891           7:28                            Gerald_Miller@p        Dominick Brandow;   NuCO2 and its    Client/Work       communications/or
                                                           raxair.com; Jeff       Kevin Patton;       affiliated       Product           attorney work product
                                                           Gilheney; Derek        Marino Anderson     company(ies)                       regarding legal
                                                           Burton; John                                                                  matters.
                                                           Templin; Mike
                                                           Lyons; Ruthie
                                                           Clemente; Stuart
                                                           Luks; Toyanna
                                                           Platt; Mark
                                                           Novak; Dirk
                                                           Horst; Damarie
                                                           Cortez; Sarah
                                                           Llewellyn; Bill
                                                           Wilson; Jeff West;
                                                           Brian D. Potter;
                                                           Nate Freese;
                                                           Brian Catmull;
                                                           Terry Mckiernan;
                                                           Eric Hansen;
                                                           Richard Wilkie
NUCO2     NUCO2_   pptx    12/20/201   Smith, Stanley M    Smith, Stanley M;                          Employee(s) of   Attorney          Reflects attorney
_103801   103811           8 11:38                         Felicia Gallagher;                         NuCO2 and its    Client/Work       communications/or
                                                           John Templin;                              affiliated       Product           attorney work product
                                                           Gupta, Ami;                                company(ies)                       regarding legal
                                                           Derek Burton                                                                  matters.



                                                                            529
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 531 of
                                                           573


NUCO2     NUCO2_   xlsx     4/27/2017   Felicia Gallagher   Randy Gold;            Employee(s) of    Attorney          Reflects attorney
_103941   103944            11:54                           Derek Burton;          NuCO2 and its     Client/Work       communication
                                                            John Templin;          affiliated        Product           and/or attorney work
                                                            Vince Giordano;        company(ies)                        product regarding
                                                            Jeff Gilheney;                                             insurance.
                                                            Mike Kleimeyer;
                                                            Kent Hoffman;
                                                            Dominick
                                                            Brandow; Gerald
                                                            Miller; Kevin
                                                            Patton
NUCO2     NUCO2_   xlsx     4/27/2017   Felicia Gallagher   Kevin Patton;          Employee(s) of    Attorney          Reflects attorney
_104936   104939            11:54                           John Templin;          NuCO2 and its     Client/Work       communication
                                                            Gerald Miller;         affiliated        Product           and/or attorney work
                                                            Jeff Gilheney;         company(ies)                        product regarding
                                                            Kent Hoffman;                                              insurance.
                                                            Mike Kleimeyer;
                                                            Derek Burton;
                                                            Randy Gold;
                                                            Vince Giordano;
                                                            Dominick
                                                            Brandow; Felicia
                                                            Gallagher
NUCO2     NUCO2_   pptx     12/20/201   Smith, Stanley M    Smith, Stanley M;      Employee(s) of    Attorney Client   Reflects confidential
_114078   114088            8 11:38                         Felicia Gallagher;     NuCO2 and its                       business and/or legal
                                                            John Templin;          affiliated                          information regarding
                                                            Gupta, Ami;            company(ies)                        non-party.
                                                            Derek Burton

NUCO2     NUCO2_   MSG      3/18/2015   Mike Sevener        Daniel Snead;           Employee(s) of   Attorney Client   Reflects attorney
_114224   114225            8:16                            Chase Green;           NuCO2 and                           communications/or
                                                            Todd Rapoport;         NuCO2’s                             attorney workproduct
                                                            Rudy Bennor;           customer(s)                         regarding legal mater.
                                                            Chris Verch;
                                                            Randy Gold;
                                                            David Millican;
                                                            Ryan Swinford;
                                                            Trent Gilley; Jeff
                                                            Killingsworth;
                                                            Becky Murray;
                                                            Jessica Hart;

                                                                             530
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 532 of
                                                          573


                                                           Cheryl Dick; H
                                                           Taylor; John
                                                           Templin; Mark
                                                           Jeffares


NUCO2     NUCO2_   MSG     1/30/2019   John-Paul           John Templin                                Employee(s) of   Attorney Client   Communication
_114631   114633           7:27        Venanzi                                                         NuCO2                              regarding need for
                                                                                                                                          legal advice/work
                                                                                                                                          product of counsel
                                                                                                                                          concerning
                                                                                                                                          negotiation/drafting
                                                                                                                                          of customer
                                                                                                                                          agreement.
NUCO2     NUCO2_   MSG     12/20/201   Brian D. Potter     John Templin            Michael Graham                       Attorney          Communication
_114809   114810           8 16:10                                                                     Employee(s) of   Client/Work       regarding need for
                                                                                                       NuCO2            Product           legal advice/work
                                                                                                                                          product of counsel
                                                                                                                                          concerning
                                                                                                                                          negotiation/drafting
                                                                                                                                          of customer
                                                                                                                                          agreement.
NUCO2     NUCO2_   MSG     8/15/2018   Bridget Correa      Robin_K_Riley@          David_Markatos@Pr   Employee(s) of   Attorney Client   Reflects need
_115858   115863           12:13                           Praxair.com             axair.com; John     NuCO2 and its                      for/provision of legal
                                                                                   Templin             affiliated                         advice regarding
                                                                                                       company(ies)                       strategy concerning
                                                                                                                                          customer/competitor
                                                                                                                                          disputes.
NUCO2     NUCO2_   MSG     8/15/2018   Robin_K_Riley@      John Templin            David_Markatos@Pr   Employee(s) of   Attorney Client   Reflects need
_115864   115866           7:04        Praxair.com                                 axair.com           NuCO2 and its                      for/provision of legal
                                                                                                       affiliated                         advice regarding
                                                                                                       company(ies)                       strategy concerning
                                                                                                                                          customer/competitor
                                                                                                                                          disputes.
NUCO2     NUCO2_   pdf     7/24/2018   Felicia Gallagher   John Templin;                               Employee(s) of   Attorney          Reflects attorney
_116043   116084           8:01                            Dominick                                    NuCO2 and its    Client/Work       communication
                                                           Brandow; Kevin                              affiliated       Product           and/or attorney work
                                                           Patton; Gerald                              company(ies)                       product regarding
                                                           Miller; Jeff                                                                   safety.
                                                           Gilheney; Derek


                                                                             531
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 533 of
                                                          573


                                                           Burton; Patrick
                                                           Woelfel; Richard
                                                           Wilkie



NUCO2     NUCO2_   pdf     6/25/2018   Felicia Gallagher   Felicia Gallagher;                          Employee(s) of   Attorney      Reflects attorney
_116207   116256           16:11                           John Templin;                               NuCO2 and its    Client/Work   communication
                                                           Dominick                                    affiliated       Product       and/or attorney work
                                                           Brandow; Kevin                              company(ies)                   product regarding
                                                           Patton; Gerald                                                             safety.
                                                           Miller; Jeff
                                                           Gilheney; Derek
                                                           Burton; Patrick
                                                           Woelfel; Richard
                                                           Wilkie
NUCO2     NUCO2_   pdf     1/19/2018   Felicia Gallagher   John Chesney;          Gerald_Miller@prax   Employee(s) of   Attorney      Reflects attorney
_170431   170475           16:51                           John Templin;          air.com              NuCO2 and its    Client/Work   communication
                                                           Dominick                                    affiliated       Product       and/or attorney work
                                                           Brandow; Kevin                              company(ies)                   product regarding
                                                           Patton; Gerald                                                             safety.
                                                           Miller; Jeff
                                                           Gilheney; Derek
                                                           Burton; Randy
                                                           Gold; Kent
                                                           Hoffman; Patrick
                                                           Woelfel
NUCO2     NUCO2_   pdf     11/28/201   Felicia Gallagher   John Chesney;                               Employee(s) of   Attorney      Reflects attorney
_117724   117764           7 8:09                          John Templin;                               NuCO2 and its    Client/Work   communication
                                                           Dominick                                    affiliated       Product       and/or attorney work
                                                           Brandow; Kevin                              company(ies)                   product regarding
                                                           Patton; Gerald                                                             safety.
                                                           Miller; Jeff
                                                           Gilheney; Derek
                                                           Burton; Randy
                                                           Gold; Kent
                                                           Hoffman; Patrick
                                                           Woelfel




                                                                            532
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 534 of
                                                          573


NUCO2     NUCO2_   pdf     10/25/201   Felicia Gallagher   John Chesney;         Ruthie Clemente        Employee(s) of   Attorney      Reflects attorney
_117981   118015           7 14:50                         John Templin;                                NuCO2 and its    Client/Work   communication
                                                           Dominick                                     affiliated       Product       and/or attorney work
                                                           Brandow; Kevin                               company(ies)                   product regarding
                                                           Patton; Gerald                                                              safety.
                                                           Miller; Jeff
                                                           Gilheney; Derek
                                                           Burton; Randy
                                                           Gold; Kent
                                                           Hoffman; Patrick
                                                           Woelfel
NUCO2     NUCO2_   pdf     9/26/2017   Felicia Gallagher   Felicia Gallagher;    Ruthie Clemente        Employee(s) of   Attorney      Reflects attorney
_118365   118403           7:33                            Patrick Woelfel;                             NuCO2 and its    Client/Work   communication
                                                           Kevin Patton;                                affiliated       Product       and/or attorney work
                                                           John Templin;                                company(ies)                   product regarding
                                                           Dominick                                                                    safety.
                                                           Brandow; John
                                                           Chesney; Gerald
                                                           Miller; Derek
                                                           Burton; Kent
                                                           Hoffman; Jeff
                                                           Gilheney; Randy
                                                           Gold
NUCO2     NUCO2_   pdf     8/21/2017   Felicia Gallagher   Derek Burton;                                Employee(s) of   Attorney      Reflects attorney
_118688   118729           16:01                           Vince Giordano;                              NuCO2 and its    Client/Work   communication
                                                           John Templin;                                affiliated       Product       and/or attorney work
                                                           John Chesney;                                company(ies)                   product regarding
                                                           Ruthie Clemente;                                                            safety.
                                                           Patrick Woelfel;
                                                           Dominick
                                                           Brandow; Kevin
                                                           Patton; Kent
                                                           Hoffman; Gerald
                                                           Miller; Jeff
                                                           Gilheney
NUCO2     NUCO2_   pptx    8/11/2017   Stanley_M_Smith     |Truncated|           Kathy_Kuberka/US       Employee(s) of   Attorney      Reflects
_118788   118798           11:05       @Praxair.com        Ami_Gupta/USA         A/NA/Praxair%Pra       NuCO2 and its    Client/Work   communication or
                                                           /NA/Praxair%P         xair@na.praxair.com;   affiliated       Product       advice or work
                                                           RAXAIR@na.pra         Kevin_Boughan@Pr       company(ies)                   product regarding
                                                           xair.com;             axair.com;                                            negotiation/drafting
                                                           Ashwini_Sinha/        Kevin_Foti/USA/N                                      of customer


                                                                           533
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 535 of
                                                          573


                                                         USA/NA/Praxai         A/Praxair%Praxair                                     agreement.
                                                         r%Praxair@na.pr       @na.praxair.com;
                                                         axair.com;            Matt Butcher; Nick
                                                         Bill_Gerristead@      Litto;
                                                         Praxair.com; Bill     Sam_Pace/USA/NA
                                                         Wilson;               /Praxair%Praxair@n
                                                         Dominick              a.praxair.com
                                                         Brandow; Derek
                                                         Burton;
                                                         Dennis_Brestova
                                                         nsky/USA/NA/
                                                         Praxair%Praxair
                                                         @na.praxair.com;
                                                         Felicia_Gallagher
                                                         /USA/NA/Praxa
                                                         ir%Praxair@na.pr
                                                         axair.com; Felicia
                                                         Gallagher; Gerald
                                                         Miller; John
                                                         Chesney; John
                                                         Templin; Jeff
                                                         West; Kent
                                                         Hoffman; Kevin
                                                         Patton;
                                                         Mayank_Pareek/
                                                         USA/NA/Praxai
                                                         r%Praxair@na.pr
                                                         axair.com; Mark
                                                         Novak;
                                                         Nilay_Dalal/USA
                                                         /NA/Praxair%Pr
                                                         axair@na.prax
NUCO2     NUCO2_   pptx    8/11/2017   Stanley_M_Smith   |Truncated|           Kathy_Kuberka/US       Employee(s) of   Attorney      Reflects
_118800   118810           10:33       @Praxair.com      Ami_Gupta/USA         A/NA/Praxair%Pra       NuCO2 and its    Client/Work   communication or
                                                         /NA/Praxair%P         xair@na.praxair.com;   affiliated       Product       advice or work
                                                         RAXAIR@na.pra         Kevin_Boughan@Pr       company(ies)                   product regarding
                                                         xair.com;             axair.com;                                            negotiation/drafting
                                                         Ashwini_Sinha/        Kevin_Foti/USA/N                                      of customer
                                                         USA/NA/Praxai         A/Praxair%Praxair                                     agreement.
                                                         r%Praxair@na.pr       @na.praxair.com;
                                                         axair.com;            Matt Butcher; Nick


                                                                         534
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 536 of
                                                          573


                                                        Bill_Gerristead@      Litto;
                                                        Praxair.com; Bill     Sam_Pace/USA/NA
                                                        Wilson;               /Praxair%Praxair@n
                                                        Dominick              a.praxair.com
                                                        Brandow; Derek
                                                        Burton;
                                                        Dennis_Brestova
                                                        nsky/USA/NA/
                                                        Praxair%Praxair
                                                        @na.praxair.com;
                                                        Felicia_Gallagher
                                                        /USA/NA/Praxa
                                                        ir%Praxair@na.pr
                                                        axair.com; Felicia
                                                        Gallagher; Gerald
                                                        Miller; John
                                                        Chesney; John
                                                        Templin; Jeff
                                                        West; Kent
                                                        Hoffman; Kevin
                                                        Patton;
                                                        Mayank_Pareek/
                                                        USA/NA/Praxai
                                                        r%Praxair@na.pr
                                                        axair.com; Mark
                                                        Novak;
                                                        Nilay_Dalal/USA
                                                        /NA/Praxair%Pr
                                                        axair@na.prax
NUCO2     NUCO2_   PDF     7/11/2017   Vince Giordano   John Templin                               Employee(s) of   Attorney      Communication
_119039   119056           14:54                                                                   NuCO2            Client/Work   regarding request for
                                                                                                                    Product       and provision of legal
                                                                                                                                  advice/work product
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting
                                                                                                                                  of customer
                                                                                                                                  agreement.




                                                                        535
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 537 of
                                                           573


NUCO2     NUCO2_   xlsx     4/20/2017   Felicia Gallagher   Felicia Gallagher;                       Employee(s) of   Attorney          Reflects attorney
_119507   119510            7:54                            Gerald Miller;                           NuCO2 and its    Client/Work       communication
                                                            Vince Giordano;                          affiliated       Product           and/or attorney work
                                                            John Templin;                            company(ies)                       product regarding
                                                            Mike Kleimeyer;                                                             insurance.
                                                            Randy Gold;
                                                            Derek Burton;
                                                            Jeff Gilheney;
                                                            Kent Hoffman;
                                                            Kevin Patton
NUCO2     NUCO2_   xlsx     4/19/2017   Felicia Gallagher   Felicia Gallagher;                       Employee(s) of   Attorney          Reflects attorney
_119512   119515            10:51                           Gerald Miller;                           NuCO2 and its    Client/Work       communication
                                                            Vince Giordano;                          affiliated       Product           and/or attorney work
                                                            John Templin;                            company(ies)                       product regarding
                                                            Mike Kleimeyer;                                                             insurance.
                                                            Randy Gold;
                                                            Derek Burton;
                                                            Jeff Gilheney;
                                                            Kent Hoffman;
                                                            Kevin Patton
NUCO2     NUCO2_   msg      4/5/2017    David Reyes         Peter Craig            Damarie Cortez;   Employee(s) of   Attorney Client   Communication
_119643   119644            11:33                                                  John Templin      NuCO2)                             regarding need for
                                                                                                                                        legal advice/work
                                                                                                                                        product of counsel
                                                                                                                                        concerning
                                                                                                                                        negotiation/drafting
                                                                                                                                        of customer
                                                                                                                                        agreement.
NUCO2     NUCO2_   pptx     11/22/201                       Jeff Gilheney;                           Employee(s) of   Attorney          Reflects attorney
_120694   120703            6 7:55                          Randy Gold;                              NuCO2            Client/Work       communications/or
                                                            Mike Kleimeyer;                                           Product           attorney work product
                                                            Vince Giordano;                                                             regarding legal
                                                            John Templin;                                                               matters.
                                                            Kent Hoffman;
                                                            Kevin Patton;
                                                            Patrick Woelfel;
                                                            Gerald Miller;
                                                            'gerald_Miller@p
                                                            raxair.com'; John
                                                            Chesney; Derek
                                                            Burton; Russell


                                                                             536
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 538 of
                                                           573


                                                         Vicari; Dominick
                                                         Brandow




NUCO2     NUCO2_   pptx     5/25/2016   Randy Gold       Gerald_Miller@p         Employee(s) of   Attorney      Reflects attorney
_121190   121202            13:06                        raxair.com; Kevin       NuCO2            Client/Work   communication
                                                         Patton; Vince                            Product       and/or attorney work
                                                         Giordano; Russell                                      product regarding
                                                         Vicari; John                                           acquisition.
                                                         Templin; Jeff
                                                         Gilheney; Mike
                                                         Kleimeyer;
                                                         Patrick Woelfel;
                                                         Chris Pherson;
                                                         Kent Hoffman
NUCO2     NUCO2_   MSG      3/7/2016    David_Markatos   Russell Vicari;         Employee(s) of   Attorney      Reflects
_121375   121376            9:49        @Praxair.com     John Templin            NuCO2 and its    Client/Work   communications
                                                                                 affiliated       Product       regarding settlement
                                                                                 company(ies)                   concerning customer
                                                                                                                dispute.

NUCO2     NUCO2_   msg      12/7/2018   Foti, Kevin      John Templin            Employee(s) of   Attorney      Reflects
_122313   122315            14:08                                                NuCO2 and its    Client/Work   communication or
                                                                                 affiliated       Product       advice or work
                                                                                 company(ies)                   product regarding
                                                                                                                negotiation/drafting
                                                                                                                of customer
                                                                                                                agreement.
NUCO2     NUCO2_   xlsx     12/7/2018   Foti, Kevin      Brian D. Potter         Employee(s) of   Attorney      Reflects
_122303   122304            14:08                                                NuCO2 and its    Client/Work   communication or
                                                                                 affiliated       Product       advice or work
                                                                                 company(ies)                   product regarding
                                                                                                                negotiation/drafting
                                                                                                                of customer
                                                                                                                agreement.




                                                                           537
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 539 of
                                                           573


NUCO2     NUCO2_   xlsx     12/7/2018   Foti, Kevin         Brian D. Potter                             Employee(s) of   Attorney      Reflects
_122306   122307            14:08                                                                       NuCO2 and its    Client/Work   communication or
                                                                                                        affiliated       Product       advice or work
                                                                                                        company(ies)                   product regarding
                                                                                                                                       negotiation/drafting
                                                                                                                                       of customer
                                                                                                                                       agreement.
NUCO2     NUCO2_   xlsx     12/7/2018   Foti, Kevin         Brian D. Potter                             Employee(s) of   Attorney      Reflects attorney
_122311   122312            14:08                                                                       NuCO2 and its    Client/Work   communication
                                                                                                        affiliated       Product       and/or attorney work
                                                                                                        company(ies)                   product regarding
                                                                                                                                       acquisition.

NUCO2     NUCO2_   MSG      6/8/2018    John Templin        Nate Freese                                 Employee(s) of   Attorney      Reflects attorney
_122612   122615            13:57                                                                       NuCO2            Client/Work   communications/or
                                                                                                                         Product       attorney work product
                                                                                                                                       regarding legal
                                                                                                                                       matters.

NUCO2     NUCO2_   MSG      6/8/2018    John Templin        Nate Freese                                 Employee(s) of   Attorney      Reflects attorney
_122616   122619            13:55                                                                       NuCO2            Client/Work   communications/or
                                                                                                                         Product       attorney work product
                                                                                                                                       regarding legal
                                                                                                                                       matters.

NUCO2     NUCO2_   MSG      5/22/2018   John Templin        Bridget Correa          Gerald Miller       Employee(s) of   Attorney      Communication
_122650   122653            20:09                                                                       NuCO2            Client/Work   regarding need for
                                                                                                                         Product       legal advice of
                                                                                                                                       counsel.


NUCO2     NUCO2_   MSG      9/10/2018   Felicia Gallagher   Gerald Miller;          Jerry Destefano;    Employee(s) of   Attorney      Reflects attorney
_107652   107653            15:39                           Gerald_Miller@p         Dominick Brandow;   NuCO2 and its    Client/Work   communications/or
                                                            raxair.com; Jeff        Kevin Patton;       affiliated       Product       attorney work product
                                                            Gilheney; Derek         Marino Anderson     company(ies)                   regarding legal
                                                            Burton; John                                                               matters.
                                                            Templin; Mike
                                                            Lyons; Ruthie
                                                            Clemente; Stuart
                                                            Luks; Toyanna


                                                                              538
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 540 of
                                                          573


                                                          Platt; Mark
                                                          Novak; Dirk
                                                          Horst; Damarie
                                                          Cortez; Sarah
                                                          Llewellyn; Bill
                                                          Wilson; Jeff West;
                                                          Brian D. Potter;
                                                          Nate Freese;
                                                          Brian Catmull;
                                                          Terry Mckiernan;
                                                          Eric Hansen;
                                                          Richard Wilkie
NUCO2     NUCO2_   MSG     8/7/2018   Felicia Gallagher   Brian D. Potter;      Jerry Destefano;    Employee(s) of   Attorney      Reflects attorney
_107684   107685           13:58                          Nate Freese;          Dominick Brandow;   NuCO2 and its    Client/Work   communications/or
                                                          Brian Catmull;        Kevin Patton;       affiliated       Product       attorney work product
                                                          Terry Mckiernan;      Marino Anderson     company(ies)                   regarding legal
                                                          Eric Hansen;                                                             matters.
                                                          Richard Wilkie;
                                                          Gerald Miller;
                                                          Gerald_Miller@p
                                                          raxair.com; Jeff
                                                          Gilheney; Derek
                                                          Burton; John
                                                          Templin; Mike
                                                          Lyons; Ruthie
                                                          Clemente; Stuart
                                                          Luks; Toyanna
                                                          Platt; Mark
                                                          Novak; Dirk
                                                          Horst; Damarie
                                                          Cortez; Sarah
                                                          Llewellyn; Bill
                                                          Wilson; Jeff West
NUCO2     NUCO2_   MSG     7/9/2018   Felicia Gallagher   Gerald Miller;        Jerry Destefano;    Employee(s) of   Attorney      Reflects attorney
_107721   107722           16:07                          Gerald_Miller@p       Dominick Brandow;   NuCO2 and its    Client/Work   communications/or
                                                          raxair.com; Jeff      Kevin Patton        affiliated       Product       attorney work product
                                                          Gilheney; Derek                           company(ies)                   regarding legal
                                                          Burton; John                                                             matters.
                                                          Templin; Mike
                                                          Lyons; Ruthie
                                                          Clemente; Stuart


                                                                          539
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 541 of
                                                          573


                                                           Luks; Toyanna
                                                           Platt; Mark
                                                           Novak; Dirk
                                                           Horst; Damarie
                                                           Cortez; Sarah
                                                           Llewellyn; Bill
                                                           Wilson; Jeff West;
                                                           Brian D. Potter;
                                                           Nate Freese;
                                                           Brian Catmull;
                                                           Terry Mckiernan;
                                                           Eric Hansen;
                                                           Richard Wilkie
NUCO2     NUCO2_   MSG     4/10/2018   Felicia Gallagher   Gerald Miller;        Jerry Destefano;    Employee(s) of   Attorney      Reflects attorney
_107825   107826           11:30                           Gerald_Miller@p       Dominick Brandow;   NuCO2 and its    Client/Work   communications/or
                                                           raxair.com; Jeff      Kevin Patton        affiliated       Product       attorney work product
                                                           Gilheney; Kent                            company(ies)                   regarding legal
                                                           Hoffman; Derek                                                           matters.
                                                           Burton; John
                                                           Templin; Randy
                                                           Gold; Mike
                                                           Lyons; Ruthie
                                                           Clemente; Stuart
                                                           Luks; Toyanna
                                                           Platt; Mark
                                                           Novak; Victor
                                                           Butera; Dirk
                                                           Horst; Damarie
                                                           Cortez; Sarah
                                                           Llewellyn; Bill
                                                           Wilson; John
                                                           Chesney; Jeff
                                                           West; Brian D.
                                                           Potter; Nate
                                                           Freese; Brian
                                                           Catmull; Terry
                                                           Mckiernan




                                                                           540
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 542 of
                                                          573


NUCO2     NUCO2_   MSG     6/7/2018    Felicia Gallagher   Gerald Miller;        Jerry Destefano;    Employee(s) of   Attorney      Reflects attorney
_107753   107754           15:57                           Gerald_Miller@p       Dominick Brandow;   NuCO2 and its    Client/Work   communications/or
                                                           raxair.com; Jeff      Kevin Patton        affiliated       Product       attorney work product
                                                           Gilheney; Derek                           company(ies)                   regarding legal mater.
                                                           Burton; John
                                                           Templin; Mike
                                                           Lyons; Ruthie
                                                           Clemente; Stuart
                                                           Luks; Toyanna
                                                           Platt; Mark
                                                           Novak; Dirk
                                                           Horst; Damarie
                                                           Cortez; Sarah
                                                           Llewellyn; Bill
                                                           Wilson; Jeff West;
                                                           Brian D. Potter;
                                                           Nate Freese;
                                                           Brian Catmull;
                                                           Terry Mckiernan;
                                                           Eric Hansen;
                                                           Richard Wilkie
NUCO2     NUCO2_   MSG     4/10/2018   Toyanna Platt       Felicia Gallagher;    Jerry Destefano;    Employee(s) of   Attorney      Reflects attorney
_107823   107824           12:09                           Gerald Miller;        Dominick Brandow;   NuCO2 and its    Client/Work   communications/or
                                                           Gerald_Miller@p       Kevin Patton        affiliated       Product       attorney work product
                                                           raxair.com; Jeff                          company(ies)                   regarding legal
                                                           Gilheney; Kent                                                           matters.
                                                           Hoffman; Derek
                                                           Burton; John
                                                           Templin; Randy
                                                           Gold; Mike
                                                           Lyons; Ruthie
                                                           Clemente; Stuart
                                                           Luks; Mark
                                                           Novak; Victor
                                                           Butera; Dirk
                                                           Horst; Damarie
                                                           Cortez; Sarah
                                                           Llewellyn; Bill
                                                           Wilson; John
                                                           Chesney; Jeff
                                                           West; Brian D.


                                                                           541
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 543 of
                                                          573


                                                         Potter; Nate
                                                         Freese; Brian
                                                         Catmull; Terry
                                                         Mckiernan


NUCO2     NUCO2_   pptx    11/14/201   Vicari, Russell   Panikar, John;         Angel, Steve; White,    Employee(s) of   Attorney      Reflects confidential
_143727   143733           8 18:00                       Xiang, Caroline;       Matt; Menezes,          NuCO2 and its    Client/Work   business and/or legal
                                                         Durbin, Sean;          Eduardo; Roby,          affiliated       Product       information regarding
                                                         Culina, Rosanne;       Anne; Hoyt, Kelcey;     company(ies)                   non-party.
                                                         Marini, Dick;          Sher, Vipin; Strauss,
                                                         Madariaga, Lou;        David; Bichara,
                                                         Foti, Kevin;           Guillermo; Pelaez,
                                                         Brown, Denny;          Juan
                                                         Lee, Josue;
                                                         Delfin, Felipe;
                                                         Bastos, Gilney;
                                                         Paiva, Carlos;
                                                         Luthi, Pierre;
                                                         Gulcu, Daphne;
                                                         Akhras, Amer;
                                                         Petrivelli, Amy;
                                                         Yankowski, Dan;
                                                         Patel, Hezal;
                                                         Kim, HyunSoo;
                                                         Skare, Todd;
                                                         Marino, Michael;
                                                         Galvan, Eduardo;
                                                         Felicia Gallagher
NUCO2     NUCO2_   pptx    6/24/2016   Andrew            Gerald Miller          John-Paul Venanzi;      Employee(s) of   Attorney      Reflects confidential
_148702   148711           15:31       Sarantapoulas                            Gold                    NuCO2 and its    Client/Work   business and/or legal
                                                                                <RGold@nuco2.co         affiliated       Product       information regarding
                                                                                m>                      company(ies)                   non-party.




                                                                          542
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 544 of
                                                          573


NUCO2     NUCO2_   MSG     8/15/2018   Bridget Correa    Riley, Robin K         Markatos, David;   Employee(s) of   Attorney Client   Communications
_153074   153079           12:13                                                John Templin       NuCO2 and its                      regarding need
                                                                                                   affiliated                         for/provision of
                                                                                                   company(ies)                       information regarding
                                                                                                                                      customer
                                                                                                                                      account/dispute in
                                                                                                                                      order to facilitate
                                                                                                                                      provision of legal
                                                                                                                                      advice/services
                                                                                                                                      concerning the same.
NUCO2     NUCO2_   MSG     12/16/201   Vince Giordano    John Templin                              Employee(s) of   Attorney          Communications
_153163   153170           6 13:18                                                                 NuCO2            Client/Work       regarding request
                                                                                                                    Product           for/provision of legal
                                                                                                                                      advice/work product
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting
                                                                                                                                      of customer
                                                                                                                                      agreement.
NUCO2     NUCO2_   MSG     9/5/2018    Gerald Miller     John Templin                              Employee(s) of   Attorney Client   Communications
_153419   153424           11:23                                                                   NuCO2                              regarding customer
                                                                                                                                      dispute.



NUCO2     NUCO2_   MSG     11/20/201   Nanette Caceres   John Templin                              Employee(s) of   Attorney Client   Communications
_126422   126424           8 12:08                                                                 NuCO2                              regarding need
                                                                                                                                      for/provision of
                                                                                                                                      information regarding
                                                                                                                                      customer
                                                                                                                                      account/dispute in
                                                                                                                                      order to facilitate
                                                                                                                                      provision of legal
                                                                                                                                      advice/services
                                                                                                                                      concerning the same.
NUCO2     NUCO2_   MSG     1/3/2017    Randy Gold        John Templin                              Employee(s) of   Attorney Client   Communications
_154046   154048           15:15                                                                   NuCO2                              providing guidance
                                                                                                                                      regarding regulatory
                                                                                                                                      compliance.




                                                                          543
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 545 of
                                                          573


NUCO2     NUCO2_   MSG     11/8/2018   Ruthie Clemente   Felicia Gallagher;                       Employee(s) of   Attorney          Communications
_143305   143307           14:28                         Toyanna Platt                            NuCO2            Client/Work       regarding need for
                                                                                                                   Product           legal advice of
                                                                                                                                     counsel.


NUCO2     NUCO2_   MSG     4/6/2017    Kevin Patton      Maria Primm                              Employee(s) of   Attorney Client   Communications
_150942   150945           10:05                                                                  NuCO2                              regarding need
                                                                                                                                     for/provision of
                                                                                                                                     information regarding
                                                                                                                                     customer
                                                                                                                                     account/dispute in
                                                                                                                                     order to facilitate
                                                                                                                                     provision of legal
                                                                                                                                     advice/services
                                                                                                                                     concerning the same.
NUCO2     NUCO2_   MSG     4/6/2017    Kevin Patton      Maria Primm                              Employee(s) of   Attorney Client   Communications
_150946   150950           10:18                                                                  NuCO2                              regarding need
                                                                                                                                     for/provision of
                                                                                                                                     information regarding
                                                                                                                                     customer
                                                                                                                                     account/dispute in
                                                                                                                                     order to facilitate
                                                                                                                                     provision of legal
                                                                                                                                     advice/services
                                                                                                                                     concerning the same.
NUCO2     NUCO2_   MSG     3/4/2019    Monica Hall       Brian D. Potter;       Rodney Husbands   Employee(s) of   Attorney Client   Reflects need
_143336   143353           11:52                         Felicia Gallagher;                       NuCO2 and its                      for/provision of legal
                                                         Stuart Luks                              affiliated                         advice regarding
                                                                                                  company(ies)                       customer
                                                                                                                                     account/dispute.

NUCO2     NUCO2_   MSG     3/4/2019    Monica Hall       Brian D. Potter;       Rodney Husbands   Employee(s) of   Attorney Client   Reflects need
_143354   143371           12:00                         Felicia Gallagher;                       NuCO2 and its                      for/provision of legal
                                                         Stuart Luks                              affiliated                         advice regarding
                                                                                                  company(ies)                       customer
                                                                                                                                     account/dispute.




                                                                          544
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 546 of
                                                          573


NUCO2     NUCO2_   MSG     3/4/2019    Stuart Luks    Felicia Gallagher       Monica Hall; Brian   Employee(s) of   Attorney Client   Reflects need
_143372   143393           14:06                                              D. Potter            NuCO2 and its                      for/provision of legal
                                                                                                   affiliated                         advice regarding
                                                                                                   company(ies)                       customer
                                                                                                                                      account/dispute.

NUCO2     NUCO2_   MSG     1/3/2017    Sondra Meyer   John Templin                                 Employee(s) of   Attorney Client   Reflects need
_154297   154301           11:33                                                                   NuCO2                              for/provision of legal
                                                                                                                                      advice regarding
                                                                                                                                      customer
                                                                                                                                      account/dispute.

NUCO2     NUCO2_   MSG     1/26/2017   Peter Craig    John Templin;                                Employee(s) of   Attorney Client   Reflects need
_154626   154627           13:01                      David Markatos                               NuCO2 and its                      for/provision of legal
                                                                                                   affiliated                         advice regarding
                                                                                                   company(ies)                       customer
                                                                                                                                      account/dispute.

NUCO2     NUCO2_   MSG     10/22/201   Sondra Meyer   Markatos, David                              Employee(s) of   Attorney Client   Reflects need
_148557   148558           8 11:06                                                                 NuCO2 and its                      for/provision of legal
                                                                                                   affiliated                         advice regarding
                                                                                                   company(ies)                       customer
                                                                                                                                      account/dispute.

NUCO2     NUCO2_   MSG     10/25/201   Sondra Meyer   David Markatos                               Employee(s) of   Attorney          Communications
_148605   148610           6 12:09                                                                 NuCO2 and its    Client/Work       regarding request
                                                                                                   affiliated       Product           for/provision of legal
                                                                                                   company(ies)                       advice/work product
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting
                                                                                                                                      of customer
                                                                                                                                      agreement.
NUCO2     NUCO2_   MSG     10/25/201   Sondra Meyer   David Markatos                               Employee(s) of   Attorney Client   Communications
_148611   148614           6 14:41                                                                 NuCO2 and its                      regarding need
                                                                                                   affiliated                         for/provision of
                                                                                                   company(ies)                       information regarding
                                                                                                                                      customer
                                                                                                                                      account/dispute in
                                                                                                                                      order to facilitate
                                                                                                                                      provision of legal


                                                                        545
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 547 of
                                                          573


                                                                                                                                  advice/services
                                                                                                                                  concerning the same.




NUCO2     NUCO2_   MSG     10/26/201   Sondra Meyer   David Markatos                           Employee(s) of   Attorney Client   Communications
_148615   148617           6 8:14                                                              NuCO2 and its                      regarding need
                                                                                               affiliated                         for/provision of
                                                                                               company(ies)                       information regarding
                                                                                                                                  customer
                                                                                                                                  account/dispute in
                                                                                                                                  order to facilitate
                                                                                                                                  provision of legal
                                                                                                                                  advice/services
                                                                                                                                  concerning the same.
NUCO2     NUCO2_   MSG     7/17/2018   Maria Primm    Ronald Thermil                           Employee(s) of   Attorney          Communications
_152284   152287           15:52                                                               NuCO2            Client/Work       regarding request
                                                                                                                Product           for/provision of legal
                                                                                                                                  advice/work product
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting
                                                                                                                                  of customer
                                                                                                                                  agreement.
NUCO2     NUCO2_   pdf     7/17/2018   Maria Primm    Ronald Thermil                           Employee(s) of   Attorney          Communications
_152288   152288           15:52                                                               NuCO2            Client/Work       regarding request
                                                                                                                Product           for/provision of legal
                                                                                                                                  advice/work product
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting
                                                                                                                                  of customer
                                                                                                                                  agreement.
NUCO2     NUCO2_   MSG     3/2/2017    David Reyes    Peter Craig            Damarie Cortez;   Employee(s) of   Attorney          Reflects need
_154927   154930           12:18                                             John Templin      NuCO2            Client/Work       for/provision of legal
                                                                                                                Product           advice regarding
                                                                                                                                  customer
                                                                                                                                  account/dispute.




                                                                       546
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 548 of
                                                           573


NUCO2     NUCO2_   xlsx     4/27/2017   Felicia Gallagher   Felicia Gallagher;                            Employee(s) of   Attorney          Reflects attorney
_151014   151017            11:55                           Kevin Patton;                                 NuCO2 and its    Client/Work       Communications
                                                            John Templin;                                 affiliated       Product           and/or attorney work
                                                            Gerald Miller;                                company(ies)                       product regarding
                                                            Jeff Gilheney;                                                                   insurance.
                                                            Kent Hoffman;
                                                            Mike Kleimeyer;
                                                            Derek Burton;
                                                            Randy Gold;
                                                            Vince Giordano;
                                                            Dominick
                                                            Brandow
NUCO2     NUCO2_   pdf      11/14/201   Vicari, Russell     Panikar, John;        Angel, Steve; White,    Employee(s) of   Attorney          Reflects confidential
_143734   143756            8 18:00                         Xiang, Caroline;      Matt; Menezes,          NuCO2 and its    Client/Work       business and/or legal
                                                            Durbin, Sean;         Eduardo; Roby,          affiliated       Product           information regarding
                                                            Culina, Rosanne;      Anne; Hoyt, Kelcey;     company(ies)                       non-party.
                                                            Marini, Dick;         Sher, Vipin; Strauss,
                                                            Madariaga, Lou;       David; Bichara,
                                                            Foti, Kevin;          Guillermo; Pelaez,
                                                            Brown, Denny;         Juan
                                                            Lee, Josue;
                                                            Delfin, Felipe;
                                                            Bastos, Gilney;
                                                            Paiva, Carlos;
                                                            Luthi, Pierre;
                                                            Gulcu, Daphne;
                                                            Akhras, Amer;
                                                            Petrivelli, Amy;
                                                            Yankowski, Dan;
                                                            Patel, Hezal;
                                                            Kim, HyunSoo;
                                                            Skare, Todd;
                                                            Marino, Michael;
                                                            Galvan, Eduardo;
                                                            Felicia Gallagher
NUCO2     NUCO2_   msg      4/5/2017    David Reyes         Peter Craig           Damarie Cortez;         Employee(s) of   Attorney Client   Communications
_156091   156092            11:33                                                 John Templin            NuCO2                              regarding need for
                                                                                                                                             legal advice/work
                                                                                                                                             product of counsel
                                                                                                                                             concerning
                                                                                                                                             negotiation/drafting


                                                                            547
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 549 of
                                                           573


                                                                                                                                         of customer
                                                                                                                                         agreement.




NUCO2     NUCO2_   MSG      11/16/201   John-Paul           John Templin                              Employee(s) of   Attorney Client   Communications
_156290   156296            8 12:52     Venanzi                                                       NuCO2                              regarding request
                                                                                                                                         for/provision of legal
                                                                                                                                         advice/work product
                                                                                                                                         of counsel concerning
                                                                                                                                         negotiation/drafting
                                                                                                                                         of customer
                                                                                                                                         agreement.
NUCO2     NUCO2_   xlsx     4/14/2017   Felicia Gallagher   Gerald Miller;         Kevin Patton;      Employee(s) of   Attorney          Reflects attorney
_156298   156301            14:35                           Vince Giordano;        Dominick Brandow   NuCO2 and its    Client/Work       Communications
                                                            John Templin;                             affiliated       Product           and/or attorney work
                                                            Derek Burton;                             company(ies)                       product regarding
                                                            Mike Kleimeyer;                                                              insurance.
                                                            Kent Hoffman;
                                                            Jeff Gilheney;
                                                            Randy Gold
NUCO2     NUCO2_   xlsx     4/20/2017   Felicia Gallagher   Felicia Gallagher;                        Employee(s) of   Attorney          Reflects attorney
_156327   156330            7:54                            Gerald Miller;                            NuCO2 and its    Client/Work       Communications
                                                            Vince Giordano;                           affiliated       Product           and/or attorney work
                                                            John Templin;                             company(ies)                       product regarding
                                                            Mike Kleimeyer;                                                              insurance.
                                                            Randy Gold;
                                                            Derek Burton;
                                                            Jeff Gilheney;
                                                            Kent Hoffman;
                                                            Kevin Patton
NUCO2     NUCO2_   xlsx     4/19/2017   Felicia Gallagher   Felicia Gallagher;                        Employee(s) of   Attorney          Reflects attorney
_156379   156382            10:51                           Gerald Miller;                            NuCO2 and its    Client/Work       Communications
                                                            Vince Giordano;                           affiliated       Product           and/or attorney work
                                                            John Templin;                             company(ies)                       product regarding
                                                            Mike Kleimeyer;                                                              insurance.
                                                            Randy Gold;
                                                            Derek Burton;
                                                            Jeff Gilheney;
                                                            Kent Hoffman;

                                                                             548
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 550 of
                                                           573


                                                      Kevin Patton




NUCO2     NUCO2_   MSG      11/12/201   John-Paul     John Templin                             Employee(s) of   Attorney          Communications
_156413   156415            8 17:45     Venanzi                                                NuCO2            Client/Work       regarding request
                                                                                                                Product           for/provision of legal
                                                                                                                                  advice/work product
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting
                                                                                                                                  of customer
                                                                                                                                  agreement.
NUCO2     NUCO2_   xlsx     12/6/2018   Foti, Kevin   John Templin                             Employee(s) of   Attorney          Reflects attorney
_157175   157176            8:55                                                               NuCO2 and its    Client/Work       Communications
                                                                                               affiliated       Product           and/or attorney work
                                                                                               company(ies)                       product regarding
                                                                                                                                  acquisition.

NUCO2     NUCO2_   MSG      2/27/2019   John-Paul     Carla Loffredo         John Templin;     Employee(s) of   Attorney          Communications
_145033   145034            10:51       Venanzi                              Ronald Thermil;   NuCO2            Client/Work       regarding request
                                                                             Bridget Correa                     Product           for/provision of legal
                                                                                                                                  advice/work product
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting
                                                                                                                                  of customer
                                                                                                                                  agreement.
NUCO2     NUCO2_   MSG      12/10/201   Christine     John Templin           Brian D. Potter   Employee(s) of   Attorney Client   Reflects need
_157993   158004            8 16:05     Bukowski                                               NuCO2                              for/provision of legal
                                                                                                                                  advice regarding
                                                                                                                                  customer
                                                                                                                                  account/dispute.

NUCO2     NUCO2_   pdf      6/29/2017   Christine     John Templin                             Employee(s) of   Attorney          Communications
_158497   158531            8:45        Bukowski                                               NuCO2            Client/Work       regarding request
                                                                                                                Product           for/provision of legal
                                                                                                                                  advice/work product
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting


                                                                       549
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 551 of
                                                          573


                                                                                                                   of customer
                                                                                                                   agreement.




NUCO2     NUCO2_   MSG     1/7/2019    Debbie Oliver       John Templin         Employee(s) of   Attorney          Communications
_158585   158586           14:08                                                NuCO2            Client/Work       regarding request
                                                                                                 Product           for/provision of legal
                                                                                                                   advice/work product
                                                                                                                   of counsel concerning
                                                                                                                   negotiation/drafting
                                                                                                                   of customer
                                                                                                                   agreement.
NUCO2     NUCO2_   PDF     7/11/2017   Vince Giordano      John Templin         Employee(s) of   Attorney          Communications
_159048   159065           14:54                                                NuCO2            Client/Work       regarding request
                                                                                                 Product           for/provision of legal
                                                                                                                   advice/work product
                                                                                                                   of counsel concerning
                                                                                                                   negotiation/drafting
                                                                                                                   of customer
                                                                                                                   agreement.
NUCO2     NUCO2_   MSG     8/10/2017   Vince Giordano      John Templin         Employee(s) of   Attorney Client   Communications
_159233   159236           15:00                                                NuCO2                              regarding need for
                                                                                                                   legal advice/work
                                                                                                                   product of counsel
                                                                                                                   concerning
                                                                                                                   negotiation/drafting
                                                                                                                   of customer
                                                                                                                   agreement.
NUCO2     NUCO2_   pptx    1/31/2019   Felicia Gallagher   Marino Anderson      Employee(s) of   Attorney          Reflects attorney
_143866   143871           8:58                                                 NuCO2 and its    Client/Work       Communications
                                                                                affiliated       Product           and/or attorney work
                                                                                company(ies)                       product regarding
                                                                                                                   safety.




                                                                          550
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 552 of
                                                          573


NUCO2     NUCO2_   PDF     8/23/2017   Eric Monroe       John Templin                              Employee(s) of   Attorney          Communications
_159907   159924           13:20                                                                   NuCO2            Client/Work       regarding request
                                                                                                                    Product           for/provision of legal
                                                                                                                                      advice/work product
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting
                                                                                                                                      of customer
                                                                                                                                      agreement.
NUCO2     NUCO2_   MSG     11/13/201   Carla Loffredo    John-Paul                                 Employee(s) of   Attorney          Communications
_145078   145082           8 8:46                        Venanzi                                   NuCO2            Client/Work       regarding request
                                                                                                                    Product           for/provision of legal
                                                                                                                                      advice/work product
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting
                                                                                                                                      of customer
                                                                                                                                      agreement.
NUCO2     NUCO2_   MSG     2/27/2019   Heather           John Templin                              Employee(s) of   Attorney          Communications
_160612   160619           15:10       Shepherd                                                    NuCO2            Client/Work       regarding request
                                                                                                                    Product           for/provision of legal
                                                                                                                                      advice/work product
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting
                                                                                                                                      of customer
                                                                                                                                      agreement.
NUCO2     NUCO2_   MSG     2/21/2019   Markatos, David   Brian D. Potter;         Piazza, Shelly   Employee(s) of   Attorney          Communications
_160632   160637           14:50                         John Templin                              NuCO2 and its    Client/Work       regarding request
                                                                                                   affiliated       Product           for/provision of legal
                                                                                                   company(ies)                       advice/work product
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting
                                                                                                                                      of customer
                                                                                                                                      agreement.
NUCO2     NUCO2_   MSG     2/21/2019   Brian D. Potter   Markatos, David;         John Templin     Employee(s) of   Attorney Client   Communications
_160670   160674           12:38                         Piazza, Shelly                            NuCO2 and its                      regarding request
                                                                                                   affiliated                         for/provision of legal
                                                                                                   company(ies)                       advice/work product
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting
                                                                                                                                      of customer
                                                                                                                                      agreement.



                                                                            551
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 553 of
                                                           573


NUCO2     NUCO2_   MSG      2/22/2019   Robbi Stiell        John Templin          Amber Rives         Employee(s) of   Attorney Client   Communications
_160795   160796            12:56                                                                     NuCO2                              regarding request
                                                                                                                                         for/provision of legal
                                                                                                                                         advice/work product
                                                                                                                                         of counsel concerning
                                                                                                                                         negotiation/drafting
                                                                                                                                         of customer
                                                                                                                                         agreement.
NUCO2     NUCO2_   MSG      2/22/2019   Heather             Markatos, David;      Heather Shepherd;   Employee(s) of   Attorney Client   Communications
_160836   160839            20:27       Shepherd            Riley, Robin K        John Templin        NuCO2 and its                      regarding request
                                                                                                      affiliated                         for/provision of legal
                                                                                                      company(ies)                       advice/work product
                                                                                                                                         of counsel concerning
                                                                                                                                         negotiation/drafting
                                                                                                                                         of customer
                                                                                                                                         agreement.
NUCO2     NUCO2_   xlsx     4/27/2017   Felicia Gallagher   Randy Gold;                               Employee(s) of   Attorney          Reflects attorney
_143921   143924            11:54                           Derek Burton;                             NuCO2 and its    Client/Work       Communications
                                                            John Templin;                             affiliated       Product           and/or attorney work
                                                            Vince Giordano;                           company(ies)                       product regarding
                                                            Jeff Gilheney;                                                               insurance.
                                                            Mike Kleimeyer;
                                                            Kent Hoffman;
                                                            Dominick
                                                            Brandow; Gerald
                                                            Miller; Kevin
                                                            Patton
NUCO2     NUCO2_   MSG      5/15/2018   Felicia Gallagher   Gerald Miller;        Jerry Destefano;    Employee(s) of   Attorney          Reflects attorney
_143934   143935            8:30                            Foti, Kevin; Jeff     Dominick Brandow;   NuCO2 and its    Client/Work       Communications/or
                                                            Gilheney; Kent        Kevin Patton        affiliated       Product           attorney work product
                                                            Hoffman; Derek                            company(ies)                       regarding legal
                                                            Burton; John                                                                 matters.
                                                            Templin; Randy
                                                            Gold; Mike
                                                            Lyons; Ruthie
                                                            Clemente; Stuart
                                                            Luks; Toyanna
                                                            Platt; Mark
                                                            Novak; Dirk
                                                            Horst; Damarie
                                                            Cortez; Sarah


                                                                            552
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 554 of
                                                          573


                                                          Llewellyn; Bill
                                                          Wilson; Jeff West;
                                                          Brian D. Potter;
                                                          Nate Freese;
                                                          Brian Catmull;
                                                          Terry Mckiernan;
                                                          Eric Hansen
NUCO2     NUCO2_   msg     2/14/2019   John Templin       John-Paul              Carla Loffredo   Employee(s) of   Attorney Client   Communications
_146247   146248           9:18                           Venanzi                                 NuCO2                              regarding need for
                                                                                                                                     legal advice/work
                                                                                                                                     product of counsel
                                                                                                                                     concerning
                                                                                                                                     negotiation/drafting
                                                                                                                                     of customer
                                                                                                                                     agreement.
NUCO2     NUCO2_   pdf     2/14/2019   Carla Loffredo     Contract Admin                          Employee(s) of   Attorney Client   Communications
_146268   146279           10:03                                                                  NuCO2                              regarding need for
                                                                                                                                     legal advice/work
                                                                                                                                     product of counsel
                                                                                                                                     concerning
                                                                                                                                     negotiation/drafting
                                                                                                                                     of customer
                                                                                                                                     agreement.
NUCO2     NUCO2_   MSG     11/22/201   Matt Butcher       John Templin                            Employee(s) of   Attorney          Communications
_162008   162019           7 11:38                                                                NuCO2            Client/Work       regarding request
                                                                                                                   Product           for/provision of legal
                                                                                                                                     advice/work product
                                                                                                                                     of counsel concerning
                                                                                                                                     negotiation/drafting
                                                                                                                                     of customer
                                                                                                                                     agreement.
NUCO2     NUCO2_   pdf     12/8/2015   Justina Connelly   Angie Baggett;                          Employee(s) of   Attorney          Communications
_162434   162441           14:34                          John Templin                            NuCO2            Client/Work       regarding request
                                                                                                                   Product           for/provision of legal
                                                                                                                                     advice/work product
                                                                                                                                     of counsel concerning
                                                                                                                                     negotiation/drafting
                                                                                                                                     of customer
                                                                                                                                     agreement.




                                                                           553
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 555 of
                                                           573


NUCO2     NUCO2_   MSG      2/21/2018   Rodney            John Templin           Brian D. Potter   Employee(s) of   Attorney          Communications
_164298   164299            13:06       Husbands                                                   NuCO2            Client/Work       regarding request
                                                                                                                    Product           for/provision of legal
                                                                                                                                      advice/work product
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting
                                                                                                                                      of customer
                                                                                                                                      agreement.
NUCO2     NUCO2_   xlsx     2/12/2016   Russell Vicari    Mike Kleimeyer;        Gerald Miller     Employee(s) of   Attorney Client   Reflects need
_164752   164759            14:37                         Chris Pherson;                           NuCO2                              for/provision of legal
                                                          Jeff Gilheney;                                                              advice regarding
                                                          Randy Gold;                                                                 customer
                                                          Ruthie Clemente;                                                            account/dispute.
                                                          Mark Novak;
                                                          Kevin Patton;
                                                          Patrick Woelfel;
                                                          Kent Hoffman;
                                                          John Chesney;
                                                          Vince Giordano;
                                                          John Templin
NUCO2     NUCO2_   MSG      3/6/2016    Sondra Meyer      John Templin                             Employee(s) of   Attorney Client   Reflects need
_165133   165133            14:32                                                                  NuCO2                              for/provision of legal
                                                                                                                                      advice regarding
                                                                                                                                      customer
                                                                                                                                      account/dispute.

NUCO2     NUCO2_   MSG      3/18/2016   Peter Craig       John Templin;                            Employee(s) of   Attorney Client   Communications
_165613   165614            13:10                         David Markatos                           NuCO2                              regarding request
                                                                                                                                      for/provision of legal
                                                                                                                                      advice/work product
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting
                                                                                                                                      of customer
                                                                                                                                      agreement.
NUCO2     NUCO2_   PDF      4/12/2018   Brian D. Potter   John Templin                             Employee(s) of   Attorney          Communications
_165628   165651            16:33                                                                  NuCO2 and its    Client/Work       regarding request
                                                                                                   affiliated       Product           for/provision of legal
                                                                                                   company(ies)                       advice/work product
                                                                                                                                      of counsel concerning
                                                                                                                                      negotiation/drafting
                                                                                                                                      of customer

                                                                           554
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 556 of
                                                          573


                                                                                                              agreement.




NUCO2     NUCO2_   MSG     4/12/2018   Brian D. Potter   John Templin          Employee(s) of   Attorney      Communications
_165620   165626           16:33                                               NuCO2            Client/Work   regarding request
                                                                                                Product       for/provision of legal
                                                                                                              advice/work product
                                                                                                              of counsel concerning
                                                                                                              negotiation/drafting
                                                                                                              of customer
                                                                                                              agreement.
NUCO2     NUCO2_   PDF     4/12/2018   Kym Cherubini     John Templin          Employee(s) of   Attorney      Communications
_165662   165685           11:42                                               NuCO2            Client/Work   regarding request
                                                                                                Product       for/provision of legal
                                                                                                              advice/work product
                                                                                                              of counsel concerning
                                                                                                              negotiation/drafting
                                                                                                              of customer
                                                                                                              agreement.
NUCO2     NUCO2_   MSG     4/12/2018   Kym Cherubini     John Templin          Employee(s) of   Attorney      Communications
_165658   165661           11:42                                               NuCO2            Client/Work   regarding request
                                                                                                Product       for/provision of legal
                                                                                                              advice/work product
                                                                                                              of counsel concerning
                                                                                                              negotiation/drafting
                                                                                                              of customer
                                                                                                              agreement.
NUCO2     NUCO2_   msg     4/12/2018   John Templin      Kym Cherubini         Employee(s) of   Attorney      Communications
_165692   165699           11:11                                               NuCO2            Client/Work   regarding request
                                                                                                Product       for/provision of legal
                                                                                                              advice/work product
                                                                                                              of counsel concerning
                                                                                                              negotiation/drafting
                                                                                                              of customer
                                                                                                              agreement.




                                                                         555
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 557 of
                                                          573


NUCO2     NUCO2_   MSG     4/12/2018   Kym Cherubini      John Templin           Robbi Stiell     Employee(s) of   Attorney        Communications
_165688   165691           11:11                                                                  NuCO2            Client/Work     regarding request
                                                                                                                   Product         for/provision of legal
                                                                                                                                   advice/work product
                                                                                                                                   of counsel concerning
                                                                                                                                   negotiation/drafting
                                                                                                                                   of customer
                                                                                                                                   agreement.
NUCO2     NUCO2_   MSG     4/19/2018   Angie Baggett      John Templin;          Adam Prenguber   Employee(s) of   Attorney        Communications
_165719   165721           13:56                          Ronald Thermil                          NuCO2            Client/Work     regarding request
                                                                                                                   Product         for/provision of legal
                                                                                                                                   advice/work product
                                                                                                                                   of counsel concerning
                                                                                                                                   negotiation/drafting
                                                                                                                                   of customer
                                                                                                                                   agreement.
NUCO2     NUCO2_   pdf     4/20/2016   Justina Connelly   John Templin                            Employee(s) of   Attorney Work   Reflects need
_166177   166177           12:16                                                                  NuCO2            Product         for/provision of legal
                                                                                                                                   advice regarding
                                                                                                                                   customer
                                                                                                                                   account/dispute.

NUCO2     NUCO2_   MSG     5/3/2016    Markatos, David    Justina Connelly;      Piazza, Shelly   Employee(s) of   Attorney        Communications
_166385   166389           13:05                          John Templin                            NuCO2 and its    Client/Work     regarding request
                                                                                                  affiliated       Product         for/provision of legal
                                                                                                  company(ies)                     advice/work product
                                                                                                                                   of counsel concerning
                                                                                                                                   negotiation/drafting
                                                                                                                                   of customer
                                                                                                                                   agreement.
NUCO2     NUCO2_   MSG     5/24/2016   Randy Gold         John Templin                            Employee(s) of   Attorney        Communications
_166845   166848           14:22                                                                  NuCO2            Client/Work     regarding request
                                                                                                                   Product         for/provision of legal
                                                                                                                                   advice/work product
                                                                                                                                   of counsel concerning
                                                                                                                                   negotiation/drafting
                                                                                                                                   of customer
                                                                                                                                   agreement.




                                                                           556
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 558 of
                                                          573


NUCO2     NUCO2_   MSG     6/21/2018   Brian D. Potter   John Templin                          Employee(s) of   Attorney          Communications
_166919   166921           11:47                                                               NuCO2            Client/Work       regarding request
                                                                                                                Product           for/provision of legal
                                                                                                                                  advice/work product
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting
                                                                                                                                  of customer
                                                                                                                                  agreement.
NUCO2     NUCO2_   MSG     7/17/2018   Ronald Thermil    John Templin                          Employee(s) of   Attorney          Communications
_167061   167064           15:57                                                               NuCO2            Client/Work       regarding request
                                                                                                                Product           for/provision of legal
                                                                                                                                  advice/work product
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting
                                                                                                                                  of customer
                                                                                                                                  agreement.
NUCO2     NUCO2_   pdf     7/17/2018   Ronald Thermil    John Templin                          Employee(s) of   Attorney          Communications
_167065   167065           15:57                                                               NuCO2            Client/Work       regarding request
                                                                                                                Product           for/provision of legal
                                                                                                                                  advice/work product
                                                                                                                                  of counsel concerning
                                                                                                                                  negotiation/drafting
                                                                                                                                  of customer
                                                                                                                                  agreement.
NUCO2     NUCO2_   MSG     6/15/2016   Vince Giordano    John Templin                          Employee(s) of   Attorney Client   Communications
_167313   167314           7:50                                                                NuCO2                              regarding need for
                                                                                                                                  legal advice/work
                                                                                                                                  product of counsel
                                                                                                                                  concerning
                                                                                                                                  negotiation/drafting
                                                                                                                                  of customer
                                                                                                                                  agreement.
NUCO2     NUCO2_   MSG     8/2/2018    Sondra Meyer      John Templin         Ronald Thermil   Employee(s) of   Attorney Client   Communications
_167486   167490           8:35                                                                NuCO2                              regarding need
                                                                                                                                  for/provision of
                                                                                                                                  information regarding
                                                                                                                                  customer
                                                                                                                                  account/dispute in
                                                                                                                                  order to facilitate
                                                                                                                                  provision of legal
                                                                                                                                  advice/services


                                                                        557
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 559 of
                                                          573


                                                                                                                concerning the same.




NUCO2     NUCO2_   msg     7/14/2016   Vince Giordano   Matt Butcher         Employee(s) of   Attorney          Communications
_168002   168003           13:40                                             NuCO2            Client/Work       regarding request
                                                                                              Product           for/provision of legal
                                                                                                                advice/work product
                                                                                                                of counsel concerning
                                                                                                                negotiation/drafting
                                                                                                                of customer
                                                                                                                agreement.
NUCO2     NUCO2_   pptx    8/3/2016    John Chesney     John Templin         Employee(s) of   Attorney Client   Communications
_168211   168229           7:40                                              NuCO2                              regarding need for
                                                                                                                legal advice of
                                                                                                                counsel.


NUCO2     NUCO2_   pptx    8/3/2016    John Chesney     John Templin         Employee(s) of   Attorney Client   Communications
_168233   168251           7:41                                              NuCO2                              regarding need for
                                                                                                                legal advice of
                                                                                                                counsel.


NUCO2     NUCO2_   MSG     8/23/2016   Peter Craig      John Templin         Employee(s) of   Attorney          Communications
_168346   168351           13:12                                             NuCO2            Client/Work       regarding need
                                                                                              Product           for/provision of
                                                                                                                information regarding
                                                                                                                customer
                                                                                                                account/dispute in
                                                                                                                order to facilitate
                                                                                                                provision of legal
                                                                                                                advice/services
                                                                                                                concerning the same.




                                                                       558
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 560 of
                                                          573


NUCO2     NUCO2_   MSG     8/12/2016   Brice, Rachelle   John Templin          David Markatos;   Employee(s) of   Attorney          Communications
_168381   168385           9:58                                                Kathleen Daniel   NuCO2 and its    Client/Work       regarding request
                                                                                                 affiliated       Product           for/provision of legal
                                                                                                 company(ies)                       advice/work product
                                                                                                                                    of counsel concerning
                                                                                                                                    negotiation/drafting
                                                                                                                                    of customer
                                                                                                                                    agreement.
NUCO2     NUCO2_   MSG     9/12/2016   Kathleen Daniel   John Templin                            Employee(s) of   Attorney Client   Communications
_168588   168589           10:02                                                                 NuCO2                              regarding need for
                                                                                                                                    legal advice/work
                                                                                                                                    product of counsel
                                                                                                                                    concerning
                                                                                                                                    negotiation/drafting
                                                                                                                                    of customer
                                                                                                                                    agreement.
NUCO2     NUCO2_   MSG     11/3/2016   Sondra Meyer      John Templin                            Employee(s) of   Attorney          Reflects need
_169030   169032           7:57                                                                  NuCO2            Client/Work       for/provision of legal
                                                                                                                  Product           advice regarding
                                                                                                                                    customer
                                                                                                                                    account/dispute.

NUCO2     NUCO2_   pptx    11/22/201                     Jeff Gilheney;                          Employee(s) of   Attorney          Reflects attorney
_169303   169312           6 7:55                        Randy Gold;                             NuCO2            Client/Work       Communications/or
                                                         Mike Kleimeyer;                                          Product           attorney workproduct
                                                         Vince Giordano;                                                            regarding legal mater.
                                                         John Templin;
                                                         Kent Hoffman;
                                                         Kevin Patton;
                                                         Patrick Woelfel;
                                                         Gerald Miller;
                                                         Foti, Kevin; John
                                                         Chesney; Derek
                                                         Burton; Russell
                                                         Vicari; Dominick
                                                         Brandow




                                                                         559
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 561 of
                                                          573


NUCO2     NUCO2_   MSG     4/10/2018   John Templin   Vince Giordano                           Employee(s) of   Attorney          Reflects attorney
_169391   169393           11:45                                                               NuCO2            Client/Work       Communications/or
                                                                                                                Product           attorney work product
                                                                                                                                  regarding legal
                                                                                                                                  matters.

NUCO2     NUCO2_   MSG     6/7/2018    John Templin   Vince Giordano                           Employee(s) of   Attorney          Reflects attorney
_169493   169494           16:01                                                               NuCO2            Client/Work       Communications/or
                                                                                                                Product           attorney work product
                                                                                                                                  regarding legal
                                                                                                                                  matters.

NUCO2     NUCO2_   MSG     8/1/2018    John Templin   Markatos, David                          Employee(s) of   Attorney Client   Communications
_169600   169603           14:28                                                               NuCO2 and its                      regarding need
                                                                                               affiliated                         for/provision of
                                                                                               company(ies)                       information regarding
                                                                                                                                  customer
                                                                                                                                  account/dispute in
                                                                                                                                  order to facilitate
                                                                                                                                  provision of legal
                                                                                                                                  advice/services
                                                                                                                                  concerning the same.
NUCO2     NUCO2_   MSG     7/9/2018    John Templin   Vince Giordano                           Employee(s) of   Attorney          Reflects attorney
_169604   169606           16:16                                                               NuCO2            Client/Work       Communications/or
                                                                                                                Product           attorney work product
                                                                                                                                  regarding legal
                                                                                                                                  matters.

NUCO2     NUCO2_   MSG     7/9/2018    John Templin   Nate Freese                              Employee(s) of   Attorney          Reflects attorney
_169608   169610           16:17                                                               NuCO2            Client/Work       Communications/or
                                                                                                                Product           attorney work product
                                                                                                                                  regarding legal
                                                                                                                                  matters.

NUCO2     NUCO2_   MSG     8/15/2018   John Templin   Bridget Correa          Ronald Thermil   Employee(s) of   Attorney Client   Communications
_169682   169684           7:43                                                                NuCO2                              regarding need
                                                                                                                                  for/provision of
                                                                                                                                  information regarding
                                                                                                                                  customer
                                                                                                                                  account/dispute in


                                                                        560
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 562 of
                                                          573


                                                                                                                               order to facilitate
                                                                                                                               provision of legal
                                                                                                                               advice/services
                                                                                                                               concerning the same.


NUCO2     NUCO2_   MSG     8/7/2018    John Templin   Vince Giordano                        Employee(s) of   Attorney          Reflects attorney
_169701   169703           14:09                                                            NuCO2            Client/Work       Communications/or
                                                                                                             Product           attorney work product
                                                                                                                               regarding legal
                                                                                                                               matters.

NUCO2     NUCO2_   MSG     9/11/2018   John Templin   Gerald Miller                         Employee(s) of   Attorney Client   Reflects need
_169744   169749           16:32                                                            NuCO2                              for/provision of legal
                                                                                                                               advice regarding
                                                                                                                               customer
                                                                                                                               account/dispute.

NUCO2     NUCO2_   MSG     11/15/201   John Templin   John-Paul                             Employee(s) of   Attorney          Communications
_169973   169976           8 11:50                    Venanzi                               NuCO2            Client/Work       regarding request
                                                                                                             Product           for/provision of legal
                                                                                                                               advice/work product
                                                                                                                               of counsel concerning
                                                                                                                               negotiation/drafting
                                                                                                                               of customer
                                                                                                                               agreement.
NUCO2     NUCO2_   MSG     11/28/201   John Templin   Brian D. Potter                       Employee(s) of   Attorney Client   Communications
_170024   170025           8 10:05                                                          NuCO2                              regarding request
                                                                                                                               for/provision of legal
                                                                                                                               advice/work product
                                                                                                                               of counsel concerning
                                                                                                                               negotiation/drafting
                                                                                                                               of customer
                                                                                                                               agreement.
NUCO2     NUCO2_   MSG     2/22/2019   John Templin   Robbi Stiell            Amber Rives   Employee(s) of   Attorney Client   Communications
_170183   170184           19:29                                                            NuCO2                              regarding request
                                                                                                                               for/provision of legal
                                                                                                                               advice/work product
                                                                                                                               of counsel concerning
                                                                                                                               negotiation/drafting


                                                                        561
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 563 of
                                                          573


                                                                                                                                     of customer
                                                                                                                                     agreement.




NUCO2     NUCO2_   MSG     1/29/2019   John Templin    Derek Burton                               Employee(s) of   Attorney Client   Communications
_170198   170205           15:19                                                                  NuCO2                              regarding request
                                                                                                                                     for/provision of legal
                                                                                                                                     advice/work product
                                                                                                                                     of counsel concerning
                                                                                                                                     negotiation/drafting
                                                                                                                                     of customer
                                                                                                                                     agreement.
NUCO2     NUCO2_   MSG     2/26/2019   John Templin    Robbi Stiell          Amber Rives          Employee(s) of   Attorney          Communications
_170220   170222           8:17                                                                   NuCO2            Client/Work       regarding request
                                                                                                                   Product           for/provision of legal
                                                                                                                                     advice/work product
                                                                                                                                     of counsel concerning
                                                                                                                                     negotiation/drafting
                                                                                                                                     of customer
                                                                                                                                     agreement.
NUCO2     NUCO2_   pdf     6/15/2016   Gerald Miller   Gerald_Miller@p                            Self             Attorney          Reflects attorney
_148678   148697           13:31                       raxair.com                                                  Client/Work       Communications
                                                                                                                   Product           and/or attorney work
                                                                                                                                     product regarding
                                                                                                                                     safety.

NUCO2     NUCO2_   DXL     6/24/2016   Andrew          Gerald Miller         John-Paul Venanzi;   Employee(s) of   Attorney          Reflects attorney
_148698   148700           15:31       Sarantapoulas                         Gold                 NuCO2 and its    Client/Work       Communications
                                                                             <RGold@nuco2.co      affiliated       Product           and/or attorney work
                                                                             m>                   company(ies)                       product regarding
                                                                                                                                     acquisition.

NUCO2     NUCO2_   DXL     6/24/2016   Gerald Miller   Andrew                John-Paul Venanzi;   Employee(s) of   Attorney          Reflects attorney
_148712   148714           15:46                       Sarantapoulas         Randy Gold           NuCO2 and its    Client/Work       Communications
                                                                                                  affiliated       Product           and/or attorney work
                                                                                                  company(ies)                       product regarding
                                                                                                                                     acquisition.



                                                                       562
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 564 of
                                                          573


NUCO2     NUCO2_   pptx    8/5/2016    Russell Vicari      Gerald_Miller@p                        Employee(s) of   Attorney      Reflects attorney
_148719   148730           10:58                           raxair.com                             NuCO2            Client/Work   Communications
                                                                                                                   Product       and/or attorney work
                                                                                                                                 product regarding
                                                                                                                                 safety.

NUCO2     NUCO2_   pdf     8/11/2017   Gerald Miller       Gerald_Miller@p                        Self             Attorney      Reflects attorney
_148856   148873           11:57                           raxair.com                                              Client/Work   Communications/or
                                                                                                                   Product       attorney work product
                                                                                                                                 regarding insurance
                                                                                                                                 and safety.

NUCO2     NUCO2_   pdf     11/10/201   Felicia Gallagher   Gerald Miller;                         Employee(s) of   Attorney      Reflects attorney
_148875   148886           7 7:28                          Gerald_Miller@p                        NuCO2 and its    Client/Work   Communications/or
                                                           raxair.com                             affiliated       Product       attorney work product
                                                                                                  company(ies)                   regarding insurance
                                                                                                                                 and safety.

NUCO2     NUCO2_   DXL     4/10/2018   Felicia Gallagher   Gerald Miller;      Jerry Destefano;   Employee(s) of   Attorney      Reflects attorney
_148964   148967           11:30                           Gerald_Miller@p     DBrandow@nuco2.c   NuCO2 and its    Client/Work   Communications/or
                                                           raxair.com;         om; Kevin Patton   affiliated       Product       attorney work product
                                                           JGilheney@nuco                         company(ies)                   regarding legal
                                                           2.com; Kent                                                           matters.
                                                           Hoffman;
                                                           DBurton@nuco2
                                                           .com;
                                                           JTemplin@nuco2
                                                           .com;
                                                           RGold@nuco2.c
                                                           om;
                                                           MLyons@nuco2.
                                                           com;
                                                           RClemente@nuc
                                                           o2.com;
                                                           SLuks@nuco2.co
                                                           m;
                                                           TPlatt@nuco2.co
                                                           m;
                                                           MNovak@nuco2.
                                                           com;


                                                                         563
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 565 of
                                                          573


                                                           VButera@nuco2.
                                                           com;
                                                           DHorst@nuco2.c
                                                           om;
                                                           DCortez@nuco2.
                                                           com;
                                                           SLlewellyn@nuco
                                                           2.com;
                                                           BWilson@nuco2.
                                                           com;
                                                           JChesney@nuco2
                                                           .com;
                                                           JWest@nuco2.co
                                                           m;
                                                           BPotter@nuco2.c
                                                           om;
                                                           NFreese@nuco2.
                                                           com;
                                                           BCatmull@nuco2
                                                           .com;
                                                           TMcKiernan@nu
                                                           co2.com
NUCO2     NUCO2_   DXL     5/15/2018   Felicia Gallagher   Gerald Miller;     Jerry Destefano;   Employee(s) of   Attorney      Reflects attorney
_148975   148978           8:30                            Gerald_Miller@p    DBrandow@nuco2.c   NuCO2 and its    Client/Work   Communications/or
                                                           raxair.com;        om; Kevin Patton   affiliated       Product       attorney work product
                                                           JGilheney@nuco                        company(ies)                   regarding legal
                                                           2.com; Kent                                                          matters.
                                                           Hoffman;
                                                           DBurton@nuco2
                                                           .com;
                                                           JTemplin@nuco2
                                                           .com;
                                                           RGold@nuco2.c
                                                           om;
                                                           MLyons@nuco2.
                                                           com;
                                                           RClemente@nuc
                                                           o2.com;
                                                           SLuks@nuco2.co
                                                           m;
                                                           TPlatt@nuco2.co


                                                                        564
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 566 of
                                                          573


                                                          m;
                                                          MNovak@nuco2.
                                                          com;
                                                          DHorst@nuco2.c
                                                          om;
                                                          DCortez@nuco2.
                                                          com;
                                                          SLlewellyn@nuco
                                                          2.com;
                                                          BWilson@nuco2.
                                                          com;
                                                          JWest@nuco2.co
                                                          m;
                                                          BPotter@nuco2.c
                                                          om;
                                                          NFreese@nuco2.
                                                          com;
                                                          BCatmull@nuco2
                                                          .com;
                                                          TMcKiernan@nu
                                                          co2.com;
                                                          EHansen@nuco2
                                                          .com
NUCO2     NUCO2_   DXL     7/9/2018   Felicia Gallagher   Gerald Miller;     Jerry Destefano;   Employee(s) of   Attorney      Reflects attorney
_148981   148984           16:07                          Gerald_Miller@p    DBrandow@nuco2.c   NuCO2 and its    Client/Work   Communications/or
                                                          raxair.com;        om; Kevin Patton   affiliated       Product       attorney work product
                                                          JGilheney@nuco                        company(ies)                   regarding legal
                                                          2.com; Derek                                                         matters.
                                                          Burton;
                                                          JTemplin@nuco2
                                                          .com;
                                                          MLyons@nuco2.
                                                          com;
                                                          RClemente@nuc
                                                          o2.com;
                                                          SLuks@nuco2.co
                                                          m;
                                                          TPlatt@nuco2.co
                                                          m;
                                                          MNovak@nuco2.
                                                          com;


                                                                       565
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 567 of
                                                          573


                                                         DHorst@nuco2.c
                                                         om;
                                                         DCortez@nuco2.
                                                         com;
                                                         SLlewellyn@nuco
                                                         2.com;
                                                         BWilson@nuco2.
                                                         com;
                                                         JWest@nuco2.co
                                                         m;
                                                         BPotter@nuco2.c
                                                         om;
                                                         NFreese@nuco2.
                                                         com;
                                                         BCatmull@nuco2
                                                         .com;
                                                         TMcKiernan@nu
                                                         co2.com;
                                                         EHansen@nuco2
                                                         .com;
                                                         RWilkie@nuco2.
                                                         com
NUCO2     NUCO2_   pdf     7/16/2018   Vicari, Russell   |Truncated|           Roby, Anne;        Employee(s) of   Attorney      Reflects confidential
_148989   149018           17:42                         Draper, Alan;         Eduardo_Menezes@   NuCO2 and its    Client/Work   business and/or legal
                                                         Amer_Akhras@p         praxair.com        affiliated       Product       information regarding
                                                         raxair.com;                              company(ies)                   non-party.
                                                         Amy_Petrivelli@
                                                         Praxair.com;
                                                         Paiva, Carlos;
                                                         Caroline_Xiang@
                                                         praxair.com;
                                                         Daphne_Gulcu@
                                                         Praxair.com;
                                                         Brown, Denny;
                                                         Dick_Marini@pr
                                                         axair.com;
                                                         Eduardo_Gil@pr
                                                         axair.com; Delfin,
                                                         Felipe;
                                                         FGallagher@nuc
                                                         o2.com;


                                                                         566
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 568 of
                                                          573


                                                           Gerald_Miller@p
                                                           raxair.com;
                                                           Bastos, Gilney;
                                                           Hezal_Patel@Pra
                                                           xair.com;
                                                           John_Panikar@p
                                                           raxair.com; Lee,
                                                           Josue;
                                                           Kevin_Foti@pra
                                                           xair.com;
                                                           Lou_Madariaga@
                                                           Praxair.com;
                                                           Pierre_Luthi@pr
                                                           axair.com; Culina,
                                                           Rosanne;
                                                           Sean_Durbin@pr
                                                           axair.com;
                                                           Todd_Skare@pra
                                                           xair.com;
                                                           GMiller@nuco2
NUCO2     NUCO2_   DXL     9/10/2018   Felicia Gallagher   Gerald Miller;        Jerry Destefano;    Employee(s) of   Attorney      Reflects attorney
_149022   149025           15:39                           Gerald_Miller@p       DBrandow@nuco2.c    NuCO2 and its    Client/Work   Communications/or
                                                           raxair.com;           om; Kevin Patton;   affiliated       Product       attorney work product
                                                           JGilheney@nuco        MAnderson@nuco2.    company(ies)                   regarding legal
                                                           2.com; Derek          com                                                matters.
                                                           Burton;
                                                           JTemplin@nuco2
                                                           .com;
                                                           MLyons@nuco2.
                                                           com;
                                                           RClemente@nuc
                                                           o2.com;
                                                           SLuks@nuco2.co
                                                           m;
                                                           TPlatt@nuco2.co
                                                           m;
                                                           MNovak@nuco2.
                                                           com;
                                                           DHorst@nuco2.c
                                                           om;
                                                           DCortez@nuco2.


                                                                           567
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 569 of
                                                          573


                                                          com;
                                                          SLlewellyn@nuco
                                                          2.com;
                                                          BWilson@nuco2.
                                                          com;
                                                          JWest@nuco2.co
                                                          m;
                                                          BPotter@nuco2.c
                                                          om;
                                                          NFreese@nuco2.
                                                          com;
                                                          BCatmull@nuco2
                                                          .com;
                                                          TMcKiernan@nu
                                                          co2.com;
                                                          EHansen@nuco2
                                                          .com;
                                                          RWilkie@nuco2.
                                                          com
NUCO2     NUCO2_   MSG     3/2/2017    David Reyes        Damarie Cortez                               Employee(s) of   Attorney Client   Communications
_135183   135185           11:24                                                                       NuCO2                              regarding need for
                                                                                                                                          legal advice of
                                                                                                                                          counsel.


NUCO2     NUCO2_   MSG     4/25/2017   Kathleen Daniel    Jon Gallup;            Eric Monroe; Ronald   Employee(s) of   Attorney          Reflects need
_135459   135465           15:47                          Damarie Cortez         Thermil               NuCO2 and its    Client/Work       for/provision of legal
                                                                                                       affiliated       Product           advice regarding
                                                                                                       company(ies)                       customer
                                                                                                                                          account/dispute.

NUCO2     NUCO2_   pptx    12/20/201   Smith, Stanley M   Smith, Stanley M;                            Employee(s) of   Attorney          Reflects attorney
_103801   103811           8 11:38                        Felicia Gallagher;                           NuCO2 and its    Client/Work       Communications/or
                                                          John Templin;                                affiliated       Product           attorney work product
                                                          Gupta, Ami;                                  company(ies)                       regarding legal
                                                          Derek Burton                                                                    matters.




                                                                           568
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 570 of
                                                           573


NUCO2     NUCO2_   xlsx     4/27/2017   Felicia Gallagher   Randy Gold;                               Employee(s) of   Attorney      Reflects attorney
_103941   103944            11:54                           Derek Burton;                             NuCO2 and its    Client/Work   Communications
                                                            John Templin;                             affiliated       Product       and/or attorney work
                                                            Vince Giordano;                           company(ies)                   product regarding
                                                            Jeff Gilheney;                                                           insurance.
                                                            Mike Kleimeyer;
                                                            Kent Hoffman;
                                                            Dominick
                                                            Brandow; Gerald
                                                            Miller; Kevin
                                                            Patton
NUCO2     NUCO2_   MSG      11/15/201   Felicia Gallagher   John Templin                              Employee(s) of   Attorney      Reflects
_104807   104813            8 10:08                                                                   NuCO2 and its    Client/Work   Communications or
                                                                                                      affiliated       Product       advice or work
                                                                                                      company(ies)                   product regarding
                                                                                                                                     negotiation/drafting
                                                                                                                                     of customer
                                                                                                                                     agreement.
NUCO2     NUCO2_   MSG      9/11/2018   Felicia Gallagher   Gerald Miller;        Jerry Destefano;    Employee(s) of   Attorney      Reflects attorney
_104889   104891            7:28                            Gerald_Miller@p       Dominick Brandow;   NuCO2 and its    Client/Work   Communications/or
                                                            raxair.com; Jeff      Kevin Patton;       affiliated       Product       attorney work product
                                                            Gilheney; Derek       Marino Anderson     company(ies)                   regarding legal
                                                            Burton; John                                                             matters.
                                                            Templin; Mike
                                                            Lyons; Ruthie
                                                            Clemente; Stuart
                                                            Luks; Toyanna
                                                            Platt; Mark
                                                            Novak; Dirk
                                                            Horst; Damarie
                                                            Cortez; Sarah
                                                            Llewellyn; Bill
                                                            Wilson; Jeff West;
                                                            Brian D. Potter;
                                                            Nate Freese;
                                                            Brian Catmull;
                                                            Terry Mckiernan;
                                                            Eric Hansen;
                                                            Richard Wilkie




                                                                            569
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 571 of
                                                           573


NUCO2     NUCO2_   xlsx     4/27/2017   Felicia Gallagher   Kevin Patton;                             Employee(s) of    Attorney     Reflects attorney
_104936   104939            11:54                           John Templin;                             NuCO2 and its    Client/Work   Communications
                                                            Gerald Miller;                            affiliated       Product       and/or attorney work
                                                            Jeff Gilheney;                            company(ies)                   product regarding
                                                            Kent Hoffman;                                                            insurance.
                                                            Mike Kleimeyer;
                                                            Derek Burton;
                                                            Randy Gold;
                                                            Vince Giordano;
                                                            Dominick
                                                            Brandow; Felicia
                                                            Gallagher
NUCO2     NUCO2_   pdf      10/23/201   Felicia Gallagher   John Templin;         Nate Freese         Employee(s) of   Attorney       Reflects attorney
_104836   104877            8 7:50                          Dominick                                  NuCO2 and its    Client/Work   communications/or
                                                            Brandow; Kevin                            affiliated       Product       attorney work product
                                                            Patton; Gerald                            company(ies)                   regarding legal
                                                            Miller; Jeff                                                             matters.
                                                            Gilheney; Derek
                                                            Burton; Patrick
                                                            Woelfel; Richard
                                                            Wilkie; Brian
                                                            Catmull; Marino
                                                            Anderson; Diego
                                                            Olarte
NUCO2     NUCO2_   xlsx     11/29/201   Felicia Gallagher   Richard Wilkie;                           Employee(s) of   Attorney      Reflects attorney
_104805   104806            8 13:27                         Derek Burton;                             NuCO2 and its    Client/Work   communications/or
                                                            Jeff Gilheney;                            affiliated       Product       attorney work product
                                                            John Templin                              company(ies)                   regarding legal
                                                                                                                                     matters.

NUCO2     NUCO2_   MSG      6/8/2018    Gerald Miller       Felicia Gallagher;    Jerry Destefano;    Employee(s) of   Attorney      Reflects attorney
_105095   105097            8:36                            Gerald_Miller@p       Dominick Brandow;   NuCO2 and its    Client/Work   communications/or
                                                            raxair.com; Jeff      Kevin Patton        affiliated       Product       attorney work product
                                                            Gilheney; Derek                           company(ies)                   regarding legal
                                                            Burton; John                                                             matters.
                                                            Templin; Mike
                                                            Lyons; Ruthie
                                                            Clemente; Stuart
                                                            Luks; Toyanna
                                                            Platt; Mark
                                                            Novak; Dirk

                                                                            570
                     Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 572 of
                                                           573


                                                            Horst; Damarie
                                                            Cortez; Sarah
                                                            Llewellyn; Bill
                                                            Wilson; Jeff West;
                                                            Brian D. Potter;
                                                            Nate Freese;
                                                            Brian Catmull;
                                                            Terry Mckiernan;
                                                            Eric Hansen;
                                                            Richard Wilkie
NUCO2     NUCO2_   xlsx     4/27/2017   Felicia Gallagher   Felicia Gallagher;    Employee(s) of   Attorney      Reflects attorney
_105011   105014            11:55                           Kevin Patton;         NuCO2 and its    Client/Work   communication
                                                            John Templin;         affiliated       Product       and/or attorney work
                                                            Gerald Miller;        company(ies)                   product regarding
                                                            Jeff Gilheney;                                       insurance.
                                                            Kent Hoffman;
                                                            Mike Kleimeyer;
                                                            Derek Burton;
                                                            Randy Gold;
                                                            Vince Giordano;
                                                            Dominick
                                                            Brandow
NUCO2     NUCO2_   PDF      1/1/1900    Felicia Gallagher                         Self             Attorney      Reflects attorney
_170481   170483            0:00                                                                   Client/Work   communications/or
                                                                                                   Product       attorney work product
                                                                                                                 regarding legal
                                                                                                                 matters.

NUCO2     NUCO2_   PDF      1/1/1900    Felicia Gallagher                         Self             Attorney      Reflects attorney
_170485   170485            0:00                                                                   Client/Work   communications/or
                                                                                                   Product       attorney work product
                                                                                                                 regarding legal
                                                                                                                 matters.

NUCO2     NUCO2_   PDF      1/1/1900    Felicia Gallagher                         Self             Attorney      Reflects attorney
_170486   170486            0:00                                                                   Client/Work   communications/or
                                                                                                   Product       attorney work product
                                                                                                                 regarding legal
                                                                                                                 matters.



                                                                            571
                    Case 2:19-cv-14085-RLR Document 85-3 Entered on FLSD Docket 04/16/2020 Page 573 of
                                                          573


NUCO2     NUCO2_   PDF     1/1/1900   Felicia Gallagher                      Self            Attorney      Reflects attorney
_170493   170493           0:00                                                              Client/Work   communications/or
                                                                                             Product       attorney work product
                                                                                                           regarding legal
                                                                                                           matters.




                                                           572
